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                            UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION                                                                  1
IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC,                                   §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
       DEBTORS.                                            §              Chapter 11


         JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT
                  PURSUANT TO BANKRUPTCY RULE 9019


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
       BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
       HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
       RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. in

Bankruptcy Case No. 17-40180 (the “LP Trustee”) to file their Joint Motion to Approve

Compromise and Settlement Pursuant to Bankruptcy Rule 9019 (the “Joint Motion to



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Compromise”), and in support thereof, respectfully show unto the Court the following:

                                                  I.
                                          PROCEDURAL STATUS

        1.       Payson Debtor Bankruptcy Filings. On June 10, 2016, Payson Petroleum, Inc.

(“Payson Petroleum”), Payson Operating, LLC (“Payson Operating”), and Maricopa Resources,

LLC (“Maricopa”) filed voluntary petitions under Chapter 7 of the United States Bankruptcy Code

(the “Bankruptcy Code”) in this Bankruptcy Court. 1 See Docket No. 1 in Bankruptcy Case Nos.

16-41043, 16-40144, and 16-40145. On July 12, 2016, the Bankruptcy Court entered orders

converting the Payson Debtors’ bankruptcy cases to cases under Chapter 11 of the Bankruptcy

Code. See Docket No. 39 in Case No. 16-41043, Docket No. 33 in Case No. 16-40144, and Docket

No. 41 in Case No. 16-40145. On July 18, 2016, the Bankruptcy Court entered orders approving

the United States Trustee’s applications to appoint the Payson Trustee as the Chapter 11 Trustee

in the Payson Debtors’ bankruptcy cases. See Docket No. 55 in Case No. 16-41043, Docket No.

50 in Case No. 16-40144, and Docket No. 57 in Case No. 16-41045. On August 11, 2016, the

Bankruptcy Court ordered the joint administration of the Payson Debtors’ bankruptcy cases under

Case No. 16-41044. See Docket No. 75 in Case No. 16-41043, Docket No. 73 in Case No. 16-

41044, and Docket No. 81 in Case No. 16-41045.

        2.       Adversary Proceeding.             On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 in

Adversary Proceeding No. 16-04106 (the “Adversary Proceeding”) against Payson Petroleum 3

Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”).

        3.       LP Debtor Bankruptcy Filings. On January 31, 2017, 3 Well LP and 2014 LP

(collectively, the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.


1
    Collectively, Payson Petroleum, Payson Operating, and Maricopa are the “Payson Debtors.”


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See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. LP Trustee was

appointed as Chapter 7 Trustee for the LP Debtors.

       4.        Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in Adversary

Proceeding. On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion

to Lift Stay in LP Debtor’s bankruptcy cases which, inter alia, provides that the parties are “granted

relief from the automatic stay … to continue with and fully litigate claims that are or could be

pled” in the Adversary Proceeding. Docket No. 26 in Case No. 17-40180 and Docket No. 29 in

Case No. 17-40179.

       5.        Amended Complaint. On July 13, 2017, Payson Trustee filed his First Amended

Complaint in the Adversary Proceeding. See Docket No. 25 in Adversary Proceeding.

       6.        Jurisdiction & Venue. This Court has jurisdiction over the subject matter of this

Joint Motion to Compromise pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 II.
                                        FACTUAL BACKGROUND

       7.        Nature of Payson Debtors’ Businesses.                   Matthew C. Griffin (“Griffin”) formed

Payson Petroleum in 2008 to, inter alia, (i) promote the sale of interests in limited partnerships

and (ii) operate oil and gas wells for such limited partnerships. Griffin formed Payson Operating

in 2010 to act as a contract operator for Payson Petroleum. Griffin formed Maricopa in 2012 to,

inter alia, engage in the acquisition and sale of Grayson County, Texas oil and gas leases.

       8.        Nature of 3 Well LP’s and 2014 LP’s Businesses. Payson Petroleum Grayson, LLC

formed 3 Well LP in 2013 and 2014 LP in 2014 to, inter alia, drill, complete, and own interests in

the Subject Wells.



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       9.       Turnkey Agreements. On or about October 13, 2013, Payson Petroleum and 3 Well

LP entered into a Subscription Turn Key Agreement under which 3 Well LP agreed to pay Payson

Petroleum certain amounts for the drilling and completion of the Subject Wells (the “3 Well LP

Turnkey Agreement”). On or about January 12, 2014, Payson Petroleum and 2014 LP entered into

a Subscription Turn Key Agreement under which 2014 LP agreed to pay Payson Petroleum certain

amounts for the drilling and completion of the Subject Wells (the “2014 LP Turnkey Agreement”

and collectively with the 3 Well LP Turnkey Agreement the “Turnkey Agreements”). In the

Adversary Proceeding, Payson Petroleum asserts claims for breach of the Turnkey Agreements

against 3 Well LP in the amount of $17,115,777 and 2014 LP in the amount of $5,343,803 (the

“Breach of Turnkey Agreement Claims”).

       10.      Working Interest Assignments. On or about Marcy 28, 2016, Maricopa assigned

certain interests in the William #1H (API # 181-31557), Crowe #2 (API #181-31543), and Elaine

#1 (API #181-31547) (collectively the “Subject Wells”) to 3 Well LP and 2014 LP via three (3)

certain Wellbore Assignments, Conveyances, Bills of Sale, and Releases, which were recorded in

the real property records of Grayson County, Texas at Instrument Numbers: 2016-00006064,

2016-00006065, and 2016-00006066. The working interests assigned are set forth below:

                                                                                 Working
                                                                                  Interest
                        Subject Well                     Assignee                Assigned
                      Williams #1H Well                   2014 LP               72.210840%
                      Williams #1H Well                  3 Well LP              27.789160%
                       Crowe #2 Well                      2014 LP               72.210840%
                       Crowe #2 Well                     3 Well LP              27.789160%
                       Elaine #1 Well                     2014 LP               72.210840%
                       Elaine #1 Well                    3 Well LP              27.789160%

(collectively the “Working Interest Assignments”). In the Adversary Proceeding, Maricopa asserts

claims under 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce



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Code against 3 Well LP and 2014 LP for avoidance of the Working Interest Assignments and

recovery of the interests transferred or their value. Post-bankruptcy petition production revenue

attributable to the Working Interest Assignments has been held by Traton Operating Company

(“Traton”), the Payson Trustee’s approved contract operating company.

        11.      Additional Avoidable Transfers. In addition to the Working Interest Assignments,

Payson Petroleum transferred $1,274,310 to 3 Well LP and $2,862,000 to 2014 LP between

January and February 2014 in exchange for interests in those limited partnerships that Payson

Petroleum knew or should have known were worth far less than the amounts transferred (the

“Investment Transfers”). In the Adversary Proceeding, the Payson Trustee asserts claims under

11 U.S.C. § 544 and 550 and Chapter 24 of the Texas Business and Commerce Code to avoid and

recover the Investment Transfers from 3 Well LP and 2014 LP (the “Investment Transfer Claims”).

                                                 III.
                                        PROPOSED SETTLEMENT

        12.      The Payson Trustee, Payson Debtors, LP Trustee, and LP Debtors have reached a

settlement of issues asserted in the Adversary Proceeding and other claims that have our could

have been asserted between the parties. Attached hereto as Exhibit A is a copy of the Settlement

Agreement. 2

        13.      Agreed Final Judgment. As explained in the Settlement Agreement, the parties will

resolve the Adversary Proceeding by filing a Joint Motion for Entry of Agreed Final Judgment and

will use their best efforts to have the Agreed Final Judgment entered by the Bankruptcy Court.

The Agreed Final Judgment will, inter alia, provide that the Wellbore Interest Assignments are


2
    To the extent of any inconsistency between the Settlement Agreement and the summary of that agreement set
    forth in this Joint Motion to Compromise, the terms of the Settlement Agreement control. This outline is not
    intended to repeat all terms of the Settlement Agreement and persons reading this Joint Motion to Compromise
    are encouraged to read the Settlement Agreement. Capitalized Terms used but not otherwise defined herein have
    the meaning ascribed to them in the Joint Motion to Compromise or the Settlement Agreement as applicable.


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avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B) and grant judgment in favor of Payson

Petroleum on its Breach of Turnkey Agreement Claims against 3 Well LP in the amount of

$8,557,888.50 and 2014 LP in the amount of $2,671,900.50. See Exhibit 3 to Settlement

Agreement.

       14.       Conveyance of Interests in Subject Wells. 3 Well LP and 2014 LP will reassign

the avoided interests in the Subject Wells to Maricopa, which will continue to be operated by

Traton until Maricopa sells those interests under 11 U.S.C. § 363. As explained in further detail

in the Settlement Agreement, the net proceeds obtained from the operation and sale of the Subject

Wells (defined in the Settlement Agreement as the Subject Wells Net Proceeds) will be distributed

as follows: (i) 55% to Maricopa, (ii) 32.4945% to 2014 LP, and (iii) 12.5055% to 3 Well LP.

Maricopa will retain a $50,000 Operating Reserve to satisfy costs related to operation of the

Subject Wells.

       15.       Allowed Claims. The Settlement Agreement also provides that the parties will

agree to the following allowed unsecured claims:

       •         Payson Petroleum shall hold (i) an allowed unsecured claim in the 3 Well LP
                 bankruptcy case in the amount of $8,557,888.50 and (ii) an allowed unsecured
                 claim in the 2014 LP bankruptcy case in the amount of $2,671,900.50;

       •         3 Well LP shall hold an allowed general unsecured claim in the Maricopa
                 bankruptcy case in an amount equal to 27.78916% of the Subject Net Well Proceeds
                 actually delivered to Maricopa pursuant to the Settlement Agreement; and

       •         2014 LP shall hold an allowed general unsecured claim in the Maricopa bankruptcy
                 case in an amount equal to 72.21084% of the Subject Net Well Proceeds actually
                 delivered to Maricopa pursuant to the Settlement Agreement.

       16.       Prosecution of and Participation in Avoidance Action Claims. The Settlement

Agreement further provides that the parties will enter into (i) the 3 Well LP Subject Claims

Assignment and Participation Agreement and (ii) the 2014 LP Subject Claims Assignment and



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Participation Agreement (collectively the “Claims Assignment and Participation Agreements”).

Pursuant to the Claims Assignment and Participation Agreements:

       •         3 Well LP will assign a fifty percent (50%) interest in net recoveries from litigation
                 of 3 Well LP Avoidance Action Claims and 3 Well LP Partnership Related Claims,
                 as defined in the 3 Well LP Subject Claims Assignment and Participation
                 Agreement, with 3 Well LP retaining the remaining fifty percent (50%) interest;
                 and

       •         2014 LP will assign a fifty percent (50%) interest in net recoveries from litigation
                 of 2014 LP Avoidance Action Claims and 2014 Partnership Related Claims, as
                 defined in the 2014 LP Subject Claims Assignment and Participation Agreement,
                 with 2014 LP retaining the remaining fifty percent (50%) interest.

Payson Petroleum shall be granted standing to prosecute 3 Well LP and 2014 LP Avoidance Action

Claims and Partnership Related Claims in the 3 Well LP and 2014 LP bankruptcy cases, and 3

Well LP and 2014 LP shall enter into engagement agreements with special litigation counsel for

the Payson Trustee to prosecute such claims for the benefit of the Payson Petroleum, 3 Well LP,

and 2014 LP bankruptcy estates.

       17.       Releases. Except for claims expressly reserved in the Settlement Agreement, all

claims or causes action between the parties will be released.

                                                       IV.
                                                   RATIONALE

       18.       Benefit to Maricopa Estate. The Maricopa bankruptcy estate receives the following

benefits from the settlement:

       •         the interests assigned to 3 Well LP and 2014 LP via the Working Interest
                 Assignments will be reassigned to Maricopa, and Maricopa will 55% of the Subject
                 Wells Net Proceeds, plus a $50,000 Operating Reserve to satisfy costs associated
                 with operation of the Subject Wells; and

       •         except for claims expressly preserved under the Settlement Agreement, Maricopa’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against Maricopa by 3 Well LP and/or 2014 LP.


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       19.       Benefit to Payson Petroleum Estate. The Payson Petroleum bankruptcy estate

receives the following benefits from the settlement:

       •         an allowed general unsecured claim in the 3 Well LP bankruptcy case in the amount
                 of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred Eighty-Eight
                 and 50/100 U.S. Dollars ($8,557,888.50) on account of Payson Petroleum’s Breach
                 of Turnkey Agreement claim against 3 Well LP;

       •         an allowed general unsecured claim in the 2014 LP bankruptcy case in the amount
                 of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100
                 U.S. Dollars ($2,671,900.50) on account of Payson Petroleum’s Breach of Turnkey
                 Agreement claim against 2014 LP;

       •         Payson Petroleum is (i) granted standing and authority to enforce and prosecute 3
                 Well LP Avoidance Action Claims, 2014 LP Avoidance Action Claims, 3 Well LP
                 Partnership Related Claims, and 2014 LP Partnership Related Claims (the “Subject
                 Claims”) and (ii) will hold a fifty percent (50%) participation interest in net
                 recoveries from the Subject Claims as further described in the Settlement
                 Agreement, 3 Well LP Subject Claims Assignment and Participation Agreement
                 and 2014 LP Subject Claims Assignment and Participation Agreement; and

       •         except for claims expressly preserved under the Settlement Agreement, Payson
                 Petroleum’s bankruptcy estate is released from claims which have been or could
                 have been asserted against Payson Petroleum by 3 Well LP and/or 2014 LP.

       20.       Benefit to Payson Operating Estate. Except for claims expressly preserved under

the Settlement Agreement, Payson Operating’s bankruptcy estate is released from claims which

have been or could have been asserted against Payson Operating by 3 Well LP and/or 2014 LP.

       21.       Benefit to 3 Well LP Estate. The 3 Well LP bankruptcy estate receives the

following benefits from the settlement:

       •         3 Well LP will obtain 12.5055% of the Subject Wells Net Proceeds;

       •         an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                 equal to 27.78916% of the Subject Wells Net Proceeds actually delivered to
                 Maricopa pursuant to the Settlement Agreement;


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       •         3 Well LP will retain a fifty percent (50%) interest in all 3 Well LP Avoidance
                 Action Claims Net Recovery and 3 Well LP Partnership Related Claims Net
                 Recovery as further described in the Settlement Agreement and 3 Well LP Subject
                 Claims Assignment and Participation Agreement; and

       •         except for claims expressly preserved under the Settlement Agreement, 3 Well LP’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against 3 Well LP by Payson Petroleum, Payson Operating, and/or
                 Maricopa.

       22.       Benefit to 2014 LP Estate. The 2014 LP bankruptcy estate receives the following

benefits from the settlement:

       •         2014 LP will obtain 32.4945% of the Subject Wells Net Proceeds;

       •         an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                 equal to 72.21084% of the Subject Wells Net Proceeds actually delivered to
                 Maricopa pursuant to the Settlement Agreement;

       •         2014 LP will retain a fifty percent (50%) interest in all 2014 LP Avoidance Action
                 Claims Net Recovery and 2014 LP Partnership Related Claims Net Recovery as
                 further described in the Settlement Agreement and 3 Well LP Subject Claims
                 Assignment and Participation Agreement; and

       •         except for claims expressly preserved under the Settlement Agreement, 2014 LP’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against 2014 LP by Payson Petroleum, Payson Operating, and/or
                 Maricopa.

                                                   V.
                                           RELIEF REQUESTED

       23.       The Payson Trustee and LP Trustee respectfully request that the Court approve the

proposed Settlement Agreement attached hereto as Exhibit A and grant them such other and further

relief to which they may be entitled.




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                                                    VI.
                                             BASIS FOR RELIEF

       24.      Bankruptcy Courts are “empowered to approve a compromise settlement of a

debtor’s claim under Bankruptcy Rule 9019(a).” Official Comm. of Unsecured Creditors v. Cajun

Electric Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir.

1997). “Approval should only be given if the settlement is fair and equitable and in the best interest

of the estate.” Id. (internal quotes & cite omitted). “In deciding whether a settlement of litigation

is fair and equitable, a judge in bankruptcy must make a well-informed decision, ‘comparing the

terms of the compromise with the likely rewards of litigation.’” Id. at 356 (quoting Rivercity v.

Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)). Courts consider the

following factors in determining whether a settlement is fair and equitable “(1) [t]he probability of

success in the litigation, with due consideration for the uncertainty in fact and law, (2) [t]he

complexity and likely duration of the litigation and any attendant expense, inconvenience and

delay, and (3) all other factors bearing on the wisdom of the compromise.” Id.

       25.      The factors support granting the Joint Motion to Compromise. First, the disputes

are hotly contested and would require lengthy and likely expensive litigation to resolve, and the

Settlement Agreement was reached after good-faith, contentious, and arms-length negotiations.

The Payson Trustee and LP Trustee desire to avoid lengthy litigation between the respective

bankruptcy estates so they can focus on enhancing the value of those estates for the benefit of

creditors. Litigation would be expensive and involve, inter alia, complex factual issues regarding

the value of the property transferred and solvency of the various bankruptcy estates. The

Settlement Agreement, on the other hand, allows the Payson Trustee to distribute hydrocarbon

proceeds currently held in suspense and initiate a sales process to monetize the Subject Wells for

the benefit of creditors of Maricopa, 3 Well LP, and 2014 LP. Additionally, the Settlement



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Agreement (i) reduces 3 Well LP and 2014 LP’s liability for failing to pay Payson Petroleum

amounts owed under the Turnkey Agreements by fifty percent (50%), (ii) provides an arrangement

for coordinated prosecution of avoidance actions and sharing in the proceeds of the same, and (iii)

eliminates the potential that the LP Trustee and Payson Trustee would pursue substantially similar

claims against partners of 3 Well LP and 2014 LP in different proceedings and forums. In sum,

the Payson Trustee and LP Trustee believe the Settlement Agreement is in the best interests of

their respective bankruptcy estates and should be approved. See Affidavit of Jason R. Searcy,

attached as Exhibit B and Affidavit of Christopher J. Moser, attached as Exhibit C.

       26.      A proposed agreed order is attached hereto as Exhibit D.

                                                     PRAYER

       WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 11 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estates of Payson Petroleum

3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. respectfully request that the Court approve

the Agreement and grant them such other and further relief to which they may be justly entitled.




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Dated: September 21, 2017                              Respectfully submitted,

                                                       By:      /s/ Blake Hamm
                                                              Phil Snow
                                                              State Bar No. 18812600
                                                              Blake Hamm
                                                              State Bar No. 24069869
                                                              SNOW SPENCE GREEN LLP
                                                              2929 Allen Parkway, Suite 2800
                                                              Houston, Texas 77019
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                                                              (713) 335-4848 (Fax)

                                                              COUNSEL FOR JASON R. SEARCY,
                                                              CHAPTER 11 TRUSTEE FOR PAYSON
                                                              PETROLEUM, INC., PAYSON
                                                              OPERATING, LLC, AND MARICOPA
                                                              RESOURCES, LLC


                                                        By:     /s/ Keith W. Harvey
                                                              Keith W. Harvey
                                                              State Bar No. 09180100
                                                              THE HARVEY LAW FIRM, P.C.
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                                                              Suite 280
                                                              Dallas, Texas 75231
                                                              (972) 243-3960 Phone
                                                              (972)-241-3970 Facsimile

                                                              COUNSEL FOR CHRISTOPHER J.
                                                              MOSER, CHAPTER 7 TRUSTEE FOR
                                                              PAYSON PETROLEUM 3 WELL, L.P.
                                                              AND PAYSON PETROLEUM 3 WELL
                                                              2014, L.P.




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                                           CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Joint Motion to Approve Compromise
and Settlement Pursuant to Bankruptcy Rule 9019 was duly served as follows:

               •    On September 21, 2017 via the Court’s electronic case filing system for the Eastern
                    District of Texas upon all parties requesting electronic notice of all filings or by
                    email as listed below.

               •    On September 21, 2017 via first class mail, properly addressed and postage prepaid,
                    upon all parties listed on the Service List attached hereto.

 Debtors Payson Petroleum, Inc., Payson Operating,                             Debtors Payson Petroleum 3 Well ,
 LLC, and Maricopa Resources, LLC                                              LP and Payson Petroleum 3 Well
 Mark A. Weisbart                                                              2014, LP
 12770 Coil Road, Suite 541                                                    1757 Harpsichord Way
 Dallas, TX 75251                                                              Henderson, NV 89012
 weisbartm@earthlink.net,                                                      Via First Class Mail
 TX56@ecfcbis.com;mweisbart@ecf.epiqsystems.com;
 tarah_simmons@earthlink.net


 Dan Chern                                                                     Daniel P. Winikka
 The Law Offices of Dan Chern                                                  12377 Merit Drive, Ste. 900
 12801 N. Central Expressway, Suite 1558                                       Dallas, TX 75251
 Dallas, Texas 75243                                                           danw@LFDSlaw.com
 dbc@dchern.com


 US Trustee
 Office of the US Trustee
 110 N. College Ave, #300
 Tyler, TX 75702
 USTPRegion06.TY.ECF@USDOJ.GOV


                                                            /s/ Blake Hamm
                                                            Blake Hamm




I:\Client\SEAJ1001-Searcy-Payson\Adversary Proceedings\16-04106 3 Well LP & 3 Well 2014 LP\Settlement\Settlement Agreement-Execution
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Eastern District of Texas                                                                                        Indianapolis IN 46290-1090
Sherman
Wed Sep 20 14:38:49 CDT 2017
Mark I. Agee                                          David C. Alford                                            Allen M Tonkin Jr Revocable Trust
Mark Ian Agee, Attorney at Law                        Pakis Giotes Page & Burleson, P.C.                         412 San Pasquale SW
6318 E. Lovers Lane                                   P.O. Box 58                                                Albuquerque NM 87104-1135
Dallas, TX 75214-2016                                 Waco, TX 76703-0058


Allied Fence Co                                        Allied Wireline Services LLC                            Alpha Omega Bit LLC
1895 Calloway Drive NW                                 Dept 236                                                9917 Paisley Road
Atlanta GA 30314-1823                                  PO Box 4346                                             Yukon OK 73099-7919
                                                       Houston TX 77210-4346


Amanda Speer                                           American Express                                        American Express
Dore Law Group PC                                      Starwood Business Card                                  TrueEarnings Business Card
17171 Park Row Suite 160                               PO Box 360001                                           PO Box 360001
Houston TX 77084-4927                                  Fort Lauderdale FL 33336-0001                           Fort Lauderdale FL 33336-0001


American Express Bank FSB                              Anadarko E&P Onshore, LLC                               Anderson Perforating Services
c/o Becket and Lee LLP                                 PO Box 730875                                           PO Box 2037
PO Box 3001                                            Dallas TX 75373-0875                                    Albany TX 76430-8001
Malvern, PA 19355-0701


Anderson Perforating Services L                        Anita Anderson, POA Gary Looney                         Arbuckle Wireline
PO Box 2037                                            3916 Georgian Dr                                        PO Box 817
Albany TX 76430-8001                                   Haltom City TX 76117-2636                               Lone Grove OK 73443-0817



Arbuckle Wireline                                      Arbuckle Wireline - L                                   Atex Exploration & Operating
c/o Steven McBride                                     PO Box 817                                              12353 FM 678
14323 US-70                                            Lone Grove OK 73443-0817                                Whitesboro TX 76273-6854
Ardmore OK 73401


Atlas Machine & Welding Inc                            Atlas Tubular LLC                                       Atoka Fishing & Rental Inc
860 S Broadway St                                      PO Box 4312                                             PO Box 898
Joshua TX 76058-3153                                   Robstown TX 78380                                       Gainesville TX 76241-0898



Atoka Fishing & Rental Inc - L                         Atoka Operating Inc                                     Atoka Operating Inc
PO Box 898                                             16200 Addison Rd #155                                   16200 Addison Road, Suite 155
Gainesville TX 76241-0898                              Addison TX 75001-5333                                   Addison TX 75001-5333



Brandon K. Bains                                       Baker Hughes Oilfield Operations Inc                    Baker Hughes Oilfield Operations, Inc.
Langley LLP                                            PO Box 301057                                           c/o Blake Hamm
1301 Solana Blvd                                       Dallas TX 75303-1057                                    Snow Spence Green LLP
Bldg 1, Ste 1545                                                                                               2929 Allen Parkway, Suite 2800
Westlake, TX 76262-1689                                                                                        Houston, TX 77019-7100
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Baker Hughes Oilfield Operations,  Inc.                Banner   Life Entered
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                                                                                                                         Exploration   Co
c/o William R. Sudela                                  3275 Bennett Creek Ave                                     8774 S Richmond Ave
Crady, Jewett & McCulley, LLP                          Frederick MD 21704-7608                                    Tulsa OK 74137-2715
2727 Allen Parkway, Suite 1700
Houston, TX 77019-2125

Becket and Lee                                           Beckman Law                                              Bell Nunnally
16 General Warren Blvd                                   1900 Enchanted Way, Suite 125                            3232 McKinney Ave
Malvern PA 19355-1245                                    Grapevine TX 76051-1023                                  Ste 1400
                                                                                                                  Dallas TX 75204-7422


Bell Supply Company                                      Bell Supply Company - L                                  Benefit Mall
PO Box 1597                                              PO Box 1597                                              Payroll Operations
Gainesville TX 76241-1597                                Gainesville TX 76241-1597                                415 Duke Drive, Suite 345
                                                                                                                  Franklin TN 37067-2737


Blackgold Service Co Inc                                 Brammer Pipe and Steel Inc                               Brammer Pipe and Steel Inc
PO Box 499                                               PO Box 243                                               c/o Larry Brammer
Lindsay OK 73052-0499                                    Gainesville TX 76241-0243                                6178 US 82
                                                                                                                  Gainesville TX 76240-7167


Brandon Archer                                           Brent Bull                                               BroomTree International
Shannon Porter & Johnson                                 Bull & Barrett LLP                                       607 E. College St
PO Box 1272                                              Energy Centre                                            Denton, TX 76209-7317
San Angelo TX 76902-1272                                 1127 Judson Rd, Suite 120
                                                         Longview TX 75601-5168

Buchanan Jr , Burgess E                                  Buchanan, John Y                                         Buechner, C Suzanne
12110 Carlbad Dr                                         4401 Malaga Dr                                           PO Box 197
Austin TX 78738-5338                                     Austin TX 78759-4922                                     Haverford PA 19041-0197



Buechner, Steven                                         Byrd Oilfield Services LLC                               Byrd Oilfield Services LLC
115 Weston Court                                         PO Box 7269                                              c/o Kay Hight
Bluffton SC 29910-9524                                   Abilene TX 79608-7269                                    PO Box 7269
                                                                                                                  Abilene TX 79608-7269


Byrne, Linda Buechner                                    CF & Co LLP                                              CM Henkel III
100 Aspen St                                             8750 N Central Expressway                                Fritz Byrne Head & Fitzpatrick PLLC
Floral Park NY 11001-3431                                Ste 300                                                  500 N Shoreline, Suite 901
                                                         Dallas TX 75231-6464                                     Corpus Christi TX 78401-0342


CMS                                                      Cain, Rosalind                                           Canary Drilling Services LLC
PO Box 93945                                             600 Cinrose Ln                                           PO Box 670257
Cleveland OH 44101-5945                                  Sherman TX 75092-5411                                    Dallas TX 75267-0257



Canon Safety Services Ltd                                Canon Safety Services, LTD                               Canon Safety Services, Ltd
4911 Shed Road                                           P.O. Box 5504                                            Attn: Rod Hammer
Bossier City LA 71111-5418                               Longview, TX 75608-5504                                  P.O. Box 1879
                                                                                                                  Kilgore, TX 75663-1879
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Canon Safety Services, Ltd.                           (p)CAPITAL   ONE                                           Capital One
C/O Law Offices of Ronnie Horsley                     PO BOX 30285                                               Spark Visa Business
P.O. Box 7017                                         SALT LAKE CITY UT 84130-0285                               Attn: General Correspondence
Tyler, TX 75711-7017                                                                                             PO Box 30285
                                                                                                                 Salt Lake City UT 84130-0285

Capital One Bank (USA), N.A.                           Castello Enterprises, Inc                               Charles Gameros Jr PC
PO Box 71083                                           c/o CRMP                                                4514 Cole Avenue, Suite 1500
Charlotte, NC 28272-1083                               PO Box 53567                                            Dallas TX 75205-4220
                                                       Midland TX 79710-3567


Michelle Chow                                          Christopher J Ryan                                      CleanNet
PO Box 601389                                          Kristin McLaurin                                        800 W Airport Freeway
Dallas, TX 75360-1389                                  Baker Hughes Oilfield Operations Inc                    Ste 720
                                                       PO Box 4740                                             Irving TX 75062-6206
                                                       Houston TX 77210-4740

Eboney Cobb                                            Cohen, Sandra R                                         Colonial Life
Perdue Brandon Fielder Collins & Mott                  7030 South Janmar                                       2800 LaFrontera Blvd
500 E. Border Street, Suite 640                        Dallas TX 75230-3119                                    Round Rock TX 78681-7929
Arlington, TX 76010-7457


Comptel Communications                                 Core Laboratories LP                                    Core Laboratories LP
PO Box 462273                                          Attn: Dennis P Rohr, Credit Manager                     Attn: Dennis P Rohr, Credit Manager
Garland TX 75046-2273                                  6316 Windfern Rd                                        PO Box 841787
                                                       Houston TX 77040-4950                                   Dallas TX 75284-1787


Core Laboratories LP                                   Crescent Services LLC                                   Crow, Ricky Allen
PO Box 841787                                          5749 NW 132nd Street                                    1003 W Sycamore
Dallas TX 75284-1787                                   Oklahoma City OK 73142-4437                             Sherman TX 75092-5156



Darnell Jr , Frank L                                   David Alster                                            David W Roth
527 W Acheson St                                       Alster Miller & Greene LLC                              PO Box 560326
Denison TX 75020-6305                                  10039 Bissonnet Street, Suite 216                       Dallas TX 75356-0326
                                                       Houston TX 77036-7852


Dean III, Wilbur Lee                                   Dean, Joseph Glen                                       Denmiss LLC
1200 Sonoma Dr                                         11127 Wyatt St                                          c/o Gina D. Shearer
Allen TX 75013-3642                                    Dallas TX 75218-2547                                    Langley LLP
                                                                                                               1301 Solana Blvd., Bldg. 1, Ste. 1545
                                                                                                               Westlake, TX 76262-1689

Denmiss, LLC                                           Dialog Wireline Services LLC                            Dolezalek, Bessie A
2650 FM 407, Suite 200                                 3100 Maverick Drive                                     2088 Southmayd Rd
Bartonville TX 76226-7016                              Kilgore TX 75662-9032                                   Whitesboro TX 76273-5559



Dolezalek, Kenneth                                     DrillingInfo, Inc                                       Duane G Crocker
255 Frog Pond Rd                                       PO Box 5545                                             The Law Office of Duane G Crocker PC
Sherman TX 75092-5912                                  Austin TX 78763-5545                                    121 S Main Street Suite 300
                                                                                                               Victoria TX 77901-8149
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Eberhart, Berdine                                        Emily E Epperson                                        Endeavor Energy Resources, L P
Eberhart, Tom                                            5210 Long Prairie Rd                                    110 N Marienfeld Suite 200
689 Camp Creek Rd                                        Ste 1511                                                Midland TX 79701-4412
Rockwall TX 75087-7347                                   Flower Mound TX 75028-2279


Estis Compression                                        Estis Compression                                       Evans, Charles J
545 Huey Lenard Loop                                     545 Huey Loenard Loop                                   PO Box 7641
West Monroe LA 71292-0466                                West Monroe LA 71292-0466                               Myrtle Beach SC 29572-0015



Evans, John F                                            Ever Growing Energy Services                            Excel Star Energy Services LP
1104 Timberview Ln                                       7322 Southwest Freeway Ste 868                          PO Box 857
Richardson TX 75080-1534                                 Houston TX 77074-2137                                   Gainesville TX 76241-0857



Express Energy Services                                  Frances M Brown Family Trust                            (p)FRONTIER COMMUNICATIONS
PO Box 843971                                            Frances M Brown, TTEE                                   BANKRUPTCY DEPT
Dallas TX 75284-3971                                     913 Lakeview                                            19 JOHN STREET
                                                         Richardson TX 75080-4909                                MIDDLETOWN NY 10940-4918


Frontier Communications                                  Garofalo, Terry Lee                                     Gary S. Swindell
PO Box 740407                                            11559 Hickory Hollow Lane                               333B Barnes Bridge Rd.
Cincinnati OH 45274-0407                                 Menasha WI 54952                                        Sunnyvale, TX 75182-9107



Gehrig, Peggy Ann                                        Gibbons Hughes & Associates                             Gilbreath Tank Trucks Inc
11 Wrana St                                              PO Box 168645                                           PO Box 430
Medford NY 11763-3513                                    Irving TX 75016-8645                                    Whitesboro TX 76273-0430



Gilbreath Tank Trucks Inc - L                            Gollob Morgan Peddy & Co., P.C.                         Grant Harpold
PO Box 430                                               1001 ESE Loop 323, Suite 300                            Vincent Serafino Geary Waddell Jenevein
Whitesboro TX 76273-0430                                 Tyler, TX 75701-8609                                    815 Walker, Suite 350
                                                                                                                 Houston TX 77002-5716


Grayson County                                           Grayson County                                          Greenberg Traurig LLP
Linebarger Goggan Blair & Sampson, LLP                   Linebarger Goggan Blair & Sampson, LLP                  2200 Ross Avenue
c/o Laurie A Spindler                                    c/o Laurie A Spindler                                   Ste 5200
2777 N Stemmons Frwy Ste 1000                            2777 N Stemmons Frwy Ste 1000                           Dallas TX 75201-2794
Dallas, TX 75207-2328                                    Dallas, Texas 75207-2328

Greene’s Energy Group                                    Greene’s Energy Group, LLC                              Greene, Susan R
PO Box 676263                                            Jeffrey D. Stewart                                      480 Cloud Rd
Dallas TX 75267-6263                                     c/o Wells & Cuellar, P.C.                               Malvern AR 72104-2031
                                                         440 Louisiana, Suite 718
                                                         Houston, TX 77002-1637

Gregory Meece                                            Randy M. Griffin                                        Griffin, Matthew C
Michael Schneider                                        3848 Grand Mesa Drive                                   2221 Justin Rd #119-444
Thompson & Knight LLP                                    Montrose, CO 81403-7117                                 Flower Mound TX 75028-4848
333 Clay Street, Suite 3300
Houston TX 77002-4499
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Griffin, Randy M                                         Griffin, William C                                      Guerra, Sherwood & Ylanan PLLC
3848 Grand Mesa Drive                                    2050 Sierra Place                                       2501 Parkview Drive
Montrose, CO 81403-7117                                  Lewisville TX 75077-7535                                Ste 123
                                                                                                                 Ft Worth TX 76102-5800


H Glory Petroleum, LLC                                   H Miles Cohn                                            HM Express
21406 Santa Clara Dr                                     Crain Caton & James                                     6591 FM 2622
Katy TX 77450-7606                                       1401 McKinney Street 17th Floor                         Stony TX 76259-4041
                                                         Houston TX 77010-4037


Hallbach, Paula Marie Dean                               Halliburton Energy Services Inc                         Halliburton Energy Services Inc
7709 Bob White Dr                                        PO Box 301341                                           c/o Evangelos Kleftakis, Director
Rowlett TX 75088-7384                                    Dallas TX 75303-1341                                    10200 Bellaire Blvd #2NW-13E
                                                                                                                 Houston TX 77072-5206


Halliburton Energy Services Inc                          Halliburton Energy Services Inc - L                     James Blake Hamm
c/o Timothy McKeon, VP & Treasurer                       PO Box 301341                                           Snow Spence Green LLP
10200 Bellaire Blvd #2NW-13E                             Dallas TX 75303-1341                                    2929 Allen Parkway, Suite 2800
Houston TX 77072-5206                                                                                            Houston, TX 77019-7100


Keith William Harvey                                     Hattensty, Jr , Louie A                                 Hayes, Terry C
The Harvey Law Firm, P.C.                                1630 Crinnerville Rd                                    2909 Deerwood Dr
6510 Abrams Road                                         Ardmore OK 73401-7562                                   Waco TX 76710-1818
Suite 280
Dallas, TX 75231-7215

Charles B. Hendricks                                     Hinckley Cook PC                                        Holly Hamm
Cavazos, Hendricks, Poirot & Smtiham, PC                 5850 Town & Country Blvd. Suite 1304                    Snow Spence Green LLP
900 Jackson Street, Suite 570                            Frisco TX 75034-6957                                    2929 Allen Parkway, Suite 2800
Dallas, TX 75202-2413                                                                                            Houston TX 77019-7100


Hooper, John Robert                                      Hy-Bon Engineering Company Inc                          IHS Global Inc
PO Box 546                                               2404 Commerce Drive                                     PO Box 847193
Walters OK 73572-0546                                    Midland TX 79703-7549                                   Dallas TX 75284-7193



IOS                                                      IPFS Corporation                                        (p)IPFS CORPORATION
Dept 730029 PO Box 660919                                c/o Mark W. Steirer                                     30 MONTGOMERY STREET
Dallas TX 75266-0919                                     10330 White Rock Place                                  SUITE 1000
                                                         Dallas, TX 75238-1446                                   JERSEY CITY NJ 07302-3865


Ilva Wilson, TTE of Ilva Wilson TR                       Impac Exploration Services Inc                          Integrated Fluid Systems LLC
81 Prospect St #47                                       24306 E Road 1030                                       3817 NW Expressway
Northampton MA 01060-2173                                Weatherford TX 73096                                    Ste 975
                                                                                                                 Oklahoma City OK 73112-1481


Integrated Fluid Systems LLC                             Integrated Fluid Systems LLC                            Internal Revenue Service
c/o Chad T McDougall                                     c/o Kenneth Stohner, Jr.                                P.O. Box 7346
1021 NW Grand Blvd                                       Jackson Walker LLP                                      Philadelphia PA 19101-7346
Oklahoma City OK 73118-6039                              2323 Ross Avenue, Suite 600
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J Michael Carillo                                      J&P Transport LLC                                       JMW Brown # 1 LLC
Carrillo Tibbels PLLC                                  PO Box 459                                              c/o Anderson Tobin, PLLC
PO Box 207                                             Muenster TX 76252-0459                                  13355 Noel Road, Suite 1900
Decatur TX 76234-0207                                                                                          Dallas TX 75240-6674


JMW Recovery LLC                                       JMW Recovery, LLC                                       Jameson and Dunagan PC
c/o J. Seth Moore & Aaron Z. Tobin                     c/o Anderson Tobin, PLLC                                5429 LBJ Freeway, Suite 700
One Galleria Tower                                     13355 Noel Road, Suite 1900                             Dallas TX 75240-2610
13355 Noel Rd., Ste. 1900                              Dallas TX 75240-6674
Dallas, TX 75240-6674

Jason Bernhardt                                        Jeffrey L Coe                                           Jeffrey Stewart
Winstead, PC                                           PO Box 1157                                             D Brent Wells
600 Travis Suite 1000                                  Palestine TX 75802-1157                                 Wells & Cuellar
Houston TX 77002-3009                                                                                          440 Louisiana, Suite 718
                                                                                                               Houston TX 77002-1637

Jeffrey Stewart                                        Jim Spoonts Trust                                       Jonathan Henley
Wells & Cuellar                                        607 E. College St.                                      Adams Bennett Duncan & Henley
440 Louisiana, Suite 718                               Denton, TX 76209-7317                                   100 East Broadway
Houston TX 77002-1637                                                                                          Gainesville TX 76240-4050


Justin Bryan Whitley                                   KW Utility Construction Inc                             Kathryn Michelle Looney Mathes
Parker Drilling                                        PO Box 32                                               3621 Steeplechase Apt 7306
5 Greenway Plaza, Suite 100                            Whitesboro TX 76273-0032                                Sherman TX 75092-6131
Houston TX 77046-0506


Kenneth Stohner, Jr                                    Kirkpatrick Oil & Gas, LLC                              Knoop, Carin Isabel
Jackson Walker L L P                                   1001 West Wilshire Blvd #202                            136 Brattle St
2323 Ross Avenue, Suite 600                            Oklahoma City OK 73116-7017                             Cambridge MA 02138-3425
Dallas TX 75201-2725


Kyle Erwin Construction LLC                            LG Networks Inc                                         Lauderdale, Candis Ann
PO Box 643                                             8111 LBJ Freeway                                        4201 Estancia Way
Boyd TX 76023-0643                                     Ste 625                                                 Fort Worth TX 76108-8315
                                                       Dallas TX 75251-1430


Law Offices of Paul W Brown                            (c)LEMONS, ANEVA                                        Kim Ellen Lewinski
5956 Sherry Lane                                       2210 CARRIAGE ESTATES RD                                17171 Park Row, Ste. 160
Ste 1000                                               SHERMAN TX 75092-4405                                   Houston, TX 77084-4927
Dallas TX 75225-8021


Lewis, Jeffrey Charles                                 Lewis, Joan Marie                                       Lewis, Lindsey Lamont
245 Whispering Valley Dr                               108 Purple Sage Dr                                      262 Wolfcreek Pass
Wimberley TX 78676-2100                                Georgetown TX 78633-4853                                Wimberley TX 78676-5931



Lide Industries LLC                                    Lide Industries LLC                                     (p)LIGHT TOWER RENTALS INC
aka Permian Tank & Mfg                                 c/o John Hanson                                         2330 E INTERSTATE 20 SOUTH SERVICE RD
c/o John Hanson                                        17101 Preston Road, Suite 230                           ODESSA TX 79766-8842
17101 Preston Road, Suite 230                          Dallas, TX 75248-1374
Dallas, TX 75248-1374
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Lott, Linda D                                          M Cowie                                                 M D Allison
4325 Village Woods Ln                                  Greenberg, Grant & Richards                             PO Box 1376
Chester VA 23831-4803                                  PO Box 571811                                           1010 N Grand
                                                       Houston TX 77257-1811                                   Gainesville TX 76240-3524


M D Allison                                            MSM Environmental, LLC                                  MSM Oilfield Services
PO Box 1376                                            Craig E. Brown                                          PO Box 13178
Gainesville TX 76241-1376                              1900 Northwest Expressway, Suite 450                    Oklahoma City OK 73113-1178
                                                       Oklahoma City, OK 73118-1849


Magnum Oil Tools International LTD                     Maricopa Resources, LLC                                 Maricopa Resources, LLC
5655 Bear Lane Ste 100                                 2652 FM 407 E, Suite 250                                2652 FM 407 E, Suite 250
Corpus Christi TX 78405-4404                           Argyle TX 76226-7026                                    Bartonville TX 76226-7026



Mark D Threadgill                                      Mark H Bennett                                          Mark P Blenden
3800 East 42nd Street, Suite 601                       General Counsel of Crescent Services LLC                2217 Harwood Road
Odessa TX 79762-5930                                   5721 NW 132nd Street                                    Bedford TX 76021-3607
                                                       Oklahoma City OK 73142-4437


Matthew C Griffin                                      McCullough, Charles Joseph                              McCullough, John Edward
8605 Doral Court W                                     28504 10th Ave S                                        PO Box 787
Flower Mound TX 75022-6481                             Federal Way WA 98003-3138                               Pottsboro TX 75076-0787



McCullough, Mary Margaret                              Merton Tracy TTE                                        Metro-Repro Inc
6466 N State Highway 289                               Ann W Tracy RT                                          PO Box 560092
Sherman TX 75092-7064                                  1039 300th St                                           Dallas TX 75356-0092
                                                       Nashua IA 50658-9406


Michael S Crooks                                       Mid-Central Energy Services LLC                         Montgomery Joint Venture
171 Stonebridge Boulevard                              727 N Morgan Road                                       4948 Stony Ford Dr
Edmond OK 73013-4683                                   Oklahoma City OK 73127-7142                             Dallas TX 75287-7235



J. Seth Moore                                          Morrow, Marilyn Teresa                                  Christopher J. Moser
Condon Tobin Sladek Thornton, PLLC                     7634 N State Hwy 289                                    2001 Bryan Street
8080 Park Lane                                         Sherman TX 75092-7066                                   Suite 1800
Suite 700                                                                                                      Dallas, TX 75201-3070
Dallas, TX 75231-5920

Nancy P Tonkin Revocable Trust                         Nancy T Cutter Revocable Trust                          National Association of Personal
c/o Nancy T Cutter                                     1524 Park Ave SW                                        Financial Advisors Inc
1524 Park Ave SW                                       Albuquerque NM 87104-1024                               8700 W Bryn Mawr, Suite 700N
Albuquerque NM 87104-1024                                                                                      Chicago IL 60631-3509


National Oilwell Varco LP                              National Oilwell Varco LP                               Nevill Document Solutions
7909 Parkwood Circle Drive                             PO Box 202631                                           2825 Story Road W
Houston, TX 77036-6757                                 Dallas TX 75320-2631                                    Irving TX 75038-5268
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                                                                                                                                  Service Inc
PO Box 4724 MSC 800                                    PO Box 875                                                  c/o Crystal McCann
Houston TX 77210-4724                                  Gainesville TX 76241-0875                                   3728 Highway 82 East
                                                                                                                   Gainesville TX 76240-7056


North Texas Sample Log Service                           Number One RWM, Ltd                                      O’Neal, Norman D
PO Box 1376                                              PO Box 758                                               128 Miller Dr
1010 N Grand                                             Sherman TX 75091-0758                                    Sherman TX 75090-8987
Gainesville TX 76240-3524


Odle, Douglas Kent                                       Odle, Gary Wayne                                         Odle, Landon Boyd
10304 Big Thicket Dr                                     1001 West Munson St                                      3227 Mill House Run
Austin TX 78747-2706                                     Denison TX 75020-5127                                    Missouri City TX 77459-6514



Oil States Energy Services LLC                           Oil States Energy Services, LLC                          Old Aulacogen, L P
PO Box 203567                                            c/o Grant P. Harpold                                     3053 Seneca
Dallas TX 75320-3567                                     2229 San Felipe, Ste. 1000                               Frisco TX 75034-5971
                                                         Houston, TX 77019-5639


PCS Ferguson                                             PCS Ferguson - L                                         PCS Ferguson, Inc.
3771 Eureka Way                                          3771 Eureka Way                                          c/o Dore Law Group, P.C.
Frederick CO 80516-9446                                  Frederick CO 80516-9446                                  17171 Park Row
                                                                                                                  Suite 160
                                                                                                                  Houston, TX 77084-4927

Paradise Springs, LLC                                    Parker, Nedro                                            Pason Systems USA Corp
1900 E 15th St, Suite 600E                               c/o Vera Ann Stewart                                     16035 Table Mountain Pkwy
Edmond OK 73013-6691                                     10526 Stone Canyon Rd #104                               Golden CO 80403-1642
                                                         Dallas TX 75230-4401


Patrick, Mike                                            Payson Developmental                                     Payson Developmental Drilling
2620 Sir Gawain Ln                                       Drilling Fund 2014 II, LP                                Fund 2014 II, LP
The Colony TX 75056-5718                                 2652 FM 407 E, Suite 250                                 2652 FM 407 E, Suite 250
                                                         Argyle TX 76226-7026                                     Bartonville TX 76226-7026


Payson Drilling Fund 2015 I, LP                          Payson Drilling Fund 2015 II, LP                         Payson Grayson 2 Well, LP
2652 FM 407 E, Suite 250                                 2652 FM 407 E, Suite 250                                 2652 FM 407 E, Suite 250
Bartonville TX 76226-7026                                Argyle TX 76226-7026                                     Argyle TX 76226-7026



Payson J C #1, LP                                        Payson Operating, LLC                                    Payson Petroleum 3 Well 2013, L P
2652 FM 407 E, Suite 250                                 2652 FM 407 E, Suite 250                                 2652 FM 407 E, Suite 250
Argyle TX 76226-7026                                     Argyle TX 76226-7026                                     Bartonville TX 76226-7026



Payson Petroleum 3 Well 2014 L P                         Payson Petroleum 3 Well 2014, LP                         Payson Petroleum 3 Well LP
2652 FM 407 E, Suite 250                                 2652 FM 407 E, Suite 250                                 2652 FM 407 E, Suite 250
Bartonville TX 76226-7026                                Argyle TX 76226-7026                                     Bartonville TX 76226-7026
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2652 FM 407 E, Suite 250                              2652 FM 407 E, Suite 250                                    2652 FM 407 E, Suite 250
Argyle TX 76226-7026                                  Bartonville TX 76226-7026                                   Argyle TX 76226-7026



Payson Petroleum Grayson 2 Well, L P                    Payson Petroleum Inc                                     Payson Petroleum J C # 1 L P
2652 FM 407 E, Suite 250                                2652 FM 407 E Suite 250                                  2652 FM 407 E, Suite 250
Bartonville TX 76226-7026                               Bartonville TX 76226-7026                                Bartonville TX 76226-7026



Payson Petroleum LLC                                    Payson Petroleum Management Partners LLC                 Payson Petroleum Profit Sharing
dba Payson Petroleum Inc                                2652 FM 407 E, Suite 250                                 2652 FM 407 E Suite 250
2652 FM 407 E, Suite 250                                Bartonville TX 76226-7026                                Bartonville TX 76226-7026
Argyle TX 76226-7026


Payson Petroleum, Inc                                   Peak Oilfield Services LLC                               Peak Oilfield Services LLC
2652 FM 407 E, Suite 250                                PO Box 203997                                            c/o Darla Wolf, Collections Manager
Argyle TX 76226-7026                                    Dallas TX 75320-3397                                     1400 Post Oak Blvd Ste 400
                                                                                                                 Houston TX 77056-3009


Peak Oilfield Services, LLC                             Philip C Brown TTE PCB Trust                             Phillip G Shaffer PC
Dore Law Group, P.C.                                    PO Box 2464                                              230 West Main
17171 Park Row                                          Sherman TX 75091-2464                                    Denison TX 75020-3025
Suite 160
Houston, TX 77084-4927

Phoenix American Financial Services                     Pilot Thomas Logistics LLC                               Pilot Thomas Logistics LLC
2401 Kerner Blvd                                        d/b/a Simons Petroleum LLC                               d/b/a Simons Petroleum LLC
San Rafael CA 94901-5569                                PO Box 676686                                            c/o Tyler Barnett, credit manager
                                                        Dallas TX 75267-6686                                     777 Main Street Suite 2000
                                                                                                                 Fort Worth TX 76102-5332

Pottsboro Church of Christ                              Pottsboro ISD                                            Premier Property Real Estate Group LLC
522 W FM 120                                            % Perdue Brandon Fielder Et Al                           PO Box 678527
Pottsboro TX 75076-7478                                 500 E. Border Street                                     Dallas TX 75267-8527
                                                        Suite 640
                                                        Arlington, TX 76010-7457

Prescott Capital Group, Inc                             Prescott Capital Group, Inc                              Primoris Energy Services Corporation
2652 FM 407 E                                           2652 FM 407 E, Suite 250                                 1010 CR 59
Bartonville TX 76226-7018                               Bartonville TX 76226-7026                                Rosharon TX 77583-2566



Primoris Energy Services Corporation                    Protechnics-A Core Laboratories LP                       Pruitt Tool & Supply Co Inc
dba Sprint Pipeline Services                            ATTN: JAY A. WALD, CCE                                   PO Box 181359
1010 CR 59                                              6316 Windfern Rd.                                        Fort Smith AR 72918-1359
Rosharon TX 77583-2566                                  Houston,TX 77040-4950


Quail Tools LP                                          Quasar Energy Services Inc                               Quasar Energy Services Inc
PO Box 10739                                            3288 FM 51                                               c/o Tim Sicking, President
New Iberia LA 70562-0739                                Gainesville TX 76240-0208                                3288 FM 51
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3288 FM 51                                             1300 Norwood Drive, Suite 100                               1114 West Hull St
Gainesville TX 76240-0208                              Bedford, Texas 76022-5246                                   Denison TX 75020-5124



Ranger Consulting Company LLC                            Ranger Consulting Company LLC                            Ranger Directional Services
PO Box 18673                                             c/o Chad T McDougall                                     PO Box 18673
Oklahoma City OK 73154-0673                              1021 NW Grand Blvd                                       Oklahoma City OK 73154-0673
                                                         Oklahoma City OK 73118-6039


Ranger Directional Services LLC                          Red Eagle Energy LLC                                     Red Eagle Energy, LLC
c/o Chad T McDougall                                     3848 Grand Mesa Drive                                    c/o Randy Griffin
1021 NW Grand Blvd                                       Montrose, CO 81403-7117                                  3848 Grand Mesa Drive
Oklahoma City OK 73118-6039                                                                                       Montrose, CO 81403-7117


Reed, Kathy                                              Reed, Kirk E                                             Reesing, Phillip
310 W Wilshire Blvd                                      PO Box 721918                                            13031 Park Crossing #1504
Oklahoma City OK 73116-7704                              Norman OK 73070-8462                                     San Antonio TX 78217-1674



Reg D Resources                                          Rick Browning                                            Ricky Allen Crow
7333 West Jefferson Ave, Suite 225                       5050 E University Drive, Suite 1                         1003 W Sycamore
Lakewood CO 80235-2017                                   Odessa TX 79762-8100                                     Sherman TX 75092-5156



Rig Runners Inc                                          Ringgold, Hubert Charles                                 Ringgold, Hubert Charles
519 N Sam Houston Pkwy E                                 802 C R 2958                                             802 CR 2958
Ste 600                                                  Alba TX 75410                                            Alba TX 75410-5725
Houston TX 77060-4054


Robert C Beasley                                         Robert J Naudin                                          Robin Lambourn
Weycer, Kaplan, Pulaski & Zuber, P C                     1221 Lamar Street, 16th Floor                            Lambourn Law Firm
1400 Summit Tower                                        Houston TX 77010-3039                                    PO Box 9123
11 Greenway Plaza, Suite 1400                                                                                     Denver CO 80209-0123
Houston TX 77046-1130

Ronnie Horsley                                           Ronnie Horsley                                           Row Plus LLC
PO Box 7017                                              Ronnie Horsley, P C                                      PO Box 8
Tyler TX 75711-7017                                      PO Box 7017                                              Alvord TX 76225-0008
                                                         Tyler TX 75711-7017


Ryan J McNeel                                            S&S Welding                                              SH Productions Inc
Brockett & McNeel LLP                                    PO Box 283                                               301 W Main Suite 600
PO Box 1841                                              Poolville TX 76487-0283                                  Ardmore OK 73401-6322
Midland TX 79702-1841


Schlumberger Technology Corp                             Michael Isaac Schneider                                  Jason R. Searcy
PO Box 732149                                            Thompson & Knight LLP                                    P. O. Box 3929
Dallas TX 75373-2149                                     811 Main Street, Suite 2500                              Longview, TX 75606-3929
                                                         Houston, TX 77002-6119
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Joshua P. Searcy                                         Searcy & Searcy, P.C.                                   Jason Searcy.
Searcy & Searcy, P.C.                                    PO Box 3929                                             P. O. Box 3929
PO Box 3929                                              Longview, TX 75606-3929                                 Longview, TX 75606-3929
Longview, TX 75606-3929


Secore & Waller LLP                                      Select Energy Services LLC                              Select Energy Services LLC
12222 Merit Drive                                        PO Box 1715                                             c/o Randy Friedsam, Direct
Ste 1350                                                 Gainesville TX 76241-1715                               1400 Post Oak Blvd Ste 400
Dallas TX 75251-3214                                                                                             Houston TX 77056-3009


Select Energy Services, LLC                              SemGas                                                  Gina D. Shearer
Kim Lewinski                                             6120 S Yale Ave Ste 700                                 Strasburger & Price, LLP
Dore’ Law Group, P.C.                                    Tulsa OK 74136-4216                                     2600 Dallas Parkway, Suite 600
17171 Park Row, Suite 160                                                                                        Frisco, TX 75034-8698
Houston, TX 77084-4927

Sierra Engineering                                       Simons Petroleum - L                                    Smith International Inc
105 Leighton Dr Apt D                                    PO Box 676686                                           PO Box 732136
Thibodaux LA 70301-8432                                  Dallas TX 75267-6686                                    Dallas TX 75373-2136



Snow Spence Green LLP                                    Snubco USA - L                                          Solari Luz LLC
2929 Allen Pkwy., Ste. 2800                              Dept 169 PO Box 4458                                    PO Box 1783
Houston, TX 77019-7100                                   Houston TX 77210-4458                                   El Prado NM 87529-1783



Southstar Energy Corp                                    Laurie A. Spindler                                      Mark W. Steirer
301 W Main Suite 500                                     Linebarger, Goggan, Blair & Sampson                     Law Office of Mark W. Steirer
Ardmore OK 73401-6322                                    2777 N. Stemmons Frwy Ste 1000                          10330 White Rock Place
                                                         Dallas, TX 75207-2328                                   Dallas, TX 75238-1446


Stewart, Vera Ann                                        William R. Sudela                                       Sunoco Energy Services LLC
10526 Stone Canyon Rd #104                               Crady Jewett & McCulley. LLP                            PO Box 3445
Dallas TX 75230-4401                                     2727 Allen Parkway, Suite 1700                          San Angelo TX 76902-3445
                                                         Houston, TX 77019-2125


Susan M Baletka                                          T Scott Smith                                           TGK, Inc.
Baker Hughes Oilfield Operations, Inc                    Attorney and Counselor at Law                           800 W. Airport Frwy Suite 720
PO Box 4740                                              PO Box 354                                              Irving, TX 75062-6206
Houston TX 77210-4740                                    Sherman TX 75091-0354


TNT Electric Inc                                         TWL Holdings, L P                                       Tamarisk Energy Corporation
5240 E Hwy 82                                            400 N Saint Paul St, Suite 800                          11650 79th Ave #101
Gainesville TX 76240                                     Dallas TX 75201-6862                                    Edmonton, AB T6G 0P7
                                                                                                                 CANADA


Tanya Garrison                                           Terry Jacobson                                          Terry, Johnny S
Weycer Kaplan Pulaski & Zuber                            Jacobson Law Firm PC                                    2501 W Coffin St
11 Greenway Plaza, Suite 1400                            733 West Second Avenue                                  Denison TX 75020-7211
Houston TX 77046-1130                                    Corsicana TX 75110-2942
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1300 Norwood Dr Suite 100                            606 Calle Embocadura                                       Attorney at Law
Bedford TX 76022-5246                                San Clemente CA 92673-3006                                 PO Box 329
                                                                                                                Gainesville TX 76241-0329


Thomas L Claxton                                       Aaron Z. Tobin                                         Transamerica Employee Benefits
PO Box 329                                             Condon Tobin Sladek Thornton PLLC                      PO Box 74504
Gainesville TX 76241-0329                              8080 Park Ln., Suite 1900                              Cincinnati OH 45274-2504
                                                       Dallas, TX 75231-5930


Traton Engineering Associates, L.P.                    Trinidad Drilling LP                                   Trinidad Drilling, LP
1415 N. Loop W. Frwy. #1250                            15015 Vickery Drive                                    c/o Thompson & Knight LLP
Houston, TX 77054                                      Houston TX 77032-2554                                  333 Clay Street, Suite 3300
                                                                                                              Houston, TX 77002-4104


Robert and Kitty Tunmire                               U.S. Attorney General                                  US Trustee
P.O. Box 1691                                          Department of Justice                                  Office of the U.S. Trustee
Waco, TX 76703-1691                                    Main Justice Building                                  110 N. College Ave.
                                                       10th & Constitution Ave., NW                           Suite 300
                                                       Washington, DC 20530-0001                              Tyler, TX 75702-7231

United Rentals                                         United States Attorney s Office                        John M. Vardeman
1950 N Stemmons Fwy                                    110 North College Avenue, Suite 700                    UST Office
Lockbox 840514                                         Tyler TX 75702-0204                                    110 N. College St., Suite 300
Dallas TX 75207-3134                                                                                          Tyler, TX 75702-7231


Vogelsang, Barbara B                                   Vrla, Patricia Ann                                     Emily Scott Wall
1705 Crescent Dr                                       1719 Skyline Dr                                        Cavazos Hendricks Poirot & Smitham PC
Sherman TX 75092-7519                                  Sherman TX 75092-3140                                  900 Jackson St., Ste. 570
                                                                                                              Dallas, TX 75202-2413


Washita Mineral Co                                     Weatherford U S LP                                     Welmar Investments
PO Box 915                                             PO Box 301003                                          PO Box 632
Ardmore OK 73402-0915                                  Dallas TX 75303-1003                                   Nowata OK 74048-0632



Wheeler, J Michael                                     White Stone Resources, LLC                             William Scazzero
c/o Anderson Tobin, PLLC                               PO Box 11                                              Hayes Berry White Vanzant
13355 Noel Road, Suite 1900                            St Albert, AB T8N 1N2                                  512 W Hickory Street, Suite 100
Dallas TX 75240-6674                                   CANADA                                                 Denton TX 76201-9074


Wilson, Bobby C                                        Wilson, Jessie Linda                                   Wilson, Leslie Lashelle
309 Cedar Creek Ct                                     PO Box 1261                                            3822 Pipers Meadow
Fort Worth TX 76103-1016                               Sherman TX 75091-1261                                  San Antonio TX 78251-1644



Wilson, Thomas J                                       Wilson, Vurlas Lane                                    Sara G. Witmeyer
454 Peters Blvd                                        327 Spoutspring Rd                                     Cobb Martinez Woodward
Brightwaters NY 11718-1721                             Pottsboro TX 75076-7027                                1700 Pacific Avenue
                                                                                                              Suite 3100
                                                                                                              Dallas, TX 75201-7489
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                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Capital One                                              Frontier Communications                                 IPFS Corporation
Attn: 63001-015                                          Bankruptcy Dept                                         PO Box 730223
15000 Capital One Dr                                     19 John St                                              Dallas TX 75373-0223
Richmond VA 23238                                        Middletown, NY 10940


Light Tower Rentals Inc
2330 E I20 S Service Road
Odessa TX 79764




                                       Addresses marked (c) above for the following entity/entities were corrected
                                            as required by the USPS Locatable Address Conversion System (LACS).


Lemons, Aneva
245 Carriage Estates Rd
Sherman TX 75092




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Allied Wireline Services LLC                          (d)Amanda Speer                                         (d)American Express Bank FSB
Dept 236 PO Box 4346                                     Dore Law Group PC                                       c/o Becket and Lee LLP
Houston TX 77210-4346                                    17171 Park Row, Suite 160                               PO Box 3001
                                                         Houston TX 77084-4927                                   Malvern PA 19355-0701


(d)Atoka Operating, Inc                                  (d)Broomtree International                              (d)Buchanan, Jr , Burgess E
16200 Addison Road, Suite 155                            607 E. College St.                                      12110 Carlbad Dr
Addison TX 75001-5333                                    Denton, TX 76209-7317                                   Austin TX 78738-5338



(d)Christopher J Ryan                                    (d)Core Laboratories LP                                 (u)Denmiss, LLC
Kristin McLaurin                                         Attn: Dennis P Rohr, Credit Manager
Baker Hughes Oilfield Operations, Inc                    6316 Windfern Road
PO Box 4740                                              Houston TX 77040-4950
Houston TX 77210-4740

(d)H Miles Cohn                                          (d)Hinckley Cook, PC                                    (d)Integrated Fluid Systems LLC
Crain Caton & James                                      5850 Town & Country Blvd                                3817 NW Expressway Ste 975
1401 McKinney Street, 17th Floor                         Suite 1304                                              Oklahoma City OK 73112-1481
Houston TX 77010-4037                                    Frisco, TX 75034-6957
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(u)Integrated Fluid Systems, L.L.C.                   (d)Internal   Revenue  Service                             (d)Jim Spoonts  Trust
                                                      P.O. Box 7346                                              607 E. College St.
                                                      Philadelphia PA 19101-7346                                 Denton, TX 76209-7317



(d)Lide Industries, LLC                                 (d)Magnum Oil Tools International LTD                   (d)Payson Petroleum LLC
c/o John Hanson                                         5655 Bear Lane, Suite 100                               dba Payson Petroleum, Inc
17101 Preston Road, Suite 230                           Corpus Christi TX 78405-4404                            2652 FM 407 E, Suite 250
Dallas, TX 75248-1374                                                                                           Argyle TX 76226-7026


(d)Payson Petroleum, Inc.                               (u)Ranger Consulting Company, L.L.C.                    (u)Ranger Directional Services, L.L.C.
2652 FM 407 E, Suite 250
Bartonville, TX 76226-7026



(d)Red Eagle Energy, LLC                                (d)SH Productions, Inc                                  (d)Jason Searcy.
3848 Grand Mesa Drive                                   301 W Main Suite 600                                    P. O. Box 3929
Montrose, CO 81403-7117                                 Ardmore OK 73401-6322                                   Longview, TX 75606-3929



(d)Solari Luz LLC                                       (d)Kenneth Stohner Jr.                                  (d)Wheeler, J Michael
PO Box 1783                                             Jackson Walker, LLP                                     c/o Anderson Tobin, PLLC
El Prado NM 87529-1783                                  2323 Ross Ave., Suite 600                               13355 Noel Road, Suite 1900
                                                        Dallas, TX 75201-2725                                   Dallas TX 75240-6674


End of Label Matrix
Mailable recipients    359
Bypassed recipients     27
Total                  386
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                                      SETTLEMENT AGREEMENT

        This Settlement Agreement (the “Agreement”) is entered into as of September 20, 2017 by
and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC, Jason
Searcy, Chapter 11 Trustee for the Searcy Bankruptcy Cases, and (b) Payson Petroleum 3 Well,
L.P., Payson Petroleum 3 Well 2014, L.P. and Christopher J. Moser, Chapter 7 Trustee for the
Moser Bankruptcy Cases, referred to individually herein as a “Party” and collectively as, the
“Parties.”

                                                RECITALS

      WHEREAS, Christopher J. Moser is the duly appointed Chapter 7 Trustee in the 3 Well
LP Bankruptcy Case and the 2014 LP Bankruptcy Case.

       WHEREAS, Jason R. Searcy is the duly appointed Chapter 11 Trustee in the Payson
Petroleum Bankruptcy Case, the Payson Operating Bankruptcy Case and the Maricopa Bankruptcy
Case.

        WHEREAS, on or about October 10, 2013, Payson Petroleum and 3 Well LP entered into
a Subscription Turn Key Agreement under which 3 Well LP agreed to pay Payson certain amounts
for the drilling and completion of the Subject Wells.

       WHEREAS, on or about January 12, 2014, Payson Petroleum and 2014 LP entered into a
Subscription Turn Key Agreement under which 2014 LP agreed to pay Payson Petroleum certain
amounts for the drilling and completion of the Subject Wells.

        WHEREAS, on or about March 28, 2016, Maricopa assigned certain interests in the
Subject Wells to 3 Well LP and 2014 LP via three (3) certain Wellbore Assignments, Conveyances,
Bills of Sale, and Releases, which were recorded in the real property records of Grayson County,
Texas at Instrument Numbers: 2016-00006064, 2016-00006065, and 2016-00006066. The
working interests assigned are set forth below:

                                                                                 Working
                                                                                 Interest
                         Subject Well                  Assignee                  Assigned
                     Williams #1H Well              2014 LP                      72.210840%
                     Williams #1H Well              3 Well LP                    27.789160%
                     Crowe #2 Well                  2014 LP                      72.210840%
                     Crowe #2 Well                  3 Well LP                    27.789160%
                     Elaine #1 Well                 2014 LP                      72.210840%
                     Elaine #1 Well                 3 Well LP                    27.789160%

         WHEREAS, on November 1, 2016, suit was filed against 3 Well LP and 2014 LP in
Adversary Proceeding No. 16-04106, styled Jason R. Searcy, Chapter 11 Trustee v. Payson
Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. (as amended) and asserts, inter
alia, (i) breach of contract claims against 3 Well LP and 2014 LP to recover amounts owed under
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the 3 Well LP Turnkey Agreement and the 2014 LP Turnkey Agreement, and (ii) fraudulent
transfer and preference claims against 3 Well LP and 2014 LP (the “Adversary Proceeding”).

        WHEREAS, the Parties have agreed to resolve, compromise, and settle all claims, disputes
and controversies between the Parties which have been or could have been asserted in any and all
of the Bankruptcy Cases or the Adversary Proceeding in accordance with the terms set forth in this
Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein, the Parties hereby agree as follows:

                                                   ARTICLE 1

                                                    Definitions

      1.01 Defined Terms. The following terms, as used in this Agreement, shall have the
meanings indicated below, unless the context otherwise requires:

       “2014 LP” means Payson Petroleum 3 Well 2014, L.P., Christopher J. Moser in his
capacity of Chapter 7 trustee of Payson Petroleum 3 Well 2014, L.P. and the Payson Petroleum 3
Well 2014 L.P. bankruptcy estate.

       “2014 LP Bankruptcy Case” means Bankruptcy Case No. 17-40180 styled In re Payson
Petroleum 3 Well 2014, L.P., Debtor, pending in the United States Bankruptcy Court for the
Eastern District of Texas, Sherman Division.

       “2014 LP Subject Claims Assignment and Participation Agreement” means an
agreement between 2014 LP and Payson Petroleum, substantially in the form attached hereto as
Exhibit 1.

       “2014 LP and 3 Well LP Retained Claims” has the meaning set forth in Section 4.04.

      “3 Well LP” means Payson Petroleum 3 Well, L.P., Christopher J. Moser in his capacity
of Chapter 7 trustee of Payson Petroleum 3 Well, L.P. and the Payson Petroleum 3 Well L.P.
bankruptcy estate.

        “3 Well LP Bankruptcy Case” means Bankruptcy Case No. 17-40179 styled In re Payson
Petroleum 3 Well, L.P., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

       “3 Well LP Subject Claims Assignment and Participation Agreement” means an
agreement between 3 Well LP and Payson Petroleum, substantially in the form attached hereto as
Exhibit 2.

       “Agreed Final Judgment” means an Agreed Final Judgment to be filed in the Adversary



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Proceeding, substantially in the form attached hereto as Exhibit 3.

       “Bankruptcy Cases” means, collectively, the Payson Petroleum Bankruptcy Case, the
Payson Operating Bankruptcy Case, the Maricopa Bankruptcy Case, the 3 Well LP Bankruptcy
Case and the 2014 LP Bankruptcy Case.

        “Bankruptcy Code” means The Bankruptcy Reform Act of 1978, as codified in title 11
of the United States Code, as now in effect or hereafter amended.

       “Bankruptcy Court” means the United States Bankruptcy Court for the Eastern District
of Texas, Sherman Division.

       “Business Day” means any day that is not a Saturday, Sunday, or other day on which banks
are authorized or required to close pursuant to the rules and regulations of the Federal Reserve
System.

       “Closing” shall have the meaning ascribed to it in Article 3 of this Agreement.

       “Closing Date” shall have the meaning ascribed to it in Article 3 of this Agreement.

        “Direct Taxes” means all ad valorem, property, gathering, transportation, pipeline
regulating, gross receipts, windfall profit, severance, production, excise, eating content, carbon,
value added, environmental, occupation, sales, use, fuel, and other taxes and governmental charges
and assessments imposed on or as a result of all or any part of the Subject Wells, including any
real or personal property, equipment or fixtures, to the extent used in connection with, or relating
to, the Subject Wells, the Subject Hydrocarbons or the proceeds thereof. “Direct Taxes” do not
include federal income taxes, state income taxes or franchise taxes or any penalty or interest
surcharges thereon.

       “Execution Date” means September 20, 2017.

        “Gas” means natural gas and all other gaseous hydrocarbons, including casinghead gas,
but excluding condensate and other liquid hydrocarbons removed by conventional mechanical
field separation at the wellhead and also excluding the liquid products of any processing of Gas
done prior to the sale of such Gas.

       “Hydrocarbons” means Gas and/or Oil.

       “Joint Motion for Entry of Agreed Final Judgment” shall mean the Joint Motion for
Entry of Agreed Final Judgment, substantially in the form attached hereto as Exhibit 4.

        “Maricopa” means Maricopa Resources, LLC, Jason Searcy in his capacity of Chapter 11
trustee of Maricopa Resources, LLC and the Maricopa Resources, LLC bankruptcy estate.




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        “Maricopa Bankruptcy Case” means Bankruptcy Case No. 16-41043 styled In re
Maricopa Resources, LLC, Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

        “Marketing Expenses” mean the costs incurred in connection with the marketing and sale
of the Subject Wells, including broker fees, legal fees and other expenses incurred in connection
with preparation of marketing materials, negotiation of any potential sale, preparation of
documents and pleadings and/or preparation and attendance at hearings.

      “Moser Bankruptcy Cases” means the 3 Well LP Bankruptcy Case and the 2014 LP
Bankruptcy Case.

       “Oil” means crude oil, condensate and other liquid hydrocarbons, including liquid
hydrocarbons removed by conventional mechanical field separation at the wellhead and also
including the liquid products of any processing of Gas done prior to the sale of such Gas.

       “Operating Agreement” means the Contract Operating Services Agreement attached here
as Exhibit 5.

        “Operating Reserve” means the sum of $50,000 to be used by Maricopa exclusively to
satisfy Subject Wells Operating Costs incurred subsequent to the Payson Operating bankruptcy
petition date.

      “Operator” means Traton Operating Company in its capacity as Contract Operator for
Payson Operating.

      “Payson Operating” means Payson Operating, LLC, Jason Searcy in his capacity of
Chapter 11 trustee of Payson Operating, LLC and the Payson Operating, LLC bankruptcy estate.

        “Payson Operating Bankruptcy Case” means Bankruptcy Case No. 16-41045 styled In
re Payson Operating, LLC, Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

      “Payson Petroleum” means Payson Petroleum, Inc., Jason Searcy in his capacity of
Chapter 11 trustee of Payson Petroleum, Inc. and the Payson Petroleum, Inc. bankruptcy estate.

        “Payson Petroleum Bankruptcy Case” means Bankruptcy Case No. 16-41044 styled In
re Payson Petroleum, Inc., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

      “Payson Petroleum, Payson Operating and Maricopa Retained Claims” has the
meaning set forth in Section 4.05.

      “Searcy Bankruptcy Cases” means the Maricopa Bankruptcy Case, the Payson Operating
Bankruptcy Case and the Payson Petroleum Bankruptcy Case.




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       “Settlement Approval Orders” means Orders, substantially in the form attached hereto
as Exhibit 6, granting the relief requested in the Settlement Motion which is to be filed in each of
the Bankruptcy Cases.

        “Settlement Motions” means the Joint Motions for Approval of Settlement and
Compromise, substantially in the form attached hereto as Exhibit 7, which are to be filed in each
of the Bankruptcy Cases.

       “Settlement Transaction Documents” means the Operating Agreement, Agreed Final
Judgment, the Joint Motion for Entry of Agreed Final Judgment, Settlement Approval Order,
Settlement Motions, 3 Well LP Subject Claims Assignment and Participation Agreement, 2014 LP
Subject Claims Assignment and Participation Agreement, and any other documents and
instruments entered into in connection with this Agreement.

        “Subject Wells” mean, collectively, the William #1H (API # 181-31557), the Crowe #2
(API #181-31543), and the Elaine #1 (API #181-31547) oil and gas wells and related leasehold
interests.

      “Subject Wells Account” means a segregated account established by Jason Searcy as
Chapter 11 Trustee of Maricopa at a commercial banking institution.

       “Subject Wells Assignments” means assignments in the forms attached hereto as Exhibit
8.

        “Subject Wells Net Proceeds” means the (i) Subject Wells Net Production Proceeds, plus
(ii) Subject Wells Net Sales Proceeds, minus (iii) Direct Taxes and the Operating Reserve, as
determined on a cumulative basis.

        “Subject Wells Net Production Proceeds” means the amount (computed on a cumulative
basis) by which the gross proceeds received by Maricopa from the sale of the Subject Wells
Hydrocarbons exceeds Operating Costs, and the Operating Reserve.

        “Subject Wells Net Sales Proceeds” means the amount by which the gross proceeds from
the sale of the Subject Wells exceeds Marketing Expenses, Subject Wells Operating Costs and
valid perfected liens which are not subject to avoidance pursuant to Chapter 5 of the Bankruptcy
Code, as determined by an order entered in the Bankruptcy Cases.

       “Subject Wells Operating Costs” means all expenses incurred in connection with (i)
insuring, operating, producing, reworking and maintaining the Subject Wells, (ii) materials,
supplies, equipment and other personal property and fixtures purchased for use and actually used
on, or direction in connection with the Subject Wells, (iii) gathering, treating, processing,
transportation and marketing hydrocarbons produced from the Subject Wells, (iv) plugging,
abandonment and remediation (including the Operating Reserve), and (v) Operator fees and
expenses related to the Subject Wells.

       “Suspended Revenues” mean the Subject Wells Net Production Proceeds as of the


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Closing Date less the Operating Reserve.

        1.02 Amendment of Defined Instruments. Unless the context otherwise requires or
unless otherwise provided herein, the terms defined in this Agreement which refer to a particular
agreement, instrument or document also refer to and include all renewals, extensions,
modifications, amendments and restatements of such agreement, instrument or document. Nothing
contained in this Agreement will be construed to authorize any renewal, extension, modification,
amendment or restatement of this Agreement or any agreement, instrument or document referred
to herein.

        1.03 References and Titles. All references in this Agreement to Exhibits, Articles,
Sections, subsections and other subdivisions refer to the Exhibits, Articles, Sections, subsections
and other subdivisions of this Agreement unless expressly provided otherwise. Titles appearing
at the beginning of any subdivisions are for convenience only, do not constitute any part of those
subdivisions and will be disregarded in construing the language contained in those subdivisions.
The words “this Agreement,” “this instrument,” “herein,” “hereof,” “hereby,” “hereunder” and
words of similar import refer to this Agreement as a whole and not to any particular subdivision
unless expressly so limited. The phrases “this section” and “this subsection” and similar phrases
refer only to the sections or subsections of this Agreement in which those phrases occur. The word
“or” is not exclusive; the word “including” (in its various forms) means “including without
limitation.” Pronouns in masculine, feminine and neuter genders shall be construed to include any
other gender, and words in the singular form shall be construed to include the plural and vice versa,
unless the context otherwise requires. The word “will” shall be construed to have the same
meaning and effect as the word “shall.” Unless the context requires otherwise (a) any reference
herein to any law shall be construed as referring to such law as amended, modified, codified or
reenacted, in whole or in part, and in effect from time to time; (b) any reference herein to any
person shall be construed to include such person's successors and assigns (subject to the restrictions
contained herein); (c) with respect to the determination of any time period, the word “from” means
“from and including” and the word “to” means “to and including;” and (d) all dollar amounts refer
to United States dollars. A reference herein to a number of “days” will be intended to refer to that
number of calendar (as opposed to working) days, unless otherwise specifically provided. No
provision of this Agreement or the Settlement Transaction Documents shall be interpreted or
construed more strictly against any person solely because such person or its legal representative
drafted such provision.

                                                    ARTICLE 2

                        Settlement Motions and Settlement Approval Orders

        2.01 Execution Date Deliveries. On the Execution Date, each Party shall execute and
deliver to the other Parties the following:

                 •         The Settlement Motions;
                 •         The proposed form of Settlement Approval Orders;
                 •         The Joint Motion for Entry of Agreed Final Judgment; and


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                •         The proposed form of Agreed Final Judgment.

        2.02 Filing of Motions. Counsel for Payson Petroleum, Payson Operating and Maricopa
shall cause the Settlement Motions and proposed Settlement Approval Orders to be filed in the
respective Bankruptcy Cases. Counsel for Payson Petroleum, Payson Operating and Maricopa
shall cause the Joint Motion for Entry of Agreed Final Judgment and proposed form of Agreed
Final Judgment to be filed in the Adversary Proceeding.

        2.03 Prosecution of Motions. Each Party shall cooperate with the other Parties and use
their good faith best efforts to support entry by the Bankruptcy Court of (i) the Settlement Approval
Orders, and (ii) the Agreed Final Judgment. The Parties stipulate that 2014 LP and 3 Well LP
consent to entry of the Agreed Final Judgment is subject to Bankruptcy Court approval of the
Settlement Motions.

                                                   ARTICLE 3

                                                      Closing

        3.01 Time and Place. The Closing on the transactions contemplated in this Agreement
shall be conducted within three (3) Business Days after entry of the Settlement Approval Orders
(the “Closing Date”) at the office of Snow Spence Green LLP located at 2929 Allen Parkway,
Suite 2800, Houston, Texas 77019 or such later date as may be agreed upon by the Parties (the
“Closing”).

      3.02 Delivery by Maricopa to 3 Well LP. On the Closing Date, Maricopa shall deliver
to 3 Well LP the following: (a) a sum equal to 27.79% of forty-five percent (45%) of the
Suspended Revenues by wire transfer to the following account.

                BOK Financial
                7500 College Blvd., Ste. 1450
                Overland Park, KS 66210
                ABA: 101015101
                Account Name: Payson Petroleum 3 Well, L.P.
                Account Number: 1151505797

      3.03 Delivery by Maricopa to 2014 LP. On the Closing Date, Maricopa shall deliver to
2014 LP the following: (a) a sum equal to 72.21% of forty-five percent (45%) of the Suspended
Revenues by wire transfer to the following account.

                BOK Financial
                7500 College Blvd., Ste. 1450
                Overland Park, KS 66210
                ABA: 101015101
                Account Name: Payson Petroleum 3 Well 2014, L.P.
                Account Number: 1151505775



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        3.04 Delivery by 3 Well LP to Maricopa. On the Closing Date, 3 Well LP shall assign
all right, title and interests in 55% of the Suspended Revenues and deliver to Maricopa the duly
executed Subject Wells Assignments.

         3.05 Delivery by 2014 LP to Maricopa. On the Closing Date, 2014 LP shall assign all
right, title and interests in 55% of the Suspended Revenues and deliver to Maricopa the duly
executed Subject Wells Assignments.

        3.06 Delivery by 3 Well LP to Payson Petroleum. On the Closing Date, 3 Well LP shall
deliver to Payson Petroleum the duly executed 3 Well LP Subject Claims Assignment and
Participation Agreement.

        3.07 Delivery by 2014 LP to Payson Petroleum. On the Closing Date, 2014 LP shall
deliver to Payson Petroleum a duly executed 2014 LP Subject Claims Assignment and
Participation Agreement.

        3.08 Delivery by Payson Petroleum to 3 Well LP. On the Closing Date, Payson
Petroleum shall deliver to 3 Well LP a duly executed 3 Well LP Subject Claims Assignment and
Participation Agreement.

        3.09 Delivery by Payson Petroleum to 2014 LP. On the Closing Date, Payson Petroleum
shall deliver to 2014 LP a duly executed 2014 LP Subject Claims Assignment and Participation
Agreement.

                                                   ARTICLE 4

                                     Claims Stipulations and Releases

        4.01 Allowed Claims of Payson Petroleum. The Parties stipulate and agree to allowance
of (i) a general unsecured claim of Payson Petroleum in the 3 Well LP Bankruptcy Case in the
amount of $8,557,888.50, and (ii) a general unsecured claim of Payson Petroleum in the 2014 LP
Bankruptcy Case in the amount of $2,671,900.50.

       4.02 Allowed Claim of 3 Well LP. The Parties stipulate and agree to allowance of a
general unsecured claim of 3 Well LP in the Maricopa Bankruptcy Case in an amount equal to
27.78916% of the Subject Wells Net Proceeds actually disbursed to Maricopa pursuant to this
Agreement.

       4.03 Allowed Claim of 2014 LP. The Parties stipulate and agree to allowance of a
general unsecured claim of 2014 LP in the Maricopa Bankruptcy Case in an amount equal to
72.21084% of the Subject Wells Net Proceeds actually disbursed to Maricopa pursuant to this
Agreement.




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        4.04 Release by 2014 LP and 3 Well LP. Effective as of the Closing Date, 2014 LP and
3 Well LP (except for the 2014 LP and 3 Well LP Retained Claims as defined in this section)
hereby release, waive, and discharge Payson Petroleum, Payson Operating, Maricopa, the Operator
and the bankruptcy estates of Payson Petroleum, Payson Operating and Maricopa, from and against
any and all liabilities, claims, rights, debts, causes of action, suits, matters, issues, damages, costs,
injuries and demands whatsoever, whether at law or in equity, whether by contract or tort, at law
or under any statute, known or unknown, discovered or undiscovered, accrued or unaccrued,
liquidated or non-liquidated, contingent or absolute, which 2014 LP and/or 3 Well LP ever had or
now has, or may hereafter have, either directly or indirectly, individually, representatively,
derivatively, by virtue of subrogation, or by virtue of any action, inaction, matter, event,
representation or circumstances, transactions or occurrences prior to the Closing Date (“2014 LP
and 3 Well LP Released Claims”). Notwithstanding the foregoing, the release provided for in this
section does not extend to or include (i) allowed unsecured claims set forth in Sections 4.02 and
4.03, and (ii) the contractual obligations of Payson Petroleum, Payson Operating and Maricopa
pursuant to this Agreement and the Settlement Transaction Documents (“2014 LP and 3 Well LP
Retained Claims”).

         4.05 Release by Payson Petroleum, Payson Operating and Maricopa. Effective as of the
Closing Date, Payson Petroleum, Payson Operating and Maricopa (except for the Payson
Petroleum, Payson Operating and Maricopa Retained Claims as defined in this section), hereby
release, waive, and discharge 2014 LP and 3 Well LP and the bankruptcy estates of 2014 LP and
3 Well LP, from and against any and all liabilities, claims, rights, debts, causes of action, suits,
matters, issues, damages, costs, injuries and demands whatsoever, whether at law or in equity,
whether by contract or tort, at law or under any statute, known or unknown, discovered or
undiscovered, accrued or unaccrued, liquidated or non-liquidated, contingent or absolute, which
Payson Petroleum, Payson Operating and/or Maricopa ever had or now has, or may hereafter have,
by virtue of any action, inaction, matter, event, representation or circumstances, transactions or
occurrences prior to the Closing Date. Notwithstanding the foregoing, the release provided for in
this section does not extend to or include (i) allowed unsecured claims set forth in Section 4.01,
and (ii) the contractual obligations of 2014 LP and 3 Well LP pursuant to this Agreement and the
Settlement Transaction Documents, (iii) claims and causes of action against any general partner or
limited partner of 2014 LP or 3 Well LP, (iv) the Payson/3 Well LP Partnership Related Claims
(as that term is defined in the 3 Well LP Subject Claims Assignment and Participation Agreement),
(v) the Payson/2014 LP Partnership Related Claims (as that term is defined in the 2014 LP Subject
Claims Assignment and Participation Agreement), and (vi) all rights with respect to all of the
above, including as to third parties (“Payson Petroleum, Payson Operating and Maricopa Retained
Claims”).

                                                    ARTICLE 5

                                          Operation of Subject Wells

       5.01 Operator. Traton Operating Company (an affiliate of Traton Engineering
Associates, L.P.) (“Traton”) shall serve as contract operator of the Subject Wells in accordance
with the terms of the Operating Agreement until such time as Traton either resigns as Operator or



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is removed as Operator by the unanimous decision of Maricopa, 2014 LP and 3 Well LP. Effective
as of the Closing Date, 2014 LP and 3 Well LP ratify and agree to be bound by the terms of the
Operating Agreement.

        5.02 Operation Standards. The Parties agree that Operator shall not be liable for any act
or omission taken or omitted to be taken in its capacity as Operator of the Subject Wells, other
than acts or omissions resulting from Operator’s willful misconduct, gross negligence, or
fraud. The Operator may, in connection with the performance of its operation of the Subject Wells,
and in its sole absolute discretion, consult with Payson Operating and/or Payson Operating’s
attorneys, accountants and agents, and shall not be liable for any act taken, omitted to be taken, or
suffered to be done in accordance with advice or opinions rendered by such
professionals. Notwithstanding such authority, the Operator shall be under no obligation to consult
with Payson Operating and/or Payson Operating’s the attorneys, accountants, or agents, and its
determination to not do so shall not result in imposition of liability on the Operator unless such
determination is based on willful misconduct, gross negligence, or fraud. The bankruptcy estates
of Maricopa, 3 Well LP, and 2014 LP shall, JOINTLY AND SEVERALLY, indemnify and hold
harmless the Operator and his or her agents, representatives, professionals, and employees
(“Operator Group”) from and against and in respect to any and all liabilities, losses, damages,
claims, costs, and expenses, including, but not limited to attorneys’ fees and costs arising out of or
due to Operator Group’s actions or omissions, or consequences of such actions or omissions, with
respect to the operation of the Subject Wells, irrespective of cause or negligence; provided,
however, that no such indemnification will be made to the Operator Group for such actions or
omissions as a result of willful misconduct, gross negligence, or fraud.

                                                    ARTICLE 6

                                          Subject Wells Net Proceeds

       6.01 Establishment of Accounts. Within ten (10) Business Days following the Closing
Date, Maricopa shall establish the Subject Wells Account.

       6.02 Deposits into Subject Wells Account. Except to the extent otherwise ordered by
the Bankruptcy Court, Maricopa shall deposit into the Subject Wells Account (i) the gross proceeds
which it receives from the sale of Hydrocarbons produced from the Subject Wells, and (ii) the
Subject Wells Net Sales Proceeds.

       6.03 Operating Costs. Maricopa shall satisfy Subject Wells Operating Costs out of funds
deposited in the Subject Wells Account.

       6.04 Disbursement of Subject Wells Net Proceeds. Unless otherwise ordered by the
Bankruptcy Court, within forty-five (45) days of the end of each calendar quarter, the Subject
Wells Net Proceeds on deposit in the Subject Wells Account shall be disbursed as follows:

                 (a)       55% to Maricopa;
                 (b)       32.4945% to 2014 LP; and



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                (c)       12.5055% to 3 Well LP.

        6.05 Accounting and Reporting. Within thirty (30) days of the end of each calendar
month, the Operator shall provide the Parties with a report itemizing (i) Subject Wells Operating
Costs and proceeds received by Maricopa from the sale of the Subject Wells Hydrocarbons, and,
(ii) Marketing Expenses and, if applicable, the proceeds from the sale of the Subject Wells.

                                                   ARTICLE 7

                                  Marketing and Sales of Subject Wells

     7.01 Covenant to Market and Sell Subject Wells. Maricopa will exert good faith
commercially reasonable efforts to market and sell the Subject Wells.

       7.02 Information. Maricopa will promptly provide a copy of any offer it receives to
purchase the Subject Wells to 2014 LP and 3 Well LP.

       7.03 Section 363 Sale. The Subject Wells will be sold by Maricopa under 11 U.S.C. §
363 pursuant to orders entered in the Bankruptcy Cases.

                                                   ARTICLE 8

                                     Representations and Warranties

        8.01 Review and Approval. Each Party represents to the other Party that its
representatives have reviewed this Agreement together with all exhibits and they (i) understand
fully the terms of this Agreement and the consequences of the issuance thereof, (ii) have been
afforded an opportunity to have this Agreement reviewed by legal counsel, and (iii) have entered
into this Agreement of their own free will and accord and without threat or duress.

        8.02 Authority. Each Party represents to the other Party that (i) the undersigned
representative is fully authorized to execute this Agreement on its behalf, and (ii) upon entry of
the Settlement Approval Orders, will have full authority to consummate the transactions provided
for herein.

       8.03 Disclaimer. Each Party represents and warrants to the other Party that in executing
and entering into this Agreement, it is not relying and has not relied upon any representation,
promise or statement made by anyone which is not recited, contained or embodied in this
Agreement. Each Party understands and expressly assumes the risk that any fact not recited,
contained or embodied herein or therein may turn out hereafter to be other than, different from, or
contrary to the facts now known to them or believed by them to be true.




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                                                    ARTICLE 9

                                                   Miscellaneous

        9.01 Entire Agreement. This Agreement, including all exhibits attached hereto and
made a part hereof, constitute the entire agreement between the Parties with respect to the
transactions contemplated hereby and supersede all prior agreements, understandings, negotiations
and discussions, whether oral or written, of the Parties with respect to such transactions.

        9.02 Survival. All representations, warranties, covenants and agreements of the Parties
made in this Agreement shall survive the execution and delivery of this Agreement until such time
as all of the obligations of the signatories to such document shall have lapsed in accordance with
their respective terms or shall have been discharged in full.

       9.03 Waiver. No waiver by a Party of any of the provisions of this Agreement (a) shall
be binding unless executed in writing by such party, (b) shall be deemed or shall constitute a waiver
by such party of any other provision hereof (whether or not similar), and (c) shall not constitute a
continuing waiver by such party.

       9.04 Further Assurances. The Parties will take such actions and execute and deliver such
other documents or agreements as may be necessary or desirable for the implementation of this
Agreement and the consummation of the transactions contemplated hereby.

        9.05 Notices. Any notice, request, consent, approval, waiver or other communication
provided or permitted to be given under this Agreement shall be in writing and shall be delivered
in person or sent by U.S. mail, overnight courier, electronic mail or fax to the appropriate addresses
set forth below. Any such communication shall be effective upon actual receipt; provided,
however, that in the case of delivery by fax after the normal business hours of the recipient, such
communication shall be effective on the next business day following the transmission of such fax.
For purposes of notice, the addresses of the Parties shall be as follows:

        If to Payson Petroleum, Payson Operating or Maricopa:

                           Jason R. Searcy
                           Searcy & Searcy, P.C.
                           446 Forest Square
                           Longview, Texas 75605
                           Fax: 903.757.3399
                           Email: jsearcy@jsearcylaw.com




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                          with a copy to:

                          Blake Hamm
                          Snow Spence Green LLP
                          2929 Allen Parkway, Suite 2800
                          Houston, TX 77019
                          Fax: 713.335.4848
                          Email: blakehamm@snowspencelaw.com

       If to 3 Well LP or 2014 LP:

                          Christopher J. Moser
                          Quilling, Selander, Lownds, Winslett & Moser, P.C.
                          2001 Bryan Street, Ste. 1800
                          Dallas, TX 75201
                          Fax: 214.871.2111
                          Email: cmoser@qslwm.com

                          with a copy to:

                          Keith W. Harvey
                          The Harvey Law Firm, P.C.
                          6510 Abrams Road, Ste. 280
                          Dallas, TX 75231
                          Fax: 972.241.3970
                          Email: harvey@keithharveylaw.com

Each Party shall have the right, upon giving ten (10) days’ prior notice to the other party in the
manner provided in this section, to change its address for purposes of notice.

        9.06 Governing Law and Venue. This Agreement shall be construed and interpreted in
accordance with the laws of the State of Texas, notwithstanding any applicable conflict of laws
provision. Any dispute regarding this Agreement shall be subject to mandatory venue in the United
States Bankruptcy Court for the Eastern District of Texas, Sherman Division.

        9.07 Multiple Counterparts. The Parties agree that facsimile and electronic signatures
shall have the same force and effect as original signatures. This Agreement may be executed in
counterparts and all counterparts so executed shall constitute one agreement which shall be binding
on the Parties hereto.

        9.08 Modification. This Agreement cannot be altered, changed or modified except in
writing executed by a duly authorized representative for each of the Parties.

       9.09 Severability. If any term or other provision of this Agreement is invalid, illegal or
incapable of being enforced by any rule of law or public policy, all other conditions and provisions



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of this Agreement shall nevertheless remain in full force and effect so long as the economic or
legal substance of the transactions contemplated hereby is not affected in any adverse manner with
respect to any Party. Upon determination of a court of competent jurisdiction that any term or
other provision of this Agreement is invalid, illegal or incapable of being enforced, the Parties
shall negotiate in good faith to modify this Agreement so as to affect the original intent of the
Parties as closely as possible. The obligations of the Parties hereunder are severable and not joint.

       9.10 Costs and Attorneys’ Fees. If either Party retains an attorney in connection with
any breach of this Agreement, the prevailing party is entitled to collect its reasonable costs and
expenses incurred in any such suit or proceeding, including reasonable attorneys’ fees.

                                           [Signature Pages Follow]




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                                         PAYSON PETROLEUM, INC.


                                         By:_--,q_e?'-'\'---------'----/L--=---=-~----
                                                  R. Searcy, Chapter 11 Trustee


                                         PAYSON OPERATING, LLC


                                         By:              ~ /(_ j;-
                                                  Jason~earcy, Chapter 11 Trustee


                                         MARICOPA RESOURCES, LLC


                                         By:              ~/(_                ~
                                                  Jaso~Searcy, Chapter 11 Trustee


                                         PAYSON PETROLEUM 3 WELL, L.P.


                                         By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             Christopher J. Moser, Chapter 7 Trustee


                                         PAYSON PETROLEUM 3 WELL 2014, L.P.


                                         By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                             Christopher J. Moser, Chapter 7 Trustee




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                                        PAYSON PETROLEUM, INC.


                                        By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Jason R. Searcy, Chapter 11 Trustee


                                        PAYSON OPERATING, LLC


                                        By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Jason R. Searcy, Chapter 11 Trustee


                                        MARICOPA RESOURCES, LLC


                                        By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Jason R. Searcy, Chapter 11 Trustee


                                        PAYSON PETROLEUM 3 WELL, L.P.


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                                        PAYSON PETROLEUM 3 WELL 2014, L.P.




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STATE OF TEXAS                                         §
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       BEFORE ME, the undersigned authority, on this             day of  JD-rh            5erl-e rvtb€-.r
                                                                                       2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of PAYSON PETROLEUM, INC.,
whose name is subscribed to the foregoing instrument and acknowledged to me that he executed
the same for the purposes and consideration therein expressed.



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       BEFORE ME, the undersigned authority, on this            day of  J-e)±b             S:v-/em.bex-
                                                                                       2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of PAYSON OERA TING, LLC,
whose name is subscribed to the foregoing instrument and acknowledged to me that he executed
the same for the purposes and consideration therein expressed.


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       BEFORE ME, the undersigned authority, on thisdoth           day of ~m,ber 2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of MARIC0PARESOURCES,
LLC, whose name is subscribed to the foregoing instrument and acknowledged to me that he
executed the same for the purposes and consideration therein expressed .


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STATE OF TEXAS                                         §
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       BEFORE ME, the undersigned authority, on this ~ D,ll\. day of        o~
personally appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON ETROLEuM 3
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WELL, L.P., whose name is subscribed to the foregoing instrument and acknowledged to me that
he executed the same for the purposes and consideration therein expressed .

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       BEFORE ME, the undersigned authority, on this £ D~ day of ~ ~.Vl 2017,
personally appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM 3
WELL 2014, L.P., whose name is subscribed to the foregoing instrument and acknowledged to
me that he executed the same for the purposes and consideration therein expressed.


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                                                      EXHIBIT LIST

Exhibit 1           2014 LP Subject Claims Assignment and Participation Agreement
Exhibit 2           3 Well LP Subject Claims Assignment and Participation Agreement
Exhibit 3           Agreed Final Judgment
Exhibit 4           Joint Motion for Entry of Agreed Final Judgment
Exhibit 5           Contract Operating Services Agreement
Exhibit 6           Settlement Approval Order
Exhibit 7           Settlement Motions
Exhibit 8           Subject Wells Assignments




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 EXHIBIT 1 TO SETTLEMENT AGREEMENT

2014 LP SUBJECT CLAIMS ASSIGNMENT AND
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      SUBJECT CLAIMS ASSIGNMENT AND PARTICIPATION AGREEMENT
                             (2014 LP)

        This Subject Claims Assignment and Participation Agreement (the “Agreement”) is
entered into as of ____________________, 2017 by and between Payson Petroleum, Inc. (“Payson
Petroleum”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”), referred to individually herein
as a “Party” and collectively as, the “Parties.”

                                                RECITALS

      WHEREAS, Christopher J. Moser is the duly appointed Chapter 7 Trustee in the 2014 LP
Bankruptcy Case (defined below).

       WHEREAS, Jason R. Searcy is the duly appointed Chapter 11 Trustee in the Payson
Petroleum Bankruptcy Case (defined below).

       WHEREAS, 2014 LP and Payson Petroleum are parties to the Settlement Agreement
(defined below) which provides for entry into this Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein, the Parties hereby agree as follows:

                                                   ARTICLE 1

                                                    Definitions

      1.01 Defined Terms. The following terms, as used in this Agreement, shall have the
meanings indicated below, unless the context otherwise requires:

       “2014 LP” means Payson Petroleum 3 Well 2014, L.P., Christopher J. Moser in his
capacity of Chapter 7 trustee of Payson Petroleum 3 Well 2014, L.P. and the Payson Petroleum 3
Well 2014, L.P. bankruptcy estate.

        “2014 LP Avoidance Action Claims” means all claims and causes of action of 2014 LP
arising under Chapter 5 of the Bankruptcy Code.

       “2014 LP Avoidance Action Claims Net Recovery” means any Net Recovery for or on
account of the 2014 LP Avoidance Action Claims.

       “2014 LP Bankruptcy Case” means Bankruptcy Case No. 17-40180 styled In re Payson
Petroleum 3 Well 2014, L.P., Debtor, pending in the United States Bankruptcy Court for the
Eastern District of Texas, Sherman Division.

       “2014 LP Participation Interest” means an undivided fifty percent (50%) interest.

       “2014 LP Partnership Related Claims” means all rights, claims, causes of action and
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rights of contribution of 2014 LP (independent of Section 2.02 of this Agreement) against any
current or former general partner or limited partner of 2014 LP, including but not limited to claims
under 11 U.S.C. § 723.

       “2014 LP Partnership Related Claims Net Recovery” means any Net Recovery for or
on account of the 2014 LP Partnership Related Claims.

       “Bankruptcy Code” means The Bankruptcy Reform Act of 1978, as codified in title 11
of the United States Code, as now in effect or hereafter amended.

       “Net Recovery” means the Recovery net of all expenses and fees (including Special
Counsel fees) incurred in connection with investigation, prosecution and collection of the Subject
Claims.

        “Payson/2014 LP Partnership Related Claims” means all rights, claims and causes of
action of Payson Petroleum (independent of Section 2.01 of this Agreement) against any current
or former general partner or limited partner of 2014 LP.

        “Payson/2014 LP Partnership Related Claims Net Recovery” means the Net Recovery
for and on account of the Payson/2014 LP Partnership Related Claims.

      “Payson Petroleum” means Payson Petroleum, Inc., Jason Searcy in his capacity of
Chapter 11 trustee of Payson Petroleum, Inc. and the Payson Petroleum, Inc. bankruptcy estate.

        “Payson Petroleum Bankruptcy Case” means Bankruptcy Case No. 16-41044 styled In
re Payson Petroleum, Inc., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

        “Payson Petroleum Participation Interest” means an undivided fifty percent (50%)
interest.

        “Recovery” means (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Parties for or on account of or in satisfaction or partial satisfaction
thereof with respect to the Subject Claims.

      “Settlement Agreement” means the Settlement Agreement entered into as of September
___, 2017 by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa
Resources, LLC, Jason Searcy, Chapter 11 Trustee for the Searcy Bankruptcy Cases, and (b)
Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014, L.P. and Christopher J. Moser,
Chapter 7 Trustee for the Moser Bankruptcy Cases.

       “Settlement Approval Order” has the meaning defined in the Settlement Agreement.

       “Special Counsel” means Snow Spence Green LLP.
       “Special Counsel Engagement Agreements” means (i) the August 15, 2016 Engagement
Letter Agreement by and between Snow Spence Green LLP and Jason R. Searcy, Chapter 11



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Trustee of Payson Petroleum, Inc., Maricopa Resources, LLC and Payson Operating, LLC, (ii) the
Engagement Letter Agreement between 2014 LP, 3 Well LP, Payson Petroleum and Snow Spence
Green LLP substantially in the form of Exhibit 1, and (iii) the Engagement Letter Agreement
between 2014 LP, Payson Petroleum and Snow Spence Green LLP in the form of Exhibit 2.

       “Subject Claims” means all 2014 LP Avoidance Action Claims, all 2014 LP Partnership
Related Claims and all Payson/2014 LP Partnership Related Claims.

        1.02 Amendment of Defined Instruments. Unless the context otherwise requires or
unless otherwise provided herein, the terms defined in this Agreement which refer to a particular
agreement, instrument or document also refer to and include all renewals, extensions,
modifications, amendments and restatements of such agreement, instrument or document. Nothing
contained in this Agreement will be construed to authorize any renewal, extension, modification,
amendment or restatement of this Agreement or any agreement, instrument or document referred
to herein.

        1.03 References and Titles. All references in this Agreement to Exhibits, Articles,
Sections, subsections and other subdivisions refer to the Exhibits, Articles, Sections, subsections
and other subdivisions of this Agreement unless expressly provided otherwise. Titles appearing
at the beginning of any subdivisions are for convenience only, do not constitute any part of those
subdivisions and will be disregarded in construing the language contained in those subdivisions.
The words “this Agreement,” “this instrument,” “herein,” “hereof,” “hereby,” “hereunder” and
words of similar import refer to this Agreement as a whole and not to any particular subdivision
unless expressly so limited. The phrases “this section” and “this subsection” and similar phrases
refer only to the sections or subsections of this Agreement in which those phrases occur. The word
“or” is not exclusive; the word “including” (in its various forms) means “including without
limitation.” Pronouns in masculine, feminine and neuter genders shall be construed to include any
other gender, and words in the singular form shall be construed to include the plural and vice versa,
unless the context otherwise requires. The word “will” shall be construed to have the same
meaning and effect as the word “shall.” Unless the context requires otherwise (a) any reference
herein to any law shall be construed as referring to such law as amended, modified, codified or
reenacted, in whole or in part, and in effect from time to time; (b) any reference herein to any
person shall be construed to include such person's successors and assigns (subject to the restrictions
contained herein); (c) with respect to the determination of any time period, the word “from” means
“from and including” and the word “to” means “to and including;” and (d) all dollar amounts refer
to United States dollars. A reference herein to a number of “days” will be intended to refer to that
number of calendar (as opposed to working) days, unless otherwise specifically provided. No
provision of this Agreement shall be interpreted or construed more strictly against any person
solely because such person or its legal representative drafted such provision.

                                                    ARTICLE 2

                                                    Assignment

        2.01 Assignment by 2014 LP of Participation Interest. 2014 LP hereby absolutely and
unconditionally sells, transfers and assigns to Payson Petroleum, the Payson Petroleum
Participation Interest in (i) the 2014 LP Avoidance Action Claims Net Recovery, and (ii) the 2014


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LP Partnership Related Claims Net Recovery.

        2.02 Assignment by Payson Petroleum of Participation Interest. Payson Petroleum
hereby absolutely and unconditionally sells, transfers and assigns to 2014 LP, the 2014 LP
Participation Interest in the Payson/2014 LP Partnership Related Claims Net Recovery.

                                                   ARTICLE 3

                                Preservation, Prosecution and Authority

        3.01 Preservation. 2014 LP retains all 2014 LP Avoidance Action Claims and all 2014
LP Partnership Related Claims subject to the Payson Petroleum Participation Interest and Payson
Petroleum’s rights hereunder. Upon entry of the Settlement Approval Order in the 2014 LP
Bankruptcy Case and execution of this Agreement, Payson Petroleum is vested with and may
enforce and prosecute (or determine to do any of the foregoing) the 2014 LP Avoidance Action
Claims and 2014 LP Partnership Related Claims without further order of the Bankruptcy Court.
Payson Petroleum’s right to commence, prosecute or settle 2014 LP Avoidance Action Claims and
2014 LP Partnership Related Claims shall be preserved. No preclusion doctrine, including the
doctrines of res judicata; collateral estoppel, issue preclusion, claim preclusion, estoppel shall
apply to the 2014 LP Avoidance Action Claims or 2014 LP Partnership Related Claims by virtue
of entry into this Agreement. Payson Petroleum in connection with the 2014 LP Avoidance Action
Claims and the 2014 LP Partnership Related Claims shall constitute the representative of the 2014
LP bankruptcy estate for purposes of prosecuting the 2014 LP Avoidance Action Claims and the
2014 LP Partnership Related Claims.

        3.02 Standing. The Parties stipulate and agree that Payson Petroleum shall have standing
to assert and prosecute on behalf of 2014 LP all 2014 LP Avoidance Action Claims and all 2014
LP Partnership Related Claims.

        3.03 Authority. Subject to Section 6.01, Payson Petroleum shall have exclusive
authority with respect to the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action
Claims and the Payson/2014 LP Partnership Related Claims. The exclusive authority of Payson
Petroleum includes investigation, management and settlement of all litigation related to the 2014
LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the Payson/2014 LP
Partnership Related Claims.

                                                   ARTICLE 4

                                                 Special Counsel

       4.01 Engagement of Counsel. Snow Spence Green LLP is engaged pursuant to the
Special Counsel Engagement Agreement, dated August 15, 2016 (approved by Bankruptcy Court
order dated September 19, 2016), to investigate and prosecute the Payson/3Well LP Partnership
Related Claims.




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        4.02 Engagement Agreement. Snow Spence Green LLP (subject to Bankruptcy Court
approval) is engaged to investigate and prosecute the 2014 LP Avoidance Action Claims and the
2014 LP Partnership Related Claims pursuant to the terms of the Special Counsel Engagement
Agreement attached as Exhibit 2. 2014 LP shall cause an order approving the engagement of
Snow Spence Green LLP and the Special Counsel Engagement Agreement, attached as Exhibit 2,
to be entered in the 2014 LP Bankruptcy Case.

                                                   ARTICLE 5

                                          Application of Recoveries

       5.01 Fees and Expenses. Any Recovery shall be applied first, to satisfy fees pursuant to
the Special Counsel Engagement Agreements and, second, to expenses incurred by Special
Counsel and Payson Petroleum in connection with investigation, prosecution and collection of the
Subject Claims.

       5.02 Disbursement of Net Recoveries. Payson Petroleum is hereby assigned and shall
receive the Payson Petroleum Participation Interest in all (i) 2014 LP Partnership Related Claims
Net Recoveries, (ii) 2014 LP Avoidance Action Claims Net Recoveries, and (iii) Payson/2014 LP
Partnership Related Claims Net Recoveries. 2014 LP is hereby assigned and shall receive the 2014
LP Participation Interest in all (x) 2014 LP Partnership Related Claims Net Recoveries, (y) 2014
LP Avoidance Action Claims Net Recoveries, and (z) Payson/2014 LP Partnership Related Claims
Net Recoveries.

                                                   ARTICLE 6

                                                  Miscellaneous

      6.01      Settlement. Any settlement of a Subject Claim is subject to Bankruptcy Court
approval.

        6.02 Discretion. Payson Petroleum shall determine in its sole discretion the Subject
Claims to investigate and prosecute. Subsequent to October 1, 2018, Payson Petroleum shall, upon
the written request of 2014 LP, release from this Agreement and assign back to 2014 LP any 2014
LP Partnership Related Claim or 2014 LP Avoidance Action Claim which Payson Petroleum
which it has determined that it will not prosecute.
        6.03 Indemnification. 2014 LP hereby indemnifies and holds harmless Payson
Petroleum and its agents, representatives, professionals and employees from and against and in
respect to any and all liabilities, losses, damages, claims, costs and expenses, including, but not
limited to, attorneys’ fees and costs arising out of or due to its actions or omissions, or
consequences of such actions or omissions, with respect to Payson Petroleum’s investigation,
management, prosecution or settlement of the Subject Claims; provided, however, that no such
indemnification will be made to Payson Petroleum for actions or omissions resulting from willful
misconduct, gross negligence or fraud.

       6.04     Entire Agreement. This Agreement, including all exhibits attached hereto and



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made a part hereof, constitute the entire agreement between the Parties with respect to the
transactions contemplated hereby and supersede all prior agreements, understandings, negotiations
and discussions, whether oral or written, of the Parties with respect to such transactions.

        6.05 Survival. All representations, warranties, covenants and agreements of the Parties
made in this Agreement shall survive the execution and delivery of this Agreement until such time
as all of the obligations of the signatories to such document shall have lapsed in accordance with
their respective terms or shall have been discharged in full.

        6.06 Waiver. No waiver by a Party of any of the provisions of this Agreement (a) shall
be binding unless executed in writing by such Party, (b) shall be deemed or shall constitute a
waiver by such Party of any other provision hereof (whether or not similar), and (c) shall not
constitute a continuing waiver by such Party.

       6.07 Further Assurances. The Parties will take such actions and execute and deliver such
other documents or agreements as may be necessary or desirable for the implementation of this
Agreement and the consummation of the transactions contemplated hereby.

        6.08 Notices. Any notice, request, consent, approval, waiver or other communication
provided or permitted to be given under this Agreement shall be in writing and shall be delivered
in person or sent by U.S. mail, overnight courier, electronic mail or fax to the appropriate addresses
set forth below. Any such communication shall be effective upon actual receipt; provided,
however, that in the case of delivery by fax after the normal business hours of the recipient, such
communication shall be effective on the next business day following the transmission of such fax.
For purposes of notice, the addresses of the Parties shall be as follows:

        If to Payson Petroleum:

        Jason R. Searcy
        Searcy & Searcy, P.C.
        446 Forest Square
        Longview, Texas 75605
        Fax: 903.757.3399
        Email: jsearcy@jsearcylaw.com

        with a copy to:

        Blake Hamm
        Snow Spence Green LLP
        2929 Allen Parkway, Suite 2800
        Houston, TX 77019
        Fax: 713.335.4848
        Email: blakehamm@snowspencelaw.com

        If to 2014 LP:




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       Christopher J. Moser
       Quilling, Selander, Lownds, Winslett & Moser, P.C.
       2001 Bryan Street, Ste. 1800
       Dallas, TX 75201
       Fax: 214.871.2111
       Email: cmoser@qslwm.com

       with a copy to:

       Keith W. Harvey
       The Harvey Law Firm, P.C.
       6510 Abrams Road, Ste. 280
       Dallas, TX 75231
       Fax: 972.241.3970
       Email: harvey@keithharveylaw.com

        Each Party shall have the right, upon giving ten (10) days’ prior notice to the other party
in the manner provided in this section, to change its address for purposes of notice.

        6.09 Governing Law and Venue. This Agreement shall be construed and interpreted in
accordance with the laws of the State of Texas, notwithstanding any applicable conflict of laws
provision. Any dispute regarding this Agreement shall be subject to mandatory venue in the United
States Bankruptcy Court for the Eastern District of Texas, Sherman Division.

        6.10 Multiple Counterparts. The Parties agree that facsimile and electronic signatures
shall have the same force and effect as original signatures. This Agreement may be executed in
counterparts and all counterparts so executed shall constitute one agreement which shall be binding
on the Parties hereto.

        6.11 Modification. This Agreement cannot be altered, changed or modified except in
writing executed by a duly authorized representative for each of the Parties.

        6.12 Severability. If any term or other provision of this Agreement is invalid, illegal or
incapable of being enforced by any rule of law or public policy, all other conditions and provisions
of this Agreement shall nevertheless remain in full force and effect so long as the economic or
legal substance of the transactions contemplated hereby is not affected in any adverse manner with
respect to any Party. Upon determination of a court of competent jurisdiction that any term or
other provision of this Agreement is invalid, illegal or incapable of being enforced, the Parties
shall negotiate in good faith to modify this Agreement so as to affect the original intent of the
Parties as closely as possible. The obligations of the Parties hereunder are severable and not joint.

       6.13 Costs and Attorneys’ Fees. If either Party retains an attorney in connection with
any default or to collect, enforce, or defend this Agreement in any lawsuit, reorganization,
bankruptcy or other proceeding, the prevailing party is entitled to collect its reasonable costs and
expenses incurred in any such suit or proceeding, including reasonable attorneys’ fees.




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                                        PAYSON PETROLEUM, INC.


                                        By:
                                                  Jason R. Searcy, Chapter 11 Trustee


                                        PAYSON PETROLEUM 3 WELL 2014, L.P.


                                        By:
                                              Christopher J. Moser, Chapter 7 Trustee




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STATE OF TEXAS                                    §
                                                  §
COUNTY OF GREGG                                   §

       BEFORE ME, the undersigned authority, on this _______ day of ______________ 2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of PAYSON PETROLEUM, INC.,
whose name is subscribed to the foregoing instrument and acknowledged to me that he executed
the same for the purposes and consideration therein expressed.


                                                            ______________________________________
                                                            Notary Public in and for State of Texas
                                                            My Commission Expires:


STATE OF TEXAS                                    §
                                                  §
COUNTY OF ____________                            §

       BEFORE ME, the undersigned authority, on this _______ day of _____________ 2017,
personally appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM
2014, L.P., whose name is subscribed to the foregoing instrument and acknowledged to me that
he executed the same for the purposes and consideration therein expressed.


                                                            ______________________________________
                                                            Notary Public in and for State of Texas
                                                            My Commission Expires:




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                                            __________________, 2017

VIA EMAIL: cmoser@qslwm.com                                      VIA EMAIL: jsearcy@jsearcylaw.com

Mr. Christopher J. Moser                                         Mr. Jason R. Searcy
Quilling, Selander, Lownds, Winslett & Moser, P.C.               Searcy & Searcy, P.C.
2001 Bryan Street, Ste. 1800                                     446 Forest Square
Dallas, TX 75201                                                 Longview, TX 75605

        Re:      Proposed Engagement Agreement

                 Bankruptcy Case No. 17-40179; In re Payson Petroleum 3 Well, L.P. in the United
                 States Bankruptcy Court, Eastern District of Texas, Sherman Division (the
                 “Bankruptcy Case”)

Mr. Moser and Mr. Searcy:

        This letter sets forth the terms of engagement of Snow Spence Green LLP (“SSG”) to analyze and
pursue at the discretion of Jason R. Searcy, Chapter 11 Trustee of Payson Petroleum, Inc. certain claims
and causes of action and objections on behalf of the bankruptcy estate of Payson Petroleum 3 Well, L.P.
(“3 Well LP” or “Debtor”). This agreement is entered into pursuant to the terms of a Settlement Agreement
by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC, Jason
Searcy, Chapter 11 Trustee, and (b) Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014, L.P.
and Christopher J. Moser, Chapter 7 Trustee, dated __________, 2017, and is subject to Bankruptcy Court
approval. Upon the execution of this letter agreement, we will prepare for your review and approval a
motion to employ SSG as special litigation counsel under 11 U.S.C. §§ 327(e) and 328.

        Description of Engagement. The client pursuant to this Engagement Agreement is Jason R.
Searcy, Chapter 11 Trustee of Payson Petroleum, Inc., acting in his capacity as a representative of the 3
Well LP bankruptcy estate (“Client”) pursuant to the terms of the Subject Claims Assignment and
Participation Agreement between Payson Petroleum, Inc. and 3 Well LP. The representation by SSG
pursuant to this Agreement would be limited to investigation and prosecution (to the extent determined by
SSG to be cost justified) of the following:

        a.       3 Well LP’s claims and causes of action under either chapter 5 of the United States
                 Bankruptcy Code or any applicable state fraudulent transfer (“Avoidance Actions”); and

        b.       3 Well LP’s rights, claims, causes of action, and rights of contribution against any current
                 or former general partner or limited partner of 3 Well LP, including but not limited to
                 claims under 11 U.S.C. § 723 (“Partnership Related Claims”); and

        c.       objections to the allowance of claims asserted against Debtor as to which claims and causes
                 of action are asserted by Client.


                    2929 ALLEN PARKWAY | SUITE 2800 | HOUSTON, TX 77019
                  MAIN: 713.335.4800 | FAX: 713.335.4848 | SNOWSPENCELAW.COM
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(collectively, the “Subject Matters”). Claims, causes of action and/or objections with respect to a specific
party are referred to as a “Specific Subject Matter”). SSG’s representation of Client pursuant to this
agreement will be limited to the specific matters referenced herein, and SSG is not undertaking, absent a
specific engagement letter to the contrary, to represent Client in other matters or in any general counsel
capacity.

        SSG will be responsible for the drafting of documents, preparation of pleadings, attending court
hearings and trials, participating in negotiations, performing legal research, and conducting conferences,
and consultations as may be necessary to represent you with respect to each claim for which litigation is
commenced.

         Although SSG will endeavor to obtain results satisfactory to Client, we cannot guarantee that we
will be successful. As part of this agreement, Client and Christopher J. Moser, Chapter 7 Trustee of 3 Well
LP (the “3 Well LP Trustee”) acknowledge that (i) neither SSG nor any of its respective professionals have
made any promises or guarantees regarding any outcome of the Subject Matters and that no guarantees or
promises can be made regarding the outcome thereof; (ii) neither SSG nor any of its respective professionals
have made any promises or guarantees regarding the length of time required to obtain the resolution of the
Subject Matters; and (iii) either at the beginning or during the course of its representation, SSG may express
its opinions or beliefs concerning the Subject Matters and the results that might be anticipated; but that any
such statement(s) are intended to be an expression of opinion only, based on information available at the
time, and must not be construed by Client or 3 Well LP Trustee as a promise or guarantee, as no such
promises or guarantees are possible.

        Client and 3 Well LP Trustee acknowledge and agree that SSG is under no obligation to represent
them with respect to a Subject Matter if SSG determines, in its sole discretion, that pursuit of any particular
Subject Matter is not cost justified.

        To enable SSG to effectively perform the contemplated services, it is essential that Client and the
3 Well LP Trustee disclose fully and accurately all facts and keep us apprised of all developments relating
to the Subject Matters. Client and the 3 Well LP Trustee agree to cooperate fully with SSG and to make
themselves and their representatives available to attend meetings, conferences, hearings and other
proceedings.

         Legal Fees. The representation will be handled on a contingency fee basis with SSG’s fee being
dependent upon recovery through settlement or trial, except in the event of discharge or withdrawal from
representation as provided below. The fees to be paid to SSG will be a percentage of the “Recovery” (as
defined below) realized with respect to each Specific Subject Matter. The Client and the 3 Well LP Trustee
agree to pay SSG a contingent fee based upon (i) the outcome achieved with respect to each Specific Subject
Matter, and (ii) the occurrence of specified benchmark events with respect to each Specific Subject Matter.
The agreed upon percentages and benchmarks are set forth below:
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           Fees as a
           Percent of
           Recovery                                         Benchmark Event

              33%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter prior to the earlier of (i) submission of a proposed joint
                            pre-trial order, or (ii) submission of a position statement to an agreed
                            upon or court appointed mediator for the Specific Subject Matter.

              35%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after submission of a position statement to an agreed upon
                            or court appointed mediator for a Specific Subject Matter.

              40%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after the earlier of (i) conclusion of an unsuccessful
                            mediation, or (ii) submission of a proposed joint pre-trial order.

The Client and the 3 Well LP Trustee acknowledge that the foregoing contingency fee terms are not set by
law, but are negotiable, and have been negotiated, between the Client, the 3 Well LP Trustee.

         The term “Recovery” shall mean (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Client and/or the 3 Well LP Trustee as of the date of recovery, plus (iii) the value
of any claim that is released or disallowed, plus (iv) the value of any potential unsecured claim based upon
§ 502(h) of the Bankruptcy Code that is released or disallowed. The dollar amount of each Recovery with
respect to a Specific Subject Matter will be calculated before deduction of any applicable expenses of the
lawsuit. For purposes of this agreement, if a proof of claim was filed by the subject creditor, the dollar
amount of a the claim released or disallowed (other than any claim under § 506(h) of the Bankruptcy Code)
will be determined based upon the dollar amount set forth in the proof of claim filed by the subject creditor
which is released or disallowed. If a proof of claim was not filed by the subject creditor, the dollar amount
released or disallowed will be determined based upon the dollar amount set forth in the Schedules and
Assets and Liabilities filed in the bankruptcy cases by 3 Well LP with respect to the subject creditor which
is released or disallowed. For purposes of this agreement, the value of each dollar of each pre-petition
claim or administrative claim released or disallowed will be determined based on the projected percentage
recovery of the applicable class of claim. For example, if the projected recovery by unsecured claim holders
was 25% on the dollar, then the value of each dollar of unsecured claim released or discharged would be
.25¢.

         Subject to the terms of this Agreement, the Client and the 3 Well LP Trustee hereby convey,
transfer, and assign to SSG an undivided interest in the Subject Matters, such interest being equal to the
amount of the percentages therein described above.

         Out-of-Pocket Expenses. Client and the 3 Well LP Trustee acknowledge and agree that in
connection with investigation and prosecution of the Subject Matters, the services of third parties will be
necessary. Such other persons and entities may include, but are not limited to, court reporters, accountants,
investigators and expert witnesses. Such third party fees and expenses will be billed directly to Client.
Client will be responsible for paying fees and expenses of third parties. In the event that there are
insufficient funds in the estate to timely pay for the third party services, SSG will advance the amount
necessary and such advances will be treated as reimbursable expenses.
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        Client and the 3 Well LP Trustee further acknowledge that SSG will incur various expenses in
providing services to Client. Client agrees to reimburse SSG for all out-of-pocket expenses paid by SSG.
Such expenses include, but are not limited to, charges for serving and filing papers, courier or messenger
services, recording and certifying documents, depositions, transcripts, investigations, witnesses, long
distance telephone calls, copying materials, and travel expenses. Expenses advanced by SSG would be
reimbursed by Client solely out of Recoveries.

        Settlements. Any settlement offer received by SSG will be immediately conveyed to Client and
the 3 Well LP Trustee with our recommendation for acceptance or rejection. Any settlement offer received
by Client and the 3 Well LP Trustee will be conveyed to SSG for notice purposes only.

         No settlement of any nature shall be made for the Subject Matters without the approval of
Client and the United States Bankruptcy Court. Client acknowledges that all communications from
adverse parties or their counsel in connection with the Subject Matters are required to be directed to SSG,
as counsel, pursuant to Texas Disciplinary Rule of Professional Conduct 4.02; and Client agrees to instruct
all adverse parties and their counsel to communicate only through SSG, unless SSG agrees otherwise.

         Conflict Matters. SSG has represented and currently represents Client on an ongoing basis with
matters related to this Bankruptcy Case and other cases including, but not limited to, matters in the
following bankruptcy cases: (i) In re Payson Petroleum, Inc. (Bankruptcy Case No. 16-41044); (ii) In re
Payson Operating, LLC (Bankruptcy Case No. 16-41045); (iii) In re Maricopa Resources, LLC
(Bankruptcy Case No. 16-41043); and (iv) In re Payson Petroleum 3 Well 2014, L.P. (Bankruptcy Case
No. 17-40180). While SSG does not anticipate that its prior and/or current representation of Client will
adversely affect Client’s or 3 Well LP Trustee’s interests in the Subject Matters, applicable rules of
professional conduct require that SSG obtain Client’s consent to its representation of Client with respect to
the Subject Matters. Client acknowledges his express and informed consent to SSG’s representation of
Client with respect to the Subject Matters as well as SSG’s continuing representation of Client in other
matters, including related matters. 3 Well LP Trustee acknowledges that he is aware that SSG represents
Client in other matters, including the above-referenced related matters, and waives any conflict relating
thereto.

         If a controversy arises between you and any other client of SSG, SSG, after taking into account the
applicable rules of professional ethics, may decline to represent you or such other client or both you and
such other client. Following the conclusion of our representation of you in this matter, SSG reserves the
right to represent other future clients on unrelated matters which may be adverse to your interests.

         Withdrawal/Termination of Representation. Our representation may be terminated prior to the
conclusion of the Subject Matters covered under this engagement letter by written notice to the other party.
SSG reserves the right to withdraw from its representation if, among other things, Client fails to honor the
terms of this engagement letter or fails to cooperate or follow SSG’s advice on a material matter, or if any
fact or circumstance would, in SSG’s view, render our continuing representation unlawful, unethical or
ineffective. No such termination or withdrawal, however, will relieve Client of the obligation to pay the
legal fees owed for services performed and other charges owing to SSG as set forth in this agreement.

         Work Files – Retention and Disposition. SSG will maintain all documents furnished to us in our
files for this matter. At the conclusion of the matter covered under this engagement letter (or earlier, if
appropriate), it is Client’s and the 3 Well LP Trustee’s obligation to advise us as to which, if any, documents
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in our files they wish SSG to return. SSG may keep copies thereof for our records to the extent we believe
advisable. SSG will retain any remaining documents in our files for a period of one (1) year following
conclusion of our representation in this matter. THEREAFTER, SUCH FILES MAY, AT OUR SOLE
DISCRETION AND WITHOUT FURTHER NOTICE TO YOU, BE DESTROYED.

         Email Communications. To the extent appropriate, SSG communicates with respective clients
(and others) by means of electronic mail. The use of email has proven over time to be an effective and
efficient means of exchanging both messages and documents. We are mindful of the concerns of some
clients that email transmission could be compromised, and thus prohibit its use or prohibit its use in an
unencrypted form. The use of encryption, however, though intended to be “seamless” in use, has caused
difficulties in communication with some parties. Thus, to avoid the possibility of disruptions in the flow
of information, and prompted by the near-unanimity on the part of bar associations throughout the country,
as well as the American Bar Association, in support of the preservation of attorney-client privileges in
unencrypted email communications, unless specifically instructed by you, we will assume your consent to
use of unencrypted email as a means of communication.

         Approval of Terms of Engagement. If the above and foregoing meets with your understanding,
please so indicate by executing this agreement in the place provided below for your signature. A copy of
this agreement should be retained for your files.

       Bankruptcy Court Approval. The parties acknowledge that the Bankruptcy Court must
approve this agreement.

                                                            Regards,

                                                            SNOW SPENCE GREEN LLP

                                                            By:____________________________________
                                                                   Phil F. Snow


Accepted and Agreed this __________ day of _________________, 2017:



By:
      Christopher J. Moser
      Chapter 7 Trustee for Payson Petroleum 3 Well, L.P.


By:
      Jason R. Searcy
      Chapter 11 Trustee for Payson Petroleum, Inc.




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                                             ________________, 2017

VIA EMAIL: cmoser@qslwm.com                                      VIA EMAIL: jsearcy@jsearcylaw.com

Mr. Christopher J. Moser                                         Mr. Jason R. Searcy
Quilling, Selander, Lownds, Winslett & Moser, P.C.               Searcy & Searcy, P.C.
2001 Bryan Street, Ste. 1800                                     446 Forest Square
Dallas, TX 75201                                                 Longview, TX 75605

        Re:      Proposed Engagement Agreement

                 Bankruptcy Case No. 17-40180; In re Payson Petroleum 3 Well 2014, L.P. in the United
                 States Bankruptcy Court, Eastern District of Texas, Sherman Division (the
                 “Bankruptcy Case”)

Mr. Moser and Mr. Searcy:

        This letter sets forth the terms of engagement of Snow Spence Green LLP (“SSG”) to analyze and
pursue at the discretion of Jason R. Searcy, Chapter 11 Trustee of Payson Petroleum, Inc. certain claims
and causes of action and objections on behalf of the bankruptcy estate of Payson Petroleum 3 Well 2014,
L.P. (“2014 LP” or “Debtor”). This agreement is entered into pursuant to the terms of a Settlement
Agreement by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC,
Jason Searcy, Chapter 11 Trustee, and (b) Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014,
L.P. and Christopher J. Moser, Chapter 7 Trustee, dated __________, 2017, and is subject to Bankruptcy
Court approval. Upon the execution of this letter agreement, we will prepare for your review and approval
a motion to employ SSG as special litigation counsel under 11 U.S.C. §§ 327(e) and 328.

         Description of Engagement. The client pursuant to this Engagement Agreement is Jason R.
Searcy, Chapter 11 Trustee of Payson Petroleum, Inc., acting in his capacity as a representative of the 2014
LP bankruptcy estate (“Client”) pursuant to the terms of the Subject Claims Assignment and Participation
Agreement between Payson Petroleum, Inc. and 2014 LP. The representation by SSG pursuant to this
Agreement would be limited to investigation and prosecution (to the extent determined by SSG to be cost
justified) of the following:

        a.       2014 LP’s claims and causes of action under either chapter 5 of the United States
                 Bankruptcy Code or any applicable state fraudulent transfer (“Avoidance Actions”); and

        b.       2014 LP’s rights, claims, causes of action, and rights of contribution against any current or
                 former general partner or limited partner of 2014 LP, including but not limited to claims
                 under 11 U.S.C. § 723 (“Partnership Related Claims”); and

        c.       objections to the allowance of claims asserted against Debtor as to which claims and causes
                 of action are asserted by Client.


                    2929 ALLEN PARKWAY | SUITE 2800 | HOUSTON, TX 77019
                  MAIN: 713.335.4800 | FAX: 713.335.4848 | SNOWSPENCELAW.COM
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(collectively, the “Subject Matters”). Claims, causes of action and/or objections with respect to a specific
party are referred to as a “Specific Subject Matter”). SSG’s representation of Client pursuant to this
agreement will be limited to the specific matters referenced herein, and SSG is not undertaking, absent a
specific engagement letter to the contrary, to represent Client in other matters or in any general counsel
capacity.

        SSG will be responsible for the drafting of documents, preparation of pleadings, attending court
hearings and trials, participating in negotiations, performing legal research, and conducting conferences,
and consultations as may be necessary to represent you with respect to each claim for which litigation is
commenced.

         Although SSG will endeavor to obtain results satisfactory to Client, we cannot guarantee that we
will be successful. As part of this agreement, Client and Christopher J. Moser, Chapter 7 Trustee of 2014
LP (the “2014 LP Trustee”) acknowledge that (i) neither SSG nor any of its respective professionals have
made any promises or guarantees regarding any outcome of the Subject Matters and that no guarantees or
promises can be made regarding the outcome thereof; (ii) neither SSG nor any of its respective professionals
have made any promises or guarantees regarding the length of time required to obtain the resolution of the
Subject Matters; and (iii) either at the beginning or during the course of its representation, SSG may express
its opinions or beliefs concerning the Subject Matters and the results that might be anticipated; but that any
such statement(s) are intended to be an expression of opinion only, based on information available at the
time, and must not be construed by Client or 2014 LP Trustee as a promise or guarantee, as no such promises
or guarantees are possible.

        Client and 2014 LP Trustee acknowledge and agree that SSG is under no obligation to represent
them with respect to a Subject Matter if SSG determines, in its sole discretion, that pursuit of any particular
Subject Matter is not cost justified.

       To enable SSG to effectively perform the contemplated services, it is essential that Client and the
2014 LP Trustee disclose fully and accurately all facts and keep us apprised of all developments relating to
the Subject Matters. Client and the 2014 LP Trustee agree to cooperate fully with SSG and to make
themselves and their representatives available to attend meetings, conferences, hearings and other
proceedings.

         Legal Fees. The representation will be handled on a contingency fee basis with SSG’s fee being
dependent upon recovery through settlement or trial, except in the event of discharge or withdrawal from
representation as provided below. The fees to be paid to SSG will be a percentage of the “Recovery” (as
defined below) realized with respect to each Specific Subject Matter. The Client and the 2014 LP Trustee
agree to pay SSG a contingent fee based upon (i) the outcome achieved with respect to each Specific Subject
Matter, and (ii) the occurrence of specified benchmark events with respect to each Specific Subject Matter.
The agreed upon percentages and benchmarks are set forth below:
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           Fees as a
           Percent of
           Recovery                                         Benchmark Event

              33%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter prior to the earlier of (i) submission of a proposed joint
                            pre-trial order, or (ii) submission of a position statement to an agreed
                            upon or court appointed mediator for the Specific Subject Matter.

              35%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after submission of a position statement to an agreed upon
                            or court appointed mediator for a Specific Subject Matter.

              40%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after the earlier of (i) conclusion of an unsuccessful
                            mediation, or (ii) submission of a proposed joint pre-trial order.

The Client and the 2014 LP Trustee acknowledge that the foregoing contingency fee terms are not set by
law, but are negotiable, and have been negotiated, between the Client, the 2014 LP Trustee.

         The term “Recovery” shall mean (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Client and/or the 2014 LP Trustee as of the date of recovery, plus (iii) the value
of any claim that is released or disallowed, plus (iv) the value of any potential unsecured claim based upon
§ 502(h) of the Bankruptcy Code that is released or disallowed. The dollar amount of each Recovery with
respect to a Specific Subject Matter will be calculated before deduction of any applicable expenses of the
lawsuit. For purposes of this agreement, if a proof of claim was filed by the subject creditor, the dollar
amount of a the claim released or disallowed (other than any claim under § 506(h) of the Bankruptcy Code)
will be determined based upon the dollar amount set forth in the proof of claim filed by the subject creditor
which is released or disallowed. If a proof of claim was not filed by the subject creditor, the dollar amount
released or disallowed will be determined based upon the dollar amount set forth in the Schedules and
Assets and Liabilities filed in the bankruptcy cases by 2014 LP with respect to the subject creditor which
is released or disallowed. For purposes of this agreement, the value of each dollar of each pre-petition
claim or administrative claim released or disallowed will be determined based on the projected percentage
recovery of the applicable class of claim. For example, if the projected recovery by unsecured claim holders
was 25% on the dollar, then the value of each dollar of unsecured claim released or discharged would be
.25¢.

        Subject to the terms of this Agreement, the Client and the 2014 LP Trustee hereby convey, transfer,
and assign to SSG an undivided interest in the Subject Matters, such interest being equal to the amount of
the percentages therein described above.

         Out-of-Pocket Expenses. Client and the 2014 LP Trustee acknowledge and agree that in
connection with investigation and prosecution of the Subject Matters, the services of third parties will be
necessary. Such other persons and entities may include, but are not limited to, court reporters, accountants,
investigators and expert witnesses. Such third party fees and expenses will be billed directly to Client.
Client will be responsible for paying fees and expenses of third parties. In the event that there are
insufficient funds in the estate to timely pay for the third party services, SSG will advance the amount
necessary and such advances will be treated as reimbursable expenses.
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        Client and the 2014 LP Trustee further acknowledge that SSG will incur various expenses in
providing services to Client. Client agrees to reimburse SSG for all out-of-pocket expenses paid by SSG.
Such expenses include, but are not limited to, charges for serving and filing papers, courier or messenger
services, recording and certifying documents, depositions, transcripts, investigations, witnesses, long
distance telephone calls, copying materials, and travel expenses. Expenses advanced by SSG would be
reimbursed by Client solely out of Recoveries.

        Settlements. Any settlement offer received by SSG will be immediately conveyed to Client and
the 2014 LP Trustee with our recommendation for acceptance or rejection. Any settlement offer received
by Client and the 2014 LP Trustee will be conveyed to SSG for notice purposes only.

         No settlement of any nature shall be made for the Subject Matters without the approval of
Client and the United States Bankruptcy Court. Client acknowledges that all communications from
adverse parties or their counsel in connection with the Subject Matters are required to be directed to SSG,
as counsel, pursuant to Texas Disciplinary Rule of Professional Conduct 4.02; and Client agrees to instruct
all adverse parties and their counsel to communicate only through SSG, unless SSG agrees otherwise.

        Conflict Matters. SSG has represented and currently represents Client on an ongoing basis with
matters related to this Bankruptcy Case and other cases including, but not limited to, matters in the
following bankruptcy cases: (i) In re Payson Petroleum, Inc. (Bankruptcy Case No. 16-41044); (ii) In re
Payson Operating, LLC (Bankruptcy Case No. 16-41045); (iii) In re Maricopa Resources, LLC
(Bankruptcy Case No. 16-41043); and (iv) In re Payson Petroleum 3 Well, L.P. (Bankruptcy Case No. 17-
40179). While SSG does not anticipate that its prior and/or current representation of Client will adversely
affect Client’s or 2014 LP Trustee’s interests in the Subject Matters, applicable rules of professional
conduct require that SSG obtain Client’s consent to its representation of Client with respect to the Subject
Matters. Client acknowledges his express and informed consent to SSG’s representation of Client with
respect to the Subject Matters as well as SSG’s continuing representation of Client in other matters,
including related matters. 2014 LP Trustee acknowledges that he is aware that SSG represents Client in
other matters, including the above-referenced related matters, and waives any conflict relating thereto.

         If a controversy arises between you and any other client of SSG, SSG, after taking into account the
applicable rules of professional ethics, may decline to represent you or such other client or both you and
such other client. Following the conclusion of our representation of you in this matter, SSG reserves the
right to represent other future clients on unrelated matters which may be adverse to your interests.

         Withdrawal/Termination of Representation. Our representation may be terminated prior to the
conclusion of the Subject Matters covered under this engagement letter by written notice to the other party.
SSG reserves the right to withdraw from its representation if, among other things, Client fails to honor the
terms of this engagement letter or fails to cooperate or follow SSG’s advice on a material matter, or if any
fact or circumstance would, in SSG’s view, render our continuing representation unlawful, unethical or
ineffective. No such termination or withdrawal, however, will relieve Client of the obligation to pay the
legal fees owed for services performed and other charges owing to SSG as set forth in this agreement.

         Work Files – Retention and Disposition. SSG will maintain all documents furnished to us in our
files for this matter. At the conclusion of the matter covered under this engagement letter (or earlier, if
appropriate), it is Client’s and the 2014 LP Trustee’s obligation to advise us as to which, if any, documents
in our files they wish SSG to return. SSG may keep copies thereof for our records to the extent we believe
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advisable. SSG will retain any remaining documents in our files for a period of one (1) year following
conclusion of our representation in this matter. THEREAFTER, SUCH FILES MAY, AT OUR SOLE
DISCRETION AND WITHOUT FURTHER NOTICE TO YOU, BE DESTROYED.

         Email Communications. To the extent appropriate, SSG communicates with respective clients
(and others) by means of electronic mail. The use of email has proven over time to be an effective and
efficient means of exchanging both messages and documents. We are mindful of the concerns of some
clients that email transmission could be compromised, and thus prohibit its use or prohibit its use in an
unencrypted form. The use of encryption, however, though intended to be “seamless” in use, has caused
difficulties in communication with some parties. Thus, to avoid the possibility of disruptions in the flow
of information, and prompted by the near-unanimity on the part of bar associations throughout the country,
as well as the American Bar Association, in support of the preservation of attorney-client privileges in
unencrypted email communications, unless specifically instructed by you, we will assume your consent to
use of unencrypted email as a means of communication.

         Approval of Terms of Engagement. If the above and foregoing meets with your understanding,
please so indicate by executing this agreement in the place provided below for your signature. A copy of
this agreement should be retained for your files.

       Bankruptcy Court Approval. The parties acknowledge that the Bankruptcy Court must
approve this agreement.

                                                            Regards,

                                                            SNOW SPENCE GREEN LLP

                                                            By:____________________________________
                                                                   Phil F. Snow


Accepted and Agreed this __________ day of _________________, 2017:



By:
      Christopher J. Moser
      Chapter 7 Trustee for Payson Petroleum 3 Well 2014, L.P.


By:
      Jason R. Searcy
      Chapter 11 Trustee for Payson Petroleum, Inc.




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EXHIBIT 2 TO SETTLEMENT AGREEMENT

3 WELL LP SUBJECT CLAIMS ASSIGNMENT
   AND PARTICIPATION AGREEMENT
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      SUBJECT CLAIMS ASSIGNMENT AND PARTICIPATION AGREEMENT
                             (3 Well LP)

        This Subject Claims Assignment and Participation Agreement (the “Agreement”) is
entered into as of ____________________, 2017 by and between Payson Petroleum, Inc. (“Payson
Petroleum”) and Payson Petroleum 3 Well, L.P. (“3 Well LP”), referred to individually herein as
a “Party” and collectively as, the “Parties.”

                                                RECITALS

      WHEREAS, Christopher J. Moser is the duly appointed Chapter 7 Trustee in the 3 Well
LP Bankruptcy Case (defined below).

       WHEREAS, Jason R. Searcy is the duly appointed Chapter 11 Trustee in the Payson
Petroleum Bankruptcy Case (defined below).

       WHEREAS, 3 Well LP and Payson Petroleum are parties to the Settlement Agreement
(defined below) which provides for entry into this Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein, the Parties hereby agree as follows:

                                                   ARTICLE 1

                                                    Definitions

      1.01 Defined Terms. The following terms, as used in this Agreement, shall have the
meanings indicated below, unless the context otherwise requires:

      “3 Well LP” means Payson Petroleum 3 Well, L.P., Christopher J. Moser in his capacity
of Chapter 7 trustee of Payson Petroleum 3 Well, L.P. and the Payson Petroleum 3 Well L.P.
bankruptcy estate.

        “3 Well LP Avoidance Action Claims” means all claims and causes of action of 3 Well
LP arising under Chapter 5 of the Bankruptcy Code.

       “3 Well LP Avoidance Action Claims Net Recovery” means any Net Recovery for or on
account of the 3 Well LP Avoidance Action Claims.

        “3 Well LP Bankruptcy Case” means Bankruptcy Case No. 17-40179 styled In re Payson
Petroleum 3 Well, L.P., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

       “3 Well LP Participation Interest” means an undivided fifty percent (50%) interest.

       “3 Well LP Partnership Related Claims” means all rights, claims, causes of action and
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rights of contribution of 3 Well LP (independent of Section 2.02 of this Agreement) against any
current or former general partner or limited partner of 3 Well LP, including but not limited to
claims under 11 U.S.C. § 723.

       “3 Well LP Partnership Related Claims Net Recovery” means any Net Recovery for or
on account of the 3 Well LP Partnership Related Claims.

       “Bankruptcy Code” means The Bankruptcy Reform Act of 1978, as codified in title 11
of the United States Code, as now in effect or hereafter amended.

       “Net Recovery” means the Recovery net of all expenses and fees (including Special
Counsel fees) incurred in connection with investigation, prosecution and collection of the Subject
Claims.

        “Payson/3 Well LP Partnership Related Claims” means all rights, claims and causes of
action of Payson Petroleum (independent of Section 2.01 of this Agreement) against any current
or former general partner or limited partner of 3 Well LP.

      “Payson/3 Well LP Partnership Related Claims Net Recovery” means the Net
Recovery for and on account of the Payson/3 Well LP Partnership Related Claims.

      “Payson Petroleum” means Payson Petroleum, Inc., Jason Searcy in his capacity of
Chapter 11 trustee of Payson Petroleum, Inc. and the Payson Petroleum, Inc. bankruptcy estate.

        “Payson Petroleum Bankruptcy Case” means Bankruptcy Case No. 16-41044 styled In
re Payson Petroleum, Inc., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

        “Payson Petroleum Participation Interest” means an undivided fifty percent (50%)
interest.

        “Recovery” means (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Parties for or on account of or in satisfaction or partial satisfaction
thereof with respect to the Subject Claims.

       “Settlement Agreement” means the Settlement Agreement entered into as of August ___,
2017 by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources,
LLC, Jason Searcy, Chapter 11 Trustee for the Searcy Bankruptcy Cases, and (b) Payson
Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014, L.P. and Christopher J. Moser, Chapter 7
Trustee for the Moser Bankruptcy Cases.

       “Settlement Approval Order” has the meaning defined in the Settlement Agreement.

       “Special Counsel” means Snow Spence Green LLP.

       “Special Counsel Engagement Agreements” means (i) the August 15, 2016 Engagement



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Letter Agreement by and between Snow Spence Green LLP and Jason R. Searcy, Chapter 11
Trustee of Payson Petroleum, Inc., Maricopa Resources, LLC and Payson Operating, LLC, (ii) the
Engagement Letter Agreement between 2014 LP, 3 Well LP, Payson Petroleum and Snow Spence
Green LLP substantially in the form of Exhibit 1, and (iii) the Engagement Letter Agreement
between 2014 LP, Payson Petroleum and Snow Spence Green LLP in the form of Exhibit 2.

       “Subject Claims” means all 3 Well LP Avoidance Action Claims, all 3 Well LP
Partnership Related Claims and all Payson/3 Well LP Partnership Related Claims.

        1.02 Amendment of Defined Instruments. Unless the context otherwise requires or
unless otherwise provided herein, the terms defined in this Agreement which refer to a particular
agreement, instrument or document also refer to and include all renewals, extensions,
modifications, amendments and restatements of such agreement, instrument or document. Nothing
contained in this Agreement will be construed to authorize any renewal, extension, modification,
amendment or restatement of this Agreement or any agreement, instrument or document referred
to herein.

        1.03 References and Titles. All references in this Agreement to Exhibits, Articles,
Sections, subsections and other subdivisions refer to the Exhibits, Articles, Sections, subsections
and other subdivisions of this Agreement unless expressly provided otherwise. Titles appearing
at the beginning of any subdivisions are for convenience only, do not constitute any part of those
subdivisions and will be disregarded in construing the language contained in those subdivisions.
The words “this Agreement,” “this instrument,” “herein,” “hereof,” “hereby,” “hereunder” and
words of similar import refer to this Agreement as a whole and not to any particular subdivision
unless expressly so limited. The phrases “this section” and “this subsection” and similar phrases
refer only to the sections or subsections of this Agreement in which those phrases occur. The word
“or” is not exclusive; the word “including” (in its various forms) means “including without
limitation.” Pronouns in masculine, feminine and neuter genders shall be construed to include any
other gender, and words in the singular form shall be construed to include the plural and vice versa,
unless the context otherwise requires. The word “will” shall be construed to have the same
meaning and effect as the word “shall.” Unless the context requires otherwise (a) any reference
herein to any law shall be construed as referring to such law as amended, modified, codified or
reenacted, in whole or in part, and in effect from time to time; (b) any reference herein to any
person shall be construed to include such person's successors and assigns (subject to the restrictions
contained herein); (c) with respect to the determination of any time period, the word “from” means
“from and including” and the word “to” means “to and including;” and (d) all dollar amounts refer
to United States dollars. A reference herein to a number of “days” will be intended to refer to that
number of calendar (as opposed to working) days, unless otherwise specifically provided. No
provision of this Agreement shall be interpreted or construed more strictly against any person
solely because such person or its legal representative drafted such provision.

                                                    ARTICLE 2

                                                    Assignment

      2.01 Assignment by 3 Well LP of Participation Interest. 3 Well LP hereby absolutely
and unconditionally sells, transfers and assigns to Payson Petroleum, the Payson Petroleum


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Participation Interest in (i) the 3 Well LP Avoidance Action Claims Net Recovery, and (ii) the 3
Well LP Partnership Related Claims Net Recovery.

        2.02 Assignment by Payson Petroleum of Participation Interest. Payson Petroleum
hereby absolutely and unconditionally sells, transfers and assigns to 3 Well LP, the 3 Well LP
Participation Interest in the Payson/3 Well LP Partnership Related Claims Net Recovery.

                                                    ARTICLE 3

                                 Preservation, Prosecution and Authority

       3.01 Preservation. 3 Well LP retains all 3 Well LP Avoidance Action Claims and all 3
Well LP Partnership Related Claims subject to the Payson Petroleum Participation Interest and
Payson Petroleum’s rights hereunder. Upon entry of the Settlement Approval Order in the 3 Well
LP Bankruptcy Case and execution of this Agreement, Payson Petroleum is vested with and may
enforce and prosecute (or determine to do any of the foregoing) the 3 Well LP Avoidance Action
Claims and 3 Well LP Partnership Related Claims without further order of the Bankruptcy Court.
Payson Petroleum’s right to commence, prosecute or settle 3 Well LP Avoidance Action Claims
and 3 Well LP Partnership Related Claims shall be preserved. No preclusion doctrine, including
the doctrines of res judicata; collateral estoppel, issue preclusion, claim preclusion, estoppel shall
apply to the 3 Well LP Avoidance Action Claims or 3 Well LP Partnership Related Claims by
virtue of entry into this Agreement. Payson Petroleum in connection with the 3 Well LP
Avoidance Action Claims and the 3 Well LP Partnership Related Claims shall constitute the
representative of the 3 Well LP bankruptcy estate for purposes of prosecuting the 3 Well LP
Avoidance Action Claims and the 3 Well LP Partnership Related Claims.

        3.02 Standing. The Parties stipulate and agree that Payson Petroleum shall have standing
to assert and prosecute on behalf of 3 Well LP all 3 Well LP Avoidance Action Claims and all 3
Well LP Partnership Related Claims.

        3.03 Authority. Subject to Section 6.01, Payson Petroleum shall have exclusive
authority with respect to the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance
Action Claims and the Payson/3Well LP Partnership Related Claims. The exclusive authority of
Payson Petroleum includes investigation, management and settlement of all litigation related to
the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the
Payson/3 Well LP Partnership Related Claims.

                                                    ARTICLE 4

                                                  Special Counsel

       4.01 Engagement of Counsel. Snow Spence Green LLP is engaged pursuant to the
Special Counsel Engagement Agreement, dated August 15, 2016 (approved by Bankruptcy Court
order dated September 19, 2016), to investigate and prosecute the Payson/3Well LP Partnership
Related Claims.




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        4.02 Engagement Agreement. Snow Spence Green LLP (subject to Bankruptcy Court
approval) is engaged to investigate and prosecute the 3 Well LP Avoidance Action Claims and the
3 Well LP Partnership Related Claims pursuant to the terms of the Special Counsel Engagement
Agreement attached as Exhibit 1. 3 Well LP shall cause an order approving the engagement of
Snow Spence Green LLP and the Special Counsel Engagement Agreement, attached as Exhibit 1,
to be entered in the 3 Well LP Bankruptcy Case.

                                                   ARTICLE 5

                                          Application of Recoveries

       5.01 Fees and Expenses. Any Recovery shall be applied first, to satisfy fees pursuant to
the Special Counsel Engagement Agreements and, second, to expenses incurred by Special
Counsel and Payson Petroleum in connection with investigation, prosecution and collection of the
Subject Claims.

        5.02 Disbursement of Net Recoveries. Payson Petroleum is hereby assigned and shall
receive the Payson Petroleum Participation Interest in all (i) 3 Well LP Partnership Related Claims
Net Recoveries, (ii) 3 Well LP Avoidance Action Claims Net Recoveries, and (iii) Payson/3Well
LP Partnership Related Claims Net Recoveries. 3 Well LP is hereby assigned and shall receive
the 3 Well LP Participation Interest in all (x) 3 Well LP Partnership Related Claims Net
Recoveries, (y) 3 Well LP Avoidance Action Claims Net Recoveries, and (z) Payson/3 Well LP
Partnership Related Claims Net Recoveries.

                                                   ARTICLE 6

                                                  Miscellaneous

      6.01      Settlement. Any settlement of a Subject Claim is subject to Bankruptcy Court
approval.

        6.02 Discretion. Payson Petroleum shall determine in its sole discretion the Subject
Claims to investigate and prosecute. Subsequent to October 1, 2018, Payson Petroleum shall, upon
the written request of 3 Well LP, release from this Agreement and assign back to 3 Well LP any 3
Well LP Partnership Related Claim or 3 Well LP Avoidance Action Claim which Payson
Petroleum which it has determined that it will not prosecute.

        6.03 Indemnification. 3 Well LP hereby indemnifies and holds harmless Payson
Petroleum and its agents, representatives, professionals and employees from and against and in
respect to any and all liabilities, losses, damages, claims, costs and expenses, including, but not
limited to, attorneys’ fees and costs arising out of or due to its actions or omissions, or
consequences of such actions or omissions, with respect to Payson Petroleum’s investigation,
management, prosecution or settlement of the Subject Claims; provided, however, that no such
indemnification will be made to Payson Petroleum for actions or omissions resulting from willful
misconduct, gross negligence or fraud.




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        6.04 Entire Agreement. This Agreement, including all exhibits attached hereto and
made a part hereof, constitute the entire agreement between the Parties with respect to the
transactions contemplated hereby and supersede all prior agreements, understandings, negotiations
and discussions, whether oral or written, of the Parties with respect to such transactions.

        6.05 Survival. All representations, warranties, covenants and agreements of the Parties
made in this Agreement shall survive the execution and delivery of this Agreement until such time
as all of the obligations of the signatories to such document shall have lapsed in accordance with
their respective terms or shall have been discharged in full.

        6.06 Waiver. No waiver by a Party of any of the provisions of this Agreement (a) shall
be binding unless executed in writing by such Party, (b) shall be deemed or shall constitute a
waiver by such Party of any other provision hereof (whether or not similar), and (c) shall not
constitute a continuing waiver by such Party.

       6.07 Further Assurances. The Parties will take such actions and execute and deliver such
other documents or agreements as may be necessary or desirable for the implementation of this
Agreement and the consummation of the transactions contemplated hereby.

        6.08 Notices. Any notice, request, consent, approval, waiver or other communication
provided or permitted to be given under this Agreement shall be in writing and shall be delivered
in person or sent by U.S. mail, overnight courier, electronic mail or fax to the appropriate addresses
set forth below. Any such communication shall be effective upon actual receipt; provided,
however, that in the case of delivery by fax after the normal business hours of the recipient, such
communication shall be effective on the next business day following the transmission of such fax.
For purposes of notice, the addresses of the Parties shall be as follows:

        If to Payson Petroleum:

        Jason R. Searcy
        Searcy & Searcy, P.C.
        446 Forest Square
        Longview, Texas 75605
        Fax: 903.757.3399
        Email: jsearcy@jsearcylaw.com

        with a copy to:

        Blake Hamm
        Snow Spence Green LLP
        2929 Allen Parkway, Suite 2800
        Houston, TX 77019
        Fax: 713.335.4848
        Email: blakehamm@snowspencelaw.com

        If to 3 Well LP:



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       Christopher J. Moser
       Quilling, Selander, Lownds, Winslett & Moser, P.C.
       2001 Bryan Street, Ste. 1800
       Dallas, TX 75201
       Fax: 214.871.2111
       Email: cmoser@qslwm.com

       with a copy to:

       Keith W. Harvey
       The Harvey Law Firm, P.C.
       6510 Abrams Road, Ste. 280
       Dallas, TX 75231
       Fax: 972.241.3970
       Email: harvey@keithharveylaw.com

        Each Party shall have the right, upon giving ten (10) days’ prior notice to the other party
in the manner provided in this section, to change its address for purposes of notice.

        6.09 Governing Law and Venue. This Agreement shall be construed and interpreted in
accordance with the laws of the State of Texas, notwithstanding any applicable conflict of laws
provision. Any dispute regarding this Agreement shall be subject to mandatory venue in the United
States Bankruptcy Court for the Eastern District of Texas, Sherman Division.

        6.10 Multiple Counterparts. The Parties agree that facsimile and electronic signatures
shall have the same force and effect as original signatures. This Agreement may be executed in
counterparts and all counterparts so executed shall constitute one agreement which shall be binding
on the Parties hereto.

        6.11 Modification. This Agreement cannot be altered, changed or modified except in
writing executed by a duly authorized representative for each of the Parties.

        6.12 Severability. If any term or other provision of this Agreement is invalid, illegal or
incapable of being enforced by any rule of law or public policy, all other conditions and provisions
of this Agreement shall nevertheless remain in full force and effect so long as the economic or
legal substance of the transactions contemplated hereby is not affected in any adverse manner with
respect to any Party. Upon determination of a court of competent jurisdiction that any term or
other provision of this Agreement is invalid, illegal or incapable of being enforced, the Parties
shall negotiate in good faith to modify this Agreement so as to affect the original intent of the
Parties as closely as possible. The obligations of the Parties hereunder are severable and not joint.

       6.13 Costs and Attorneys’ Fees. If either Party retains an attorney in connection with
any default or to collect, enforce, or defend this Agreement in any lawsuit, reorganization,
bankruptcy or other proceeding, the prevailing party is entitled to collect its reasonable costs and
expenses incurred in any such suit or proceeding, including reasonable attorneys’ fees.



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                                        PAYSON PETROLEUM, INC.


                                        By:
                                                  Jason R. Searcy, Chapter 11 Trustee


                                        PAYSON PETROLEUM 3 WELL, L.P.


                                        By:
                                              Christopher J. Moser, Chapter 7 Trustee




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STATE OF TEXAS                                  §
                                                §
COUNTY OF GREGG                                 §

       BEFORE ME, the undersigned authority, on this _______ day of ______________ 2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of PAYSON PETROLEUM, INC.,
whose name is subscribed to the foregoing instrument and acknowledged to me that he executed
the same for the purposes and consideration therein expressed.


                                                          ______________________________________
                                                          Notary Public in and for State of Texas
                                                          My Commission Expires:


STATE OF TEXAS                                  §
                                                §
COUNTY OF ____________                          §

       BEFORE ME, the undersigned authority, on this _______ day of _____________ 2017,
personally appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM 3
WELL, L.P., whose name is subscribed to the foregoing instrument and acknowledged to me that
he executed the same for the purposes and consideration therein expressed.


                                                          ______________________________________
                                                          Notary Public in and for State of Texas
                                                          My Commission Expires:




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VIA EMAIL: cmoser@qslwm.com                                      VIA EMAIL: jsearcy@jsearcylaw.com

Mr. Christopher J. Moser                                         Mr. Jason R. Searcy
Quilling, Selander, Lownds, Winslett & Moser, P.C.               Searcy & Searcy, P.C.
2001 Bryan Street, Ste. 1800                                     446 Forest Square
Dallas, TX 75201                                                 Longview, TX 75605

        Re:      Proposed Engagement Agreement

                 Bankruptcy Case No. 17-40179; In re Payson Petroleum 3 Well, L.P. in the United
                 States Bankruptcy Court, Eastern District of Texas, Sherman Division (the
                 “Bankruptcy Case”)

Mr. Moser and Mr. Searcy:

        This letter sets forth the terms of engagement of Snow Spence Green LLP (“SSG”) to analyze and
pursue at the discretion of Jason R. Searcy, Chapter 11 Trustee of Payson Petroleum, Inc. certain claims
and causes of action and objections on behalf of the bankruptcy estate of Payson Petroleum 3 Well, L.P.
(“3 Well LP” or “Debtor”). This agreement is entered into pursuant to the terms of a Settlement Agreement
by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC, Jason
Searcy, Chapter 11 Trustee, and (b) Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014, L.P.
and Christopher J. Moser, Chapter 7 Trustee, dated __________, 2017, and is subject to Bankruptcy Court
approval. Upon the execution of this letter agreement, we will prepare for your review and approval a
motion to employ SSG as special litigation counsel under 11 U.S.C. §§ 327(e) and 328.

        Description of Engagement. The client pursuant to this Engagement Agreement is Jason R.
Searcy, Chapter 11 Trustee of Payson Petroleum, Inc., acting in his capacity as a representative of the 3
Well LP bankruptcy estate (“Client”) pursuant to the terms of the Subject Claims Assignment and
Participation Agreement between Payson Petroleum, Inc. and 3 Well LP. The representation by SSG
pursuant to this Agreement would be limited to investigation and prosecution (to the extent determined by
SSG to be cost justified) of the following:

        a.       3 Well LP’s claims and causes of action under either chapter 5 of the United States
                 Bankruptcy Code or any applicable state fraudulent transfer (“Avoidance Actions”); and

        b.       3 Well LP’s rights, claims, causes of action, and rights of contribution against any current
                 or former general partner or limited partner of 3 Well LP, including but not limited to
                 claims under 11 U.S.C. § 723 (“Partnership Related Claims”); and

        c.       objections to the allowance of claims asserted against Debtor as to which claims and causes
                 of action are asserted by Client.


                    2929 ALLEN PARKWAY | SUITE 2800 | HOUSTON, TX 77019
                  MAIN: 713.335.4800 | FAX: 713.335.4848 | SNOWSPENCELAW.COM
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(collectively, the “Subject Matters”). Claims, causes of action and/or objections with respect to a specific
party are referred to as a “Specific Subject Matter”). SSG’s representation of Client pursuant to this
agreement will be limited to the specific matters referenced herein, and SSG is not undertaking, absent a
specific engagement letter to the contrary, to represent Client in other matters or in any general counsel
capacity.

        SSG will be responsible for the drafting of documents, preparation of pleadings, attending court
hearings and trials, participating in negotiations, performing legal research, and conducting conferences,
and consultations as may be necessary to represent you with respect to each claim for which litigation is
commenced.

         Although SSG will endeavor to obtain results satisfactory to Client, we cannot guarantee that we
will be successful. As part of this agreement, Client and Christopher J. Moser, Chapter 7 Trustee of 3 Well
LP (the “3 Well LP Trustee”) acknowledge that (i) neither SSG nor any of its respective professionals have
made any promises or guarantees regarding any outcome of the Subject Matters and that no guarantees or
promises can be made regarding the outcome thereof; (ii) neither SSG nor any of its respective professionals
have made any promises or guarantees regarding the length of time required to obtain the resolution of the
Subject Matters; and (iii) either at the beginning or during the course of its representation, SSG may express
its opinions or beliefs concerning the Subject Matters and the results that might be anticipated; but that any
such statement(s) are intended to be an expression of opinion only, based on information available at the
time, and must not be construed by Client or 3 Well LP Trustee as a promise or guarantee, as no such
promises or guarantees are possible.

        Client and 3 Well LP Trustee acknowledge and agree that SSG is under no obligation to represent
them with respect to a Subject Matter if SSG determines, in its sole discretion, that pursuit of any particular
Subject Matter is not cost justified.

        To enable SSG to effectively perform the contemplated services, it is essential that Client and the
3 Well LP Trustee disclose fully and accurately all facts and keep us apprised of all developments relating
to the Subject Matters. Client and the 3 Well LP Trustee agree to cooperate fully with SSG and to make
themselves and their representatives available to attend meetings, conferences, hearings and other
proceedings.

         Legal Fees. The representation will be handled on a contingency fee basis with SSG’s fee being
dependent upon recovery through settlement or trial, except in the event of discharge or withdrawal from
representation as provided below. The fees to be paid to SSG will be a percentage of the “Recovery” (as
defined below) realized with respect to each Specific Subject Matter. The Client and the 3 Well LP Trustee
agree to pay SSG a contingent fee based upon (i) the outcome achieved with respect to each Specific Subject
Matter, and (ii) the occurrence of specified benchmark events with respect to each Specific Subject Matter.
The agreed upon percentages and benchmarks are set forth below:
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           Fees as a
           Percent of
           Recovery                                         Benchmark Event

              33%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter prior to the earlier of (i) submission of a proposed joint
                            pre-trial order, or (ii) submission of a position statement to an agreed
                            upon or court appointed mediator for the Specific Subject Matter.

              35%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after submission of a position statement to an agreed upon
                            or court appointed mediator for a Specific Subject Matter.

              40%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after the earlier of (i) conclusion of an unsuccessful
                            mediation, or (ii) submission of a proposed joint pre-trial order.

The Client and the 3 Well LP Trustee acknowledge that the foregoing contingency fee terms are not set by
law, but are negotiable, and have been negotiated, between the Client, the 3 Well LP Trustee.

         The term “Recovery” shall mean (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Client and/or the 3 Well LP Trustee as of the date of recovery, plus (iii) the value
of any claim that is released or disallowed, plus (iv) the value of any potential unsecured claim based upon
§ 502(h) of the Bankruptcy Code that is released or disallowed. The dollar amount of each Recovery with
respect to a Specific Subject Matter will be calculated before deduction of any applicable expenses of the
lawsuit. For purposes of this agreement, if a proof of claim was filed by the subject creditor, the dollar
amount of a the claim released or disallowed (other than any claim under § 506(h) of the Bankruptcy Code)
will be determined based upon the dollar amount set forth in the proof of claim filed by the subject creditor
which is released or disallowed. If a proof of claim was not filed by the subject creditor, the dollar amount
released or disallowed will be determined based upon the dollar amount set forth in the Schedules and
Assets and Liabilities filed in the bankruptcy cases by 3 Well LP with respect to the subject creditor which
is released or disallowed. For purposes of this agreement, the value of each dollar of each pre-petition
claim or administrative claim released or disallowed will be determined based on the projected percentage
recovery of the applicable class of claim. For example, if the projected recovery by unsecured claim holders
was 25% on the dollar, then the value of each dollar of unsecured claim released or discharged would be
.25¢.

         Subject to the terms of this Agreement, the Client and the 3 Well LP Trustee hereby convey,
transfer, and assign to SSG an undivided interest in the Subject Matters, such interest being equal to the
amount of the percentages therein described above.

         Out-of-Pocket Expenses. Client and the 3 Well LP Trustee acknowledge and agree that in
connection with investigation and prosecution of the Subject Matters, the services of third parties will be
necessary. Such other persons and entities may include, but are not limited to, court reporters, accountants,
investigators and expert witnesses. Such third party fees and expenses will be billed directly to Client.
Client will be responsible for paying fees and expenses of third parties. In the event that there are
insufficient funds in the estate to timely pay for the third party services, SSG will advance the amount
necessary and such advances will be treated as reimbursable expenses.
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        Client and the 3 Well LP Trustee further acknowledge that SSG will incur various expenses in
providing services to Client. Client agrees to reimburse SSG for all out-of-pocket expenses paid by SSG.
Such expenses include, but are not limited to, charges for serving and filing papers, courier or messenger
services, recording and certifying documents, depositions, transcripts, investigations, witnesses, long
distance telephone calls, copying materials, and travel expenses. Expenses advanced by SSG would be
reimbursed by Client solely out of Recoveries.

        Settlements. Any settlement offer received by SSG will be immediately conveyed to Client and
the 3 Well LP Trustee with our recommendation for acceptance or rejection. Any settlement offer received
by Client and the 3 Well LP Trustee will be conveyed to SSG for notice purposes only.

         No settlement of any nature shall be made for the Subject Matters without the approval of
Client and the United States Bankruptcy Court. Client acknowledges that all communications from
adverse parties or their counsel in connection with the Subject Matters are required to be directed to SSG,
as counsel, pursuant to Texas Disciplinary Rule of Professional Conduct 4.02; and Client agrees to instruct
all adverse parties and their counsel to communicate only through SSG, unless SSG agrees otherwise.

         Conflict Matters. SSG has represented and currently represents Client on an ongoing basis with
matters related to this Bankruptcy Case and other cases including, but not limited to, matters in the
following bankruptcy cases: (i) In re Payson Petroleum, Inc. (Bankruptcy Case No. 16-41044); (ii) In re
Payson Operating, LLC (Bankruptcy Case No. 16-41045); (iii) In re Maricopa Resources, LLC
(Bankruptcy Case No. 16-41043); and (iv) In re Payson Petroleum 3 Well 2014, L.P. (Bankruptcy Case
No. 17-40180). While SSG does not anticipate that its prior and/or current representation of Client will
adversely affect Client’s or 3 Well LP Trustee’s interests in the Subject Matters, applicable rules of
professional conduct require that SSG obtain Client’s consent to its representation of Client with respect to
the Subject Matters. Client acknowledges his express and informed consent to SSG’s representation of
Client with respect to the Subject Matters as well as SSG’s continuing representation of Client in other
matters, including related matters. 3 Well LP Trustee acknowledges that he is aware that SSG represents
Client in other matters, including the above-referenced related matters, and waives any conflict relating
thereto.

         If a controversy arises between you and any other client of SSG, SSG, after taking into account the
applicable rules of professional ethics, may decline to represent you or such other client or both you and
such other client. Following the conclusion of our representation of you in this matter, SSG reserves the
right to represent other future clients on unrelated matters which may be adverse to your interests.

         Withdrawal/Termination of Representation. Our representation may be terminated prior to the
conclusion of the Subject Matters covered under this engagement letter by written notice to the other party.
SSG reserves the right to withdraw from its representation if, among other things, Client fails to honor the
terms of this engagement letter or fails to cooperate or follow SSG’s advice on a material matter, or if any
fact or circumstance would, in SSG’s view, render our continuing representation unlawful, unethical or
ineffective. No such termination or withdrawal, however, will relieve Client of the obligation to pay the
legal fees owed for services performed and other charges owing to SSG as set forth in this agreement.

         Work Files – Retention and Disposition. SSG will maintain all documents furnished to us in our
files for this matter. At the conclusion of the matter covered under this engagement letter (or earlier, if
appropriate), it is Client’s and the 3 Well LP Trustee’s obligation to advise us as to which, if any, documents
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in our files they wish SSG to return. SSG may keep copies thereof for our records to the extent we believe
advisable. SSG will retain any remaining documents in our files for a period of one (1) year following
conclusion of our representation in this matter. THEREAFTER, SUCH FILES MAY, AT OUR SOLE
DISCRETION AND WITHOUT FURTHER NOTICE TO YOU, BE DESTROYED.

         Email Communications. To the extent appropriate, SSG communicates with respective clients
(and others) by means of electronic mail. The use of email has proven over time to be an effective and
efficient means of exchanging both messages and documents. We are mindful of the concerns of some
clients that email transmission could be compromised, and thus prohibit its use or prohibit its use in an
unencrypted form. The use of encryption, however, though intended to be “seamless” in use, has caused
difficulties in communication with some parties. Thus, to avoid the possibility of disruptions in the flow
of information, and prompted by the near-unanimity on the part of bar associations throughout the country,
as well as the American Bar Association, in support of the preservation of attorney-client privileges in
unencrypted email communications, unless specifically instructed by you, we will assume your consent to
use of unencrypted email as a means of communication.

         Approval of Terms of Engagement. If the above and foregoing meets with your understanding,
please so indicate by executing this agreement in the place provided below for your signature. A copy of
this agreement should be retained for your files.

       Bankruptcy Court Approval. The parties acknowledge that the Bankruptcy Court must
approve this agreement.

                                                            Regards,

                                                            SNOW SPENCE GREEN LLP

                                                            By:____________________________________
                                                                   Phil F. Snow


Accepted and Agreed this __________ day of _________________, 2017:



By:
      Christopher J. Moser
      Chapter 7 Trustee for Payson Petroleum 3 Well, L.P.


By:
      Jason R. Searcy
      Chapter 11 Trustee for Payson Petroleum, Inc.




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                                               _____________, 2017

VIA EMAIL: cmoser@qslwm.com                                      VIA EMAIL: jsearcy@jsearcylaw.com

Mr. Christopher J. Moser                                         Mr. Jason R. Searcy
Quilling, Selander, Lownds, Winslett & Moser, P.C.               Searcy & Searcy, P.C.
2001 Bryan Street, Ste. 1800                                     446 Forest Square
Dallas, TX 75201                                                 Longview, TX 75605

        Re:      Proposed Engagement Agreement

                 Bankruptcy Case No. 17-40180; In re Payson Petroleum 3 Well 2014, L.P. in the United
                 States Bankruptcy Court, Eastern District of Texas, Sherman Division (the
                 “Bankruptcy Case”)

Mr. Moser and Mr. Searcy:

        This letter sets forth the terms of engagement of Snow Spence Green LLP (“SSG”) to analyze and
pursue at the discretion of Jason R. Searcy, Chapter 11 Trustee of Payson Petroleum, Inc. certain claims
and causes of action and objections on behalf of the bankruptcy estate of Payson Petroleum 3 Well 2014,
L.P. (“2014 LP” or “Debtor”). This agreement is entered into pursuant to the terms of a Settlement
Agreement by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC,
Jason Searcy, Chapter 11 Trustee, and (b) Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014,
L.P. and Christopher J. Moser, Chapter 7 Trustee, dated __________, 2017, and is subject to Bankruptcy
Court approval. Upon the execution of this letter agreement, we will prepare for your review and approval
a motion to employ SSG as special litigation counsel under 11 U.S.C. §§ 327(e) and 328.

         Description of Engagement. The client pursuant to this Engagement Agreement is Jason R.
Searcy, Chapter 11 Trustee of Payson Petroleum, Inc., acting in his capacity as a representative of the 2014
LP bankruptcy estate (“Client”) pursuant to the terms of the Subject Claims Assignment and Participation
Agreement between Payson Petroleum, Inc. and 2014 LP. The representation by SSG pursuant to this
Agreement would be limited to investigation and prosecution (to the extent determined by SSG to be cost
justified) of the following:

        a.       2014 LP’s claims and causes of action under either chapter 5 of the United States
                 Bankruptcy Code or any applicable state fraudulent transfer (“Avoidance Actions”); and

        b.       2014 LP’s rights, claims, causes of action, and rights of contribution against any current or
                 former general partner or limited partner of 2014 LP, including but not limited to claims
                 under 11 U.S.C. § 723 (“Partnership Related Claims”); and

        c.       objections to the allowance of claims asserted against Debtor as to which claims and causes
                 of action are asserted by Client.


                    2929 ALLEN PARKWAY | SUITE 2800 | HOUSTON, TX 77019
                  MAIN: 713.335.4800 | FAX: 713.335.4848 | SNOWSPENCELAW.COM
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(collectively, the “Subject Matters”). Claims, causes of action and/or objections with respect to a specific
party are referred to as a “Specific Subject Matter”). SSG’s representation of Client pursuant to this
agreement will be limited to the specific matters referenced herein, and SSG is not undertaking, absent a
specific engagement letter to the contrary, to represent Client in other matters or in any general counsel
capacity.

        SSG will be responsible for the drafting of documents, preparation of pleadings, attending court
hearings and trials, participating in negotiations, performing legal research, and conducting conferences,
and consultations as may be necessary to represent you with respect to each claim for which litigation is
commenced.

         Although SSG will endeavor to obtain results satisfactory to Client, we cannot guarantee that we
will be successful. As part of this agreement, Client and Christopher J. Moser, Chapter 7 Trustee of 2014
LP (the “2014 LP Trustee”) acknowledge that (i) neither SSG nor any of its respective professionals have
made any promises or guarantees regarding any outcome of the Subject Matters and that no guarantees or
promises can be made regarding the outcome thereof; (ii) neither SSG nor any of its respective professionals
have made any promises or guarantees regarding the length of time required to obtain the resolution of the
Subject Matters; and (iii) either at the beginning or during the course of its representation, SSG may express
its opinions or beliefs concerning the Subject Matters and the results that might be anticipated; but that any
such statement(s) are intended to be an expression of opinion only, based on information available at the
time, and must not be construed by Client or 2014 LP Trustee as a promise or guarantee, as no such promises
or guarantees are possible.

        Client and 2014 LP Trustee acknowledge and agree that SSG is under no obligation to represent
them with respect to a Subject Matter if SSG determines, in its sole discretion, that pursuit of any particular
Subject Matter is not cost justified.

       To enable SSG to effectively perform the contemplated services, it is essential that Client and the
2014 LP Trustee disclose fully and accurately all facts and keep us apprised of all developments relating to
the Subject Matters. Client and the 2014 LP Trustee agree to cooperate fully with SSG and to make
themselves and their representatives available to attend meetings, conferences, hearings and other
proceedings.

         Legal Fees. The representation will be handled on a contingency fee basis with SSG’s fee being
dependent upon recovery through settlement or trial, except in the event of discharge or withdrawal from
representation as provided below. The fees to be paid to SSG will be a percentage of the “Recovery” (as
defined below) realized with respect to each Specific Subject Matter. The Client and the 2014 LP Trustee
agree to pay SSG a contingent fee based upon (i) the outcome achieved with respect to each Specific Subject
Matter, and (ii) the occurrence of specified benchmark events with respect to each Specific Subject Matter.
The agreed upon percentages and benchmarks are set forth below:
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           Fees as a
           Percent of
           Recovery                                         Benchmark Event

              33%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter prior to the earlier of (i) submission of a proposed joint
                            pre-trial order, or (ii) submission of a position statement to an agreed
                            upon or court appointed mediator for the Specific Subject Matter.

              35%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after submission of a position statement to an agreed upon
                            or court appointed mediator for a Specific Subject Matter.

              40%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after the earlier of (i) conclusion of an unsuccessful
                            mediation, or (ii) submission of a proposed joint pre-trial order.

The Client and the 2014 LP Trustee acknowledge that the foregoing contingency fee terms are not set by
law, but are negotiable, and have been negotiated, between the Client, the 2014 LP Trustee.

         The term “Recovery” shall mean (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Client and/or the 2014 LP Trustee as of the date of recovery, plus (iii) the value
of any claim that is released or disallowed, plus (iv) the value of any potential unsecured claim based upon
§ 502(h) of the Bankruptcy Code that is released or disallowed. The dollar amount of each Recovery with
respect to a Specific Subject Matter will be calculated before deduction of any applicable expenses of the
lawsuit. For purposes of this agreement, if a proof of claim was filed by the subject creditor, the dollar
amount of a the claim released or disallowed (other than any claim under § 506(h) of the Bankruptcy Code)
will be determined based upon the dollar amount set forth in the proof of claim filed by the subject creditor
which is released or disallowed. If a proof of claim was not filed by the subject creditor, the dollar amount
released or disallowed will be determined based upon the dollar amount set forth in the Schedules and
Assets and Liabilities filed in the bankruptcy cases by 2014 LP with respect to the subject creditor which
is released or disallowed. For purposes of this agreement, the value of each dollar of each pre-petition
claim or administrative claim released or disallowed will be determined based on the projected percentage
recovery of the applicable class of claim. For example, if the projected recovery by unsecured claim holders
was 25% on the dollar, then the value of each dollar of unsecured claim released or discharged would be
.25¢.

        Subject to the terms of this Agreement, the Client and the 2014 LP Trustee hereby convey, transfer,
and assign to SSG an undivided interest in the Subject Matters, such interest being equal to the amount of
the percentages therein described above.

         Out-of-Pocket Expenses. Client and the 2014 LP Trustee acknowledge and agree that in
connection with investigation and prosecution of the Subject Matters, the services of third parties will be
necessary. Such other persons and entities may include, but are not limited to, court reporters, accountants,
investigators and expert witnesses. Such third party fees and expenses will be billed directly to Client.
Client will be responsible for paying fees and expenses of third parties. In the event that there are
insufficient funds in the estate to timely pay for the third party services, SSG will advance the amount
necessary and such advances will be treated as reimbursable expenses.
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        Client and the 2014 LP Trustee further acknowledge that SSG will incur various expenses in
providing services to Client. Client agrees to reimburse SSG for all out-of-pocket expenses paid by SSG.
Such expenses include, but are not limited to, charges for serving and filing papers, courier or messenger
services, recording and certifying documents, depositions, transcripts, investigations, witnesses, long
distance telephone calls, copying materials, and travel expenses. Expenses advanced by SSG would be
reimbursed by Client solely out of Recoveries.

        Settlements. Any settlement offer received by SSG will be immediately conveyed to Client and
the 2014 LP Trustee with our recommendation for acceptance or rejection. Any settlement offer received
by Client and the 2014 LP Trustee will be conveyed to SSG for notice purposes only.

         No settlement of any nature shall be made for the Subject Matters without the approval of
Client and the United States Bankruptcy Court. Client acknowledges that all communications from
adverse parties or their counsel in connection with the Subject Matters are required to be directed to SSG,
as counsel, pursuant to Texas Disciplinary Rule of Professional Conduct 4.02; and Client agrees to instruct
all adverse parties and their counsel to communicate only through SSG, unless SSG agrees otherwise.

        Conflict Matters. SSG has represented and currently represents Client on an ongoing basis with
matters related to this Bankruptcy Case and other cases including, but not limited to, matters in the
following bankruptcy cases: (i) In re Payson Petroleum, Inc. (Bankruptcy Case No. 16-41044); (ii) In re
Payson Operating, LLC (Bankruptcy Case No. 16-41045); (iii) In re Maricopa Resources, LLC
(Bankruptcy Case No. 16-41043); and (iv) In re Payson Petroleum 3 Well, L.P. (Bankruptcy Case No. 17-
40179). While SSG does not anticipate that its prior and/or current representation of Client will adversely
affect Client’s or 2014 LP Trustee’s interests in the Subject Matters, applicable rules of professional
conduct require that SSG obtain Client’s consent to its representation of Client with respect to the Subject
Matters. Client acknowledges his express and informed consent to SSG’s representation of Client with
respect to the Subject Matters as well as SSG’s continuing representation of Client in other matters,
including related matters. 2014 LP Trustee acknowledges that he is aware that SSG represents Client in
other matters, including the above-referenced related matters, and waives any conflict relating thereto.

         If a controversy arises between you and any other client of SSG, SSG, after taking into account the
applicable rules of professional ethics, may decline to represent you or such other client or both you and
such other client. Following the conclusion of our representation of you in this matter, SSG reserves the
right to represent other future clients on unrelated matters which may be adverse to your interests.

         Withdrawal/Termination of Representation. Our representation may be terminated prior to the
conclusion of the Subject Matters covered under this engagement letter by written notice to the other party.
SSG reserves the right to withdraw from its representation if, among other things, Client fails to honor the
terms of this engagement letter or fails to cooperate or follow SSG’s advice on a material matter, or if any
fact or circumstance would, in SSG’s view, render our continuing representation unlawful, unethical or
ineffective. No such termination or withdrawal, however, will relieve Client of the obligation to pay the
legal fees owed for services performed and other charges owing to SSG as set forth in this agreement.

         Work Files – Retention and Disposition. SSG will maintain all documents furnished to us in our
files for this matter. At the conclusion of the matter covered under this engagement letter (or earlier, if
appropriate), it is Client’s and the 2014 LP Trustee’s obligation to advise us as to which, if any, documents
in our files they wish SSG to return. SSG may keep copies thereof for our records to the extent we believe
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advisable. SSG will retain any remaining documents in our files for a period of one (1) year following
conclusion of our representation in this matter. THEREAFTER, SUCH FILES MAY, AT OUR SOLE
DISCRETION AND WITHOUT FURTHER NOTICE TO YOU, BE DESTROYED.

         Email Communications. To the extent appropriate, SSG communicates with respective clients
(and others) by means of electronic mail. The use of email has proven over time to be an effective and
efficient means of exchanging both messages and documents. We are mindful of the concerns of some
clients that email transmission could be compromised, and thus prohibit its use or prohibit its use in an
unencrypted form. The use of encryption, however, though intended to be “seamless” in use, has caused
difficulties in communication with some parties. Thus, to avoid the possibility of disruptions in the flow
of information, and prompted by the near-unanimity on the part of bar associations throughout the country,
as well as the American Bar Association, in support of the preservation of attorney-client privileges in
unencrypted email communications, unless specifically instructed by you, we will assume your consent to
use of unencrypted email as a means of communication.

         Approval of Terms of Engagement. If the above and foregoing meets with your understanding,
please so indicate by executing this agreement in the place provided below for your signature. A copy of
this agreement should be retained for your files.

       Bankruptcy Court Approval. The parties acknowledge that the Bankruptcy Court must
approve this agreement.

                                                            Regards,

                                                            SNOW SPENCE GREEN LLP

                                                            By:____________________________________
                                                                   Phil F. Snow


Accepted and Agreed this __________ day of _________________, 2017:



By:
      Christopher J. Moser
      Chapter 7 Trustee for Payson Petroleum 3 Well 2014, L.P.


By:
      Jason R. Searcy
      Chapter 11 Trustee for Payson Petroleum, Inc.




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EXHIBIT 3 TO SETTLEMENT AGREEMENT

                  AGREED FINAL JUDGMENT
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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM, INC.,                                      §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                      §
PAYSON OPERATING, LLC,                                       §              Case No. 16-41044
                                                             §
         DEBTORS.                                            §              Chapter 11


JASON R. SEARCY,                                             §
CHAPTER 11 TRUSTEE,                                          §
                                                             §
      Plaintiff,                                             §
                                                             §
vs.                                                          §              Adversary No. 16-04106
                                                             §
PAYSON PETROLEUM 3 WELL, L.P.                                §
& PAYSON PETROLEUM 3 WELL                                    §
2014, L.P.,                                                  §
                                                             §
      Defendants.                                            §

                                        AGREED FINAL JUDGMENT

         ON THIS DATE, came on to be considered the above-entitled and numbered cause

wherein Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa Resources,

LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-41044 is the

“Plaintiff” and Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. are the

“Defendants.”

         After considering the Joint Motion for Entry of Agreed Final Judgment (the “Motion”)

filed by Plaintiff and Defendants, other pleadings on file, and argument of the parties, if any, the

Court hereby finds that the Motion should be granted. The Court further finds that:

         •         Payson Petroleum 3 Well, L.P. (“3 Well LP”) owes Payson Petroleum, Inc.



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(“Payson Petroleum”) the sum of EIGHT MILLION FIVE HUNDRED FIFTY-SEVEN THOUSAND EIGHT

HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS ($8,557,888.50) under that certain October

10, 2013 Subscription Turn Key Agreement between 3 Well LP and Payson Petroleum (the “3

Well LP Turnkey Agreement”);

       •        Payson Petroleum 3 Well 2014, L.P. (“2014 LP”) owes Payson Petroleum the sum

of TWO MILLION SIX HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED                                       AND    50/100 U.S.

DOLLARS ($2,671,900.50) under that certain January 12, 2014 Subscription Turn Key Agreement

between 2014 LP and Payson Petroleum (the “2014 LP Turnkey Agreement”);

       •        On or about Marcy 28, 2016, Maricopa Resources, LLC (“Maricopa”) assigned

certain interests in the William #1H (API # 181-31557), the Crowe #2 (API #181-31543), and the

Elaine #1 (API #181-31547) (collectively the “Subject Wells”) oil and gas wells and related

leaseholds to 3 Well LP and 2014 LP via three (3) certain Wellbore Assignments, Conveyances,

Bills of Sale, and Releases, which were recorded in the real property records of Grayson County,

Texas at Instrument Numbers: 2016-00006064, 2016-00006065, and 2016-00006066 and are

attached hereto as Exhibit 1 (the “Avoidable Assignments”); and

       •        Maricopa made the Avoidable Assignments during the 90-day period preceding the

filing of Maricopa’s bankruptcy petition, while Maricopa was not solvent, in furtherance of a

fraudulent scheme which defrauded Maricopa’s creditors, and without receiving reasonably

equivalent value in return from 3 Well LP or 2014 LP and, therefore, that the Avoidable

Assignments may be avoided pursuant to 11 U.S.C. § 548(a)(1)(A) & (B).

       It is therefore ORDERED, ADJUDGED, AND DECREED that the Motion is Granted;

       It is further ORDERED, ADJUDGED,               AND      DECREED that the Avoidable Assignments are

       constructive and actual fraudulent transfers of the interests set forth therein and are hereby


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        avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B);

        It is further ORDERED, ADJUDGED, AND DECREED that Final Judgment is hereby granted

in favor of:

        •     Payson Petroleum against 3 Well LP in the amount of EIGHT MILLION FIVE
HUNDRED FIFTY-SEVEN THOUSAND EIGHT HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS
($8,557,888.50) on account of 3 Well LP’s breach of the 3 Well LP Turnkey Agreement;

        •      Payson Petroleum against 2014 LP in the principal amount of TWO MILLION SIX
HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED AND 50/100 U.S. DOLLARS ($2,671,900.50)
on account of 2014 LP’s breach of the 2014 LP Turnkey Agreement;

      •      Maricopa against 3 Well LP for the interests transferred to 3 Well LP via the
Avoidable Assignments and/or the value thereof; and

      •      Maricopa against 2014 LP for the interests transferred to 2014 LP via the Avoidable
Assignments and/or the value thereof.

        It is further ORDERED, ADJUDGED, AND DECREED that:

       •       Payson Petroleum shall have an allowed unsecured claim in Bankruptcy Case No.
17-40179 in the amount of EIGHT MILLION FIVE HUNDRED FIFTY-SEVEN THOUSAND EIGHT
HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS ($8,557,888.50) on account of 3 Well LP’s
breach of the 3 Well LP Turnkey Agreement; and

      •        Payson Petroleum shall have an allowed unsecured claim in Bankruptcy Case No.
17-40180 in the amount of TWO MILLION SIX HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED
AND 50/100 U.S. DOLLARS ($2,671,900.50) on account of 2014 LP’s breach of the 2014 LP
Turnkey Agreement.

        This is a Final Judgment. All relief not ordered herein is expressly denied.




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SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE FOR PAYSON PETROLEUM,
INC., PAYSON OPERATING, LLC, AND MARICOPA RESOURCES, LLC

AGREED AS TO FORM AND SUBSTANCE:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE FOR PAYSON PETROLEUM,
INC., PAYSON OPERATING, LLC, AND MARICOPA RESOURCES, LLC



/s/
Keith W. Harvey
State Bar No. 09180100
THE HARVEY LAW FIRM, P.C.
6510 Abrams Road Suite 280
Dallas, Texas 75231
(972) 243-3960 Phone
(972)-241-3970 Facsimile

COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE FOR PAYSON
PETROLEUM 3 WELL, L.P. AND PAYSON PETROLEUM 3 WELL 2014, L.P.




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                                                                                 Instrument Number: 2016-00006064
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 Recorded On: March 28, 2016                                                                Recordings

          Parties: MARICOPA RESOURCES LLC                                                                                                          Billable Pages: 6
                   To                    PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                    Number of Pages: 8


     Comment: ASSIGN
                                                                                 ( Parties listed above are for Clerks reference only )

                                                                             ** Examined and Charged as Follows: **
Recordings                                                        36.00
              Total Recording:                                    36.00




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                                                    Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                                                because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                                 Record and Return To:
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         Receipt Number: 447187                                                                                         PAYSON PETROLEUM
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS INSTRUMENT BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                    an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Wellbore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective
August 1, 2015 (the "Effective Date"), is subject to all instruments of record, including land owners royalty interests and
reserved overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

       This Assignment is further subject to that certain Declaration of Pooled Unit - William #lH, dated August 15,
2014, by Maricopa Resources LLC, and recorded in Volume 5650, Page 778 of the Official Public Records of Grayson
County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the "Assets":

        a.     The William # 1H (API # 181-31557) and associated well bore, with a surface location situated at latitude
33° 44' 41" - north, longitude 96° 41' 01" - west, in the east half of the Section 26, BLK 1, 11, 15, 16, JM Dodgin
Survey, Abstract 378, Grayson County, TX, (from the surface of the earth down to the base of the Viola Limestone


WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 1
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defined as the stratigraphic equivalent of 11,835' as found in the Brown Gas Unit No. l well located in the P. R. Wertz
Survey, Abstract 1387, Grayson County, TX), collectively referred to in this Assignment as the ("Well").

        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive  any  interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

        2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a depth not greater than the base of the Viola Limestone defined as the stratigraphic equivalent of 11,835' as
found in the Brown Gas Unit No. 1 well located in the P.R. Wertz Survey, Abstract 1387, Grayson County, TX and plug
and abandon the Well. Assignees shall not have the right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flow lines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.


WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 2
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        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all
claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

         11.     Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.


                                                                2016.



ASSIGNOR:
MARICOPA RESOURCES, LLC




WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 3
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                           3 WELL 2014, L.P.


By: _ _____.'------+---------
Payson Petroleum Grayson, LLC, Ge
Matthew C. Griffin, President



ASSIGNEE:
PAYSON PETRO         UM 3 WELL, L.P.


By: _ _~,___ _-==-=,=:_-..c
Payson Petr eum Grayson, LL
Matthew C. Griffin, President



STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                       _~Jh-~M/4~ __rtl
                                                                           ___:za ___,2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.

                                            ~t~~~.i;.,,-.;.            JANICE SEYDEL
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                                           =..    .•:: NOTARY PUBLIC.STATE OF TEXAS
                                           \~·., l/l COMM. EXP. 04-19-2020
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STATE OF TEXAS                     §
                                   §
COUNTY OF DENTON                   §

This instrument was acknowledged before me on                         ~/i/1..t&-:
                                                                  2?:,~ , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.


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STATE OF TEXAS                     §
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COUNTY OF DENTON                   §

This instrument was acknowledged before me on                        'lh~
                                                                7,,5rJ       , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Paitner of Pavson Petroleum 3 Well, L.P.
                                           ~,,,u~~i,,,,               JANICE SEYDEL
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   I. The William #lH (API #181-31557) and associated wellbore, with a surface location situated at latitude 33° 44'
      41" - north, longitude 96° 41' 01" - west, in the east half of the Section 26, BLK 1, 11, 15, 16, JM Dodgin
      Survey, Abstract 378, Grayson County, TX, (from the surface of the earth down to the base of the Viola
      Limestone defined as the stratigraphic equivalent of 11,835' as found in the Brown Gas Unit No. 1 well located in
      the P.R. Wertz Survey, Abstract 1387, Grayson County, TX).

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the William # I H Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
County  Lessor                                                       Lessee                             Volume       Page       Date
Grayson Linda Buechner Byrne, as her separate                        TLPC Holdings, Ltd.                5411         536        11/18/2013
        property
Grayson Steven Buechner                                              TLPC Holdings, Ltd.                5411          532       11/18/2013
Grayson C. Suzanne Buechner, Individually and as                     TLPC Holdings, Ltd.                5411          540       11/18/2013
        Executor of the Estate of Barry L. Buechner,
        Deceased
Grayson Kennedy & Minshew, PC                                        TLPC Holdings, Ltd.                5049          747       11/10/2011
Grayson Kenneth Dolezalek                                            TLPC Holdings, Ltd.                5061          139       9/30/2011
Grayson Louie A. Hattensty, Jr.                                      TLPC Holdings, Ltd.                5057          937       11/10/2011
Grayson Bessie M. Dolezalek                                          TLPC Holdings, Ltd.                5031          870       9/30/2011
Grayson Barbara B. Vogelsang                                         TLPC Holdings, Ltd.                5031          846       9/30/2011
Grayson Burgess E. Buchanan, Jr.                                     TLPC Holdings, Ltd.                5031          854       9/30/2011
Grayson John Yates Buchanan                                          TLPC Holdings, Ltd.                5031          862       9/30/2011
Grayson Susan R. Greene                                              TLPC Holdings, Ltd.                5031          398       8/18/2011
Grayson Hugh Ringgold                                                TLPC Holdings, Ltd.                5031          390       8/18/2011
Grayson Kathryn Michelle Looney                                      TLPC Holdings, Ltd.                5034          673       9/30/2011
Grayson Anita Anderson, Power of Attorney for Gary                   TLPC Holdings, Ltd.                5034          665       9/30/2011
        Michael Looney
Grayson    Charles Evans                                             TLPC Holdings, Ltd.                5036          856       9/30/2011
Grayson    John F. Evans                                             TLPC Holdings, Ltd.                5031          406       9/30/2011
Grayson    Robert Yates Evans Jr.                                    TLPC Holdings, Ltd.                5031          414       9/30/2011
Grayson    SH Productions, Inc.                                      Maricopa Resources, LLC            5464          919       2/24/2014
Grayson    Kathy Reed                                                Maricopa Resources, LLC            5464          927       2/24/2014
Grayson    Kirk E Reed                                               Maricopa Resources, LLC            5464          931       2/24/2014
Grayson    Southstar Energy Corp                                     Maricopa Resources, LLC            5464          915       2/24/2014
Grayson    Washita Mineral Co                                        Maricopa Resources, LLC            5464          923       2/24/2014
Grayson    Endeavor Energy Resources, L.P.                           OKT Resources, LLC                 4981          402       2/1/2011


WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 5
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Grayson   Thomas W. Lett, Individually and as Trustee of OKT Resources, LLC                            4418         520        2/1/2008
          the Sam Lett Testamentary Trust
Grayson   Castello Enterprises, Inc.                                OKT Resources, LLC                 4980         156        2/1/2011
Grayson   Wilbur Lee Dean III                                       Matthew A very                     4296         513        4/18/2007
Grayson   Joseph G Jen Dean                                         Matthew A very                     4296         506        4/18/2007
Grayson   Paula Marie Dean Halbach, aka Paula Marie                 Matthew A very                     4980         140        4/18/2007
          Dean
Grayson   Landon Boyd Odle                                          Matthew A very                     4760         92         1/31/2007
Grayson   Douglas Kent Odle                                         Matthew A very                     4760         88         3/6/2007
Grayson   Gary Wayne Odle, dealing m his sole and                   Matthew A very                     4296         493        5/10/2007
          separate property
Grayson   LaJuan Odle                                               Matthew A very                     4760         92         1/30/2007
Grayson   Pottsboro Church of Christ                                Matthew A very                     4983         321        4/10/2011
Grayson   Vurlas Lane Wilson, a/k/a Verlas Lane Wilson              Matthew A very                     4296         469        4/27/2007
          and Marjorie Marie Wilson H/W
Grayson   John Robert Hooper                                        Paradise Springs, LLC              4993         305        2/12/2011
Grayson   Berdine Eberhart and Tom Eberhart W/H                     Matthew A very                     4296         441        4/27/2007
Grayson   Terry Lee Garofalo, a married woman dealing               Matthew A very                     4980          144       1/2/2011
          in her sole and separate property
Grayson   Ann W. Tracy, Trustee under the Ann W.                    Matthew A very                     4296         457        6/27/2007
          Tracy Revocable Trust dated January 8, 1991
Grayson   Ilva Wilson, Ind and as Trustee of the James M            Matthew A very                     4297         46         6/27/2007
          Wilson Jr and Ilva Wilson Family Trust
Grayson   Bobby C Wilson                                            Matthew A very                     4296         461        6/27/2007
Grayson   Peggy Ann Gehrig                                          Matthew A very                     4296         449        6/27/2007
Grayson   Thomas J. Wilson                                          Matthew A very                     4296         466        6/27/2007
Grayson   Lee Marjorie Hooper                                       Matthew A very                     4296         454        4/27/2007
Grayson   Berdine Eberhart and Tom Eberhart W/H                     Matthew A very                     4296         441        4/27/2007
Grayson   Terry Lee Garofalo and Marty J. Garofalo,                 Matthew A very                     4296         445        4/27/2007
          wife and husband
Grayson   Anadarko E&P Onshore, LLC                                 Paradise Springs, LLC              5355         704        8/28/2013
Grayson   Wei-Mar Investments                                       Paradise Springs, LLC              5274         698        3/15/2013
Grayson   PCB Trust, Philip C. Brown, Trustee, and                  Paradise Springs, LLC              5274          701       3/15/2013
          Philip Charles Brown
Grayson   Norman D. O'Neal                                          Paradise Springs, LLC              5367         400        9/10/2013
Grayson   Norman D. O'Neal                                          Paradise Springs, LLC              5002          826       8/21/2011
Grayson   Wei-Mar Investments                                       Paradise Springs, LLC              5002          830       8/21/2011
Grayson   Philip C Brown, a/ka Philip Charles Brown;                Paradise Springs, LLC              5002          834;      8/21/2011
          PCB Trust                                                                                                  838
END OF EXHIBIT "A"




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                                                                                                  Wilma Bush
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                                                                                              Sherman, Texas 75090

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            Parties: MARICOPA RESOURCES LLC                                                                                                        Billable Pages: 5
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     Comment: ASSIGN
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                 Total Recording:                                 32.00




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                                                I hereby certify that this instmment was FILED in the File Number sequence on the date/time



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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS INSTRUMENT BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                    an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Wellbore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective April
9, 2014 (the "Effective Date"), is subject to all instruments ofrecord, including land owners royalty interests and reserved
overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

        This Assignment is further subject to that certain Assignment of Oil and Gas Leases, dated November 23, 2010,
entered into between Atoka Operating, Inc. and Barber Exploration Company, and recorded in Volume 4888, Page 924, of
the Official Public Records of Grayson County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the ("Assets"):

        a.       The Crowe #2 (API #181-31543) and associated wellbore, with a surface location situated at latitude 33°
49' 10" - north, longitude 96° 41' 55" - west, in Section 11, BLK 1, 11, 15, 16, the South 79 acres of the Wood &
Buckles Survey, Abstract 1373, Grayson County, TX, (from the surface of the earth down to the measured depth of
11,164'), collectively referred to in this Assignment as the ("Well").

WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page I
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        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive any interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

         2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a measured depth not greater than 11,164', and plug and abandon the Well. Assignees shall not have the
right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flow lines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.

        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all


WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 2
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claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

        11.      Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.
                         -?"2...'r,d            i A.,., .~ I
EXECUTED on this       ~~~/-           day of   r,, l(..il.rf1'.\,   2016.


ASSIGNOR:
MARICOPA RESOURCES, LLC




ASSIGNEE:
PAYSON PETROLEUM 3 WELL 2014, L.P.


By:_-<--~----.:+
Payson Petrol um Grayson, LL
Matthew C. Griffin, President

WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE- Page 3
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ASSIGNEE:
PAYSON PETROLEUM 3 WELL, L.P.
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By:. _ _-,IL...L....,,~__.:._.J----=-==--"
Payson Petrol m Grayson, LLC,
Matthew C. Griffin, President



STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on                             ~ Z3 rd.. , 2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.

                                              ~~~~·~i;,,~                JANICE SEYDEL
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                                             ~/i·•.~.-iJ COMM. EXP.04-19-2020
                                              ~,lf?,~:~,,,-:- NOTARY ID 128960971

STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on                   z:8rj_   ~~  , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.


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                                                                       JANICE SEYDEL
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STATE OF TEXAS                          §
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COUNTY OF DENTON                        §

This instrument was acknowledged before me on    ~~z.3rj_ , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well, L.P.



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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   1.   The Crowe #2 (API #181-31543) and associated wellbore, with a surface location situated at latitude 33° 49' 10"
        - north, longitude 96° 41' 55" - west, in Section 11, BLK 1, 11, 15, 16, the South 79 acres of the Wood &
        Buckles Survey, Abstract 1373, Grayson County, TX, (from the surface of the earth down to the measured depth
        of 11,164'), collectively referred to in this Assignment as the ("Well").

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the Crowe #2 Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
                                                                                                                                Effective
County     Lessor                                   Lessee                    Instrument Filed               Volume/Page        Date
Grayson    Marilyn Teresa Morrow                    RWJ Exploration,          Oil, Gas, and Mineral          4724/434           6/12/2009
                                                    LLC                       Lease
Grayson    Samuel Louis Crow                        Atoka Operatinc,          Oil, Gas, and Mineral          4536/579           1/7/2008
                                                    Inc.                      Lease
Grayson    Linda Darnell Lott, acting as            Atoka Operating,          Oil, Gas, and Mineral          4536/566           4/3/2008
           Agent and Attorney-in-Fact for           Inc.                      Lease
           Frank L. Darnell, Sr., a widower
Grayson    Linda Darnell Lott, as                   Atoka Operating,          Oil, Gas, and Mineral          4536/583           4/1/2008
           Independent Executrix of The             Inc.                      Lease
           Estate Dorothy L. Darnell,
           Deceased
Grayson    Allen M. Tonkin, Jr. Revocable           Texas Land &              Memorandum of Oil              4956/294           5/1/2011
           Trust, Allen M. Tonkin Jr.,              Petroleum                 and Gas Lease
           Trustee                                  Company, LLC
Grayson    Nancy P. Tonkin Revocable                Texas Land &              Memorandum of Oil              4956/287           5/1/2011
           Trust, Nancy T. Cutter and Allen         Petroleum                 and Gas Lease
           M. Tonkin, Jr, Trustees                  Company, LLC
Grayson    Nancy T. Cutter Revocable                Texas Land &              Memorandum of Oil              4956/291           5/1/2011
           Trust, Nancy T. Cutter Trustee           Petroleum                 and Gas Lease
                                                    Company, LLC
Grayson    Linley T. Solari Revocable               Texas Land &              Memorandum of Oil              4956/284           5/1/2011
           Trust, Linley T. Solari, Trustee         Petroleum                 and Gas Lease
                                                    Company, LLC
Grayson    Solari Luz, LLC                          Texas Land &              Ratification of Oil and        5043/663           5/1/2011
                                                    Petroleum                 Gas Lease
                                                    Company, LLC
END OF EXHIBIT "A"




WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 5
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                                                                                Grayson County
                                                                                  Wilma Bush
                                                                              Grayson County Clerk
                                                                              Sherman, Texas 75090
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                                                                 Instrument Number: 2016-00006065
                                                                               As
 Recorded On: March 28, 2016                                                Recordings

        Parties: MARICOPA RESOURCES LLC                                                                                            Billable Pages: 5
              To      PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                       Number of Pages: 7


     Comment: ASSIGN
                                                                 ( Parties listed above are for Clerks reference only )

                                                             ** Examined and Charged as Follows: **
Recordings                                        32.00
             Total Recording:                     32.00




                     ************ DO NOT REMOVE. THIS PAGE IS PART OF THE INSTRUMENT************
                                   Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                               because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                 Record and Return To:
       Document Number: 2016-00006065
        Receipt Number: 447187                                                                          PAYSON PETROLEUM
     Recorded Date/Time: March 28, 2016 12:09:45P                                                       2652 FM 407 E #250
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           User/ Station: G WHITE - Cashiering Station 1


                                THE STATE OF TEXAS
                                COUNTY OF GRAYSON
                                I hereby certify that this instrument was FILED in the File Number sequence on the date/time
                                printed hereon, and was duly RECORDED in the Official Public Records of Grayson County. Texas.




                                Wilma Blackshear Bush, Grayson County Clerk
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
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FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                    an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Well bore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective June
2, 2014 (the "Effective Date"), is subject to all instruments ofrecord, including land owners royalty interests and reserved
overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

        This Assignment is further subject to that ce11ain Declaration of Pooled Unit - Elaine #1, dated to be effective
June 1, 2014, by Maricopa Resources LLC, and recorded in Volume 5530, Page 781, of the Official Public Records of
Grayson County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the ("Assets"):

         a.       The Elaine #1 (API #181-31547) and associated wellbore, with a surface location situated at latitude 33°
44' 55" - north, longitude 96° 41' 02" - west, in Section 26, BLK 1, 11, 15, 16, the East half of the J.C. Wade Survey,
Abstract 1382, Grayson County, TX, (from the surface of the earth down to the measured depth of 12,309'), collectively
referred to in this Assignment as the ("Well").

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        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive any interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

         2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a measured depth not greater than 12,309', and plug and abandon the Well. Assignees shall not have the
right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flowlines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.

        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all


WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 2
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claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

         11.     Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.

EXECUTED on this        z3rJ day of Marc.L                     2016.


ASSIGNOR:
MARICOPA RESOURCES, LLC




ASSIGNEE:
PAYSON PETROLEUM 3 WELL 2014, L.P.


By: _ _ _ _ _ _ _             -#-_


Payson P roleum Grayson, LC, General Partner
Matthew C. Griffin, President

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ASSIGNEE:
PAYSON PETROLEUM 3 WELL, L.P.


By:_ _-F-+---=--=--L---.::~~v
Payson Petrol m Grayson, L
Matthew C. Griffin, President




STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                  ___~---~V?
                                                             _'o/YJ    __n_it__, 2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.




STA TE OF TEXAS                   §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                      7rJ/tlU:t-
                                                                -Z,,3 ,,d , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.




STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                      ~ -z.:3rtt- ,
                                                                               2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well, L.P .



                                               .:t~~~'.£Z.'"', . JANICE SEYDEL
                                              {!(-Jj~\NOTAAY PUBLIC-STATE OF TEXAS
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   I. The Elaine #1 (API #181-31547) and associated wellbore, with a surface location situated at latitude 33° 44' 55"
        - north, longitude 96° 41' 02" - west, in Section 26, BLK 1, 11, 15, 16, the East half of the J.C. Wade Survey,
        Abstract 1382, Grayson County, TX, (from the surface of the earth down to the measured depth of 12,309'),
        collectively referred to in this Assignment as the ("Well").

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the Elaine # 1 Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
County    Lessor                                                       Lessee                            Volume       Pa2e      Date
Grayson   Linda Buechner Byrne, as her separate                        TLPC Holdings, Ltd.               5411         536       11/18/2013
          property
Grayson       Steven Buechner                                          TLPC Holdings, Ltd.               5411         532       11/18/2013
Grayson       C. Suzanne Buechner, Individually and as                 TLPC Holdings, Ltd.               5411         540       11/18/2013
              Executor of the Estate of Barry L. Buechner,
              Deceased
Grayson       Kennedy & Minshew, PC                                    TLPC Holdings, Ltd.               5049         747       11/10/2011
Grayson       Kenneth Dolezalek                                        TLPC Holdings, Ltd.               5061         139       9/30/2011
Grayson       Louie A. Hattensy, Jr.                                   TLPC Holdings, Ltd.               5057         937       11/10/2011
Grayson       Bessie M. Dolezalek                                      TLPC Holdings, Ltd.               5031         870       9/30/2011
Grayson       Barbara B. Vogelsang                                     TLPC Holdings, Ltd.               5031         846       9/30/2011
Grayson       Burgess E. Buchanan, Jr.                                 TLPC Holdings, Ltd.               5031         854       9/30/2011
Grayson       John Yates Buchanan                                      TLPC Holdings, Ltd.               5031         862.      9/30/2011
Grayson       Susan R. Greene                                          TLPC Holdings, Ltd.               5031         398       8/18/2011
Grayson       Hugh Ringgold                                            TLPC Holdings, Ltd.               5031         390       8/18/2011
Grayson       Kathryn Michelle Looney                                  TLPC Holdings, Ltd.               5034         673       9/30/2011
Grayson       Anita Anderson, Power of Attorney for Gary               TLPC Holdings, Ltd.               5034         665       9/30/2011
              Michael Looney
Grayson       Charles Evans                                            TLPC Holdings, Ltd.               5036         856       9/30/2011
Grayson       John F. Evans                                            TLPC Holdings, Ltd.               5031         406       9/30/2011
Grayson       Robert Yates Evans Jr.                                   TLPC Holdings, Ltd.               5031         414       9/30/2011
Grayson       SH Productions, Inc.                                     Maricopa Resources, LLC           5464         919       2/24/2014
Grayson       Kathy Reed                                               Maricopa Resources, LLC            5464        927       2/24/2014
Grayson       Kirk E Reed                                              Maricopa Resources, LLC           5464         931       2/24/2014
Grayson       Southstar Energy Corp                                    Maricopa Resources, LLC           5464         915       2/24/2014
Grayson       Washita Mineral Co                                       Maricopa Resources, LLC            5464        923       2/24/2014
Grayson       Carin Isabel Knoop                                       Maricopa Resources, LLC            5464        910       4/7/2014
Grayson       Preston 150 Joint Venture                                Maricopa Resources, LLC            5521        166       3/24/2014
END OF EXHIBIT "A"
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EXHIBIT 4 TO SETTLEMENT AGREEMENT

              JOINT MOTION FOR ENTRY OF
               AGREED FINAL JUDGMENT
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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM, INC.,                                      §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                      §
PAYSON OPERATING, LLC,                                       §              Case No. 16-41044
                                                             §
         DEBTORS.                                            §              Chapter 11


JASON R. SEARCY,                                             §
CHAPTER 11 TRUSTEE,                                          §
                                                             §
      Plaintiff,                                             §
                                                             §
vs.                                                          §              Adversary No. 16-04106
                                                             §
PAYSON PETROLEUM 3 WELL, L.P.                                §
& PAYSON PETROLEUM 3 WELL                                    §
2014, L.P.,                                                  §
                                                             §
      Defendants.                                            §

               JOINT MOTION FOR ENTRY OF AGREED FINAL JUDGMENT

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

         COME NOW, Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. in

Bankruptcy Case No. 17-40180 (the “LP Trustee”) to file their Joint Motion for Entry of Agreed

Final Judgment (the “Joint Motion”), and in support thereof, respectfully show unto the Court the

following:




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         1.       On July 13, 2017, Payson Trustee filed his First Amended Complaint in this

adversary proceeding against Payson Petroleum 3 Well, L.P. (“3 Well LP”) and Payson Petroleum

3 Well 2014, L.P. (“2014 LP”) and asserted, inter alia, the following claims:

   •     breach of contract claims on behalf of Payson Petroleum, Inc. (“Payson Petroleum”)
         against 3 Well LP and 2014 LP (collectively the “Defendants”) for failure to pay amounts
         owed under certain “Turnkey Agreements;”

   •     actual and constructive fraudulent transfer claims on behalf of Payson Petroleum against
         Defendants to avoid and recover certain investment amounts Payson Petroleum transferred
         to Defendants;

   •     actual and constructive fraudulent transfer claims on behalf of Maricopa Resources, LLC
         (“Maricopa”) against Defendants to avoid and recover certain wellbore interests that
         Maricopa transferred to Defendants during the 90-day period prior to June 10, 2016 in the
         Elaine No. 1, Crowe No. 2, and William No. 1H Wells (collectively the “Subject Wells”);
         and

   •     preferential transfer claims on behalf of Maricopa against Defendants to avoid and recover
         the interests in the Subject Wells that Mariocpa transferred to Defendants during the 90-
         day period prior to June 10, 2016.

(collectively the “Subject Claims”).

         2.       Following arms-length negotiations, the Payson Trustee and LP Trustee determined

to settle disputes related to the Subject Claims, entered into that certain Settlement Agreement

dated ________, 2017 (the “Agreement”), and filed Joint Motions to Approve Compromise and

Settlement Pursuant to Bankruptcy Rule 9019 in Bankruptcy Case Nos. 16-40144, 17-40179, and

17-40180 (the “Joint Motions to Compromise”) which sought entry of agreed orders in the

applicable bankruptcy cases approving the Agreement (the “Agreed Orders”).

         3.       On __________, the Court entered the Agreed Orders.

         4.       As more fully set forth in the Agreement, Joint Motions to Compromise, and

Agreed Orders, the parties have agreed to entry of the “Agreed Final Judgment” in the form

attached hereto as Exhibit 1 in order to fully resolve the issues in the above-titled adversary


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proceeding.

       WHEREFORE, the Payson Trustee and LP Trustee respectfully request that this Court

enter the Agreed Final Judgment and grant such other and further relief as is just and proper.


Dated: ___, 2017                                       Respectfully submitted,


                                                       By:        /s/
                                                               Phil Snow
                                                               State Bar No. 18812600
                                                               Blake Hamm
                                                               State Bar No. 24069869
                                                               SNOW SPENCE GREEN LLP
                                                               2929 Allen Parkway, Suite 2800
                                                               Houston, Texas 77019
                                                               (713) 335-4800
                                                               (713) 335-4848 (Fax)

                                                               COUNSEL FOR JASON R. SEARCY,
                                                               CHAPTER 11 TRUSTEE FOR PAYSON
                                                               PETROLEUM, INC., PAYSON
                                                               OPERATING, LLC, AND MARICOPA
                                                               RESOURCES, LLC


                                                        By:      /s/
                                                               Keith W. Harvey
                                                               State Bar No. 09180100
                                                               THE HARVEY LAW FIRM, P.C.
                                                               6510 Abrams Road
                                                               Suite 280
                                                               Dallas, Texas 75231
                                                               (972) 243-3960 Phone
                                                               (972)-241-3970 Facsimile

                                                               COUNSEL FOR CHRISTOPHER J.
                                                               MOSER, CHAPTER 7 TRUSTEE FOR
                                                               PAYSON PETROLEUM 3 WELL, L.P.
                                                               AND PAYSON PETROLEUM 3 WELL
                                                               2014, L.P.




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                                       CERTIFICATE OF SERVICE

       I certify that on the ___ day of _________, 2017, a true and correct copy of the above and

foregoing was served on the interested parties via the Court’s ECF notification system.




                                                                          Blake Hamm




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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                                                                                                       1
                                       SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM, INC.,                                      §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                      §
PAYSON OPERATING, LLC,                                       §              Case No. 16-41044
                                                             §
         DEBTORS.                                            §              Chapter 11


JASON R. SEARCY,                                             §
CHAPTER 11 TRUSTEE,                                          §
                                                             §
      Plaintiff,                                             §
                                                             §
vs.                                                          §              Adversary No. 16-04106
                                                             §
PAYSON PETROLEUM 3 WELL, L.P.                                §
& PAYSON PETROLEUM 3 WELL                                    §
2014, L.P.,                                                  §
                                                             §
      Defendants.                                            §

                                        AGREED FINAL JUDGMENT

         ON THIS DATE, came on to be considered the above-entitled and numbered cause

wherein Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa Resources,

LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-41044 is the

“Plaintiff” and Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. are the

“Defendants.”

         After considering the Joint Motion for Entry of Agreed Final Judgment (the “Motion”)

filed by Plaintiff and Defendants, other pleadings on file, and argument of the parties, if any, the

Court hereby finds that the Motion should be granted. The Court further finds that:

         •         Payson Petroleum 3 Well, L.P. (“3 Well LP”) owes Payson Petroleum, Inc.



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(“Payson Petroleum”) the sum of EIGHT MILLION FIVE HUNDRED FIFTY-SEVEN THOUSAND EIGHT

HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS ($8,557,888.50) under that certain October

10, 2013 Subscription Turn Key Agreement between 3 Well LP and Payson Petroleum (the “3

Well LP Turnkey Agreement”);

       •        Payson Petroleum 3 Well 2014, L.P. (“2014 LP”) owes Payson Petroleum the sum

of TWO MILLION SIX HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED                                        AND    50/100 U.S.

DOLLARS ($2,671,900.50) under that certain January 12, 2014 Subscription Turn Key Agreement

between 2014 LP and Payson Petroleum (the “2014 LP Turnkey Agreement”);

       •        On or about Marcy 28, 2016, Maricopa Resources, LLC (“Maricopa”) assigned

certain interests in the William #1H (API # 181-31557), the Crowe #2 (API #181-31543), and the

Elaine #1 (API #181-31547) (collectively the “Subject Wells”) oil and gas wells and related

leaseholds to 3 Well LP and 2014 LP via three (3) certain Wellbore Assignments, Conveyances,

Bills of Sale, and Releases, which were recorded in the real property records of Grayson County,

Texas at Instrument Numbers: 2016-00006064, 2016-00006065, and 2016-00006066 and are

attached hereto as Exhibit 1 (the “Avoidable Assignments”); and

       •        Maricopa made the Avoidable Assignments during the 90-day period preceding the

filing of Maricopa’s bankruptcy petition, while Maricopa was not solvent, in furtherance of a

fraudulent scheme which defrauded Maricopa’s creditors, and without receiving reasonably

equivalent value in return from 3 Well LP or 2014 LP and, therefore, that the Avoidable

Assignments may be avoided pursuant to 11 U.S.C. § 548(a)(1)(A) & (B).

       It is therefore ORDERED, ADJUDGED, AND DECREED that the Motion is Granted;

       It is further ORDERED, ADJUDGED,               AND      DECREED that the Avoidable Assignments are

       constructive and actual fraudulent transfers of the interests set forth therein and are hereby


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        avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B);

        It is further ORDERED, ADJUDGED, AND DECREED that Final Judgment is hereby granted

in favor of:

        •     Payson Petroleum against 3 Well LP in the amount of EIGHT MILLION FIVE
HUNDRED FIFTY-SEVEN THOUSAND EIGHT HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS
($8,557,888.50) on account of 3 Well LP’s breach of the 3 Well LP Turnkey Agreement;

        •      Payson Petroleum against 2014 LP in the principal amount of TWO MILLION SIX
HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED AND 50/100 U.S. DOLLARS ($2,671,900.50)
on account of 2014 LP’s breach of the 2014 LP Turnkey Agreement;

      •      Maricopa against 3 Well LP for the interests transferred to 3 Well LP via the
Avoidable Assignments and/or the value thereof; and

      •      Maricopa against 2014 LP for the interests transferred to 2014 LP via the Avoidable
Assignments and/or the value thereof.

        It is further ORDERED, ADJUDGED, AND DECREED that:

       •       Payson Petroleum shall have an allowed unsecured claim in Bankruptcy Case No.
17-40179 in the amount of EIGHT MILLION FIVE HUNDRED FIFTY-SEVEN THOUSAND EIGHT
HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS ($8,557,888.50) on account of 3 Well LP’s
breach of the 3 Well LP Turnkey Agreement; and

      •        Payson Petroleum shall have an allowed unsecured claim in Bankruptcy Case No.
17-40180 in the amount of TWO MILLION SIX HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED
AND 50/100 U.S. DOLLARS ($2,671,900.50) on account of 2014 LP’s breach of the 2014 LP
Turnkey Agreement.

        This is a Final Judgment. All relief not ordered herein is expressly denied.




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SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE FOR PAYSON PETROLEUM,
INC., PAYSON OPERATING, LLC, AND MARICOPA RESOURCES, LLC

AGREED AS TO FORM AND SUBSTANCE:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE FOR PAYSON PETROLEUM,
INC., PAYSON OPERATING, LLC, AND MARICOPA RESOURCES, LLC



/s/
Keith W. Harvey
State Bar No. 09180100
THE HARVEY LAW FIRM, P.C.
6510 Abrams Road Suite 280
Dallas, Texas 75231
(972) 243-3960 Phone
(972)-241-3970 Facsimile

COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE FOR PAYSON
PETROLEUM 3 WELL, L.P. AND PAYSON PETROLEUM 3 WELL 2014, L.P.




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                                                                                 Instrument Number: 2016-00006064
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 Recorded On: March 28, 2016                                                                Recordings

          Parties: MARICOPA RESOURCES LLC                                                                                                          Billable Pages: 6
                   To                    PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                    Number of Pages: 8


     Comment: ASSIGN
                                                                                 ( Parties listed above are for Clerks reference only )

                                                                             ** Examined and Charged as Follows: **
Recordings                                                        36.00
              Total Recording:                                    36.00




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                                                    Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                                                because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                                 Record and Return To:
       Document Number: 2016-00006064
         Receipt Number: 447187                                                                                         PAYSON PETROLEUM
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS INSTRUMENT BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                    an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Wellbore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective
August 1, 2015 (the "Effective Date"), is subject to all instruments of record, including land owners royalty interests and
reserved overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

       This Assignment is further subject to that certain Declaration of Pooled Unit - William #lH, dated August 15,
2014, by Maricopa Resources LLC, and recorded in Volume 5650, Page 778 of the Official Public Records of Grayson
County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the "Assets":

        a.     The William # 1H (API # 181-31557) and associated well bore, with a surface location situated at latitude
33° 44' 41" - north, longitude 96° 41' 01" - west, in the east half of the Section 26, BLK 1, 11, 15, 16, JM Dodgin
Survey, Abstract 378, Grayson County, TX, (from the surface of the earth down to the base of the Viola Limestone


WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 1
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defined as the stratigraphic equivalent of 11,835' as found in the Brown Gas Unit No. l well located in the P. R. Wertz
Survey, Abstract 1387, Grayson County, TX), collectively referred to in this Assignment as the ("Well").

        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive  any  interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

        2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a depth not greater than the base of the Viola Limestone defined as the stratigraphic equivalent of 11,835' as
found in the Brown Gas Unit No. 1 well located in the P.R. Wertz Survey, Abstract 1387, Grayson County, TX and plug
and abandon the Well. Assignees shall not have the right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flow lines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.


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        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all
claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

         11.     Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.


                                                                2016.



ASSIGNOR:
MARICOPA RESOURCES, LLC




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                           3 WELL 2014, L.P.


By: _ _____.'------+---------
Payson Petroleum Grayson, LLC, Ge
Matthew C. Griffin, President



ASSIGNEE:
PAYSON PETRO         UM 3 WELL, L.P.


By: _ _~,___ _-==-=,=:_-..c
Payson Petr eum Grayson, LL
Matthew C. Griffin, President



STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                       _~Jh-~M/4~ __rtl
                                                                           ___:za ___,2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.

                                            ~t~~~.i;.,,-.;.            JANICE SEYDEL
                                           fR:·*'·~s
                                           =..    .•:: NOTARY PUBLIC.STATE OF TEXAS
                                           \~·., l/l COMM. EXP. 04-19-2020
                                            ~,,i:1.~j~\,.:-          NOTARY ID 128960971



STATE OF TEXAS                     §
                                   §
COUNTY OF DENTON                   §

This instrument was acknowledged before me on                         ~/i/1..t&-:
                                                                  2?:,~ , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.


                                             A~7'.~t;.,,-.;.            JANICE SEYDEL
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STATE OF TEXAS                     §
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This instrument was acknowledged before me on                        'lh~
                                                                7,,5rJ       , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Paitner of Pavson Petroleum 3 Well, L.P.
                                           ~,,,u~~i,,,,               JANICE SEYDEL
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   I. The William #lH (API #181-31557) and associated wellbore, with a surface location situated at latitude 33° 44'
      41" - north, longitude 96° 41' 01" - west, in the east half of the Section 26, BLK 1, 11, 15, 16, JM Dodgin
      Survey, Abstract 378, Grayson County, TX, (from the surface of the earth down to the base of the Viola
      Limestone defined as the stratigraphic equivalent of 11,835' as found in the Brown Gas Unit No. 1 well located in
      the P.R. Wertz Survey, Abstract 1387, Grayson County, TX).

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the William # I H Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
County  Lessor                                                       Lessee                             Volume       Page       Date
Grayson Linda Buechner Byrne, as her separate                        TLPC Holdings, Ltd.                5411         536        11/18/2013
        property
Grayson Steven Buechner                                              TLPC Holdings, Ltd.                5411          532       11/18/2013
Grayson C. Suzanne Buechner, Individually and as                     TLPC Holdings, Ltd.                5411          540       11/18/2013
        Executor of the Estate of Barry L. Buechner,
        Deceased
Grayson Kennedy & Minshew, PC                                        TLPC Holdings, Ltd.                5049          747       11/10/2011
Grayson Kenneth Dolezalek                                            TLPC Holdings, Ltd.                5061          139       9/30/2011
Grayson Louie A. Hattensty, Jr.                                      TLPC Holdings, Ltd.                5057          937       11/10/2011
Grayson Bessie M. Dolezalek                                          TLPC Holdings, Ltd.                5031          870       9/30/2011
Grayson Barbara B. Vogelsang                                         TLPC Holdings, Ltd.                5031          846       9/30/2011
Grayson Burgess E. Buchanan, Jr.                                     TLPC Holdings, Ltd.                5031          854       9/30/2011
Grayson John Yates Buchanan                                          TLPC Holdings, Ltd.                5031          862       9/30/2011
Grayson Susan R. Greene                                              TLPC Holdings, Ltd.                5031          398       8/18/2011
Grayson Hugh Ringgold                                                TLPC Holdings, Ltd.                5031          390       8/18/2011
Grayson Kathryn Michelle Looney                                      TLPC Holdings, Ltd.                5034          673       9/30/2011
Grayson Anita Anderson, Power of Attorney for Gary                   TLPC Holdings, Ltd.                5034          665       9/30/2011
        Michael Looney
Grayson    Charles Evans                                             TLPC Holdings, Ltd.                5036          856       9/30/2011
Grayson    John F. Evans                                             TLPC Holdings, Ltd.                5031          406       9/30/2011
Grayson    Robert Yates Evans Jr.                                    TLPC Holdings, Ltd.                5031          414       9/30/2011
Grayson    SH Productions, Inc.                                      Maricopa Resources, LLC            5464          919       2/24/2014
Grayson    Kathy Reed                                                Maricopa Resources, LLC            5464          927       2/24/2014
Grayson    Kirk E Reed                                               Maricopa Resources, LLC            5464          931       2/24/2014
Grayson    Southstar Energy Corp                                     Maricopa Resources, LLC            5464          915       2/24/2014
Grayson    Washita Mineral Co                                        Maricopa Resources, LLC            5464          923       2/24/2014
Grayson    Endeavor Energy Resources, L.P.                           OKT Resources, LLC                 4981          402       2/1/2011


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Grayson   Thomas W. Lett, Individually and as Trustee of OKT Resources, LLC                            4418         520        2/1/2008
          the Sam Lett Testamentary Trust
Grayson   Castello Enterprises, Inc.                                OKT Resources, LLC                 4980         156        2/1/2011
Grayson   Wilbur Lee Dean III                                       Matthew A very                     4296         513        4/18/2007
Grayson   Joseph G Jen Dean                                         Matthew A very                     4296         506        4/18/2007
Grayson   Paula Marie Dean Halbach, aka Paula Marie                 Matthew A very                     4980         140        4/18/2007
          Dean
Grayson   Landon Boyd Odle                                          Matthew A very                     4760         92         1/31/2007
Grayson   Douglas Kent Odle                                         Matthew A very                     4760         88         3/6/2007
Grayson   Gary Wayne Odle, dealing m his sole and                   Matthew A very                     4296         493        5/10/2007
          separate property
Grayson   LaJuan Odle                                               Matthew A very                     4760         92         1/30/2007
Grayson   Pottsboro Church of Christ                                Matthew A very                     4983         321        4/10/2011
Grayson   Vurlas Lane Wilson, a/k/a Verlas Lane Wilson              Matthew A very                     4296         469        4/27/2007
          and Marjorie Marie Wilson H/W
Grayson   John Robert Hooper                                        Paradise Springs, LLC              4993         305        2/12/2011
Grayson   Berdine Eberhart and Tom Eberhart W/H                     Matthew A very                     4296         441        4/27/2007
Grayson   Terry Lee Garofalo, a married woman dealing               Matthew A very                     4980          144       1/2/2011
          in her sole and separate property
Grayson   Ann W. Tracy, Trustee under the Ann W.                    Matthew A very                     4296         457        6/27/2007
          Tracy Revocable Trust dated January 8, 1991
Grayson   Ilva Wilson, Ind and as Trustee of the James M            Matthew A very                     4297         46         6/27/2007
          Wilson Jr and Ilva Wilson Family Trust
Grayson   Bobby C Wilson                                            Matthew A very                     4296         461        6/27/2007
Grayson   Peggy Ann Gehrig                                          Matthew A very                     4296         449        6/27/2007
Grayson   Thomas J. Wilson                                          Matthew A very                     4296         466        6/27/2007
Grayson   Lee Marjorie Hooper                                       Matthew A very                     4296         454        4/27/2007
Grayson   Berdine Eberhart and Tom Eberhart W/H                     Matthew A very                     4296         441        4/27/2007
Grayson   Terry Lee Garofalo and Marty J. Garofalo,                 Matthew A very                     4296         445        4/27/2007
          wife and husband
Grayson   Anadarko E&P Onshore, LLC                                 Paradise Springs, LLC              5355         704        8/28/2013
Grayson   Wei-Mar Investments                                       Paradise Springs, LLC              5274         698        3/15/2013
Grayson   PCB Trust, Philip C. Brown, Trustee, and                  Paradise Springs, LLC              5274          701       3/15/2013
          Philip Charles Brown
Grayson   Norman D. O'Neal                                          Paradise Springs, LLC              5367         400        9/10/2013
Grayson   Norman D. O'Neal                                          Paradise Springs, LLC              5002          826       8/21/2011
Grayson   Wei-Mar Investments                                       Paradise Springs, LLC              5002          830       8/21/2011
Grayson   Philip C Brown, a/ka Philip Charles Brown;                Paradise Springs, LLC              5002          834;      8/21/2011
          PCB Trust                                                                                                  838
END OF EXHIBIT "A"




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 Recorded On: March 28, 2016                                                                Recordings

            Parties: MARICOPA RESOURCES LLC                                                                                                        Billable Pages: 5
                      To                 PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                    Number of Pages: 7


     Comment: ASSIGN
                                                                                 ( Parties listed above are for Clerks reference only)

                                                                             ** Examined and Charged as Follows: **
Recordings                                                        32.00
                 Total Recording:                                 32.00




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                                                    Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                                                because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                                 Record and Return To:
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        Receipt Number: 447187                                                                                          PAYSON PETROLEUM
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS INSTRUMENT BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                    an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Wellbore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective April
9, 2014 (the "Effective Date"), is subject to all instruments ofrecord, including land owners royalty interests and reserved
overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

        This Assignment is further subject to that certain Assignment of Oil and Gas Leases, dated November 23, 2010,
entered into between Atoka Operating, Inc. and Barber Exploration Company, and recorded in Volume 4888, Page 924, of
the Official Public Records of Grayson County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the ("Assets"):

        a.       The Crowe #2 (API #181-31543) and associated wellbore, with a surface location situated at latitude 33°
49' 10" - north, longitude 96° 41' 55" - west, in Section 11, BLK 1, 11, 15, 16, the South 79 acres of the Wood &
Buckles Survey, Abstract 1373, Grayson County, TX, (from the surface of the earth down to the measured depth of
11,164'), collectively referred to in this Assignment as the ("Well").

WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page I
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        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive any interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

         2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a measured depth not greater than 11,164', and plug and abandon the Well. Assignees shall not have the
right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flow lines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.

        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all


WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 2
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claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

        11.      Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.
                         -?"2...'r,d            i A.,., .~ I
EXECUTED on this       ~~~/-           day of   r,, l(..il.rf1'.\,   2016.


ASSIGNOR:
MARICOPA RESOURCES, LLC




ASSIGNEE:
PAYSON PETROLEUM 3 WELL 2014, L.P.


By:_-<--~----.:+
Payson Petrol um Grayson, LL
Matthew C. Griffin, President

WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE- Page 3
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ASSIGNEE:
PAYSON PETROLEUM 3 WELL, L.P.
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By:. _ _-,IL...L....,,~__.:._.J----=-==--"
Payson Petrol m Grayson, LLC,
Matthew C. Griffin, President



STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on                             ~ Z3 rd.. , 2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.

                                              ~~~~·~i;,,~                JANICE SEYDEL
                                             !il::X::-~\ NOTARY PUBLIC-STATE OF TEXAS
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STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on                   z:8rj_   ~~  , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.


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STATE OF TEXAS                          §
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COUNTY OF DENTON                        §

This instrument was acknowledged before me on    ~~z.3rj_ , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well, L.P.



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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   1.   The Crowe #2 (API #181-31543) and associated wellbore, with a surface location situated at latitude 33° 49' 10"
        - north, longitude 96° 41' 55" - west, in Section 11, BLK 1, 11, 15, 16, the South 79 acres of the Wood &
        Buckles Survey, Abstract 1373, Grayson County, TX, (from the surface of the earth down to the measured depth
        of 11,164'), collectively referred to in this Assignment as the ("Well").

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the Crowe #2 Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
                                                                                                                                Effective
County     Lessor                                   Lessee                    Instrument Filed               Volume/Page        Date
Grayson    Marilyn Teresa Morrow                    RWJ Exploration,          Oil, Gas, and Mineral          4724/434           6/12/2009
                                                    LLC                       Lease
Grayson    Samuel Louis Crow                        Atoka Operatinc,          Oil, Gas, and Mineral          4536/579           1/7/2008
                                                    Inc.                      Lease
Grayson    Linda Darnell Lott, acting as            Atoka Operating,          Oil, Gas, and Mineral          4536/566           4/3/2008
           Agent and Attorney-in-Fact for           Inc.                      Lease
           Frank L. Darnell, Sr., a widower
Grayson    Linda Darnell Lott, as                   Atoka Operating,          Oil, Gas, and Mineral          4536/583           4/1/2008
           Independent Executrix of The             Inc.                      Lease
           Estate Dorothy L. Darnell,
           Deceased
Grayson    Allen M. Tonkin, Jr. Revocable           Texas Land &              Memorandum of Oil              4956/294           5/1/2011
           Trust, Allen M. Tonkin Jr.,              Petroleum                 and Gas Lease
           Trustee                                  Company, LLC
Grayson    Nancy P. Tonkin Revocable                Texas Land &              Memorandum of Oil              4956/287           5/1/2011
           Trust, Nancy T. Cutter and Allen         Petroleum                 and Gas Lease
           M. Tonkin, Jr, Trustees                  Company, LLC
Grayson    Nancy T. Cutter Revocable                Texas Land &              Memorandum of Oil              4956/291           5/1/2011
           Trust, Nancy T. Cutter Trustee           Petroleum                 and Gas Lease
                                                    Company, LLC
Grayson    Linley T. Solari Revocable               Texas Land &              Memorandum of Oil              4956/284           5/1/2011
           Trust, Linley T. Solari, Trustee         Petroleum                 and Gas Lease
                                                    Company, LLC
Grayson    Solari Luz, LLC                          Texas Land &              Ratification of Oil and        5043/663           5/1/2011
                                                    Petroleum                 Gas Lease
                                                    Company, LLC
END OF EXHIBIT "A"




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                                                                                  Wilma Bush
                                                                              Grayson County Clerk
                                                                              Sherman, Texas 75090
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        Parties: MARICOPA RESOURCES LLC                                                                                            Billable Pages: 5
              To      PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                       Number of Pages: 7


     Comment: ASSIGN
                                                                 ( Parties listed above are for Clerks reference only )

                                                             ** Examined and Charged as Follows: **
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             Total Recording:                     32.00




                     ************ DO NOT REMOVE. THIS PAGE IS PART OF THE INSTRUMENT************
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File Information:                                                                                 Record and Return To:
       Document Number: 2016-00006065
        Receipt Number: 447187                                                                          PAYSON PETROLEUM
     Recorded Date/Time: March 28, 2016 12:09:45P                                                       2652 FM 407 E #250
            Book-Vol/Pg: BK-OR VL-5779 PG-397                                                           BARTONVILLE TX 76226
           User/ Station: G WHITE - Cashiering Station 1


                                THE STATE OF TEXAS
                                COUNTY OF GRAYSON
                                I hereby certify that this instrument was FILED in the File Number sequence on the date/time
                                printed hereon, and was duly RECORDED in the Official Public Records of Grayson County. Texas.




                                Wilma Blackshear Bush, Grayson County Clerk
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                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
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following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                    an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Well bore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective June
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overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

        This Assignment is further subject to that ce11ain Declaration of Pooled Unit - Elaine #1, dated to be effective
June 1, 2014, by Maricopa Resources LLC, and recorded in Volume 5530, Page 781, of the Official Public Records of
Grayson County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the ("Assets"):

         a.       The Elaine #1 (API #181-31547) and associated wellbore, with a surface location situated at latitude 33°
44' 55" - north, longitude 96° 41' 02" - west, in Section 26, BLK 1, 11, 15, 16, the East half of the J.C. Wade Survey,
Abstract 1382, Grayson County, TX, (from the surface of the earth down to the measured depth of 12,309'), collectively
referred to in this Assignment as the ("Well").

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        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
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and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
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party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive any interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

         2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a measured depth not greater than 12,309', and plug and abandon the Well. Assignees shall not have the
right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flowlines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.

        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all


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claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

         11.     Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.

EXECUTED on this        z3rJ day of Marc.L                     2016.


ASSIGNOR:
MARICOPA RESOURCES, LLC




ASSIGNEE:
PAYSON PETROLEUM 3 WELL 2014, L.P.


By: _ _ _ _ _ _ _             -#-_


Payson P roleum Grayson, LC, General Partner
Matthew C. Griffin, President

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ASSIGNEE:
PAYSON PETROLEUM 3 WELL, L.P.


By:_ _-F-+---=--=--L---.::~~v
Payson Petrol m Grayson, L
Matthew C. Griffin, President




STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                  ___~---~V?
                                                             _'o/YJ    __n_it__, 2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.




STA TE OF TEXAS                   §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                      7rJ/tlU:t-
                                                                -Z,,3 ,,d , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.




STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                      ~ -z.:3rtt- ,
                                                                               2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well, L.P .



                                               .:t~~~'.£Z.'"', . JANICE SEYDEL
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   I. The Elaine #1 (API #181-31547) and associated wellbore, with a surface location situated at latitude 33° 44' 55"
        - north, longitude 96° 41' 02" - west, in Section 26, BLK 1, 11, 15, 16, the East half of the J.C. Wade Survey,
        Abstract 1382, Grayson County, TX, (from the surface of the earth down to the measured depth of 12,309'),
        collectively referred to in this Assignment as the ("Well").

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the Elaine # 1 Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
County    Lessor                                                       Lessee                            Volume       Pa2e      Date
Grayson   Linda Buechner Byrne, as her separate                        TLPC Holdings, Ltd.               5411         536       11/18/2013
          property
Grayson       Steven Buechner                                          TLPC Holdings, Ltd.               5411         532       11/18/2013
Grayson       C. Suzanne Buechner, Individually and as                 TLPC Holdings, Ltd.               5411         540       11/18/2013
              Executor of the Estate of Barry L. Buechner,
              Deceased
Grayson       Kennedy & Minshew, PC                                    TLPC Holdings, Ltd.               5049         747       11/10/2011
Grayson       Kenneth Dolezalek                                        TLPC Holdings, Ltd.               5061         139       9/30/2011
Grayson       Louie A. Hattensy, Jr.                                   TLPC Holdings, Ltd.               5057         937       11/10/2011
Grayson       Bessie M. Dolezalek                                      TLPC Holdings, Ltd.               5031         870       9/30/2011
Grayson       Barbara B. Vogelsang                                     TLPC Holdings, Ltd.               5031         846       9/30/2011
Grayson       Burgess E. Buchanan, Jr.                                 TLPC Holdings, Ltd.               5031         854       9/30/2011
Grayson       John Yates Buchanan                                      TLPC Holdings, Ltd.               5031         862.      9/30/2011
Grayson       Susan R. Greene                                          TLPC Holdings, Ltd.               5031         398       8/18/2011
Grayson       Hugh Ringgold                                            TLPC Holdings, Ltd.               5031         390       8/18/2011
Grayson       Kathryn Michelle Looney                                  TLPC Holdings, Ltd.               5034         673       9/30/2011
Grayson       Anita Anderson, Power of Attorney for Gary               TLPC Holdings, Ltd.               5034         665       9/30/2011
              Michael Looney
Grayson       Charles Evans                                            TLPC Holdings, Ltd.               5036         856       9/30/2011
Grayson       John F. Evans                                            TLPC Holdings, Ltd.               5031         406       9/30/2011
Grayson       Robert Yates Evans Jr.                                   TLPC Holdings, Ltd.               5031         414       9/30/2011
Grayson       SH Productions, Inc.                                     Maricopa Resources, LLC           5464         919       2/24/2014
Grayson       Kathy Reed                                               Maricopa Resources, LLC            5464        927       2/24/2014
Grayson       Kirk E Reed                                              Maricopa Resources, LLC           5464         931       2/24/2014
Grayson       Southstar Energy Corp                                    Maricopa Resources, LLC           5464         915       2/24/2014
Grayson       Washita Mineral Co                                       Maricopa Resources, LLC            5464        923       2/24/2014
Grayson       Carin Isabel Knoop                                       Maricopa Resources, LLC            5464        910       4/7/2014
Grayson       Preston 150 Joint Venture                                Maricopa Resources, LLC            5521        166       3/24/2014
END OF EXHIBIT "A"
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EXHIBIT 5 TO SETTLEMENT AGREEMENT

                       CONTRACT OPERATING
                       SERVICES AGREEMENT
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                    CONTRACT OPERATING SERVICES AGREEMENT                                                                     3)     in full compliance with all applicable local, municipal, county, state and
                                                                                                               federal laws and regulations.
        This Contract Operating Services Agreement (this ""Agreement') made and entered into
this _ _ day of July, 2016 by and between Traton Operating Company. (hereinafter                               Contractor shall perform all work and labor appropriate or necessary for setting, installing,
"Contractor"), and Payson Operating, LLC, (hereinafter "Owner"). Owner and Contractor are                      handling, caring for, and maintaining all materials, equipment, and supplies furnished by Owner
referred to collectively as the "Parties" and individually as a "Party".                                       in connection with the Services.

                                        WITNESSETH:                                                                   1.2    Subject to the terms of this Agreement, Contractor shall manage, develop and
                                                                                                               supervise the Contract Area Pursuant to such obligations and as required by Owner and as
       \VHEREAS, Owner owns undivided working interests in the oil and gas leases (the                         applicable, Contractor shall:
"Leases") located in the counties and states as described in or covered by the Subject JOAs, as
defined below, and as same may be amended from time to time (the land described in such                                           (a)     Supervise contract or Contractor's pumpers, whose services will
Leases is referred to herein as the "Contract Area");                                                                      include but will not be limited to gauging tanks, recording well pressure, preparing
                                                                                                                           gauge reports, treating oil, making minor repairs, and reporting unusual or abnormal
       WHEREAS, Owner desires to retain the services of Contractor to act as a contract                                    occurrences.
operator for the Leases; and
                                                                                                                                  (b)    Review well performance and prepare for Owner monthly reports that
     WHEREAS, Contractor has the capability to and desires to render such services on behalf                               summarize production in Contractor's standard form on a per well basis for each of
ofOvmer.                                                                                                                   the Subject JOAs. Contractor shall also note and evaluate any abnormal changes in
                                                                                                                           production.
       WHEREAS, Contractor will perfonn the services as required by the Owner (of which
                                                                                                                                  (c)    Prepare and furnish to any duly constituted authority having
Payson Operating, LLC is the operator ofrecord at the Texas RRC) under certain joint operating
                                                                                                                          jurisdiction over the Leases any and all reports, statements and information that may
agreements covering the Leases in the Contract Area more particularly described on Ethibit A,
                                                                                                                          be required.
as same may be amended from time to time (the ""Subject JOAs");
                                                                                                                                   ( d)   Use its best efforts to establish and maintain complete and accurate
                                                                                                                           well files containing information on operations performed in connection with each
       NOW, THEREFORE, based upon the mutual covenants and considerations contained                                        well.
herein, the sufficiency of which is hereby acknowledged, Contractor and Owner agree as
follows:                                                                                                                          (e)     Review and approve all invoices and charges for all expenses
                                                                                                                           incurred and credits received.
                                  ARTICLE]
             DESIGNATION AI\'D RESPONSJBILJTIBS OF CONTRACTOR                                                                     (f)     Keep accurate books of account showing all items of cost or expense
                                                                                                                           incurred in connection with the Leases, and Contract Area with respect to each of the
        I. I   Subject to the terms of tms Agreement, Contractor shall conduct and direct all                              Subject JOAs, and make and pay all charges in accordance with the provisions of
operations on the Leases as permitted and required by and within the limits of this Agreement                              this Agreement.
(the "Services"). Contractor shall perform all services with due diligence and dispatch in
accordance with the standards for the Operator under the Subject JOAs and generally accepted                                       (g)    Prepare and render billings to the Owner and non-operators with
oil field practice, conforming to al! applicable laws, rules, orders and regulations of any                                respect to each of the Subject JO As for approved expenses and charges for services
competent governmental body, which are now or may become applicable to the operations                                      as Contractor as agreed herein.
contemplated by this Agreement. Owner agrees to assist Contractor by providing Contractor
with authorizations necessary for the proper performance of its services. Contractor shall use all                    1.3    Upon Ovmer's request, Contractor shall perform the following services in
possible care and diligence to ensure that the Services rendered pursuant to this Agreement are                connection with general requests from partners or as otherwise instructed by the Trustee,
performed:                                                                                                     completing, working-over, or drilling any well in the Contract Area, or reworking, deepening, or
                                                                                                               plugging back a dry hole:
               I)     reasonably and prudently;
                                                                                                                                  (a)    Conduct field inspection and inventory equipment
              2)      in a skillful and workmanlike manner;


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        (b)    Locate and contract, on Owner's behalf. contract pumpers or gagues                                      (o)    Unless otherwise agreed by Contractor, all contracts with third parties
for the Contract Area                                                                                          (excluding contracts with drilling supervisor(s) for onsite supervision). shall be in
                                                                                                               the name of Owner under master service contracts in fonn approved by Owner and
        (c)    Supervise all routine well service operations and repair and                                    similar in fonn and substance to the Master Service Agreement that has previously
maintenance operations, including onsite supervision of the installation or removal                            been established by Owner. Contractor shall have no liability with respect to third-
of well equipment, pumping of any treating fluid or substance into a well, and other                           party contracts. Provided, however, Contractor shall initiate no remedial work,
onsite operations performed under contract by third party or \\~th leased equipment.                           repairs, replacement of equipment, etc. with an estimated total cost exceeding
                                                                                                               $25,000.00 without the prior written approval of Owner.
        (d)    Supervise all drilling and completion operations, workover
operations. recomplet:ion operations, and any type of remedial operation, whether or                      1.4     All personnel involved in the day-to-day lease operations shall be under the
not it would ordinarily be considered a normal well-service operation. This includes               supervision of the Contractor. The selection, hiring, dismissal and work schedule of such
contracting with supervisory personnel for onsite supervision as required and                      contractors and employees of Contractor shall be determined by Contractor.
maintaining overall supervision of such personnel through day-to-day contact
                                                                                                           1.5    Owner shall have access at all reasonable times to the Leases, to all infonnation
         (e)   Prepare operating and drilling procedures.                                          pertaining to wells drilled, production secured, and oil and gas marketed, and to the books,
                                                                                                   records, and vouchers relating to the operation of the Leases. Contractor shall, upon Owner's
      (f)     Prepare operating cost estimates and circulate Authorizations for
Expenditures for Owner's approval.                                                                 request, furnish Owner v.rith weekly gauge and run tickets. Notwithstanding anything to the
                                                                                                   contrary herein, all infonnation referenced in tills Section 1.6 shall be the property of Owner.
       (g)     Obtain all necessary drilling pennits and file all necessary and
                                                                                                            J.6    Owner will grant Contractor access to an account for revenues, operating costs,
appropriate reports required prior to, during or after completion of operations.
                                                                                                   fees and expenses for each Contract Area under each of the Subject JOAs (the "Operating
       (h)    Conduct overall supervision of drilling supervisor(s) through daily                  Account"). Prior to the fifteenth (15 th ) day of each month, Contractor will prepare and deliver to
monitoring of drilling, deepening, recompletion or other critical operations.                      Owner an operating statement for each of the Subject JOAs (the "Property Operating
                                                                                                   Statement'), which Property Operating Statement shall include (a) Contractor's estimate of
        (i)     Prepare AFEs and procedures and conduct overall supervision                        production volumes; (b) actual revenues received in the prior month; (c) all costs, expenses and
through daily monitoring of field personnel, of plugging and abandonment                           charges billed by third parties to Contractor in the prior month, including, without limitation, all
operations of any wells located in the Contract Area in compliance with all federal,               sums due under the Leases and other liquidated monetary obligations; and (d) expenditures and
state and local regulations and orders.                                                            fees recorded by Contractor in form satisfactory to Owner. Promptly after delivery of the
                                                                                                   Property Operating Statement, Contractor shall transfer sufficient funds from the revenue
        (i)     Provide emergency response assistance with respect to any accident,                account into the operating account necessary to cover operating costs, fees (including Contractor
spill, upset or similar occurrence requiring immediate action to protect the health,               fees) and expenses set forth on the Property Operating Statement Contractor shall have the right
safety and mechanical and environmental integrity of the Contract Area and                         to withdraw funds from the Operating Account to pay for the services hereunder. The parties
equipment located thereon.                                                                         hereto acknowledge and agree that from time to time the funds in the Operating Account may be
                                                                                                   insufficient to cover the operating expenses for such month, in which case Contractor shall
        (k)     Assist Owner in responding to requests from interested parties or the              immediately notify Owner of the projected shortfall and any interim payments into the account to
Trustee including but not limited to any efforts to market its interest in the Contract            cover such shortfall will be evaluated by Owner and paid on a case-by-case basis. In no event
Area, including making its records available and making knowledgeable personnel                    shall Contractor be required to advance funds on behalf of Owner to conduct the operations or
available to accompany potential buyers and respond to questions as they inspect and               proceed with any operations, unless there are available funds in the account to cover the cost of
tour the properties.                                                                               such operations or Owner has contracted directly for such services.

         (I)   Maintain land and lease documents.                                                          1. 7   At all reasonable times and upon thirty (30) days prior written notice, Contractor
                                                                                                   shall pennit employees and agents of Owner to have access to its offices and work locations to
         (m)   Market Production.                                                                  examine. reproduce and retain copies of such documentation and data and to interview
                                                                                                   Contractor's personnel in connection therev.rith, as necessary for Owner to verify and monitor (i)
         (n)   Perform any work falling under Contractor's expertise as directed by                the accuracy and propriety of Service fees and reimbursable expenses pursuant to this
Owner.                                                                                             Agreement, and (ii) Contractor's compliance with the tenns of this Agreement. Where Services
                                                                                                   hereunder, are billed under fixed rates, Owner's auditors shall have sufficient access to those


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rates to satisfy themselves that the Services have not also been separately billed on some other                                                    ARTICLEV
basis (e.g., a reimbursable basis). The provisions of this Section J.7 shall be applicable during                                            INDEPENDENT CONTRACTOR
the tenn of this Agreement and for a period of one (I) year thereafter. Any costs associated with
Owner's audit requirements or procedures shall be solely for Owner's account. If errors or                           Contractor undertakes the performance of the provisions of this Agreement as an
deficiencies are identified by an audit or othenvise, both Parties shall take prompt corrective               independent contractor, and neither Contractor nor any of its employees, contractors or agents
action thereof.                                                                                               will be deemed to be an employee, servant, agent or partner of or joint venturer with Owner.
                                                                                                              Owner shall not, in any respect, be responsible for the hiring, employment or working conditions
                                  ARTICLE II                                                                  of the persons employed or retained by Contractor in connection with the perfonnance of
                          COMPENSATION OF CONTRACTOR                                                          Contractor's obligations under the tenns of this Agreement.

       2.1     During the tenn of this Agreement, Contractor shall be compensated:                                                                      ARTICLE VI
                                                                                                                                                        INSURANCE
                    (a)     For Services completed under Section 1.2, in accordance with the
             overhead rate structure set forth on Exhibit B hereto.                                                   Contractor shall maintain insurance of the type, in the amounts and with the limits set
                                                                                                              forth on Exhibit D hereto. Each party shall be named as an additional insured under each ofthe
                    (b)      For Services completed under Section 1.3, in accordance with the                 policies for the duration hereof.
             hourly rate structure set forth on Exhibit C hereto.
                                                                                                                                                      ARTICLE VD
       2.2    The above compensation shall not include any direct costs and third-party costs                                                       FORCE MAJEURE
that are proper charges to the Contractor Account that are incurred by the Contractor in
connection with services rendered hereunder. Owner shall reimburse Contractor for any third-
party charges incurred by Contractor in accordance with this Agreement within thirty (30)                              Contractor shall not be liable to Owner for any loss on the Leases caused by war, strikes,
business days of delivery of invoice.                                                                         tornadoes, floods, governmental priorities on materials or other governmental restrictions, or
                                                                                                              inability to obtain suitable equipment or labor resulting from any other causes not due to
                                    ARTICLE ill                                                               Contractor's failure to exercise reasonable diligence in the perfonnance of Contractor's
                             RESPONSIBILITIES OF OWNER                                                        obligations hereunder. If Contractor is delayed or prevented from performing for any such cause,
                                                                                                              it shall do all things reasonably possible to remove such cause and shall resume perfonnance
       3.1    Owner shall be the operator of record with respect to the Leases under each of the              hereunder as soon as such cause is removed.
Subject JOAs.
                                                                                                                                                  ARTICLE Vlll
        3.2    Owner shall be duly authorized under all laws, rules, orders and regulations of                                           BINDING EFFECT OF AGREEMENT
any competent governmental body, which are now or may become applicable to the operations
contemplated by this Agreement and shall obtain and maintain all necessary pennits, bonds and                         This Agreement shall be binding upon and inure to the benefit of the parties, their
sureties as may be required thereunder.                                                                       respective successors and pennitted assigns. The right of either party to assign this Agreement is
                                                                                                              subject to the prior written consent of the non-assigning party, which consent shall not be
                                  ARTICLE IV                                                                  unreasonably withheld or delayed. Notwithstanding the immediately preceding sentence, each
                         HEALTH AND SAFETY OBLIGATIONS                                                        party may assign and transfer this Agreement to an affiliate or pursuant to a reorganization or
                                                                                                              change in control of such party or the person that controls such party without such consent. Any
      BY EXECUTING TI-US AGRER-1ENT, CONTRACTOR REPRESENTS AND                                                assignment in contravention of this Anicle VIII shall be void.
WARRANTS THAT IT IS QUALIFIED TO DO BUSINESS IN" EACH OF THE
JURISDICTIONS WI1HIN THE CONTRACT AREA.      CONTRACTOR FURTHER                                                                              ARTICLE IX
REPRESENTS AND WARRANTS THAT ITS EMPLOYEES ARE QUALIFIED AND                                                                  AMENDMENT, TERMINATION AND TURNOVER DATE
COMPETENT AND THAT CONTRACTOR IS, AND WILL BE THROUGHOUT THE
DURATION OF THIS AGREEMENT, TRAINED AND COMPLIANT TO THE                                                             9.1     Either party hereto has the right to tenninate this Agreement without cause by
STANDARDS OF A REASONABLY PRUDENT OPERATOR IN ALL MATTERS                                                     providing the other party with sixty (60) days prior written notice. In the event of a material
RELATED TO HEAL TH, SAFETY AND WORK ENVIRONMENT                                                               breach of this Agreement by either party, including the failure of a party to perfonn any
                                                                                                              operation or action proposed hereunder that, the other party may tenninate this Agreement by
                                                                                                              providing the breaching party with thirty (30) days notice. In the event of termination by Owner,
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Owner shall pay Contractor in full all amounts due Contractor through the termination date.                                                                       ARTICLE XI
Upon termination of this Agreement or partial termination as to any Contract Area, Contractor                                                         CONFIDENTIAL INFORMATION
will cooperate with Owner for an orderly transition of operations and will turn over all books and                                                   AND OWNERHIP OF DOCUMENTS
records regarding the Contract Area upon request. Owner shall compensate Contractor for post-
termination services requested by Owner and provided in connection with the transition at                                 11.1 Arly and all information, in whatever form or fonnat, described or defined by
Contractor's standard hourly rate as set forth on Exhibit C.                                                      each party as confidential and made available to the other party for the performance of the
                                                                                                                  Agreement shall be and remain the exclusive property of the disclosing party and shall be treated
         9.2      Upon termination of this Agreement, the Parties shall not be relieved of any                    as confidential.
liabilities arising from or incident to Services rendered. The Parties shall not be liable to either
Party for any cost or loss in connection with such termination, including but not limited to loss of                      11.2 With respect to such confidential information both parties agree not to disclose or
anticipatory profits. Upon termination of this Agreement, Contractor shall immediately remove                     divulge such information to any third party except as may be necessary for the perfonnance of
all of its and its subcontractors' equipment and materials from Owner's premises that are not                     this Agreement. Both parties shall take reasonable measures to protect and preserve the
necessary for the completion of or the provision of any Service then underway and,                                confidential nature of such information and shall be responsible for any breach hereof committed
notwithstanding anything herein to the contrary, sixty (60) days after the receipt of Contractor of               by its employees, it being understood that the confidentiality obligations of both parties are of a
notice of the termination of this Agreement by Owner, Owner shall bear no responsibility for the                  continuing nature and shall continue for one (I) year after the termination date of this agreement
equipment or materials of Contractor that remain on Owner's premises but which are not
necessary for the completion or the provision of any Service then underway.                                                  l 1.3     The foregoing restrictions shall not apply to any such confidential information
                                                                                                                  that is:
        9.3    If either party (a) generally fails to pay, or admits in writing its inability to pay, its
debts as they become due, (b) commences any insolvency proceeding with respect to itself, (c)                                               (a)     Already known by the receiving party at the time of disclosure;
take any action to effectuate or authorize either (a) or (b), (d) becomes the subject of any
involuntary insolvency proceeding, or has any writ, judgment, warrant of attachment, execution                                               (b)    Publicly known or becomes publicly known through no fault of the
or similar process issued or levied against all or a substantial part of its properties, and any such                                receiving party;
proceeding or petition is not dismissed, or such writ judgment, warrant of attachment, execution
or similar process is not released, vacated or fully bonded within sixty (60) days after                                                     (c)    Received from a third party that is free to disclose the information to
commencement, filing or levy (e), admits the material allegation of a petition against it in any                                     the receiving party;
insolvency proceeding, or an order for relief is issued against it in any insolvency proceeding, or
                                                                                                                                             ( d)    Communicated to a third party with the express prior written consent
(f) consents to the appointment of a receiver, trustee, custodian, conservator. liquidator,
                                                                                                                                     of the disclosing party; or
mortgagee in possession (or agent therefore). for itself or a substantial portion of its property or
business, then the other party may, by giving written notice to such party. terminate this
                                                                                                                                             (e)     Lawfully required to be disclosed to a governmental agency or is
Agreement as of the date specified in such notice. A termination under this Section shall be
                                                                                                                                     otherwise required to be disclosed by law, provided that before making such
deemed a termination for cause,
                                                                                                                                     disclosure the receiving Party shall give the disclosing Party reasonable opportunity
                                                                                                                                     to object or insure confidential treatment ofthe information.
                                            ARTICLEX
                                              NOTICES
                                                                                                                          11.4 Both parties acknowledge that the breach of this confidentiality obligation may
        Until changed by appropriate notice in writing, all notices, reports, and other                           cause the other party serious economic hann and that the remedies available to the injured party
correspondence required by or made necessary by the terms of this Agreement shall be deemed                       by law may be inadequate. Therefore, upon any breach hereof by either party, the non-breaching
to have been duly given or served on the date on which personally delivered, or sent by                           party shall be entitled to seek immediate injunctive relief and/or specific performance, in
electronic transmission via email or facsimile transmission. with receipt acknowledged, or three                  addition to any other appropriate forms of equitable or legal relief. including but not limited to.
(3) Business Days after the same shall have been sent via certified United States Mail. For                       monetary damages and reasonable attorney's fees.
purposes of this Agreement, the term "Business Days" means a day other than a Saturday,
Sunday or legal holiday for commercial banks under the laws of the State of Texas or the laws of                          11.5 Both Owner and Contractor agree that all tracings, designs, drawings, field notes,
the United States of America                                                                                      requisitions, purchase orders, specifications, computer programs (data files and other software in
                                                                                                                  whatever form), and other documents or records developed by such party in connection with this
                                                                                                                  Agreement or otherwise shall be the sole property of such party.



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                            ARTICLE XII                                                              OWNER     RELEASES   CONTRACTOR      AND   CONTRACTOR'S  PARENT,
                    AMENDMENTS TO THE AGREEMENT                                                      SUBSIDIARIES, OFFICERS, DIRECTORS, AND EMPLOYEES ("CONTRACTOR
                        AND GOVERNING LAWS                                                           PARTIES") OF AND FROM ANY LIABILITY AS TO ALL CLAL'1S, PENALTIES,
                                                                                                     DEMANDS, AND CAUSES OF ACTION OF EVERY KIND AND CHARACTER
       11-IIS AGREEI\.1ENT SHALL NOT BE VARIED EXCEPT WITII THE WRITTEN
                                                                                                     WITHOUT LIMIT AND WI1HOUT REGARD TO THE CAUSE OR CAUSES
CONSENT OF lliE PARTIES. IN TI-IE EVENT ONE OR MORE OF TiiE PROVISIONS IS
                                                                                                     THEREOF OR 1HE NEGLIGENCE (EXCLUDING GROSS NEGLIGENCE AND
HELD INVALID BY ANY COURT OF C011PETENT JURISDICTION, TTlE SA11E SHALL                               WILLFUL MISCONDUCT) OF M'Y OF THE CONTRACTOR PARTIES, ON
IN" NO MANNER AFFECT 11--lE VALIDITY OF ANY OF TiiE OTIIER PROVISIONS. IBIS
                                                                                                     ACCOUNT OF BODILY INJURY, DEATH AND/OR DAMAGE TO OR LOSS OF
AGREEMENT SHALL BE CONSTRUED IN ACCORDANCE WITH THE LAWS OF TI-IE
                                                                                                     PROPERTY OF ANY KIND. OWNER'S OBLIGATIONS UNDER THIS SECTION
STATE OF TEXAS.
                                                                                                     SHALL BE COVERED BY AVAILABLE LIABILITY INSURANCE, UNDER WHICH
                              ARTICLEXIB                                                             THE INSURER HAS NO RIGHT OF SUBROGATION AGAINST OWNER OR
                                                                                                     CONTRACTOR IT IS AGREED THAT SAID INSURANCE REQUffiEMENTS SHALL
                            INDEMNIFICATION
                                                                                                     AUTOMATICALLY BE AMENDED TO CONFORM TO THE MAXIMUM
      13.1 CONTRACTOR SHALL GENERALLY HAVE THE PROTECTIONS,                                          MONETARY LIMITS PER.l\fiTTED UNDER APPLICABLE LAW.
BENEF1TS, AND INDEMNIF1CATIONS OF OWNER UNDER THE TERMS OF THE                                             13.4   1HIRD PARTY CLAIMS:
A.A.P.L FORM 610 - 1989 MODEL FORl\1 OPERATING AGREEMEI\'T ("' JOA") JUST
AS IF CONTRACTOR WERE THE DESIGNATED OPERATOR lTh!'DER THE JOA,                                      For losses, claims, demands, liabilities, or causes of action brought by or on behalf of
AND TO THE FULLEST EXTENT POSSIBLE, OWNER HEREBY ASSIGNS AND                                         anyone other than those claimants listed in Sections 13.2 and 13.3 above, the Parties'
TRANSFERS ALL OF SUCH PROTECTIONS, BENEFITS AND INDEMNIFICATIONS                                     respective indemnity obligations shall be as set forth in this Section 13.4.
TO CONTRACTOR DURING THE TERM OF THIS AGREEMENT; PROVIDED,
HOWEVER, TilAT SUCH ASSIGNMENT SHALL NOT ENTITLE CONTRACTOR (A)                                                 (1) Contractor's Negligence: CONTRACTOR AGREES TO PROTECT,
TO CLAIM OR ASSERT ANY LIENS OR SECURITY INTERESTS THAT WOULD BE                                           DEFEND (INCLUDING ALL COSTS, EXPENSES, AND REASONABLE
GRANTED TO THE OPERATOR UNDER THE JOA, OR (B) TO SETTLE ANY                                                ATTORNEYS' FEES), INDEMNIFY, RELEASE AND HOLD THE OWNER
CLAIMS OR LAWSUITS PERTAINING TO THE CONTRACT AREA.                                                        INDEMNIFIED PARTIES HARMLESS FROM AND AGAINST ANY AND ALL
                                                                                                           LOSSES, CLAIMS, DEMANDS, LIABILITIES, OR CAUSES OF ACTION OF
     13.2   CONTRACTOR'S RELEASE OF OWNER:                                                                 EVERY KIND AND CHARACTER, IN FAVOR OF ANY PERSON OR PARTY,
                                                                                                           FOR INJURY TO OR ILLNESS OR DEATH OF Al'I-Y PERSON, OTHER THAN
CONTRACTOR RELEASES OWNER AND OWNER'S PARENT, SUBSIDIARIES,                                                AS PROVIDED IN SECTIONS 13.2 AND 13.3 ABOVE, OR DAMAGE TO OR
OFF1CERS, DIRECTORS, AND EMPLOYEES (...OWNER PARTIES") OF AND FROM                                         LOSS OF PROPERTY OF ANY SUCH PERSON, AND WHICH SUCH INJURY,
ANY LIABILITY AS TO ALL CLAIMS, PENALTIES, DEMANDS, AND CAUSES OF                                          ILLNESS, DEATH OR PROPERTY DAMAGE ARISES OUT OF OR IS
ACTION OF EVERY KIND AND CHARACTER, WITHOUT LIMIT AND WITHOUT                                              INCIDENT TO ANY WORK OR SERVICE TO BE PERFORMED UI\'DER THIS
REGARD TO THE CAUSE OR CAUSES THEREOF OR THE NEGLIGENCE                                                    AGREEMENT TO THE EXTENT, AND IN THE PROPORTION THAT, SUCH
(EXCLUDING GROSS NEGLIGENCE AND WILLFUL .MISCONDUCT) OF ANY OF                                             INJURY, ILLNESS, DEATH OR PROPERTY DAMAGE IS CAUSED OTHER
THE OWNER PARTIES, ON ACCOUNT OF BODILY INJURY, DEATH AND/OR                                               THAN BY THE NEGLIGENCE OF OWNER, ITS EMPLOYEES, AGENTS OR
DAMAGE TO OR LOSS OF PROPERTY OF ANY KIND.          CONTRACTOR'S                                           OTHER CONTRACTORS THAT ARE DIRECTLY RESPONSIBLE TO OWNER
OBLIGATIONS UNDER THIS SECTION SHALL BE PRIMARY AND WITHOUT
REGARD TO AND WITHOUT ANY RIGHT TO CONTRIBUTION FROM ANY                                                        (2)  Owner's Negligence: OWNER AGREES TO PROTECT, DEFEND
INSURANCE MAINTAINED OR l\'IADE AVAILABLE TO OWNER CONTRACTOR                                              (INCLUDING ALL COSTS, EXPENSES, AND ATTORNEYS' FEES),
AND OWNER HEREBY AGREE THAT CONTRACTOR WILL BE COVERED BY                                                  INDEMNIFY, RELEASE AND HOLD THE CONTRACTOR INDEMNIFIED
AVAILABLE LIABILITY INSURANCE, UNDER WHICH THE INSURER HAS NO                                              PARTIES HARi\1LESS FROM AND AGAINST ANY A.t'ID ALL LOSSES,
RIGHT OF SUBROGATION AGAINST OWNER OR CONTRACTOR IT IS AGREED                                              CLAIMS, DEMANDS, LIABILITIES, OR CAUSES OF ACTION OF EVERY
THAT SAID INSURANCE REQUIREMENTS SHALL AUTOMATICALLY BE                                                    KIND AND CHARACTER, IN FAVOR OF ANY PERSON OR PARTY, FOR
AMENDED TO CONFORM TO THE MAXIMUM MONETARY LIMITS PER.MITTED                                               INJURY TO OR ILLNESS OR DEATH OF ANY PERSON, OTHER THAN AS
UNDER APPLICABLE LAW.                                                                                      PROVIDED IN SECTIONS 13.2 AND 13.3 ABOVE, OR DAMAGE TO OR LOSS
                                                                                                           OF PROPERTY OF ANY SUCH PERSON, AND WHICH SUCH INJURY,
     133    OWNER'S RELEASE OF CONTRACTOR:                                                                 ILLNESS, DEATH OR PROPERTY DA.t\1AGE ARISES OUT OF OR IS



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     INCIDENT TO ANY WORK OR SERVICE TO BE PERFORMED UNDER THIS
     AGREEMENT, TO THE EXTENT, AND ONLY TO THE EXTENT, AND ONLY
     IN THE PROPORTION THAT, SUCH INJURY, ILLNESS, DEATH OR                                              13.8 As a part of the consideration for this Agreement, Contractor hereby agrees that
     PROPERTY DAMAGE IS CAUSED BY THE NEGLIGENCE OF OWNER, ITS                                    the provisions of the foregoing Sections 13.2. through 13.7 inclusive shall extend to and be
     EMPLOYEES, AGENTS OR OTHER CONTRACTORS THAT ARE DIRECTLY                                     enforceable by and for the benefit of any non-operating concurrent working interest Owner, joint
     RESPONSIBLE TO OWNER                                                                         ventures or partners for whom Owner may be perfonning operations or services.
     13.5 IT IS THE INTENT OF THE PARTIES HERETO THAT ALL
OBLIGATIONS, LIABILITIES, AND RISKS ALLOCATED OR ASSUMED BY THE
                                                                                                  WSCELLANEOUS
PARTIES UNDER TERMS OF THIS CONTRACT, INCLUDING, WITHOUT
LIMITATION, SECTIONS 13.2 THROUGH ill, BE WITHOUT LIMIT AND
                                                                                                          14.1 This Agreement, drawn in counterpart, shall be binding upon the Parties and their
WITHOUT REGARD TO THE CAUSE OR CAUSES THEREOF, INCLUDING
                                                                                                  respective successors, and assigns. Notwithstanding the foregoing, this Agreement and the
PREEXISTING CONDITIONS, STRICT LIABILITY, VIOLATIONS OF ANY STATE,
                                                                                                  duties and obligations hereunder are not assignable by Contractor without the written consent of
OR FEDERAL LAW, BREACH OF CONTRACT, BREACH OF WARRANTY,                                           Owner.
TRESPASS, CONVERSION, NUISANCE, TORT, OR THE NEGLIGENCE OF ANY
PARTY OR PARTIES, WHETHER SUCH NEGLIGENCE BE SOLE, JOINT OR                                               14.2 In any dispute arising among the Parties to this Agreement, the prevailing party
CONCURRENT, ACTIVE OR PASSIVE. THE RELEASES AND ASSUMPTIONS OF                                    shall be entitled to collect all costs, including attorneys' fees.
LIABILITY AND ALLOCATIONS OF RISKS EXTENDED BY THE PARTIES
HERETO UNDER SECTIONS 13.2 THROUGH 13.4 SHALL INURE TO THE BENEFIT                                       14.3 The captions of any articles herein are intended for convenient references only
OF THE PARTIES, THEIR PARENT, HOLDING AND SUBSIDIARIES, AFFILIATES,                               and same shall not be, nor be deemed to be, interpretive of the contents of such sections.
AND THEIR RESPECTIVE OFFICERS, DIRECTORS, EMPLOYEES, AGENTS AND
SERVANTS. THE TERMS AND PROVISIONS OF SECTIONS 13.2 THROUGH 13.4                                           14.4 Harris Co1IDty, Texas shall be the exclusive venue and jurisdiction for any
SHALL HAVE NO APPLICATION TO CLAIMS OR CAUSES OF ACTION ASSERTED                                  litigation between the Parties.
AGAINST OWNER OR CONTRACTOR BY REASON OF ANY AGREEMENT OF
INDEMNITY WITH A PERSON OR ENTITY NOT A PARTY HERETO.                                                     14.5 If any provision or part of any provision of this Agreement shall be held invalid,
                                                                                                  the remainder shall be deemed valid and effective, and the Parties shall endeavor to replace the
     13.6 IT IS EXPRESSLY AGREED THAT OWNER SHALL NOT BE LIABLE                                   invalid tenns with tenns which correspond best to the original economic and general intention of
TO THE CONTRACTOR PARTIES FOR ANY SPECIAL, PUNITIVE, INDIRECT,                                    the Parties, it being the intention of the Parties hereto that each provision hereof is being
INCIDENTAL OR CONSEQUENTIAL DAMAGES RESULTING FROM OR ARISING                                     stipulated separately.
DIRECTLY OR INDIRECTLY, OUT OR OF IN CONNECTION WITH THE SERVICES
OR OPERATIONS HEREUNDER RELATED TO RESERVOIR DAMAGE, LOSS OF                                            14.6 EACH       PARTY    HERETO     KNOWINGLY,    VOLUNTARfL Y,
RESERVES, OR CRATERING OR BLOWOUT OF THE BOREHOLE, INCLUDING,                                     INTENTIONALLY, AND IRREVOCABLY (a) WAIVES, TO THE MAXIMUM EXTENT
WITHOUT LIMITATION, LOSS OF USE, LOSS OF DATA, LOSS OF ASSETS, LOSS                               NOT PROHIB1TED BY LAW, ANY RIGHT IT MAY HAVE TO A 1RIAL BY JURY IN
OF PROFTI, LOSS OF BUSINESS, OR BUSINESS INTERRUPTION UNLESS CAUSED                               RESPECT OF ANY LITIGATION BASED ON TI-llS AGREE11ENT, OR DIRECTI.. Y OR
BY THE SOLE NEGLIGENCE (ACTIVE OR PASSIVE) OF OWNER OR ANY OF THE                                 INDIRECTLY AT ANY TTh-1E ARISING OUT OF, UNDER OR IN CONNECTION WITH
OWNER PARTIES.                                                                                    TIIIS AGREEt-.1ENT OR ANY TRANSACTION CONTEMPLAlED OR ASSOCIATED
                                                                                                  THEREWITH, BEFORE OR AFTER TERMINATION; (b) WAIVES, TO THE MAXIMUM
     13.7 IT IS EXPRESSLY AGREED THAT COl'iJRACTOR SHALL NOT BE                                   EXTENT NOT PROHIBITED BY LAW, ANY RIGHT IT MAY HAVE TO CLAIM OR
LIABLE TO THE OWNER PARTIES FOR At-i'Y SPECIAL, PUNITIVE, INDIRECT,                               RECOVER IN ANY SUCH LITIGATION ANY "SPECIAL DAMAGES," AS DEFINED
INCIDENTAL OR CONSEQUENTIAL DAMAGES RESULTING FROM OR ARISING                                     BELOW; (c) CERTIFIES THAT NEITIIER IT NOR ANY OF ITS REPRESENTATIVES,
DIRECTLY OR INDIRECTLY, OUT OR OF IN CONNECTION WITH THE SERVICES                                 AGENTS OR COUNSELORS HAS REPRESENTED, EXPRESSLY OR OTIIERWISE, OR
OR OPERATIONS HEREUNDER RELATED TO RESERVOIR DAMAGE, LOSS OF                                      IMPLIED THAT TIIE CERTIFYING PARTY WOULD NOT, 1N THE EVENT OF
RESERVES, OR CRATERING OR BLOWOUT OF THE BOREHOLE, INCLUDING,                                     LITIGATION, SEEK TO ENFORCE THE FOREGOING WANERS; AND (d)
WITHOUT LThflTATION, LOSS OF USE, LOSS OF DATA, LOSS OF ASSETS, LOSS                              ACKNOWLEDGES THAT IT HAS BEEN INDUCED TO ENTER INTO IBIS AGREE:t\-1:ENT
OF PROFIT, LOSS OF BUSINESS, OR BUSINESS INTERRUPTION UNLESS CAUSED                               AND TIIE 1RANSACTIONS CONTEMPLA1ED TIIEREBY, BY, AMONG OTHER
BY THE SOLE NEGLIGENCE (ACTIVE OR PASSIVE) OF CONTRACTOR OR ANY                                   TIUNGS, TIIE MUTUAL WAIVERS AND CERTIFICATIONS 1N THIS SECTION. AS
OF THE CONTRACTOR PARTIES.                                                                        USED IN TIIIS SECTION, "SPECIAL DAMAGES'' INCLUDES ALL SPECIAL,
                                                                                                  CONSEQUENTIAL,      INDIRECT,  EXEMPLARY,    OR  PUNITIVE   DAMAGES

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(REGARDLESS OF HOW NAMED), BUT DOES NOT INCLUDE ANY PAYMENTS OR                                                      IN WITNESS WHEREOF, the Parties have executed this Agreement effective as of the
FUNDS WHICH ANY PARTY HAS EXPRESSLY PROl'vllSED TO PAY OR DELIVER TO                                          day and year first above written.
ANY OTHER PARTY.
                                                                                                                                                        TRA&N :PERA.TING COMPANY
        14.7 This instrument embodies the whole agreement of the Parties. There are no
promises, terms, conditions, or obligations other than those contained herein. Should Contractor
provide or render any Service, then in the event of a conflict between the tenns of performance
                                                                                                                                                       By    ! - W- i,ttJf
                                                                                                                                                       Printed Name: Patrick W Mecdtl
for such Services or Service, whether made orally or in writing, and the tenns of this Agreement,                                                      Title:    President
the tenns of this Agreement shall prevail except for any activity-specific instructions or
directions. In the event of a conflict between the provisions hereof and the provisions of any
printed or other pre-prepared form of work or service order, job, or delivery ticket, or other
similar form, submitted to Contractor by Owner in connection with any Services performed
hereunder, the provisions of this Agreement shall prevail and be controlling.

                  [SIGNATURES APPEAR ON THE FOLLOWING PAGE}




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EXHIBIT 6 TO SETTLEMENT AGREEMENT

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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM, INC.,                                      §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                      §
PAYSON OPERATING, LLC,                                       §              Case No. 16-41044
                                                             §
         DEBTORS.                                            §              Chapter 11


    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                        [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 ( the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC (“Debtors”) in jointly

administered Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for

Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well

2014, L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that notice of the Motion and


1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

        ORDERED, ADJUDGED, AND DECREED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtors, their

bankruptcy estates and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

        3.       Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and all parties in interest.

        4.       Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

executed by 3 Well LP and the Subject Wells Assignment executed by 2014 LP, shall be property

of the Maricopa Resources, LLC bankruptcy estate.

        5.       The 3 Well LP Subject Claims Assignment and Participation Agreement attached


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding

on the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       The 2014 LP Subject Claims Assignment and Participation Agreement attached as

an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        7.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        8.       A general unsecured claim of 3 Well LP against Maricopa Resources, LLC is

hereby allowed in an amount equal to 27.7891% of the Subject Net Well Proceeds, as that term is

defined in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        9.       A general unsecured claim of 2014 LP against Maricopa Resources, LLC is hereby

allowed in an amount equal to 72.21084% of the Subject Net Well Proceeds, as that term is defined

in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        10.      The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are


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released.

        11.      Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the following: (i) the 3 Well LP Avoidance Action

Claims Net Recovery and the 3 Well LP Partnership Related Claims Net Recovery (as those terms

are defined in the 3 Well LP Subject Claims Assignment and Participation Agreement), and (ii)

the 2014 LP Avoidance Action Claims Net Recovery and the 2014 LP Partnership Related Claims

Net Recovery (as those terms are defined in the 2014 LP Subject Claims Assignment and

Participation Agreement).

        12.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the (i) 3 Well LP Avoidance Action Claims, (ii) 3 Well LP Partnership Related Claims, (iii) 2014

LP Avoidance Action Claims, and (iv) 2014 LP Partnership Related Claims, without further order

of this Court.

        13.      Payson Petroleum is hereby appointed (i) the representative of the 3 Well LP

bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the 3

Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement, and (ii) the representative of the 2014 LP bankruptcy estate for purposes

of prosecuting the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims

pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement.

        14.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and


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AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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Participation Agreement or this Order.

       15.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum has the exclusive authority to file suit, prosecute and settle the

3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the Payson/3

Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any litigation

or take any action with respect to the 3 Well LP Partnership Related Claims, the 3 Well LP

Avoidance Action Claims or the Payson/3 Well LP Partnership Related Claims that in its judgment

would not be cost justified.

       16.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of either parties entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

       17.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or take any action with respect to the 2014 LP Partnership Related Claims, the 2014 LP

Avoidance Action Claims or the Payson/2014 LP Partnership Related Claims that in its judgment

would not be cost justified.

       18.      The Debtors and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance


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with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

       19.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                       HONORABLE BRENDA T. RHOADES,
                                                       UNITED STATES BANKRUPTCY JUDGE


SUBMITTED BY:

/s/
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AGREED TO IN FORM AND SUBSTANCE BY:


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COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
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FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.




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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM 3 WELL, LP,                                 §              Case No. 17-40179
                                                             §              Chapter 7
         DEBTOR.                                             §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                        [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. (“Debtor”) in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014,

L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 3 Well LP Subject Claims Assignment and Participation Agreement attached


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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on

the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 3 Well LP is hereby

allowed in the amount of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred

Eighty-Eight and 50/100 U.S. Dollars ($8,557,888.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 3 Well LP Avoidance Action Claims Net Recovery

and the 3 Well LP Partnership Related Claims Net Recovery as those terms are defined in the 3

Well LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 3 Well LP Avoidance Action Claims and the 3 Well LP Partnership Related Claims without

further order of this Court. Payson Petroleum is hereby appointed the representative of the 3 Well

LP bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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3 Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement.

       11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and

Participation Agreement or this Order.

       12.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the

Payson/3 Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 3 Well LP Partnership Related Claims or the 3

Well LP Avoidance Action Claims that in its judgment would not be cost justified.

       13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

       14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                       HONORABLE BRENDA T. RHOADES,
                                                       UNITED STATES BANKRUPTCY JUDGE


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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AND MARICOPA RESOURCES, LLC




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PAYSON PETROLEUM 3 WELL 2014, L.P.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM 3 WELL 2014, LP,                            §              Case No. 17-40180
                                                             §              Chapter 7
         DEBTOR.                                             §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                        [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. (“Debtor”)

in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the Settlement

Agreement; and the Court having found that it has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of the

United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 2014 LP Subject Claims Assignment and Participation Agreement attached as


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an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 2014 LP is hereby allowed

in the amount of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100 U.S.

Dollars ($2,671,900.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 2014 LP Avoidance Action Claims Net Recovery

and the 2014 LP Partnership Related Claims Net Recovery as those terms are defined in the 2014

LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims without further

order of this Court. Payson Petroleum is hereby appointed the representative of the 2014 LP

bankruptcy estate for purposes of prosecuting the 2014 LP Avoidance Action Claims and the 2014


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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LP Partnership Related Claims pursuant to the 2014 LP Subject Claims Assignment and

Participation Agreement.

       11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of any parties’ entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

       12.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 2014 LP Partnership Related Claims or the 2014

LP Avoidance Action Claims that in its judgment would not be cost justified.

       13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

       14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                       HONORABLE BRENDA T. RHOADES,
                                                       UNITED STATES BANKRUPTCY JUDGE


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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SUBMITTED BY:

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FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC



AGREED TO IN FORM AND SUBSTANCE BY:


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FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.




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EXHIBIT 7 TO SETTLEMENT AGREEMENT

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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC,                                   §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
       DEBTORS.                                            §              Chapter 11


          JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT
                   PURSUANT TO BANKRUPTCY RULE 9019


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
       BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
       HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
       RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. in

Bankruptcy Case No. 17-40180 (the “LP Trustee”) to file their Joint Motion to Approve

Compromise and Settlement Pursuant to Bankruptcy Rule 9019 (the “Joint Motion to



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Compromise”), and in support thereof, respectfully show unto the Court the following:

                                                   I.
                                           PROCEDURAL STATUS

        1.       Payson Debtor Bankruptcy Filings. On June 10, 2016, Payson Petroleum, Inc.

(“Payson Petroleum”), Payson Operating, LLC (“Payson Operating”), and Maricopa Resources,

LLC (“Maricopa”) filed voluntary petitions under Chapter 7 of the United States Bankruptcy Code

(the “Bankruptcy Code”) in this Bankruptcy Court. 1 See Docket No. 1 in Bankruptcy Case Nos.

16-41043, 16-40144, and 16-40145. On July 12, 2016, the Bankruptcy Court entered orders

converting the Payson Debtors’ bankruptcy cases to cases under Chapter 11 of the Bankruptcy

Code. See Docket No. 39 in Case No. 16-41043, Docket No. 33 in Case No. 16-40144, and Docket

No. 41 in Case No. 16-40145. On July 18, 2016, the Bankruptcy Court entered orders approving

the United States Trustee’s applications to appoint the Payson Trustee as the Chapter 11 Trustee

in the Payson Debtors’ bankruptcy cases. See Docket No. 55 in Case No. 16-41043, Docket No.

50 in Case No. 16-40144, and Docket No. 57 in Case No. 16-41045. On August 11, 2016, the

Bankruptcy Court ordered the joint administration of the Payson Debtors’ bankruptcy cases under

Case No. 16-41044. See Docket No. 75 in Case No. 16-41043, Docket No. 73 in Case No. 16-

41044, and Docket No. 81 in Case No. 16-41045.

        2.       Adversary Proceeding.             On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 in

Adversary Proceeding No. 16-04106 (the “Adversary Proceeding”) against Payson Petroleum 3

Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”).

        3.       LP Debtor Bankruptcy Filings. On January 31, 2017, 3 Well LP and 2014 LP

(collectively, the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.


1
    Collectively, Payson Petroleum, Payson Operating, and Maricopa are the “Payson Debtors.”


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See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. LP Trustee was

appointed as Chapter 7 Trustee for the LP Debtors.

        4.       Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in Adversary

Proceeding. On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion

to Lift Stay in LP Debtor’s bankruptcy cases which, inter alia, provides that the parties are “granted

relief from the automatic stay … to continue with and fully litigate claims that are or could be

pled” in the Adversary Proceeding. Docket No. 26 in Case No. 17-40180 and Docket No. 29 in

Case No. 17-40179.

        5.       Amended Complaint. On July 13, 2017, Payson Trustee filed his First Amended

Complaint in the Adversary Proceeding. See Docket No. 25 in Adversary Proceeding.

        6.       Jurisdiction & Venue. This Court has jurisdiction over the subject matter of this

Joint Motion to Compromise pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                  II.
                                         FACTUAL BACKGROUND

        7.       Nature of Payson Debtors’ Businesses.                   Matthew C. Griffin (“Griffin”) formed

Payson Petroleum in 2008 to, inter alia, (i) promote the sale of interests in limited partnerships

and (ii) operate oil and gas wells for such limited partnerships. Griffin formed Payson Operating

in 2010 to act as a contract operator for Payson Petroleum. Griffin formed Maricopa in 2012 to,

inter alia, engage in the acquisition and sale of Grayson County, Texas oil and gas leases.

        8.       Nature of 3 Well LP’s and 2014 LP’s Businesses. Payson Petroleum Grayson, LLC

formed 3 Well LP in 2013 and 2014 LP in 2014 to, inter alia, drill, complete, and own interests in

the Subject Wells.



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       9.       Turnkey Agreements. On or about October 13, 2013, Payson Petroleum and 3 Well

LP entered into a Subscription Turn Key Agreement under which 3 Well LP agreed to pay Payson

Petroleum certain amounts for the drilling and completion of the Subject Wells (the “3 Well LP

Turnkey Agreement”). On or about January 12, 2014, Payson Petroleum and 2014 LP entered into

a Subscription Turn Key Agreement under which 2014 LP agreed to pay Payson Petroleum certain

amounts for the drilling and completion of the Subject Wells (the “2014 LP Turnkey Agreement”

and collectively with the 3 Well LP Turnkey Agreement the “Turnkey Agreements”). In the

Adversary Proceeding, Payson Petroleum asserts claims for breach of the Turnkey Agreements

against 3 Well LP in the amount of $17,115,777 and 2014 LP in the amount of $5,343,803 (the

“Breach of Turnkey Agreement Claims”).

       10.      Working Interest Assignments. On or about Marcy 28, 2016, Maricopa assigned

certain interests in the William #1H (API # 181-31557), Crowe #2 (API #181-31543), and Elaine

#1 (API #181-31547) (collectively the “Subject Wells”) to 3 Well LP and 2014 LP via three (3)

certain Wellbore Assignments, Conveyances, Bills of Sale, and Releases, which were recorded in

the real property records of Grayson County, Texas at Instrument Numbers: 2016-00006064,

2016-00006065, and 2016-00006066. The working interests assigned are set forth below:

                                                                                 Working
                                                                                  Interest
                        Subject Well                     Assignee                Assigned
                      Williams #1H Well                   2014 LP               72.210840%
                      Williams #1H Well                  3 Well LP              27.789160%
                       Crowe #2 Well                      2014 LP               72.210840%
                       Crowe #2 Well                     3 Well LP              27.789160%
                       Elaine #1 Well                     2014 LP               72.210840%
                       Elaine #1 Well                    3 Well LP              27.789160%

(collectively the “Working Interest Assignments”). In the Adversary Proceeding, Maricopa asserts

claims under 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce



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Code against 3 Well LP and 2014 LP for avoidance of the Working Interest Assignments and

recovery of the interests transferred or their value. Post-bankruptcy petition production revenue

attributable to the Working Interest Assignments has been held by Traton Operating Company

(“Traton”), the Payson Trustee’s approved contract operating company.

        11.      Additional Avoidable Transfers. In addition to the Working Interest Assignments,

Payson Petroleum transferred $1,274,310 to 3 Well LP and $2,862,000 to 2014 LP between

January and February 2014 in exchange for interests in those limited partnerships that Payson

Petroleum knew or should have known were worth far less than the amounts transferred (the

“Investment Transfers”). In the Adversary Proceeding, the Payson Trustee asserts claims under

11 U.S.C. § 544 and 550 and Chapter 24 of the Texas Business and Commerce Code to avoid and

recover the Investment Transfers from 3 Well LP and 2014 LP (the “Investment Transfer Claims”).

                                                  III.
                                         PROPOSED SETTLEMENT

        12.      The Payson Trustee, Payson Debtors, LP Trustee, and LP Debtors have reached a

settlement of issues asserted in the Adversary Proceeding and other claims that have our could

have been asserted between the parties. Attached hereto as Exhibit A is a copy of the Settlement

Agreement. 2

        13.      Agreed Final Judgment. As explained in the Settlement Agreement, the parties will

resolve the Adversary Proceeding by filing a Joint Motion for Entry of Agreed Final Judgment and

will use their best efforts to have the Agreed Final Judgment entered by the Bankruptcy Court.

The Agreed Final Judgment will, inter alia, provide that the Wellbore Interest Assignments are


2
    To the extent of any inconsistency between the Settlement Agreement and the summary of that agreement set
    forth in this Joint Motion to Compromise, the terms of the Settlement Agreement control. This outline is not
    intended to repeat all terms of the Settlement Agreement and persons reading this Joint Motion to Compromise
    are encouraged to read the Settlement Agreement. Capitalized Terms used but not otherwise defined herein have
    the meaning ascribed to them in the Joint Motion to Compromise or the Settlement Agreement as applicable.


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avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B) and grant judgment in favor of Payson

Petroleum on its Breach of Turnkey Agreement Claims against 3 Well LP in the amount of

$8,557,888.50 and 2014 LP in the amount of $2,671,900.50. See Exhibit 3 to Settlement

Agreement.

       14.       Conveyance of Interests in Subject Wells. 3 Well LP and 2014 LP will reassign

the avoided interests in the Subject Wells to Maricopa, which will continue to be operated by

Traton until Maricopa sells those interests under 11 U.S.C. § 363. As explained in further detail

in the Settlement Agreement, the net proceeds obtained from the operation and sale of the Subject

Wells (defined in the Settlement Agreement as the Subject Wells Net Proceeds) will be distributed

as follows: (i) 55% to Maricopa, (ii) 32.4945% to 2014 LP, and (iii) 12.5055% to 3 Well LP.

Maricopa will retain a $50,000 Operating Reserve to satisfy costs related to operation of the

Subject Wells.

       15.       Allowed Claims. The Settlement Agreement also provides that the parties will

agree to the following allowed unsecured claims:

       •         Payson Petroleum shall hold (i) an allowed unsecured claim in the 3 Well LP
                 bankruptcy case in the amount of $8,557,888.50 and (ii) an allowed unsecured
                 claim in the 2014 LP bankruptcy case in the amount of $2,671,900.50;

       •         3 Well LP shall hold an allowed general unsecured claim in the Maricopa
                 bankruptcy case in an amount equal to 27.78916% of the Subject Net Well Proceeds
                 actually delivered to Maricopa pursuant to the Settlement Agreement; and

       •         2014 LP shall hold an allowed general unsecured claim in the Maricopa bankruptcy
                 case in an amount equal to 72.21084% of the Subject Net Well Proceeds actually
                 delivered to Maricopa pursuant to the Settlement Agreement.

       16.       Prosecution of and Participation in Avoidance Action Claims. The Settlement

Agreement further provides that the parties will enter into (i) the 3 Well LP Subject Claims

Assignment and Participation Agreement and (ii) the 2014 LP Subject Claims Assignment and



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Participation Agreement (collectively the “Claims Assignment and Participation Agreements”).

Pursuant to the Claims Assignment and Participation Agreements:

       •        3 Well LP will assign a fifty percent (50%) interest in net recoveries from litigation
                of 3 Well LP Avoidance Action Claims and 3 Well LP Partnership Related Claims,
                as defined in the 3 Well LP Subject Claims Assignment and Participation
                Agreement, with 3 Well LP retaining the remaining fifty percent (50%) interest;
                and

       •        2014 LP will assign a fifty percent (50%) interest in net recoveries from litigation
                of 2014 LP Avoidance Action Claims and 2014 Partnership Related Claims, as
                defined in the 2014 LP Subject Claims Assignment and Participation Agreement,
                with 2014 LP retaining the remaining fifty percent (50%) interest.

Payson Petroleum shall be granted standing to prosecute 3 Well LP and 2014 LP Avoidance Action

Claims and Partnership Related Claims in the 3 Well LP and 2014 LP bankruptcy cases, and 3

Well LP and 2014 LP shall enter into engagement agreements with special litigation counsel for

the Payson Trustee to prosecute such claims for the benefit of the Payson Petroleum, 3 Well LP,

and 2014 LP bankruptcy estates.

       17.      Releases. Except for claims expressly reserved in the Settlement Agreement, all

claims or causes action between the parties will be released.

                                                      IV.
                                                  RATIONALE

       18.      Benefit to Maricopa Estate. The Maricopa bankruptcy estate receives the following

benefits from the settlement:

       •        the interests assigned to 3 Well LP and 2014 LP via the Working Interest
                Assignments will be reassigned to Maricopa, and Maricopa will 55% of the Subject
                Wells Net Proceeds, plus a $50,000 Operating Reserve to satisfy costs associated
                with operation of the Subject Wells; and

       •        except for claims expressly preserved under the Settlement Agreement, Maricopa’s
                bankruptcy estate is released from claims which have been or could have been
                asserted against Maricopa by 3 Well LP and/or 2014 LP.


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       19.      Benefit to Payson Petroleum Estate. The Payson Petroleum bankruptcy estate

receives the following benefits from the settlement:

       •        an allowed general unsecured claim in the 3 Well LP bankruptcy case in the amount
                of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred Eighty-Eight
                and 50/100 U.S. Dollars ($8,557,888.50) on account of Payson Petroleum’s Breach
                of Turnkey Agreement claim against 3 Well LP;

       •        an allowed general unsecured claim in the 2014 LP bankruptcy case in the amount
                of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100
                U.S. Dollars ($2,671,900.50) on account of Payson Petroleum’s Breach of Turnkey
                Agreement claim against 2014 LP;

       •        Payson Petroleum is (i) granted standing and authority to enforce and prosecute 3
                Well LP Avoidance Action Claims, 2014 LP Avoidance Action Claims, 3 Well LP
                Partnership Related Claims, and 2014 LP Partnership Related Claims (the “Subject
                Claims”) and (ii) will hold a fifty percent (50%) participation interest in net
                recoveries from the Subject Claims as further described in the Settlement
                Agreement, 3 Well LP Subject Claims Assignment and Participation Agreement
                and 2014 LP Subject Claims Assignment and Participation Agreement; and

       •        except for claims expressly preserved under the Settlement Agreement, Payson
                Petroleum’s bankruptcy estate is released from claims which have been or could
                have been asserted against Payson Petroleum by 3 Well LP and/or 2014 LP.

       20.      Benefit to Payson Operating Estate. Except for claims expressly preserved under

the Settlement Agreement, Payson Operating’s bankruptcy estate is released from claims which

have been or could have been asserted against Payson Operating by 3 Well LP and/or 2014 LP.

       21.      Benefit to 3 Well LP Estate. The 3 Well LP bankruptcy estate receives the

following benefits from the settlement:

       •        3 Well LP will obtain 12.5055% of the Subject Wells Net Proceeds;

       •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                equal to 27.78916% of the Subject Wells Net Proceeds actually delivered to
                Maricopa pursuant to the Settlement Agreement;


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       •        3 Well LP will retain a fifty percent (50%) interest in all 3 Well LP Avoidance
                Action Claims Net Recovery and 3 Well LP Partnership Related Claims Net
                Recovery as further described in the Settlement Agreement and 3 Well LP Subject
                Claims Assignment and Participation Agreement; and

       •        except for claims expressly preserved under the Settlement Agreement, 3 Well LP’s
                bankruptcy estate is released from claims which have been or could have been
                asserted against 3 Well LP by Payson Petroleum, Payson Operating, and/or
                Maricopa.

       22.      Benefit to 2014 LP Estate. The 2014 LP bankruptcy estate receives the following

benefits from the settlement:

       •        2014 LP will obtain 32.4945% of the Subject Wells Net Proceeds;

       •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                equal to 72.21084% of the Subject Wells Net Proceeds actually delivered to
                Maricopa pursuant to the Settlement Agreement;

       •        2014 LP will retain a fifty percent (50%) interest in all 2014 LP Avoidance Action
                Claims Net Recovery and 2014 LP Partnership Related Claims Net Recovery as
                further described in the Settlement Agreement and 3 Well LP Subject Claims
                Assignment and Participation Agreement; and

       •        except for claims expressly preserved under the Settlement Agreement, 2014 LP’s
                bankruptcy estate is released from claims which have been or could have been
                asserted against 2014 LP by Payson Petroleum, Payson Operating, and/or
                Maricopa.

                                                    V.
                                            RELIEF REQUESTED

       23.      The Payson Trustee and LP Trustee respectfully request that the Court approve the

proposed Settlement Agreement attached hereto as Exhibit A and grant them such other and further

relief to which they may be entitled.




MOTION TO COMPROMISE                                                                                                 Page 9
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                                                     VI.
                                              BASIS FOR RELIEF

        24.      Bankruptcy Courts are “empowered to approve a compromise settlement of a

debtor’s claim under Bankruptcy Rule 9019(a).” Official Comm. of Unsecured Creditors v. Cajun

Electric Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir.

1997). “Approval should only be given if the settlement is fair and equitable and in the best interest

of the estate.” Id. (internal quotes & cite omitted). “In deciding whether a settlement of litigation

is fair and equitable, a judge in bankruptcy must make a well-informed decision, ‘comparing the

terms of the compromise with the likely rewards of litigation.’” Id. at 356 (quoting Rivercity v.

Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)). Courts consider the

following factors in determining whether a settlement is fair and equitable “(1) [t]he probability of

success in the litigation, with due consideration for the uncertainty in fact and law, (2) [t]he

complexity and likely duration of the litigation and any attendant expense, inconvenience and

delay, and (3) all other factors bearing on the wisdom of the compromise.” Id.

        25.      The factors support granting the Joint Motion to Compromise. First, the disputes

are hotly contested and would require lengthy and likely expensive litigation to resolve, and the

Settlement Agreement was reached after good-faith, contentious, and arms-length negotiations.

The Payson Trustee and LP Trustee desire to avoid lengthy litigation between the respective

bankruptcy estates so they can focus on enhancing the value of those estates for the benefit of

creditors. Litigation would be expensive and involve, inter alia, complex factual issues regarding

the value of the property transferred and solvency of the various bankruptcy estates. The

Settlement Agreement, on the other hand, allows the Payson Trustee to distribute hydrocarbon

proceeds currently held in suspense and initiate a sales process to monetize the Subject Wells for

the benefit of creditors of Maricopa, 3 Well LP, and 2014 LP. Additionally, the Settlement



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Agreement (i) reduces 3 Well LP and 2014 LP’s liability for failing to pay Payson Petroleum

amounts owed under the Turnkey Agreements by fifty percent (50%), (ii) provides an arrangement

for coordinated prosecution of avoidance actions and sharing in the proceeds of the same, and (iii)

eliminates the potential that the LP Trustee and Payson Trustee would pursue substantially similar

claims against partners of 3 Well LP and 2014 LP in different proceedings and forums. In sum,

the Payson Trustee and LP Trustee believe the Settlement Agreement is in the best interests of

their respective bankruptcy estates and should be approved. See Affidavit of Jason R. Searcy,

attached as Exhibit B and Affidavit of Christopher J. Moser, attached as Exhibit C.

       26.      A proposed agreed order is attached hereto as Exhibit D.

                                                     PRAYER

       WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 11 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estates of Payson Petroleum

3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. respectfully request that the Court approve

the Agreement and grant them such other and further relief to which they may be justly entitled.




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Dated: ___, 2017                                       Respectfully submitted,

                                                       By:      /s/
                                                              Phil Snow
                                                              State Bar No. 18812600
                                                              Blake Hamm
                                                              State Bar No. 24069869
                                                              SNOW SPENCE GREEN LLP
                                                              2929 Allen Parkway, Suite 2800
                                                              Houston, Texas 77019
                                                              (713) 335-4800
                                                              (713) 335-4848 (Fax)

                                                              COUNSEL FOR JASON R. SEARCY,
                                                              CHAPTER 11 TRUSTEE FOR PAYSON
                                                              PETROLEUM, INC., PAYSON
                                                              OPERATING, LLC, AND MARICOPA
                                                              RESOURCES, LLC


                                                        By:     /s/
                                                              Keith W. Harvey
                                                              State Bar No. 09180100
                                                              THE HARVEY LAW FIRM, P.C.
                                                              6510 Abrams Road
                                                              Suite 280
                                                              Dallas, Texas 75231
                                                              (972) 243-3960 Phone
                                                              (972)-241-3970 Facsimile

                                                              COUNSEL FOR CHRISTOPHER J.
                                                              MOSER, CHAPTER 7 TRUSTEE FOR
                                                              PAYSON PETROLEUM 3 WELL, L.P.
                                                              AND PAYSON PETROLEUM 3 WELL
                                                              2014, L.P.




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                                           CERTIFICATE OF SERVICE

         The undersigned certifies that on __, 2017, a true and correct copy of this document was
served (i) via the Court’s electronic case filing system upon the parties listed below or by email
listed below, (ii) via the Court’s electronic case filing system for Eastern District of Texas upon
all parties requesting electronic notice of all filings and (iii) via regular First Class Mail, properly
addressed and postage prepaid, upon all parties listed on the Master Service List attached hereto.


 Debtors Payson Petroleum, Inc., Payson Operating,                             Debtors Payson Petroleum 3 Well ,
 LLC, and Maricopa Resources, LLC                                              LP and Payson Petroleum 3 Well
 Mark A. Weisbart                                                              2014, LP
 12770 Coil Road, Suite 541                                                    1757 Harpsichord Way
 Dallas, TX 75251                                                              Henderson, NV 89012
 weisbartm@earthlink.net,
 TX56@ecfcbis.com;mweisbart@ecf.epiqsystems.com;
 tarah_simmons@earthlink.net


 Dan Chern                                                                     Daniel P. Winikka
 The Law Offices of Dan Chern                                                  12377 Merit Drive, Ste. 900
 12801 N. Central Expressway, Suite 1558                                       Dallas, TX 75251
 Dallas, Texas 75243                                                           danw@LFDSlaw.com
 dbc@dchern.com


 US Trustee
 Office of the US Trustee
 110 N. College Ave, #300
 Tyler, TX 75702
 USTPRegion06.TY.ECF@USDOJ.GOV


                                                            /s/
                                                            Blake Hamm




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     EXHIBIT A TO SETTLEMENT MOTION

                  SETTLEMENT AGREEMENT

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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                            B
                                      SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM, INC.,                                     §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                     §
PAYSON OPERATING, LLC,                                      §              Case No. 16-41044
                                                            §
        DEBTORS.                                            §              Chapter 11


IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, L.P.,                              §              Case No. 17-40179
                                                            §              Chapter 7
        DEBTOR.                                             §


IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL 2014,                               §              Case No. 17-40180
L.P.,                                                       §              Chapter 7
                                                            §
        DEBTOR.                                             §

                         AFFIDAVIT OF JASON R. SEARCY
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                                §
                                              §
COUNTY OF GREGG                               §

       BEFORE ME, the undersigned authority, on this day personally appeared Jason R. Searcy,
known to be the person whose name is subscribed hereto, who, having been duly sworn, did depose
and on oath state:
        My name is Jason R. Searcy. I am an attorney duly licensed to practice law in the State of
Texas. I am admitted to practice in all courts in the State of Texas, the United States District Court
for the Eastern District of Texas, the United States Fifth Circuit Court of Appeals and the United
States Supreme Court. I am the Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa
Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-
41044 (“Payson Trustee”). As set forth in the Joint Motion to Approve Compromise and
Settlement Pursuant to Bankruptcy Rule 9019 and based on my best belief and information, the


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proposed settlement obtains for the estate the most effective recovery of greater value than that
which could be obtained by other liquidation measures.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Jason R. Searcy
                                                            Payson Trustee

         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS                                                     C
                                     SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
       DEBTORS.                                            §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
       DEBTOR.                                             §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
       DEBTOR.                                             §

                    AFFIDAVIT OF CHRISTOPHER J. MOSER
            IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
            AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF DALLAS                             §

       BEFORE ME, the undersigned authority, on this day personally appeared Christopher J.
Moser, known to be the person whose name is subscribed hereto, who, having been duly sworn,
did depose and on oath state:
        My name is Christopher J. Moser. I am an attorney duly licensed to practice law in the
State of Texas. I am admitted to practice in all courts in the State of Texas, the United States
District Court for the Eastern District of Texas and the United States Fifth Circuit of Appeals. I
am the Chapter 7 Trustee for Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179
and Payson Petroleum 3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (“LP Trustee”). As
set forth in the Joint Motion to Approve Compromise and Settlement Pursuant to Bankruptcy Rule
9019 (“Motion”) and based on my best belief and information, the proposed settlement obtains for


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the estate the most effective recovery of greater value than that which could be obtained by other
liquidation measures.

        It is my professional opinion that the settlement agreement reflected in the Motion is in the
best interest of the estate and comports with the settlement standards of Protective Comm. For
Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. Reh’g denied, 391
U.S. 909 (1968) and of River City vs. Herpel, (In re Jackson Brewing Co.), 624 F.2d 599, 602-603
(5th Cir. 1980). Accordingly, the settlement should be approved.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Christopher J. Moser
                                                            LP Trustee


         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM, INC.,                                      §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                      §
PAYSON OPERATING, LLC,                                       §              Case No. 16-41044
                                                             §
         DEBTORS.                                            §              Chapter 11


    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                        [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 ( the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC (“Debtors”) in jointly

administered Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for

Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well

2014, L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that notice of the Motion and


1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

        ORDERED, ADJUDGED, AND DECREED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtors, their

bankruptcy estates and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

        3.       Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and all parties in interest.

        4.       Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

executed by 3 Well LP and the Subject Wells Assignment executed by 2014 LP, shall be property

of the Maricopa Resources, LLC bankruptcy estate.

        5.       The 3 Well LP Subject Claims Assignment and Participation Agreement attached


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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding

on the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       The 2014 LP Subject Claims Assignment and Participation Agreement attached as

an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        7.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        8.       A general unsecured claim of 3 Well LP against Maricopa Resources, LLC is

hereby allowed in an amount equal to 27.7891% of the Subject Net Well Proceeds, as that term is

defined in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        9.       A general unsecured claim of 2014 LP against Maricopa Resources, LLC is hereby

allowed in an amount equal to 72.21084% of the Subject Net Well Proceeds, as that term is defined

in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        10.      The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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released.

        11.      Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the following: (i) the 3 Well LP Avoidance Action

Claims Net Recovery and the 3 Well LP Partnership Related Claims Net Recovery (as those terms

are defined in the 3 Well LP Subject Claims Assignment and Participation Agreement), and (ii)

the 2014 LP Avoidance Action Claims Net Recovery and the 2014 LP Partnership Related Claims

Net Recovery (as those terms are defined in the 2014 LP Subject Claims Assignment and

Participation Agreement).

        12.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the (i) 3 Well LP Avoidance Action Claims, (ii) 3 Well LP Partnership Related Claims, (iii) 2014

LP Avoidance Action Claims, and (iv) 2014 LP Partnership Related Claims, without further order

of this Court.

        13.      Payson Petroleum is hereby appointed (i) the representative of the 3 Well LP

bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the 3

Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement, and (ii) the representative of the 2014 LP bankruptcy estate for purposes

of prosecuting the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims

pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement.

        14.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and


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Participation Agreement or this Order.

       15.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum has the exclusive authority to file suit, prosecute and settle the

3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the Payson/3

Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any litigation

or take any action with respect to the 3 Well LP Partnership Related Claims, the 3 Well LP

Avoidance Action Claims or the Payson/3 Well LP Partnership Related Claims that in its judgment

would not be cost justified.

       16.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of either parties entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

       17.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or take any action with respect to the 2014 LP Partnership Related Claims, the 2014 LP

Avoidance Action Claims or the Payson/2014 LP Partnership Related Claims that in its judgment

would not be cost justified.

       18.      The Debtors and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance


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with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

       19.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




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SUBMITTED BY:

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AGREED TO IN FORM AND SUBSTANCE BY:


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PAYSON PETROLEUM 3 WELL 2014, L.P.




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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §
       DEBTOR.                                             §              Chapter 7


  JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT PURSUANT
                     TO BANKRUPTCY RULE 9019


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
       BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
       HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
       RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 (the “LP Trustee”) to file their Joint Motion to

Approve Compromise and Settlement Pursuant to Bankruptcy Rule 9019 (the “Joint Motion to

Compromise”), and in support thereof, respectfully show unto the Court the following:




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                                                   I.
                                           PROCEDURAL STATUS

        1.       Payson Debtor Bankruptcy Filings. On June 10, 2016, Payson Petroleum, Inc.

(“Payson Petroleum”), Payson Operating, LLC (“Payson Operating”), and Maricopa Resources,

LLC (“Maricopa”) filed voluntary petitions under Chapter 7 of the United States Bankruptcy Code

(the “Bankruptcy Code”) in this Bankruptcy Court. 1 See Docket No. 1 in Bankruptcy Case Nos.

16-41043, 16-40144, and 16-40145. On July 12, 2016, the Bankruptcy Court entered orders

converting the Payson Debtors’ bankruptcy cases to cases under Chapter 11 of the Bankruptcy

Code. See Docket No. 39 in Case No. 16-41043, Docket No. 33 in Case No. 16-40144, and Docket

No. 41 in Case No. 16-40145. On July 18, 2016, the Bankruptcy Court entered orders approving

the United States Trustee’s applications to appoint the Payson Trustee as the Chapter 11 Trustee

in the Payson Debtors’ bankruptcy cases. See Docket No. 55 in Case No. 16-41043, Docket No.

50 in Case No. 16-40144, and Docket No. 57 in Case No. 16-41045. On August 11, 2016, the

Bankruptcy Court ordered the joint administration of the Payson Debtors’ bankruptcy cases under

Case No. 16-41044. See Docket No. 75 in Case No. 16-41043, Docket No. 73 in Case No. 16-

41044, and Docket No. 81 in Case No. 16-41045.

        2.       Adversary Proceeding.             On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 in

Adversary Proceeding No. 16-04106 (the “Adversary Proceeding”) against Payson Petroleum 3

Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”).

        3.       LP Debtor Bankruptcy Filings. On January 31, 2017, 3 Well LP and 2014 LP

(collectively, the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.

See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. LP Trustee was


1
    Collectively, Payson Petroleum, Payson Operating, and Maricopa are the “Payson Debtors.”


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appointed as Chapter 7 Trustee for the LP Debtors.

        4.       Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in Adversary

Proceeding. On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion

to Lift Stay in LP Debtor’s bankruptcy cases which, inter alia, provides that the parties are “granted

relief from the automatic stay … to continue with and fully litigate claims that are or could be

pled” in the Adversary Proceeding. Docket No. 26 in Case No. 17-40180 and Docket No. 29 in

Case No. 17-40179.

        5.       Amended Complaint. On July 13, 2017, Payson Trustee filed his First Amended

Complaint in the Adversary Proceeding. See Docket No. 25 in Adversary Proceeding.

        6.       Jurisdiction & Venue. This Court has jurisdiction over the subject matter of this

Joint Motion to Compromise pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                  II.
                                         FACTUAL BACKGROUND

        7.       Nature of Payson Debtors’ Businesses.                   Matthew C. Griffin (“Griffin”) formed

Payson Petroleum in 2008 to, inter alia, (i) promote the sale of interests in limited partnerships

and (ii) operate oil and gas wells for such limited partnerships. Griffin formed Payson Operating

in 2010 to act as a contract operator for Payson Petroleum. Griffin formed Maricopa in 2012 to,

inter alia, engage in the acquisition and sale of Grayson County, Texas oil and gas leases.

        8.       Nature of 3 Well LP’s Business. Payson Petroleum Grayson, LLC formed 3 Well

LP in 2013 to, inter alia, drill, complete, and own interests in the Subject Wells.

        9.       Turnkey Agreements. On or about October 13, 2013, Payson Petroleum and 3 Well

LP entered into a Subscription Turn Key Agreement under which 3 Well LP agreed to pay Payson



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Petroleum certain amounts for the drilling and completion of the Subject Wells (the “Turnkey

Agreement”). In the Adversary Proceeding, Payson Petroleum asserts a claim for breach of the

Turnkey Agreement against 3 Well LP in the amount of $17,115,777 (the “Breach of Turnkey

Agreement Claim”).

       10.      Working Interest Assignments. On or about Marcy 28, 2016, Maricopa assigned

certain interests in the William #1H (API # 181-31557), Crowe #2 (API #181-31543), and Elaine

#1 (API #181-31547) (collectively the “Subject Wells”) to 3 Well LP and 2014 LP via three (3)

certain Wellbore Assignments, Conveyances, Bills of Sale, and Releases, which were recorded in

the real property records of Grayson County, Texas at Instrument Numbers: 2016-00006064,

2016-00006065, and 2016-00006066. The working interests assigned are set forth below:

                                                                                 Working
                                                                                  Interest
                        Subject Well                     Assignee                Assigned
                      Williams #1H Well                   2014 LP               72.210840%
                      Williams #1H Well                  3 Well LP              27.789160%
                       Crowe #2 Well                      2014 LP               72.210840%
                       Crowe #2 Well                     3 Well LP              27.789160%
                       Elaine #1 Well                     2014 LP               72.210840%
                       Elaine #1 Well                    3 Well LP              27.789160%

(collectively the “Working Interest Assignments”). In the Adversary Proceeding, Maricopa asserts

claims under 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce

Code against 3 Well LP for avoidance of the Working Interest Assignments and recovery of the

interests transferred to 3 Well LP or their value. Post-bankruptcy petition production revenue

attributable to the Working Interest Assignments has been held by Traton Operating Company

(“Traton”), the Payson Trustee’s approved contract operating company.

       11.      Additional Avoidable Transfers. In addition to the Working Interest Assignments,

Payson Petroleum transferred $1,274,310 to 3 Well LP in January 2014 in exchange for interests



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in 3 Well LP that Payson Petroleum knew or should have known were worth far less than the

amounts transferred (the “Investment Transfer”). In the Adversary Proceeding, the Payson Trustee

asserts claims under 11 U.S.C. § 544 and 550 and Chapter 24 of the Texas Business and Commerce

Code to avoid and recover the Investment Transfer from 3 Well LP (the “Investment Transfer

Claim”).

                                                  III.
                                         PROPOSED SETTLEMENT

        12.      The Payson Trustee, Payson Debtors, LP Trustee, and LP Debtors have reached a

settlement of issues asserted in the Adversary Proceeding and other claims that have our could

have been asserted between the parties. Attached hereto as Exhibit A is a copy of the Settlement

Agreement. 2

        13.      Agreed Final Judgment. As explained in the Settlement Agreement, the parties will

resolve the Adversary Proceeding by filing a Joint Motion for Entry of Agreed Final Judgment and

will use their best efforts to have the Agreed Final Judgment entered by the Bankruptcy Court.

The Agreed Final Judgment will, inter alia, provide that the Wellbore Interest Assignments are

avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B) and grant judgment in favor of Payson

Petroleum on its Breach of Turnkey Agreement Claim against 3 Well LP in the amount of

$8,557,888.50. See Exhibit 3 to Settlement Agreement.

        14.      Conveyance of Interests in Subject Wells. 3 Well LP and 2014 LP will reassign

the avoided interests in the Subject Wells to Maricopa, which will continue to be operated by

Traton until Maricopa sells those interests under 11 U.S.C. § 363. As explained in further detail


2
    To the extent of any inconsistency between the Settlement Agreement and the summary of that agreement set
    forth in this Joint Motion to Compromise, the terms of the Settlement Agreement control. This outline is not
    intended to repeat all terms of the Settlement Agreement and persons reading this Joint Motion to Compromise
    are encouraged to read the Settlement Agreement. Capitalized Terms used but not otherwise defined herein have
    the meaning ascribed to them in the Joint Motion to Compromise or the Settlement Agreement as applicable.


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in the Settlement Agreement, the net proceeds obtained from the operation and sale of the Subject

Wells (defined in the Settlement Agreement as the Subject Wells Net Proceeds) will be distributed

as follows: (i) 55% to Maricopa, (ii) 32.4945% to 2014 LP, and (iii) 12.5055% to 3 Well LP.

Maricopa will retain a $50,000 Operating Reserve to satisfy costs related to operation of the

Subject Wells.

       15.       Allowed Claims. The Settlement Agreement also provides that the parties will

agree to the following allowed unsecured claims:

       •         Payson Petroleum shall hold an allowed unsecured claim in the 2014 LP bankruptcy
                 case in the amount of $2,671,900.50; and

       •         3 Well LP shall hold an allowed general unsecured claim in the Maricopa
                 bankruptcy case in an amount equal to 27.78916% of the Subject Net Well Proceeds
                 actually delivered to Maricopa pursuant to the Settlement Agreement.

       16.       Prosecution of and Participation in Avoidance Action Claims. The Settlement

Agreement further provides that the parties will enter into the 3 Well LP Subject Claims

Assignment and Participation Agreement (the “Claims Assignment and Participation

Agreement”). Pursuant to the Claims Assignment and Participation Agreement 3 Well LP will

assign a fifty percent (50%) interest in net recoveries from litigation of 3 Well LP Avoidance

Action Claims and 3 Well LP Partnership Related Claims, as defined in the Claims Assignment

and Participation Agreement, with 3 Well LP retaining the remaining fifty percent (50%) interest.

Payson Petroleum shall be granted standing to prosecute 3 Well LP Avoidance Action Claims and

Partnership Related Claims in the 3 Well LP bankruptcy case, and 3 Well LP shall enter into an

engagement agreement with special litigation counsel for the Payson Trustee to prosecute such

claims for the benefit of the Payson Petroleum and 3 Well LP bankruptcy estates.

       17.       Releases. Except for claims expressly reserved in the Settlement Agreement, all

claims or causes action between the parties will be released.



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                                                      IV.
                                                  RATIONALE

       18.      Benefit to Maricopa Estate. The Maricopa bankruptcy estate receives the following

benefits from the settlement:

       •        the interests assigned to 3 Well LP via the Working Interest Assignments will be
                reassigned to Maricopa, and Maricopa will 55% of the Subject Wells Net Proceeds,
                plus a $50,000 Operating Reserve to satisfy costs associated with operation of the
                Subject Wells; and

       •        except for claims expressly preserved under the Settlement Agreement, Maricopa’s
                bankruptcy estate is released from claims which have been or could have been
                asserted against Maricopa by 3 Well LP.

       19.      Benefit to Payson Petroleum Estate. The Payson Petroleum bankruptcy estate

receives the following benefits from the settlement:

       •        an allowed general unsecured claim in the 3 Well LP bankruptcy case in the amount
                of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred Eighty-Eight
                and 50/100 U.S. Dollars ($8,557,888.50) on account of Payson Petroleum’s Breach
                of Turnkey Agreement claim against 3 Well LP;

       •        Payson Petroleum is (i) granted standing and authority to enforce and prosecute 3
                Well LP Avoidance Action Claims and 3 Well LP Partnership Related Claims (the
                “Subject Claims”) and (ii) will hold a fifty percent (50%) participation interest in
                net recoveries from the Subject Claims as further described in the Settlement
                Agreement and Claims Assignment and Participation Agreement; and

       •        except for claims expressly preserved under the Settlement Agreement, Payson
                Petroleum’s bankruptcy estate is released from claims which have been or could
                have been asserted against Payson Petroleum by 3 Well LP.

       20.      Benefit to Payson Operating Estate. Except for claims expressly preserved under

the Settlement Agreement, Payson Operating’s bankruptcy estate is released from claims which

have been or could have been asserted against Payson Operating by 3 Well LP.

       21.      Benefit to 3 Well LP Estate. The 3 Well LP bankruptcy estate receives the

following benefits from the settlement:


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        •        3 Well LP will obtain 12.5055% of the Subject Wells Net Proceeds;

        •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                 equal to 27.78916% of the Subject Wells Net Proceeds actually delivered to
                 Maricopa pursuant to the Settlement Agreement;

        •        3 Well LP will retain a fifty percent (50%) interest in all 3 Well LP Avoidance
                 Action Claims Net Recovery and 3 Well LP Partnership Related Claims Net
                 Recovery as further described in the Settlement Agreement and Claims Assignment
                 and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, 3 Well LP’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against 3 Well LP by Payson Petroleum, Payson Operating, and/or
                 Maricopa.

                                                     V.
                                             RELIEF REQUESTED

        22.      The Payson Trustee and LP Trustee respectfully request that the Court approve the

proposed Settlement Agreement attached hereto as Exhibit A and grant them such other and further

relief to which they may be entitled.

                                                     VI.
                                              BASIS FOR RELIEF

        23.      Bankruptcy Courts are “empowered to approve a compromise settlement of a

debtor’s claim under Bankruptcy Rule 9019(a).” Official Comm. of Unsecured Creditors v. Cajun

Electric Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir.

1997). “Approval should only be given if the settlement is fair and equitable and in the best interest

of the estate.” Id. (internal quotes & cite omitted). “In deciding whether a settlement of litigation

is fair and equitable, a judge in bankruptcy must make a well-informed decision, ‘comparing the

terms of the compromise with the likely rewards of litigation.’” Id. at 356 (quoting Rivercity v.

Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)). Courts consider the




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following factors in determining whether a settlement is fair and equitable “(1) [t]he probability of

success in the litigation, with due consideration for the uncertainty in fact and law, (2) [t]he

complexity and likely duration of the litigation and any attendant expense, inconvenience and

delay, and (3) all other factors bearing on the wisdom of the compromise.” Id.

       24.      The factors support granting the Joint Motion to Compromise. First, the disputes

are hotly contested and would require lengthy and likely expensive litigation to resolve, and the

Settlement Agreement was reached after good-faith, contentious, and arms-length negotiations.

The Payson Trustee and LP Trustee desire to avoid lengthy litigation between the respective

bankruptcy estates so they can focus on enhancing the value of those estates for the benefit of

creditors. Litigation would be expensive and involve, inter alia, complex factual issues regarding

the value of the property transferred and solvency of the various bankruptcy estates. The

Settlement Agreement, on the other hand, allows the Payson Trustee to distribute hydrocarbon

proceeds currently held in suspense and initiate a sales process to monetize the Subject Wells for

the benefit of creditors of Maricopa and 3 Well LP. Additionally, the Settlement Agreement (i)

reduces 3 Well LP’s liability for failing to pay Payson Petroleum amounts owed under the Turnkey

Agreement by fifty percent (50%), (ii) provides an arrangement for coordinated prosecution of

avoidance actions and sharing in the proceeds of the same, and (iii) eliminates the potential that

the LP Trustee and Payson Trustee would pursue substantially similar claims against partners of 3

Well LP in different proceedings and forums. In sum, the Payson Trustee and LP Trustee believe

the Settlement Agreement is in the best interests of their respective bankruptcy estates and should

be approved. See Affidavit of Jason R. Searcy, attached as Exhibit B and Affidavit of Christopher

J. Moser, attached as Exhibit C.

       25.      A proposed agreed order is attached hereto as Exhibit D.




MOTION TO COMPROMISE                                                                                                 Page 9
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                                                     PRAYER

       WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 11 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estate of Payson Petroleum

3 Well, L.P. respectfully request that the Court approve the Agreement and grant them such other

and further relief to which they may be justly entitled.




MOTION TO COMPROMISE                                                                                                 Page 10
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Dated: ___, 2017                                       Respectfully submitted,

                                                       By:      /s/
                                                              Phil Snow
                                                              State Bar No. 18812600
                                                              Blake Hamm
                                                              State Bar No. 24069869
                                                              SNOW SPENCE GREEN LLP
                                                              2929 Allen Parkway, Suite 2800
                                                              Houston, Texas 77019
                                                              (713) 335-4800
                                                              (713) 335-4848 (Fax)

                                                              COUNSEL FOR JASON R. SEARCY,
                                                              CHAPTER 11 TRUSTEE FOR PAYSON
                                                              PETROLEUM, INC., PAYSON
                                                              OPERATING, LLC, AND MARICOPA
                                                              RESOURCES, LLC


                                                        By:     /s/
                                                              Keith W. Harvey
                                                              State Bar No. 09180100
                                                              THE HARVEY LAW FIRM, P.C.
                                                              6510 Abrams Road
                                                              Suite 280
                                                              Dallas, Texas 75231
                                                              (972) 243-3960 Phone
                                                              (972)-241-3970 Facsimile

                                                              COUNSEL FOR CHRISTOPHER J.
                                                              MOSER, CHAPTER 7 TRUSTEE FOR
                                                              PAYSON PETROLEUM 3 WELL, L.P.




MOTION TO COMPROMISE                                                                                                 Page 11
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                                           CERTIFICATE OF SERVICE

         The undersigned certifies that on __, 2017, a true and correct copy of this document was
served (i) via the Court’s electronic case filing system upon the parties listed below or by email
listed below, (ii) via the Court’s electronic case filing system for Eastern District of Texas upon
all parties requesting electronic notice of all filings and (iii) via regular First Class Mail, properly
addressed and postage prepaid, upon all parties listed on the Master Service List attached hereto.


 Debtors Payson Petroleum, Inc., Payson Operating,                             Debtors Payson Petroleum 3 Well ,
 LLC, and Maricopa Resources, LLC                                              LP and Payson Petroleum 3 Well
 Mark A. Weisbart                                                              2014, LP
 12770 Coil Road, Suite 541                                                    1757 Harpsichord Way
 Dallas, TX 75251                                                              Henderson, NV 89012
 weisbartm@earthlink.net,
 TX56@ecfcbis.com;mweisbart@ecf.epiqsystems.com;
 tarah_simmons@earthlink.net


 Dan Chern                                                                     Daniel P. Winikka
 The Law Offices of Dan Chern                                                  12377 Merit Drive, Ste. 900
 12801 N. Central Expressway, Suite 1558                                       Dallas, TX 75251
 Dallas, Texas 75243                                                           danw@LFDSlaw.com
 dbc@dchern.com


 US Trustee
 Office of the US Trustee
 110 N. College Ave, #300
 Tyler, TX 75702
 USTPRegion06.TY.ECF@USDOJ.GOV


                                                            /s/
                                                            Blake Hamm




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     EXHIBIT A TO SETTLEMENT MOTION

                  SETTLEMENT AGREEMENT

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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                            B
                                      SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM, INC.,                                     §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                     §
PAYSON OPERATING, LLC,                                      §              Case No. 16-41044
                                                            §
        DEBTORS.                                            §              Chapter 11


IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, L.P.,                              §              Case No. 17-40179
                                                            §              Chapter 7
        DEBTOR.                                             §


IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL 2014,                               §              Case No. 17-40180
L.P.,                                                       §              Chapter 7
                                                            §
        DEBTOR.                                             §

                         AFFIDAVIT OF JASON R. SEARCY
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                                §
                                              §
COUNTY OF GREGG                               §

       BEFORE ME, the undersigned authority, on this day personally appeared Jason R. Searcy,
known to be the person whose name is subscribed hereto, who, having been duly sworn, did depose
and on oath state:
        My name is Jason R. Searcy. I am an attorney duly licensed to practice law in the State of
Texas. I am admitted to practice in all courts in the State of Texas, the United States District Court
for the Eastern District of Texas, the United States Fifth Circuit Court of Appeals and the United
States Supreme Court. I am the Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa
Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-
41044 (“Payson Trustee”). As set forth in the Joint Motion to Approve Compromise and
Settlement Pursuant to Bankruptcy Rule 9019 and based on my best belief and information, the


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proposed settlement obtains for the estate the most effective recovery of greater value than that
which could be obtained by other liquidation measures.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Jason R. Searcy
                                                            Payson Trustee

         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS                                                     C
                                     SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
       DEBTORS.                                            §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
       DEBTOR.                                             §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
       DEBTOR.                                             §

                    AFFIDAVIT OF CHRISTOPHER J. MOSER
            IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
            AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF DALLAS                             §

       BEFORE ME, the undersigned authority, on this day personally appeared Christopher J.
Moser, known to be the person whose name is subscribed hereto, who, having been duly sworn,
did depose and on oath state:
        My name is Christopher J. Moser. I am an attorney duly licensed to practice law in the
State of Texas. I am admitted to practice in all courts in the State of Texas, the United States
District Court for the Eastern District of Texas and the United States Fifth Circuit of Appeals. I
am the Chapter 7 Trustee for Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179
and Payson Petroleum 3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (“LP Trustee”). As
set forth in the Joint Motion to Approve Compromise and Settlement Pursuant to Bankruptcy Rule
9019 (“Motion”) and based on my best belief and information, the proposed settlement obtains for


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the estate the most effective recovery of greater value than that which could be obtained by other
liquidation measures.

        It is my professional opinion that the settlement agreement reflected in the Motion is in the
best interest of the estate and comports with the settlement standards of Protective Comm. For
Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. Reh’g denied, 391
U.S. 909 (1968) and of River City vs. Herpel, (In re Jackson Brewing Co.), 624 F.2d 599, 602-603
(5th Cir. 1980). Accordingly, the settlement should be approved.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Christopher J. Moser
                                                            LP Trustee


         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                               UNITED STATES BANKRUPTCY COURT
                                                                                                                         D
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM 3 WELL, LP,                                 §              Case No. 17-40179
                                                             §              Chapter 7
         DEBTOR.                                             §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                        [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. (“Debtor”) in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014,

L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 3 Well LP Subject Claims Assignment and Participation Agreement attached


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on

the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 3 Well LP is hereby

allowed in the amount of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred

Eighty-Eight and 50/100 U.S. Dollars ($8,557,888.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 3 Well LP Avoidance Action Claims Net Recovery

and the 3 Well LP Partnership Related Claims Net Recovery as those terms are defined in the 3

Well LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 3 Well LP Avoidance Action Claims and the 3 Well LP Partnership Related Claims without

further order of this Court. Payson Petroleum is hereby appointed the representative of the 3 Well

LP bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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3 Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement.

       11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and

Participation Agreement or this Order.

       12.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the

Payson/3 Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 3 Well LP Partnership Related Claims or the 3

Well LP Avoidance Action Claims that in its judgment would not be cost justified.

       13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

       14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC


AGREED TO IN FORM AND SUBSTANCE BY:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC


/s/
Keith W. Harvey
State Bar No. 09180100
THE HARVEY LAW FIRM, P.C.
6510 Abrams Road
Suite 280
Dallas, Texas 75231
(972) 243-3960 Phone
(972)-241-3970 Facsimile

COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE
FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.




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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §
                                                           §
       DEBTOR.                                             §              Chapter 7


  JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT PURSUANT
                     TO BANKRUPTCY RULE 9019


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
       BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
       HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
       RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (the “LP Trustee”) to file their Joint Motion

to Approve Compromise and Settlement Pursuant to Bankruptcy Rule 9019 (the “Joint Motion to

Compromise”), and in support thereof, respectfully show unto the Court the following:

                                                           I.


MOTION TO COMPROMISE                                                                                                 Page 1
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                                           PROCEDURAL STATUS

        1.       Payson Debtor Bankruptcy Filings. On June 10, 2016, Payson Petroleum, Inc.

(“Payson Petroleum”), Payson Operating, LLC (“Payson Operating”), and Maricopa Resources,

LLC (“Maricopa”) filed voluntary petitions under Chapter 7 of the United States Bankruptcy Code

(the “Bankruptcy Code”) in this Bankruptcy Court. 1 See Docket No. 1 in Bankruptcy Case Nos.

16-41043, 16-40144, and 16-40145. On July 12, 2016, the Bankruptcy Court entered orders

converting the Payson Debtors’ bankruptcy cases to cases under Chapter 11 of the Bankruptcy

Code. See Docket No. 39 in Case No. 16-41043, Docket No. 33 in Case No. 16-40144, and Docket

No. 41 in Case No. 16-40145. On July 18, 2016, the Bankruptcy Court entered orders approving

the United States Trustee’s applications to appoint the Payson Trustee as the Chapter 11 Trustee

in the Payson Debtors’ bankruptcy cases. See Docket No. 55 in Case No. 16-41043, Docket No.

50 in Case No. 16-40144, and Docket No. 57 in Case No. 16-41045. On August 11, 2016, the

Bankruptcy Court ordered the joint administration of the Payson Debtors’ bankruptcy cases under

Case No. 16-41044. See Docket No. 75 in Case No. 16-41043, Docket No. 73 in Case No. 16-

41044, and Docket No. 81 in Case No. 16-41045.

        2.       Adversary Proceeding.             On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 in

Adversary Proceeding No. 16-04106 (the “Adversary Proceeding”) against Payson Petroleum 3

Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”).

        3.       LP Debtor Bankruptcy Filings. On January 31, 2017, 3 Well LP and 2014 LP

(collectively, the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.

See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. LP Trustee was



1
    Collectively, Payson Petroleum, Payson Operating, and Maricopa are the “Payson Debtors.”


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appointed as Chapter 7 Trustee for the LP Debtors.

        4.       Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in Adversary

Proceeding. On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion

to Lift Stay in LP Debtor’s bankruptcy cases which, inter alia, provides that the parties are “granted

relief from the automatic stay … to continue with and fully litigate claims that are or could be

pled” in the Adversary Proceeding. Docket No. 26 in Case No. 17-40180 and Docket No. 29 in

Case No. 17-40179.

        5.       Amended Complaint. On July 13, 2017, Payson Trustee filed his First Amended

Complaint in the Adversary Proceeding. See Docket No. 25 in Adversary Proceeding.

        6.       Jurisdiction & Venue. This Court has jurisdiction over the subject matter of this

Joint Motion to Compromise pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                  II.
                                         FACTUAL BACKGROUND

        7.       Nature of Payson Debtors’ Businesses.                   Matthew C. Griffin (“Griffin”) formed

Payson Petroleum in 2008 to, inter alia, (i) promote the sale of interests in limited partnerships

and (ii) operate oil and gas wells for such limited partnerships. Griffin formed Payson Operating

in 2010 to act as a contract operator for Payson Petroleum. Griffin formed Maricopa in 2012 to,

inter alia, engage in the acquisition and sale of Grayson County, Texas oil and gas leases.

        8.       Nature of 2014 LP’s Businesse. Payson Petroleum Grayson, LLC formed 2014 LP

in 2014 to, inter alia, drill, complete, and own interests in the Subject Wells.

        9.       Turnkey Agreements. On or about January 12, 2014, Payson Petroleum and 2014

LP entered into a Subscription Turn Key Agreement under which 2014 LP agreed to pay Payson



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Petroleum certain amounts for the drilling and completion of the Subject Wells (the “Turnkey

Agreement”). In the Adversary Proceeding, Payson Petroleum asserts a claim for breach of the

Turnkey Agreement against 2014 LP in the amount of $5,343,803 (the “Breach of Turnkey

Agreement Claim”).

       10.      Working Interest Assignments. On or about Marcy 28, 2016, Maricopa assigned

certain interests in the William #1H (API # 181-31557), Crowe #2 (API #181-31543), and Elaine

#1 (API #181-31547) (collectively the “Subject Wells”) to 3 Well LP and 2014 LP via three (3)

certain Wellbore Assignments, Conveyances, Bills of Sale, and Releases, which were recorded in

the real property records of Grayson County, Texas at Instrument Numbers: 2016-00006064,

2016-00006065, and 2016-00006066. The working interests assigned are set forth below:

                                                                                 Working
                                                                                  Interest
                        Subject Well                     Assignee                Assigned
                      Williams #1H Well                   2014 LP               72.210840%
                      Williams #1H Well                  3 Well LP              27.789160%
                       Crowe #2 Well                      2014 LP               72.210840%
                       Crowe #2 Well                     3 Well LP              27.789160%
                       Elaine #1 Well                     2014 LP               72.210840%
                       Elaine #1 Well                    3 Well LP              27.789160%

(collectively the “Working Interest Assignments”). In the Adversary Proceeding, Maricopa asserts

claims under 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce

Code against 2014 LP for avoidance of the Working Interest Assignments and recovery of the

interests transferred to 2014 LP or their value. Post-bankruptcy petition production revenue

attributable to the Working Interest Assignments has been held by Traton Operating Company

(“Traton”), the Payson Trustee’s approved contract operating company.

       11.      Additional Avoidable Transfers. In addition to the Working Interest Assignments,

Payson Petroleum transferred $2,862,000 to 2014 LP between January and February 2014 in



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exchange for interest in that limited partnership that Payson Petroleum knew or should have known

were worth far less than the amounts transferred (the “Investment Transfers”). In the Adversary

Proceeding, the Payson Trustee asserts claims under 11 U.S.C. § 544 and 550 and Chapter 24 of

the Texas Business and Commerce Code to avoid and recover the Investment Transfers from 2014

LP (the “Investment Transfer Claim”).

                                                  III.
                                         PROPOSED SETTLEMENT

        12.      The Payson Trustee, Payson Debtors, LP Trustee, and LP Debtors have reached a

settlement of issues asserted in the Adversary Proceeding and other claims that have our could

have been asserted between the parties. Attached hereto as Exhibit A is a copy of the Settlement

Agreement. 2

        13.      Agreed Final Judgment. As explained in the Settlement Agreement, the parties will

resolve the Adversary Proceeding by filing a Joint Motion for Entry of Agreed Final Judgment and

will use their best efforts to have the Agreed Final Judgment entered by the Bankruptcy Court.

The Agreed Final Judgment will, inter alia, provide that the Wellbore Interest Assignments are

avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B) and grant judgment in favor of Payson

Petroleum on its Breach of Turnkey Agreement Claim against 2014 LP in the amount of

$2,671,900.50. See Exhibit 3 to Settlement Agreement.

        14.      Conveyance of Interests in Subject Wells. 3 Well LP and 2014 LP will reassign

the avoided interests in the Subject Wells to Maricopa, which will continue to be operated by

Traton until Maricopa sells those interests under 11 U.S.C. § 363. As explained in further detail


2
    To the extent of any inconsistency between the Settlement Agreement and the summary of that agreement set
    forth in this Joint Motion to Compromise, the terms of the Settlement Agreement control. This outline is not
    intended to repeat all terms of the Settlement Agreement and persons reading this Joint Motion to Compromise
    are encouraged to read the Settlement Agreement. Capitalized Terms used but not otherwise defined herein have
    the meaning ascribed to them in the Joint Motion to Compromise or the Settlement Agreement as applicable.


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in the Settlement Agreement, the net proceeds obtained from the operation and sale of the Subject

Wells (defined in the Settlement Agreement as the Subject Wells Net Proceeds) will be distributed

as follows: (i) 55% to Maricopa, (ii) 32.4945% to 2014 LP, and (iii) 12.5055% to 3 Well LP.

Maricopa will retain a $50,000 Operating Reserve to satisfy costs related to operation of the

Subject Wells.

       15.       Allowed Claims. The Settlement Agreement also provides that the parties will

agree to the following allowed unsecured claims:

       •         Payson Petroleum shall hold an allowed unsecured claim in the 2014 LP bankruptcy
                 case in the amount of $2,671,900.50; and

       •         2014 LP shall hold an allowed general unsecured claim in the Maricopa bankruptcy
                 case in an amount equal to 72.21084% of the Subject Net Well Proceeds actually
                 delivered to Maricopa pursuant to the Settlement Agreement.

       16.       Prosecution of and Participation in Avoidance Action Claims. The Settlement

Agreement further provides that the parties will enter into the 2014 LP Subject Claims Assignment

and Participation Agreement (collectively the “Claims Assignment and Participation Agreement”).

Pursuant to the Claims Assignment and Participation Agreements 2014 LP will assign a fifty

percent (50%) interest in net recoveries from litigation of 2014 LP Avoidance Action Claims and

2014 Partnership Related Claims, as defined in the Claims Assignment and Participation

Agreement, with 2014 LP retaining the remaining fifty percent (50%) interest. Payson Petroleum

shall be granted standing to prosecute 2014 LP Avoidance Action Claims and Partnership Related

Claims in the 2014 LP bankruptcy case, and 2014 LP shall enter into an engagement agreement

with special litigation counsel for the Payson Trustee to prosecute such claims for the benefit of

the Payson Petroleum and 2014 LP bankruptcy estates.

       17.       Releases. Except for claims expressly reserved in the Settlement Agreement, all

claims or causes action between the parties will be released.


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                                                      IV.
                                                  RATIONALE

       18.      Benefit to Maricopa Estate. The Maricopa bankruptcy estate receives the following

benefits from the settlement:

       •        the interests assigned to 2014 LP via the Working Interest Assignments will be
                reassigned to Maricopa, and Maricopa will 55% of the Subject Wells Net Proceeds,
                plus a $50,000 Operating Reserve to satisfy costs associated with operation of the
                Subject Wells; and

       •        except for claims expressly preserved under the Settlement Agreement, Maricopa’s
                bankruptcy estate is released from claims which have been or could have been
                asserted against Maricopa by 2014 LP.

       19.      Benefit to Payson Petroleum Estate. The Payson Petroleum bankruptcy estate

receives the following benefits from the settlement:

       •        an allowed general unsecured claim in the 2014 LP bankruptcy case in the amount
                of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100
                U.S. Dollars ($2,671,900.50) on account of Payson Petroleum’s Breach of Turnkey
                Agreement claim against 2014 LP;

       •        Payson Petroleum is (i) granted standing and authority to enforce and prosecute
                2014 LP Avoidance Action Claims and 2014 LP Partnership Related Claims (the
                “Subject Claims”) and (ii) will hold a fifty percent (50%) participation interest in
                net recoveries from the Subject Claims as further described in the Settlement
                Agreement and Claims Assignment and Participation Agreement; and

       •        except for claims expressly preserved under the Settlement Agreement, Payson
                Petroleum’s bankruptcy estate is released from claims which have been or could
                have been asserted against Payson Petroleum by 2014 LP.

       20.      Benefit to Payson Operating Estate. Except for claims expressly preserved under

the Settlement Agreement, Payson Operating’s bankruptcy estate is released from claims which

have been or could have been asserted against Payson Operating by 2014 LP.

       21.      Benefit to 2014 LP Estate. The 2014 LP bankruptcy estate receives the following

benefits from the settlement:


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        •        2014 LP will obtain 32.4945% of the Subject Wells Net Proceeds;

        •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                 equal to 72.21084% of the Subject Wells Net Proceeds actually delivered to
                 Maricopa pursuant to the Settlement Agreement;

        •        2014 LP will retain a fifty percent (50%) interest in all 2014 LP Avoidance Action
                 Claims Net Recovery and 2014 LP Partnership Related Claims Net Recovery as
                 further described in the Settlement Agreement and Claims Assignment and
                 Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, 2014 LP’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against 2014 LP by Payson Petroleum, Payson Operating, and/or
                 Maricopa.

                                                     V.
                                             RELIEF REQUESTED

        22.      The Payson Trustee and LP Trustee respectfully request that the Court approve the

proposed Settlement Agreement attached hereto as Exhibit A and grant them such other and further

relief to which they may be entitled.

                                                     VI.
                                              BASIS FOR RELIEF

        23.      Bankruptcy Courts are “empowered to approve a compromise settlement of a

debtor’s claim under Bankruptcy Rule 9019(a).” Official Comm. of Unsecured Creditors v. Cajun

Electric Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir.

1997). “Approval should only be given if the settlement is fair and equitable and in the best interest

of the estate.” Id. (internal quotes & cite omitted). “In deciding whether a settlement of litigation

is fair and equitable, a judge in bankruptcy must make a well-informed decision, ‘comparing the

terms of the compromise with the likely rewards of litigation.’” Id. at 356 (quoting Rivercity v.

Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)). Courts consider the




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following factors in determining whether a settlement is fair and equitable “(1) [t]he probability of

success in the litigation, with due consideration for the uncertainty in fact and law, (2) [t]he

complexity and likely duration of the litigation and any attendant expense, inconvenience and

delay, and (3) all other factors bearing on the wisdom of the compromise.” Id.

       24.      The factors support granting the Joint Motion to Compromise. First, the disputes

are hotly contested and would require lengthy and likely expensive litigation to resolve, and the

Settlement Agreement was reached after good-faith, contentious, and arms-length negotiations.

The Payson Trustee and LP Trustee desire to avoid lengthy litigation between the respective

bankruptcy estates so they can focus on enhancing the value of those estates for the benefit of

creditors. Litigation would be expensive and involve, inter alia, complex factual issues regarding

the value of the property transferred and solvency of the various bankruptcy estates. The

Settlement Agreement, on the other hand, allows the Payson Trustee to distribute hydrocarbon

proceeds currently held in suspense and initiate a sales process to monetize the Subject Wells for

the benefit of creditors of Maricopa and 2014 LP. Additionally, the Settlement Agreement (i)

reduces 2014 LP’s liability for failing to pay Payson Petroleum amounts owed under the Turnkey

Agreement by fifty percent (50%), (ii) provides an arrangement for coordinated prosecution of

avoidance actions and sharing in the proceeds of the same, and (iii) eliminates the potential that

the LP Trustee and Payson Trustee would pursue substantially similar claims against partners of

2014 LP in different proceedings and forums. In sum, the Payson Trustee and LP Trustee believe

the Settlement Agreement is in the best interests of their respective bankruptcy estates and should

be approved. See Affidavit of Jason R. Searcy, attached as Exhibit B and Affidavit of Christopher

J. Moser, attached as Exhibit C.

       25.      A proposed agreed order is attached hereto as Exhibit D.




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                                                     PRAYER

       WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 11 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estate of Payson Petroleum

3 Well 2014, L.P. respectfully request that the Court approve the Agreement and grant them such

other and further relief to which they may be justly entitled.




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Dated: ___, 2017                                       Respectfully submitted,

                                                       By:      /s/
                                                              Phil Snow
                                                              State Bar No. 18812600
                                                              Blake Hamm
                                                              State Bar No. 24069869
                                                              SNOW SPENCE GREEN LLP
                                                              2929 Allen Parkway, Suite 2800
                                                              Houston, Texas 77019
                                                              (713) 335-4800
                                                              (713) 335-4848 (Fax)

                                                              COUNSEL FOR JASON R. SEARCY,
                                                              CHAPTER 11 TRUSTEE FOR PAYSON
                                                              PETROLEUM, INC., PAYSON
                                                              OPERATING, LLC, AND MARICOPA
                                                              RESOURCES, LLC


                                                        By:     /s/
                                                              Keith W. Harvey
                                                              State Bar No. 09180100
                                                              THE HARVEY LAW FIRM, P.C.
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                                                              COUNSEL FOR CHRISTOPHER J.
                                                              MOSER, CHAPTER 7 TRUSTEE FOR
                                                              PAYSON PETROLEUM 3 WELL, L.P.
                                                              AND PAYSON PETROLEUM 3 WELL
                                                              2014, L.P.




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                                           CERTIFICATE OF SERVICE

         The undersigned certifies that on __, 2017, a true and correct copy of this document was
served (i) via the Court’s electronic case filing system upon the parties listed below or by email
listed below, (ii) via the Court’s electronic case filing system for Eastern District of Texas upon
all parties requesting electronic notice of all filings and (iii) via regular First Class Mail, properly
addressed and postage prepaid, upon all parties listed on the Master Service List attached hereto.


 Debtors Payson Petroleum, Inc., Payson Operating,                             Debtors Payson Petroleum 3 Well ,
 LLC, and Maricopa Resources, LLC                                              LP and Payson Petroleum 3 Well
 Mark A. Weisbart                                                              2014, LP
 12770 Coil Road, Suite 541                                                    1757 Harpsichord Way
 Dallas, TX 75251                                                              Henderson, NV 89012
 weisbartm@earthlink.net,
 TX56@ecfcbis.com;mweisbart@ecf.epiqsystems.com;
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 Dan Chern                                                                     Daniel P. Winikka
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 dbc@dchern.com


 US Trustee
 Office of the US Trustee
 110 N. College Ave, #300
 Tyler, TX 75702
 USTPRegion06.TY.ECF@USDOJ.GOV


                                                            /s/
                                                            Blake Hamm




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     EXHIBIT A TO SETTLEMENT MOTION

                  SETTLEMENT AGREEMENT

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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                            B
                                      SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM, INC.,                                     §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                     §
PAYSON OPERATING, LLC,                                      §              Case No. 16-41044
                                                            §
        DEBTORS.                                            §              Chapter 11


IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, L.P.,                              §              Case No. 17-40179
                                                            §              Chapter 7
        DEBTOR.                                             §


IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL 2014,                               §              Case No. 17-40180
L.P.,                                                       §              Chapter 7
                                                            §
        DEBTOR.                                             §

                         AFFIDAVIT OF JASON R. SEARCY
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                                §
                                              §
COUNTY OF GREGG                               §

       BEFORE ME, the undersigned authority, on this day personally appeared Jason R. Searcy,
known to be the person whose name is subscribed hereto, who, having been duly sworn, did depose
and on oath state:
        My name is Jason R. Searcy. I am an attorney duly licensed to practice law in the State of
Texas. I am admitted to practice in all courts in the State of Texas, the United States District Court
for the Eastern District of Texas, the United States Fifth Circuit Court of Appeals and the United
States Supreme Court. I am the Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa
Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-
41044 (“Payson Trustee”). As set forth in the Joint Motion to Approve Compromise and
Settlement Pursuant to Bankruptcy Rule 9019 and based on my best belief and information, the


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proposed settlement obtains for the estate the most effective recovery of greater value than that
which could be obtained by other liquidation measures.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Jason R. Searcy
                                                            Payson Trustee

         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS                                                     C
                                     SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
       DEBTORS.                                            §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
       DEBTOR.                                             §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
       DEBTOR.                                             §

                    AFFIDAVIT OF CHRISTOPHER J. MOSER
            IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
            AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF DALLAS                             §

       BEFORE ME, the undersigned authority, on this day personally appeared Christopher J.
Moser, known to be the person whose name is subscribed hereto, who, having been duly sworn,
did depose and on oath state:
        My name is Christopher J. Moser. I am an attorney duly licensed to practice law in the
State of Texas. I am admitted to practice in all courts in the State of Texas, the United States
District Court for the Eastern District of Texas and the United States Fifth Circuit of Appeals. I
am the Chapter 7 Trustee for Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179
and Payson Petroleum 3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (“LP Trustee”). As
set forth in the Joint Motion to Approve Compromise and Settlement Pursuant to Bankruptcy Rule
9019 (“Motion”) and based on my best belief and information, the proposed settlement obtains for


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the estate the most effective recovery of greater value than that which could be obtained by other
liquidation measures.

        It is my professional opinion that the settlement agreement reflected in the Motion is in the
best interest of the estate and comports with the settlement standards of Protective Comm. For
Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. Reh’g denied, 391
U.S. 909 (1968) and of River City vs. Herpel, (In re Jackson Brewing Co.), 624 F.2d 599, 602-603
(5th Cir. 1980). Accordingly, the settlement should be approved.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Christopher J. Moser
                                                            LP Trustee


         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                               UNITED STATES BANKRUPTCY COURT                                                          D
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM 3 WELL 2014, LP,                            §              Case No. 17-40180
                                                             §              Chapter 7
         DEBTOR.                                             §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                        [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. (“Debtor”)

in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the Settlement

Agreement; and the Court having found that it has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of the

United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 2014 LP Subject Claims Assignment and Participation Agreement attached as


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 2014 LP is hereby allowed

in the amount of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100 U.S.

Dollars ($2,671,900.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 2014 LP Avoidance Action Claims Net Recovery

and the 2014 LP Partnership Related Claims Net Recovery as those terms are defined in the 2014

LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims without further

order of this Court. Payson Petroleum is hereby appointed the representative of the 2014 LP

bankruptcy estate for purposes of prosecuting the 2014 LP Avoidance Action Claims and the 2014


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LP Partnership Related Claims pursuant to the 2014 LP Subject Claims Assignment and

Participation Agreement.

       11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of any parties’ entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

       12.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 2014 LP Partnership Related Claims or the 2014

LP Avoidance Action Claims that in its judgment would not be cost justified.

       13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

       14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC


AGREED TO IN FORM AND SUBSTANCE BY:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC


/s/
Keith W. Harvey
State Bar No. 09180100
THE HARVEY LAW FIRM, P.C.
6510 Abrams Road
Suite 280
Dallas, Texas 75231
(972) 243-3960 Phone
(972)-241-3970 Facsimile

COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE
FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.



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EXHIBIT 8 TO SETTLEMENT AGREEMENT

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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY
REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS
INSTRUMENT BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR
SOCIAL SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER.

              ASSIGNMENT, CONVEYANCE AND BILL OF SALE
STATE OF TEXAS      §
                    §
COUNTY OF GRAYSON   §

        KNOW ALL MEN BY THESE PRESENTS that the undersigned Payson Petroleum 3 Well 2014,
L.P., whose address is c/o Christopher J. Moser, Chapter 7 Trustee, Quilling, Selander, Lownds, Winslett
& Moser, P.C., 2001 Bryan Street, Ste. 1800, Dallas, TX 75201 (the “Assignor”), for and in consideration
of the sum of Ten Dollars ($10.00) and other good and valuable consideration, does hereby BARGAIN,
SELL, GRANT, ASSIGN and CONVEY unto Maricopa Resources, LLC, whose address is c/o Jason R.
Searcy, Chapter 11 Trustee, Searcy & Searcy, P.C., 446 Forest Square, Longview, Texas 75605 (the
“Assignee”), all of Assignor’s right, title and interest in and to the wells and wellbores described herein.

                                                   DEFINITIONS

        1.01    Defined Terms. The following terms, as used in this Assignment, shall have the meanings
indicated below, unless the context otherwise requires:

         “Crowe #2 Well” means the Crowe #2 (API #181-31543) and associated wellbore, with a surface
location situated at latitude 33° 49’ 10” – north, longitude 96° 41’ 55” – west, in Section 11, Block 1, 11,
15, 16, the South 79 acres of the Wood & Buckles Survey, Abstract 1373, Grayson County, Texas.

         “Elaine #1 Well” means the Elaine #1 (API #181-31547) and associated wellbore, with a surface
location situated at latitude 33° 44’ 55” – north, longitude 96° 41’ 02” – west, in Section 26, Block 1, 11,
15, 16, the East half of the J.C. Wade Survey, Abstract 1382, Grayson County, Texas.

        “Effective Date” means September ___, 2017.

        “Wells” means, collectively, the Crow #2 Well, the Elaine #1 Well and the Williams #1H Well.

        “Williams #1H Well” means the Williams #1H (API #181-31557) and associated wellbore, with a
surface location situated at latitude 33° 44’ 41” – north, longitude 96° 41’ 01” – west, in the east half of
Section 26, Block 1, 11, 15, 16, the JM Dodgin Survey, Abstract 378, Grayson County, Texas.

                                     ASSIGNMENT AND AGREEMENT

        For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells,
assigns, transfers, delivers, and conveys to Assignee the following, all of which are collectively called the
“Assets”.

         a.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006066, Book OR, Vol. 5779, Pg. 404, in the Crowe #2 Well.
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         b.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006065, Book OR, Vol. 5779, Pg. 397, in the Elaine #1 Well.

         c.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006064, Book OR, Vol. 5779, Pg. 389, in the William #1H Well.

       d.       All right, title and interest in and to the oil and gas leases described in Exhibits A-1, A-2
and A-3 to this Assignment, insofar and only insofar as the leases cover the Wells, (collectively, the
“Leases”), together with the leasehold rights as are necessary to operate, maintain, produce, and plug and
abandon the Wells.

        e.     All right, title and interest in all personal property and fixtures associated with the Wells,
including without limitation the following: all tubing, casing, and other equipment in the wellbores,
wellhead equipment, gathering lines and surface production facilities.

         f.      All files and records relating to the items described in Paragraphs (a) through (f) maintained
by Assignor and relating to the interests described in Paragraphs (a) through (f), but only to the extent not
subject to unaffiliated third party contractual restrictions on disclosure or transfer.

           To have and to hold the Assets unto Assignee, and Assignee’s heirs, successors and assigns,
forever.

           Assignee and Assignor further agree as follows:

        1.     Title. Assignor warrants title to the Assets from and against all persons claiming by,
through and under Assignor, but not otherwise.



         2.       Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and
demands arising out of the accounting and payment of proceeds of production from the Wells to royalty
owners and working interest owners, insofar as the same relate to or arise out of actions of Assignor or
events prior to the Effective Date and shall defend, indemnify and hold Assignee harmless from and against
all claims. Assignee shall be responsible for all types of claims insofar as they relate to periods of time
from and after the Effective Date of this Assignment and shall indemnify and hold Assignor harmless
therefrom.

         3.       Indemnification Claims. With respect to any claim for which an indemnifying party may
be required to provide partial or full indemnity, the party shall have the right, but not the obligation, to
participate fully in the defense of any claim. Reasonable attorneys’ fees, court costs, interest, penalties and
other expenses incurred in connection with the defense of claims shall be included in Assignee’s and
Assignor’s indemnities. All indemnities of Assignee shall extend to and cover the parent, subsidiary and
affiliated companies and the officers, directors, employees and agents of Assignor, and its subsidiary and
affiliated companies.




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        4.      No Third-Party Beneficiaries. The references in this Assignment to liens, encumbrances,
burdens, defects, and other matters shall not be deemed to ratify or create any rights in any third parties or
merge with, modify or limit the rights of Assignor or Assignee, as between themselves.

        5.      Successors and Assigns. This Assignment and all of the terms, provisions, covenants,
obligations and indemnities it contains shall be binding on and inure to the benefit of and be enforceable
by the Assignor, Assignee, and their respective successors and assigns.

        This Assignment is executed by Assignor and Assignee as of the date of acknowledgment of their
signatures below, but shall be deemed effective for all purposes as of the Effective Date stated above.

                                             [Signature Page Follows]




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        EXECUTED on this _______ day of __________________ 2017.

                                                        ASSIGNOR:

                                                        PAYSON PETROLEUM 3 WELL 2014, L.P.


                                                        By:
                                                                  Christopher J. Moser, Chapter 7 Trustee


                                                        ASSIGNEE:

                                                        MARICOPA RESOURCES, LLC


                                                        By:
                                                                  Jason R. Searcy, Chapter 11 Trustee

STATE OF TEXAS                       §
                                     §
COUNTY OF ____________               §

BEFORE ME, the undersigned authority, on this _______ day of _____________ 2017, personally
appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM 3 WELL, L.P., whose
name is subscribed to the foregoing instrument and acknowledged to me that he executed the same for the
purposes and consideration therein expressed.


                                                        ______________________________________
                                                        Notary Public in and for State of Texas
                                                        My Commission Expires:


STATE OF TEXAS                       §
                                     §
COUNTY OF GREGG                      §

BEFORE ME, the undersigned authority, on this _______ day of ______________ 2017, personally
appeared Jason R. Searcy, the Chapter 11 Trustee of MARICOPA RESOURCES, LLC, whose name is
subscribed to the foregoing instrument and acknowledged to me that he executed the same for the purposes
and consideration therein expressed.


                                                        ______________________________________
                                                        Notary Public in and for State of Texas
                                                        My Commission Expires:




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                                                  EXHIBIT A-1
                                                           to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The Crowe #2 Well (API #181-31543) and associated wellbore, with a surface location
      situated at latitude 33° 49’ 10” – north, longitude 96° 41’ 55” – west, in Section 11, Block
      1, 11, 15, 16, the South 79 acres of the Wood & Buckles Survey, Abstract 1373, Grayson
      County, Texas (from the surface of the earth down to the measured depth of 11,164’).

   2. All personal property and fixtures associated with the Crowe #2 Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                       Lessee                      Instrument           Volume Effective
                                                                       Filed                /Page    Date
 Grayson      Marilyn Teresa               RWJ Exploration,            Oil, Gas and         4724/434 6/12/2009
              Morrow                       LLC                         Mineral
                                                                       Lease
 Grayson      Samuel Louis Crow Atoka Operating,                       Oil, Gas and         4536/579 1/7/2008
                                Inc.                                   Mineral
                                                                       Lease
 Grayson      Linda Darnell Lott,          Atoka Operating,            Oil, Gas and         4536/566 4/3/2008
              acting as Agent and          Inc.                        Mineral
              Attorney-in-Fact                                         Lease
              for Frank L.
              Darnell, Sr.
 Grayson      Linda Darnell Lott,          Atoka Operating,            Oil, Gas and         4536/583 4/1/2008
              as Independent               Inc.                        Mineral
              Executrix of the                                         Lease
              Estate of Dorothy
              L. Darnell
 Grayson      Allen M. Tonkin,             Texas Land &                Oil, Gas and 4956/294 5/1/2011
              Jr., Revocable Trust         Petroleum                   Mineral
                                           Company, LLC                Lease
 Grayson      Nancy P. Tonkin              Texas Land &                Memorandum 4956/287 5/1/2011
              Revocable Trust              Petroleum                   of Oil and
                                           Company, LLC                Gas Lease
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 County           Lessor                        Lessee                        Instrument            Volume Effective
                                                                              Filed                 /Page    Date
 Grayson          Nancy T. Cutter               Texas Land &                  Memorandum            4956/291 5/1/2011
                  Revocable Trust               Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease
 Grayson          Linley T. Solari              Texas Land &                  Memorandum            4956/284 5/1/2011
                  Revocable Trust               Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease
 Grayson          Solari Luz, LLC               Texas Land &                  Ratification          5043/663 5/1/2011
                                                Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease




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                                                  EXHIBIT A-2
                                                           to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The Elaine #1 Well (API #181-31547) and associated wellbore, with a surface location
      situated at latitude 33° 44’ 55” – north, longitude 96° 41’ 02” – west, in Section 26, Block
      1, 11, 15, 16, the East half of the J.C. Wade Survey, Abstract 1382, Grayson County, Texas.

   2. All personal property and fixtures associated with the Elaine #1Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                                Lessee                           Volume           Effective
                                                                                     /Page            Date
 Grayson      Linda Buechner Byrne                  TLPC Holdings, Ltd.              5411/536         11/18/2013
 Grayson      Steven Buechner                       TLPC Holdings, Ltd.              5411/532         11/18/2013
 Grayson      C. Suzanne Buechner,                  TLPC Holdings, Ltd.              5411/540         11/18/2013
              Individually and as
              Executor of Estate of
              Barry L. Buechner,
              Deceased
 Grayson      Kennedy & Minshew, PC                 TLPC Holdings, Ltd.              5049/747         11/10/2011
 Grayson      Kenneth Dolezalek                     TLPC Holdings, Ltd.              5061/139         9/30/2011
 Grayson      Louie A. Hattensy, Jr.                TLPC Holdings, Ltd.              5057/937         11/10/2011
 Grayson      Bessie M. Dolezalek                   TLPC Holdings, Ltd.              5031/870         9/30/2011
 Grayson      Barbara B. Vogelsang                  TLPC Holdings, Ltd.              5031/846         9/30/2011
 Grayson      Burgess E. Buchanan, Jr.              TLPC Holdings, Ltd.              5031/854         9/30/2011
 Grayson      John Yates Buchanan                   TLPC Holdings, Ltd.              5031/862         9/30/2011
 Grayson      Susan R. Greene                       TLPC Holdings, Ltd.              5031/398         8/18/2011
 Grayson      Hugh Ringgold                         TLPC Holdings, Ltd.              5031/390         8/18/2011
 Grayson      Kathryn Michelle Looney               TLPC Holdings, Ltd.              5034/673         9/30/2011
 Grayson      Anita Anderson, Power of              TLPC Holdings, Ltd.              5034/665         9/30/2011
              Attorney for Gary Michael
              Looney
 Grayson      Charles Evans                         TLPC Holdings, Ltd.              5036/856         9/30/2011
 Grayson      John F. Evans                         TLPC Holdings, Ltd.              5031/406         9/30/2011
 Grayson      Robert Yates Evans Jr.                TLPC Holdings, Ltd.              5031/414         9/30/2011
 Grayson      SH Productions, Inc.                  Maricopa Resources,              5464/919         2/24/2014
                                                    LLC
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 County           Lessor                                 Lessee                              Volume            Effective
                                                                                             /Page             Date
 Grayson          Kathy Reed                             Maricopa Resources,                 5464/927          2/24/2014
                                                         LLC
 Grayson          Kirk E Reed                            Maricopa Resources,                 5464/931          2/24/2014
                                                         LLC
 Grayson          Southstar Energy Corp                  Maricopa Resources,                 5464/915          2/24/2014
                                                         LLC
 Grayson          Washita Mineral Co                     Maricopa Resources,                 5464/923          2/24/2014
                                                         LLC
 Grayson          Carin Isabel Knoop                     Maricopa Resources,                 5464/910          4/7/2014
                                                         LLC
 Grayson          Preston 150 Joint Venture              Maricopa Resources,                 5521/166          3/24/2014
                                                         LLC




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                                                  EXHIBIT A-3
                                                           to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The William #1H Well (API #181-31557) and associated wellbore, with a surface location
      situated at latitude 33° 44’ 41” – north, longitude 96° 41’ 01” – west, in the east half of the
      Section 26, Block 1, 11, 15, 16, JM Dodgin Survey, Abstract 378, Grayson County, Texas.

   2. All personal property and fixtures associated with the William #1H Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                               Lessee                           Volume               Effective
                                                                                    /Page                Date
 Grayson      Linda Buechner Byrne                 TLPC Holdings, Ltd.              5411/536             11/18/2013
 Grayson      Steven Buechner                      TLPC Holdings, Ltd.              5411/532             11/18/2013
 Grayson      C. Suzanne Buechner,                 TLPC Holdings, Ltd.              5411/540             11/18/2013
              Individually and as
              Executor of Estate of
              Barry L. Buechner
 Grayson      Kennedy & Minshew, PC                TLPC Holdings, Ltd.              5049/747             11/10/2011
 Grayson      Kenneth Dolezalek                    TLPC Holdings, Ltd.              5061/139             9/30/2011
 Grayson      Louie A. Hattensy, Jr.               TLPC Holdings, Ltd.              5057/937             11/10/2011
 Grayson      Bessie M. Dolezalek                  TLPC Holdings, Ltd.              5031/870             9/30/2011
 Grayson      Barbara B. Vogelsang                 TLPC Holdings, Ltd.              5031/846             9/30/2011
 Grayson      Burgess E. Buchanan, Jr.             TLPC Holdings, Ltd.              5031/854             9/30/2011
 Grayson      John Yates Buchanan                  TLPC Holdings, Ltd.              5031/862             9/30/2011
 Grayson      Susan R. Greene                      TLPC Holdings, Ltd.              5031/398             8/18/2011
 Grayson      Hugh Ringgold                        TLPC Holdings, Ltd.              5031/390             8/18/2011
 Grayson      Kathryn Michelle Looney              TLPC Holdings, Ltd.              5034/673             9/30/2011
 Grayson      Anita Anderson, Power of             TLPC Holdings, Ltd.              5034/665             9/30/2011
              Attorney for Gary
              Michael Looney
 Grayson      Charles Evans                        TLPC Holdings, Ltd.              5036/856             9/30/2011
 Grayson      John F. Evans                        TLPC Holdings, Ltd.              5031/406             9/30/2011
 Grayson      Robert Yates Evans Jr.               TLPC Holdings, Ltd.              5031/414             9/30/2011
 Grayson      SH Productions, Inc.                 Maricopa Resources,              5464/919             2/24/2014
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County      Lessor                               Lessee                           Volume               Effective
                                                                                  /Page                Date
Grayson     Kathy Reed                           Maricopa Resources,              5464/927             2/24/2014
                                                 LLC
Grayson     Kirk E Reed                          Maricopa Resources,              5464/931             2/24/2014
                                                 LLC
Grayson     Southstar Energy Corp                Maricopa Resources,              5464/915             2/24/2014
                                                 LLC
Grayson     Washita Mineral Co                   Maricopa Resources,              5464/923             2/24/2014
                                                 LLC
Grayson     Endeavor Energy                      OKT Resources, LLC               4981/402             2/1/2011
            Resources, L.P.
Grayson     Thomas W. Lett,                      OKT Resources, LLC               4418/520             2/1/2008
            Individually and as
            Trustee of the Sam Lett
            Testamentary Trust
Grayson     Castello Enterprises, Inc.           OKT Resources, LLC               4980/156             2/1/2011
Grayson     Wilbur Lee Dean III                  Matthew Avery                    4296/513             4/18/2007
Grayson     Joseph Glen Dean                     Matthew Avery                    4296/506             4/18/2007
Grayson     Paula Marie Dean                     Matthew Avery                    4980/140             4/18/2007
            Halbach, aka Paula Marie
            Dean
Grayson     Landon Boyd Odle                     Matthew Avery                    4760/92              1/31/2007
Grayson     Douglas Kent Odle                    Matthew Avery                    4760/88              3/6/2007
Grayson     Gary Wayne Odle                      Matthew Avery                    4296/493             5/10/2007
Grayson     LaJuan Odle                          Matthew Avery                    4760/92              1/30/2007
Grayson     Pottsboro Church of                  Matthew Avery                    4983/321             4/10/2011
            Christ
Grayson     Vurlas Land Wilson, a/ka             Matthew Avery                    4296/469             4/27/2007
            Verlas Lane Wilson and
            Margorie Marie Wilson
Grayson     John Robert Hooper                   Paradise Springs, LLC            4993/305             2/12/2011
Grayson     Berdine Eberhart and                 Matthew Avery                    4296/441             4/27/2007
            Tom Eberhart
Grayson     Terry Lee Garofalo                   Matthew Avery                    4980/144             1/2/2011
Grayson     Ann W. Tracy, Trustee                Matthew Avery                    4296/457             6/27/2007
            under the Ann W. Tracy
            Revocable Trust dated
            January 8, 1991
Grayson     Ilva Wilson, Ind and as              Matthew Avery                    4297/46              6/27/2007
            Trustee of the JamesM.
            Wilson Jr and Ilva Wilson
            Family Trust
Grayson     Bobby C Wilson                       Matthew Avery                    4296/461             6/27/2007
Grayson     Peggy Ann Gehrig                     Matthew Avery                    4296/449             6/27/2007
Grayson     Thomas J. Wilson                     Matthew Avery                    4296/466             6/27/2007
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 County           Lessor                                 Lessee                             Volume                Effective
                                                                                            /Page                 Date
 Grayson          Lee Marjorie Hooper                    Matthew Avery                      4296/454              4/27/2007
 Grayson          Berdine Eberhart and                   Matthew Avery                      4296/441              4/27/2007
                  Tom Eberhart
 Grayson          Terry Lee Garofalo                     Matthew Avery                      4296/445              4/27/2007
 Grayson          Anadarko E&P Onshore,                  Paradise Springs, LLC              5355/704              8/28/2013
                  LLC
 Grayson          Wel-Mar Investments                    Paradise Springs, LLC              5274/698              3/15/2013
 Grayson          PCP Trust, Phillip C.                  Paradise Springs, LLC              5274/701              3/15/2013
                  Brown, Trustee and
                  Philip Charles Brown
 Grayson          Norman D. O’Neal                       Paradise Springs, LLC              5367/400              9/10/2013
 Grayson          Norman D. O’Neal                       Paradise Springs, LLC              5002/826              8/21/2011
 Grayson          Wel-Mar Investments                    Paradise Springs, LLC              5002/830              8/21/2011
 Grayson          Philip C. Brown, aka                   Paradise Springs, LLC              5002/834;838          8/21/2011
                  Philip Charles Brown;
                  PCB Trust




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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY
REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS
INSTRUMENT BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR
SOCIAL SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER.

              ASSIGNMENT, CONVEYANCE AND BILL OF SALE
STATE OF TEXAS      §
                    §
COUNTY OF GRAYSON   §

         KNOW ALL MEN BY THESE PRESENTS that the undersigned Payson Petroleum 3 Well, L.P.,
whose address is c/o Christopher J. Moser, Chapter 7 Trustee, Quilling, Selander, Lownds, Winslett &
Moser, P.C., 2001 Bryan Street, Ste. 1800, Dallas, TX 75201 (the “Assignor”), for and in consideration of
the sum of Ten Dollars ($10.00) and other good and valuable consideration, does hereby BARGAIN, SELL,
GRANT, ASSIGN and CONVEY unto Maricopa Resources, LLC, whose address is c/o Jason R. Searcy,
Chapter 11 Trustee, Searcy & Searcy, P.C., 446 Forest Square, Longview, Texas 75605 (the “Assignee”),
all of Assignor’s right, title and interest in and to the wells and wellbores described herein.

                                                   DEFINITIONS

        1.01    Defined Terms. The following terms, as used in this Assignment, shall have the meanings
indicated below, unless the context otherwise requires:

         “Crowe #2 Well” means the Crowe #2 (API #181-31543) and associated wellbore, with a surface
location situated at latitude 33° 49’ 10” – north, longitude 96° 41’ 55” – west, in Section 11, Block 1, 11,
15, 16, the South 79 acres of the Wood & Buckles Survey, Abstract 1373, Grayson County, Texas.

         “Elaine #1 Well” means the Elaine #1 (API #181-31547) and associated wellbore, with a surface
location situated at latitude 33° 44’ 55” – north, longitude 96° 41’ 02” – west, in Section 26, Block 1, 11,
15, 16, the East half of the J.C. Wade Survey, Abstract 1382, Grayson County, Texas.

        “Effective Date” means September ___, 2017.

        “Wells” means, collectively, the Crow #2 Well, the Elaine #1 Well and the Williams #1H Well.

        “Williams #1H Well” means the Williams #1H (API #181-31557) and associated wellbore, with a
surface location situated at latitude 33° 44’ 41” – north, longitude 96° 41’ 01” – west, in the east half of
Section 26, Block 1, 11, 15, 16, the JM Dodgin Survey, Abstract 378, Grayson County, Texas.

                                     ASSIGNMENT AND AGREEMENT

        For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells,
assigns, transfers, delivers, and conveys to Assignee the following, all of which are collectively called the
“Assets”.

         a.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006066, Book OR, Vol. 5779, Pg. 404, in the Crowe #2 Well.
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         b.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006065, Book OR, Vol. 5779, Pg. 397, in the Elaine #1 Well.

         c.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006064, Book OR, Vol. 5779, Pg. 389, in the William #1H Well.

       d.       All right, title and interest in and to the oil and gas leases described in Exhibits A-1, A-2
and A-3 to this Assignment, insofar and only insofar as the leases cover the Wells, (collectively, the
“Leases”), together with the leasehold rights as are necessary to operate, maintain, produce, and plug and
abandon the Wells.

        e.     All right, title and interest in all personal property and fixtures associated with the Wells,
including without limitation the following: all tubing, casing, and other equipment in the wellbores,
wellhead equipment, gathering lines and surface production facilities.

         f.      All files and records relating to the items described in Paragraphs (a) through (f) maintained
by Assignor and relating to the interests described in Paragraphs (a) through (f), but only to the extent not
subject to unaffiliated third party contractual restrictions on disclosure or transfer.

           To have and to hold the Assets unto Assignee, and Assignee’s heirs, successors and assigns,
forever.

           Assignee and Assignor further agree as follows:

        1.     Title. Assignor warrants title to the Assets from and against all persons claiming by,
through and under Assignor, but not otherwise.



         2.       Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and
demands arising out of the accounting and payment of proceeds of production from the Wells to royalty
owners and working interest owners, insofar as the same relate to or arise out of actions of Assignor or
events prior to the Effective Date and shall defend, indemnify and hold Assignee harmless from and against
all claims. Assignee shall be responsible for all types of claims insofar as they relate to periods of time
from and after the Effective Date of this Assignment and shall indemnify and hold Assignor harmless
therefrom.

         3.       Indemnification Claims. With respect to any claim for which an indemnifying party may
be required to provide partial or full indemnity, the party shall have the right, but not the obligation, to
participate fully in the defense of any claim. Reasonable attorneys’ fees, court costs, interest, penalties and
other expenses incurred in connection with the defense of claims shall be included in Assignee’s and
Assignor’s indemnities. All indemnities of Assignee shall extend to and cover the parent, subsidiary and
affiliated companies and the officers, directors, employees and agents of Assignor, and its subsidiary and
affiliated companies.




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        4.      No Third-Party Beneficiaries. The references in this Assignment to liens, encumbrances,
burdens, defects, and other matters shall not be deemed to ratify or create any rights in any third parties or
merge with, modify or limit the rights of Assignor or Assignee, as between themselves.

        5.      Successors and Assigns. This Assignment and all of the terms, provisions, covenants,
obligations and indemnities it contains shall be binding on and inure to the benefit of and be enforceable
by the Assignor, Assignee, and their respective successors and assigns.

        This Assignment is executed by Assignor and Assignee as of the date of acknowledgment of their
signatures below, but shall be deemed effective for all purposes as of the Effective Date stated above.

                                             [Signature Page Follows]




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          EXECUTED on this _______ day of __________________ 2017.

                                                            ASSIGNOR:

                                                            PAYSON PETROLEUM 3 WELL, L.P.


                                                            By:
                                                                       Christopher J. Moser, Chapter 7 Trustee


                                                            ASSIGNEE:

                                                            MARICOPA RESOURCES, LLC


                                                            By:
                                                                       Jason R. Searcy, Chapter 11 Trustee

STATE OF TEXAS                          §
                                        §
COUNTY OF ____________                  §

BEFORE ME, the undersigned authority, on this _______ day of _____________ 2017, personally
appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM 3 WELL, L.P., whose
name is subscribed to the foregoing instrument and acknowledged to me that he executed the same for the
purposes and consideration therein expressed.


                                                            ______________________________________
                                                            Notary Public in and for State of Texas
                                                            My Commission Expires:


STATE OF TEXAS                          §
                                        §
COUNTY OF GREGG                         §

BEFORE ME, the undersigned authority, on this _______ day of ______________ 2017, personally
appeared Jason R. Searcy, the Chapter 11 Trustee of MARICOPA RESOURCES, LLC, whose name is
subscribed to the foregoing instrument and acknowledged to me that he executed the same for the purposes
and consideration therein expressed.


                                                            ______________________________________
                                                            Notary Public in and for State of Texas
                                                            My Commission Expires:


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                                                  EXHIBIT A-1
                                                           to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The Crowe #2 Well (API #181-31543) and associated wellbore, with a surface location
      situated at latitude 33° 49’ 10” – north, longitude 96° 41’ 55” – west, in Section 11, Block
      1, 11, 15, 16, the South 79 acres of the Wood & Buckles Survey, Abstract 1373, Grayson
      County, Texas (from the surface of the earth down to the measured depth of 11,164’).

   2. All personal property and fixtures associated with the Crowe #2 Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                       Lessee                      Instrument           Volume Effective
                                                                       Filed                /Page    Date
 Grayson      Marilyn Teresa               RWJ Exploration,            Oil, Gas and         4724/434 6/12/2009
              Morrow                       LLC                         Mineral
                                                                       Lease
 Grayson      Samuel Louis Crow Atoka Operating,                       Oil, Gas and         4536/579 1/7/2008
                                Inc.                                   Mineral
                                                                       Lease
 Grayson      Linda Darnell Lott,          Atoka Operating,            Oil, Gas and         4536/566 4/3/2008
              acting as Agent and          Inc.                        Mineral
              Attorney-in-Fact                                         Lease
              for Frank L.
              Darnell, Sr.
 Grayson      Linda Darnell Lott,          Atoka Operating,            Oil, Gas and         4536/583 4/1/2008
              as Independent               Inc.                        Mineral
              Executrix of the                                         Lease
              Estate of Dorothy
              L. Darnell
 Grayson      Allen M. Tonkin,             Texas Land &                Oil, Gas and 4956/294 5/1/2011
              Jr., Revocable Trust         Petroleum                   Mineral
                                           Company, LLC                Lease
 Grayson      Nancy P. Tonkin              Texas Land &                Memorandum 4956/287 5/1/2011
              Revocable Trust              Petroleum                   of Oil and
                                           Company, LLC                Gas Lease
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 County           Lessor                        Lessee                        Instrument            Volume Effective
                                                                              Filed                 /Page    Date
 Grayson          Nancy T. Cutter               Texas Land &                  Memorandum            4956/291 5/1/2011
                  Revocable Trust               Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease
 Grayson          Linley T. Solari              Texas Land &                  Memorandum            4956/284 5/1/2011
                  Revocable Trust               Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease
 Grayson          Solari Luz, LLC               Texas Land &                  Ratification          5043/663 5/1/2011
                                                Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease




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                                                  EXHIBIT A-2
                                                           to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The Elaine #1 Well (API #181-31547) and associated wellbore, with a surface location
      situated at latitude 33° 44’ 55” – north, longitude 96° 41’ 02” – west, in Section 26, Block
      1, 11, 15, 16, the East half of the J.C. Wade Survey, Abstract 1382, Grayson County, Texas.

   2. All personal property and fixtures associated with the Elaine #1Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                                Lessee                           Volume           Effective
                                                                                     /Page            Date
 Grayson      Linda Buechner Byrne                  TLPC Holdings, Ltd.              5411/536         11/18/2013
 Grayson      Steven Buechner                       TLPC Holdings, Ltd.              5411/532         11/18/2013
 Grayson      C. Suzanne Buechner,                  TLPC Holdings, Ltd.              5411/540         11/18/2013
              Individually and as
              Executor of Estate of
              Barry L. Buechner,
              Deceased
 Grayson      Kennedy & Minshew, PC                 TLPC Holdings, Ltd.              5049/747         11/10/2011
 Grayson      Kenneth Dolezalek                     TLPC Holdings, Ltd.              5061/139         9/30/2011
 Grayson      Louie A. Hattensy, Jr.                TLPC Holdings, Ltd.              5057/937         11/10/2011
 Grayson      Bessie M. Dolezalek                   TLPC Holdings, Ltd.              5031/870         9/30/2011
 Grayson      Barbara B. Vogelsang                  TLPC Holdings, Ltd.              5031/846         9/30/2011
 Grayson      Burgess E. Buchanan, Jr.              TLPC Holdings, Ltd.              5031/854         9/30/2011
 Grayson      John Yates Buchanan                   TLPC Holdings, Ltd.              5031/862         9/30/2011
 Grayson      Susan R. Greene                       TLPC Holdings, Ltd.              5031/398         8/18/2011
 Grayson      Hugh Ringgold                         TLPC Holdings, Ltd.              5031/390         8/18/2011
 Grayson      Kathryn Michelle Looney               TLPC Holdings, Ltd.              5034/673         9/30/2011
 Grayson      Anita Anderson, Power of              TLPC Holdings, Ltd.              5034/665         9/30/2011
              Attorney for Gary Michael
              Looney
 Grayson      Charles Evans                         TLPC Holdings, Ltd.              5036/856         9/30/2011
 Grayson      John F. Evans                         TLPC Holdings, Ltd.              5031/406         9/30/2011
 Grayson      Robert Yates Evans Jr.                TLPC Holdings, Ltd.              5031/414         9/30/2011
 Grayson      SH Productions, Inc.                  Maricopa Resources,              5464/919         2/24/2014
                                                    LLC
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 County           Lessor                                 Lessee                              Volume            Effective
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 Grayson          Kathy Reed                             Maricopa Resources,                 5464/927          2/24/2014
                                                         LLC
 Grayson          Kirk E Reed                            Maricopa Resources,                 5464/931          2/24/2014
                                                         LLC
 Grayson          Southstar Energy Corp                  Maricopa Resources,                 5464/915          2/24/2014
                                                         LLC
 Grayson          Washita Mineral Co                     Maricopa Resources,                 5464/923          2/24/2014
                                                         LLC
 Grayson          Carin Isabel Knoop                     Maricopa Resources,                 5464/910          4/7/2014
                                                         LLC
 Grayson          Preston 150 Joint Venture              Maricopa Resources,                 5521/166          3/24/2014
                                                         LLC




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                                                  EXHIBIT A-3
                                                           to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The William #1H Well (API #181-31557) and associated wellbore, with a surface location
      situated at latitude 33° 44’ 41” – north, longitude 96° 41’ 01” – west, in the east half of the
      Section 26, Block 1, 11, 15, 16, JM Dodgin Survey, Abstract 378, Grayson County, Texas.

   2. All personal property and fixtures associated with the William #1H Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                               Lessee                           Volume               Effective
                                                                                    /Page                Date
 Grayson      Linda Buechner Byrne                 TLPC Holdings, Ltd.              5411/536             11/18/2013
 Grayson      Steven Buechner                      TLPC Holdings, Ltd.              5411/532             11/18/2013
 Grayson      C. Suzanne Buechner,                 TLPC Holdings, Ltd.              5411/540             11/18/2013
              Individually and as
              Executor of Estate of
              Barry L. Buechner
 Grayson      Kennedy & Minshew, PC                TLPC Holdings, Ltd.              5049/747             11/10/2011
 Grayson      Kenneth Dolezalek                    TLPC Holdings, Ltd.              5061/139             9/30/2011
 Grayson      Louie A. Hattensy, Jr.               TLPC Holdings, Ltd.              5057/937             11/10/2011
 Grayson      Bessie M. Dolezalek                  TLPC Holdings, Ltd.              5031/870             9/30/2011
 Grayson      Barbara B. Vogelsang                 TLPC Holdings, Ltd.              5031/846             9/30/2011
 Grayson      Burgess E. Buchanan, Jr.             TLPC Holdings, Ltd.              5031/854             9/30/2011
 Grayson      John Yates Buchanan                  TLPC Holdings, Ltd.              5031/862             9/30/2011
 Grayson      Susan R. Greene                      TLPC Holdings, Ltd.              5031/398             8/18/2011
 Grayson      Hugh Ringgold                        TLPC Holdings, Ltd.              5031/390             8/18/2011
 Grayson      Kathryn Michelle Looney              TLPC Holdings, Ltd.              5034/673             9/30/2011
 Grayson      Anita Anderson, Power of             TLPC Holdings, Ltd.              5034/665             9/30/2011
              Attorney for Gary
              Michael Looney
 Grayson      Charles Evans                        TLPC Holdings, Ltd.              5036/856             9/30/2011
 Grayson      John F. Evans                        TLPC Holdings, Ltd.              5031/406             9/30/2011
 Grayson      Robert Yates Evans Jr.               TLPC Holdings, Ltd.              5031/414             9/30/2011
 Grayson      SH Productions, Inc.                 Maricopa Resources,              5464/919             2/24/2014
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County      Lessor                               Lessee                           Volume               Effective
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Grayson     Kathy Reed                           Maricopa Resources,              5464/927             2/24/2014
                                                 LLC
Grayson     Kirk E Reed                          Maricopa Resources,              5464/931             2/24/2014
                                                 LLC
Grayson     Southstar Energy Corp                Maricopa Resources,              5464/915             2/24/2014
                                                 LLC
Grayson     Washita Mineral Co                   Maricopa Resources,              5464/923             2/24/2014
                                                 LLC
Grayson     Endeavor Energy                      OKT Resources, LLC               4981/402             2/1/2011
            Resources, L.P.
Grayson     Thomas W. Lett,                      OKT Resources, LLC               4418/520             2/1/2008
            Individually and as
            Trustee of the Sam Lett
            Testamentary Trust
Grayson     Castello Enterprises, Inc.           OKT Resources, LLC               4980/156             2/1/2011
Grayson     Wilbur Lee Dean III                  Matthew Avery                    4296/513             4/18/2007
Grayson     Joseph Glen Dean                     Matthew Avery                    4296/506             4/18/2007
Grayson     Paula Marie Dean                     Matthew Avery                    4980/140             4/18/2007
            Halbach, aka Paula Marie
            Dean
Grayson     Landon Boyd Odle                     Matthew Avery                    4760/92              1/31/2007
Grayson     Douglas Kent Odle                    Matthew Avery                    4760/88              3/6/2007
Grayson     Gary Wayne Odle                      Matthew Avery                    4296/493             5/10/2007
Grayson     LaJuan Odle                          Matthew Avery                    4760/92              1/30/2007
Grayson     Pottsboro Church of                  Matthew Avery                    4983/321             4/10/2011
            Christ
Grayson     Vurlas Land Wilson, a/ka             Matthew Avery                    4296/469             4/27/2007
            Verlas Lane Wilson and
            Margorie Marie Wilson
Grayson     John Robert Hooper                   Paradise Springs, LLC            4993/305             2/12/2011
Grayson     Berdine Eberhart and                 Matthew Avery                    4296/441             4/27/2007
            Tom Eberhart
Grayson     Terry Lee Garofalo                   Matthew Avery                    4980/144             1/2/2011
Grayson     Ann W. Tracy, Trustee                Matthew Avery                    4296/457             6/27/2007
            under the Ann W. Tracy
            Revocable Trust dated
            January 8, 1991
Grayson     Ilva Wilson, Ind and as              Matthew Avery                    4297/46              6/27/2007
            Trustee of the JamesM.
            Wilson Jr and Ilva Wilson
            Family Trust
Grayson     Bobby C Wilson                       Matthew Avery                    4296/461             6/27/2007
Grayson     Peggy Ann Gehrig                     Matthew Avery                    4296/449             6/27/2007
Grayson     Thomas J. Wilson                     Matthew Avery                    4296/466             6/27/2007
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 Grayson          Lee Marjorie Hooper                    Matthew Avery                      4296/454              4/27/2007
 Grayson          Berdine Eberhart and                   Matthew Avery                      4296/441              4/27/2007
                  Tom Eberhart
 Grayson          Terry Lee Garofalo                     Matthew Avery                      4296/445              4/27/2007
 Grayson          Anadarko E&P Onshore,                  Paradise Springs, LLC              5355/704              8/28/2013
                  LLC
 Grayson          Wel-Mar Investments                    Paradise Springs, LLC              5274/698              3/15/2013
 Grayson          PCP Trust, Phillip C.                  Paradise Springs, LLC              5274/701              3/15/2013
                  Brown, Trustee and
                  Philip Charles Brown
 Grayson          Norman D. O’Neal                       Paradise Springs, LLC              5367/400              9/10/2013
 Grayson          Norman D. O’Neal                       Paradise Springs, LLC              5002/826              8/21/2011
 Grayson          Wel-Mar Investments                    Paradise Springs, LLC              5002/830              8/21/2011
 Grayson          Philip C. Brown, aka                   Paradise Springs, LLC              5002/834;838          8/21/2011
                  Philip Charles Brown;
                  PCB Trust




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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM, INC.,                                      §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                      §
PAYSON OPERATING, LLC,                                       §              Case No. 16-41044
                                                             §
          DEBTORS.                                           §              Chapter 11


    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                        [Relates to Docket No. __]

          Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 ( the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC (“Debtors”) in jointly

administered Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for

Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well

2014, L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that notice of the Motion and


1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

        ORDERED, ADJUDGED, AND DECREED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtors, their

bankruptcy estates and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

        3.       Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and all parties in interest.

        4.       Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

executed by 3 Well LP and the Subject Wells Assignment executed by 2014 LP, shall be property

of the Maricopa Resources, LLC bankruptcy estate.

        5.       The 3 Well LP Subject Claims Assignment and Participation Agreement attached


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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding

on the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       The 2014 LP Subject Claims Assignment and Participation Agreement attached as

an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        7.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        8.       A general unsecured claim of 3 Well LP against Maricopa Resources, LLC is

hereby allowed in an amount equal to 27.7891% of the Subject Net Well Proceeds, as that term is

defined in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        9.       A general unsecured claim of 2014 LP against Maricopa Resources, LLC is hereby

allowed in an amount equal to 72.21084% of the Subject Net Well Proceeds, as that term is defined

in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        10.      The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are


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released.

        11.      Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the following: (i) the 3 Well LP Avoidance Action

Claims Net Recovery and the 3 Well LP Partnership Related Claims Net Recovery (as those terms

are defined in the 3 Well LP Subject Claims Assignment and Participation Agreement), and (ii)

the 2014 LP Avoidance Action Claims Net Recovery and the 2014 LP Partnership Related Claims

Net Recovery (as those terms are defined in the 2014 LP Subject Claims Assignment and

Participation Agreement).

        12.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the (i) 3 Well LP Avoidance Action Claims, (ii) 3 Well LP Partnership Related Claims, (iii) 2014

LP Avoidance Action Claims, and (iv) 2014 LP Partnership Related Claims, without further order

of this Court.

        13.      Payson Petroleum is hereby appointed (i) the representative of the 3 Well LP

bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the 3

Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement, and (ii) the representative of the 2014 LP bankruptcy estate for purposes

of prosecuting the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims

pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement.

        14.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and


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Participation Agreement or this Order.

        15.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum has the exclusive authority to file suit, prosecute and settle the

3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the Payson/3

Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any litigation

or take any action with respect to the 3 Well LP Partnership Related Claims, the 3 Well LP

Avoidance Action Claims or the Payson/3 Well LP Partnership Related Claims that in its judgment

would not be cost justified.

        16.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of either parties entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

        17.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or take any action with respect to the 2014 LP Partnership Related Claims, the 2014 LP

Avoidance Action Claims or the Payson/2014 LP Partnership Related Claims that in its judgment

would not be cost justified.

        18.      The Debtors and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance


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with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        19.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




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AND MARICOPA RESOURCES, LLC


AGREED TO IN FORM AND SUBSTANCE BY:


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FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.




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                            UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION
                                                                                                                 2
IN RE:                                                   §
                                                         §
PAYSON PETROLEUM 3 WELL, L.P.,                           §              Case No. 17-40179
                                                         §
       DEBTOR.                                           §              Chapter 7


  JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT PURSUANT
                     TO BANKRUPTCY RULE 9019


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
       BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
       HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
       RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 (the “LP Trustee”) to file their Joint Motion to

Approve Compromise and Settlement Pursuant to Bankruptcy Rule 9019 (the “Joint Motion to

Compromise”), and in support thereof, respectfully show unto the Court the following:




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                                                  I.
                                          PROCEDURAL STATUS

        1.       Payson Debtor Bankruptcy Filings. On June 10, 2016, Payson Petroleum, Inc.

(“Payson Petroleum”), Payson Operating, LLC (“Payson Operating”), and Maricopa Resources,

LLC (“Maricopa”) filed voluntary petitions under Chapter 7 of the United States Bankruptcy Code

(the “Bankruptcy Code”) in this Bankruptcy Court. 1 See Docket No. 1 in Bankruptcy Case Nos.

16-41043, 16-40144, and 16-40145. On July 12, 2016, the Bankruptcy Court entered orders

converting the Payson Debtors’ bankruptcy cases to cases under Chapter 11 of the Bankruptcy

Code. See Docket No. 39 in Case No. 16-41043, Docket No. 33 in Case No. 16-40144, and Docket

No. 41 in Case No. 16-40145. On July 18, 2016, the Bankruptcy Court entered orders approving

the United States Trustee’s applications to appoint the Payson Trustee as the Chapter 11 Trustee

in the Payson Debtors’ bankruptcy cases. See Docket No. 55 in Case No. 16-41043, Docket No.

50 in Case No. 16-40144, and Docket No. 57 in Case No. 16-41045. On August 11, 2016, the

Bankruptcy Court ordered the joint administration of the Payson Debtors’ bankruptcy cases under

Case No. 16-41044. See Docket No. 75 in Case No. 16-41043, Docket No. 73 in Case No. 16-

41044, and Docket No. 81 in Case No. 16-41045.

        2.       Adversary Proceeding.           On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 in

Adversary Proceeding No. 16-04106 (the “Adversary Proceeding”) against Payson Petroleum 3

Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”).

        3.       LP Debtor Bankruptcy Filings. On January 31, 2017, 3 Well LP and 2014 LP

(collectively, the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.

See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. LP Trustee was


1
    Collectively, Payson Petroleum, Payson Operating, and Maricopa are the “Payson Debtors.”


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appointed as Chapter 7 Trustee for the LP Debtors.

       4.       Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in Adversary

Proceeding. On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion

to Lift Stay in LP Debtor’s bankruptcy cases which, inter alia, provides that the parties are “granted

relief from the automatic stay … to continue with and fully litigate claims that are or could be

pled” in the Adversary Proceeding. Docket No. 26 in Case No. 17-40180 and Docket No. 29 in

Case No. 17-40179.

       5.       Amended Complaint. On July 13, 2017, Payson Trustee filed his First Amended

Complaint in the Adversary Proceeding. See Docket No. 25 in Adversary Proceeding.

       6.       Jurisdiction & Venue. This Court has jurisdiction over the subject matter of this

Joint Motion to Compromise pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                II.
                                       FACTUAL BACKGROUND

       7.       Nature of Payson Debtors’ Businesses.                 Matthew C. Griffin (“Griffin”) formed

Payson Petroleum in 2008 to, inter alia, (i) promote the sale of interests in limited partnerships

and (ii) operate oil and gas wells for such limited partnerships. Griffin formed Payson Operating

in 2010 to act as a contract operator for Payson Petroleum. Griffin formed Maricopa in 2012 to,

inter alia, engage in the acquisition and sale of Grayson County, Texas oil and gas leases.

       8.       Nature of 3 Well LP’s Business. Payson Petroleum Grayson, LLC formed 3 Well

LP in 2013 to, inter alia, drill, complete, and own interests in the Subject Wells.

       9.       Turnkey Agreements. On or about October 13, 2013, Payson Petroleum and 3 Well

LP entered into a Subscription Turn Key Agreement under which 3 Well LP agreed to pay Payson



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Petroleum certain amounts for the drilling and completion of the Subject Wells (the “Turnkey

Agreement”). In the Adversary Proceeding, Payson Petroleum asserts a claim for breach of the

Turnkey Agreement against 3 Well LP in the amount of $17,115,777 (the “Breach of Turnkey

Agreement Claim”).

       10.      Working Interest Assignments. On or about Marcy 28, 2016, Maricopa assigned

certain interests in the William #1H (API # 181-31557), Crowe #2 (API #181-31543), and Elaine

#1 (API #181-31547) (collectively the “Subject Wells”) to 3 Well LP and 2014 LP via three (3)

certain Wellbore Assignments, Conveyances, Bills of Sale, and Releases, which were recorded in

the real property records of Grayson County, Texas at Instrument Numbers: 2016-00006064,

2016-00006065, and 2016-00006066. The working interests assigned are set forth below:

                                                                               Working
                                                                                Interest
                        Subject Well                   Assignee                Assigned
                      Williams #1H Well                 2014 LP               72.210840%
                      Williams #1H Well                3 Well LP              27.789160%
                       Crowe #2 Well                    2014 LP               72.210840%
                       Crowe #2 Well                   3 Well LP              27.789160%
                       Elaine #1 Well                   2014 LP               72.210840%
                       Elaine #1 Well                  3 Well LP              27.789160%

(collectively the “Working Interest Assignments”). In the Adversary Proceeding, Maricopa asserts

claims under 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce

Code against 3 Well LP for avoidance of the Working Interest Assignments and recovery of the

interests transferred to 3 Well LP or their value. Post-bankruptcy petition production revenue

attributable to the Working Interest Assignments has been held by Traton Operating Company

(“Traton”), the Payson Trustee’s approved contract operating company.

       11.      Additional Avoidable Transfers. In addition to the Working Interest Assignments,

Payson Petroleum transferred $1,274,310 to 3 Well LP in January 2014 in exchange for interests



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in 3 Well LP that Payson Petroleum knew or should have known were worth far less than the

amounts transferred (the “Investment Transfer”). In the Adversary Proceeding, the Payson Trustee

asserts claims under 11 U.S.C. § 544 and 550 and Chapter 24 of the Texas Business and Commerce

Code to avoid and recover the Investment Transfer from 3 Well LP (the “Investment Transfer

Claim”).

                                                III.
                                       PROPOSED SETTLEMENT

        12.      The Payson Trustee, Payson Debtors, LP Trustee, and LP Debtors have reached a

settlement of issues asserted in the Adversary Proceeding and other claims that have our could

have been asserted between the parties. Attached hereto as Exhibit A is a copy of the Settlement

Agreement. 2

        13.      Agreed Final Judgment. As explained in the Settlement Agreement, the parties will

resolve the Adversary Proceeding by filing a Joint Motion for Entry of Agreed Final Judgment and

will use their best efforts to have the Agreed Final Judgment entered by the Bankruptcy Court.

The Agreed Final Judgment will, inter alia, provide that the Wellbore Interest Assignments are

avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B) and grant judgment in favor of Payson

Petroleum on its Breach of Turnkey Agreement Claim against 3 Well LP in the amount of

$8,557,888.50. See Exhibit 3 to Settlement Agreement.

        14.      Conveyance of Interests in Subject Wells. 3 Well LP and 2014 LP will reassign

the avoided interests in the Subject Wells to Maricopa, which will continue to be operated by

Traton until Maricopa sells those interests under 11 U.S.C. § 363. As explained in further detail


2
    To the extent of any inconsistency between the Settlement Agreement and the summary of that agreement set
    forth in this Joint Motion to Compromise, the terms of the Settlement Agreement control. This outline is not
    intended to repeat all terms of the Settlement Agreement and persons reading this Joint Motion to Compromise
    are encouraged to read the Settlement Agreement. Capitalized Terms used but not otherwise defined herein have
    the meaning ascribed to them in the Joint Motion to Compromise or the Settlement Agreement as applicable.


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in the Settlement Agreement, the net proceeds obtained from the operation and sale of the Subject

Wells (defined in the Settlement Agreement as the Subject Wells Net Proceeds) will be distributed

as follows: (i) 55% to Maricopa, (ii) 32.4945% to 2014 LP, and (iii) 12.5055% to 3 Well LP.

Maricopa will retain a $50,000 Operating Reserve to satisfy costs related to operation of the

Subject Wells.

       15.       Allowed Claims. The Settlement Agreement also provides that the parties will

agree to the following allowed unsecured claims:

       •         Payson Petroleum shall hold an allowed unsecured claim in the 2014 LP bankruptcy
                 case in the amount of $2,671,900.50; and

       •         3 Well LP shall hold an allowed general unsecured claim in the Maricopa
                 bankruptcy case in an amount equal to 27.78916% of the Subject Net Well Proceeds
                 actually delivered to Maricopa pursuant to the Settlement Agreement.

       16.       Prosecution of and Participation in Avoidance Action Claims. The Settlement

Agreement further provides that the parties will enter into the 3 Well LP Subject Claims

Assignment and Participation Agreement (the “Claims Assignment and Participation

Agreement”). Pursuant to the Claims Assignment and Participation Agreement 3 Well LP will

assign a fifty percent (50%) interest in net recoveries from litigation of 3 Well LP Avoidance

Action Claims and 3 Well LP Partnership Related Claims, as defined in the Claims Assignment

and Participation Agreement, with 3 Well LP retaining the remaining fifty percent (50%) interest.

Payson Petroleum shall be granted standing to prosecute 3 Well LP Avoidance Action Claims and

Partnership Related Claims in the 3 Well LP bankruptcy case, and 3 Well LP shall enter into an

engagement agreement with special litigation counsel for the Payson Trustee to prosecute such

claims for the benefit of the Payson Petroleum and 3 Well LP bankruptcy estates.

       17.       Releases. Except for claims expressly reserved in the Settlement Agreement, all

claims or causes action between the parties will be released.



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                                                     IV.
                                                 RATIONALE

       18.      Benefit to Maricopa Estate. The Maricopa bankruptcy estate receives the following

benefits from the settlement:

       •        the interests assigned to 3 Well LP via the Working Interest Assignments will be
                reassigned to Maricopa, and Maricopa will 55% of the Subject Wells Net Proceeds,
                plus a $50,000 Operating Reserve to satisfy costs associated with operation of the
                Subject Wells; and

       •        except for claims expressly preserved under the Settlement Agreement, Maricopa’s
                bankruptcy estate is released from claims which have been or could have been
                asserted against Maricopa by 3 Well LP.

       19.      Benefit to Payson Petroleum Estate. The Payson Petroleum bankruptcy estate

receives the following benefits from the settlement:

       •        an allowed general unsecured claim in the 3 Well LP bankruptcy case in the amount
                of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred Eighty-Eight
                and 50/100 U.S. Dollars ($8,557,888.50) on account of Payson Petroleum’s Breach
                of Turnkey Agreement claim against 3 Well LP;

       •        Payson Petroleum is (i) granted standing and authority to enforce and prosecute 3
                Well LP Avoidance Action Claims and 3 Well LP Partnership Related Claims (the
                “Subject Claims”) and (ii) will hold a fifty percent (50%) participation interest in
                net recoveries from the Subject Claims as further described in the Settlement
                Agreement and Claims Assignment and Participation Agreement; and

       •        except for claims expressly preserved under the Settlement Agreement, Payson
                Petroleum’s bankruptcy estate is released from claims which have been or could
                have been asserted against Payson Petroleum by 3 Well LP.

       20.      Benefit to Payson Operating Estate. Except for claims expressly preserved under

the Settlement Agreement, Payson Operating’s bankruptcy estate is released from claims which

have been or could have been asserted against Payson Operating by 3 Well LP.

       21.      Benefit to 3 Well LP Estate. The 3 Well LP bankruptcy estate receives the

following benefits from the settlement:


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       •        3 Well LP will obtain 12.5055% of the Subject Wells Net Proceeds;

       •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                equal to 27.78916% of the Subject Wells Net Proceeds actually delivered to
                Maricopa pursuant to the Settlement Agreement;

       •        3 Well LP will retain a fifty percent (50%) interest in all 3 Well LP Avoidance
                Action Claims Net Recovery and 3 Well LP Partnership Related Claims Net
                Recovery as further described in the Settlement Agreement and Claims Assignment
                and Participation Agreement; and

       •        except for claims expressly preserved under the Settlement Agreement, 3 Well LP’s
                bankruptcy estate is released from claims which have been or could have been
                asserted against 3 Well LP by Payson Petroleum, Payson Operating, and/or
                Maricopa.

                                                  V.
                                          RELIEF REQUESTED

       22.      The Payson Trustee and LP Trustee respectfully request that the Court approve the

proposed Settlement Agreement attached hereto as Exhibit A and grant them such other and further

relief to which they may be entitled.

                                                   VI.
                                            BASIS FOR RELIEF

       23.      Bankruptcy Courts are “empowered to approve a compromise settlement of a

debtor’s claim under Bankruptcy Rule 9019(a).” Official Comm. of Unsecured Creditors v. Cajun

Electric Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir.

1997). “Approval should only be given if the settlement is fair and equitable and in the best interest

of the estate.” Id. (internal quotes & cite omitted). “In deciding whether a settlement of litigation

is fair and equitable, a judge in bankruptcy must make a well-informed decision, ‘comparing the

terms of the compromise with the likely rewards of litigation.’” Id. at 356 (quoting Rivercity v.

Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)). Courts consider the




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following factors in determining whether a settlement is fair and equitable “(1) [t]he probability of

success in the litigation, with due consideration for the uncertainty in fact and law, (2) [t]he

complexity and likely duration of the litigation and any attendant expense, inconvenience and

delay, and (3) all other factors bearing on the wisdom of the compromise.” Id.

       24.      The factors support granting the Joint Motion to Compromise. First, the disputes

are hotly contested and would require lengthy and likely expensive litigation to resolve, and the

Settlement Agreement was reached after good-faith, contentious, and arms-length negotiations.

The Payson Trustee and LP Trustee desire to avoid lengthy litigation between the respective

bankruptcy estates so they can focus on enhancing the value of those estates for the benefit of

creditors. Litigation would be expensive and involve, inter alia, complex factual issues regarding

the value of the property transferred and solvency of the various bankruptcy estates. The

Settlement Agreement, on the other hand, allows the Payson Trustee to distribute hydrocarbon

proceeds currently held in suspense and initiate a sales process to monetize the Subject Wells for

the benefit of creditors of Maricopa and 3 Well LP. Additionally, the Settlement Agreement (i)

reduces 3 Well LP’s liability for failing to pay Payson Petroleum amounts owed under the Turnkey

Agreement by fifty percent (50%), (ii) provides an arrangement for coordinated prosecution of

avoidance actions and sharing in the proceeds of the same, and (iii) eliminates the potential that

the LP Trustee and Payson Trustee would pursue substantially similar claims against partners of 3

Well LP in different proceedings and forums. In sum, the Payson Trustee and LP Trustee believe

the Settlement Agreement is in the best interests of their respective bankruptcy estates and should

be approved. See Affidavit of Jason R. Searcy, attached as Exhibit B and Affidavit of Christopher

J. Moser, attached as Exhibit C.

       25.      A proposed agreed order is attached hereto as Exhibit D.




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                                                     PRAYER

       WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 11 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estate of Payson Petroleum

3 Well, L.P. respectfully request that the Court approve the Agreement and grant them such other

and further relief to which they may be justly entitled.




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Dated: September 21, 2017                             Respectfully submitted,

                                                      By:      /s/ Blake Hamm
                                                             Phil Snow
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                                                             Blake Hamm
                                                             State Bar No. 24069869
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                                                             CHAPTER 11 TRUSTEE FOR PAYSON
                                                             PETROLEUM, INC., PAYSON
                                                             OPERATING, LLC, AND MARICOPA
                                                             RESOURCES, LLC


                                                       By:     /s/ Keith W. Harvey
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                                                             COUNSEL FOR CHRISTOPHER J.
                                                             MOSER, CHAPTER 7 TRUSTEE FOR
                                                             PAYSON PETROLEUM 3 WELL, L.P.




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                                           CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Joint Motion to Approve Compromise
and Settlement Pursuant to Bankruptcy Rule 9019 was duly served as follows:

               •    On September 21, 2017 via the Court’s electronic case filing system for the Eastern
                    District of Texas upon all parties requesting electronic notice of all filings or by
                    email as listed below.

               •    On September 21, 2017 via first class mail, properly addressed and postage prepaid,
                    upon all parties listed on the Service List attached hereto.


 Debtors Payson Petroleum, Inc., Payson Operating,                             Debtors Payson Petroleum 3 Well ,
 LLC, and Maricopa Resources, LLC                                              LP and Payson Petroleum 3 Well
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                                                            /s/ Blake Hamm
                                                            Blake Hamm



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Eastern District of Texas
Sherman
Wed Sep 20 14:40:03 CDT 2017
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Platteville WI 53818-3761
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John McElroy                                          John  Miyasaki                                            John Pollick
109 SE Rambling Trail                                 1415 W. Rascher Ave.                                      2336 Fir St.
Weatherford TX 76087-7631                             Chicago IL 60640-1205                                     Glenview IL 60025-2704



John and Christy Fonvielle                             John and Felicia King                                  Jonathan Alex Perkins
Tenants in Common                                      976 Ekman Dr.                                          646 North Armstead St.
212 Casa Blanca Cir                                    Batavia IL 60510-8940                                  Alexandria VA 22312-2928
Ft. Worth TX 76107-1804


Joseph Bolin                                           Joseph Little                                          Joseph and Arlene Seminoro
3830 Rice Blvd.                                        18646 Halff Bend Dr.                                   25 Washington Street
Houston TX 77005-2826                                  Cypress TX 77433-5090                                  Trumbull CT 06611-4668



Joseph and Carol Arpino                                Joseph and Caroline Schmitz                            Judith Watkins
104 Lavery Lane                                        4565 Pressley Rd                                       3004 Steeplechase Trail
Milford CT 06461-1624                                  Santa Rosa CA 95404-8866                               Arlington TX 76016-2317



Jun Zhou                                               Kathy Adams                                            Kazu Miyasaki
748 Sigmund Rd.                                        Kijabe, LLC                                            1415 W. Rascher Ave.
Naperville IL 60563-1338                               3602 Vista Chase Court                                 Chicago IL 60640-1205
                                                       Arlington TX 76001-6963


Kazuo and Rosalyn Nanya                                Keith Jackson                                          Kelly Sanders
432 40th Ave.                                          Riverstone Resources, Ltd.                             Hupakoe, LLC
San Francisco CA 94121-1510                            2591 Dallas Parkway, Suite 300                         3602 Vista Chase Ct.
                                                       Frisco TX 75034-8563                                   Arlington TX 76001-6963


Kelly Sanders                                          Kening Ma                                              Kenneth Aldrich
Kijabe, LLC                                            3236 Pepper Tree Point                                 YKA Partners, LLC
3602 Vista Chase Court                                 Chino Hills CA 91709-1504                              3200 Airport Ave., Suite 16
Arlington TX 76001-6963                                                                                       Santa Monica CA 90405-6116


Kenneth Cheung                                         Kenneth and Patricia Lowe                              Kenneth and Terryalin Chapman
3902 Coulter Ct                                        1504 Dolorosa Ct.                                      6447 S. Indianapolis Place
Arlington TX 76016-3816                                The Villages FL 32159-9111                             Tulsa OK 74136-1422



Kenneth and Tommie Dougan                              Kevin and Anne Marie Peterson                          Kevin and Denise Potempa
1914 Briarwood Dr                                      305 Martins Cove Rd.                                   KAPAA, LLC
Grand Prairie TX 75050-2216                            Annapolis MD 21409-5952                                Wailua LLC
                                                                                                              P.O. Box 5156
                                                                                                              Scottsdale AZ 85261-5156

Kimberly Fuller                                        Krystle Lindholm                                       Kurt Erickson
PI Resources, LLC                                      333 Via Lido Nord                                      4848 E. Milton Dr.
5455 Honeysuckle Rd.                                   Newport Beach CA 92663-4649                            Cave Creek AZ 85331-5965
Midlothian TX 76065-7006
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Laddie Zimmet                                           Lance Barlow                                            Lanning Macfarland
5101 FM 1187                                            Barlow Investments                                      1310 Hackberry Ln.
Burleson TX 76028-3053                                  2727 E. Kirby DR, 9E                                    Winnetka IL 60093-1608
                                                        Houston TX 77098-1149


Lawrence and Theodora Esposito                          Lee Eggers                                              Lei Yan
155 Rimmon Rd                                           TMICO Lee G. Eggers                                     1505 Clarkson Ct.
North Haven CT 06473-2873                               490 Camp St.                                            Naperville IL 60565-1733
                                                        Platteville WI 53818-1707


Leland Phillips                                         Lewis Graham                                            Lihong Huang and Xiaoli Zhang
3709 Tumbling Trail Ct.                                 Kijabe, LLC                                             26597 N. Kenwood Ct.
Fort Worth TX 76116-9328                                3602 Vista Chase Court                                  Mundelein IL 60060-3540
                                                        Arlington TX 76001-6963


Liping Zhong                                            Loewinsohn Flegle Deary Simon, LLP                      Lucile Sims Wise
426 E. Sunnyside Ave.                                   c/o Daniel P. Winikka                                   3600 Wosley Dr.
Libertyville IL 60048-2937                              12377 Merit Drive, Suite 900                            Fort Worth TX 76133-2137
                                                        Dallas,TX 75251-3102


Luis Gonzalez                                           Lynne Bentsen                                           Malcolm V. Vye IRA
2701 N. Grapevine Mills Blvd. 728                       Barlow Investment Ltd.                                  145 N. Sheridan
Grapevine TX 76051-2060                                 2727 Kirby Dr. 9E                                       Winnetka IL 60093-4223
                                                        Houston TX 77098-1149


Marc Henn                                               Margaret McElroy                                        Margaret Ng and Ross Chan
Harvest Financial Advisors, LLC                         109 SE Rambling Trail                                   6112 Ascot Drive
440 Glendale Ave.                                       Burleson TX 76087-7631                                  Oakland CA 94611-2527
Cincinnati OH 45246-3815


Margaret and David Grubbs                               Margarett Propst                                        Marisa Lindholm
205 Kenmore Ave.                                        6709 Yolanda Dr.                                        333 Via Lido Nord
Elmhurst IL 60126-3517                                  Fort Worth TX 76112-4129                                Newport Beach CA 92663-4649



Mark Modlin                                             Mark and Romalyn Trewitt                                Marlow and Rebecca Williams
4005 Kenosha Rd.                                        4017 Messina Drive                                      197 Golden Crown Ave.
Plano TX 75024-7075                                     Plano TX 75093-7038                                     Henderson NV 89002-9267



Marty Prinz                                             Marvin and Mary Van Hal                                 Mary A. Gardecki
Blind Canyon                                            280 East Bob Jones Rd.                                  68 Auburn St.
1780 N. Kimball Avenue                                  Southlake TX 76092-9275                                 Stratford CT 06614-3701
Southlake TX 76092-4002


Mary Ann Swift                                          Mary Jane Pompa                                         Mary Louise and Albert Edwards
200 N. Matteson Ave                                     21 Basking Ridge Rd.                                    778 Old Stratfield Rd.
Republic MO 65738-1675                                  Shelton CT 06484-3897                                   Fairfield CT 06825-7427
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Mary Russell                                           Meiyu Chen                                              Michael Kudlik
3111 Kelly Rd                                          913 Ashford Lane                                        4760 Highland Drive Suite 245
Aledo TX 76008-4882                                    Westmont IL 60559-2656                                  Holladay Utah 84117-5149



Michael Kusheba                                        Michael Mitchell                                        Michael Musaraca
235 Deerfield Dr                                       300 Landwyck Ln.                                        2414 Blue Spruce Ct.
Stratford CT 06614-2767                                Flower Mound TX 75028-7144                              Aurora IL 60502-6420



Michael Niemann                                        Michael Pettis                                          Michael Ranelle
Julie Wakeman                                          Pettis Oil and Gas, LLC                                 4220 Harlanwood
14105 W. 72nd St.                                      3140 Brookhollow Ct.                                    Fort Worth TX 76109-2045
Shawnee KS 66216-5520                                  Prosper TX 75078-0529


Michael Sobel                                          Michael Yates                                           Michael and Pamela Spitzer
3311 Tack House Rd.                                    22292 Regnart Rd.                                       2010 Roma Ave.
Trent Woods NC 28562-6646                              Cupertino CA 95014-4845                                 Fruita CO 81521-8616



Mike Wang                                              Molly Bayer                                             Mona Fields
390 Foothill Ave.                                      Kijabe, LLC                                             2006 Underwood Rd
Sierra Madre CA 91024-1518                             3602 Vista Chase Court                                  Aledo TX 76008-2447
                                                       Arlington TX 76001-6963


Monica Markovics                                       Christopher Moser                                       Natalia Ryndin
37 Parkway Terrace                                     2001 Bryan Street, Suite 1800                           28832 Sean Dr.
Milford CT 06461-1930                                  Dallas, TX 75201-3070                                   Laguna Niguel CA 92677-4661



Nathan Sanders                                         Neil Agrawal                                            Noel and Sandra Markovics
BESCO Family Investments, LLC                          2962 E. 45th Place                                      42 Parkway Terrace
3309 Mansfield Hwy.                                    Tulsa OK 74105-5204                                     Milford CT 06461-1929
Fort Worth TX 76119-6025


Noral and Juanita Gregory                              Oklahoma City OK 73156                                  Om and Veena Agrawal
2881 Oakbriar Trail                                    Julie Wakeman                                           209 Kenshire Dr.
Fort Worth TX 76109-5556                               14105 W. 72nd St.                                       Benbrook TX 76126-4113
                                                       Shawnee KS 66216-5520


Pamela Smith                                           Payson Petroleum 3 Well, L.P.                           Peili Wu
481 Pecan                                              2652 FM 407 E, Ste. 250                                 3108 Regal Dr.
Burleson TX 76028-6309                                 Bartonville, TX 76226-7026                              Arlington TX 76016-2028



Peter Backes                                           Peter and Monika Wettenstein                            Philip Zou
9448 Quail Ridge Dr.                                   5325 E. Kathleen Rd.                                    1065 Sanctuary Ct.
Las Vegas NV 89134-8938                                Scottsdale AZ 85254-1758                                Vernon Hills IL 60061-3608
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Philip and Anita Strand                                Pottsboro ISD                                           Pottsboro ISD
1911 Nelson Ct.                                        % Perdue Brandon Fielder Et Al                          c/o Perdue Brandon Fielder et al
DeSoto TX 75115-2142                                   500 E. Border Street                                    500 East Border Street, Suite 640
                                                       Suite 640                                               Arlington, TX 76010-7457
                                                       Arlington, TX 76010-7457

Prem Kumar                                             Randall McKenna                                         Randall Swift
Wildflower LLC                                         North Central Texas Holding and                         200 N. Matteson Ave
817 E. San Angelo Ave.                                 Investments, Inc.                                       Republic MO 65738-1675
Gilbert AZ 85234-3513                                  400 King Ranch Rd.
                                                       Southlake TX 76092-2026

Randy Lew                                              Ravindra and Kum Prakash                                Raymond and Janet Smith
4647 Sidonia Ct.                                       1170 Alderbrook Lane                                    623 E. River Quarry Court
Ft. Worth TX 76126-1920                                San Jose CA 95129-2956                                  Eagle ID 83616-6351



Rebecca Lowe                                           Reinhardt and Merlee Lange                              Renjie Fu
643 SW T Highway                                       136 Benedict Ave.                                       405 E. 58th St.
Holden MO 64040-8107                                   Fairfield CT 06825-1705                                 Westmont IL 60559-3368



Richard Graham                                         Richard Sobel                                           Richard and Sue Rector
31331 S. Coast Hwy.                                    7410 Center Bay Dr.                                     5813 Wales Avenue
Laguna Beach CA 92651-6989                             North Bay Village FL 33141-4014                         Fort Worth TX 76133-2711



Rick Gardner                                           Rickey and Wendy Kelman                                 Robert Mendonsa
420 Aspen Street                                       3120 E. Puget Ave.                                      4507 Meadow Hill
Prescott AZ 86303-4004                                 Phoenix AZ 85028-5329                                   McKinney TX 75070-4613



Robert Watkins                                         Robert and Carole Orsillo                               Robert and Marianne Laska
3004 Steeplechase Trail                                60 Brierwood Drive                                      73 Centennial Dr.
Arlington TX 76016-2317                                Watertown CT 06795-2016                                 Milford CT 06461-1662



Robert and Peggy Yacobi                                Rocky and Anna Howington                                Roger Damron
6 Chanteraine Close                                    1 Saint Louis Lane                                      PO Box 21729
Williamsburg VA 23185-8604                             Pleasant Hill CA 94523-1139                             Chattanooga TN 37424-0729



Roland Lentz                                           Romalyn Trewitt                                         Ron Franco
1521 Vintage Hill Dr                                   4017 Messina Drive                                      Bluepack LLC
Wayne NE 68787-1236                                    Plano TX 75093-7038                                     P.O. Box 5287
                                                                                                               Culver City CA 90231-5287


Ronald Barfield                                        Ronald Guichard                                         Ronald Oberle
700 W. Harwood, Suite A                                2937 N. Talman Ave                                      30525 Fort Apache Drive
Hurst TX 76054-3391                                    Chicago IL 60618-7814                                   Congress AZ 85332
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Ronald and Cheryl Waggoner                             Ronald  and Libbie  Adams                                 Rose Marie Klein
834 Doubletree Lane                                    115 Ravenhill Dr.                                         1389 Calle de las Granvas
Springfield MO 65810-3261                              Highlandville MO 65669-8227                               Livermore CA 94551-2595



Roy Williams                                           Roy and Carol Ray                                       Rudolph Perry
190 Mt. Pleasant Ave.                                  2000 Underwood Rd.                                      48 E. Bison Circle
Stratford CT 06614-3420                                Aledo TX 76008-2447                                     Florissant CO 80816-7157



Russell Karr                                           Ryan Grossman                                           Sandra Markovics
8108 Modena Dr                                         207 Mt. Oak Pl.                                         42 Parkway Terrace
Fort Worth TX 76126-6113                               Annapolis MD 21409-5868                                 Milford CT 06461-1929



Sara Ng                                                Jason R Searcy                                          Shannon Kmak
218 Wood Glen Lane                                     PO Box 3929                                             4005 Kenosha Rd.
Oak Brook IL 60523-1533                                Longview, TX 75606-3929                                 Plano TX 75024-7075



Sharlene Sims Horak                                    Sharolyn Richardson                                     Shawn Miller
4436 Overton Terrace                                   8003 Turkey Trail                                       Kijabe, LLC
Fort Worth TX 76109-2517                               Benbrook TX 76126-6101                                  3602 Vista Chase Court
                                                                                                               Arlington TX 76001-6963


Shirley Nolsheim                                       Shrimant and Susy Ayaram                                Shu and Lisa Chen
13480 88th Ave. North                                  222 Glen Ridge Dr.                                      5844 Golden Eye Dr.
Seminole FL 33776-2607                                 Murphy TX 75094-4205                                    Long Grove IL 60047-5048



Laurie A. Spindler                                     Stephen Brown                                           Steven O’Leary
Linebarger, Goggan, Blair & Sampson                    8601 Westown Parkway 6108                               Helen M. Hale - Principle
2777 N. Stemmons Frwy Ste 1000                         West Des Moines IA 50266-1632                           73 Conduit St.
Dallas, TX 75207-2328                                                                                          Annapolis MD 21401-2601


Steven and Carolyn Wiesenfeld                          Sue Chappell                                            Sunil Agrawal
66 Chester Rd.                                         5071 S. Burrows Ave.                                    4323 S. Quincy Place
Easton CT 06612-1806                                   Springfield MO 65810-2054                               Tulsa OK 74105-4135



Suresh and Malini Kumar                                Taher Sobhy                                             Tami Rodgers
5210 Pine Forest Rd.                                   41 W. Mallard Lane                                      3309 Wild Oaks Ct
Houston TX 77056-1313                                  Lakeforest IL 60045-2902                                Burleson TX 76028-2333



Tammy McKain                                           Tapan and Anisa Daftari                                 Tarry Dahmer
Kijabe, LLC                                            6595 Old Riverside Dr.                                  2400 SW Wintercreek Ct.
3602 Vista Chase Court                                 Altanta GA 30328-2744                                   Lee’s Summit MO 64081-4085
Arlington TX 76001-6963
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Terry Scharig                                           Theodora Esposito                                       Theodore Lung
Payson Petroleum                                        155 Rimmon Rd                                           1839 E 2453rd Lane
34601 E. Shore Rd.                                      North Haven CT 06473-2873                               Camp Point IL 62320-2129
Lone Jack MO 64070-9169


Thomas Clayton                                          Thomas Hayes                                            Thomas Hoppe
26770 Sale Barn Ln                                      5115 N. Dysart Road, 202-217                            11051 Dormie Drive
Belmont WI 53510-9725                                   Litchfield Park AZ 85340-3032                           San Antonio FL 33576-7048



Thomas and Lois Partridge                               Timothy Carman                                          Timothy Cypert
199 CR 1747                                             2215 River Ridge Rd.                                    703 Jackson St.
Clifton TX 76634-3990                                   Arlington TX 76017-2631                                 Rockwall TX 75087-2212



Timothy Moore                                           Timothy and Stacey Gibson                               Todd Stephens
313 Stonebridge Dr.                                     145 Links Lane                                          230 Miramar Way
Rockwall TX 75087-3434                                  Aledo TX 76008-6917                                     West Palm Beach FL 33405-4712



Todd and Melanie Gregory                                Tom Hinshaw                                             Toussaint Smith
600 W. Republic Road                                    HRC Roofing                                             2315 Legend Woods Ct.
Suite A116                                              2845 Roadway Drive                                      Sugar Land TX 77479-5474
Springfield MO 65807-5805                               Columbus IN 47201-7465


Tracy G. Ward                                           Travis Petree                                           U.S. Attorney General
2313 S. Toledo Ave.                                     2951 Rainbow Drive                                      Department of Justice
Tulsa OK 74114-3622                                     Mason City IA 50401-8931                                Main Justice Building
                                                                                                                10th & Constitution Ave., NW
                                                                                                                Washington, DC 20530-0001

US Trustee                                              Van and Mary Butler                                     Virginia Humphrey
Office of the U.S. Trustee                              62 Cypress Ct.                                          National Financial Services, LLC
110 N. College Ave.                                     Durango CO 81301-3782                                   340 S. Lemon Ave. 8337
Suite 300                                                                                                       Walnut CA 91789-2706
Tyler, TX 75702-7231

Virginia Rhodes                                         Warren and Fay Bush                                     Wendy Yang and Li Liu
7570 E. Manley Dr.                                      PO Box 80140                                            Delftechpark 26, 2628
Prescott Valley AZ 86314-5166                           Keller TX 76244-2902                                    XH Delft, Netherlands



Wenzhong and Dana An                                    William Cozad                                           William Dax Symonds
29602 N. Birch Ave.                                     10401 W. Charleston Blvd., V6                           3170 Westcliff Rd. West
Lake Bluff IL 60044-1176                                Las Vegas NV 89135-8706                                 Fort Worth TX 76109-2128



William Kloster                                         William Martin                                          William Ralph Westbrook
112 Tres Vista Court                                    3708 Brookfield                                         338 Park Brook Dr.
Cresson TX 76035-5838                                   Plano TX 75025-3780                                     Dallas TX 75218-1152
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4520 Cheval Blvd.                                      308 Martel Ct.                                             Loewinsohn Flegle Deary Simon, LLP
Lutz FL 33558-5331                                     Coppell TX 75019-7583                                      12377 Merit Drive
                                                                                                                  Suite 900
                                                                                                                  Dallas, TX 75251-3102

Woodrow and Jo Ann Wilson                               Yang Zhao and Hong Yang                                 Yanhua Shi
59250 E. 190 Rd                                         31 E. 59th St.                                          447 Lynn Ct.
Fairland OK 74343-1753                                  Westmont IL 60559-2501                                  Clarendon Hills IL 60514-1000



Ying Qi                                                 Ying and Siwen Qu                                       Yulduz Cohen
2220 Joyce Lane                                         1725 Holly Ct.                                          28264 Via Marcus
Naperville IL 60564-4404                                Long Grove IL 60047-5139                                Laguna Niguel CA 92677-7527



Zhong Wu                                                Zhongwen Huang
3880 Tahoe St.                                          Huifang Liang
West Sacramento CA 95691-5452                           3915 Snowbird Lane
                                                        Northbrook IL 60062
                                                        ZiJun Zhao
                                                        Kraehenbruch 60062-4269



                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Grayson County                                       (u)HongMei Han                                          (u)Judy Fulton
Linebarger Goggan Blair & Sampson, LLP                  Kraehenbruch 4                                          Seven Wells Royalty, LLC
c/o Laurie A. Spindler                                  Dortmund 44227                                          P.O. Box 21866
2777 N. Stemmons Frwy
Suite 1000
Dallas, TX 75207-2328
(d)Christopher Moser                                    (d)Jason R. Searcy                                      End of Label Matrix
2001 Bryan Street, Suite 1800                           P. O. Box 3929                                          Mailable recipients    340
Dallas, TX 75201-3070                                   Longview, TX 75606-3929                                 Bypassed recipients      5
                                                                                                                Total                  345
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                                          EXHIBIT A

                    SETTLEMENT AGREEMENT
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                                     SETTLEMENT AGREEMENT

        This Settlement Agreement (the “Agreement”) is entered into as of September 20, 2017 by
and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC, Jason
Searcy, Chapter 11 Trustee for the Searcy Bankruptcy Cases, and (b) Payson Petroleum 3 Well,
L.P., Payson Petroleum 3 Well 2014, L.P. and Christopher J. Moser, Chapter 7 Trustee for the
Moser Bankruptcy Cases, referred to individually herein as a “Party” and collectively as, the
“Parties.”

                                                RECITALS

      WHEREAS, Christopher J. Moser is the duly appointed Chapter 7 Trustee in the 3 Well
LP Bankruptcy Case and the 2014 LP Bankruptcy Case.

       WHEREAS, Jason R. Searcy is the duly appointed Chapter 11 Trustee in the Payson
Petroleum Bankruptcy Case, the Payson Operating Bankruptcy Case and the Maricopa Bankruptcy
Case.

        WHEREAS, on or about October 10, 2013, Payson Petroleum and 3 Well LP entered into
a Subscription Turn Key Agreement under which 3 Well LP agreed to pay Payson certain amounts
for the drilling and completion of the Subject Wells.

       WHEREAS, on or about January 12, 2014, Payson Petroleum and 2014 LP entered into a
Subscription Turn Key Agreement under which 2014 LP agreed to pay Payson Petroleum certain
amounts for the drilling and completion of the Subject Wells.

        WHEREAS, on or about March 28, 2016, Maricopa assigned certain interests in the
Subject Wells to 3 Well LP and 2014 LP via three (3) certain Wellbore Assignments, Conveyances,
Bills of Sale, and Releases, which were recorded in the real property records of Grayson County,
Texas at Instrument Numbers: 2016-00006064, 2016-00006065, and 2016-00006066. The
working interests assigned are set forth below:

                                                                                Working
                                                                                Interest
                         Subject Well                 Assignee                  Assigned
                     Williams #1H Well             2014 LP                      72.210840%
                     Williams #1H Well             3 Well LP                    27.789160%
                     Crowe #2 Well                 2014 LP                      72.210840%
                     Crowe #2 Well                 3 Well LP                    27.789160%
                     Elaine #1 Well                2014 LP                      72.210840%
                     Elaine #1 Well                3 Well LP                    27.789160%

         WHEREAS, on November 1, 2016, suit was filed against 3 Well LP and 2014 LP in
Adversary Proceeding No. 16-04106, styled Jason R. Searcy, Chapter 11 Trustee v. Payson
Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. (as amended) and asserts, inter
alia, (i) breach of contract claims against 3 Well LP and 2014 LP to recover amounts owed under
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the 3 Well LP Turnkey Agreement and the 2014 LP Turnkey Agreement, and (ii) fraudulent
transfer and preference claims against 3 Well LP and 2014 LP (the “Adversary Proceeding”).

        WHEREAS, the Parties have agreed to resolve, compromise, and settle all claims, disputes
and controversies between the Parties which have been or could have been asserted in any and all
of the Bankruptcy Cases or the Adversary Proceeding in accordance with the terms set forth in this
Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein, the Parties hereby agree as follows:

                                                   ARTICLE 1

                                                    Definitions

      1.01 Defined Terms. The following terms, as used in this Agreement, shall have the
meanings indicated below, unless the context otherwise requires:

       “2014 LP” means Payson Petroleum 3 Well 2014, L.P., Christopher J. Moser in his
capacity of Chapter 7 trustee of Payson Petroleum 3 Well 2014, L.P. and the Payson Petroleum 3
Well 2014 L.P. bankruptcy estate.

       “2014 LP Bankruptcy Case” means Bankruptcy Case No. 17-40180 styled In re Payson
Petroleum 3 Well 2014, L.P., Debtor, pending in the United States Bankruptcy Court for the
Eastern District of Texas, Sherman Division.

       “2014 LP Subject Claims Assignment and Participation Agreement” means an
agreement between 2014 LP and Payson Petroleum, substantially in the form attached hereto as
Exhibit 1.

        “2014 LP and 3 Well LP Retained Claims” has the meaning set forth in Section 4.04.

      “3 Well LP” means Payson Petroleum 3 Well, L.P., Christopher J. Moser in his capacity
of Chapter 7 trustee of Payson Petroleum 3 Well, L.P. and the Payson Petroleum 3 Well L.P.
bankruptcy estate.

        “3 Well LP Bankruptcy Case” means Bankruptcy Case No. 17-40179 styled In re Payson
Petroleum 3 Well, L.P., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

       “3 Well LP Subject Claims Assignment and Participation Agreement” means an
agreement between 3 Well LP and Payson Petroleum, substantially in the form attached hereto as
Exhibit 2.

        “Agreed Final Judgment” means an Agreed Final Judgment to be filed in the Adversary



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Proceeding, substantially in the form attached hereto as Exhibit 3.

       “Bankruptcy Cases” means, collectively, the Payson Petroleum Bankruptcy Case, the
Payson Operating Bankruptcy Case, the Maricopa Bankruptcy Case, the 3 Well LP Bankruptcy
Case and the 2014 LP Bankruptcy Case.

        “Bankruptcy Code” means The Bankruptcy Reform Act of 1978, as codified in title 11
of the United States Code, as now in effect or hereafter amended.

       “Bankruptcy Court” means the United States Bankruptcy Court for the Eastern District
of Texas, Sherman Division.

       “Business Day” means any day that is not a Saturday, Sunday, or other day on which banks
are authorized or required to close pursuant to the rules and regulations of the Federal Reserve
System.

        “Closing” shall have the meaning ascribed to it in Article 3 of this Agreement.

        “Closing Date” shall have the meaning ascribed to it in Article 3 of this Agreement.

        “Direct Taxes” means all ad valorem, property, gathering, transportation, pipeline
regulating, gross receipts, windfall profit, severance, production, excise, eating content, carbon,
value added, environmental, occupation, sales, use, fuel, and other taxes and governmental charges
and assessments imposed on or as a result of all or any part of the Subject Wells, including any
real or personal property, equipment or fixtures, to the extent used in connection with, or relating
to, the Subject Wells, the Subject Hydrocarbons or the proceeds thereof. “Direct Taxes” do not
include federal income taxes, state income taxes or franchise taxes or any penalty or interest
surcharges thereon.

        “Execution Date” means September 20, 2017.

        “Gas” means natural gas and all other gaseous hydrocarbons, including casinghead gas,
but excluding condensate and other liquid hydrocarbons removed by conventional mechanical
field separation at the wellhead and also excluding the liquid products of any processing of Gas
done prior to the sale of such Gas.

        “Hydrocarbons” means Gas and/or Oil.

       “Joint Motion for Entry of Agreed Final Judgment” shall mean the Joint Motion for
Entry of Agreed Final Judgment, substantially in the form attached hereto as Exhibit 4.

        “Maricopa” means Maricopa Resources, LLC, Jason Searcy in his capacity of Chapter 11
trustee of Maricopa Resources, LLC and the Maricopa Resources, LLC bankruptcy estate.




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        “Maricopa Bankruptcy Case” means Bankruptcy Case No. 16-41043 styled In re
Maricopa Resources, LLC, Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

        “Marketing Expenses” mean the costs incurred in connection with the marketing and sale
of the Subject Wells, including broker fees, legal fees and other expenses incurred in connection
with preparation of marketing materials, negotiation of any potential sale, preparation of
documents and pleadings and/or preparation and attendance at hearings.

      “Moser Bankruptcy Cases” means the 3 Well LP Bankruptcy Case and the 2014 LP
Bankruptcy Case.

       “Oil” means crude oil, condensate and other liquid hydrocarbons, including liquid
hydrocarbons removed by conventional mechanical field separation at the wellhead and also
including the liquid products of any processing of Gas done prior to the sale of such Gas.

       “Operating Agreement” means the Contract Operating Services Agreement attached here
as Exhibit 5.

        “Operating Reserve” means the sum of $50,000 to be used by Maricopa exclusively to
satisfy Subject Wells Operating Costs incurred subsequent to the Payson Operating bankruptcy
petition date.

      “Operator” means Traton Operating Company in its capacity as Contract Operator for
Payson Operating.

      “Payson Operating” means Payson Operating, LLC, Jason Searcy in his capacity of
Chapter 11 trustee of Payson Operating, LLC and the Payson Operating, LLC bankruptcy estate.

        “Payson Operating Bankruptcy Case” means Bankruptcy Case No. 16-41045 styled In
re Payson Operating, LLC, Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

      “Payson Petroleum” means Payson Petroleum, Inc., Jason Searcy in his capacity of
Chapter 11 trustee of Payson Petroleum, Inc. and the Payson Petroleum, Inc. bankruptcy estate.

        “Payson Petroleum Bankruptcy Case” means Bankruptcy Case No. 16-41044 styled In
re Payson Petroleum, Inc., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

      “Payson Petroleum, Payson Operating and Maricopa Retained Claims” has the
meaning set forth in Section 4.05.

      “Searcy Bankruptcy Cases” means the Maricopa Bankruptcy Case, the Payson Operating
Bankruptcy Case and the Payson Petroleum Bankruptcy Case.




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       “Settlement Approval Orders” means Orders, substantially in the form attached hereto
as Exhibit 6, granting the relief requested in the Settlement Motion which is to be filed in each of
the Bankruptcy Cases.

        “Settlement Motions” means the Joint Motions for Approval of Settlement and
Compromise, substantially in the form attached hereto as Exhibit 7, which are to be filed in each
of the Bankruptcy Cases.

       “Settlement Transaction Documents” means the Operating Agreement, Agreed Final
Judgment, the Joint Motion for Entry of Agreed Final Judgment, Settlement Approval Order,
Settlement Motions, 3 Well LP Subject Claims Assignment and Participation Agreement, 2014 LP
Subject Claims Assignment and Participation Agreement, and any other documents and
instruments entered into in connection with this Agreement.

        “Subject Wells” mean, collectively, the William #1H (API # 181-31557), the Crowe #2
(API #181-31543), and the Elaine #1 (API #181-31547) oil and gas wells and related leasehold
interests.

      “Subject Wells Account” means a segregated account established by Jason Searcy as
Chapter 11 Trustee of Maricopa at a commercial banking institution.

         “Subject Wells Assignments” means assignments in the forms attached hereto as Exhibit
8.

        “Subject Wells Net Proceeds” means the (i) Subject Wells Net Production Proceeds, plus
(ii) Subject Wells Net Sales Proceeds, minus (iii) Direct Taxes and the Operating Reserve, as
determined on a cumulative basis.

        “Subject Wells Net Production Proceeds” means the amount (computed on a cumulative
basis) by which the gross proceeds received by Maricopa from the sale of the Subject Wells
Hydrocarbons exceeds Operating Costs, and the Operating Reserve.

        “Subject Wells Net Sales Proceeds” means the amount by which the gross proceeds from
the sale of the Subject Wells exceeds Marketing Expenses, Subject Wells Operating Costs and
valid perfected liens which are not subject to avoidance pursuant to Chapter 5 of the Bankruptcy
Code, as determined by an order entered in the Bankruptcy Cases.

       “Subject Wells Operating Costs” means all expenses incurred in connection with (i)
insuring, operating, producing, reworking and maintaining the Subject Wells, (ii) materials,
supplies, equipment and other personal property and fixtures purchased for use and actually used
on, or direction in connection with the Subject Wells, (iii) gathering, treating, processing,
transportation and marketing hydrocarbons produced from the Subject Wells, (iv) plugging,
abandonment and remediation (including the Operating Reserve), and (v) Operator fees and
expenses related to the Subject Wells.

         “Suspended Revenues” mean the Subject Wells Net Production Proceeds as of the


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Closing Date less the Operating Reserve.

        1.02 Amendment of Defined Instruments. Unless the context otherwise requires or
unless otherwise provided herein, the terms defined in this Agreement which refer to a particular
agreement, instrument or document also refer to and include all renewals, extensions,
modifications, amendments and restatements of such agreement, instrument or document. Nothing
contained in this Agreement will be construed to authorize any renewal, extension, modification,
amendment or restatement of this Agreement or any agreement, instrument or document referred
to herein.

        1.03 References and Titles. All references in this Agreement to Exhibits, Articles,
Sections, subsections and other subdivisions refer to the Exhibits, Articles, Sections, subsections
and other subdivisions of this Agreement unless expressly provided otherwise. Titles appearing
at the beginning of any subdivisions are for convenience only, do not constitute any part of those
subdivisions and will be disregarded in construing the language contained in those subdivisions.
The words “this Agreement,” “this instrument,” “herein,” “hereof,” “hereby,” “hereunder” and
words of similar import refer to this Agreement as a whole and not to any particular subdivision
unless expressly so limited. The phrases “this section” and “this subsection” and similar phrases
refer only to the sections or subsections of this Agreement in which those phrases occur. The word
“or” is not exclusive; the word “including” (in its various forms) means “including without
limitation.” Pronouns in masculine, feminine and neuter genders shall be construed to include any
other gender, and words in the singular form shall be construed to include the plural and vice versa,
unless the context otherwise requires. The word “will” shall be construed to have the same
meaning and effect as the word “shall.” Unless the context requires otherwise (a) any reference
herein to any law shall be construed as referring to such law as amended, modified, codified or
reenacted, in whole or in part, and in effect from time to time; (b) any reference herein to any
person shall be construed to include such person's successors and assigns (subject to the restrictions
contained herein); (c) with respect to the determination of any time period, the word “from” means
“from and including” and the word “to” means “to and including;” and (d) all dollar amounts refer
to United States dollars. A reference herein to a number of “days” will be intended to refer to that
number of calendar (as opposed to working) days, unless otherwise specifically provided. No
provision of this Agreement or the Settlement Transaction Documents shall be interpreted or
construed more strictly against any person solely because such person or its legal representative
drafted such provision.

                                                   ARTICLE 2

                        Settlement Motions and Settlement Approval Orders

        2.01 Execution Date Deliveries. On the Execution Date, each Party shall execute and
deliver to the other Parties the following:

                 •         The Settlement Motions;
                 •         The proposed form of Settlement Approval Orders;
                 •         The Joint Motion for Entry of Agreed Final Judgment; and


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                 •         The proposed form of Agreed Final Judgment.

        2.02 Filing of Motions. Counsel for Payson Petroleum, Payson Operating and Maricopa
shall cause the Settlement Motions and proposed Settlement Approval Orders to be filed in the
respective Bankruptcy Cases. Counsel for Payson Petroleum, Payson Operating and Maricopa
shall cause the Joint Motion for Entry of Agreed Final Judgment and proposed form of Agreed
Final Judgment to be filed in the Adversary Proceeding.

        2.03 Prosecution of Motions. Each Party shall cooperate with the other Parties and use
their good faith best efforts to support entry by the Bankruptcy Court of (i) the Settlement Approval
Orders, and (ii) the Agreed Final Judgment. The Parties stipulate that 2014 LP and 3 Well LP
consent to entry of the Agreed Final Judgment is subject to Bankruptcy Court approval of the
Settlement Motions.

                                                   ARTICLE 3

                                                      Closing

        3.01 Time and Place. The Closing on the transactions contemplated in this Agreement
shall be conducted within three (3) Business Days after entry of the Settlement Approval Orders
(the “Closing Date”) at the office of Snow Spence Green LLP located at 2929 Allen Parkway,
Suite 2800, Houston, Texas 77019 or such later date as may be agreed upon by the Parties (the
“Closing”).

      3.02 Delivery by Maricopa to 3 Well LP. On the Closing Date, Maricopa shall deliver
to 3 Well LP the following: (a) a sum equal to 27.79% of forty-five percent (45%) of the
Suspended Revenues by wire transfer to the following account.

                 BOK Financial
                 7500 College Blvd., Ste. 1450
                 Overland Park, KS 66210
                 ABA: 101015101
                 Account Name: Payson Petroleum 3 Well, L.P.
                 Account Number: 1151505797

      3.03 Delivery by Maricopa to 2014 LP. On the Closing Date, Maricopa shall deliver to
2014 LP the following: (a) a sum equal to 72.21% of forty-five percent (45%) of the Suspended
Revenues by wire transfer to the following account.

                 BOK Financial
                 7500 College Blvd., Ste. 1450
                 Overland Park, KS 66210
                 ABA: 101015101
                 Account Name: Payson Petroleum 3 Well 2014, L.P.
                 Account Number: 1151505775



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        3.04 Delivery by 3 Well LP to Maricopa. On the Closing Date, 3 Well LP shall assign
all right, title and interests in 55% of the Suspended Revenues and deliver to Maricopa the duly
executed Subject Wells Assignments.

         3.05 Delivery by 2014 LP to Maricopa. On the Closing Date, 2014 LP shall assign all
right, title and interests in 55% of the Suspended Revenues and deliver to Maricopa the duly
executed Subject Wells Assignments.

        3.06 Delivery by 3 Well LP to Payson Petroleum. On the Closing Date, 3 Well LP shall
deliver to Payson Petroleum the duly executed 3 Well LP Subject Claims Assignment and
Participation Agreement.

        3.07 Delivery by 2014 LP to Payson Petroleum. On the Closing Date, 2014 LP shall
deliver to Payson Petroleum a duly executed 2014 LP Subject Claims Assignment and
Participation Agreement.

        3.08 Delivery by Payson Petroleum to 3 Well LP. On the Closing Date, Payson
Petroleum shall deliver to 3 Well LP a duly executed 3 Well LP Subject Claims Assignment and
Participation Agreement.

        3.09 Delivery by Payson Petroleum to 2014 LP. On the Closing Date, Payson Petroleum
shall deliver to 2014 LP a duly executed 2014 LP Subject Claims Assignment and Participation
Agreement.

                                                  ARTICLE 4

                                    Claims Stipulations and Releases

        4.01 Allowed Claims of Payson Petroleum. The Parties stipulate and agree to allowance
of (i) a general unsecured claim of Payson Petroleum in the 3 Well LP Bankruptcy Case in the
amount of $8,557,888.50, and (ii) a general unsecured claim of Payson Petroleum in the 2014 LP
Bankruptcy Case in the amount of $2,671,900.50.

       4.02 Allowed Claim of 3 Well LP. The Parties stipulate and agree to allowance of a
general unsecured claim of 3 Well LP in the Maricopa Bankruptcy Case in an amount equal to
27.78916% of the Subject Wells Net Proceeds actually disbursed to Maricopa pursuant to this
Agreement.

       4.03 Allowed Claim of 2014 LP. The Parties stipulate and agree to allowance of a
general unsecured claim of 2014 LP in the Maricopa Bankruptcy Case in an amount equal to
72.21084% of the Subject Wells Net Proceeds actually disbursed to Maricopa pursuant to this
Agreement.




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        4.04 Release by 2014 LP and 3 Well LP. Effective as of the Closing Date, 2014 LP and
3 Well LP (except for the 2014 LP and 3 Well LP Retained Claims as defined in this section)
hereby release, waive, and discharge Payson Petroleum, Payson Operating, Maricopa, the Operator
and the bankruptcy estates of Payson Petroleum, Payson Operating and Maricopa, from and against
any and all liabilities, claims, rights, debts, causes of action, suits, matters, issues, damages, costs,
injuries and demands whatsoever, whether at law or in equity, whether by contract or tort, at law
or under any statute, known or unknown, discovered or undiscovered, accrued or unaccrued,
liquidated or non-liquidated, contingent or absolute, which 2014 LP and/or 3 Well LP ever had or
now has, or may hereafter have, either directly or indirectly, individually, representatively,
derivatively, by virtue of subrogation, or by virtue of any action, inaction, matter, event,
representation or circumstances, transactions or occurrences prior to the Closing Date (“2014 LP
and 3 Well LP Released Claims”). Notwithstanding the foregoing, the release provided for in this
section does not extend to or include (i) allowed unsecured claims set forth in Sections 4.02 and
4.03, and (ii) the contractual obligations of Payson Petroleum, Payson Operating and Maricopa
pursuant to this Agreement and the Settlement Transaction Documents (“2014 LP and 3 Well LP
Retained Claims”).

         4.05 Release by Payson Petroleum, Payson Operating and Maricopa. Effective as of the
Closing Date, Payson Petroleum, Payson Operating and Maricopa (except for the Payson
Petroleum, Payson Operating and Maricopa Retained Claims as defined in this section), hereby
release, waive, and discharge 2014 LP and 3 Well LP and the bankruptcy estates of 2014 LP and
3 Well LP, from and against any and all liabilities, claims, rights, debts, causes of action, suits,
matters, issues, damages, costs, injuries and demands whatsoever, whether at law or in equity,
whether by contract or tort, at law or under any statute, known or unknown, discovered or
undiscovered, accrued or unaccrued, liquidated or non-liquidated, contingent or absolute, which
Payson Petroleum, Payson Operating and/or Maricopa ever had or now has, or may hereafter have,
by virtue of any action, inaction, matter, event, representation or circumstances, transactions or
occurrences prior to the Closing Date. Notwithstanding the foregoing, the release provided for in
this section does not extend to or include (i) allowed unsecured claims set forth in Section 4.01,
and (ii) the contractual obligations of 2014 LP and 3 Well LP pursuant to this Agreement and the
Settlement Transaction Documents, (iii) claims and causes of action against any general partner or
limited partner of 2014 LP or 3 Well LP, (iv) the Payson/3 Well LP Partnership Related Claims
(as that term is defined in the 3 Well LP Subject Claims Assignment and Participation Agreement),
(v) the Payson/2014 LP Partnership Related Claims (as that term is defined in the 2014 LP Subject
Claims Assignment and Participation Agreement), and (vi) all rights with respect to all of the
above, including as to third parties (“Payson Petroleum, Payson Operating and Maricopa Retained
Claims”).

                                                   ARTICLE 5

                                         Operation of Subject Wells

       5.01 Operator. Traton Operating Company (an affiliate of Traton Engineering
Associates, L.P.) (“Traton”) shall serve as contract operator of the Subject Wells in accordance
with the terms of the Operating Agreement until such time as Traton either resigns as Operator or



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is removed as Operator by the unanimous decision of Maricopa, 2014 LP and 3 Well LP. Effective
as of the Closing Date, 2014 LP and 3 Well LP ratify and agree to be bound by the terms of the
Operating Agreement.

        5.02 Operation Standards. The Parties agree that Operator shall not be liable for any act
or omission taken or omitted to be taken in its capacity as Operator of the Subject Wells, other
than acts or omissions resulting from Operator’s willful misconduct, gross negligence, or
fraud. The Operator may, in connection with the performance of its operation of the Subject Wells,
and in its sole absolute discretion, consult with Payson Operating and/or Payson Operating’s
attorneys, accountants and agents, and shall not be liable for any act taken, omitted to be taken, or
suffered to be done in accordance with advice or opinions rendered by such
professionals. Notwithstanding such authority, the Operator shall be under no obligation to consult
with Payson Operating and/or Payson Operating’s the attorneys, accountants, or agents, and its
determination to not do so shall not result in imposition of liability on the Operator unless such
determination is based on willful misconduct, gross negligence, or fraud. The bankruptcy estates
of Maricopa, 3 Well LP, and 2014 LP shall, JOINTLY AND SEVERALLY, indemnify and hold
harmless the Operator and his or her agents, representatives, professionals, and employees
(“Operator Group”) from and against and in respect to any and all liabilities, losses, damages,
claims, costs, and expenses, including, but not limited to attorneys’ fees and costs arising out of or
due to Operator Group’s actions or omissions, or consequences of such actions or omissions, with
respect to the operation of the Subject Wells, irrespective of cause or negligence; provided,
however, that no such indemnification will be made to the Operator Group for such actions or
omissions as a result of willful misconduct, gross negligence, or fraud.

                                                   ARTICLE 6

                                         Subject Wells Net Proceeds

       6.01 Establishment of Accounts. Within ten (10) Business Days following the Closing
Date, Maricopa shall establish the Subject Wells Account.

       6.02 Deposits into Subject Wells Account. Except to the extent otherwise ordered by
the Bankruptcy Court, Maricopa shall deposit into the Subject Wells Account (i) the gross proceeds
which it receives from the sale of Hydrocarbons produced from the Subject Wells, and (ii) the
Subject Wells Net Sales Proceeds.

       6.03 Operating Costs. Maricopa shall satisfy Subject Wells Operating Costs out of funds
deposited in the Subject Wells Account.

       6.04 Disbursement of Subject Wells Net Proceeds. Unless otherwise ordered by the
Bankruptcy Court, within forty-five (45) days of the end of each calendar quarter, the Subject
Wells Net Proceeds on deposit in the Subject Wells Account shall be disbursed as follows:

                 (a)       55% to Maricopa;
                 (b)       32.4945% to 2014 LP; and



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                 (c)       12.5055% to 3 Well LP.

        6.05 Accounting and Reporting. Within thirty (30) days of the end of each calendar
month, the Operator shall provide the Parties with a report itemizing (i) Subject Wells Operating
Costs and proceeds received by Maricopa from the sale of the Subject Wells Hydrocarbons, and,
(ii) Marketing Expenses and, if applicable, the proceeds from the sale of the Subject Wells.

                                                   ARTICLE 7

                                  Marketing and Sales of Subject Wells

     7.01 Covenant to Market and Sell Subject Wells. Maricopa will exert good faith
commercially reasonable efforts to market and sell the Subject Wells.

       7.02 Information. Maricopa will promptly provide a copy of any offer it receives to
purchase the Subject Wells to 2014 LP and 3 Well LP.

       7.03 Section 363 Sale. The Subject Wells will be sold by Maricopa under 11 U.S.C. §
363 pursuant to orders entered in the Bankruptcy Cases.

                                                   ARTICLE 8

                                      Representations and Warranties

        8.01 Review and Approval. Each Party represents to the other Party that its
representatives have reviewed this Agreement together with all exhibits and they (i) understand
fully the terms of this Agreement and the consequences of the issuance thereof, (ii) have been
afforded an opportunity to have this Agreement reviewed by legal counsel, and (iii) have entered
into this Agreement of their own free will and accord and without threat or duress.

        8.02 Authority. Each Party represents to the other Party that (i) the undersigned
representative is fully authorized to execute this Agreement on its behalf, and (ii) upon entry of
the Settlement Approval Orders, will have full authority to consummate the transactions provided
for herein.

       8.03 Disclaimer. Each Party represents and warrants to the other Party that in executing
and entering into this Agreement, it is not relying and has not relied upon any representation,
promise or statement made by anyone which is not recited, contained or embodied in this
Agreement. Each Party understands and expressly assumes the risk that any fact not recited,
contained or embodied herein or therein may turn out hereafter to be other than, different from, or
contrary to the facts now known to them or believed by them to be true.




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                                                   ARTICLE 9

                                                  Miscellaneous

        9.01 Entire Agreement. This Agreement, including all exhibits attached hereto and
made a part hereof, constitute the entire agreement between the Parties with respect to the
transactions contemplated hereby and supersede all prior agreements, understandings, negotiations
and discussions, whether oral or written, of the Parties with respect to such transactions.

        9.02 Survival. All representations, warranties, covenants and agreements of the Parties
made in this Agreement shall survive the execution and delivery of this Agreement until such time
as all of the obligations of the signatories to such document shall have lapsed in accordance with
their respective terms or shall have been discharged in full.

       9.03 Waiver. No waiver by a Party of any of the provisions of this Agreement (a) shall
be binding unless executed in writing by such party, (b) shall be deemed or shall constitute a waiver
by such party of any other provision hereof (whether or not similar), and (c) shall not constitute a
continuing waiver by such party.

       9.04 Further Assurances. The Parties will take such actions and execute and deliver such
other documents or agreements as may be necessary or desirable for the implementation of this
Agreement and the consummation of the transactions contemplated hereby.

        9.05 Notices. Any notice, request, consent, approval, waiver or other communication
provided or permitted to be given under this Agreement shall be in writing and shall be delivered
in person or sent by U.S. mail, overnight courier, electronic mail or fax to the appropriate addresses
set forth below. Any such communication shall be effective upon actual receipt; provided,
however, that in the case of delivery by fax after the normal business hours of the recipient, such
communication shall be effective on the next business day following the transmission of such fax.
For purposes of notice, the addresses of the Parties shall be as follows:

        If to Payson Petroleum, Payson Operating or Maricopa:

                           Jason R. Searcy
                           Searcy & Searcy, P.C.
                           446 Forest Square
                           Longview, Texas 75605
                           Fax: 903.757.3399
                           Email: jsearcy@jsearcylaw.com




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                           with a copy to:

                           Blake Hamm
                           Snow Spence Green LLP
                           2929 Allen Parkway, Suite 2800
                           Houston, TX 77019
                           Fax: 713.335.4848
                           Email: blakehamm@snowspencelaw.com

        If to 3 Well LP or 2014 LP:

                           Christopher J. Moser
                           Quilling, Selander, Lownds, Winslett & Moser, P.C.
                           2001 Bryan Street, Ste. 1800
                           Dallas, TX 75201
                           Fax: 214.871.2111
                           Email: cmoser@qslwm.com

                           with a copy to:

                           Keith W. Harvey
                           The Harvey Law Firm, P.C.
                           6510 Abrams Road, Ste. 280
                           Dallas, TX 75231
                           Fax: 972.241.3970
                           Email: harvey@keithharveylaw.com

Each Party shall have the right, upon giving ten (10) days’ prior notice to the other party in the
manner provided in this section, to change its address for purposes of notice.

        9.06 Governing Law and Venue. This Agreement shall be construed and interpreted in
accordance with the laws of the State of Texas, notwithstanding any applicable conflict of laws
provision. Any dispute regarding this Agreement shall be subject to mandatory venue in the United
States Bankruptcy Court for the Eastern District of Texas, Sherman Division.

        9.07 Multiple Counterparts. The Parties agree that facsimile and electronic signatures
shall have the same force and effect as original signatures. This Agreement may be executed in
counterparts and all counterparts so executed shall constitute one agreement which shall be binding
on the Parties hereto.

        9.08 Modification. This Agreement cannot be altered, changed or modified except in
writing executed by a duly authorized representative for each of the Parties.

       9.09 Severability. If any term or other provision of this Agreement is invalid, illegal or
incapable of being enforced by any rule of law or public policy, all other conditions and provisions



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of this Agreement shall nevertheless remain in full force and effect so long as the economic or
legal substance of the transactions contemplated hereby is not affected in any adverse manner with
respect to any Party. Upon determination of a court of competent jurisdiction that any term or
other provision of this Agreement is invalid, illegal or incapable of being enforced, the Parties
shall negotiate in good faith to modify this Agreement so as to affect the original intent of the
Parties as closely as possible. The obligations of the Parties hereunder are severable and not joint.

       9.10 Costs and Attorneys’ Fees. If either Party retains an attorney in connection with
any breach of this Agreement, the prevailing party is entitled to collect its reasonable costs and
expenses incurred in any such suit or proceeding, including reasonable attorneys’ fees.

                                           [Signature Pages Follow]




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                                          PAYSON PETROLEUM, INC.


                                          By:_--,q_e?'-'\'---------'----/L--=---=-~----
                                                   R. Searcy, Chapter 11 Trustee


                                          PAYSON OPERATING, LLC


                                          By:              ~ /(_ j;-
                                                   Jason~earcy, Chapter 11 Trustee


                                          MARICOPA RESOURCES, LLC


                                          By:              ~/(_                ~
                                                   Jaso~Searcy, Chapter 11 Trustee


                                          PAYSON PETROLEUM 3 WELL, L.P.


                                          By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Christopher J. Moser, Chapter 7 Trustee


                                          PAYSON PETROLEUM 3 WELL 2014, L.P.


                                          By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Christopher J. Moser, Chapter 7 Trustee




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                                          PAYSON PETROLEUM, INC.


                                          By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                Jason R. Searcy, Chapter 11 Trustee


                                         PAYSON OPERATING, LLC


                                         By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                               Jason R. Searcy, Chapter 11 Trustee


                                         MARICOPA RESOURCES, LLC


                                         By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                               Jason R. Searcy, Chapter 11 Trustee


                                         PAYSON PETROLEUM 3 WELL, L.P.


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STATE OF TEXAS                                         §
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       BEFORE ME, the undersigned authority, on this             day of  JD-rh            5erl-e rvtb€-.r
                                                                                       2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of PAYSON PETROLEUM, INC.,
whose name is subscribed to the foregoing instrument and acknowledged to me that he executed
the same for the purposes and consideration therein expressed.



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STATE OF TEXAS                                         §
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       BEFORE ME, the undersigned authority, on this            day of  J-e)±b             S:v-/em.bex-
                                                                                       2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of PAYSON OERA TING, LLC,
whose name is subscribed to the foregoing instrument and acknowledged to me that he executed
the same for the purposes and consideration therein expressed.


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       BEFORE ME, the undersigned authority, on thisdoth           day of ~m,ber 2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of MARIC0PARESOURCES,
LLC, whose name is subscribed to the foregoing instrument and acknowledged to me that he
executed the same for the purposes and consideration therein expressed .


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STATE OF TEXAS                                         §
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       BEFORE ME, the undersigned authority, on this ~ D,ll\. day of        o~
personally appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON ETROLEuM 3
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WELL, L.P., whose name is subscribed to the foregoing instrument and acknowledged to me that
he executed the same for the purposes and consideration therein expressed .

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STATE OF TEXAS                                         §
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       BEFORE ME, the undersigned authority, on this £ D~ day of ~ ~.Vl 2017,
personally appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM 3
WELL 2014, L.P., whose name is subscribed to the foregoing instrument and acknowledged to
me that he executed the same for the purposes and consideration therein expressed.


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                                                      EXHIBIT LIST

Exhibit 1           2014 LP Subject Claims Assignment and Participation Agreement
Exhibit 2           3 Well LP Subject Claims Assignment and Participation Agreement
Exhibit 3           Agreed Final Judgment
Exhibit 4           Joint Motion for Entry of Agreed Final Judgment
Exhibit 5           Contract Operating Services Agreement
Exhibit 6           Settlement Approval Order
Exhibit 7           Settlement Motions
Exhibit 8           Subject Wells Assignments




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  EXHIBIT 1 TO SETTLEMENT AGREEMENT

2014 LP SUBJECT CLAIMS ASSIGNMENT AND
       PARTICIPATION AGREEMENT
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      SUBJECT CLAIMS ASSIGNMENT AND PARTICIPATION AGREEMENT
                             (2014 LP)

        This Subject Claims Assignment and Participation Agreement (the “Agreement”) is
entered into as of ____________________, 2017 by and between Payson Petroleum, Inc. (“Payson
Petroleum”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”), referred to individually herein
as a “Party” and collectively as, the “Parties.”

                                                RECITALS

      WHEREAS, Christopher J. Moser is the duly appointed Chapter 7 Trustee in the 2014 LP
Bankruptcy Case (defined below).

       WHEREAS, Jason R. Searcy is the duly appointed Chapter 11 Trustee in the Payson
Petroleum Bankruptcy Case (defined below).

       WHEREAS, 2014 LP and Payson Petroleum are parties to the Settlement Agreement
(defined below) which provides for entry into this Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein, the Parties hereby agree as follows:

                                                  ARTICLE 1

                                                   Definitions

      1.01 Defined Terms. The following terms, as used in this Agreement, shall have the
meanings indicated below, unless the context otherwise requires:

       “2014 LP” means Payson Petroleum 3 Well 2014, L.P., Christopher J. Moser in his
capacity of Chapter 7 trustee of Payson Petroleum 3 Well 2014, L.P. and the Payson Petroleum 3
Well 2014, L.P. bankruptcy estate.

        “2014 LP Avoidance Action Claims” means all claims and causes of action of 2014 LP
arising under Chapter 5 of the Bankruptcy Code.

       “2014 LP Avoidance Action Claims Net Recovery” means any Net Recovery for or on
account of the 2014 LP Avoidance Action Claims.

       “2014 LP Bankruptcy Case” means Bankruptcy Case No. 17-40180 styled In re Payson
Petroleum 3 Well 2014, L.P., Debtor, pending in the United States Bankruptcy Court for the
Eastern District of Texas, Sherman Division.

       “2014 LP Participation Interest” means an undivided fifty percent (50%) interest.

       “2014 LP Partnership Related Claims” means all rights, claims, causes of action and
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rights of contribution of 2014 LP (independent of Section 2.02 of this Agreement) against any
current or former general partner or limited partner of 2014 LP, including but not limited to claims
under 11 U.S.C. § 723.

       “2014 LP Partnership Related Claims Net Recovery” means any Net Recovery for or
on account of the 2014 LP Partnership Related Claims.

       “Bankruptcy Code” means The Bankruptcy Reform Act of 1978, as codified in title 11
of the United States Code, as now in effect or hereafter amended.

       “Net Recovery” means the Recovery net of all expenses and fees (including Special
Counsel fees) incurred in connection with investigation, prosecution and collection of the Subject
Claims.

        “Payson/2014 LP Partnership Related Claims” means all rights, claims and causes of
action of Payson Petroleum (independent of Section 2.01 of this Agreement) against any current
or former general partner or limited partner of 2014 LP.

        “Payson/2014 LP Partnership Related Claims Net Recovery” means the Net Recovery
for and on account of the Payson/2014 LP Partnership Related Claims.

      “Payson Petroleum” means Payson Petroleum, Inc., Jason Searcy in his capacity of
Chapter 11 trustee of Payson Petroleum, Inc. and the Payson Petroleum, Inc. bankruptcy estate.

        “Payson Petroleum Bankruptcy Case” means Bankruptcy Case No. 16-41044 styled In
re Payson Petroleum, Inc., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

        “Payson Petroleum Participation Interest” means an undivided fifty percent (50%)
interest.

        “Recovery” means (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Parties for or on account of or in satisfaction or partial satisfaction
thereof with respect to the Subject Claims.

      “Settlement Agreement” means the Settlement Agreement entered into as of September
___, 2017 by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa
Resources, LLC, Jason Searcy, Chapter 11 Trustee for the Searcy Bankruptcy Cases, and (b)
Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014, L.P. and Christopher J. Moser,
Chapter 7 Trustee for the Moser Bankruptcy Cases.

        “Settlement Approval Order” has the meaning defined in the Settlement Agreement.

       “Special Counsel” means Snow Spence Green LLP.
       “Special Counsel Engagement Agreements” means (i) the August 15, 2016 Engagement
Letter Agreement by and between Snow Spence Green LLP and Jason R. Searcy, Chapter 11



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Trustee of Payson Petroleum, Inc., Maricopa Resources, LLC and Payson Operating, LLC, (ii) the
Engagement Letter Agreement between 2014 LP, 3 Well LP, Payson Petroleum and Snow Spence
Green LLP substantially in the form of Exhibit 1, and (iii) the Engagement Letter Agreement
between 2014 LP, Payson Petroleum and Snow Spence Green LLP in the form of Exhibit 2.

       “Subject Claims” means all 2014 LP Avoidance Action Claims, all 2014 LP Partnership
Related Claims and all Payson/2014 LP Partnership Related Claims.

        1.02 Amendment of Defined Instruments. Unless the context otherwise requires or
unless otherwise provided herein, the terms defined in this Agreement which refer to a particular
agreement, instrument or document also refer to and include all renewals, extensions,
modifications, amendments and restatements of such agreement, instrument or document. Nothing
contained in this Agreement will be construed to authorize any renewal, extension, modification,
amendment or restatement of this Agreement or any agreement, instrument or document referred
to herein.

        1.03 References and Titles. All references in this Agreement to Exhibits, Articles,
Sections, subsections and other subdivisions refer to the Exhibits, Articles, Sections, subsections
and other subdivisions of this Agreement unless expressly provided otherwise. Titles appearing
at the beginning of any subdivisions are for convenience only, do not constitute any part of those
subdivisions and will be disregarded in construing the language contained in those subdivisions.
The words “this Agreement,” “this instrument,” “herein,” “hereof,” “hereby,” “hereunder” and
words of similar import refer to this Agreement as a whole and not to any particular subdivision
unless expressly so limited. The phrases “this section” and “this subsection” and similar phrases
refer only to the sections or subsections of this Agreement in which those phrases occur. The word
“or” is not exclusive; the word “including” (in its various forms) means “including without
limitation.” Pronouns in masculine, feminine and neuter genders shall be construed to include any
other gender, and words in the singular form shall be construed to include the plural and vice versa,
unless the context otherwise requires. The word “will” shall be construed to have the same
meaning and effect as the word “shall.” Unless the context requires otherwise (a) any reference
herein to any law shall be construed as referring to such law as amended, modified, codified or
reenacted, in whole or in part, and in effect from time to time; (b) any reference herein to any
person shall be construed to include such person's successors and assigns (subject to the restrictions
contained herein); (c) with respect to the determination of any time period, the word “from” means
“from and including” and the word “to” means “to and including;” and (d) all dollar amounts refer
to United States dollars. A reference herein to a number of “days” will be intended to refer to that
number of calendar (as opposed to working) days, unless otherwise specifically provided. No
provision of this Agreement shall be interpreted or construed more strictly against any person
solely because such person or its legal representative drafted such provision.

                                                   ARTICLE 2

                                                    Assignment

        2.01 Assignment by 2014 LP of Participation Interest. 2014 LP hereby absolutely and
unconditionally sells, transfers and assigns to Payson Petroleum, the Payson Petroleum
Participation Interest in (i) the 2014 LP Avoidance Action Claims Net Recovery, and (ii) the 2014


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LP Partnership Related Claims Net Recovery.

        2.02 Assignment by Payson Petroleum of Participation Interest. Payson Petroleum
hereby absolutely and unconditionally sells, transfers and assigns to 2014 LP, the 2014 LP
Participation Interest in the Payson/2014 LP Partnership Related Claims Net Recovery.

                                                   ARTICLE 3

                                Preservation, Prosecution and Authority

        3.01 Preservation. 2014 LP retains all 2014 LP Avoidance Action Claims and all 2014
LP Partnership Related Claims subject to the Payson Petroleum Participation Interest and Payson
Petroleum’s rights hereunder. Upon entry of the Settlement Approval Order in the 2014 LP
Bankruptcy Case and execution of this Agreement, Payson Petroleum is vested with and may
enforce and prosecute (or determine to do any of the foregoing) the 2014 LP Avoidance Action
Claims and 2014 LP Partnership Related Claims without further order of the Bankruptcy Court.
Payson Petroleum’s right to commence, prosecute or settle 2014 LP Avoidance Action Claims and
2014 LP Partnership Related Claims shall be preserved. No preclusion doctrine, including the
doctrines of res judicata; collateral estoppel, issue preclusion, claim preclusion, estoppel shall
apply to the 2014 LP Avoidance Action Claims or 2014 LP Partnership Related Claims by virtue
of entry into this Agreement. Payson Petroleum in connection with the 2014 LP Avoidance Action
Claims and the 2014 LP Partnership Related Claims shall constitute the representative of the 2014
LP bankruptcy estate for purposes of prosecuting the 2014 LP Avoidance Action Claims and the
2014 LP Partnership Related Claims.

        3.02 Standing. The Parties stipulate and agree that Payson Petroleum shall have standing
to assert and prosecute on behalf of 2014 LP all 2014 LP Avoidance Action Claims and all 2014
LP Partnership Related Claims.

        3.03 Authority. Subject to Section 6.01, Payson Petroleum shall have exclusive
authority with respect to the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action
Claims and the Payson/2014 LP Partnership Related Claims. The exclusive authority of Payson
Petroleum includes investigation, management and settlement of all litigation related to the 2014
LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the Payson/2014 LP
Partnership Related Claims.

                                                   ARTICLE 4

                                                 Special Counsel

       4.01 Engagement of Counsel. Snow Spence Green LLP is engaged pursuant to the
Special Counsel Engagement Agreement, dated August 15, 2016 (approved by Bankruptcy Court
order dated September 19, 2016), to investigate and prosecute the Payson/3Well LP Partnership
Related Claims.




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        4.02 Engagement Agreement. Snow Spence Green LLP (subject to Bankruptcy Court
approval) is engaged to investigate and prosecute the 2014 LP Avoidance Action Claims and the
2014 LP Partnership Related Claims pursuant to the terms of the Special Counsel Engagement
Agreement attached as Exhibit 2. 2014 LP shall cause an order approving the engagement of
Snow Spence Green LLP and the Special Counsel Engagement Agreement, attached as Exhibit 2,
to be entered in the 2014 LP Bankruptcy Case.

                                                   ARTICLE 5

                                          Application of Recoveries

       5.01 Fees and Expenses. Any Recovery shall be applied first, to satisfy fees pursuant to
the Special Counsel Engagement Agreements and, second, to expenses incurred by Special
Counsel and Payson Petroleum in connection with investigation, prosecution and collection of the
Subject Claims.

       5.02 Disbursement of Net Recoveries. Payson Petroleum is hereby assigned and shall
receive the Payson Petroleum Participation Interest in all (i) 2014 LP Partnership Related Claims
Net Recoveries, (ii) 2014 LP Avoidance Action Claims Net Recoveries, and (iii) Payson/2014 LP
Partnership Related Claims Net Recoveries. 2014 LP is hereby assigned and shall receive the 2014
LP Participation Interest in all (x) 2014 LP Partnership Related Claims Net Recoveries, (y) 2014
LP Avoidance Action Claims Net Recoveries, and (z) Payson/2014 LP Partnership Related Claims
Net Recoveries.

                                                   ARTICLE 6

                                                  Miscellaneous

      6.01       Settlement. Any settlement of a Subject Claim is subject to Bankruptcy Court
approval.

        6.02 Discretion. Payson Petroleum shall determine in its sole discretion the Subject
Claims to investigate and prosecute. Subsequent to October 1, 2018, Payson Petroleum shall, upon
the written request of 2014 LP, release from this Agreement and assign back to 2014 LP any 2014
LP Partnership Related Claim or 2014 LP Avoidance Action Claim which Payson Petroleum
which it has determined that it will not prosecute.
        6.03 Indemnification. 2014 LP hereby indemnifies and holds harmless Payson
Petroleum and its agents, representatives, professionals and employees from and against and in
respect to any and all liabilities, losses, damages, claims, costs and expenses, including, but not
limited to, attorneys’ fees and costs arising out of or due to its actions or omissions, or
consequences of such actions or omissions, with respect to Payson Petroleum’s investigation,
management, prosecution or settlement of the Subject Claims; provided, however, that no such
indemnification will be made to Payson Petroleum for actions or omissions resulting from willful
misconduct, gross negligence or fraud.

        6.04     Entire Agreement. This Agreement, including all exhibits attached hereto and



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made a part hereof, constitute the entire agreement between the Parties with respect to the
transactions contemplated hereby and supersede all prior agreements, understandings, negotiations
and discussions, whether oral or written, of the Parties with respect to such transactions.

        6.05 Survival. All representations, warranties, covenants and agreements of the Parties
made in this Agreement shall survive the execution and delivery of this Agreement until such time
as all of the obligations of the signatories to such document shall have lapsed in accordance with
their respective terms or shall have been discharged in full.

        6.06 Waiver. No waiver by a Party of any of the provisions of this Agreement (a) shall
be binding unless executed in writing by such Party, (b) shall be deemed or shall constitute a
waiver by such Party of any other provision hereof (whether or not similar), and (c) shall not
constitute a continuing waiver by such Party.

       6.07 Further Assurances. The Parties will take such actions and execute and deliver such
other documents or agreements as may be necessary or desirable for the implementation of this
Agreement and the consummation of the transactions contemplated hereby.

        6.08 Notices. Any notice, request, consent, approval, waiver or other communication
provided or permitted to be given under this Agreement shall be in writing and shall be delivered
in person or sent by U.S. mail, overnight courier, electronic mail or fax to the appropriate addresses
set forth below. Any such communication shall be effective upon actual receipt; provided,
however, that in the case of delivery by fax after the normal business hours of the recipient, such
communication shall be effective on the next business day following the transmission of such fax.
For purposes of notice, the addresses of the Parties shall be as follows:

        If to Payson Petroleum:

        Jason R. Searcy
        Searcy & Searcy, P.C.
        446 Forest Square
        Longview, Texas 75605
        Fax: 903.757.3399
        Email: jsearcy@jsearcylaw.com

        with a copy to:

        Blake Hamm
        Snow Spence Green LLP
        2929 Allen Parkway, Suite 2800
        Houston, TX 77019
        Fax: 713.335.4848
        Email: blakehamm@snowspencelaw.com

        If to 2014 LP:




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        Christopher J. Moser
        Quilling, Selander, Lownds, Winslett & Moser, P.C.
        2001 Bryan Street, Ste. 1800
        Dallas, TX 75201
        Fax: 214.871.2111
        Email: cmoser@qslwm.com

        with a copy to:

        Keith W. Harvey
        The Harvey Law Firm, P.C.
        6510 Abrams Road, Ste. 280
        Dallas, TX 75231
        Fax: 972.241.3970
        Email: harvey@keithharveylaw.com

        Each Party shall have the right, upon giving ten (10) days’ prior notice to the other party
in the manner provided in this section, to change its address for purposes of notice.

        6.09 Governing Law and Venue. This Agreement shall be construed and interpreted in
accordance with the laws of the State of Texas, notwithstanding any applicable conflict of laws
provision. Any dispute regarding this Agreement shall be subject to mandatory venue in the United
States Bankruptcy Court for the Eastern District of Texas, Sherman Division.

        6.10 Multiple Counterparts. The Parties agree that facsimile and electronic signatures
shall have the same force and effect as original signatures. This Agreement may be executed in
counterparts and all counterparts so executed shall constitute one agreement which shall be binding
on the Parties hereto.

        6.11 Modification. This Agreement cannot be altered, changed or modified except in
writing executed by a duly authorized representative for each of the Parties.

        6.12 Severability. If any term or other provision of this Agreement is invalid, illegal or
incapable of being enforced by any rule of law or public policy, all other conditions and provisions
of this Agreement shall nevertheless remain in full force and effect so long as the economic or
legal substance of the transactions contemplated hereby is not affected in any adverse manner with
respect to any Party. Upon determination of a court of competent jurisdiction that any term or
other provision of this Agreement is invalid, illegal or incapable of being enforced, the Parties
shall negotiate in good faith to modify this Agreement so as to affect the original intent of the
Parties as closely as possible. The obligations of the Parties hereunder are severable and not joint.

       6.13 Costs and Attorneys’ Fees. If either Party retains an attorney in connection with
any default or to collect, enforce, or defend this Agreement in any lawsuit, reorganization,
bankruptcy or other proceeding, the prevailing party is entitled to collect its reasonable costs and
expenses incurred in any such suit or proceeding, including reasonable attorneys’ fees.




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                                         PAYSON PETROLEUM, INC.


                                         By:
                                                   Jason R. Searcy, Chapter 11 Trustee


                                         PAYSON PETROLEUM 3 WELL 2014, L.P.


                                         By:
                                               Christopher J. Moser, Chapter 7 Trustee




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STATE OF TEXAS                                    §
                                                  §
COUNTY OF GREGG                                   §

       BEFORE ME, the undersigned authority, on this _______ day of ______________ 2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of PAYSON PETROLEUM, INC.,
whose name is subscribed to the foregoing instrument and acknowledged to me that he executed
the same for the purposes and consideration therein expressed.


                                                            ______________________________________
                                                            Notary Public in and for State of Texas
                                                            My Commission Expires:


STATE OF TEXAS                                    §
                                                  §
COUNTY OF ____________                            §

       BEFORE ME, the undersigned authority, on this _______ day of _____________ 2017,
personally appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM
2014, L.P., whose name is subscribed to the foregoing instrument and acknowledged to me that
he executed the same for the purposes and consideration therein expressed.


                                                            ______________________________________
                                                            Notary Public in and for State of Texas
                                                            My Commission Expires:




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                                           __________________, 2017

VIA EMAIL: cmoser@qslwm.com                                     VIA EMAIL: jsearcy@jsearcylaw.com

Mr. Christopher J. Moser                                        Mr. Jason R. Searcy
Quilling, Selander, Lownds, Winslett & Moser, P.C.              Searcy & Searcy, P.C.
2001 Bryan Street, Ste. 1800                                    446 Forest Square
Dallas, TX 75201                                                Longview, TX 75605

        Re:      Proposed Engagement Agreement

                 Bankruptcy Case No. 17-40179; In re Payson Petroleum 3 Well, L.P. in the United
                 States Bankruptcy Court, Eastern District of Texas, Sherman Division (the
                 “Bankruptcy Case”)

Mr. Moser and Mr. Searcy:

        This letter sets forth the terms of engagement of Snow Spence Green LLP (“SSG”) to analyze and
pursue at the discretion of Jason R. Searcy, Chapter 11 Trustee of Payson Petroleum, Inc. certain claims
and causes of action and objections on behalf of the bankruptcy estate of Payson Petroleum 3 Well, L.P.
(“3 Well LP” or “Debtor”). This agreement is entered into pursuant to the terms of a Settlement Agreement
by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC, Jason
Searcy, Chapter 11 Trustee, and (b) Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014, L.P.
and Christopher J. Moser, Chapter 7 Trustee, dated __________, 2017, and is subject to Bankruptcy Court
approval. Upon the execution of this letter agreement, we will prepare for your review and approval a
motion to employ SSG as special litigation counsel under 11 U.S.C. §§ 327(e) and 328.

        Description of Engagement. The client pursuant to this Engagement Agreement is Jason R.
Searcy, Chapter 11 Trustee of Payson Petroleum, Inc., acting in his capacity as a representative of the 3
Well LP bankruptcy estate (“Client”) pursuant to the terms of the Subject Claims Assignment and
Participation Agreement between Payson Petroleum, Inc. and 3 Well LP. The representation by SSG
pursuant to this Agreement would be limited to investigation and prosecution (to the extent determined by
SSG to be cost justified) of the following:

        a.       3 Well LP’s claims and causes of action under either chapter 5 of the United States
                 Bankruptcy Code or any applicable state fraudulent transfer (“Avoidance Actions”); and

        b.       3 Well LP’s rights, claims, causes of action, and rights of contribution against any current
                 or former general partner or limited partner of 3 Well LP, including but not limited to
                 claims under 11 U.S.C. § 723 (“Partnership Related Claims”); and

        c.       objections to the allowance of claims asserted against Debtor as to which claims and causes
                 of action are asserted by Client.


                    2929 ALLEN PARKWAY | SUITE 2800 | HOUSTON, TX 77019
                  MAIN: 713.335.4800 | FAX: 713.335.4848 | SNOWSPENCELAW.COM
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(collectively, the “Subject Matters”). Claims, causes of action and/or objections with respect to a specific
party are referred to as a “Specific Subject Matter”). SSG’s representation of Client pursuant to this
agreement will be limited to the specific matters referenced herein, and SSG is not undertaking, absent a
specific engagement letter to the contrary, to represent Client in other matters or in any general counsel
capacity.

        SSG will be responsible for the drafting of documents, preparation of pleadings, attending court
hearings and trials, participating in negotiations, performing legal research, and conducting conferences,
and consultations as may be necessary to represent you with respect to each claim for which litigation is
commenced.

         Although SSG will endeavor to obtain results satisfactory to Client, we cannot guarantee that we
will be successful. As part of this agreement, Client and Christopher J. Moser, Chapter 7 Trustee of 3 Well
LP (the “3 Well LP Trustee”) acknowledge that (i) neither SSG nor any of its respective professionals have
made any promises or guarantees regarding any outcome of the Subject Matters and that no guarantees or
promises can be made regarding the outcome thereof; (ii) neither SSG nor any of its respective professionals
have made any promises or guarantees regarding the length of time required to obtain the resolution of the
Subject Matters; and (iii) either at the beginning or during the course of its representation, SSG may express
its opinions or beliefs concerning the Subject Matters and the results that might be anticipated; but that any
such statement(s) are intended to be an expression of opinion only, based on information available at the
time, and must not be construed by Client or 3 Well LP Trustee as a promise or guarantee, as no such
promises or guarantees are possible.

        Client and 3 Well LP Trustee acknowledge and agree that SSG is under no obligation to represent
them with respect to a Subject Matter if SSG determines, in its sole discretion, that pursuit of any particular
Subject Matter is not cost justified.

        To enable SSG to effectively perform the contemplated services, it is essential that Client and the
3 Well LP Trustee disclose fully and accurately all facts and keep us apprised of all developments relating
to the Subject Matters. Client and the 3 Well LP Trustee agree to cooperate fully with SSG and to make
themselves and their representatives available to attend meetings, conferences, hearings and other
proceedings.

         Legal Fees. The representation will be handled on a contingency fee basis with SSG’s fee being
dependent upon recovery through settlement or trial, except in the event of discharge or withdrawal from
representation as provided below. The fees to be paid to SSG will be a percentage of the “Recovery” (as
defined below) realized with respect to each Specific Subject Matter. The Client and the 3 Well LP Trustee
agree to pay SSG a contingent fee based upon (i) the outcome achieved with respect to each Specific Subject
Matter, and (ii) the occurrence of specified benchmark events with respect to each Specific Subject Matter.
The agreed upon percentages and benchmarks are set forth below:
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           Fees as a
           Percent of
           Recovery                                        Benchmark Event

              33%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter prior to the earlier of (i) submission of a proposed joint
                            pre-trial order, or (ii) submission of a position statement to an agreed
                            upon or court appointed mediator for the Specific Subject Matter.

              35%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after submission of a position statement to an agreed upon
                            or court appointed mediator for a Specific Subject Matter.

              40%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after the earlier of (i) conclusion of an unsuccessful
                            mediation, or (ii) submission of a proposed joint pre-trial order.

The Client and the 3 Well LP Trustee acknowledge that the foregoing contingency fee terms are not set by
law, but are negotiable, and have been negotiated, between the Client, the 3 Well LP Trustee.

         The term “Recovery” shall mean (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Client and/or the 3 Well LP Trustee as of the date of recovery, plus (iii) the value
of any claim that is released or disallowed, plus (iv) the value of any potential unsecured claim based upon
§ 502(h) of the Bankruptcy Code that is released or disallowed. The dollar amount of each Recovery with
respect to a Specific Subject Matter will be calculated before deduction of any applicable expenses of the
lawsuit. For purposes of this agreement, if a proof of claim was filed by the subject creditor, the dollar
amount of a the claim released or disallowed (other than any claim under § 506(h) of the Bankruptcy Code)
will be determined based upon the dollar amount set forth in the proof of claim filed by the subject creditor
which is released or disallowed. If a proof of claim was not filed by the subject creditor, the dollar amount
released or disallowed will be determined based upon the dollar amount set forth in the Schedules and
Assets and Liabilities filed in the bankruptcy cases by 3 Well LP with respect to the subject creditor which
is released or disallowed. For purposes of this agreement, the value of each dollar of each pre-petition
claim or administrative claim released or disallowed will be determined based on the projected percentage
recovery of the applicable class of claim. For example, if the projected recovery by unsecured claim holders
was 25% on the dollar, then the value of each dollar of unsecured claim released or discharged would be
.25¢.

         Subject to the terms of this Agreement, the Client and the 3 Well LP Trustee hereby convey,
transfer, and assign to SSG an undivided interest in the Subject Matters, such interest being equal to the
amount of the percentages therein described above.

         Out-of-Pocket Expenses. Client and the 3 Well LP Trustee acknowledge and agree that in
connection with investigation and prosecution of the Subject Matters, the services of third parties will be
necessary. Such other persons and entities may include, but are not limited to, court reporters, accountants,
investigators and expert witnesses. Such third party fees and expenses will be billed directly to Client.
Client will be responsible for paying fees and expenses of third parties. In the event that there are
insufficient funds in the estate to timely pay for the third party services, SSG will advance the amount
necessary and such advances will be treated as reimbursable expenses.
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        Client and the 3 Well LP Trustee further acknowledge that SSG will incur various expenses in
providing services to Client. Client agrees to reimburse SSG for all out-of-pocket expenses paid by SSG.
Such expenses include, but are not limited to, charges for serving and filing papers, courier or messenger
services, recording and certifying documents, depositions, transcripts, investigations, witnesses, long
distance telephone calls, copying materials, and travel expenses. Expenses advanced by SSG would be
reimbursed by Client solely out of Recoveries.

        Settlements. Any settlement offer received by SSG will be immediately conveyed to Client and
the 3 Well LP Trustee with our recommendation for acceptance or rejection. Any settlement offer received
by Client and the 3 Well LP Trustee will be conveyed to SSG for notice purposes only.

         No settlement of any nature shall be made for the Subject Matters without the approval of
Client and the United States Bankruptcy Court. Client acknowledges that all communications from
adverse parties or their counsel in connection with the Subject Matters are required to be directed to SSG,
as counsel, pursuant to Texas Disciplinary Rule of Professional Conduct 4.02; and Client agrees to instruct
all adverse parties and their counsel to communicate only through SSG, unless SSG agrees otherwise.

         Conflict Matters. SSG has represented and currently represents Client on an ongoing basis with
matters related to this Bankruptcy Case and other cases including, but not limited to, matters in the
following bankruptcy cases: (i) In re Payson Petroleum, Inc. (Bankruptcy Case No. 16-41044); (ii) In re
Payson Operating, LLC (Bankruptcy Case No. 16-41045); (iii) In re Maricopa Resources, LLC
(Bankruptcy Case No. 16-41043); and (iv) In re Payson Petroleum 3 Well 2014, L.P. (Bankruptcy Case
No. 17-40180). While SSG does not anticipate that its prior and/or current representation of Client will
adversely affect Client’s or 3 Well LP Trustee’s interests in the Subject Matters, applicable rules of
professional conduct require that SSG obtain Client’s consent to its representation of Client with respect to
the Subject Matters. Client acknowledges his express and informed consent to SSG’s representation of
Client with respect to the Subject Matters as well as SSG’s continuing representation of Client in other
matters, including related matters. 3 Well LP Trustee acknowledges that he is aware that SSG represents
Client in other matters, including the above-referenced related matters, and waives any conflict relating
thereto.

         If a controversy arises between you and any other client of SSG, SSG, after taking into account the
applicable rules of professional ethics, may decline to represent you or such other client or both you and
such other client. Following the conclusion of our representation of you in this matter, SSG reserves the
right to represent other future clients on unrelated matters which may be adverse to your interests.

         Withdrawal/Termination of Representation. Our representation may be terminated prior to the
conclusion of the Subject Matters covered under this engagement letter by written notice to the other party.
SSG reserves the right to withdraw from its representation if, among other things, Client fails to honor the
terms of this engagement letter or fails to cooperate or follow SSG’s advice on a material matter, or if any
fact or circumstance would, in SSG’s view, render our continuing representation unlawful, unethical or
ineffective. No such termination or withdrawal, however, will relieve Client of the obligation to pay the
legal fees owed for services performed and other charges owing to SSG as set forth in this agreement.

         Work Files – Retention and Disposition. SSG will maintain all documents furnished to us in our
files for this matter. At the conclusion of the matter covered under this engagement letter (or earlier, if
appropriate), it is Client’s and the 3 Well LP Trustee’s obligation to advise us as to which, if any, documents
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in our files they wish SSG to return. SSG may keep copies thereof for our records to the extent we believe
advisable. SSG will retain any remaining documents in our files for a period of one (1) year following
conclusion of our representation in this matter. THEREAFTER, SUCH FILES MAY, AT OUR SOLE
DISCRETION AND WITHOUT FURTHER NOTICE TO YOU, BE DESTROYED.

         Email Communications. To the extent appropriate, SSG communicates with respective clients
(and others) by means of electronic mail. The use of email has proven over time to be an effective and
efficient means of exchanging both messages and documents. We are mindful of the concerns of some
clients that email transmission could be compromised, and thus prohibit its use or prohibit its use in an
unencrypted form. The use of encryption, however, though intended to be “seamless” in use, has caused
difficulties in communication with some parties. Thus, to avoid the possibility of disruptions in the flow
of information, and prompted by the near-unanimity on the part of bar associations throughout the country,
as well as the American Bar Association, in support of the preservation of attorney-client privileges in
unencrypted email communications, unless specifically instructed by you, we will assume your consent to
use of unencrypted email as a means of communication.

         Approval of Terms of Engagement. If the above and foregoing meets with your understanding,
please so indicate by executing this agreement in the place provided below for your signature. A copy of
this agreement should be retained for your files.

       Bankruptcy Court Approval. The parties acknowledge that the Bankruptcy Court must
approve this agreement.

                                                            Regards,

                                                            SNOW SPENCE GREEN LLP

                                                            By:____________________________________
                                                                   Phil F. Snow


Accepted and Agreed this __________ day of _________________, 2017:



By:
      Christopher J. Moser
      Chapter 7 Trustee for Payson Petroleum 3 Well, L.P.


By:
      Jason R. Searcy
      Chapter 11 Trustee for Payson Petroleum, Inc.




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                                            ________________, 2017

VIA EMAIL: cmoser@qslwm.com                                     VIA EMAIL: jsearcy@jsearcylaw.com

Mr. Christopher J. Moser                                        Mr. Jason R. Searcy
Quilling, Selander, Lownds, Winslett & Moser, P.C.              Searcy & Searcy, P.C.
2001 Bryan Street, Ste. 1800                                    446 Forest Square
Dallas, TX 75201                                                Longview, TX 75605

        Re:      Proposed Engagement Agreement

                 Bankruptcy Case No. 17-40180; In re Payson Petroleum 3 Well 2014, L.P. in the United
                 States Bankruptcy Court, Eastern District of Texas, Sherman Division (the
                 “Bankruptcy Case”)

Mr. Moser and Mr. Searcy:

        This letter sets forth the terms of engagement of Snow Spence Green LLP (“SSG”) to analyze and
pursue at the discretion of Jason R. Searcy, Chapter 11 Trustee of Payson Petroleum, Inc. certain claims
and causes of action and objections on behalf of the bankruptcy estate of Payson Petroleum 3 Well 2014,
L.P. (“2014 LP” or “Debtor”). This agreement is entered into pursuant to the terms of a Settlement
Agreement by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC,
Jason Searcy, Chapter 11 Trustee, and (b) Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014,
L.P. and Christopher J. Moser, Chapter 7 Trustee, dated __________, 2017, and is subject to Bankruptcy
Court approval. Upon the execution of this letter agreement, we will prepare for your review and approval
a motion to employ SSG as special litigation counsel under 11 U.S.C. §§ 327(e) and 328.

         Description of Engagement. The client pursuant to this Engagement Agreement is Jason R.
Searcy, Chapter 11 Trustee of Payson Petroleum, Inc., acting in his capacity as a representative of the 2014
LP bankruptcy estate (“Client”) pursuant to the terms of the Subject Claims Assignment and Participation
Agreement between Payson Petroleum, Inc. and 2014 LP. The representation by SSG pursuant to this
Agreement would be limited to investigation and prosecution (to the extent determined by SSG to be cost
justified) of the following:

        a.       2014 LP’s claims and causes of action under either chapter 5 of the United States
                 Bankruptcy Code or any applicable state fraudulent transfer (“Avoidance Actions”); and

        b.       2014 LP’s rights, claims, causes of action, and rights of contribution against any current or
                 former general partner or limited partner of 2014 LP, including but not limited to claims
                 under 11 U.S.C. § 723 (“Partnership Related Claims”); and

        c.       objections to the allowance of claims asserted against Debtor as to which claims and causes
                 of action are asserted by Client.


                    2929 ALLEN PARKWAY | SUITE 2800 | HOUSTON, TX 77019
                  MAIN: 713.335.4800 | FAX: 713.335.4848 | SNOWSPENCELAW.COM
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(collectively, the “Subject Matters”). Claims, causes of action and/or objections with respect to a specific
party are referred to as a “Specific Subject Matter”). SSG’s representation of Client pursuant to this
agreement will be limited to the specific matters referenced herein, and SSG is not undertaking, absent a
specific engagement letter to the contrary, to represent Client in other matters or in any general counsel
capacity.

        SSG will be responsible for the drafting of documents, preparation of pleadings, attending court
hearings and trials, participating in negotiations, performing legal research, and conducting conferences,
and consultations as may be necessary to represent you with respect to each claim for which litigation is
commenced.

         Although SSG will endeavor to obtain results satisfactory to Client, we cannot guarantee that we
will be successful. As part of this agreement, Client and Christopher J. Moser, Chapter 7 Trustee of 2014
LP (the “2014 LP Trustee”) acknowledge that (i) neither SSG nor any of its respective professionals have
made any promises or guarantees regarding any outcome of the Subject Matters and that no guarantees or
promises can be made regarding the outcome thereof; (ii) neither SSG nor any of its respective professionals
have made any promises or guarantees regarding the length of time required to obtain the resolution of the
Subject Matters; and (iii) either at the beginning or during the course of its representation, SSG may express
its opinions or beliefs concerning the Subject Matters and the results that might be anticipated; but that any
such statement(s) are intended to be an expression of opinion only, based on information available at the
time, and must not be construed by Client or 2014 LP Trustee as a promise or guarantee, as no such promises
or guarantees are possible.

        Client and 2014 LP Trustee acknowledge and agree that SSG is under no obligation to represent
them with respect to a Subject Matter if SSG determines, in its sole discretion, that pursuit of any particular
Subject Matter is not cost justified.

       To enable SSG to effectively perform the contemplated services, it is essential that Client and the
2014 LP Trustee disclose fully and accurately all facts and keep us apprised of all developments relating to
the Subject Matters. Client and the 2014 LP Trustee agree to cooperate fully with SSG and to make
themselves and their representatives available to attend meetings, conferences, hearings and other
proceedings.

         Legal Fees. The representation will be handled on a contingency fee basis with SSG’s fee being
dependent upon recovery through settlement or trial, except in the event of discharge or withdrawal from
representation as provided below. The fees to be paid to SSG will be a percentage of the “Recovery” (as
defined below) realized with respect to each Specific Subject Matter. The Client and the 2014 LP Trustee
agree to pay SSG a contingent fee based upon (i) the outcome achieved with respect to each Specific Subject
Matter, and (ii) the occurrence of specified benchmark events with respect to each Specific Subject Matter.
The agreed upon percentages and benchmarks are set forth below:
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           Fees as a
           Percent of
           Recovery                                        Benchmark Event

              33%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter prior to the earlier of (i) submission of a proposed joint
                            pre-trial order, or (ii) submission of a position statement to an agreed
                            upon or court appointed mediator for the Specific Subject Matter.

              35%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after submission of a position statement to an agreed upon
                            or court appointed mediator for a Specific Subject Matter.

              40%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after the earlier of (i) conclusion of an unsuccessful
                            mediation, or (ii) submission of a proposed joint pre-trial order.

The Client and the 2014 LP Trustee acknowledge that the foregoing contingency fee terms are not set by
law, but are negotiable, and have been negotiated, between the Client, the 2014 LP Trustee.

         The term “Recovery” shall mean (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Client and/or the 2014 LP Trustee as of the date of recovery, plus (iii) the value
of any claim that is released or disallowed, plus (iv) the value of any potential unsecured claim based upon
§ 502(h) of the Bankruptcy Code that is released or disallowed. The dollar amount of each Recovery with
respect to a Specific Subject Matter will be calculated before deduction of any applicable expenses of the
lawsuit. For purposes of this agreement, if a proof of claim was filed by the subject creditor, the dollar
amount of a the claim released or disallowed (other than any claim under § 506(h) of the Bankruptcy Code)
will be determined based upon the dollar amount set forth in the proof of claim filed by the subject creditor
which is released or disallowed. If a proof of claim was not filed by the subject creditor, the dollar amount
released or disallowed will be determined based upon the dollar amount set forth in the Schedules and
Assets and Liabilities filed in the bankruptcy cases by 2014 LP with respect to the subject creditor which
is released or disallowed. For purposes of this agreement, the value of each dollar of each pre-petition
claim or administrative claim released or disallowed will be determined based on the projected percentage
recovery of the applicable class of claim. For example, if the projected recovery by unsecured claim holders
was 25% on the dollar, then the value of each dollar of unsecured claim released or discharged would be
.25¢.

        Subject to the terms of this Agreement, the Client and the 2014 LP Trustee hereby convey, transfer,
and assign to SSG an undivided interest in the Subject Matters, such interest being equal to the amount of
the percentages therein described above.

         Out-of-Pocket Expenses. Client and the 2014 LP Trustee acknowledge and agree that in
connection with investigation and prosecution of the Subject Matters, the services of third parties will be
necessary. Such other persons and entities may include, but are not limited to, court reporters, accountants,
investigators and expert witnesses. Such third party fees and expenses will be billed directly to Client.
Client will be responsible for paying fees and expenses of third parties. In the event that there are
insufficient funds in the estate to timely pay for the third party services, SSG will advance the amount
necessary and such advances will be treated as reimbursable expenses.
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        Client and the 2014 LP Trustee further acknowledge that SSG will incur various expenses in
providing services to Client. Client agrees to reimburse SSG for all out-of-pocket expenses paid by SSG.
Such expenses include, but are not limited to, charges for serving and filing papers, courier or messenger
services, recording and certifying documents, depositions, transcripts, investigations, witnesses, long
distance telephone calls, copying materials, and travel expenses. Expenses advanced by SSG would be
reimbursed by Client solely out of Recoveries.

        Settlements. Any settlement offer received by SSG will be immediately conveyed to Client and
the 2014 LP Trustee with our recommendation for acceptance or rejection. Any settlement offer received
by Client and the 2014 LP Trustee will be conveyed to SSG for notice purposes only.

         No settlement of any nature shall be made for the Subject Matters without the approval of
Client and the United States Bankruptcy Court. Client acknowledges that all communications from
adverse parties or their counsel in connection with the Subject Matters are required to be directed to SSG,
as counsel, pursuant to Texas Disciplinary Rule of Professional Conduct 4.02; and Client agrees to instruct
all adverse parties and their counsel to communicate only through SSG, unless SSG agrees otherwise.

        Conflict Matters. SSG has represented and currently represents Client on an ongoing basis with
matters related to this Bankruptcy Case and other cases including, but not limited to, matters in the
following bankruptcy cases: (i) In re Payson Petroleum, Inc. (Bankruptcy Case No. 16-41044); (ii) In re
Payson Operating, LLC (Bankruptcy Case No. 16-41045); (iii) In re Maricopa Resources, LLC
(Bankruptcy Case No. 16-41043); and (iv) In re Payson Petroleum 3 Well, L.P. (Bankruptcy Case No. 17-
40179). While SSG does not anticipate that its prior and/or current representation of Client will adversely
affect Client’s or 2014 LP Trustee’s interests in the Subject Matters, applicable rules of professional
conduct require that SSG obtain Client’s consent to its representation of Client with respect to the Subject
Matters. Client acknowledges his express and informed consent to SSG’s representation of Client with
respect to the Subject Matters as well as SSG’s continuing representation of Client in other matters,
including related matters. 2014 LP Trustee acknowledges that he is aware that SSG represents Client in
other matters, including the above-referenced related matters, and waives any conflict relating thereto.

         If a controversy arises between you and any other client of SSG, SSG, after taking into account the
applicable rules of professional ethics, may decline to represent you or such other client or both you and
such other client. Following the conclusion of our representation of you in this matter, SSG reserves the
right to represent other future clients on unrelated matters which may be adverse to your interests.

         Withdrawal/Termination of Representation. Our representation may be terminated prior to the
conclusion of the Subject Matters covered under this engagement letter by written notice to the other party.
SSG reserves the right to withdraw from its representation if, among other things, Client fails to honor the
terms of this engagement letter or fails to cooperate or follow SSG’s advice on a material matter, or if any
fact or circumstance would, in SSG’s view, render our continuing representation unlawful, unethical or
ineffective. No such termination or withdrawal, however, will relieve Client of the obligation to pay the
legal fees owed for services performed and other charges owing to SSG as set forth in this agreement.

         Work Files – Retention and Disposition. SSG will maintain all documents furnished to us in our
files for this matter. At the conclusion of the matter covered under this engagement letter (or earlier, if
appropriate), it is Client’s and the 2014 LP Trustee’s obligation to advise us as to which, if any, documents
in our files they wish SSG to return. SSG may keep copies thereof for our records to the extent we believe
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advisable. SSG will retain any remaining documents in our files for a period of one (1) year following
conclusion of our representation in this matter. THEREAFTER, SUCH FILES MAY, AT OUR SOLE
DISCRETION AND WITHOUT FURTHER NOTICE TO YOU, BE DESTROYED.

         Email Communications. To the extent appropriate, SSG communicates with respective clients
(and others) by means of electronic mail. The use of email has proven over time to be an effective and
efficient means of exchanging both messages and documents. We are mindful of the concerns of some
clients that email transmission could be compromised, and thus prohibit its use or prohibit its use in an
unencrypted form. The use of encryption, however, though intended to be “seamless” in use, has caused
difficulties in communication with some parties. Thus, to avoid the possibility of disruptions in the flow
of information, and prompted by the near-unanimity on the part of bar associations throughout the country,
as well as the American Bar Association, in support of the preservation of attorney-client privileges in
unencrypted email communications, unless specifically instructed by you, we will assume your consent to
use of unencrypted email as a means of communication.

         Approval of Terms of Engagement. If the above and foregoing meets with your understanding,
please so indicate by executing this agreement in the place provided below for your signature. A copy of
this agreement should be retained for your files.

       Bankruptcy Court Approval. The parties acknowledge that the Bankruptcy Court must
approve this agreement.

                                                            Regards,

                                                            SNOW SPENCE GREEN LLP

                                                            By:____________________________________
                                                                   Phil F. Snow


Accepted and Agreed this __________ day of _________________, 2017:



By:
      Christopher J. Moser
      Chapter 7 Trustee for Payson Petroleum 3 Well 2014, L.P.


By:
      Jason R. Searcy
      Chapter 11 Trustee for Payson Petroleum, Inc.




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  EXHIBIT 2 TO SETTLEMENT AGREEMENT

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   AND PARTICIPATION AGREEMENT
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      SUBJECT CLAIMS ASSIGNMENT AND PARTICIPATION AGREEMENT
                             (3 Well LP)

        This Subject Claims Assignment and Participation Agreement (the “Agreement”) is
entered into as of ____________________, 2017 by and between Payson Petroleum, Inc. (“Payson
Petroleum”) and Payson Petroleum 3 Well, L.P. (“3 Well LP”), referred to individually herein as
a “Party” and collectively as, the “Parties.”

                                                RECITALS

      WHEREAS, Christopher J. Moser is the duly appointed Chapter 7 Trustee in the 3 Well
LP Bankruptcy Case (defined below).

       WHEREAS, Jason R. Searcy is the duly appointed Chapter 11 Trustee in the Payson
Petroleum Bankruptcy Case (defined below).

       WHEREAS, 3 Well LP and Payson Petroleum are parties to the Settlement Agreement
(defined below) which provides for entry into this Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein, the Parties hereby agree as follows:

                                                  ARTICLE 1

                                                   Definitions

      1.01 Defined Terms. The following terms, as used in this Agreement, shall have the
meanings indicated below, unless the context otherwise requires:

      “3 Well LP” means Payson Petroleum 3 Well, L.P., Christopher J. Moser in his capacity
of Chapter 7 trustee of Payson Petroleum 3 Well, L.P. and the Payson Petroleum 3 Well L.P.
bankruptcy estate.

        “3 Well LP Avoidance Action Claims” means all claims and causes of action of 3 Well
LP arising under Chapter 5 of the Bankruptcy Code.

       “3 Well LP Avoidance Action Claims Net Recovery” means any Net Recovery for or on
account of the 3 Well LP Avoidance Action Claims.

        “3 Well LP Bankruptcy Case” means Bankruptcy Case No. 17-40179 styled In re Payson
Petroleum 3 Well, L.P., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

       “3 Well LP Participation Interest” means an undivided fifty percent (50%) interest.

       “3 Well LP Partnership Related Claims” means all rights, claims, causes of action and
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rights of contribution of 3 Well LP (independent of Section 2.02 of this Agreement) against any
current or former general partner or limited partner of 3 Well LP, including but not limited to
claims under 11 U.S.C. § 723.

       “3 Well LP Partnership Related Claims Net Recovery” means any Net Recovery for or
on account of the 3 Well LP Partnership Related Claims.

       “Bankruptcy Code” means The Bankruptcy Reform Act of 1978, as codified in title 11
of the United States Code, as now in effect or hereafter amended.

       “Net Recovery” means the Recovery net of all expenses and fees (including Special
Counsel fees) incurred in connection with investigation, prosecution and collection of the Subject
Claims.

        “Payson/3 Well LP Partnership Related Claims” means all rights, claims and causes of
action of Payson Petroleum (independent of Section 2.01 of this Agreement) against any current
or former general partner or limited partner of 3 Well LP.

      “Payson/3 Well LP Partnership Related Claims Net Recovery” means the Net
Recovery for and on account of the Payson/3 Well LP Partnership Related Claims.

      “Payson Petroleum” means Payson Petroleum, Inc., Jason Searcy in his capacity of
Chapter 11 trustee of Payson Petroleum, Inc. and the Payson Petroleum, Inc. bankruptcy estate.

        “Payson Petroleum Bankruptcy Case” means Bankruptcy Case No. 16-41044 styled In
re Payson Petroleum, Inc., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

        “Payson Petroleum Participation Interest” means an undivided fifty percent (50%)
interest.

        “Recovery” means (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Parties for or on account of or in satisfaction or partial satisfaction
thereof with respect to the Subject Claims.

       “Settlement Agreement” means the Settlement Agreement entered into as of August ___,
2017 by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources,
LLC, Jason Searcy, Chapter 11 Trustee for the Searcy Bankruptcy Cases, and (b) Payson
Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014, L.P. and Christopher J. Moser, Chapter 7
Trustee for the Moser Bankruptcy Cases.

        “Settlement Approval Order” has the meaning defined in the Settlement Agreement.

        “Special Counsel” means Snow Spence Green LLP.

        “Special Counsel Engagement Agreements” means (i) the August 15, 2016 Engagement



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Letter Agreement by and between Snow Spence Green LLP and Jason R. Searcy, Chapter 11
Trustee of Payson Petroleum, Inc., Maricopa Resources, LLC and Payson Operating, LLC, (ii) the
Engagement Letter Agreement between 2014 LP, 3 Well LP, Payson Petroleum and Snow Spence
Green LLP substantially in the form of Exhibit 1, and (iii) the Engagement Letter Agreement
between 2014 LP, Payson Petroleum and Snow Spence Green LLP in the form of Exhibit 2.

       “Subject Claims” means all 3 Well LP Avoidance Action Claims, all 3 Well LP
Partnership Related Claims and all Payson/3 Well LP Partnership Related Claims.

        1.02 Amendment of Defined Instruments. Unless the context otherwise requires or
unless otherwise provided herein, the terms defined in this Agreement which refer to a particular
agreement, instrument or document also refer to and include all renewals, extensions,
modifications, amendments and restatements of such agreement, instrument or document. Nothing
contained in this Agreement will be construed to authorize any renewal, extension, modification,
amendment or restatement of this Agreement or any agreement, instrument or document referred
to herein.

        1.03 References and Titles. All references in this Agreement to Exhibits, Articles,
Sections, subsections and other subdivisions refer to the Exhibits, Articles, Sections, subsections
and other subdivisions of this Agreement unless expressly provided otherwise. Titles appearing
at the beginning of any subdivisions are for convenience only, do not constitute any part of those
subdivisions and will be disregarded in construing the language contained in those subdivisions.
The words “this Agreement,” “this instrument,” “herein,” “hereof,” “hereby,” “hereunder” and
words of similar import refer to this Agreement as a whole and not to any particular subdivision
unless expressly so limited. The phrases “this section” and “this subsection” and similar phrases
refer only to the sections or subsections of this Agreement in which those phrases occur. The word
“or” is not exclusive; the word “including” (in its various forms) means “including without
limitation.” Pronouns in masculine, feminine and neuter genders shall be construed to include any
other gender, and words in the singular form shall be construed to include the plural and vice versa,
unless the context otherwise requires. The word “will” shall be construed to have the same
meaning and effect as the word “shall.” Unless the context requires otherwise (a) any reference
herein to any law shall be construed as referring to such law as amended, modified, codified or
reenacted, in whole or in part, and in effect from time to time; (b) any reference herein to any
person shall be construed to include such person's successors and assigns (subject to the restrictions
contained herein); (c) with respect to the determination of any time period, the word “from” means
“from and including” and the word “to” means “to and including;” and (d) all dollar amounts refer
to United States dollars. A reference herein to a number of “days” will be intended to refer to that
number of calendar (as opposed to working) days, unless otherwise specifically provided. No
provision of this Agreement shall be interpreted or construed more strictly against any person
solely because such person or its legal representative drafted such provision.

                                                   ARTICLE 2

                                                    Assignment

      2.01 Assignment by 3 Well LP of Participation Interest. 3 Well LP hereby absolutely
and unconditionally sells, transfers and assigns to Payson Petroleum, the Payson Petroleum


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Participation Interest in (i) the 3 Well LP Avoidance Action Claims Net Recovery, and (ii) the 3
Well LP Partnership Related Claims Net Recovery.

        2.02 Assignment by Payson Petroleum of Participation Interest. Payson Petroleum
hereby absolutely and unconditionally sells, transfers and assigns to 3 Well LP, the 3 Well LP
Participation Interest in the Payson/3 Well LP Partnership Related Claims Net Recovery.

                                                   ARTICLE 3

                                Preservation, Prosecution and Authority

       3.01 Preservation. 3 Well LP retains all 3 Well LP Avoidance Action Claims and all 3
Well LP Partnership Related Claims subject to the Payson Petroleum Participation Interest and
Payson Petroleum’s rights hereunder. Upon entry of the Settlement Approval Order in the 3 Well
LP Bankruptcy Case and execution of this Agreement, Payson Petroleum is vested with and may
enforce and prosecute (or determine to do any of the foregoing) the 3 Well LP Avoidance Action
Claims and 3 Well LP Partnership Related Claims without further order of the Bankruptcy Court.
Payson Petroleum’s right to commence, prosecute or settle 3 Well LP Avoidance Action Claims
and 3 Well LP Partnership Related Claims shall be preserved. No preclusion doctrine, including
the doctrines of res judicata; collateral estoppel, issue preclusion, claim preclusion, estoppel shall
apply to the 3 Well LP Avoidance Action Claims or 3 Well LP Partnership Related Claims by
virtue of entry into this Agreement. Payson Petroleum in connection with the 3 Well LP
Avoidance Action Claims and the 3 Well LP Partnership Related Claims shall constitute the
representative of the 3 Well LP bankruptcy estate for purposes of prosecuting the 3 Well LP
Avoidance Action Claims and the 3 Well LP Partnership Related Claims.

        3.02 Standing. The Parties stipulate and agree that Payson Petroleum shall have standing
to assert and prosecute on behalf of 3 Well LP all 3 Well LP Avoidance Action Claims and all 3
Well LP Partnership Related Claims.

        3.03 Authority. Subject to Section 6.01, Payson Petroleum shall have exclusive
authority with respect to the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance
Action Claims and the Payson/3Well LP Partnership Related Claims. The exclusive authority of
Payson Petroleum includes investigation, management and settlement of all litigation related to
the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the
Payson/3 Well LP Partnership Related Claims.

                                                   ARTICLE 4

                                                 Special Counsel

       4.01 Engagement of Counsel. Snow Spence Green LLP is engaged pursuant to the
Special Counsel Engagement Agreement, dated August 15, 2016 (approved by Bankruptcy Court
order dated September 19, 2016), to investigate and prosecute the Payson/3Well LP Partnership
Related Claims.




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        4.02 Engagement Agreement. Snow Spence Green LLP (subject to Bankruptcy Court
approval) is engaged to investigate and prosecute the 3 Well LP Avoidance Action Claims and the
3 Well LP Partnership Related Claims pursuant to the terms of the Special Counsel Engagement
Agreement attached as Exhibit 1. 3 Well LP shall cause an order approving the engagement of
Snow Spence Green LLP and the Special Counsel Engagement Agreement, attached as Exhibit 1,
to be entered in the 3 Well LP Bankruptcy Case.

                                                   ARTICLE 5

                                          Application of Recoveries

       5.01 Fees and Expenses. Any Recovery shall be applied first, to satisfy fees pursuant to
the Special Counsel Engagement Agreements and, second, to expenses incurred by Special
Counsel and Payson Petroleum in connection with investigation, prosecution and collection of the
Subject Claims.

        5.02 Disbursement of Net Recoveries. Payson Petroleum is hereby assigned and shall
receive the Payson Petroleum Participation Interest in all (i) 3 Well LP Partnership Related Claims
Net Recoveries, (ii) 3 Well LP Avoidance Action Claims Net Recoveries, and (iii) Payson/3Well
LP Partnership Related Claims Net Recoveries. 3 Well LP is hereby assigned and shall receive
the 3 Well LP Participation Interest in all (x) 3 Well LP Partnership Related Claims Net
Recoveries, (y) 3 Well LP Avoidance Action Claims Net Recoveries, and (z) Payson/3 Well LP
Partnership Related Claims Net Recoveries.

                                                   ARTICLE 6

                                                  Miscellaneous

      6.01       Settlement. Any settlement of a Subject Claim is subject to Bankruptcy Court
approval.

        6.02 Discretion. Payson Petroleum shall determine in its sole discretion the Subject
Claims to investigate and prosecute. Subsequent to October 1, 2018, Payson Petroleum shall, upon
the written request of 3 Well LP, release from this Agreement and assign back to 3 Well LP any 3
Well LP Partnership Related Claim or 3 Well LP Avoidance Action Claim which Payson
Petroleum which it has determined that it will not prosecute.

        6.03 Indemnification. 3 Well LP hereby indemnifies and holds harmless Payson
Petroleum and its agents, representatives, professionals and employees from and against and in
respect to any and all liabilities, losses, damages, claims, costs and expenses, including, but not
limited to, attorneys’ fees and costs arising out of or due to its actions or omissions, or
consequences of such actions or omissions, with respect to Payson Petroleum’s investigation,
management, prosecution or settlement of the Subject Claims; provided, however, that no such
indemnification will be made to Payson Petroleum for actions or omissions resulting from willful
misconduct, gross negligence or fraud.




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        6.04 Entire Agreement. This Agreement, including all exhibits attached hereto and
made a part hereof, constitute the entire agreement between the Parties with respect to the
transactions contemplated hereby and supersede all prior agreements, understandings, negotiations
and discussions, whether oral or written, of the Parties with respect to such transactions.

        6.05 Survival. All representations, warranties, covenants and agreements of the Parties
made in this Agreement shall survive the execution and delivery of this Agreement until such time
as all of the obligations of the signatories to such document shall have lapsed in accordance with
their respective terms or shall have been discharged in full.

        6.06 Waiver. No waiver by a Party of any of the provisions of this Agreement (a) shall
be binding unless executed in writing by such Party, (b) shall be deemed or shall constitute a
waiver by such Party of any other provision hereof (whether or not similar), and (c) shall not
constitute a continuing waiver by such Party.

       6.07 Further Assurances. The Parties will take such actions and execute and deliver such
other documents or agreements as may be necessary or desirable for the implementation of this
Agreement and the consummation of the transactions contemplated hereby.

        6.08 Notices. Any notice, request, consent, approval, waiver or other communication
provided or permitted to be given under this Agreement shall be in writing and shall be delivered
in person or sent by U.S. mail, overnight courier, electronic mail or fax to the appropriate addresses
set forth below. Any such communication shall be effective upon actual receipt; provided,
however, that in the case of delivery by fax after the normal business hours of the recipient, such
communication shall be effective on the next business day following the transmission of such fax.
For purposes of notice, the addresses of the Parties shall be as follows:

        If to Payson Petroleum:

        Jason R. Searcy
        Searcy & Searcy, P.C.
        446 Forest Square
        Longview, Texas 75605
        Fax: 903.757.3399
        Email: jsearcy@jsearcylaw.com

        with a copy to:

        Blake Hamm
        Snow Spence Green LLP
        2929 Allen Parkway, Suite 2800
        Houston, TX 77019
        Fax: 713.335.4848
        Email: blakehamm@snowspencelaw.com

        If to 3 Well LP:



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        Christopher J. Moser
        Quilling, Selander, Lownds, Winslett & Moser, P.C.
        2001 Bryan Street, Ste. 1800
        Dallas, TX 75201
        Fax: 214.871.2111
        Email: cmoser@qslwm.com

        with a copy to:

        Keith W. Harvey
        The Harvey Law Firm, P.C.
        6510 Abrams Road, Ste. 280
        Dallas, TX 75231
        Fax: 972.241.3970
        Email: harvey@keithharveylaw.com

        Each Party shall have the right, upon giving ten (10) days’ prior notice to the other party
in the manner provided in this section, to change its address for purposes of notice.

        6.09 Governing Law and Venue. This Agreement shall be construed and interpreted in
accordance with the laws of the State of Texas, notwithstanding any applicable conflict of laws
provision. Any dispute regarding this Agreement shall be subject to mandatory venue in the United
States Bankruptcy Court for the Eastern District of Texas, Sherman Division.

        6.10 Multiple Counterparts. The Parties agree that facsimile and electronic signatures
shall have the same force and effect as original signatures. This Agreement may be executed in
counterparts and all counterparts so executed shall constitute one agreement which shall be binding
on the Parties hereto.

        6.11 Modification. This Agreement cannot be altered, changed or modified except in
writing executed by a duly authorized representative for each of the Parties.

        6.12 Severability. If any term or other provision of this Agreement is invalid, illegal or
incapable of being enforced by any rule of law or public policy, all other conditions and provisions
of this Agreement shall nevertheless remain in full force and effect so long as the economic or
legal substance of the transactions contemplated hereby is not affected in any adverse manner with
respect to any Party. Upon determination of a court of competent jurisdiction that any term or
other provision of this Agreement is invalid, illegal or incapable of being enforced, the Parties
shall negotiate in good faith to modify this Agreement so as to affect the original intent of the
Parties as closely as possible. The obligations of the Parties hereunder are severable and not joint.

       6.13 Costs and Attorneys’ Fees. If either Party retains an attorney in connection with
any default or to collect, enforce, or defend this Agreement in any lawsuit, reorganization,
bankruptcy or other proceeding, the prevailing party is entitled to collect its reasonable costs and
expenses incurred in any such suit or proceeding, including reasonable attorneys’ fees.



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                                         PAYSON PETROLEUM, INC.


                                         By:
                                                   Jason R. Searcy, Chapter 11 Trustee


                                         PAYSON PETROLEUM 3 WELL, L.P.


                                         By:
                                               Christopher J. Moser, Chapter 7 Trustee




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STATE OF TEXAS                                  §
                                                §
COUNTY OF GREGG                                 §

       BEFORE ME, the undersigned authority, on this _______ day of ______________ 2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of PAYSON PETROLEUM, INC.,
whose name is subscribed to the foregoing instrument and acknowledged to me that he executed
the same for the purposes and consideration therein expressed.


                                                          ______________________________________
                                                          Notary Public in and for State of Texas
                                                          My Commission Expires:


STATE OF TEXAS                                  §
                                                §
COUNTY OF ____________                          §

       BEFORE ME, the undersigned authority, on this _______ day of _____________ 2017,
personally appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM 3
WELL, L.P., whose name is subscribed to the foregoing instrument and acknowledged to me that
he executed the same for the purposes and consideration therein expressed.


                                                          ______________________________________
                                                          Notary Public in and for State of Texas
                                                          My Commission Expires:




I:\Client\SEAJ1001-Searcy-Payson\Adversary Proceedings\16-04106 3 Well LP & 3 Well 2014 LP\Settlement\Settlement Agreement\Ex 2
3 Well LP Subject Claims Assign-Participation Agmt\20170905 3WellLP_SubjectClaimsAssignParticipationAgmt.docx




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                                               _____________, 2017

VIA EMAIL: cmoser@qslwm.com                                     VIA EMAIL: jsearcy@jsearcylaw.com

Mr. Christopher J. Moser                                        Mr. Jason R. Searcy
Quilling, Selander, Lownds, Winslett & Moser, P.C.              Searcy & Searcy, P.C.
2001 Bryan Street, Ste. 1800                                    446 Forest Square
Dallas, TX 75201                                                Longview, TX 75605

        Re:      Proposed Engagement Agreement

                 Bankruptcy Case No. 17-40179; In re Payson Petroleum 3 Well, L.P. in the United
                 States Bankruptcy Court, Eastern District of Texas, Sherman Division (the
                 “Bankruptcy Case”)

Mr. Moser and Mr. Searcy:

        This letter sets forth the terms of engagement of Snow Spence Green LLP (“SSG”) to analyze and
pursue at the discretion of Jason R. Searcy, Chapter 11 Trustee of Payson Petroleum, Inc. certain claims
and causes of action and objections on behalf of the bankruptcy estate of Payson Petroleum 3 Well, L.P.
(“3 Well LP” or “Debtor”). This agreement is entered into pursuant to the terms of a Settlement Agreement
by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC, Jason
Searcy, Chapter 11 Trustee, and (b) Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014, L.P.
and Christopher J. Moser, Chapter 7 Trustee, dated __________, 2017, and is subject to Bankruptcy Court
approval. Upon the execution of this letter agreement, we will prepare for your review and approval a
motion to employ SSG as special litigation counsel under 11 U.S.C. §§ 327(e) and 328.

        Description of Engagement. The client pursuant to this Engagement Agreement is Jason R.
Searcy, Chapter 11 Trustee of Payson Petroleum, Inc., acting in his capacity as a representative of the 3
Well LP bankruptcy estate (“Client”) pursuant to the terms of the Subject Claims Assignment and
Participation Agreement between Payson Petroleum, Inc. and 3 Well LP. The representation by SSG
pursuant to this Agreement would be limited to investigation and prosecution (to the extent determined by
SSG to be cost justified) of the following:

        a.       3 Well LP’s claims and causes of action under either chapter 5 of the United States
                 Bankruptcy Code or any applicable state fraudulent transfer (“Avoidance Actions”); and

        b.       3 Well LP’s rights, claims, causes of action, and rights of contribution against any current
                 or former general partner or limited partner of 3 Well LP, including but not limited to
                 claims under 11 U.S.C. § 723 (“Partnership Related Claims”); and

        c.       objections to the allowance of claims asserted against Debtor as to which claims and causes
                 of action are asserted by Client.


                    2929 ALLEN PARKWAY | SUITE 2800 | HOUSTON, TX 77019
                  MAIN: 713.335.4800 | FAX: 713.335.4848 | SNOWSPENCELAW.COM
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(collectively, the “Subject Matters”). Claims, causes of action and/or objections with respect to a specific
party are referred to as a “Specific Subject Matter”). SSG’s representation of Client pursuant to this
agreement will be limited to the specific matters referenced herein, and SSG is not undertaking, absent a
specific engagement letter to the contrary, to represent Client in other matters or in any general counsel
capacity.

        SSG will be responsible for the drafting of documents, preparation of pleadings, attending court
hearings and trials, participating in negotiations, performing legal research, and conducting conferences,
and consultations as may be necessary to represent you with respect to each claim for which litigation is
commenced.

         Although SSG will endeavor to obtain results satisfactory to Client, we cannot guarantee that we
will be successful. As part of this agreement, Client and Christopher J. Moser, Chapter 7 Trustee of 3 Well
LP (the “3 Well LP Trustee”) acknowledge that (i) neither SSG nor any of its respective professionals have
made any promises or guarantees regarding any outcome of the Subject Matters and that no guarantees or
promises can be made regarding the outcome thereof; (ii) neither SSG nor any of its respective professionals
have made any promises or guarantees regarding the length of time required to obtain the resolution of the
Subject Matters; and (iii) either at the beginning or during the course of its representation, SSG may express
its opinions or beliefs concerning the Subject Matters and the results that might be anticipated; but that any
such statement(s) are intended to be an expression of opinion only, based on information available at the
time, and must not be construed by Client or 3 Well LP Trustee as a promise or guarantee, as no such
promises or guarantees are possible.

        Client and 3 Well LP Trustee acknowledge and agree that SSG is under no obligation to represent
them with respect to a Subject Matter if SSG determines, in its sole discretion, that pursuit of any particular
Subject Matter is not cost justified.

        To enable SSG to effectively perform the contemplated services, it is essential that Client and the
3 Well LP Trustee disclose fully and accurately all facts and keep us apprised of all developments relating
to the Subject Matters. Client and the 3 Well LP Trustee agree to cooperate fully with SSG and to make
themselves and their representatives available to attend meetings, conferences, hearings and other
proceedings.

         Legal Fees. The representation will be handled on a contingency fee basis with SSG’s fee being
dependent upon recovery through settlement or trial, except in the event of discharge or withdrawal from
representation as provided below. The fees to be paid to SSG will be a percentage of the “Recovery” (as
defined below) realized with respect to each Specific Subject Matter. The Client and the 3 Well LP Trustee
agree to pay SSG a contingent fee based upon (i) the outcome achieved with respect to each Specific Subject
Matter, and (ii) the occurrence of specified benchmark events with respect to each Specific Subject Matter.
The agreed upon percentages and benchmarks are set forth below:
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           Fees as a
           Percent of
           Recovery                                        Benchmark Event

              33%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter prior to the earlier of (i) submission of a proposed joint
                            pre-trial order, or (ii) submission of a position statement to an agreed
                            upon or court appointed mediator for the Specific Subject Matter.

              35%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after submission of a position statement to an agreed upon
                            or court appointed mediator for a Specific Subject Matter.

              40%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after the earlier of (i) conclusion of an unsuccessful
                            mediation, or (ii) submission of a proposed joint pre-trial order.

The Client and the 3 Well LP Trustee acknowledge that the foregoing contingency fee terms are not set by
law, but are negotiable, and have been negotiated, between the Client, the 3 Well LP Trustee.

         The term “Recovery” shall mean (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Client and/or the 3 Well LP Trustee as of the date of recovery, plus (iii) the value
of any claim that is released or disallowed, plus (iv) the value of any potential unsecured claim based upon
§ 502(h) of the Bankruptcy Code that is released or disallowed. The dollar amount of each Recovery with
respect to a Specific Subject Matter will be calculated before deduction of any applicable expenses of the
lawsuit. For purposes of this agreement, if a proof of claim was filed by the subject creditor, the dollar
amount of a the claim released or disallowed (other than any claim under § 506(h) of the Bankruptcy Code)
will be determined based upon the dollar amount set forth in the proof of claim filed by the subject creditor
which is released or disallowed. If a proof of claim was not filed by the subject creditor, the dollar amount
released or disallowed will be determined based upon the dollar amount set forth in the Schedules and
Assets and Liabilities filed in the bankruptcy cases by 3 Well LP with respect to the subject creditor which
is released or disallowed. For purposes of this agreement, the value of each dollar of each pre-petition
claim or administrative claim released or disallowed will be determined based on the projected percentage
recovery of the applicable class of claim. For example, if the projected recovery by unsecured claim holders
was 25% on the dollar, then the value of each dollar of unsecured claim released or discharged would be
.25¢.

         Subject to the terms of this Agreement, the Client and the 3 Well LP Trustee hereby convey,
transfer, and assign to SSG an undivided interest in the Subject Matters, such interest being equal to the
amount of the percentages therein described above.

         Out-of-Pocket Expenses. Client and the 3 Well LP Trustee acknowledge and agree that in
connection with investigation and prosecution of the Subject Matters, the services of third parties will be
necessary. Such other persons and entities may include, but are not limited to, court reporters, accountants,
investigators and expert witnesses. Such third party fees and expenses will be billed directly to Client.
Client will be responsible for paying fees and expenses of third parties. In the event that there are
insufficient funds in the estate to timely pay for the third party services, SSG will advance the amount
necessary and such advances will be treated as reimbursable expenses.
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        Client and the 3 Well LP Trustee further acknowledge that SSG will incur various expenses in
providing services to Client. Client agrees to reimburse SSG for all out-of-pocket expenses paid by SSG.
Such expenses include, but are not limited to, charges for serving and filing papers, courier or messenger
services, recording and certifying documents, depositions, transcripts, investigations, witnesses, long
distance telephone calls, copying materials, and travel expenses. Expenses advanced by SSG would be
reimbursed by Client solely out of Recoveries.

        Settlements. Any settlement offer received by SSG will be immediately conveyed to Client and
the 3 Well LP Trustee with our recommendation for acceptance or rejection. Any settlement offer received
by Client and the 3 Well LP Trustee will be conveyed to SSG for notice purposes only.

         No settlement of any nature shall be made for the Subject Matters without the approval of
Client and the United States Bankruptcy Court. Client acknowledges that all communications from
adverse parties or their counsel in connection with the Subject Matters are required to be directed to SSG,
as counsel, pursuant to Texas Disciplinary Rule of Professional Conduct 4.02; and Client agrees to instruct
all adverse parties and their counsel to communicate only through SSG, unless SSG agrees otherwise.

         Conflict Matters. SSG has represented and currently represents Client on an ongoing basis with
matters related to this Bankruptcy Case and other cases including, but not limited to, matters in the
following bankruptcy cases: (i) In re Payson Petroleum, Inc. (Bankruptcy Case No. 16-41044); (ii) In re
Payson Operating, LLC (Bankruptcy Case No. 16-41045); (iii) In re Maricopa Resources, LLC
(Bankruptcy Case No. 16-41043); and (iv) In re Payson Petroleum 3 Well 2014, L.P. (Bankruptcy Case
No. 17-40180). While SSG does not anticipate that its prior and/or current representation of Client will
adversely affect Client’s or 3 Well LP Trustee’s interests in the Subject Matters, applicable rules of
professional conduct require that SSG obtain Client’s consent to its representation of Client with respect to
the Subject Matters. Client acknowledges his express and informed consent to SSG’s representation of
Client with respect to the Subject Matters as well as SSG’s continuing representation of Client in other
matters, including related matters. 3 Well LP Trustee acknowledges that he is aware that SSG represents
Client in other matters, including the above-referenced related matters, and waives any conflict relating
thereto.

         If a controversy arises between you and any other client of SSG, SSG, after taking into account the
applicable rules of professional ethics, may decline to represent you or such other client or both you and
such other client. Following the conclusion of our representation of you in this matter, SSG reserves the
right to represent other future clients on unrelated matters which may be adverse to your interests.

         Withdrawal/Termination of Representation. Our representation may be terminated prior to the
conclusion of the Subject Matters covered under this engagement letter by written notice to the other party.
SSG reserves the right to withdraw from its representation if, among other things, Client fails to honor the
terms of this engagement letter or fails to cooperate or follow SSG’s advice on a material matter, or if any
fact or circumstance would, in SSG’s view, render our continuing representation unlawful, unethical or
ineffective. No such termination or withdrawal, however, will relieve Client of the obligation to pay the
legal fees owed for services performed and other charges owing to SSG as set forth in this agreement.

         Work Files – Retention and Disposition. SSG will maintain all documents furnished to us in our
files for this matter. At the conclusion of the matter covered under this engagement letter (or earlier, if
appropriate), it is Client’s and the 3 Well LP Trustee’s obligation to advise us as to which, if any, documents
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                18-04074
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in our files they wish SSG to return. SSG may keep copies thereof for our records to the extent we believe
advisable. SSG will retain any remaining documents in our files for a period of one (1) year following
conclusion of our representation in this matter. THEREAFTER, SUCH FILES MAY, AT OUR SOLE
DISCRETION AND WITHOUT FURTHER NOTICE TO YOU, BE DESTROYED.

         Email Communications. To the extent appropriate, SSG communicates with respective clients
(and others) by means of electronic mail. The use of email has proven over time to be an effective and
efficient means of exchanging both messages and documents. We are mindful of the concerns of some
clients that email transmission could be compromised, and thus prohibit its use or prohibit its use in an
unencrypted form. The use of encryption, however, though intended to be “seamless” in use, has caused
difficulties in communication with some parties. Thus, to avoid the possibility of disruptions in the flow
of information, and prompted by the near-unanimity on the part of bar associations throughout the country,
as well as the American Bar Association, in support of the preservation of attorney-client privileges in
unencrypted email communications, unless specifically instructed by you, we will assume your consent to
use of unencrypted email as a means of communication.

         Approval of Terms of Engagement. If the above and foregoing meets with your understanding,
please so indicate by executing this agreement in the place provided below for your signature. A copy of
this agreement should be retained for your files.

       Bankruptcy Court Approval. The parties acknowledge that the Bankruptcy Court must
approve this agreement.

                                                            Regards,

                                                            SNOW SPENCE GREEN LLP

                                                            By:____________________________________
                                                                   Phil F. Snow


Accepted and Agreed this __________ day of _________________, 2017:



By:
      Christopher J. Moser
      Chapter 7 Trustee for Payson Petroleum 3 Well, L.P.


By:
      Jason R. Searcy
      Chapter 11 Trustee for Payson Petroleum, Inc.




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                                               _____________, 2017

VIA EMAIL: cmoser@qslwm.com                                     VIA EMAIL: jsearcy@jsearcylaw.com

Mr. Christopher J. Moser                                        Mr. Jason R. Searcy
Quilling, Selander, Lownds, Winslett & Moser, P.C.              Searcy & Searcy, P.C.
2001 Bryan Street, Ste. 1800                                    446 Forest Square
Dallas, TX 75201                                                Longview, TX 75605

        Re:      Proposed Engagement Agreement

                 Bankruptcy Case No. 17-40180; In re Payson Petroleum 3 Well 2014, L.P. in the United
                 States Bankruptcy Court, Eastern District of Texas, Sherman Division (the
                 “Bankruptcy Case”)

Mr. Moser and Mr. Searcy:

        This letter sets forth the terms of engagement of Snow Spence Green LLP (“SSG”) to analyze and
pursue at the discretion of Jason R. Searcy, Chapter 11 Trustee of Payson Petroleum, Inc. certain claims
and causes of action and objections on behalf of the bankruptcy estate of Payson Petroleum 3 Well 2014,
L.P. (“2014 LP” or “Debtor”). This agreement is entered into pursuant to the terms of a Settlement
Agreement by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC,
Jason Searcy, Chapter 11 Trustee, and (b) Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014,
L.P. and Christopher J. Moser, Chapter 7 Trustee, dated __________, 2017, and is subject to Bankruptcy
Court approval. Upon the execution of this letter agreement, we will prepare for your review and approval
a motion to employ SSG as special litigation counsel under 11 U.S.C. §§ 327(e) and 328.

         Description of Engagement. The client pursuant to this Engagement Agreement is Jason R.
Searcy, Chapter 11 Trustee of Payson Petroleum, Inc., acting in his capacity as a representative of the 2014
LP bankruptcy estate (“Client”) pursuant to the terms of the Subject Claims Assignment and Participation
Agreement between Payson Petroleum, Inc. and 2014 LP. The representation by SSG pursuant to this
Agreement would be limited to investigation and prosecution (to the extent determined by SSG to be cost
justified) of the following:

        a.       2014 LP’s claims and causes of action under either chapter 5 of the United States
                 Bankruptcy Code or any applicable state fraudulent transfer (“Avoidance Actions”); and

        b.       2014 LP’s rights, claims, causes of action, and rights of contribution against any current or
                 former general partner or limited partner of 2014 LP, including but not limited to claims
                 under 11 U.S.C. § 723 (“Partnership Related Claims”); and

        c.       objections to the allowance of claims asserted against Debtor as to which claims and causes
                 of action are asserted by Client.


                    2929 ALLEN PARKWAY | SUITE 2800 | HOUSTON, TX 77019
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(collectively, the “Subject Matters”). Claims, causes of action and/or objections with respect to a specific
party are referred to as a “Specific Subject Matter”). SSG’s representation of Client pursuant to this
agreement will be limited to the specific matters referenced herein, and SSG is not undertaking, absent a
specific engagement letter to the contrary, to represent Client in other matters or in any general counsel
capacity.

        SSG will be responsible for the drafting of documents, preparation of pleadings, attending court
hearings and trials, participating in negotiations, performing legal research, and conducting conferences,
and consultations as may be necessary to represent you with respect to each claim for which litigation is
commenced.

         Although SSG will endeavor to obtain results satisfactory to Client, we cannot guarantee that we
will be successful. As part of this agreement, Client and Christopher J. Moser, Chapter 7 Trustee of 2014
LP (the “2014 LP Trustee”) acknowledge that (i) neither SSG nor any of its respective professionals have
made any promises or guarantees regarding any outcome of the Subject Matters and that no guarantees or
promises can be made regarding the outcome thereof; (ii) neither SSG nor any of its respective professionals
have made any promises or guarantees regarding the length of time required to obtain the resolution of the
Subject Matters; and (iii) either at the beginning or during the course of its representation, SSG may express
its opinions or beliefs concerning the Subject Matters and the results that might be anticipated; but that any
such statement(s) are intended to be an expression of opinion only, based on information available at the
time, and must not be construed by Client or 2014 LP Trustee as a promise or guarantee, as no such promises
or guarantees are possible.

        Client and 2014 LP Trustee acknowledge and agree that SSG is under no obligation to represent
them with respect to a Subject Matter if SSG determines, in its sole discretion, that pursuit of any particular
Subject Matter is not cost justified.

       To enable SSG to effectively perform the contemplated services, it is essential that Client and the
2014 LP Trustee disclose fully and accurately all facts and keep us apprised of all developments relating to
the Subject Matters. Client and the 2014 LP Trustee agree to cooperate fully with SSG and to make
themselves and their representatives available to attend meetings, conferences, hearings and other
proceedings.

         Legal Fees. The representation will be handled on a contingency fee basis with SSG’s fee being
dependent upon recovery through settlement or trial, except in the event of discharge or withdrawal from
representation as provided below. The fees to be paid to SSG will be a percentage of the “Recovery” (as
defined below) realized with respect to each Specific Subject Matter. The Client and the 2014 LP Trustee
agree to pay SSG a contingent fee based upon (i) the outcome achieved with respect to each Specific Subject
Matter, and (ii) the occurrence of specified benchmark events with respect to each Specific Subject Matter.
The agreed upon percentages and benchmarks are set forth below:
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           Fees as a
           Percent of
           Recovery                                        Benchmark Event

              33%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter prior to the earlier of (i) submission of a proposed joint
                            pre-trial order, or (ii) submission of a position statement to an agreed
                            upon or court appointed mediator for the Specific Subject Matter.

              35%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after submission of a position statement to an agreed upon
                            or court appointed mediator for a Specific Subject Matter.

              40%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after the earlier of (i) conclusion of an unsuccessful
                            mediation, or (ii) submission of a proposed joint pre-trial order.

The Client and the 2014 LP Trustee acknowledge that the foregoing contingency fee terms are not set by
law, but are negotiable, and have been negotiated, between the Client, the 2014 LP Trustee.

         The term “Recovery” shall mean (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Client and/or the 2014 LP Trustee as of the date of recovery, plus (iii) the value
of any claim that is released or disallowed, plus (iv) the value of any potential unsecured claim based upon
§ 502(h) of the Bankruptcy Code that is released or disallowed. The dollar amount of each Recovery with
respect to a Specific Subject Matter will be calculated before deduction of any applicable expenses of the
lawsuit. For purposes of this agreement, if a proof of claim was filed by the subject creditor, the dollar
amount of a the claim released or disallowed (other than any claim under § 506(h) of the Bankruptcy Code)
will be determined based upon the dollar amount set forth in the proof of claim filed by the subject creditor
which is released or disallowed. If a proof of claim was not filed by the subject creditor, the dollar amount
released or disallowed will be determined based upon the dollar amount set forth in the Schedules and
Assets and Liabilities filed in the bankruptcy cases by 2014 LP with respect to the subject creditor which
is released or disallowed. For purposes of this agreement, the value of each dollar of each pre-petition
claim or administrative claim released or disallowed will be determined based on the projected percentage
recovery of the applicable class of claim. For example, if the projected recovery by unsecured claim holders
was 25% on the dollar, then the value of each dollar of unsecured claim released or discharged would be
.25¢.

        Subject to the terms of this Agreement, the Client and the 2014 LP Trustee hereby convey, transfer,
and assign to SSG an undivided interest in the Subject Matters, such interest being equal to the amount of
the percentages therein described above.

         Out-of-Pocket Expenses. Client and the 2014 LP Trustee acknowledge and agree that in
connection with investigation and prosecution of the Subject Matters, the services of third parties will be
necessary. Such other persons and entities may include, but are not limited to, court reporters, accountants,
investigators and expert witnesses. Such third party fees and expenses will be billed directly to Client.
Client will be responsible for paying fees and expenses of third parties. In the event that there are
insufficient funds in the estate to timely pay for the third party services, SSG will advance the amount
necessary and such advances will be treated as reimbursable expenses.
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        Client and the 2014 LP Trustee further acknowledge that SSG will incur various expenses in
providing services to Client. Client agrees to reimburse SSG for all out-of-pocket expenses paid by SSG.
Such expenses include, but are not limited to, charges for serving and filing papers, courier or messenger
services, recording and certifying documents, depositions, transcripts, investigations, witnesses, long
distance telephone calls, copying materials, and travel expenses. Expenses advanced by SSG would be
reimbursed by Client solely out of Recoveries.

        Settlements. Any settlement offer received by SSG will be immediately conveyed to Client and
the 2014 LP Trustee with our recommendation for acceptance or rejection. Any settlement offer received
by Client and the 2014 LP Trustee will be conveyed to SSG for notice purposes only.

         No settlement of any nature shall be made for the Subject Matters without the approval of
Client and the United States Bankruptcy Court. Client acknowledges that all communications from
adverse parties or their counsel in connection with the Subject Matters are required to be directed to SSG,
as counsel, pursuant to Texas Disciplinary Rule of Professional Conduct 4.02; and Client agrees to instruct
all adverse parties and their counsel to communicate only through SSG, unless SSG agrees otherwise.

        Conflict Matters. SSG has represented and currently represents Client on an ongoing basis with
matters related to this Bankruptcy Case and other cases including, but not limited to, matters in the
following bankruptcy cases: (i) In re Payson Petroleum, Inc. (Bankruptcy Case No. 16-41044); (ii) In re
Payson Operating, LLC (Bankruptcy Case No. 16-41045); (iii) In re Maricopa Resources, LLC
(Bankruptcy Case No. 16-41043); and (iv) In re Payson Petroleum 3 Well, L.P. (Bankruptcy Case No. 17-
40179). While SSG does not anticipate that its prior and/or current representation of Client will adversely
affect Client’s or 2014 LP Trustee’s interests in the Subject Matters, applicable rules of professional
conduct require that SSG obtain Client’s consent to its representation of Client with respect to the Subject
Matters. Client acknowledges his express and informed consent to SSG’s representation of Client with
respect to the Subject Matters as well as SSG’s continuing representation of Client in other matters,
including related matters. 2014 LP Trustee acknowledges that he is aware that SSG represents Client in
other matters, including the above-referenced related matters, and waives any conflict relating thereto.

         If a controversy arises between you and any other client of SSG, SSG, after taking into account the
applicable rules of professional ethics, may decline to represent you or such other client or both you and
such other client. Following the conclusion of our representation of you in this matter, SSG reserves the
right to represent other future clients on unrelated matters which may be adverse to your interests.

         Withdrawal/Termination of Representation. Our representation may be terminated prior to the
conclusion of the Subject Matters covered under this engagement letter by written notice to the other party.
SSG reserves the right to withdraw from its representation if, among other things, Client fails to honor the
terms of this engagement letter or fails to cooperate or follow SSG’s advice on a material matter, or if any
fact or circumstance would, in SSG’s view, render our continuing representation unlawful, unethical or
ineffective. No such termination or withdrawal, however, will relieve Client of the obligation to pay the
legal fees owed for services performed and other charges owing to SSG as set forth in this agreement.

         Work Files – Retention and Disposition. SSG will maintain all documents furnished to us in our
files for this matter. At the conclusion of the matter covered under this engagement letter (or earlier, if
appropriate), it is Client’s and the 2014 LP Trustee’s obligation to advise us as to which, if any, documents
in our files they wish SSG to return. SSG may keep copies thereof for our records to the extent we believe
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advisable. SSG will retain any remaining documents in our files for a period of one (1) year following
conclusion of our representation in this matter. THEREAFTER, SUCH FILES MAY, AT OUR SOLE
DISCRETION AND WITHOUT FURTHER NOTICE TO YOU, BE DESTROYED.

         Email Communications. To the extent appropriate, SSG communicates with respective clients
(and others) by means of electronic mail. The use of email has proven over time to be an effective and
efficient means of exchanging both messages and documents. We are mindful of the concerns of some
clients that email transmission could be compromised, and thus prohibit its use or prohibit its use in an
unencrypted form. The use of encryption, however, though intended to be “seamless” in use, has caused
difficulties in communication with some parties. Thus, to avoid the possibility of disruptions in the flow
of information, and prompted by the near-unanimity on the part of bar associations throughout the country,
as well as the American Bar Association, in support of the preservation of attorney-client privileges in
unencrypted email communications, unless specifically instructed by you, we will assume your consent to
use of unencrypted email as a means of communication.

         Approval of Terms of Engagement. If the above and foregoing meets with your understanding,
please so indicate by executing this agreement in the place provided below for your signature. A copy of
this agreement should be retained for your files.

       Bankruptcy Court Approval. The parties acknowledge that the Bankruptcy Court must
approve this agreement.

                                                            Regards,

                                                            SNOW SPENCE GREEN LLP

                                                            By:____________________________________
                                                                   Phil F. Snow


Accepted and Agreed this __________ day of _________________, 2017:



By:
      Christopher J. Moser
      Chapter 7 Trustee for Payson Petroleum 3 Well 2014, L.P.


By:
      Jason R. Searcy
      Chapter 11 Trustee for Payson Petroleum, Inc.




I:\Client\SEAJ1001-Searcy-Payson\Adversary Proceedings\16-04106 3 Well LP & 3 Well 2014 LP\Settlement\Settlement Agreement-Execution
Copy\Ex 2 3 Well LP Subject Claims Assign-Participation Agmt\Ex 2 to EX 20170905 2014 LP Engagement Agreement.docx
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  EXHIBIT 3 TO SETTLEMENT AGREEMENT

                    AGREED FINAL JUDGMENT
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                                UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM, INC.,                                      §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                      §
PAYSON OPERATING, LLC,                                       §              Case No. 16-41044
                                                             §
          DEBTORS.                                           §              Chapter 11


JASON R. SEARCY,                                             §
CHAPTER 11 TRUSTEE,                                          §
                                                             §
      Plaintiff,                                             §
                                                             §
vs.                                                          §              Adversary No. 16-04106
                                                             §
PAYSON PETROLEUM 3 WELL, L.P.                                §
& PAYSON PETROLEUM 3 WELL                                    §
2014, L.P.,                                                  §
                                                             §
      Defendants.                                            §

                                        AGREED FINAL JUDGMENT

          ON THIS DATE, came on to be considered the above-entitled and numbered cause

wherein Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa Resources,

LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-41044 is the

“Plaintiff” and Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. are the

“Defendants.”

          After considering the Joint Motion for Entry of Agreed Final Judgment (the “Motion”)

filed by Plaintiff and Defendants, other pleadings on file, and argument of the parties, if any, the

Court hereby finds that the Motion should be granted. The Court further finds that:

          •        Payson Petroleum 3 Well, L.P. (“3 Well LP”) owes Payson Petroleum, Inc.



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(“Payson Petroleum”) the sum of EIGHT MILLION FIVE HUNDRED FIFTY-SEVEN THOUSAND EIGHT

HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS ($8,557,888.50) under that certain October

10, 2013 Subscription Turn Key Agreement between 3 Well LP and Payson Petroleum (the “3

Well LP Turnkey Agreement”);

       •        Payson Petroleum 3 Well 2014, L.P. (“2014 LP”) owes Payson Petroleum the sum

of TWO MILLION SIX HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED                                     AND    50/100 U.S.

DOLLARS ($2,671,900.50) under that certain January 12, 2014 Subscription Turn Key Agreement

between 2014 LP and Payson Petroleum (the “2014 LP Turnkey Agreement”);

       •        On or about Marcy 28, 2016, Maricopa Resources, LLC (“Maricopa”) assigned

certain interests in the William #1H (API # 181-31557), the Crowe #2 (API #181-31543), and the

Elaine #1 (API #181-31547) (collectively the “Subject Wells”) oil and gas wells and related

leaseholds to 3 Well LP and 2014 LP via three (3) certain Wellbore Assignments, Conveyances,

Bills of Sale, and Releases, which were recorded in the real property records of Grayson County,

Texas at Instrument Numbers: 2016-00006064, 2016-00006065, and 2016-00006066 and are

attached hereto as Exhibit 1 (the “Avoidable Assignments”); and

       •        Maricopa made the Avoidable Assignments during the 90-day period preceding the

filing of Maricopa’s bankruptcy petition, while Maricopa was not solvent, in furtherance of a

fraudulent scheme which defrauded Maricopa’s creditors, and without receiving reasonably

equivalent value in return from 3 Well LP or 2014 LP and, therefore, that the Avoidable

Assignments may be avoided pursuant to 11 U.S.C. § 548(a)(1)(A) & (B).

       It is therefore ORDERED, ADJUDGED, AND DECREED that the Motion is Granted;

       It is further ORDERED, ADJUDGED,              AND      DECREED that the Avoidable Assignments are

       constructive and actual fraudulent transfers of the interests set forth therein and are hereby


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        avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B);

        It is further ORDERED, ADJUDGED, AND DECREED that Final Judgment is hereby granted

in favor of:

        •     Payson Petroleum against 3 Well LP in the amount of EIGHT MILLION FIVE
HUNDRED FIFTY-SEVEN THOUSAND EIGHT HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS
($8,557,888.50) on account of 3 Well LP’s breach of the 3 Well LP Turnkey Agreement;

        •      Payson Petroleum against 2014 LP in the principal amount of TWO MILLION SIX
HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED AND 50/100 U.S. DOLLARS ($2,671,900.50)
on account of 2014 LP’s breach of the 2014 LP Turnkey Agreement;

      •      Maricopa against 3 Well LP for the interests transferred to 3 Well LP via the
Avoidable Assignments and/or the value thereof; and

      •      Maricopa against 2014 LP for the interests transferred to 2014 LP via the Avoidable
Assignments and/or the value thereof.

        It is further ORDERED, ADJUDGED, AND DECREED that:

       •       Payson Petroleum shall have an allowed unsecured claim in Bankruptcy Case No.
17-40179 in the amount of EIGHT MILLION FIVE HUNDRED FIFTY-SEVEN THOUSAND EIGHT
HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS ($8,557,888.50) on account of 3 Well LP’s
breach of the 3 Well LP Turnkey Agreement; and

      •        Payson Petroleum shall have an allowed unsecured claim in Bankruptcy Case No.
17-40180 in the amount of TWO MILLION SIX HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED
AND 50/100 U.S. DOLLARS ($2,671,900.50) on account of 2014 LP’s breach of the 2014 LP
Turnkey Agreement.

        This is a Final Judgment. All relief not ordered herein is expressly denied.




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SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE FOR PAYSON PETROLEUM,
INC., PAYSON OPERATING, LLC, AND MARICOPA RESOURCES, LLC

AGREED AS TO FORM AND SUBSTANCE:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE FOR PAYSON PETROLEUM,
INC., PAYSON OPERATING, LLC, AND MARICOPA RESOURCES, LLC



/s/
Keith W. Harvey
State Bar No. 09180100
THE HARVEY LAW FIRM, P.C.
6510 Abrams Road Suite 280
Dallas, Texas 75231
(972) 243-3960 Phone
(972)-241-3970 Facsimile

COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE FOR PAYSON
PETROLEUM 3 WELL, L.P. AND PAYSON PETROLEUM 3 WELL 2014, L.P.




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                             70 2016 00006064
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                                                                                  Instrument Number: 2016-00006064
                                                                                                As
 Recorded On: March 28, 2016                                                                 Recordings

          Parties: MARICOPA RESOURCES LLC                                                                                                           Billable Pages: 6
                   To                    PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                     Number of Pages: 8


     Comment: ASSIGN
                                                                                  ( Parties listed above are for Clerks reference only )

                                                                              ** Examined and Charged as Follows: **
Recordings                                                         36.00
              Total Recording:                                     36.00




                                         ************ DO NOT REMOVE. THIS PAGE IS PART OF THE INSTRUMENT************
                                                     Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                                                 because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                                  Record and Return To:
       Document Number: 2016-00006064
         Receipt Number: 447187                                                                                          PAYSON PETROLEUM
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS INSTRUMENT BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                   an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                        an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Wellbore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective
August 1, 2015 (the "Effective Date"), is subject to all instruments of record, including land owners royalty interests and
reserved overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

       This Assignment is further subject to that certain Declaration of Pooled Unit - William #lH, dated August 15,
2014, by Maricopa Resources LLC, and recorded in Volume 5650, Page 778 of the Official Public Records of Grayson
County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the "Assets":

        a.     The William # 1H (API # 181-31557) and associated well bore, with a surface location situated at latitude
33° 44' 41" - north, longitude 96° 41' 01" - west, in the east half of the Section 26, BLK 1, 11, 15, 16, JM Dodgin
Survey, Abstract 378, Grayson County, TX, (from the surface of the earth down to the base of the Viola Limestone


WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 1
              Case Case
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defined as the stratigraphic equivalent of 11,835' as found in the Brown Gas Unit No. l well located in the P. R. Wertz
Survey, Abstract 1387, Grayson County, TX), collectively referred to in this Assignment as the ("Well").

        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive  any  interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

        2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a depth not greater than the base of the Viola Limestone defined as the stratigraphic equivalent of 11,835' as
found in the Brown Gas Unit No. 1 well located in the P.R. Wertz Survey, Abstract 1387, Grayson County, TX and plug
and abandon the Well. Assignees shall not have the right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flow lines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.


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        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all
claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

         11.     Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.


                                                               2016.



ASSIGNOR:
MARICOPA RESOURCES, LLC




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                          3 WELL 2014, L.P.


By: _ _____.'------+---------
Payson Petroleum Grayson, LLC, Ge
Matthew C. Griffin, President



ASSIGNEE:
PAYSON PETRO         UM 3 WELL, L.P.


By: _ _~,___ _-==-=,=:_-..c
Payson Petr eum Grayson, LL
Matthew C. Griffin, President



STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                      _~Jh-~M/4~ __rtl
                                                                          ___:za ___,2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.

                                           ~t~~~.i;.,,-.;.            JANICE SEYDEL
                                          fR:·*'·~s
                                          =..    .•:: NOTARY PUBLIC.STATE OF TEXAS
                                          \~·., l/l COMM. EXP. 04-19-2020
                                           ~,,i:1.~j~\,.:-          NOTARY ID 128960971



STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                        ~/i/1..t&-:
                                                                  2?:,~ , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.


                                             A~7'.~t;.,,-.;.           JANICE SEYDEL
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STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                       'lh~
                                                                7,,5rJ       , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Paitner of Pavson Petroleum 3 Well, L.P.
                                           ~,,,u~~i,,,,              JANICE SEYDEL
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WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 4
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   I. The William #lH (API #181-31557) and associated wellbore, with a surface location situated at latitude 33° 44'
      41" - north, longitude 96° 41' 01" - west, in the east half of the Section 26, BLK 1, 11, 15, 16, JM Dodgin
      Survey, Abstract 378, Grayson County, TX, (from the surface of the earth down to the base of the Viola
      Limestone defined as the stratigraphic equivalent of 11,835' as found in the Brown Gas Unit No. 1 well located in
      the P.R. Wertz Survey, Abstract 1387, Grayson County, TX).

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the William # I H Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
County  Lessor                                                      Lessee                            Volume       Page     Date
Grayson Linda Buechner Byrne, as her separate                       TLPC Holdings, Ltd.               5411         536      11/18/2013
        property
Grayson Steven Buechner                                             TLPC Holdings, Ltd.               5411         532      11/18/2013
Grayson C. Suzanne Buechner, Individually and as                    TLPC Holdings, Ltd.               5411         540      11/18/2013
        Executor of the Estate of Barry L. Buechner,
        Deceased
Grayson Kennedy & Minshew, PC                                       TLPC Holdings, Ltd.               5049         747      11/10/2011
Grayson Kenneth Dolezalek                                           TLPC Holdings, Ltd.               5061         139      9/30/2011
Grayson Louie A. Hattensty, Jr.                                     TLPC Holdings, Ltd.               5057         937      11/10/2011
Grayson Bessie M. Dolezalek                                         TLPC Holdings, Ltd.               5031         870      9/30/2011
Grayson Barbara B. Vogelsang                                        TLPC Holdings, Ltd.               5031         846      9/30/2011
Grayson Burgess E. Buchanan, Jr.                                    TLPC Holdings, Ltd.               5031         854      9/30/2011
Grayson John Yates Buchanan                                         TLPC Holdings, Ltd.               5031         862      9/30/2011
Grayson Susan R. Greene                                             TLPC Holdings, Ltd.               5031         398      8/18/2011
Grayson Hugh Ringgold                                               TLPC Holdings, Ltd.               5031         390      8/18/2011
Grayson Kathryn Michelle Looney                                     TLPC Holdings, Ltd.               5034         673      9/30/2011
Grayson Anita Anderson, Power of Attorney for Gary                  TLPC Holdings, Ltd.               5034         665      9/30/2011
        Michael Looney
Grayson    Charles Evans                                            TLPC Holdings, Ltd.               5036         856      9/30/2011
Grayson    John F. Evans                                            TLPC Holdings, Ltd.               5031         406      9/30/2011
Grayson    Robert Yates Evans Jr.                                   TLPC Holdings, Ltd.               5031         414      9/30/2011
Grayson    SH Productions, Inc.                                     Maricopa Resources, LLC           5464         919      2/24/2014
Grayson    Kathy Reed                                               Maricopa Resources, LLC           5464         927      2/24/2014
Grayson    Kirk E Reed                                              Maricopa Resources, LLC           5464         931      2/24/2014
Grayson    Southstar Energy Corp                                    Maricopa Resources, LLC           5464         915      2/24/2014
Grayson    Washita Mineral Co                                       Maricopa Resources, LLC           5464         923      2/24/2014
Grayson    Endeavor Energy Resources, L.P.                          OKT Resources, LLC                4981         402      2/1/2011


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Grayson   Thomas W. Lett, Individually and as Trustee of OKT Resources, LLC                          4418         520      2/1/2008
          the Sam Lett Testamentary Trust
Grayson   Castello Enterprises, Inc.                               OKT Resources, LLC                4980         156      2/1/2011
Grayson   Wilbur Lee Dean III                                      Matthew A very                    4296         513      4/18/2007
Grayson   Joseph G Jen Dean                                        Matthew A very                    4296         506      4/18/2007
Grayson   Paula Marie Dean Halbach, aka Paula Marie                Matthew A very                    4980         140      4/18/2007
          Dean
Grayson   Landon Boyd Odle                                         Matthew A very                    4760         92       1/31/2007
Grayson   Douglas Kent Odle                                        Matthew A very                    4760         88       3/6/2007
Grayson   Gary Wayne Odle, dealing m his sole and                  Matthew A very                    4296         493      5/10/2007
          separate property
Grayson   LaJuan Odle                                              Matthew A very                    4760         92       1/30/2007
Grayson   Pottsboro Church of Christ                               Matthew A very                    4983         321      4/10/2011
Grayson   Vurlas Lane Wilson, a/k/a Verlas Lane Wilson             Matthew A very                    4296         469      4/27/2007
          and Marjorie Marie Wilson H/W
Grayson   John Robert Hooper                                       Paradise Springs, LLC             4993         305      2/12/2011
Grayson   Berdine Eberhart and Tom Eberhart W/H                    Matthew A very                    4296         441      4/27/2007
Grayson   Terry Lee Garofalo, a married woman dealing              Matthew A very                    4980         144      1/2/2011
          in her sole and separate property
Grayson   Ann W. Tracy, Trustee under the Ann W.                   Matthew A very                    4296         457      6/27/2007
          Tracy Revocable Trust dated January 8, 1991
Grayson   Ilva Wilson, Ind and as Trustee of the James M           Matthew A very                    4297         46       6/27/2007
          Wilson Jr and Ilva Wilson Family Trust
Grayson   Bobby C Wilson                                           Matthew A very                    4296         461      6/27/2007
Grayson   Peggy Ann Gehrig                                         Matthew A very                    4296         449      6/27/2007
Grayson   Thomas J. Wilson                                         Matthew A very                    4296         466      6/27/2007
Grayson   Lee Marjorie Hooper                                      Matthew A very                    4296         454      4/27/2007
Grayson   Berdine Eberhart and Tom Eberhart W/H                    Matthew A very                    4296         441      4/27/2007
Grayson   Terry Lee Garofalo and Marty J. Garofalo,                Matthew A very                    4296         445      4/27/2007
          wife and husband
Grayson   Anadarko E&P Onshore, LLC                                Paradise Springs, LLC             5355         704      8/28/2013
Grayson   Wei-Mar Investments                                      Paradise Springs, LLC             5274         698      3/15/2013
Grayson   PCB Trust, Philip C. Brown, Trustee, and                 Paradise Springs, LLC             5274         701      3/15/2013
          Philip Charles Brown
Grayson   Norman D. O'Neal                                         Paradise Springs, LLC             5367         400      9/10/2013
Grayson   Norman D. O'Neal                                         Paradise Springs, LLC             5002         826      8/21/2011
Grayson   Wei-Mar Investments                                      Paradise Springs, LLC             5002         830      8/21/2011
Grayson   Philip C Brown, a/ka Philip Charles Brown;               Paradise Springs, LLC             5002         834;     8/21/2011
          PCB Trust                                                                                               838
END OF EXHIBIT "A"




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                                                                                                Grayson County
                                                                                                  Wilma Bush
                                                                                              Grayson County Clerk
                                                                                              Sherman, Texas 75090

                                70 201 6 00006066

                                                                                 Instrument Number: 2016-00006066
                                                                                               As
 Recorded On: March 28, 2016                                                                Recordings

            Parties: MARICOPA RESOURCES LLC                                                                                                        Billable Pages: 5
                      To                 PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                    Number of Pages: 7


     Comment: ASSIGN
                                                                                 ( Parties listed above are for Clerks reference only)

                                                                             ** Examined and Charged as Follows: **
Recordings                                                        32.00
                 Total Recording:                                 32.00




                                        ************ DO NOT REMOVE. THIS PAGE IS PART OF THE INSTRUMENT************
                                                    Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                                                because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                                 Record and Return To:
       Document Number: 2016-00006066
        Receipt Number: 447187                                                                                          PAYSON PETROLEUM
     Recorded Date/Time: March 28, 2016 12:09:45P                                                                       2652 FM 407 E #250
            Book-Vol/Pg: BK-OR VL-5779 PG-404                                                                           BARTONVILLE TX 76226
           User/ Station: G WHITE - Cashiering Station 1


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                                                I hereby certify that this instmment was FILED in the File Number sequence on the date/time



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                                                printed hereon. and was duly RECORDED in the Ofticial Public Records of Grayson County. Texas.




                                                Wilma Blackshear Bush, Grayson County Clerk
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS INSTRUMENT BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                   an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Wellbore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective April
9, 2014 (the "Effective Date"), is subject to all instruments ofrecord, including land owners royalty interests and reserved
overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

        This Assignment is further subject to that certain Assignment of Oil and Gas Leases, dated November 23, 2010,
entered into between Atoka Operating, Inc. and Barber Exploration Company, and recorded in Volume 4888, Page 924, of
the Official Public Records of Grayson County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the ("Assets"):

        a.       The Crowe #2 (API #181-31543) and associated wellbore, with a surface location situated at latitude 33°
49' 10" - north, longitude 96° 41' 55" - west, in Section 11, BLK 1, 11, 15, 16, the South 79 acres of the Wood &
Buckles Survey, Abstract 1373, Grayson County, TX, (from the surface of the earth down to the measured depth of
11,164'), collectively referred to in this Assignment as the ("Well").

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        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive any interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

         2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a measured depth not greater than 11,164', and plug and abandon the Well. Assignees shall not have the
right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flow lines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.

        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all


WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 2
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claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

        11.      Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.
                         -?"2...'r,d            i A.,., .~ I
EXECUTED on this       ~~~/-           day of   r,, l(..il.rf1'.\,   2016.


ASSIGNOR:
MARICOPA RESOURCES, LLC




ASSIGNEE:
PAYSON PETROLEUM 3 WELL 2014, L.P.


By:_-<--~----.:+
Payson Petrol um Grayson, LL
Matthew C. Griffin, President

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ASSIGNEE:
PAYSON PETROLEUM 3 WELL, L.P.
                                                                                                     '; •.• .'!   ~   .,._




By:. _ _-,IL...L....,,~__.:._.J----=-==--"
Payson Petrol m Grayson, LLC,
Matthew C. Griffin, President



STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on                             ~ Z3 rd.. , 2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.

                                              ~~~~·~i;,,~                JANICE SEYDEL
                                             !il::X::-~\ NOTARY PUBLIC-STATE OF TEXAS
                                             ~/i·•.~.-iJ COMM. EXP.04-19-2020
                                              ~,lf?,~:~,,,-:- NOTARY ID 128960971

STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on                   z:8rj_   ~~  , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.


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                                                                       JANICE SEYDEL
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STATE OF TEXAS                          §
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COUNTY OF DENTON                        §

This instrument was acknowledged before me on    ~~z.3rj_ , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well, L.P.



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                                                                           JANICE SEYDEL
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   1.   The Crowe #2 (API #181-31543) and associated wellbore, with a surface location situated at latitude 33° 49' 10"
        - north, longitude 96° 41' 55" - west, in Section 11, BLK 1, 11, 15, 16, the South 79 acres of the Wood &
        Buckles Survey, Abstract 1373, Grayson County, TX, (from the surface of the earth down to the measured depth
        of 11,164'), collectively referred to in this Assignment as the ("Well").

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the Crowe #2 Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
                                                                                                                                 Effective
County     Lessor                                  Lessee                    Instrument Filed              Volume/Page           Date
Grayson    Marilyn Teresa Morrow                   RWJ Exploration,          Oil, Gas, and Mineral         4724/434              6/12/2009
                                                   LLC                       Lease
Grayson    Samuel Louis Crow                       Atoka Operatinc,          Oil, Gas, and Mineral         4536/579              1/7/2008
                                                   Inc.                      Lease
Grayson    Linda Darnell Lott, acting as           Atoka Operating,          Oil, Gas, and Mineral         4536/566              4/3/2008
           Agent and Attorney-in-Fact for          Inc.                      Lease
           Frank L. Darnell, Sr., a widower
Grayson    Linda Darnell Lott, as                  Atoka Operating,          Oil, Gas, and Mineral         4536/583              4/1/2008
           Independent Executrix of The            Inc.                      Lease
           Estate Dorothy L. Darnell,
           Deceased
Grayson    Allen M. Tonkin, Jr. Revocable          Texas Land &              Memorandum of Oil             4956/294              5/1/2011
           Trust, Allen M. Tonkin Jr.,             Petroleum                 and Gas Lease
           Trustee                                 Company, LLC
Grayson    Nancy P. Tonkin Revocable               Texas Land &              Memorandum of Oil             4956/287              5/1/2011
           Trust, Nancy T. Cutter and Allen        Petroleum                 and Gas Lease
           M. Tonkin, Jr, Trustees                 Company, LLC
Grayson    Nancy T. Cutter Revocable               Texas Land &              Memorandum of Oil             4956/291              5/1/2011
           Trust, Nancy T. Cutter Trustee          Petroleum                 and Gas Lease
                                                   Company, LLC
Grayson    Linley T. Solari Revocable              Texas Land &              Memorandum of Oil             4956/284              5/1/2011
           Trust, Linley T. Solari, Trustee        Petroleum                 and Gas Lease
                                                   Company, LLC
Grayson    Solari Luz, LLC                         Texas Land &              Ratification of Oil and       5043/663              5/1/2011
                                                   Petroleum                 Gas Lease
                                                   Company, LLC
END OF EXHIBIT "A"




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                                                                                Grayson County
                                                                                  Wilma Bush
                                                                              Grayson County Clerk
                                                                              Sherman, Texas 75090
                                11
                   70 2016 00006065

                                                                 Instrument Number: 2016-00006065
                                                                               As
 Recorded On: March 28, 2016                                                Recordings

        Parties: MARICOPA RESOURCES LLC                                                                                            Billable Pages: 5
              To      PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                       Number of Pages: 7


     Comment: ASSIGN
                                                                 ( Parties listed above are for Clerks reference only )

                                                             ** Examined and Charged as Follows: **
Recordings                                        32.00
             Total Recording:                     32.00




                     ************ DO NOT REMOVE. THIS PAGE IS PART OF THE INSTRUMENT************
                                   Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                               because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                 Record and Return To:
       Document Number: 2016-00006065
        Receipt Number: 447187                                                                          PAYSON PETROLEUM
     Recorded Date/Time: March 28, 2016 12:09:45P                                                       2652 FM 407 E #250
            Book-Vol/Pg: BK-OR VL-5779 PG-397                                                           BARTONVILLE TX 76226
           User/ Station: G WHITE - Cashiering Station 1


                                THE STATE OF TEXAS
                                COUNTY OF GRAYSON
                                I hereby certify that this instrument was FILED in the File Number sequence on the date/time
                                printed hereon, and was duly RECORDED in the Official Public Records of Grayson County. Texas.




                                Wilma Blackshear Bush, Grayson County Clerk
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS INSTRUMENT BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                    an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Well bore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective June
2, 2014 (the "Effective Date"), is subject to all instruments ofrecord, including land owners royalty interests and reserved
overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

        This Assignment is further subject to that ce11ain Declaration of Pooled Unit - Elaine #1, dated to be effective
June 1, 2014, by Maricopa Resources LLC, and recorded in Volume 5530, Page 781, of the Official Public Records of
Grayson County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the ("Assets"):

         a.       The Elaine #1 (API #181-31547) and associated wellbore, with a surface location situated at latitude 33°
44' 55" - north, longitude 96° 41' 02" - west, in Section 26, BLK 1, 11, 15, 16, the East half of the J.C. Wade Survey,
Abstract 1382, Grayson County, TX, (from the surface of the earth down to the measured depth of 12,309'), collectively
referred to in this Assignment as the ("Well").

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        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive any interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

         2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a measured depth not greater than 12,309', and plug and abandon the Well. Assignees shall not have the
right to deepen, sidetrack, or replace the Well.

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any kind, express, implied or statutory.

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perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
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valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flowlines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.

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character with respect to the Assumed Liabilities and Obligations.

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out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
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any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
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assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
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set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

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limit the rights of Assignor or Assignees, as between themselves.

         11.     Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.

EXECUTED on this        z3rJ day of Marc.L                    2016.


ASSIGNOR:
MARICOPA RESOURCES, LLC




ASSIGNEE:
PAYSON PETROLEUM 3 WELL 2014, L.P.


By: _ _ _ _ _ _ _            -#-_


Payson P roleum Grayson, LC, General Partner
Matthew C. Griffin, President

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ASSIGNEE:
PAYSON PETROLEUM 3 WELL, L.P.


By:_ _-F-+---=--=--L---.::~~v
Payson Petrol m Grayson, L
Matthew C. Griffin, President




STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                 ___~---~V?
                                                            _'o/YJ    __n_it__, 2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.




STA TE OF TEXAS                   §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                     7rJ/tlU:t-
                                                                -Z,,3 ,,d , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.




STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                     ~ -z.:3rtt- ,2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well, L.P .



                                              .:t~~~'.£Z.'"', . JANICE SEYDEL
                                             {!(-Jj~\NOTAAY PUBLIC-STATE OF TEXAS
                                             \ ~... ~              COMM. EXP. 04-19-2020
                                               "11,,'f.~1,,,,,~    NOTARY ID 128960971




WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 4
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   I. The Elaine #1 (API #181-31547) and associated wellbore, with a surface location situated at latitude 33° 44' 55"
        - north, longitude 96° 41' 02" - west, in Section 26, BLK 1, 11, 15, 16, the East half of the J.C. Wade Survey,
        Abstract 1382, Grayson County, TX, (from the surface of the earth down to the measured depth of 12,309'),
        collectively referred to in this Assignment as the ("Well").

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the Elaine # 1 Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
County    Lessor                                                      Lessee                           Volume      Pa2e     Date
Grayson   Linda Buechner Byrne, as her separate                       TLPC Holdings, Ltd.              5411        536      11/18/2013
          property
Grayson       Steven Buechner                                         TLPC Holdings, Ltd.              5411        532      11/18/2013
Grayson       C. Suzanne Buechner, Individually and as                TLPC Holdings, Ltd.              5411        540      11/18/2013
              Executor of the Estate of Barry L. Buechner,
              Deceased
Grayson       Kennedy & Minshew, PC                                   TLPC Holdings, Ltd.              5049        747      11/10/2011
Grayson       Kenneth Dolezalek                                       TLPC Holdings, Ltd.              5061         139     9/30/2011
Grayson       Louie A. Hattensy, Jr.                                  TLPC Holdings, Ltd.              5057        937      11/10/2011
Grayson       Bessie M. Dolezalek                                     TLPC Holdings, Ltd.              5031        870      9/30/2011
Grayson       Barbara B. Vogelsang                                    TLPC Holdings, Ltd.              5031        846      9/30/2011
Grayson       Burgess E. Buchanan, Jr.                                TLPC Holdings, Ltd.              5031        854      9/30/2011
Grayson       John Yates Buchanan                                     TLPC Holdings, Ltd.              5031        862.     9/30/2011
Grayson       Susan R. Greene                                         TLPC Holdings, Ltd.              5031        398      8/18/2011
Grayson       Hugh Ringgold                                           TLPC Holdings, Ltd.              5031        390      8/18/2011
Grayson       Kathryn Michelle Looney                                 TLPC Holdings, Ltd.              5034        673      9/30/2011
Grayson       Anita Anderson, Power of Attorney for Gary              TLPC Holdings, Ltd.              5034        665      9/30/2011
              Michael Looney
Grayson       Charles Evans                                           TLPC Holdings, Ltd.              5036        856      9/30/2011
Grayson       John F. Evans                                           TLPC Holdings, Ltd.              5031        406      9/30/2011
Grayson       Robert Yates Evans Jr.                                  TLPC Holdings, Ltd.              5031        414      9/30/2011
Grayson       SH Productions, Inc.                                    Maricopa Resources, LLC          5464        919      2/24/2014
Grayson       Kathy Reed                                              Maricopa Resources, LLC          5464        927      2/24/2014
Grayson       Kirk E Reed                                             Maricopa Resources, LLC          5464        931      2/24/2014
Grayson       Southstar Energy Corp                                   Maricopa Resources, LLC          5464        915      2/24/2014
Grayson       Washita Mineral Co                                      Maricopa Resources, LLC          5464         923     2/24/2014
Grayson       Carin Isabel Knoop                                      Maricopa Resources, LLC          5464         910     4/7/2014
Grayson       Preston 150 Joint Venture                               Maricopa Resources, LLC          5521         166     3/24/2014
END OF EXHIBIT "A"
WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 5
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  EXHIBIT 4 TO SETTLEMENT AGREEMENT

               JOINT MOTION FOR ENTRY OF
                AGREED FINAL JUDGMENT
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                                UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM, INC.,                                      §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                      §
PAYSON OPERATING, LLC,                                       §              Case No. 16-41044
                                                             §
          DEBTORS.                                           §              Chapter 11


JASON R. SEARCY,                                             §
CHAPTER 11 TRUSTEE,                                          §
                                                             §
      Plaintiff,                                             §
                                                             §
vs.                                                          §              Adversary No. 16-04106
                                                             §
PAYSON PETROLEUM 3 WELL, L.P.                                §
& PAYSON PETROLEUM 3 WELL                                    §
2014, L.P.,                                                  §
                                                             §
      Defendants.                                            §

                JOINT MOTION FOR ENTRY OF AGREED FINAL JUDGMENT

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

          COME NOW, Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. in

Bankruptcy Case No. 17-40180 (the “LP Trustee”) to file their Joint Motion for Entry of Agreed

Final Judgment (the “Joint Motion”), and in support thereof, respectfully show unto the Court the

following:




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        1.       On July 13, 2017, Payson Trustee filed his First Amended Complaint in this

adversary proceeding against Payson Petroleum 3 Well, L.P. (“3 Well LP”) and Payson Petroleum

3 Well 2014, L.P. (“2014 LP”) and asserted, inter alia, the following claims:

   •    breach of contract claims on behalf of Payson Petroleum, Inc. (“Payson Petroleum”)
        against 3 Well LP and 2014 LP (collectively the “Defendants”) for failure to pay amounts
        owed under certain “Turnkey Agreements;”

   •    actual and constructive fraudulent transfer claims on behalf of Payson Petroleum against
        Defendants to avoid and recover certain investment amounts Payson Petroleum transferred
        to Defendants;

   •    actual and constructive fraudulent transfer claims on behalf of Maricopa Resources, LLC
        (“Maricopa”) against Defendants to avoid and recover certain wellbore interests that
        Maricopa transferred to Defendants during the 90-day period prior to June 10, 2016 in the
        Elaine No. 1, Crowe No. 2, and William No. 1H Wells (collectively the “Subject Wells”);
        and

   •    preferential transfer claims on behalf of Maricopa against Defendants to avoid and recover
        the interests in the Subject Wells that Mariocpa transferred to Defendants during the 90-
        day period prior to June 10, 2016.

(collectively the “Subject Claims”).

        2.       Following arms-length negotiations, the Payson Trustee and LP Trustee determined

to settle disputes related to the Subject Claims, entered into that certain Settlement Agreement

dated ________, 2017 (the “Agreement”), and filed Joint Motions to Approve Compromise and

Settlement Pursuant to Bankruptcy Rule 9019 in Bankruptcy Case Nos. 16-40144, 17-40179, and

17-40180 (the “Joint Motions to Compromise”) which sought entry of agreed orders in the

applicable bankruptcy cases approving the Agreement (the “Agreed Orders”).

        3.       On __________, the Court entered the Agreed Orders.

        4.       As more fully set forth in the Agreement, Joint Motions to Compromise, and

Agreed Orders, the parties have agreed to entry of the “Agreed Final Judgment” in the form

attached hereto as Exhibit 1 in order to fully resolve the issues in the above-titled adversary


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proceeding.

        WHEREFORE, the Payson Trustee and LP Trustee respectfully request that this Court

enter the Agreed Final Judgment and grant such other and further relief as is just and proper.


Dated: ___, 2017                                       Respectfully submitted,


                                                       By:        /s/
                                                               Phil Snow
                                                               State Bar No. 18812600
                                                               Blake Hamm
                                                               State Bar No. 24069869
                                                               SNOW SPENCE GREEN LLP
                                                               2929 Allen Parkway, Suite 2800
                                                               Houston, Texas 77019
                                                               (713) 335-4800
                                                               (713) 335-4848 (Fax)

                                                               COUNSEL FOR JASON R. SEARCY,
                                                               CHAPTER 11 TRUSTEE FOR PAYSON
                                                               PETROLEUM, INC., PAYSON
                                                               OPERATING, LLC, AND MARICOPA
                                                               RESOURCES, LLC


                                                        By:      /s/
                                                               Keith W. Harvey
                                                               State Bar No. 09180100
                                                               THE HARVEY LAW FIRM, P.C.
                                                               6510 Abrams Road
                                                               Suite 280
                                                               Dallas, Texas 75231
                                                               (972) 243-3960 Phone
                                                               (972)-241-3970 Facsimile

                                                               COUNSEL FOR CHRISTOPHER J.
                                                               MOSER, CHAPTER 7 TRUSTEE FOR
                                                               PAYSON PETROLEUM 3 WELL, L.P.
                                                               AND PAYSON PETROLEUM 3 WELL
                                                               2014, L.P.




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                                       CERTIFICATE OF SERVICE

        I certify that on the ___ day of _________, 2017, a true and correct copy of the above and

foregoing was served on the interested parties via the Court’s ECF notification system.




                                                                          Blake Hamm




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                                UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF TEXAS
                                                                                                                         1
                                        SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM, INC.,                                      §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                      §
PAYSON OPERATING, LLC,                                       §              Case No. 16-41044
                                                             §
          DEBTORS.                                           §              Chapter 11


JASON R. SEARCY,                                             §
CHAPTER 11 TRUSTEE,                                          §
                                                             §
      Plaintiff,                                             §
                                                             §
vs.                                                          §              Adversary No. 16-04106
                                                             §
PAYSON PETROLEUM 3 WELL, L.P.                                §
& PAYSON PETROLEUM 3 WELL                                    §
2014, L.P.,                                                  §
                                                             §
      Defendants.                                            §

                                        AGREED FINAL JUDGMENT

          ON THIS DATE, came on to be considered the above-entitled and numbered cause

wherein Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa Resources,

LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-41044 is the

“Plaintiff” and Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. are the

“Defendants.”

          After considering the Joint Motion for Entry of Agreed Final Judgment (the “Motion”)

filed by Plaintiff and Defendants, other pleadings on file, and argument of the parties, if any, the

Court hereby finds that the Motion should be granted. The Court further finds that:

          •        Payson Petroleum 3 Well, L.P. (“3 Well LP”) owes Payson Petroleum, Inc.



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(“Payson Petroleum”) the sum of EIGHT MILLION FIVE HUNDRED FIFTY-SEVEN THOUSAND EIGHT

HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS ($8,557,888.50) under that certain October

10, 2013 Subscription Turn Key Agreement between 3 Well LP and Payson Petroleum (the “3

Well LP Turnkey Agreement”);

       •        Payson Petroleum 3 Well 2014, L.P. (“2014 LP”) owes Payson Petroleum the sum

of TWO MILLION SIX HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED                                     AND    50/100 U.S.

DOLLARS ($2,671,900.50) under that certain January 12, 2014 Subscription Turn Key Agreement

between 2014 LP and Payson Petroleum (the “2014 LP Turnkey Agreement”);

       •        On or about Marcy 28, 2016, Maricopa Resources, LLC (“Maricopa”) assigned

certain interests in the William #1H (API # 181-31557), the Crowe #2 (API #181-31543), and the

Elaine #1 (API #181-31547) (collectively the “Subject Wells”) oil and gas wells and related

leaseholds to 3 Well LP and 2014 LP via three (3) certain Wellbore Assignments, Conveyances,

Bills of Sale, and Releases, which were recorded in the real property records of Grayson County,

Texas at Instrument Numbers: 2016-00006064, 2016-00006065, and 2016-00006066 and are

attached hereto as Exhibit 1 (the “Avoidable Assignments”); and

       •        Maricopa made the Avoidable Assignments during the 90-day period preceding the

filing of Maricopa’s bankruptcy petition, while Maricopa was not solvent, in furtherance of a

fraudulent scheme which defrauded Maricopa’s creditors, and without receiving reasonably

equivalent value in return from 3 Well LP or 2014 LP and, therefore, that the Avoidable

Assignments may be avoided pursuant to 11 U.S.C. § 548(a)(1)(A) & (B).

       It is therefore ORDERED, ADJUDGED, AND DECREED that the Motion is Granted;

       It is further ORDERED, ADJUDGED,              AND      DECREED that the Avoidable Assignments are

       constructive and actual fraudulent transfers of the interests set forth therein and are hereby


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        avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B);

        It is further ORDERED, ADJUDGED, AND DECREED that Final Judgment is hereby granted

in favor of:

        •     Payson Petroleum against 3 Well LP in the amount of EIGHT MILLION FIVE
HUNDRED FIFTY-SEVEN THOUSAND EIGHT HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS
($8,557,888.50) on account of 3 Well LP’s breach of the 3 Well LP Turnkey Agreement;

        •      Payson Petroleum against 2014 LP in the principal amount of TWO MILLION SIX
HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED AND 50/100 U.S. DOLLARS ($2,671,900.50)
on account of 2014 LP’s breach of the 2014 LP Turnkey Agreement;

      •      Maricopa against 3 Well LP for the interests transferred to 3 Well LP via the
Avoidable Assignments and/or the value thereof; and

      •      Maricopa against 2014 LP for the interests transferred to 2014 LP via the Avoidable
Assignments and/or the value thereof.

        It is further ORDERED, ADJUDGED, AND DECREED that:

       •       Payson Petroleum shall have an allowed unsecured claim in Bankruptcy Case No.
17-40179 in the amount of EIGHT MILLION FIVE HUNDRED FIFTY-SEVEN THOUSAND EIGHT
HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS ($8,557,888.50) on account of 3 Well LP’s
breach of the 3 Well LP Turnkey Agreement; and

      •        Payson Petroleum shall have an allowed unsecured claim in Bankruptcy Case No.
17-40180 in the amount of TWO MILLION SIX HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED
AND 50/100 U.S. DOLLARS ($2,671,900.50) on account of 2014 LP’s breach of the 2014 LP
Turnkey Agreement.

        This is a Final Judgment. All relief not ordered herein is expressly denied.




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SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE FOR PAYSON PETROLEUM,
INC., PAYSON OPERATING, LLC, AND MARICOPA RESOURCES, LLC

AGREED AS TO FORM AND SUBSTANCE:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE FOR PAYSON PETROLEUM,
INC., PAYSON OPERATING, LLC, AND MARICOPA RESOURCES, LLC



/s/
Keith W. Harvey
State Bar No. 09180100
THE HARVEY LAW FIRM, P.C.
6510 Abrams Road Suite 280
Dallas, Texas 75231
(972) 243-3960 Phone
(972)-241-3970 Facsimile

COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE FOR PAYSON
PETROLEUM 3 WELL, L.P. AND PAYSON PETROLEUM 3 WELL 2014, L.P.




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                                                                                                Grayson County
                                                                                                  Wilma Bush
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                                                                                              Sherman, Texas 75090

                             70 2016 00006064
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                                                                                  Instrument Number: 2016-00006064
                                                                                                As
 Recorded On: March 28, 2016                                                                 Recordings

          Parties: MARICOPA RESOURCES LLC                                                                                                           Billable Pages: 6
                   To                    PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                     Number of Pages: 8


     Comment: ASSIGN
                                                                                  ( Parties listed above are for Clerks reference only )

                                                                              ** Examined and Charged as Follows: **
Recordings                                                         36.00
              Total Recording:                                     36.00




                                         ************ DO NOT REMOVE. THIS PAGE IS PART OF THE INSTRUMENT************
                                                     Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                                                 because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                                  Record and Return To:
       Document Number: 2016-00006064
         Receipt Number: 447187                                                                                          PAYSON PETROLEUM
     Recorded Date/Time: March 28, 2016 12:09:45P                                                                        2652 FM 407 E #250
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                                                 printed hereon, and wos duly RECORDED in the Officiol Public Records of Grayson County. Texas.


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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS INSTRUMENT BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                   an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                        an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Wellbore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective
August 1, 2015 (the "Effective Date"), is subject to all instruments of record, including land owners royalty interests and
reserved overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

       This Assignment is further subject to that certain Declaration of Pooled Unit - William #lH, dated August 15,
2014, by Maricopa Resources LLC, and recorded in Volume 5650, Page 778 of the Official Public Records of Grayson
County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the "Assets":

        a.     The William # 1H (API # 181-31557) and associated well bore, with a surface location situated at latitude
33° 44' 41" - north, longitude 96° 41' 01" - west, in the east half of the Section 26, BLK 1, 11, 15, 16, JM Dodgin
Survey, Abstract 378, Grayson County, TX, (from the surface of the earth down to the base of the Viola Limestone


WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 1
              Case Case
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defined as the stratigraphic equivalent of 11,835' as found in the Brown Gas Unit No. l well located in the P. R. Wertz
Survey, Abstract 1387, Grayson County, TX), collectively referred to in this Assignment as the ("Well").

        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive  any  interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

        2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a depth not greater than the base of the Viola Limestone defined as the stratigraphic equivalent of 11,835' as
found in the Brown Gas Unit No. 1 well located in the P.R. Wertz Survey, Abstract 1387, Grayson County, TX and plug
and abandon the Well. Assignees shall not have the right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flow lines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.


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        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all
claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

         11.     Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.


                                                               2016.



ASSIGNOR:
MARICOPA RESOURCES, LLC




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                          3 WELL 2014, L.P.


By: _ _____.'------+---------
Payson Petroleum Grayson, LLC, Ge
Matthew C. Griffin, President



ASSIGNEE:
PAYSON PETRO         UM 3 WELL, L.P.


By: _ _~,___ _-==-=,=:_-..c
Payson Petr eum Grayson, LL
Matthew C. Griffin, President



STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                      _~Jh-~M/4~ __rtl
                                                                          ___:za ___,2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.

                                           ~t~~~.i;.,,-.;.            JANICE SEYDEL
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                                          =..    .•:: NOTARY PUBLIC.STATE OF TEXAS
                                          \~·., l/l COMM. EXP. 04-19-2020
                                           ~,,i:1.~j~\,.:-          NOTARY ID 128960971



STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                        ~/i/1..t&-:
                                                                  2?:,~ , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.


                                             A~7'.~t;.,,-.;.           JANICE SEYDEL
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STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                       'lh~
                                                                7,,5rJ       , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Paitner of Pavson Petroleum 3 Well, L.P.
                                           ~,,,u~~i,,,,              JANICE SEYDEL
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WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 4
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   I. The William #lH (API #181-31557) and associated wellbore, with a surface location situated at latitude 33° 44'
      41" - north, longitude 96° 41' 01" - west, in the east half of the Section 26, BLK 1, 11, 15, 16, JM Dodgin
      Survey, Abstract 378, Grayson County, TX, (from the surface of the earth down to the base of the Viola
      Limestone defined as the stratigraphic equivalent of 11,835' as found in the Brown Gas Unit No. 1 well located in
      the P.R. Wertz Survey, Abstract 1387, Grayson County, TX).

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the William # I H Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
County  Lessor                                                      Lessee                            Volume       Page     Date
Grayson Linda Buechner Byrne, as her separate                       TLPC Holdings, Ltd.               5411         536      11/18/2013
        property
Grayson Steven Buechner                                             TLPC Holdings, Ltd.               5411         532      11/18/2013
Grayson C. Suzanne Buechner, Individually and as                    TLPC Holdings, Ltd.               5411         540      11/18/2013
        Executor of the Estate of Barry L. Buechner,
        Deceased
Grayson Kennedy & Minshew, PC                                       TLPC Holdings, Ltd.               5049         747      11/10/2011
Grayson Kenneth Dolezalek                                           TLPC Holdings, Ltd.               5061         139      9/30/2011
Grayson Louie A. Hattensty, Jr.                                     TLPC Holdings, Ltd.               5057         937      11/10/2011
Grayson Bessie M. Dolezalek                                         TLPC Holdings, Ltd.               5031         870      9/30/2011
Grayson Barbara B. Vogelsang                                        TLPC Holdings, Ltd.               5031         846      9/30/2011
Grayson Burgess E. Buchanan, Jr.                                    TLPC Holdings, Ltd.               5031         854      9/30/2011
Grayson John Yates Buchanan                                         TLPC Holdings, Ltd.               5031         862      9/30/2011
Grayson Susan R. Greene                                             TLPC Holdings, Ltd.               5031         398      8/18/2011
Grayson Hugh Ringgold                                               TLPC Holdings, Ltd.               5031         390      8/18/2011
Grayson Kathryn Michelle Looney                                     TLPC Holdings, Ltd.               5034         673      9/30/2011
Grayson Anita Anderson, Power of Attorney for Gary                  TLPC Holdings, Ltd.               5034         665      9/30/2011
        Michael Looney
Grayson    Charles Evans                                            TLPC Holdings, Ltd.               5036         856      9/30/2011
Grayson    John F. Evans                                            TLPC Holdings, Ltd.               5031         406      9/30/2011
Grayson    Robert Yates Evans Jr.                                   TLPC Holdings, Ltd.               5031         414      9/30/2011
Grayson    SH Productions, Inc.                                     Maricopa Resources, LLC           5464         919      2/24/2014
Grayson    Kathy Reed                                               Maricopa Resources, LLC           5464         927      2/24/2014
Grayson    Kirk E Reed                                              Maricopa Resources, LLC           5464         931      2/24/2014
Grayson    Southstar Energy Corp                                    Maricopa Resources, LLC           5464         915      2/24/2014
Grayson    Washita Mineral Co                                       Maricopa Resources, LLC           5464         923      2/24/2014
Grayson    Endeavor Energy Resources, L.P.                          OKT Resources, LLC                4981         402      2/1/2011


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Grayson   Thomas W. Lett, Individually and as Trustee of OKT Resources, LLC                          4418         520      2/1/2008
          the Sam Lett Testamentary Trust
Grayson   Castello Enterprises, Inc.                               OKT Resources, LLC                4980         156      2/1/2011
Grayson   Wilbur Lee Dean III                                      Matthew A very                    4296         513      4/18/2007
Grayson   Joseph G Jen Dean                                        Matthew A very                    4296         506      4/18/2007
Grayson   Paula Marie Dean Halbach, aka Paula Marie                Matthew A very                    4980         140      4/18/2007
          Dean
Grayson   Landon Boyd Odle                                         Matthew A very                    4760         92       1/31/2007
Grayson   Douglas Kent Odle                                        Matthew A very                    4760         88       3/6/2007
Grayson   Gary Wayne Odle, dealing m his sole and                  Matthew A very                    4296         493      5/10/2007
          separate property
Grayson   LaJuan Odle                                              Matthew A very                    4760         92       1/30/2007
Grayson   Pottsboro Church of Christ                               Matthew A very                    4983         321      4/10/2011
Grayson   Vurlas Lane Wilson, a/k/a Verlas Lane Wilson             Matthew A very                    4296         469      4/27/2007
          and Marjorie Marie Wilson H/W
Grayson   John Robert Hooper                                       Paradise Springs, LLC             4993         305      2/12/2011
Grayson   Berdine Eberhart and Tom Eberhart W/H                    Matthew A very                    4296         441      4/27/2007
Grayson   Terry Lee Garofalo, a married woman dealing              Matthew A very                    4980         144      1/2/2011
          in her sole and separate property
Grayson   Ann W. Tracy, Trustee under the Ann W.                   Matthew A very                    4296         457      6/27/2007
          Tracy Revocable Trust dated January 8, 1991
Grayson   Ilva Wilson, Ind and as Trustee of the James M           Matthew A very                    4297         46       6/27/2007
          Wilson Jr and Ilva Wilson Family Trust
Grayson   Bobby C Wilson                                           Matthew A very                    4296         461      6/27/2007
Grayson   Peggy Ann Gehrig                                         Matthew A very                    4296         449      6/27/2007
Grayson   Thomas J. Wilson                                         Matthew A very                    4296         466      6/27/2007
Grayson   Lee Marjorie Hooper                                      Matthew A very                    4296         454      4/27/2007
Grayson   Berdine Eberhart and Tom Eberhart W/H                    Matthew A very                    4296         441      4/27/2007
Grayson   Terry Lee Garofalo and Marty J. Garofalo,                Matthew A very                    4296         445      4/27/2007
          wife and husband
Grayson   Anadarko E&P Onshore, LLC                                Paradise Springs, LLC             5355         704      8/28/2013
Grayson   Wei-Mar Investments                                      Paradise Springs, LLC             5274         698      3/15/2013
Grayson   PCB Trust, Philip C. Brown, Trustee, and                 Paradise Springs, LLC             5274         701      3/15/2013
          Philip Charles Brown
Grayson   Norman D. O'Neal                                         Paradise Springs, LLC             5367         400      9/10/2013
Grayson   Norman D. O'Neal                                         Paradise Springs, LLC             5002         826      8/21/2011
Grayson   Wei-Mar Investments                                      Paradise Springs, LLC             5002         830      8/21/2011
Grayson   Philip C Brown, a/ka Philip Charles Brown;               Paradise Springs, LLC             5002         834;     8/21/2011
          PCB Trust                                                                                               838
END OF EXHIBIT "A"




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                                                                                                Grayson County
                                                                                                  Wilma Bush
                                                                                              Grayson County Clerk
                                                                                              Sherman, Texas 75090

                                70 201 6 00006066

                                                                                 Instrument Number: 2016-00006066
                                                                                               As
 Recorded On: March 28, 2016                                                                Recordings

            Parties: MARICOPA RESOURCES LLC                                                                                                        Billable Pages: 5
                      To                 PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                    Number of Pages: 7


     Comment: ASSIGN
                                                                                 ( Parties listed above are for Clerks reference only)

                                                                             ** Examined and Charged as Follows: **
Recordings                                                        32.00
                 Total Recording:                                 32.00




                                        ************ DO NOT REMOVE. THIS PAGE IS PART OF THE INSTRUMENT************
                                                    Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                                                because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                                 Record and Return To:
       Document Number: 2016-00006066
        Receipt Number: 447187                                                                                          PAYSON PETROLEUM
     Recorded Date/Time: March 28, 2016 12:09:45P                                                                       2652 FM 407 E #250
            Book-Vol/Pg: BK-OR VL-5779 PG-404                                                                           BARTONVILLE TX 76226
           User/ Station: G WHITE - Cashiering Station 1


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                                                I hereby certify that this instmment was FILED in the File Number sequence on the date/time



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                                                printed hereon. and was duly RECORDED in the Ofticial Public Records of Grayson County. Texas.




                                                Wilma Blackshear Bush, Grayson County Clerk
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS INSTRUMENT BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                   an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Wellbore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective April
9, 2014 (the "Effective Date"), is subject to all instruments ofrecord, including land owners royalty interests and reserved
overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

        This Assignment is further subject to that certain Assignment of Oil and Gas Leases, dated November 23, 2010,
entered into between Atoka Operating, Inc. and Barber Exploration Company, and recorded in Volume 4888, Page 924, of
the Official Public Records of Grayson County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the ("Assets"):

        a.       The Crowe #2 (API #181-31543) and associated wellbore, with a surface location situated at latitude 33°
49' 10" - north, longitude 96° 41' 55" - west, in Section 11, BLK 1, 11, 15, 16, the South 79 acres of the Wood &
Buckles Survey, Abstract 1373, Grayson County, TX, (from the surface of the earth down to the measured depth of
11,164'), collectively referred to in this Assignment as the ("Well").

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        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive any interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

         2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a measured depth not greater than 11,164', and plug and abandon the Well. Assignees shall not have the
right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flow lines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.

        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all


WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 2
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claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

        11.      Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.
                         -?"2...'r,d            i A.,., .~ I
EXECUTED on this       ~~~/-           day of   r,, l(..il.rf1'.\,   2016.


ASSIGNOR:
MARICOPA RESOURCES, LLC




ASSIGNEE:
PAYSON PETROLEUM 3 WELL 2014, L.P.


By:_-<--~----.:+
Payson Petrol um Grayson, LL
Matthew C. Griffin, President

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ASSIGNEE:
PAYSON PETROLEUM 3 WELL, L.P.
                                                                                                     '; •.• .'!   ~   .,._




By:. _ _-,IL...L....,,~__.:._.J----=-==--"
Payson Petrol m Grayson, LLC,
Matthew C. Griffin, President



STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on                             ~ Z3 rd.. , 2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.

                                              ~~~~·~i;,,~                JANICE SEYDEL
                                             !il::X::-~\ NOTARY PUBLIC-STATE OF TEXAS
                                             ~/i·•.~.-iJ COMM. EXP.04-19-2020
                                              ~,lf?,~:~,,,-:- NOTARY ID 128960971

STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on                   z:8rj_   ~~  , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.


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                                                                       JANICE SEYDEL
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STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on    ~~z.3rj_ , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well, L.P.



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                                                                           JANICE SEYDEL
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   1.   The Crowe #2 (API #181-31543) and associated wellbore, with a surface location situated at latitude 33° 49' 10"
        - north, longitude 96° 41' 55" - west, in Section 11, BLK 1, 11, 15, 16, the South 79 acres of the Wood &
        Buckles Survey, Abstract 1373, Grayson County, TX, (from the surface of the earth down to the measured depth
        of 11,164'), collectively referred to in this Assignment as the ("Well").

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the Crowe #2 Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
                                                                                                                                 Effective
County     Lessor                                  Lessee                    Instrument Filed              Volume/Page           Date
Grayson    Marilyn Teresa Morrow                   RWJ Exploration,          Oil, Gas, and Mineral         4724/434              6/12/2009
                                                   LLC                       Lease
Grayson    Samuel Louis Crow                       Atoka Operatinc,          Oil, Gas, and Mineral         4536/579              1/7/2008
                                                   Inc.                      Lease
Grayson    Linda Darnell Lott, acting as           Atoka Operating,          Oil, Gas, and Mineral         4536/566              4/3/2008
           Agent and Attorney-in-Fact for          Inc.                      Lease
           Frank L. Darnell, Sr., a widower
Grayson    Linda Darnell Lott, as                  Atoka Operating,          Oil, Gas, and Mineral         4536/583              4/1/2008
           Independent Executrix of The            Inc.                      Lease
           Estate Dorothy L. Darnell,
           Deceased
Grayson    Allen M. Tonkin, Jr. Revocable          Texas Land &              Memorandum of Oil             4956/294              5/1/2011
           Trust, Allen M. Tonkin Jr.,             Petroleum                 and Gas Lease
           Trustee                                 Company, LLC
Grayson    Nancy P. Tonkin Revocable               Texas Land &              Memorandum of Oil             4956/287              5/1/2011
           Trust, Nancy T. Cutter and Allen        Petroleum                 and Gas Lease
           M. Tonkin, Jr, Trustees                 Company, LLC
Grayson    Nancy T. Cutter Revocable               Texas Land &              Memorandum of Oil             4956/291              5/1/2011
           Trust, Nancy T. Cutter Trustee          Petroleum                 and Gas Lease
                                                   Company, LLC
Grayson    Linley T. Solari Revocable              Texas Land &              Memorandum of Oil             4956/284              5/1/2011
           Trust, Linley T. Solari, Trustee        Petroleum                 and Gas Lease
                                                   Company, LLC
Grayson    Solari Luz, LLC                         Texas Land &              Ratification of Oil and       5043/663              5/1/2011
                                                   Petroleum                 Gas Lease
                                                   Company, LLC
END OF EXHIBIT "A"




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                                                                                Grayson County
                                                                                  Wilma Bush
                                                                              Grayson County Clerk
                                                                              Sherman, Texas 75090
                                11
                   70 2016 00006065

                                                                 Instrument Number: 2016-00006065
                                                                               As
 Recorded On: March 28, 2016                                                Recordings

        Parties: MARICOPA RESOURCES LLC                                                                                            Billable Pages: 5
              To      PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                       Number of Pages: 7


     Comment: ASSIGN
                                                                 ( Parties listed above are for Clerks reference only )

                                                             ** Examined and Charged as Follows: **
Recordings                                        32.00
             Total Recording:                     32.00




                     ************ DO NOT REMOVE. THIS PAGE IS PART OF THE INSTRUMENT************
                                   Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                               because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                 Record and Return To:
       Document Number: 2016-00006065
        Receipt Number: 447187                                                                          PAYSON PETROLEUM
     Recorded Date/Time: March 28, 2016 12:09:45P                                                       2652 FM 407 E #250
            Book-Vol/Pg: BK-OR VL-5779 PG-397                                                           BARTONVILLE TX 76226
           User/ Station: G WHITE - Cashiering Station 1


                                THE STATE OF TEXAS
                                COUNTY OF GRAYSON
                                I hereby certify that this instrument was FILED in the File Number sequence on the date/time
                                printed hereon, and was duly RECORDED in the Official Public Records of Grayson County. Texas.




                                Wilma Blackshear Bush, Grayson County Clerk
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS INSTRUMENT BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                    an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Well bore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective June
2, 2014 (the "Effective Date"), is subject to all instruments ofrecord, including land owners royalty interests and reserved
overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

        This Assignment is further subject to that ce11ain Declaration of Pooled Unit - Elaine #1, dated to be effective
June 1, 2014, by Maricopa Resources LLC, and recorded in Volume 5530, Page 781, of the Official Public Records of
Grayson County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the ("Assets"):

         a.       The Elaine #1 (API #181-31547) and associated wellbore, with a surface location situated at latitude 33°
44' 55" - north, longitude 96° 41' 02" - west, in Section 26, BLK 1, 11, 15, 16, the East half of the J.C. Wade Survey,
Abstract 1382, Grayson County, TX, (from the surface of the earth down to the measured depth of 12,309'), collectively
referred to in this Assignment as the ("Well").

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        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive any interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

         2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a measured depth not greater than 12,309', and plug and abandon the Well. Assignees shall not have the
right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
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any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
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valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flowlines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.

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character with respect to the Assumed Liabilities and Obligations.

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out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
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any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
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set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
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limit the rights of Assignor or Assignees, as between themselves.

         11.     Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.

EXECUTED on this        z3rJ day of Marc.L                    2016.


ASSIGNOR:
MARICOPA RESOURCES, LLC




ASSIGNEE:
PAYSON PETROLEUM 3 WELL 2014, L.P.


By: _ _ _ _ _ _ _            -#-_


Payson P roleum Grayson, LC, General Partner
Matthew C. Griffin, President

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ASSIGNEE:
PAYSON PETROLEUM 3 WELL, L.P.


By:_ _-F-+---=--=--L---.::~~v
Payson Petrol m Grayson, L
Matthew C. Griffin, President




STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                 ___~---~V?
                                                            _'o/YJ    __n_it__, 2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.




STA TE OF TEXAS                   §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                     7rJ/tlU:t-
                                                                -Z,,3 ,,d , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.




STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                     ~ -z.:3rtt- ,2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well, L.P .



                                              .:t~~~'.£Z.'"', . JANICE SEYDEL
                                             {!(-Jj~\NOTAAY PUBLIC-STATE OF TEXAS
                                             \ ~... ~              COMM. EXP. 04-19-2020
                                               "11,,'f.~1,,,,,~    NOTARY ID 128960971




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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   I. The Elaine #1 (API #181-31547) and associated wellbore, with a surface location situated at latitude 33° 44' 55"
        - north, longitude 96° 41' 02" - west, in Section 26, BLK 1, 11, 15, 16, the East half of the J.C. Wade Survey,
        Abstract 1382, Grayson County, TX, (from the surface of the earth down to the measured depth of 12,309'),
        collectively referred to in this Assignment as the ("Well").

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the Elaine # 1 Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
County    Lessor                                                      Lessee                           Volume      Pa2e     Date
Grayson   Linda Buechner Byrne, as her separate                       TLPC Holdings, Ltd.              5411        536      11/18/2013
          property
Grayson       Steven Buechner                                         TLPC Holdings, Ltd.              5411        532      11/18/2013
Grayson       C. Suzanne Buechner, Individually and as                TLPC Holdings, Ltd.              5411        540      11/18/2013
              Executor of the Estate of Barry L. Buechner,
              Deceased
Grayson       Kennedy & Minshew, PC                                   TLPC Holdings, Ltd.              5049        747      11/10/2011
Grayson       Kenneth Dolezalek                                       TLPC Holdings, Ltd.              5061         139     9/30/2011
Grayson       Louie A. Hattensy, Jr.                                  TLPC Holdings, Ltd.              5057        937      11/10/2011
Grayson       Bessie M. Dolezalek                                     TLPC Holdings, Ltd.              5031        870      9/30/2011
Grayson       Barbara B. Vogelsang                                    TLPC Holdings, Ltd.              5031        846      9/30/2011
Grayson       Burgess E. Buchanan, Jr.                                TLPC Holdings, Ltd.              5031        854      9/30/2011
Grayson       John Yates Buchanan                                     TLPC Holdings, Ltd.              5031        862.     9/30/2011
Grayson       Susan R. Greene                                         TLPC Holdings, Ltd.              5031        398      8/18/2011
Grayson       Hugh Ringgold                                           TLPC Holdings, Ltd.              5031        390      8/18/2011
Grayson       Kathryn Michelle Looney                                 TLPC Holdings, Ltd.              5034        673      9/30/2011
Grayson       Anita Anderson, Power of Attorney for Gary              TLPC Holdings, Ltd.              5034        665      9/30/2011
              Michael Looney
Grayson       Charles Evans                                           TLPC Holdings, Ltd.              5036        856      9/30/2011
Grayson       John F. Evans                                           TLPC Holdings, Ltd.              5031        406      9/30/2011
Grayson       Robert Yates Evans Jr.                                  TLPC Holdings, Ltd.              5031        414      9/30/2011
Grayson       SH Productions, Inc.                                    Maricopa Resources, LLC          5464        919      2/24/2014
Grayson       Kathy Reed                                              Maricopa Resources, LLC          5464        927      2/24/2014
Grayson       Kirk E Reed                                             Maricopa Resources, LLC          5464        931      2/24/2014
Grayson       Southstar Energy Corp                                   Maricopa Resources, LLC          5464        915      2/24/2014
Grayson       Washita Mineral Co                                      Maricopa Resources, LLC          5464         923     2/24/2014
Grayson       Carin Isabel Knoop                                      Maricopa Resources, LLC          5464         910     4/7/2014
Grayson       Preston 150 Joint Venture                               Maricopa Resources, LLC          5521         166     3/24/2014
END OF EXHIBIT "A"
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  EXHIBIT 5 TO SETTLEMENT AGREEMENT

                        CONTRACT OPERATING
                        SERVICES AGREEMENT
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                    CONTRACT OPERATING SERVICES AGREEMENT                                                                  3)     in full compliance with all applicable local, municipal, county, state and
                                                                                                            federal laws and regulations.
        This Contract Operating Services Agreement (this ""Agreement') made and entered into
this _ _ day of July, 2016 by and between Traton Operating Company. (hereinafter                            Contractor shall perform all work and labor appropriate or necessary for setting, installing,
"Contractor"), and Payson Operating, LLC, (hereinafter "Owner"). Owner and Contractor are                   handling, caring for, and maintaining all materials, equipment, and supplies furnished by Owner
referred to collectively as the "Parties" and individually as a "Party".                                    in connection with the Services.

                                        WITNESSETH:                                                                1.2    Subject to the terms of this Agreement, Contractor shall manage, develop and
                                                                                                            supervise the Contract Area Pursuant to such obligations and as required by Owner and as
       \VHEREAS, Owner owns undivided working interests in the oil and gas leases (the                      applicable, Contractor shall:
"Leases") located in the counties and states as described in or covered by the Subject JOAs, as
defined below, and as same may be amended from time to time (the land described in such                                        (a)     Supervise contract or Contractor's pumpers, whose services will
Leases is referred to herein as the "Contract Area");                                                                   include but will not be limited to gauging tanks, recording well pressure, preparing
                                                                                                                        gauge reports, treating oil, making minor repairs, and reporting unusual or abnormal
       WHEREAS, Owner desires to retain the services of Contractor to act as a contract                                 occurrences.
operator for the Leases; and
                                                                                                                               (b)    Review well performance and prepare for Owner monthly reports that
     WHEREAS, Contractor has the capability to and desires to render such services on behalf                            summarize production in Contractor's standard form on a per well basis for each of
ofOvmer.                                                                                                                the Subject JOAs. Contractor shall also note and evaluate any abnormal changes in
                                                                                                                        production.
       WHEREAS, Contractor will perfonn the services as required by the Owner (of which
                                                                                                                               (c)    Prepare and furnish to any duly constituted authority having
Payson Operating, LLC is the operator ofrecord at the Texas RRC) under certain joint operating
                                                                                                                       jurisdiction over the Leases any and all reports, statements and information that may
agreements covering the Leases in the Contract Area more particularly described on Ethibit A,
                                                                                                                       be required.
as same may be amended from time to time (the ""Subject JOAs");
                                                                                                                                ( d)   Use its best efforts to establish and maintain complete and accurate
                                                                                                                        well files containing information on operations performed in connection with each
       NOW, THEREFORE, based upon the mutual covenants and considerations contained                                     well.
herein, the sufficiency of which is hereby acknowledged, Contractor and Owner agree as
follows:                                                                                                                       (e)     Review and approve all invoices and charges for all expenses
                                                                                                                        incurred and credits received.
                                  ARTICLE]
             DESIGNATION AI\'D RESPONSJBILJTIBS OF CONTRACTOR                                                                  (f)     Keep accurate books of account showing all items of cost or expense
                                                                                                                        incurred in connection with the Leases, and Contract Area with respect to each of the
        I. I   Subject to the terms of tms Agreement, Contractor shall conduct and direct all                           Subject JOAs, and make and pay all charges in accordance with the provisions of
operations on the Leases as permitted and required by and within the limits of this Agreement                           this Agreement.
(the "Services"). Contractor shall perform all services with due diligence and dispatch in
accordance with the standards for the Operator under the Subject JOAs and generally accepted                                    (g)    Prepare and render billings to the Owner and non-operators with
oil field practice, conforming to al! applicable laws, rules, orders and regulations of any                             respect to each of the Subject JO As for approved expenses and charges for services
competent governmental body, which are now or may become applicable to the operations                                   as Contractor as agreed herein.
contemplated by this Agreement. Owner agrees to assist Contractor by providing Contractor
with authorizations necessary for the proper performance of its services. Contractor shall use all                 1.3    Upon Ovmer's request, Contractor shall perform the following services in
possible care and diligence to ensure that the Services rendered pursuant to this Agreement are             connection with general requests from partners or as otherwise instructed by the Trustee,
performed:                                                                                                  completing, working-over, or drilling any well in the Contract Area, or reworking, deepening, or
                                                                                                            plugging back a dry hole:
               I)     reasonably and prudently;
                                                                                                                               (a)    Conduct field inspection and inventory equipment
              2)      in a skillful and workmanlike manner;


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        (b)    Locate and contract, on Owner's behalf. contract pumpers or gagues                                   (o)    Unless otherwise agreed by Contractor, all contracts with third parties
for the Contract Area                                                                                       (excluding contracts with drilling supervisor(s) for onsite supervision). shall be in
                                                                                                            the name of Owner under master service contracts in fonn approved by Owner and
        (c)    Supervise all routine well service operations and repair and                                 similar in fonn and substance to the Master Service Agreement that has previously
maintenance operations, including onsite supervision of the installation or removal                         been established by Owner. Contractor shall have no liability with respect to third-
of well equipment, pumping of any treating fluid or substance into a well, and other                        party contracts. Provided, however, Contractor shall initiate no remedial work,
onsite operations performed under contract by third party or \\~th leased equipment.                        repairs, replacement of equipment, etc. with an estimated total cost exceeding
                                                                                                            $25,000.00 without the prior written approval of Owner.
        (d)    Supervise all drilling and completion operations, workover
operations. recomplet:ion operations, and any type of remedial operation, whether or                   1.4     All personnel involved in the day-to-day lease operations shall be under the
not it would ordinarily be considered a normal well-service operation. This includes            supervision of the Contractor. The selection, hiring, dismissal and work schedule of such
contracting with supervisory personnel for onsite supervision as required and                   contractors and employees of Contractor shall be determined by Contractor.
maintaining overall supervision of such personnel through day-to-day contact
                                                                                                        1.5    Owner shall have access at all reasonable times to the Leases, to all infonnation
         (e)   Prepare operating and drilling procedures.                                       pertaining to wells drilled, production secured, and oil and gas marketed, and to the books,
                                                                                                records, and vouchers relating to the operation of the Leases. Contractor shall, upon Owner's
      (f)     Prepare operating cost estimates and circulate Authorizations for
Expenditures for Owner's approval.                                                              request, furnish Owner v.rith weekly gauge and run tickets. Notwithstanding anything to the
                                                                                                contrary herein, all infonnation referenced in tills Section 1.6 shall be the property of Owner.
       (g)     Obtain all necessary drilling pennits and file all necessary and
                                                                                                         J.6    Owner will grant Contractor access to an account for revenues, operating costs,
appropriate reports required prior to, during or after completion of operations.
                                                                                                fees and expenses for each Contract Area under each of the Subject JOAs (the "Operating
       (h)    Conduct overall supervision of drilling supervisor(s) through daily               Account"). Prior to the fifteenth (15 th ) day of each month, Contractor will prepare and deliver to
monitoring of drilling, deepening, recompletion or other critical operations.                   Owner an operating statement for each of the Subject JOAs (the "Property Operating
                                                                                                Statement'), which Property Operating Statement shall include (a) Contractor's estimate of
        (i)     Prepare AFEs and procedures and conduct overall supervision                     production volumes; (b) actual revenues received in the prior month; (c) all costs, expenses and
through daily monitoring of field personnel, of plugging and abandonment                        charges billed by third parties to Contractor in the prior month, including, without limitation, all
operations of any wells located in the Contract Area in compliance with all federal,            sums due under the Leases and other liquidated monetary obligations; and (d) expenditures and
state and local regulations and orders.                                                         fees recorded by Contractor in form satisfactory to Owner. Promptly after delivery of the
                                                                                                Property Operating Statement, Contractor shall transfer sufficient funds from the revenue
        (i)     Provide emergency response assistance with respect to any accident,             account into the operating account necessary to cover operating costs, fees (including Contractor
spill, upset or similar occurrence requiring immediate action to protect the health,            fees) and expenses set forth on the Property Operating Statement Contractor shall have the right
safety and mechanical and environmental integrity of the Contract Area and                      to withdraw funds from the Operating Account to pay for the services hereunder. The parties
equipment located thereon.                                                                      hereto acknowledge and agree that from time to time the funds in the Operating Account may be
                                                                                                insufficient to cover the operating expenses for such month, in which case Contractor shall
        (k)     Assist Owner in responding to requests from interested parties or the           immediately notify Owner of the projected shortfall and any interim payments into the account to
Trustee including but not limited to any efforts to market its interest in the Contract         cover such shortfall will be evaluated by Owner and paid on a case-by-case basis. In no event
Area, including making its records available and making knowledgeable personnel                 shall Contractor be required to advance funds on behalf of Owner to conduct the operations or
available to accompany potential buyers and respond to questions as they inspect and            proceed with any operations, unless there are available funds in the account to cover the cost of
tour the properties.                                                                            such operations or Owner has contracted directly for such services.

         (I)   Maintain land and lease documents.                                                       1. 7   At all reasonable times and upon thirty (30) days prior written notice, Contractor
                                                                                                shall pennit employees and agents of Owner to have access to its offices and work locations to
         (m)   Market Production.                                                               examine. reproduce and retain copies of such documentation and data and to interview
                                                                                                Contractor's personnel in connection therev.rith, as necessary for Owner to verify and monitor (i)
         (n)   Perform any work falling under Contractor's expertise as directed by             the accuracy and propriety of Service fees and reimbursable expenses pursuant to this
Owner.                                                                                          Agreement, and (ii) Contractor's compliance with the tenns of this Agreement. Where Services
                                                                                                hereunder, are billed under fixed rates, Owner's auditors shall have sufficient access to those


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rates to satisfy themselves that the Services have not also been separately billed on some other                                                 ARTICLEV
basis (e.g., a reimbursable basis). The provisions of this Section J.7 shall be applicable during                                         INDEPENDENT CONTRACTOR
the tenn of this Agreement and for a period of one (I) year thereafter. Any costs associated with
Owner's audit requirements or procedures shall be solely for Owner's account. If errors or                        Contractor undertakes the performance of the provisions of this Agreement as an
deficiencies are identified by an audit or othenvise, both Parties shall take prompt corrective            independent contractor, and neither Contractor nor any of its employees, contractors or agents
action thereof.                                                                                            will be deemed to be an employee, servant, agent or partner of or joint venturer with Owner.
                                                                                                           Owner shall not, in any respect, be responsible for the hiring, employment or working conditions
                                  ARTICLE II                                                               of the persons employed or retained by Contractor in connection with the perfonnance of
                          COMPENSATION OF CONTRACTOR                                                       Contractor's obligations under the tenns of this Agreement.

       2.1     During the tenn of this Agreement, Contractor shall be compensated:                                                                   ARTICLE VI
                                                                                                                                                     INSURANCE
                    (a)     For Services completed under Section 1.2, in accordance with the
             overhead rate structure set forth on Exhibit B hereto.                                                Contractor shall maintain insurance of the type, in the amounts and with the limits set
                                                                                                           forth on Exhibit D hereto. Each party shall be named as an additional insured under each ofthe
                    (b)      For Services completed under Section 1.3, in accordance with the              policies for the duration hereof.
             hourly rate structure set forth on Exhibit C hereto.
                                                                                                                                                   ARTICLE VD
       2.2    The above compensation shall not include any direct costs and third-party costs                                                    FORCE MAJEURE
that are proper charges to the Contractor Account that are incurred by the Contractor in
connection with services rendered hereunder. Owner shall reimburse Contractor for any third-
party charges incurred by Contractor in accordance with this Agreement within thirty (30)                           Contractor shall not be liable to Owner for any loss on the Leases caused by war, strikes,
business days of delivery of invoice.                                                                      tornadoes, floods, governmental priorities on materials or other governmental restrictions, or
                                                                                                           inability to obtain suitable equipment or labor resulting from any other causes not due to
                                    ARTICLE ill                                                            Contractor's failure to exercise reasonable diligence in the perfonnance of Contractor's
                             RESPONSIBILITIES OF OWNER                                                     obligations hereunder. If Contractor is delayed or prevented from performing for any such cause,
                                                                                                           it shall do all things reasonably possible to remove such cause and shall resume perfonnance
       3.1    Owner shall be the operator of record with respect to the Leases under each of the           hereunder as soon as such cause is removed.
Subject JOAs.
                                                                                                                                               ARTICLE Vlll
        3.2    Owner shall be duly authorized under all laws, rules, orders and regulations of                                        BINDING EFFECT OF AGREEMENT
any competent governmental body, which are now or may become applicable to the operations
contemplated by this Agreement and shall obtain and maintain all necessary pennits, bonds and                      This Agreement shall be binding upon and inure to the benefit of the parties, their
sureties as may be required thereunder.                                                                    respective successors and pennitted assigns. The right of either party to assign this Agreement is
                                                                                                           subject to the prior written consent of the non-assigning party, which consent shall not be
                                  ARTICLE IV                                                               unreasonably withheld or delayed. Notwithstanding the immediately preceding sentence, each
                         HEALTH AND SAFETY OBLIGATIONS                                                     party may assign and transfer this Agreement to an affiliate or pursuant to a reorganization or
                                                                                                           change in control of such party or the person that controls such party without such consent. Any
      BY EXECUTING TI-US AGRER-1ENT, CONTRACTOR REPRESENTS AND                                             assignment in contravention of this Anicle VIII shall be void.
WARRANTS THAT IT IS QUALIFIED TO DO BUSINESS IN" EACH OF THE
JURISDICTIONS WI1HIN THE CONTRACT AREA.      CONTRACTOR FURTHER                                                                           ARTICLE IX
REPRESENTS AND WARRANTS THAT ITS EMPLOYEES ARE QUALIFIED AND                                                               AMENDMENT, TERMINATION AND TURNOVER DATE
COMPETENT AND THAT CONTRACTOR IS, AND WILL BE THROUGHOUT THE
DURATION OF THIS AGREEMENT, TRAINED AND COMPLIANT TO THE                                                          9.1     Either party hereto has the right to tenninate this Agreement without cause by
STANDARDS OF A REASONABLY PRUDENT OPERATOR IN ALL MATTERS                                                  providing the other party with sixty (60) days prior written notice. In the event of a material
RELATED TO HEAL TH, SAFETY AND WORK ENVIRONMENT                                                            breach of this Agreement by either party, including the failure of a party to perfonn any
                                                                                                           operation or action proposed hereunder that, the other party may tenninate this Agreement by
                                                                                                           providing the breaching party with thirty (30) days notice. In the event of termination by Owner,
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Owner shall pay Contractor in full all amounts due Contractor through the termination date.                                                                    ARTICLE XI
Upon termination of this Agreement or partial termination as to any Contract Area, Contractor                                                      CONFIDENTIAL INFORMATION
will cooperate with Owner for an orderly transition of operations and will turn over all books and                                                AND OWNERHIP OF DOCUMENTS
records regarding the Contract Area upon request. Owner shall compensate Contractor for post-
termination services requested by Owner and provided in connection with the transition at                              11.1 Arly and all information, in whatever form or fonnat, described or defined by
Contractor's standard hourly rate as set forth on Exhibit C.                                                   each party as confidential and made available to the other party for the performance of the
                                                                                                               Agreement shall be and remain the exclusive property of the disclosing party and shall be treated
         9.2      Upon termination of this Agreement, the Parties shall not be relieved of any                 as confidential.
liabilities arising from or incident to Services rendered. The Parties shall not be liable to either
Party for any cost or loss in connection with such termination, including but not limited to loss of                   11.2 With respect to such confidential information both parties agree not to disclose or
anticipatory profits. Upon termination of this Agreement, Contractor shall immediately remove                  divulge such information to any third party except as may be necessary for the perfonnance of
all of its and its subcontractors' equipment and materials from Owner's premises that are not                  this Agreement. Both parties shall take reasonable measures to protect and preserve the
necessary for the completion of or the provision of any Service then underway and,                             confidential nature of such information and shall be responsible for any breach hereof committed
notwithstanding anything herein to the contrary, sixty (60) days after the receipt of Contractor of            by its employees, it being understood that the confidentiality obligations of both parties are of a
notice of the termination of this Agreement by Owner, Owner shall bear no responsibility for the               continuing nature and shall continue for one (I) year after the termination date of this agreement
equipment or materials of Contractor that remain on Owner's premises but which are not
necessary for the completion or the provision of any Service then underway.                                               l 1.3     The foregoing restrictions shall not apply to any such confidential information
                                                                                                               that is:
        9.3    If either party (a) generally fails to pay, or admits in writing its inability to pay, its
debts as they become due, (b) commences any insolvency proceeding with respect to itself, (c)                                            (a)     Already known by the receiving party at the time of disclosure;
take any action to effectuate or authorize either (a) or (b), (d) becomes the subject of any
involuntary insolvency proceeding, or has any writ, judgment, warrant of attachment, execution                                            (b)    Publicly known or becomes publicly known through no fault of the
or similar process issued or levied against all or a substantial part of its properties, and any such                             receiving party;
proceeding or petition is not dismissed, or such writ judgment, warrant of attachment, execution
or similar process is not released, vacated or fully bonded within sixty (60) days after                                                  (c)    Received from a third party that is free to disclose the information to
commencement, filing or levy (e), admits the material allegation of a petition against it in any                                  the receiving party;
insolvency proceeding, or an order for relief is issued against it in any insolvency proceeding, or
                                                                                                                                          ( d)    Communicated to a third party with the express prior written consent
(f) consents to the appointment of a receiver, trustee, custodian, conservator. liquidator,
                                                                                                                                  of the disclosing party; or
mortgagee in possession (or agent therefore). for itself or a substantial portion of its property or
business, then the other party may, by giving written notice to such party. terminate this
                                                                                                                                          (e)     Lawfully required to be disclosed to a governmental agency or is
Agreement as of the date specified in such notice. A termination under this Section shall be
                                                                                                                                  otherwise required to be disclosed by law, provided that before making such
deemed a termination for cause,
                                                                                                                                  disclosure the receiving Party shall give the disclosing Party reasonable opportunity
                                                                                                                                  to object or insure confidential treatment ofthe information.
                                            ARTICLEX
                                              NOTICES
                                                                                                                       11.4 Both parties acknowledge that the breach of this confidentiality obligation may
        Until changed by appropriate notice in writing, all notices, reports, and other                        cause the other party serious economic hann and that the remedies available to the injured party
correspondence required by or made necessary by the terms of this Agreement shall be deemed                    by law may be inadequate. Therefore, upon any breach hereof by either party, the non-breaching
to have been duly given or served on the date on which personally delivered, or sent by                        party shall be entitled to seek immediate injunctive relief and/or specific performance, in
electronic transmission via email or facsimile transmission. with receipt acknowledged, or three               addition to any other appropriate forms of equitable or legal relief. including but not limited to.
(3) Business Days after the same shall have been sent via certified United States Mail. For                    monetary damages and reasonable attorney's fees.
purposes of this Agreement, the term "Business Days" means a day other than a Saturday,
Sunday or legal holiday for commercial banks under the laws of the State of Texas or the laws of                       11.5 Both Owner and Contractor agree that all tracings, designs, drawings, field notes,
the United States of America                                                                                   requisitions, purchase orders, specifications, computer programs (data files and other software in
                                                                                                               whatever form), and other documents or records developed by such party in connection with this
                                                                                                               Agreement or otherwise shall be the sole property of such party.



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                            ARTICLE XII                                                           OWNER     RELEASES   CONTRACTOR      AND   CONTRACTOR'S  PARENT,
                    AMENDMENTS TO THE AGREEMENT                                                   SUBSIDIARIES, OFFICERS, DIRECTORS, AND EMPLOYEES ("CONTRACTOR
                        AND GOVERNING LAWS                                                        PARTIES") OF AND FROM ANY LIABILITY AS TO ALL CLAL'1S, PENALTIES,
                                                                                                  DEMANDS, AND CAUSES OF ACTION OF EVERY KIND AND CHARACTER
       11-IIS AGREEI\.1ENT SHALL NOT BE VARIED EXCEPT WITII THE WRITTEN
                                                                                                  WITHOUT LIMIT AND WI1HOUT REGARD TO THE CAUSE OR CAUSES
CONSENT OF lliE PARTIES. IN TI-IE EVENT ONE OR MORE OF TiiE PROVISIONS IS
                                                                                                  THEREOF OR 1HE NEGLIGENCE (EXCLUDING GROSS NEGLIGENCE AND
HELD INVALID BY ANY COURT OF C011PETENT JURISDICTION, TTlE SA11E SHALL                            WILLFUL MISCONDUCT) OF M'Y OF THE CONTRACTOR PARTIES, ON
IN" NO MANNER AFFECT 11--lE VALIDITY OF ANY OF TiiE OTIIER PROVISIONS. IBIS
                                                                                                  ACCOUNT OF BODILY INJURY, DEATH AND/OR DAMAGE TO OR LOSS OF
AGREEMENT SHALL BE CONSTRUED IN ACCORDANCE WITH THE LAWS OF TI-IE
                                                                                                  PROPERTY OF ANY KIND. OWNER'S OBLIGATIONS UNDER THIS SECTION
STATE OF TEXAS.
                                                                                                  SHALL BE COVERED BY AVAILABLE LIABILITY INSURANCE, UNDER WHICH
                              ARTICLEXIB                                                          THE INSURER HAS NO RIGHT OF SUBROGATION AGAINST OWNER OR
                                                                                                  CONTRACTOR IT IS AGREED THAT SAID INSURANCE REQUffiEMENTS SHALL
                            INDEMNIFICATION
                                                                                                  AUTOMATICALLY BE AMENDED TO CONFORM TO THE MAXIMUM
      13.1 CONTRACTOR SHALL GENERALLY HAVE THE PROTECTIONS,                                       MONETARY LIMITS PER.l\fiTTED UNDER APPLICABLE LAW.
BENEF1TS, AND INDEMNIF1CATIONS OF OWNER UNDER THE TERMS OF THE                                          13.4   1HIRD PARTY CLAIMS:
A.A.P.L FORM 610 - 1989 MODEL FORl\1 OPERATING AGREEMEI\'T ("' JOA") JUST
AS IF CONTRACTOR WERE THE DESIGNATED OPERATOR lTh!'DER THE JOA,                                   For losses, claims, demands, liabilities, or causes of action brought by or on behalf of
AND TO THE FULLEST EXTENT POSSIBLE, OWNER HEREBY ASSIGNS AND                                      anyone other than those claimants listed in Sections 13.2 and 13.3 above, the Parties'
TRANSFERS ALL OF SUCH PROTECTIONS, BENEFITS AND INDEMNIFICATIONS                                  respective indemnity obligations shall be as set forth in this Section 13.4.
TO CONTRACTOR DURING THE TERM OF THIS AGREEMENT; PROVIDED,
HOWEVER, TilAT SUCH ASSIGNMENT SHALL NOT ENTITLE CONTRACTOR (A)                                              (1) Contractor's Negligence: CONTRACTOR AGREES TO PROTECT,
TO CLAIM OR ASSERT ANY LIENS OR SECURITY INTERESTS THAT WOULD BE                                        DEFEND (INCLUDING ALL COSTS, EXPENSES, AND REASONABLE
GRANTED TO THE OPERATOR UNDER THE JOA, OR (B) TO SETTLE ANY                                             ATTORNEYS' FEES), INDEMNIFY, RELEASE AND HOLD THE OWNER
CLAIMS OR LAWSUITS PERTAINING TO THE CONTRACT AREA.                                                     INDEMNIFIED PARTIES HARMLESS FROM AND AGAINST ANY AND ALL
                                                                                                        LOSSES, CLAIMS, DEMANDS, LIABILITIES, OR CAUSES OF ACTION OF
     13.2   CONTRACTOR'S RELEASE OF OWNER:                                                              EVERY KIND AND CHARACTER, IN FAVOR OF ANY PERSON OR PARTY,
                                                                                                        FOR INJURY TO OR ILLNESS OR DEATH OF Al'I-Y PERSON, OTHER THAN
CONTRACTOR RELEASES OWNER AND OWNER'S PARENT, SUBSIDIARIES,                                             AS PROVIDED IN SECTIONS 13.2 AND 13.3 ABOVE, OR DAMAGE TO OR
OFF1CERS, DIRECTORS, AND EMPLOYEES (...OWNER PARTIES") OF AND FROM                                      LOSS OF PROPERTY OF ANY SUCH PERSON, AND WHICH SUCH INJURY,
ANY LIABILITY AS TO ALL CLAIMS, PENALTIES, DEMANDS, AND CAUSES OF                                       ILLNESS, DEATH OR PROPERTY DAMAGE ARISES OUT OF OR IS
ACTION OF EVERY KIND AND CHARACTER, WITHOUT LIMIT AND WITHOUT                                           INCIDENT TO ANY WORK OR SERVICE TO BE PERFORMED UI\'DER THIS
REGARD TO THE CAUSE OR CAUSES THEREOF OR THE NEGLIGENCE                                                 AGREEMENT TO THE EXTENT, AND IN THE PROPORTION THAT, SUCH
(EXCLUDING GROSS NEGLIGENCE AND WILLFUL .MISCONDUCT) OF ANY OF                                          INJURY, ILLNESS, DEATH OR PROPERTY DAMAGE IS CAUSED OTHER
THE OWNER PARTIES, ON ACCOUNT OF BODILY INJURY, DEATH AND/OR                                            THAN BY THE NEGLIGENCE OF OWNER, ITS EMPLOYEES, AGENTS OR
DAMAGE TO OR LOSS OF PROPERTY OF ANY KIND.          CONTRACTOR'S                                        OTHER CONTRACTORS THAT ARE DIRECTLY RESPONSIBLE TO OWNER
OBLIGATIONS UNDER THIS SECTION SHALL BE PRIMARY AND WITHOUT
REGARD TO AND WITHOUT ANY RIGHT TO CONTRIBUTION FROM ANY                                                     (2)  Owner's Negligence: OWNER AGREES TO PROTECT, DEFEND
INSURANCE MAINTAINED OR l\'IADE AVAILABLE TO OWNER CONTRACTOR                                           (INCLUDING ALL COSTS, EXPENSES, AND ATTORNEYS' FEES),
AND OWNER HEREBY AGREE THAT CONTRACTOR WILL BE COVERED BY                                               INDEMNIFY, RELEASE AND HOLD THE CONTRACTOR INDEMNIFIED
AVAILABLE LIABILITY INSURANCE, UNDER WHICH THE INSURER HAS NO                                           PARTIES HARi\1LESS FROM AND AGAINST ANY A.t'ID ALL LOSSES,
RIGHT OF SUBROGATION AGAINST OWNER OR CONTRACTOR IT IS AGREED                                           CLAIMS, DEMANDS, LIABILITIES, OR CAUSES OF ACTION OF EVERY
THAT SAID INSURANCE REQUIREMENTS SHALL AUTOMATICALLY BE                                                 KIND AND CHARACTER, IN FAVOR OF ANY PERSON OR PARTY, FOR
AMENDED TO CONFORM TO THE MAXIMUM MONETARY LIMITS PER.MITTED                                            INJURY TO OR ILLNESS OR DEATH OF ANY PERSON, OTHER THAN AS
UNDER APPLICABLE LAW.                                                                                   PROVIDED IN SECTIONS 13.2 AND 13.3 ABOVE, OR DAMAGE TO OR LOSS
                                                                                                        OF PROPERTY OF ANY SUCH PERSON, AND WHICH SUCH INJURY,
     133    OWNER'S RELEASE OF CONTRACTOR:                                                              ILLNESS, DEATH OR PROPERTY DA.t\1AGE ARISES OUT OF OR IS



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     INCIDENT TO ANY WORK OR SERVICE TO BE PERFORMED UNDER THIS
     AGREEMENT, TO THE EXTENT, AND ONLY TO THE EXTENT, AND ONLY
     IN THE PROPORTION THAT, SUCH INJURY, ILLNESS, DEATH OR                                            13.8 As a part of the consideration for this Agreement, Contractor hereby agrees that
     PROPERTY DAMAGE IS CAUSED BY THE NEGLIGENCE OF OWNER, ITS                                  the provisions of the foregoing Sections 13.2. through 13.7 inclusive shall extend to and be
     EMPLOYEES, AGENTS OR OTHER CONTRACTORS THAT ARE DIRECTLY                                   enforceable by and for the benefit of any non-operating concurrent working interest Owner, joint
     RESPONSIBLE TO OWNER                                                                       ventures or partners for whom Owner may be perfonning operations or services.
     13.5 IT IS THE INTENT OF THE PARTIES HERETO THAT ALL
OBLIGATIONS, LIABILITIES, AND RISKS ALLOCATED OR ASSUMED BY THE
                                                                                                WSCELLANEOUS
PARTIES UNDER TERMS OF THIS CONTRACT, INCLUDING, WITHOUT
LIMITATION, SECTIONS 13.2 THROUGH ill, BE WITHOUT LIMIT AND
                                                                                                        14.1 This Agreement, drawn in counterpart, shall be binding upon the Parties and their
WITHOUT REGARD TO THE CAUSE OR CAUSES THEREOF, INCLUDING
                                                                                                respective successors, and assigns. Notwithstanding the foregoing, this Agreement and the
PREEXISTING CONDITIONS, STRICT LIABILITY, VIOLATIONS OF ANY STATE,
                                                                                                duties and obligations hereunder are not assignable by Contractor without the written consent of
OR FEDERAL LAW, BREACH OF CONTRACT, BREACH OF WARRANTY,                                         Owner.
TRESPASS, CONVERSION, NUISANCE, TORT, OR THE NEGLIGENCE OF ANY
PARTY OR PARTIES, WHETHER SUCH NEGLIGENCE BE SOLE, JOINT OR                                             14.2 In any dispute arising among the Parties to this Agreement, the prevailing party
CONCURRENT, ACTIVE OR PASSIVE. THE RELEASES AND ASSUMPTIONS OF                                  shall be entitled to collect all costs, including attorneys' fees.
LIABILITY AND ALLOCATIONS OF RISKS EXTENDED BY THE PARTIES
HERETO UNDER SECTIONS 13.2 THROUGH 13.4 SHALL INURE TO THE BENEFIT                                     14.3 The captions of any articles herein are intended for convenient references only
OF THE PARTIES, THEIR PARENT, HOLDING AND SUBSIDIARIES, AFFILIATES,                             and same shall not be, nor be deemed to be, interpretive of the contents of such sections.
AND THEIR RESPECTIVE OFFICERS, DIRECTORS, EMPLOYEES, AGENTS AND
SERVANTS. THE TERMS AND PROVISIONS OF SECTIONS 13.2 THROUGH 13.4                                         14.4 Harris Co1IDty, Texas shall be the exclusive venue and jurisdiction for any
SHALL HAVE NO APPLICATION TO CLAIMS OR CAUSES OF ACTION ASSERTED                                litigation between the Parties.
AGAINST OWNER OR CONTRACTOR BY REASON OF ANY AGREEMENT OF
INDEMNITY WITH A PERSON OR ENTITY NOT A PARTY HERETO.                                                   14.5 If any provision or part of any provision of this Agreement shall be held invalid,
                                                                                                the remainder shall be deemed valid and effective, and the Parties shall endeavor to replace the
     13.6 IT IS EXPRESSLY AGREED THAT OWNER SHALL NOT BE LIABLE                                 invalid tenns with tenns which correspond best to the original economic and general intention of
TO THE CONTRACTOR PARTIES FOR ANY SPECIAL, PUNITIVE, INDIRECT,                                  the Parties, it being the intention of the Parties hereto that each provision hereof is being
INCIDENTAL OR CONSEQUENTIAL DAMAGES RESULTING FROM OR ARISING                                   stipulated separately.
DIRECTLY OR INDIRECTLY, OUT OR OF IN CONNECTION WITH THE SERVICES
OR OPERATIONS HEREUNDER RELATED TO RESERVOIR DAMAGE, LOSS OF                                          14.6 EACH       PARTY    HERETO     KNOWINGLY,    VOLUNTARfL Y,
RESERVES, OR CRATERING OR BLOWOUT OF THE BOREHOLE, INCLUDING,                                   INTENTIONALLY, AND IRREVOCABLY (a) WAIVES, TO THE MAXIMUM EXTENT
WITHOUT LIMITATION, LOSS OF USE, LOSS OF DATA, LOSS OF ASSETS, LOSS                             NOT PROHIB1TED BY LAW, ANY RIGHT IT MAY HAVE TO A 1RIAL BY JURY IN
OF PROFTI, LOSS OF BUSINESS, OR BUSINESS INTERRUPTION UNLESS CAUSED                             RESPECT OF ANY LITIGATION BASED ON TI-llS AGREE11ENT, OR DIRECTI.. Y OR
BY THE SOLE NEGLIGENCE (ACTIVE OR PASSIVE) OF OWNER OR ANY OF THE                               INDIRECTLY AT ANY TTh-1E ARISING OUT OF, UNDER OR IN CONNECTION WITH
OWNER PARTIES.                                                                                  TIIIS AGREEt-.1ENT OR ANY TRANSACTION CONTEMPLAlED OR ASSOCIATED
                                                                                                THEREWITH, BEFORE OR AFTER TERMINATION; (b) WAIVES, TO THE MAXIMUM
     13.7 IT IS EXPRESSLY AGREED THAT COl'iJRACTOR SHALL NOT BE                                 EXTENT NOT PROHIBITED BY LAW, ANY RIGHT IT MAY HAVE TO CLAIM OR
LIABLE TO THE OWNER PARTIES FOR At-i'Y SPECIAL, PUNITIVE, INDIRECT,                             RECOVER IN ANY SUCH LITIGATION ANY "SPECIAL DAMAGES," AS DEFINED
INCIDENTAL OR CONSEQUENTIAL DAMAGES RESULTING FROM OR ARISING                                   BELOW; (c) CERTIFIES THAT NEITIIER IT NOR ANY OF ITS REPRESENTATIVES,
DIRECTLY OR INDIRECTLY, OUT OR OF IN CONNECTION WITH THE SERVICES                               AGENTS OR COUNSELORS HAS REPRESENTED, EXPRESSLY OR OTIIERWISE, OR
OR OPERATIONS HEREUNDER RELATED TO RESERVOIR DAMAGE, LOSS OF                                    IMPLIED THAT TIIE CERTIFYING PARTY WOULD NOT, 1N THE EVENT OF
RESERVES, OR CRATERING OR BLOWOUT OF THE BOREHOLE, INCLUDING,                                   LITIGATION, SEEK TO ENFORCE THE FOREGOING WANERS; AND (d)
WITHOUT LThflTATION, LOSS OF USE, LOSS OF DATA, LOSS OF ASSETS, LOSS                            ACKNOWLEDGES THAT IT HAS BEEN INDUCED TO ENTER INTO IBIS AGREE:t\-1:ENT
OF PROFIT, LOSS OF BUSINESS, OR BUSINESS INTERRUPTION UNLESS CAUSED                             AND TIIE 1RANSACTIONS CONTEMPLA1ED TIIEREBY, BY, AMONG OTHER
BY THE SOLE NEGLIGENCE (ACTIVE OR PASSIVE) OF CONTRACTOR OR ANY                                 TIUNGS, TIIE MUTUAL WAIVERS AND CERTIFICATIONS 1N THIS SECTION. AS
OF THE CONTRACTOR PARTIES.                                                                      USED IN TIIIS SECTION, "SPECIAL DAMAGES'' INCLUDES ALL SPECIAL,
                                                                                                CONSEQUENTIAL,      INDIRECT,  EXEMPLARY,    OR  PUNITIVE   DAMAGES

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(REGARDLESS OF HOW NAMED), BUT DOES NOT INCLUDE ANY PAYMENTS OR                                                   IN WITNESS WHEREOF, the Parties have executed this Agreement effective as of the
FUNDS WHICH ANY PARTY HAS EXPRESSLY PROl'vllSED TO PAY OR DELIVER TO                                       day and year first above written.
ANY OTHER PARTY.
                                                                                                                                                     TRA&N :PERA.TING COMPANY
        14.7 This instrument embodies the whole agreement of the Parties. There are no
promises, terms, conditions, or obligations other than those contained herein. Should Contractor
provide or render any Service, then in the event of a conflict between the tenns of performance
                                                                                                                                                    By    ! - W- i,ttJf
                                                                                                                                                    Printed Name: Patrick W Mecdtl
for such Services or Service, whether made orally or in writing, and the tenns of this Agreement,                                                   Title:    President
the tenns of this Agreement shall prevail except for any activity-specific instructions or
directions. In the event of a conflict between the provisions hereof and the provisions of any
printed or other pre-prepared form of work or service order, job, or delivery ticket, or other
similar form, submitted to Contractor by Owner in connection with any Services performed
hereunder, the provisions of this Agreement shall prevail and be controlling.

                  [SIGNATURES APPEAR ON THE FOLLOWING PAGE}




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  EXHIBIT 6 TO SETTLEMENT AGREEMENT

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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM, INC.,                                     §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                     §
PAYSON OPERATING, LLC,                                      §              Case No. 16-41044
                                                            §
         DEBTORS.                                           §              Chapter 11


    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 ( the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC (“Debtors”) in jointly

administered Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for

Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well

2014, L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that notice of the Motion and


1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

        ORDERED, ADJUDGED, AND DECREED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtors, their

bankruptcy estates and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

        3.       Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and all parties in interest.

        4.       Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

executed by 3 Well LP and the Subject Wells Assignment executed by 2014 LP, shall be property

of the Maricopa Resources, LLC bankruptcy estate.

        5.       The 3 Well LP Subject Claims Assignment and Participation Agreement attached


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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding

on the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       The 2014 LP Subject Claims Assignment and Participation Agreement attached as

an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        7.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        8.       A general unsecured claim of 3 Well LP against Maricopa Resources, LLC is

hereby allowed in an amount equal to 27.7891% of the Subject Net Well Proceeds, as that term is

defined in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        9.       A general unsecured claim of 2014 LP against Maricopa Resources, LLC is hereby

allowed in an amount equal to 72.21084% of the Subject Net Well Proceeds, as that term is defined

in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        10.      The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are


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released.

        11.      Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the following: (i) the 3 Well LP Avoidance Action

Claims Net Recovery and the 3 Well LP Partnership Related Claims Net Recovery (as those terms

are defined in the 3 Well LP Subject Claims Assignment and Participation Agreement), and (ii)

the 2014 LP Avoidance Action Claims Net Recovery and the 2014 LP Partnership Related Claims

Net Recovery (as those terms are defined in the 2014 LP Subject Claims Assignment and

Participation Agreement).

        12.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the (i) 3 Well LP Avoidance Action Claims, (ii) 3 Well LP Partnership Related Claims, (iii) 2014

LP Avoidance Action Claims, and (iv) 2014 LP Partnership Related Claims, without further order

of this Court.

        13.      Payson Petroleum is hereby appointed (i) the representative of the 3 Well LP

bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the 3

Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement, and (ii) the representative of the 2014 LP bankruptcy estate for purposes

of prosecuting the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims

pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement.

        14.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and


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Participation Agreement or this Order.

        15.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum has the exclusive authority to file suit, prosecute and settle the

3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the Payson/3

Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any litigation

or take any action with respect to the 3 Well LP Partnership Related Claims, the 3 Well LP

Avoidance Action Claims or the Payson/3 Well LP Partnership Related Claims that in its judgment

would not be cost justified.

        16.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of either parties entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

        17.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or take any action with respect to the 2014 LP Partnership Related Claims, the 2014 LP

Avoidance Action Claims or the Payson/2014 LP Partnership Related Claims that in its judgment

would not be cost justified.

        18.      The Debtors and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance


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with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        19.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                       HONORABLE BRENDA T. RHOADES,
                                                       UNITED STATES BANKRUPTCY JUDGE


SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC



AGREED TO IN FORM AND SUBSTANCE BY:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
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AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC




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PAYSON PETROLEUM 3 WELL 2014, L.P.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, LP,                                §              Case No. 17-40179
                                                            §              Chapter 7
         DEBTOR.                                            §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. (“Debtor”) in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014,

L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 3 Well LP Subject Claims Assignment and Participation Agreement attached


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on

the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 3 Well LP is hereby

allowed in the amount of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred

Eighty-Eight and 50/100 U.S. Dollars ($8,557,888.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 3 Well LP Avoidance Action Claims Net Recovery

and the 3 Well LP Partnership Related Claims Net Recovery as those terms are defined in the 3

Well LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 3 Well LP Avoidance Action Claims and the 3 Well LP Partnership Related Claims without

further order of this Court. Payson Petroleum is hereby appointed the representative of the 3 Well

LP bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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3 Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement.

        11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and

Participation Agreement or this Order.

        12.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the

Payson/3 Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 3 Well LP Partnership Related Claims or the 3

Well LP Avoidance Action Claims that in its judgment would not be cost justified.

        13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                       HONORABLE BRENDA T. RHOADES,
                                                       UNITED STATES BANKRUPTCY JUDGE


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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SUBMITTED BY:

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FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL 2014, LP,                           §              Case No. 17-40180
                                                            §              Chapter 7
         DEBTOR.                                            §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. (“Debtor”)

in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the Settlement

Agreement; and the Court having found that it has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of the

United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 2014 LP Subject Claims Assignment and Participation Agreement attached as


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an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 2014 LP is hereby allowed

in the amount of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100 U.S.

Dollars ($2,671,900.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 2014 LP Avoidance Action Claims Net Recovery

and the 2014 LP Partnership Related Claims Net Recovery as those terms are defined in the 2014

LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims without further

order of this Court. Payson Petroleum is hereby appointed the representative of the 2014 LP

bankruptcy estate for purposes of prosecuting the 2014 LP Avoidance Action Claims and the 2014


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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LP Partnership Related Claims pursuant to the 2014 LP Subject Claims Assignment and

Participation Agreement.

        11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of any parties’ entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

        12.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 2014 LP Partnership Related Claims or the 2014

LP Avoidance Action Claims that in its judgment would not be cost justified.

        13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                       HONORABLE BRENDA T. RHOADES,
                                                       UNITED STATES BANKRUPTCY JUDGE


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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SUBMITTED BY:

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PAYSON PETROLEUM 3 WELL 2014, L.P.




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  EXHIBIT 7 TO SETTLEMENT AGREEMENT

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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                    §
                                                          §
PAYSON PETROLEUM, INC.,                                   §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC,                                  §
PAYSON OPERATING, LLC,                                    §              Case No. 16-41044
                                                          §
       DEBTORS.                                           §              Chapter 11


          JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT
                   PURSUANT TO BANKRUPTCY RULE 9019


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
       BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
       HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
       RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. in

Bankruptcy Case No. 17-40180 (the “LP Trustee”) to file their Joint Motion to Approve

Compromise and Settlement Pursuant to Bankruptcy Rule 9019 (the “Joint Motion to



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Compromise”), and in support thereof, respectfully show unto the Court the following:

                                                  I.
                                          PROCEDURAL STATUS

        1.       Payson Debtor Bankruptcy Filings. On June 10, 2016, Payson Petroleum, Inc.

(“Payson Petroleum”), Payson Operating, LLC (“Payson Operating”), and Maricopa Resources,

LLC (“Maricopa”) filed voluntary petitions under Chapter 7 of the United States Bankruptcy Code

(the “Bankruptcy Code”) in this Bankruptcy Court. 1 See Docket No. 1 in Bankruptcy Case Nos.

16-41043, 16-40144, and 16-40145. On July 12, 2016, the Bankruptcy Court entered orders

converting the Payson Debtors’ bankruptcy cases to cases under Chapter 11 of the Bankruptcy

Code. See Docket No. 39 in Case No. 16-41043, Docket No. 33 in Case No. 16-40144, and Docket

No. 41 in Case No. 16-40145. On July 18, 2016, the Bankruptcy Court entered orders approving

the United States Trustee’s applications to appoint the Payson Trustee as the Chapter 11 Trustee

in the Payson Debtors’ bankruptcy cases. See Docket No. 55 in Case No. 16-41043, Docket No.

50 in Case No. 16-40144, and Docket No. 57 in Case No. 16-41045. On August 11, 2016, the

Bankruptcy Court ordered the joint administration of the Payson Debtors’ bankruptcy cases under

Case No. 16-41044. See Docket No. 75 in Case No. 16-41043, Docket No. 73 in Case No. 16-

41044, and Docket No. 81 in Case No. 16-41045.

        2.       Adversary Proceeding.            On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 in

Adversary Proceeding No. 16-04106 (the “Adversary Proceeding”) against Payson Petroleum 3

Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”).

        3.       LP Debtor Bankruptcy Filings. On January 31, 2017, 3 Well LP and 2014 LP

(collectively, the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.


1
    Collectively, Payson Petroleum, Payson Operating, and Maricopa are the “Payson Debtors.”


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See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. LP Trustee was

appointed as Chapter 7 Trustee for the LP Debtors.

        4.       Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in Adversary

Proceeding. On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion

to Lift Stay in LP Debtor’s bankruptcy cases which, inter alia, provides that the parties are “granted

relief from the automatic stay … to continue with and fully litigate claims that are or could be

pled” in the Adversary Proceeding. Docket No. 26 in Case No. 17-40180 and Docket No. 29 in

Case No. 17-40179.

        5.       Amended Complaint. On July 13, 2017, Payson Trustee filed his First Amended

Complaint in the Adversary Proceeding. See Docket No. 25 in Adversary Proceeding.

        6.       Jurisdiction & Venue. This Court has jurisdiction over the subject matter of this

Joint Motion to Compromise pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 II.
                                        FACTUAL BACKGROUND

        7.       Nature of Payson Debtors’ Businesses.                 Matthew C. Griffin (“Griffin”) formed

Payson Petroleum in 2008 to, inter alia, (i) promote the sale of interests in limited partnerships

and (ii) operate oil and gas wells for such limited partnerships. Griffin formed Payson Operating

in 2010 to act as a contract operator for Payson Petroleum. Griffin formed Maricopa in 2012 to,

inter alia, engage in the acquisition and sale of Grayson County, Texas oil and gas leases.

        8.       Nature of 3 Well LP’s and 2014 LP’s Businesses. Payson Petroleum Grayson, LLC

formed 3 Well LP in 2013 and 2014 LP in 2014 to, inter alia, drill, complete, and own interests in

the Subject Wells.



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       9.       Turnkey Agreements. On or about October 13, 2013, Payson Petroleum and 3 Well

LP entered into a Subscription Turn Key Agreement under which 3 Well LP agreed to pay Payson

Petroleum certain amounts for the drilling and completion of the Subject Wells (the “3 Well LP

Turnkey Agreement”). On or about January 12, 2014, Payson Petroleum and 2014 LP entered into

a Subscription Turn Key Agreement under which 2014 LP agreed to pay Payson Petroleum certain

amounts for the drilling and completion of the Subject Wells (the “2014 LP Turnkey Agreement”

and collectively with the 3 Well LP Turnkey Agreement the “Turnkey Agreements”). In the

Adversary Proceeding, Payson Petroleum asserts claims for breach of the Turnkey Agreements

against 3 Well LP in the amount of $17,115,777 and 2014 LP in the amount of $5,343,803 (the

“Breach of Turnkey Agreement Claims”).

       10.      Working Interest Assignments. On or about Marcy 28, 2016, Maricopa assigned

certain interests in the William #1H (API # 181-31557), Crowe #2 (API #181-31543), and Elaine

#1 (API #181-31547) (collectively the “Subject Wells”) to 3 Well LP and 2014 LP via three (3)

certain Wellbore Assignments, Conveyances, Bills of Sale, and Releases, which were recorded in

the real property records of Grayson County, Texas at Instrument Numbers: 2016-00006064,

2016-00006065, and 2016-00006066. The working interests assigned are set forth below:

                                                                               Working
                                                                                Interest
                        Subject Well                    Assignee               Assigned
                      Williams #1H Well                  2014 LP              72.210840%
                      Williams #1H Well                 3 Well LP             27.789160%
                       Crowe #2 Well                     2014 LP              72.210840%
                       Crowe #2 Well                    3 Well LP             27.789160%
                       Elaine #1 Well                    2014 LP              72.210840%
                       Elaine #1 Well                   3 Well LP             27.789160%

(collectively the “Working Interest Assignments”). In the Adversary Proceeding, Maricopa asserts

claims under 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce



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Code against 3 Well LP and 2014 LP for avoidance of the Working Interest Assignments and

recovery of the interests transferred or their value. Post-bankruptcy petition production revenue

attributable to the Working Interest Assignments has been held by Traton Operating Company

(“Traton”), the Payson Trustee’s approved contract operating company.

        11.      Additional Avoidable Transfers. In addition to the Working Interest Assignments,

Payson Petroleum transferred $1,274,310 to 3 Well LP and $2,862,000 to 2014 LP between

January and February 2014 in exchange for interests in those limited partnerships that Payson

Petroleum knew or should have known were worth far less than the amounts transferred (the

“Investment Transfers”). In the Adversary Proceeding, the Payson Trustee asserts claims under

11 U.S.C. § 544 and 550 and Chapter 24 of the Texas Business and Commerce Code to avoid and

recover the Investment Transfers from 3 Well LP and 2014 LP (the “Investment Transfer Claims”).

                                                 III.
                                        PROPOSED SETTLEMENT

        12.      The Payson Trustee, Payson Debtors, LP Trustee, and LP Debtors have reached a

settlement of issues asserted in the Adversary Proceeding and other claims that have our could

have been asserted between the parties. Attached hereto as Exhibit A is a copy of the Settlement

Agreement. 2

        13.      Agreed Final Judgment. As explained in the Settlement Agreement, the parties will

resolve the Adversary Proceeding by filing a Joint Motion for Entry of Agreed Final Judgment and

will use their best efforts to have the Agreed Final Judgment entered by the Bankruptcy Court.

The Agreed Final Judgment will, inter alia, provide that the Wellbore Interest Assignments are


2
    To the extent of any inconsistency between the Settlement Agreement and the summary of that agreement set
    forth in this Joint Motion to Compromise, the terms of the Settlement Agreement control. This outline is not
    intended to repeat all terms of the Settlement Agreement and persons reading this Joint Motion to Compromise
    are encouraged to read the Settlement Agreement. Capitalized Terms used but not otherwise defined herein have
    the meaning ascribed to them in the Joint Motion to Compromise or the Settlement Agreement as applicable.


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avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B) and grant judgment in favor of Payson

Petroleum on its Breach of Turnkey Agreement Claims against 3 Well LP in the amount of

$8,557,888.50 and 2014 LP in the amount of $2,671,900.50. See Exhibit 3 to Settlement

Agreement.

        14.      Conveyance of Interests in Subject Wells. 3 Well LP and 2014 LP will reassign

the avoided interests in the Subject Wells to Maricopa, which will continue to be operated by

Traton until Maricopa sells those interests under 11 U.S.C. § 363. As explained in further detail

in the Settlement Agreement, the net proceeds obtained from the operation and sale of the Subject

Wells (defined in the Settlement Agreement as the Subject Wells Net Proceeds) will be distributed

as follows: (i) 55% to Maricopa, (ii) 32.4945% to 2014 LP, and (iii) 12.5055% to 3 Well LP.

Maricopa will retain a $50,000 Operating Reserve to satisfy costs related to operation of the

Subject Wells.

        15.      Allowed Claims. The Settlement Agreement also provides that the parties will

agree to the following allowed unsecured claims:

        •        Payson Petroleum shall hold (i) an allowed unsecured claim in the 3 Well LP
                 bankruptcy case in the amount of $8,557,888.50 and (ii) an allowed unsecured
                 claim in the 2014 LP bankruptcy case in the amount of $2,671,900.50;

        •        3 Well LP shall hold an allowed general unsecured claim in the Maricopa
                 bankruptcy case in an amount equal to 27.78916% of the Subject Net Well Proceeds
                 actually delivered to Maricopa pursuant to the Settlement Agreement; and

        •        2014 LP shall hold an allowed general unsecured claim in the Maricopa bankruptcy
                 case in an amount equal to 72.21084% of the Subject Net Well Proceeds actually
                 delivered to Maricopa pursuant to the Settlement Agreement.

        16.      Prosecution of and Participation in Avoidance Action Claims. The Settlement

Agreement further provides that the parties will enter into (i) the 3 Well LP Subject Claims

Assignment and Participation Agreement and (ii) the 2014 LP Subject Claims Assignment and



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Participation Agreement (collectively the “Claims Assignment and Participation Agreements”).

Pursuant to the Claims Assignment and Participation Agreements:

        •        3 Well LP will assign a fifty percent (50%) interest in net recoveries from litigation
                 of 3 Well LP Avoidance Action Claims and 3 Well LP Partnership Related Claims,
                 as defined in the 3 Well LP Subject Claims Assignment and Participation
                 Agreement, with 3 Well LP retaining the remaining fifty percent (50%) interest;
                 and

        •        2014 LP will assign a fifty percent (50%) interest in net recoveries from litigation
                 of 2014 LP Avoidance Action Claims and 2014 Partnership Related Claims, as
                 defined in the 2014 LP Subject Claims Assignment and Participation Agreement,
                 with 2014 LP retaining the remaining fifty percent (50%) interest.

Payson Petroleum shall be granted standing to prosecute 3 Well LP and 2014 LP Avoidance Action

Claims and Partnership Related Claims in the 3 Well LP and 2014 LP bankruptcy cases, and 3

Well LP and 2014 LP shall enter into engagement agreements with special litigation counsel for

the Payson Trustee to prosecute such claims for the benefit of the Payson Petroleum, 3 Well LP,

and 2014 LP bankruptcy estates.

        17.      Releases. Except for claims expressly reserved in the Settlement Agreement, all

claims or causes action between the parties will be released.

                                                      IV.
                                                  RATIONALE

        18.      Benefit to Maricopa Estate. The Maricopa bankruptcy estate receives the following

benefits from the settlement:

        •        the interests assigned to 3 Well LP and 2014 LP via the Working Interest
                 Assignments will be reassigned to Maricopa, and Maricopa will 55% of the Subject
                 Wells Net Proceeds, plus a $50,000 Operating Reserve to satisfy costs associated
                 with operation of the Subject Wells; and

        •        except for claims expressly preserved under the Settlement Agreement, Maricopa’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against Maricopa by 3 Well LP and/or 2014 LP.


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        19.      Benefit to Payson Petroleum Estate. The Payson Petroleum bankruptcy estate

receives the following benefits from the settlement:

        •        an allowed general unsecured claim in the 3 Well LP bankruptcy case in the amount
                 of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred Eighty-Eight
                 and 50/100 U.S. Dollars ($8,557,888.50) on account of Payson Petroleum’s Breach
                 of Turnkey Agreement claim against 3 Well LP;

        •        an allowed general unsecured claim in the 2014 LP bankruptcy case in the amount
                 of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100
                 U.S. Dollars ($2,671,900.50) on account of Payson Petroleum’s Breach of Turnkey
                 Agreement claim against 2014 LP;

        •        Payson Petroleum is (i) granted standing and authority to enforce and prosecute 3
                 Well LP Avoidance Action Claims, 2014 LP Avoidance Action Claims, 3 Well LP
                 Partnership Related Claims, and 2014 LP Partnership Related Claims (the “Subject
                 Claims”) and (ii) will hold a fifty percent (50%) participation interest in net
                 recoveries from the Subject Claims as further described in the Settlement
                 Agreement, 3 Well LP Subject Claims Assignment and Participation Agreement
                 and 2014 LP Subject Claims Assignment and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, Payson
                 Petroleum’s bankruptcy estate is released from claims which have been or could
                 have been asserted against Payson Petroleum by 3 Well LP and/or 2014 LP.

        20.      Benefit to Payson Operating Estate. Except for claims expressly preserved under

the Settlement Agreement, Payson Operating’s bankruptcy estate is released from claims which

have been or could have been asserted against Payson Operating by 3 Well LP and/or 2014 LP.

        21.      Benefit to 3 Well LP Estate. The 3 Well LP bankruptcy estate receives the

following benefits from the settlement:

        •        3 Well LP will obtain 12.5055% of the Subject Wells Net Proceeds;

        •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                 equal to 27.78916% of the Subject Wells Net Proceeds actually delivered to
                 Maricopa pursuant to the Settlement Agreement;


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        •        3 Well LP will retain a fifty percent (50%) interest in all 3 Well LP Avoidance
                 Action Claims Net Recovery and 3 Well LP Partnership Related Claims Net
                 Recovery as further described in the Settlement Agreement and 3 Well LP Subject
                 Claims Assignment and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, 3 Well LP’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against 3 Well LP by Payson Petroleum, Payson Operating, and/or
                 Maricopa.

        22.      Benefit to 2014 LP Estate. The 2014 LP bankruptcy estate receives the following

benefits from the settlement:

        •        2014 LP will obtain 32.4945% of the Subject Wells Net Proceeds;

        •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                 equal to 72.21084% of the Subject Wells Net Proceeds actually delivered to
                 Maricopa pursuant to the Settlement Agreement;

        •        2014 LP will retain a fifty percent (50%) interest in all 2014 LP Avoidance Action
                 Claims Net Recovery and 2014 LP Partnership Related Claims Net Recovery as
                 further described in the Settlement Agreement and 3 Well LP Subject Claims
                 Assignment and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, 2014 LP’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against 2014 LP by Payson Petroleum, Payson Operating, and/or
                 Maricopa.

                                                    V.
                                            RELIEF REQUESTED

        23.      The Payson Trustee and LP Trustee respectfully request that the Court approve the

proposed Settlement Agreement attached hereto as Exhibit A and grant them such other and further

relief to which they may be entitled.




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                                                    VI.
                                             BASIS FOR RELIEF

        24.      Bankruptcy Courts are “empowered to approve a compromise settlement of a

debtor’s claim under Bankruptcy Rule 9019(a).” Official Comm. of Unsecured Creditors v. Cajun

Electric Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir.

1997). “Approval should only be given if the settlement is fair and equitable and in the best interest

of the estate.” Id. (internal quotes & cite omitted). “In deciding whether a settlement of litigation

is fair and equitable, a judge in bankruptcy must make a well-informed decision, ‘comparing the

terms of the compromise with the likely rewards of litigation.’” Id. at 356 (quoting Rivercity v.

Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)). Courts consider the

following factors in determining whether a settlement is fair and equitable “(1) [t]he probability of

success in the litigation, with due consideration for the uncertainty in fact and law, (2) [t]he

complexity and likely duration of the litigation and any attendant expense, inconvenience and

delay, and (3) all other factors bearing on the wisdom of the compromise.” Id.

        25.      The factors support granting the Joint Motion to Compromise. First, the disputes

are hotly contested and would require lengthy and likely expensive litigation to resolve, and the

Settlement Agreement was reached after good-faith, contentious, and arms-length negotiations.

The Payson Trustee and LP Trustee desire to avoid lengthy litigation between the respective

bankruptcy estates so they can focus on enhancing the value of those estates for the benefit of

creditors. Litigation would be expensive and involve, inter alia, complex factual issues regarding

the value of the property transferred and solvency of the various bankruptcy estates. The

Settlement Agreement, on the other hand, allows the Payson Trustee to distribute hydrocarbon

proceeds currently held in suspense and initiate a sales process to monetize the Subject Wells for

the benefit of creditors of Maricopa, 3 Well LP, and 2014 LP. Additionally, the Settlement



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Agreement (i) reduces 3 Well LP and 2014 LP’s liability for failing to pay Payson Petroleum

amounts owed under the Turnkey Agreements by fifty percent (50%), (ii) provides an arrangement

for coordinated prosecution of avoidance actions and sharing in the proceeds of the same, and (iii)

eliminates the potential that the LP Trustee and Payson Trustee would pursue substantially similar

claims against partners of 3 Well LP and 2014 LP in different proceedings and forums. In sum,

the Payson Trustee and LP Trustee believe the Settlement Agreement is in the best interests of

their respective bankruptcy estates and should be approved. See Affidavit of Jason R. Searcy,

attached as Exhibit B and Affidavit of Christopher J. Moser, attached as Exhibit C.

        26.      A proposed agreed order is attached hereto as Exhibit D.

                                                     PRAYER

        WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 11 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estates of Payson Petroleum

3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. respectfully request that the Court approve

the Agreement and grant them such other and further relief to which they may be justly entitled.




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Dated: ___, 2017                                      Respectfully submitted,

                                                      By:      /s/
                                                             Phil Snow
                                                             State Bar No. 18812600
                                                             Blake Hamm
                                                             State Bar No. 24069869
                                                             SNOW SPENCE GREEN LLP
                                                             2929 Allen Parkway, Suite 2800
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                                                             (713) 335-4848 (Fax)

                                                             COUNSEL FOR JASON R. SEARCY,
                                                             CHAPTER 11 TRUSTEE FOR PAYSON
                                                             PETROLEUM, INC., PAYSON
                                                             OPERATING, LLC, AND MARICOPA
                                                             RESOURCES, LLC


                                                       By:     /s/
                                                             Keith W. Harvey
                                                             State Bar No. 09180100
                                                             THE HARVEY LAW FIRM, P.C.
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                                                             COUNSEL FOR CHRISTOPHER J.
                                                             MOSER, CHAPTER 7 TRUSTEE FOR
                                                             PAYSON PETROLEUM 3 WELL, L.P.
                                                             AND PAYSON PETROLEUM 3 WELL
                                                             2014, L.P.




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                                           CERTIFICATE OF SERVICE

         The undersigned certifies that on __, 2017, a true and correct copy of this document was
served (i) via the Court’s electronic case filing system upon the parties listed below or by email
listed below, (ii) via the Court’s electronic case filing system for Eastern District of Texas upon
all parties requesting electronic notice of all filings and (iii) via regular First Class Mail, properly
addressed and postage prepaid, upon all parties listed on the Master Service List attached hereto.


 Debtors Payson Petroleum, Inc., Payson Operating,                             Debtors Payson Petroleum 3 Well ,
 LLC, and Maricopa Resources, LLC                                              LP and Payson Petroleum 3 Well
 Mark A. Weisbart                                                              2014, LP
 12770 Coil Road, Suite 541                                                    1757 Harpsichord Way
 Dallas, TX 75251                                                              Henderson, NV 89012
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 12801 N. Central Expressway, Suite 1558                                       Dallas, TX 75251
 Dallas, Texas 75243                                                           danw@LFDSlaw.com
 dbc@dchern.com


 US Trustee
 Office of the US Trustee
 110 N. College Ave, #300
 Tyler, TX 75702
 USTPRegion06.TY.ECF@USDOJ.GOV


                                                            /s/
                                                            Blake Hamm




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MOTION TO COMPROMISE                                                                                                       Page 13
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       EXHIBIT A TO SETTLEMENT MOTION

                    SETTLEMENT AGREEMENT

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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                             B
                                      SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
        DEBTORS.                                           §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
        DEBTOR.                                            §

                         AFFIDAVIT OF JASON R. SEARCY
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF GREGG                              §

       BEFORE ME, the undersigned authority, on this day personally appeared Jason R. Searcy,
known to be the person whose name is subscribed hereto, who, having been duly sworn, did depose
and on oath state:
        My name is Jason R. Searcy. I am an attorney duly licensed to practice law in the State of
Texas. I am admitted to practice in all courts in the State of Texas, the United States District Court
for the Eastern District of Texas, the United States Fifth Circuit Court of Appeals and the United
States Supreme Court. I am the Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa
Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-
41044 (“Payson Trustee”). As set forth in the Joint Motion to Approve Compromise and
Settlement Pursuant to Bankruptcy Rule 9019 and based on my best belief and information, the


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proposed settlement obtains for the estate the most effective recovery of greater value than that
which could be obtained by other liquidation measures.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Jason R. Searcy
                                                            Payson Trustee

         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                  C
                                      SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
        DEBTORS.                                           §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
        DEBTOR.                                            §

                     AFFIDAVIT OF CHRISTOPHER J. MOSER
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF DALLAS                             §

       BEFORE ME, the undersigned authority, on this day personally appeared Christopher J.
Moser, known to be the person whose name is subscribed hereto, who, having been duly sworn,
did depose and on oath state:
        My name is Christopher J. Moser. I am an attorney duly licensed to practice law in the
State of Texas. I am admitted to practice in all courts in the State of Texas, the United States
District Court for the Eastern District of Texas and the United States Fifth Circuit of Appeals. I
am the Chapter 7 Trustee for Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179
and Payson Petroleum 3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (“LP Trustee”). As
set forth in the Joint Motion to Approve Compromise and Settlement Pursuant to Bankruptcy Rule
9019 (“Motion”) and based on my best belief and information, the proposed settlement obtains for


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the estate the most effective recovery of greater value than that which could be obtained by other
liquidation measures.

        It is my professional opinion that the settlement agreement reflected in the Motion is in the
best interest of the estate and comports with the settlement standards of Protective Comm. For
Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. Reh’g denied, 391
U.S. 909 (1968) and of River City vs. Herpel, (In re Jackson Brewing Co.), 624 F.2d 599, 602-603
(5th Cir. 1980). Accordingly, the settlement should be approved.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Christopher J. Moser
                                                            LP Trustee


         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM, INC.,                                     §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                     §
PAYSON OPERATING, LLC,                                      §              Case No. 16-41044
                                                            §
         DEBTORS.                                           §              Chapter 11


    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 ( the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC (“Debtors”) in jointly

administered Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for

Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well

2014, L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that notice of the Motion and


1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

        ORDERED, ADJUDGED, AND DECREED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtors, their

bankruptcy estates and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

        3.       Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and all parties in interest.

        4.       Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

executed by 3 Well LP and the Subject Wells Assignment executed by 2014 LP, shall be property

of the Maricopa Resources, LLC bankruptcy estate.

        5.       The 3 Well LP Subject Claims Assignment and Participation Agreement attached


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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding

on the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       The 2014 LP Subject Claims Assignment and Participation Agreement attached as

an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        7.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        8.       A general unsecured claim of 3 Well LP against Maricopa Resources, LLC is

hereby allowed in an amount equal to 27.7891% of the Subject Net Well Proceeds, as that term is

defined in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        9.       A general unsecured claim of 2014 LP against Maricopa Resources, LLC is hereby

allowed in an amount equal to 72.21084% of the Subject Net Well Proceeds, as that term is defined

in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        10.      The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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released.

        11.      Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the following: (i) the 3 Well LP Avoidance Action

Claims Net Recovery and the 3 Well LP Partnership Related Claims Net Recovery (as those terms

are defined in the 3 Well LP Subject Claims Assignment and Participation Agreement), and (ii)

the 2014 LP Avoidance Action Claims Net Recovery and the 2014 LP Partnership Related Claims

Net Recovery (as those terms are defined in the 2014 LP Subject Claims Assignment and

Participation Agreement).

        12.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the (i) 3 Well LP Avoidance Action Claims, (ii) 3 Well LP Partnership Related Claims, (iii) 2014

LP Avoidance Action Claims, and (iv) 2014 LP Partnership Related Claims, without further order

of this Court.

        13.      Payson Petroleum is hereby appointed (i) the representative of the 3 Well LP

bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the 3

Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement, and (ii) the representative of the 2014 LP bankruptcy estate for purposes

of prosecuting the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims

pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement.

        14.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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Participation Agreement or this Order.

        15.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum has the exclusive authority to file suit, prosecute and settle the

3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the Payson/3

Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any litigation

or take any action with respect to the 3 Well LP Partnership Related Claims, the 3 Well LP

Avoidance Action Claims or the Payson/3 Well LP Partnership Related Claims that in its judgment

would not be cost justified.

        16.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of either parties entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

        17.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or take any action with respect to the 2014 LP Partnership Related Claims, the 2014 LP

Avoidance Action Claims or the Payson/2014 LP Partnership Related Claims that in its judgment

would not be cost justified.

        18.      The Debtors and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        19.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC


AGREED TO IN FORM AND SUBSTANCE BY:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC


/s/
Keith W. Harvey
State Bar No. 09180100
THE HARVEY LAW FIRM, P.C.
6510 Abrams Road
Suite 280
Dallas, Texas 75231
(972) 243-3960 Phone
(972)-241-3970 Facsimile

COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE
FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                    §
                                                          §
PAYSON PETROLEUM 3 WELL, L.P.,                            §              Case No. 17-40179
                                                          §
       DEBTOR.                                            §              Chapter 7


  JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT PURSUANT
                     TO BANKRUPTCY RULE 9019


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
       BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
       HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
       RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 (the “LP Trustee”) to file their Joint Motion to

Approve Compromise and Settlement Pursuant to Bankruptcy Rule 9019 (the “Joint Motion to

Compromise”), and in support thereof, respectfully show unto the Court the following:




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                                                  I.
                                          PROCEDURAL STATUS

        1.       Payson Debtor Bankruptcy Filings. On June 10, 2016, Payson Petroleum, Inc.

(“Payson Petroleum”), Payson Operating, LLC (“Payson Operating”), and Maricopa Resources,

LLC (“Maricopa”) filed voluntary petitions under Chapter 7 of the United States Bankruptcy Code

(the “Bankruptcy Code”) in this Bankruptcy Court. 1 See Docket No. 1 in Bankruptcy Case Nos.

16-41043, 16-40144, and 16-40145. On July 12, 2016, the Bankruptcy Court entered orders

converting the Payson Debtors’ bankruptcy cases to cases under Chapter 11 of the Bankruptcy

Code. See Docket No. 39 in Case No. 16-41043, Docket No. 33 in Case No. 16-40144, and Docket

No. 41 in Case No. 16-40145. On July 18, 2016, the Bankruptcy Court entered orders approving

the United States Trustee’s applications to appoint the Payson Trustee as the Chapter 11 Trustee

in the Payson Debtors’ bankruptcy cases. See Docket No. 55 in Case No. 16-41043, Docket No.

50 in Case No. 16-40144, and Docket No. 57 in Case No. 16-41045. On August 11, 2016, the

Bankruptcy Court ordered the joint administration of the Payson Debtors’ bankruptcy cases under

Case No. 16-41044. See Docket No. 75 in Case No. 16-41043, Docket No. 73 in Case No. 16-

41044, and Docket No. 81 in Case No. 16-41045.

        2.       Adversary Proceeding.            On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 in

Adversary Proceeding No. 16-04106 (the “Adversary Proceeding”) against Payson Petroleum 3

Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”).

        3.       LP Debtor Bankruptcy Filings. On January 31, 2017, 3 Well LP and 2014 LP

(collectively, the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.

See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. LP Trustee was


1
    Collectively, Payson Petroleum, Payson Operating, and Maricopa are the “Payson Debtors.”


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appointed as Chapter 7 Trustee for the LP Debtors.

        4.       Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in Adversary

Proceeding. On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion

to Lift Stay in LP Debtor’s bankruptcy cases which, inter alia, provides that the parties are “granted

relief from the automatic stay … to continue with and fully litigate claims that are or could be

pled” in the Adversary Proceeding. Docket No. 26 in Case No. 17-40180 and Docket No. 29 in

Case No. 17-40179.

        5.       Amended Complaint. On July 13, 2017, Payson Trustee filed his First Amended

Complaint in the Adversary Proceeding. See Docket No. 25 in Adversary Proceeding.

        6.       Jurisdiction & Venue. This Court has jurisdiction over the subject matter of this

Joint Motion to Compromise pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 II.
                                        FACTUAL BACKGROUND

        7.       Nature of Payson Debtors’ Businesses.                 Matthew C. Griffin (“Griffin”) formed

Payson Petroleum in 2008 to, inter alia, (i) promote the sale of interests in limited partnerships

and (ii) operate oil and gas wells for such limited partnerships. Griffin formed Payson Operating

in 2010 to act as a contract operator for Payson Petroleum. Griffin formed Maricopa in 2012 to,

inter alia, engage in the acquisition and sale of Grayson County, Texas oil and gas leases.

        8.       Nature of 3 Well LP’s Business. Payson Petroleum Grayson, LLC formed 3 Well

LP in 2013 to, inter alia, drill, complete, and own interests in the Subject Wells.

        9.       Turnkey Agreements. On or about October 13, 2013, Payson Petroleum and 3 Well

LP entered into a Subscription Turn Key Agreement under which 3 Well LP agreed to pay Payson



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Petroleum certain amounts for the drilling and completion of the Subject Wells (the “Turnkey

Agreement”). In the Adversary Proceeding, Payson Petroleum asserts a claim for breach of the

Turnkey Agreement against 3 Well LP in the amount of $17,115,777 (the “Breach of Turnkey

Agreement Claim”).

       10.      Working Interest Assignments. On or about Marcy 28, 2016, Maricopa assigned

certain interests in the William #1H (API # 181-31557), Crowe #2 (API #181-31543), and Elaine

#1 (API #181-31547) (collectively the “Subject Wells”) to 3 Well LP and 2014 LP via three (3)

certain Wellbore Assignments, Conveyances, Bills of Sale, and Releases, which were recorded in

the real property records of Grayson County, Texas at Instrument Numbers: 2016-00006064,

2016-00006065, and 2016-00006066. The working interests assigned are set forth below:

                                                                               Working
                                                                                Interest
                        Subject Well                    Assignee               Assigned
                      Williams #1H Well                  2014 LP              72.210840%
                      Williams #1H Well                 3 Well LP             27.789160%
                       Crowe #2 Well                     2014 LP              72.210840%
                       Crowe #2 Well                    3 Well LP             27.789160%
                       Elaine #1 Well                    2014 LP              72.210840%
                       Elaine #1 Well                   3 Well LP             27.789160%

(collectively the “Working Interest Assignments”). In the Adversary Proceeding, Maricopa asserts

claims under 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce

Code against 3 Well LP for avoidance of the Working Interest Assignments and recovery of the

interests transferred to 3 Well LP or their value. Post-bankruptcy petition production revenue

attributable to the Working Interest Assignments has been held by Traton Operating Company

(“Traton”), the Payson Trustee’s approved contract operating company.

       11.      Additional Avoidable Transfers. In addition to the Working Interest Assignments,

Payson Petroleum transferred $1,274,310 to 3 Well LP in January 2014 in exchange for interests



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in 3 Well LP that Payson Petroleum knew or should have known were worth far less than the

amounts transferred (the “Investment Transfer”). In the Adversary Proceeding, the Payson Trustee

asserts claims under 11 U.S.C. § 544 and 550 and Chapter 24 of the Texas Business and Commerce

Code to avoid and recover the Investment Transfer from 3 Well LP (the “Investment Transfer

Claim”).

                                                 III.
                                        PROPOSED SETTLEMENT

        12.      The Payson Trustee, Payson Debtors, LP Trustee, and LP Debtors have reached a

settlement of issues asserted in the Adversary Proceeding and other claims that have our could

have been asserted between the parties. Attached hereto as Exhibit A is a copy of the Settlement

Agreement. 2

        13.      Agreed Final Judgment. As explained in the Settlement Agreement, the parties will

resolve the Adversary Proceeding by filing a Joint Motion for Entry of Agreed Final Judgment and

will use their best efforts to have the Agreed Final Judgment entered by the Bankruptcy Court.

The Agreed Final Judgment will, inter alia, provide that the Wellbore Interest Assignments are

avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B) and grant judgment in favor of Payson

Petroleum on its Breach of Turnkey Agreement Claim against 3 Well LP in the amount of

$8,557,888.50. See Exhibit 3 to Settlement Agreement.

        14.      Conveyance of Interests in Subject Wells. 3 Well LP and 2014 LP will reassign

the avoided interests in the Subject Wells to Maricopa, which will continue to be operated by

Traton until Maricopa sells those interests under 11 U.S.C. § 363. As explained in further detail


2
    To the extent of any inconsistency between the Settlement Agreement and the summary of that agreement set
    forth in this Joint Motion to Compromise, the terms of the Settlement Agreement control. This outline is not
    intended to repeat all terms of the Settlement Agreement and persons reading this Joint Motion to Compromise
    are encouraged to read the Settlement Agreement. Capitalized Terms used but not otherwise defined herein have
    the meaning ascribed to them in the Joint Motion to Compromise or the Settlement Agreement as applicable.


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in the Settlement Agreement, the net proceeds obtained from the operation and sale of the Subject

Wells (defined in the Settlement Agreement as the Subject Wells Net Proceeds) will be distributed

as follows: (i) 55% to Maricopa, (ii) 32.4945% to 2014 LP, and (iii) 12.5055% to 3 Well LP.

Maricopa will retain a $50,000 Operating Reserve to satisfy costs related to operation of the

Subject Wells.

        15.      Allowed Claims. The Settlement Agreement also provides that the parties will

agree to the following allowed unsecured claims:

        •        Payson Petroleum shall hold an allowed unsecured claim in the 2014 LP bankruptcy
                 case in the amount of $2,671,900.50; and

        •        3 Well LP shall hold an allowed general unsecured claim in the Maricopa
                 bankruptcy case in an amount equal to 27.78916% of the Subject Net Well Proceeds
                 actually delivered to Maricopa pursuant to the Settlement Agreement.

        16.      Prosecution of and Participation in Avoidance Action Claims. The Settlement

Agreement further provides that the parties will enter into the 3 Well LP Subject Claims

Assignment and Participation Agreement (the “Claims Assignment and Participation

Agreement”). Pursuant to the Claims Assignment and Participation Agreement 3 Well LP will

assign a fifty percent (50%) interest in net recoveries from litigation of 3 Well LP Avoidance

Action Claims and 3 Well LP Partnership Related Claims, as defined in the Claims Assignment

and Participation Agreement, with 3 Well LP retaining the remaining fifty percent (50%) interest.

Payson Petroleum shall be granted standing to prosecute 3 Well LP Avoidance Action Claims and

Partnership Related Claims in the 3 Well LP bankruptcy case, and 3 Well LP shall enter into an

engagement agreement with special litigation counsel for the Payson Trustee to prosecute such

claims for the benefit of the Payson Petroleum and 3 Well LP bankruptcy estates.

        17.      Releases. Except for claims expressly reserved in the Settlement Agreement, all

claims or causes action between the parties will be released.



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                                                      IV.
                                                  RATIONALE

        18.      Benefit to Maricopa Estate. The Maricopa bankruptcy estate receives the following

benefits from the settlement:

        •        the interests assigned to 3 Well LP via the Working Interest Assignments will be
                 reassigned to Maricopa, and Maricopa will 55% of the Subject Wells Net Proceeds,
                 plus a $50,000 Operating Reserve to satisfy costs associated with operation of the
                 Subject Wells; and

        •        except for claims expressly preserved under the Settlement Agreement, Maricopa’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against Maricopa by 3 Well LP.

        19.      Benefit to Payson Petroleum Estate. The Payson Petroleum bankruptcy estate

receives the following benefits from the settlement:

        •        an allowed general unsecured claim in the 3 Well LP bankruptcy case in the amount
                 of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred Eighty-Eight
                 and 50/100 U.S. Dollars ($8,557,888.50) on account of Payson Petroleum’s Breach
                 of Turnkey Agreement claim against 3 Well LP;

        •        Payson Petroleum is (i) granted standing and authority to enforce and prosecute 3
                 Well LP Avoidance Action Claims and 3 Well LP Partnership Related Claims (the
                 “Subject Claims”) and (ii) will hold a fifty percent (50%) participation interest in
                 net recoveries from the Subject Claims as further described in the Settlement
                 Agreement and Claims Assignment and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, Payson
                 Petroleum’s bankruptcy estate is released from claims which have been or could
                 have been asserted against Payson Petroleum by 3 Well LP.

        20.      Benefit to Payson Operating Estate. Except for claims expressly preserved under

the Settlement Agreement, Payson Operating’s bankruptcy estate is released from claims which

have been or could have been asserted against Payson Operating by 3 Well LP.

        21.      Benefit to 3 Well LP Estate. The 3 Well LP bankruptcy estate receives the

following benefits from the settlement:


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        •        3 Well LP will obtain 12.5055% of the Subject Wells Net Proceeds;

        •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                 equal to 27.78916% of the Subject Wells Net Proceeds actually delivered to
                 Maricopa pursuant to the Settlement Agreement;

        •        3 Well LP will retain a fifty percent (50%) interest in all 3 Well LP Avoidance
                 Action Claims Net Recovery and 3 Well LP Partnership Related Claims Net
                 Recovery as further described in the Settlement Agreement and Claims Assignment
                 and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, 3 Well LP’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against 3 Well LP by Payson Petroleum, Payson Operating, and/or
                 Maricopa.

                                                    V.
                                            RELIEF REQUESTED

        22.      The Payson Trustee and LP Trustee respectfully request that the Court approve the

proposed Settlement Agreement attached hereto as Exhibit A and grant them such other and further

relief to which they may be entitled.

                                                    VI.
                                             BASIS FOR RELIEF

        23.      Bankruptcy Courts are “empowered to approve a compromise settlement of a

debtor’s claim under Bankruptcy Rule 9019(a).” Official Comm. of Unsecured Creditors v. Cajun

Electric Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir.

1997). “Approval should only be given if the settlement is fair and equitable and in the best interest

of the estate.” Id. (internal quotes & cite omitted). “In deciding whether a settlement of litigation

is fair and equitable, a judge in bankruptcy must make a well-informed decision, ‘comparing the

terms of the compromise with the likely rewards of litigation.’” Id. at 356 (quoting Rivercity v.

Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)). Courts consider the




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following factors in determining whether a settlement is fair and equitable “(1) [t]he probability of

success in the litigation, with due consideration for the uncertainty in fact and law, (2) [t]he

complexity and likely duration of the litigation and any attendant expense, inconvenience and

delay, and (3) all other factors bearing on the wisdom of the compromise.” Id.

        24.      The factors support granting the Joint Motion to Compromise. First, the disputes

are hotly contested and would require lengthy and likely expensive litigation to resolve, and the

Settlement Agreement was reached after good-faith, contentious, and arms-length negotiations.

The Payson Trustee and LP Trustee desire to avoid lengthy litigation between the respective

bankruptcy estates so they can focus on enhancing the value of those estates for the benefit of

creditors. Litigation would be expensive and involve, inter alia, complex factual issues regarding

the value of the property transferred and solvency of the various bankruptcy estates. The

Settlement Agreement, on the other hand, allows the Payson Trustee to distribute hydrocarbon

proceeds currently held in suspense and initiate a sales process to monetize the Subject Wells for

the benefit of creditors of Maricopa and 3 Well LP. Additionally, the Settlement Agreement (i)

reduces 3 Well LP’s liability for failing to pay Payson Petroleum amounts owed under the Turnkey

Agreement by fifty percent (50%), (ii) provides an arrangement for coordinated prosecution of

avoidance actions and sharing in the proceeds of the same, and (iii) eliminates the potential that

the LP Trustee and Payson Trustee would pursue substantially similar claims against partners of 3

Well LP in different proceedings and forums. In sum, the Payson Trustee and LP Trustee believe

the Settlement Agreement is in the best interests of their respective bankruptcy estates and should

be approved. See Affidavit of Jason R. Searcy, attached as Exhibit B and Affidavit of Christopher

J. Moser, attached as Exhibit C.

        25.      A proposed agreed order is attached hereto as Exhibit D.




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                                                     PRAYER

        WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 11 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estate of Payson Petroleum

3 Well, L.P. respectfully request that the Court approve the Agreement and grant them such other

and further relief to which they may be justly entitled.




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Dated: ___, 2017                                      Respectfully submitted,

                                                      By:      /s/
                                                             Phil Snow
                                                             State Bar No. 18812600
                                                             Blake Hamm
                                                             State Bar No. 24069869
                                                             SNOW SPENCE GREEN LLP
                                                             2929 Allen Parkway, Suite 2800
                                                             Houston, Texas 77019
                                                             (713) 335-4800
                                                             (713) 335-4848 (Fax)

                                                             COUNSEL FOR JASON R. SEARCY,
                                                             CHAPTER 11 TRUSTEE FOR PAYSON
                                                             PETROLEUM, INC., PAYSON
                                                             OPERATING, LLC, AND MARICOPA
                                                             RESOURCES, LLC


                                                       By:     /s/
                                                             Keith W. Harvey
                                                             State Bar No. 09180100
                                                             THE HARVEY LAW FIRM, P.C.
                                                             6510 Abrams Road
                                                             Suite 280
                                                             Dallas, Texas 75231
                                                             (972) 243-3960 Phone
                                                             (972)-241-3970 Facsimile

                                                             COUNSEL FOR CHRISTOPHER J.
                                                             MOSER, CHAPTER 7 TRUSTEE FOR
                                                             PAYSON PETROLEUM 3 WELL, L.P.




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                                           CERTIFICATE OF SERVICE

         The undersigned certifies that on __, 2017, a true and correct copy of this document was
served (i) via the Court’s electronic case filing system upon the parties listed below or by email
listed below, (ii) via the Court’s electronic case filing system for Eastern District of Texas upon
all parties requesting electronic notice of all filings and (iii) via regular First Class Mail, properly
addressed and postage prepaid, upon all parties listed on the Master Service List attached hereto.


 Debtors Payson Petroleum, Inc., Payson Operating,                             Debtors Payson Petroleum 3 Well ,
 LLC, and Maricopa Resources, LLC                                              LP and Payson Petroleum 3 Well
 Mark A. Weisbart                                                              2014, LP
 12770 Coil Road, Suite 541                                                    1757 Harpsichord Way
 Dallas, TX 75251                                                              Henderson, NV 89012
 weisbartm@earthlink.net,
 TX56@ecfcbis.com;mweisbart@ecf.epiqsystems.com;
 tarah_simmons@earthlink.net


 Dan Chern                                                                     Daniel P. Winikka
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 Dallas, Texas 75243                                                           danw@LFDSlaw.com
 dbc@dchern.com


 US Trustee
 Office of the US Trustee
 110 N. College Ave, #300
 Tyler, TX 75702
 USTPRegion06.TY.ECF@USDOJ.GOV


                                                            /s/
                                                            Blake Hamm




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       EXHIBIT A TO SETTLEMENT MOTION

                    SETTLEMENT AGREEMENT

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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                             B
                                      SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
        DEBTORS.                                           §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
        DEBTOR.                                            §

                         AFFIDAVIT OF JASON R. SEARCY
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF GREGG                              §

       BEFORE ME, the undersigned authority, on this day personally appeared Jason R. Searcy,
known to be the person whose name is subscribed hereto, who, having been duly sworn, did depose
and on oath state:
        My name is Jason R. Searcy. I am an attorney duly licensed to practice law in the State of
Texas. I am admitted to practice in all courts in the State of Texas, the United States District Court
for the Eastern District of Texas, the United States Fifth Circuit Court of Appeals and the United
States Supreme Court. I am the Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa
Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-
41044 (“Payson Trustee”). As set forth in the Joint Motion to Approve Compromise and
Settlement Pursuant to Bankruptcy Rule 9019 and based on my best belief and information, the


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proposed settlement obtains for the estate the most effective recovery of greater value than that
which could be obtained by other liquidation measures.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Jason R. Searcy
                                                            Payson Trustee

         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                  C
                                      SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
        DEBTORS.                                           §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
        DEBTOR.                                            §

                     AFFIDAVIT OF CHRISTOPHER J. MOSER
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF DALLAS                             §

       BEFORE ME, the undersigned authority, on this day personally appeared Christopher J.
Moser, known to be the person whose name is subscribed hereto, who, having been duly sworn,
did depose and on oath state:
        My name is Christopher J. Moser. I am an attorney duly licensed to practice law in the
State of Texas. I am admitted to practice in all courts in the State of Texas, the United States
District Court for the Eastern District of Texas and the United States Fifth Circuit of Appeals. I
am the Chapter 7 Trustee for Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179
and Payson Petroleum 3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (“LP Trustee”). As
set forth in the Joint Motion to Approve Compromise and Settlement Pursuant to Bankruptcy Rule
9019 (“Motion”) and based on my best belief and information, the proposed settlement obtains for


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the estate the most effective recovery of greater value than that which could be obtained by other
liquidation measures.

        It is my professional opinion that the settlement agreement reflected in the Motion is in the
best interest of the estate and comports with the settlement standards of Protective Comm. For
Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. Reh’g denied, 391
U.S. 909 (1968) and of River City vs. Herpel, (In re Jackson Brewing Co.), 624 F.2d 599, 602-603
(5th Cir. 1980). Accordingly, the settlement should be approved.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Christopher J. Moser
                                                            LP Trustee


         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




I:\Client\SEAJ1001-Searcy-Payson\Adversary Proceedings\16-04106 3 Well LP & 3 Well 2014 LP\Settlement\Settlement Agreement-Execution
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                               UNITED STATES BANKRUPTCY COURT
                                                                                                                        D
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, LP,                                §              Case No. 17-40179
                                                            §              Chapter 7
         DEBTOR.                                            §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. (“Debtor”) in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014,

L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 3 Well LP Subject Claims Assignment and Participation Agreement attached


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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on

the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 3 Well LP is hereby

allowed in the amount of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred

Eighty-Eight and 50/100 U.S. Dollars ($8,557,888.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 3 Well LP Avoidance Action Claims Net Recovery

and the 3 Well LP Partnership Related Claims Net Recovery as those terms are defined in the 3

Well LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 3 Well LP Avoidance Action Claims and the 3 Well LP Partnership Related Claims without

further order of this Court. Payson Petroleum is hereby appointed the representative of the 3 Well

LP bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the


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3 Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement.

        11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and

Participation Agreement or this Order.

        12.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the

Payson/3 Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 3 Well LP Partnership Related Claims or the 3

Well LP Avoidance Action Claims that in its judgment would not be cost justified.

        13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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SUBMITTED BY:

/s/
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AND MARICOPA RESOURCES, LLC


AGREED TO IN FORM AND SUBSTANCE BY:


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FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.




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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                    §
                                                          §
PAYSON PETROLEUM 3 WELL 2014,                             §              Case No. 17-40180
L.P.,                                                     §
                                                          §
       DEBTOR.                                            §              Chapter 7


  JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT PURSUANT
                     TO BANKRUPTCY RULE 9019


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
       BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
       HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
       RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (the “LP Trustee”) to file their Joint Motion

to Approve Compromise and Settlement Pursuant to Bankruptcy Rule 9019 (the “Joint Motion to

Compromise”), and in support thereof, respectfully show unto the Court the following:

                                                         I.


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                                          PROCEDURAL STATUS

        1.       Payson Debtor Bankruptcy Filings. On June 10, 2016, Payson Petroleum, Inc.

(“Payson Petroleum”), Payson Operating, LLC (“Payson Operating”), and Maricopa Resources,

LLC (“Maricopa”) filed voluntary petitions under Chapter 7 of the United States Bankruptcy Code

(the “Bankruptcy Code”) in this Bankruptcy Court. 1 See Docket No. 1 in Bankruptcy Case Nos.

16-41043, 16-40144, and 16-40145. On July 12, 2016, the Bankruptcy Court entered orders

converting the Payson Debtors’ bankruptcy cases to cases under Chapter 11 of the Bankruptcy

Code. See Docket No. 39 in Case No. 16-41043, Docket No. 33 in Case No. 16-40144, and Docket

No. 41 in Case No. 16-40145. On July 18, 2016, the Bankruptcy Court entered orders approving

the United States Trustee’s applications to appoint the Payson Trustee as the Chapter 11 Trustee

in the Payson Debtors’ bankruptcy cases. See Docket No. 55 in Case No. 16-41043, Docket No.

50 in Case No. 16-40144, and Docket No. 57 in Case No. 16-41045. On August 11, 2016, the

Bankruptcy Court ordered the joint administration of the Payson Debtors’ bankruptcy cases under

Case No. 16-41044. See Docket No. 75 in Case No. 16-41043, Docket No. 73 in Case No. 16-

41044, and Docket No. 81 in Case No. 16-41045.

        2.       Adversary Proceeding.            On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 in

Adversary Proceeding No. 16-04106 (the “Adversary Proceeding”) against Payson Petroleum 3

Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”).

        3.       LP Debtor Bankruptcy Filings. On January 31, 2017, 3 Well LP and 2014 LP

(collectively, the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.

See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. LP Trustee was



1
    Collectively, Payson Petroleum, Payson Operating, and Maricopa are the “Payson Debtors.”


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appointed as Chapter 7 Trustee for the LP Debtors.

        4.       Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in Adversary

Proceeding. On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion

to Lift Stay in LP Debtor’s bankruptcy cases which, inter alia, provides that the parties are “granted

relief from the automatic stay … to continue with and fully litigate claims that are or could be

pled” in the Adversary Proceeding. Docket No. 26 in Case No. 17-40180 and Docket No. 29 in

Case No. 17-40179.

        5.       Amended Complaint. On July 13, 2017, Payson Trustee filed his First Amended

Complaint in the Adversary Proceeding. See Docket No. 25 in Adversary Proceeding.

        6.       Jurisdiction & Venue. This Court has jurisdiction over the subject matter of this

Joint Motion to Compromise pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 II.
                                        FACTUAL BACKGROUND

        7.       Nature of Payson Debtors’ Businesses.                 Matthew C. Griffin (“Griffin”) formed

Payson Petroleum in 2008 to, inter alia, (i) promote the sale of interests in limited partnerships

and (ii) operate oil and gas wells for such limited partnerships. Griffin formed Payson Operating

in 2010 to act as a contract operator for Payson Petroleum. Griffin formed Maricopa in 2012 to,

inter alia, engage in the acquisition and sale of Grayson County, Texas oil and gas leases.

        8.       Nature of 2014 LP’s Businesse. Payson Petroleum Grayson, LLC formed 2014 LP

in 2014 to, inter alia, drill, complete, and own interests in the Subject Wells.

        9.       Turnkey Agreements. On or about January 12, 2014, Payson Petroleum and 2014

LP entered into a Subscription Turn Key Agreement under which 2014 LP agreed to pay Payson



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Petroleum certain amounts for the drilling and completion of the Subject Wells (the “Turnkey

Agreement”). In the Adversary Proceeding, Payson Petroleum asserts a claim for breach of the

Turnkey Agreement against 2014 LP in the amount of $5,343,803 (the “Breach of Turnkey

Agreement Claim”).

       10.      Working Interest Assignments. On or about Marcy 28, 2016, Maricopa assigned

certain interests in the William #1H (API # 181-31557), Crowe #2 (API #181-31543), and Elaine

#1 (API #181-31547) (collectively the “Subject Wells”) to 3 Well LP and 2014 LP via three (3)

certain Wellbore Assignments, Conveyances, Bills of Sale, and Releases, which were recorded in

the real property records of Grayson County, Texas at Instrument Numbers: 2016-00006064,

2016-00006065, and 2016-00006066. The working interests assigned are set forth below:

                                                                               Working
                                                                                Interest
                        Subject Well                    Assignee               Assigned
                      Williams #1H Well                  2014 LP              72.210840%
                      Williams #1H Well                 3 Well LP             27.789160%
                       Crowe #2 Well                     2014 LP              72.210840%
                       Crowe #2 Well                    3 Well LP             27.789160%
                       Elaine #1 Well                    2014 LP              72.210840%
                       Elaine #1 Well                   3 Well LP             27.789160%

(collectively the “Working Interest Assignments”). In the Adversary Proceeding, Maricopa asserts

claims under 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce

Code against 2014 LP for avoidance of the Working Interest Assignments and recovery of the

interests transferred to 2014 LP or their value. Post-bankruptcy petition production revenue

attributable to the Working Interest Assignments has been held by Traton Operating Company

(“Traton”), the Payson Trustee’s approved contract operating company.

       11.      Additional Avoidable Transfers. In addition to the Working Interest Assignments,

Payson Petroleum transferred $2,862,000 to 2014 LP between January and February 2014 in



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exchange for interest in that limited partnership that Payson Petroleum knew or should have known

were worth far less than the amounts transferred (the “Investment Transfers”). In the Adversary

Proceeding, the Payson Trustee asserts claims under 11 U.S.C. § 544 and 550 and Chapter 24 of

the Texas Business and Commerce Code to avoid and recover the Investment Transfers from 2014

LP (the “Investment Transfer Claim”).

                                                 III.
                                        PROPOSED SETTLEMENT

        12.      The Payson Trustee, Payson Debtors, LP Trustee, and LP Debtors have reached a

settlement of issues asserted in the Adversary Proceeding and other claims that have our could

have been asserted between the parties. Attached hereto as Exhibit A is a copy of the Settlement

Agreement. 2

        13.      Agreed Final Judgment. As explained in the Settlement Agreement, the parties will

resolve the Adversary Proceeding by filing a Joint Motion for Entry of Agreed Final Judgment and

will use their best efforts to have the Agreed Final Judgment entered by the Bankruptcy Court.

The Agreed Final Judgment will, inter alia, provide that the Wellbore Interest Assignments are

avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B) and grant judgment in favor of Payson

Petroleum on its Breach of Turnkey Agreement Claim against 2014 LP in the amount of

$2,671,900.50. See Exhibit 3 to Settlement Agreement.

        14.      Conveyance of Interests in Subject Wells. 3 Well LP and 2014 LP will reassign

the avoided interests in the Subject Wells to Maricopa, which will continue to be operated by

Traton until Maricopa sells those interests under 11 U.S.C. § 363. As explained in further detail


2
    To the extent of any inconsistency between the Settlement Agreement and the summary of that agreement set
    forth in this Joint Motion to Compromise, the terms of the Settlement Agreement control. This outline is not
    intended to repeat all terms of the Settlement Agreement and persons reading this Joint Motion to Compromise
    are encouraged to read the Settlement Agreement. Capitalized Terms used but not otherwise defined herein have
    the meaning ascribed to them in the Joint Motion to Compromise or the Settlement Agreement as applicable.


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in the Settlement Agreement, the net proceeds obtained from the operation and sale of the Subject

Wells (defined in the Settlement Agreement as the Subject Wells Net Proceeds) will be distributed

as follows: (i) 55% to Maricopa, (ii) 32.4945% to 2014 LP, and (iii) 12.5055% to 3 Well LP.

Maricopa will retain a $50,000 Operating Reserve to satisfy costs related to operation of the

Subject Wells.

        15.      Allowed Claims. The Settlement Agreement also provides that the parties will

agree to the following allowed unsecured claims:

        •        Payson Petroleum shall hold an allowed unsecured claim in the 2014 LP bankruptcy
                 case in the amount of $2,671,900.50; and

        •        2014 LP shall hold an allowed general unsecured claim in the Maricopa bankruptcy
                 case in an amount equal to 72.21084% of the Subject Net Well Proceeds actually
                 delivered to Maricopa pursuant to the Settlement Agreement.

        16.      Prosecution of and Participation in Avoidance Action Claims. The Settlement

Agreement further provides that the parties will enter into the 2014 LP Subject Claims Assignment

and Participation Agreement (collectively the “Claims Assignment and Participation Agreement”).

Pursuant to the Claims Assignment and Participation Agreements 2014 LP will assign a fifty

percent (50%) interest in net recoveries from litigation of 2014 LP Avoidance Action Claims and

2014 Partnership Related Claims, as defined in the Claims Assignment and Participation

Agreement, with 2014 LP retaining the remaining fifty percent (50%) interest. Payson Petroleum

shall be granted standing to prosecute 2014 LP Avoidance Action Claims and Partnership Related

Claims in the 2014 LP bankruptcy case, and 2014 LP shall enter into an engagement agreement

with special litigation counsel for the Payson Trustee to prosecute such claims for the benefit of

the Payson Petroleum and 2014 LP bankruptcy estates.

        17.      Releases. Except for claims expressly reserved in the Settlement Agreement, all

claims or causes action between the parties will be released.


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                                                      IV.
                                                  RATIONALE

        18.      Benefit to Maricopa Estate. The Maricopa bankruptcy estate receives the following

benefits from the settlement:

        •        the interests assigned to 2014 LP via the Working Interest Assignments will be
                 reassigned to Maricopa, and Maricopa will 55% of the Subject Wells Net Proceeds,
                 plus a $50,000 Operating Reserve to satisfy costs associated with operation of the
                 Subject Wells; and

        •        except for claims expressly preserved under the Settlement Agreement, Maricopa’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against Maricopa by 2014 LP.

        19.      Benefit to Payson Petroleum Estate. The Payson Petroleum bankruptcy estate

receives the following benefits from the settlement:

        •        an allowed general unsecured claim in the 2014 LP bankruptcy case in the amount
                 of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100
                 U.S. Dollars ($2,671,900.50) on account of Payson Petroleum’s Breach of Turnkey
                 Agreement claim against 2014 LP;

        •        Payson Petroleum is (i) granted standing and authority to enforce and prosecute
                 2014 LP Avoidance Action Claims and 2014 LP Partnership Related Claims (the
                 “Subject Claims”) and (ii) will hold a fifty percent (50%) participation interest in
                 net recoveries from the Subject Claims as further described in the Settlement
                 Agreement and Claims Assignment and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, Payson
                 Petroleum’s bankruptcy estate is released from claims which have been or could
                 have been asserted against Payson Petroleum by 2014 LP.

        20.      Benefit to Payson Operating Estate. Except for claims expressly preserved under

the Settlement Agreement, Payson Operating’s bankruptcy estate is released from claims which

have been or could have been asserted against Payson Operating by 2014 LP.

        21.      Benefit to 2014 LP Estate. The 2014 LP bankruptcy estate receives the following

benefits from the settlement:


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        •        2014 LP will obtain 32.4945% of the Subject Wells Net Proceeds;

        •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                 equal to 72.21084% of the Subject Wells Net Proceeds actually delivered to
                 Maricopa pursuant to the Settlement Agreement;

        •        2014 LP will retain a fifty percent (50%) interest in all 2014 LP Avoidance Action
                 Claims Net Recovery and 2014 LP Partnership Related Claims Net Recovery as
                 further described in the Settlement Agreement and Claims Assignment and
                 Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, 2014 LP’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against 2014 LP by Payson Petroleum, Payson Operating, and/or
                 Maricopa.

                                                    V.
                                            RELIEF REQUESTED

        22.      The Payson Trustee and LP Trustee respectfully request that the Court approve the

proposed Settlement Agreement attached hereto as Exhibit A and grant them such other and further

relief to which they may be entitled.

                                                    VI.
                                             BASIS FOR RELIEF

        23.      Bankruptcy Courts are “empowered to approve a compromise settlement of a

debtor’s claim under Bankruptcy Rule 9019(a).” Official Comm. of Unsecured Creditors v. Cajun

Electric Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir.

1997). “Approval should only be given if the settlement is fair and equitable and in the best interest

of the estate.” Id. (internal quotes & cite omitted). “In deciding whether a settlement of litigation

is fair and equitable, a judge in bankruptcy must make a well-informed decision, ‘comparing the

terms of the compromise with the likely rewards of litigation.’” Id. at 356 (quoting Rivercity v.

Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)). Courts consider the




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following factors in determining whether a settlement is fair and equitable “(1) [t]he probability of

success in the litigation, with due consideration for the uncertainty in fact and law, (2) [t]he

complexity and likely duration of the litigation and any attendant expense, inconvenience and

delay, and (3) all other factors bearing on the wisdom of the compromise.” Id.

        24.      The factors support granting the Joint Motion to Compromise. First, the disputes

are hotly contested and would require lengthy and likely expensive litigation to resolve, and the

Settlement Agreement was reached after good-faith, contentious, and arms-length negotiations.

The Payson Trustee and LP Trustee desire to avoid lengthy litigation between the respective

bankruptcy estates so they can focus on enhancing the value of those estates for the benefit of

creditors. Litigation would be expensive and involve, inter alia, complex factual issues regarding

the value of the property transferred and solvency of the various bankruptcy estates. The

Settlement Agreement, on the other hand, allows the Payson Trustee to distribute hydrocarbon

proceeds currently held in suspense and initiate a sales process to monetize the Subject Wells for

the benefit of creditors of Maricopa and 2014 LP. Additionally, the Settlement Agreement (i)

reduces 2014 LP’s liability for failing to pay Payson Petroleum amounts owed under the Turnkey

Agreement by fifty percent (50%), (ii) provides an arrangement for coordinated prosecution of

avoidance actions and sharing in the proceeds of the same, and (iii) eliminates the potential that

the LP Trustee and Payson Trustee would pursue substantially similar claims against partners of

2014 LP in different proceedings and forums. In sum, the Payson Trustee and LP Trustee believe

the Settlement Agreement is in the best interests of their respective bankruptcy estates and should

be approved. See Affidavit of Jason R. Searcy, attached as Exhibit B and Affidavit of Christopher

J. Moser, attached as Exhibit C.

        25.      A proposed agreed order is attached hereto as Exhibit D.




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                                                     PRAYER

        WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 11 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estate of Payson Petroleum

3 Well 2014, L.P. respectfully request that the Court approve the Agreement and grant them such

other and further relief to which they may be justly entitled.




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Dated: ___, 2017                                      Respectfully submitted,

                                                      By:      /s/
                                                             Phil Snow
                                                             State Bar No. 18812600
                                                             Blake Hamm
                                                             State Bar No. 24069869
                                                             SNOW SPENCE GREEN LLP
                                                             2929 Allen Parkway, Suite 2800
                                                             Houston, Texas 77019
                                                             (713) 335-4800
                                                             (713) 335-4848 (Fax)

                                                             COUNSEL FOR JASON R. SEARCY,
                                                             CHAPTER 11 TRUSTEE FOR PAYSON
                                                             PETROLEUM, INC., PAYSON
                                                             OPERATING, LLC, AND MARICOPA
                                                             RESOURCES, LLC


                                                       By:     /s/
                                                             Keith W. Harvey
                                                             State Bar No. 09180100
                                                             THE HARVEY LAW FIRM, P.C.
                                                             6510 Abrams Road
                                                             Suite 280
                                                             Dallas, Texas 75231
                                                             (972) 243-3960 Phone
                                                             (972)-241-3970 Facsimile

                                                             COUNSEL FOR CHRISTOPHER J.
                                                             MOSER, CHAPTER 7 TRUSTEE FOR
                                                             PAYSON PETROLEUM 3 WELL, L.P.
                                                             AND PAYSON PETROLEUM 3 WELL
                                                             2014, L.P.




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                                           CERTIFICATE OF SERVICE

         The undersigned certifies that on __, 2017, a true and correct copy of this document was
served (i) via the Court’s electronic case filing system upon the parties listed below or by email
listed below, (ii) via the Court’s electronic case filing system for Eastern District of Texas upon
all parties requesting electronic notice of all filings and (iii) via regular First Class Mail, properly
addressed and postage prepaid, upon all parties listed on the Master Service List attached hereto.


 Debtors Payson Petroleum, Inc., Payson Operating,                             Debtors Payson Petroleum 3 Well ,
 LLC, and Maricopa Resources, LLC                                              LP and Payson Petroleum 3 Well
 Mark A. Weisbart                                                              2014, LP
 12770 Coil Road, Suite 541                                                    1757 Harpsichord Way
 Dallas, TX 75251                                                              Henderson, NV 89012
 weisbartm@earthlink.net,
 TX56@ecfcbis.com;mweisbart@ecf.epiqsystems.com;
 tarah_simmons@earthlink.net


 Dan Chern                                                                     Daniel P. Winikka
 The Law Offices of Dan Chern                                                  12377 Merit Drive, Ste. 900
 12801 N. Central Expressway, Suite 1558                                       Dallas, TX 75251
 Dallas, Texas 75243                                                           danw@LFDSlaw.com
 dbc@dchern.com


 US Trustee
 Office of the US Trustee
 110 N. College Ave, #300
 Tyler, TX 75702
 USTPRegion06.TY.ECF@USDOJ.GOV


                                                            /s/
                                                            Blake Hamm




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       EXHIBIT A TO SETTLEMENT MOTION

                    SETTLEMENT AGREEMENT

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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                             B
                                      SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
        DEBTORS.                                           §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
        DEBTOR.                                            §

                         AFFIDAVIT OF JASON R. SEARCY
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF GREGG                              §

       BEFORE ME, the undersigned authority, on this day personally appeared Jason R. Searcy,
known to be the person whose name is subscribed hereto, who, having been duly sworn, did depose
and on oath state:
        My name is Jason R. Searcy. I am an attorney duly licensed to practice law in the State of
Texas. I am admitted to practice in all courts in the State of Texas, the United States District Court
for the Eastern District of Texas, the United States Fifth Circuit Court of Appeals and the United
States Supreme Court. I am the Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa
Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-
41044 (“Payson Trustee”). As set forth in the Joint Motion to Approve Compromise and
Settlement Pursuant to Bankruptcy Rule 9019 and based on my best belief and information, the


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proposed settlement obtains for the estate the most effective recovery of greater value than that
which could be obtained by other liquidation measures.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Jason R. Searcy
                                                            Payson Trustee

         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                  C
                                      SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
        DEBTORS.                                           §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
        DEBTOR.                                            §

                     AFFIDAVIT OF CHRISTOPHER J. MOSER
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF DALLAS                             §

       BEFORE ME, the undersigned authority, on this day personally appeared Christopher J.
Moser, known to be the person whose name is subscribed hereto, who, having been duly sworn,
did depose and on oath state:
        My name is Christopher J. Moser. I am an attorney duly licensed to practice law in the
State of Texas. I am admitted to practice in all courts in the State of Texas, the United States
District Court for the Eastern District of Texas and the United States Fifth Circuit of Appeals. I
am the Chapter 7 Trustee for Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179
and Payson Petroleum 3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (“LP Trustee”). As
set forth in the Joint Motion to Approve Compromise and Settlement Pursuant to Bankruptcy Rule
9019 (“Motion”) and based on my best belief and information, the proposed settlement obtains for


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the estate the most effective recovery of greater value than that which could be obtained by other
liquidation measures.

        It is my professional opinion that the settlement agreement reflected in the Motion is in the
best interest of the estate and comports with the settlement standards of Protective Comm. For
Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. Reh’g denied, 391
U.S. 909 (1968) and of River City vs. Herpel, (In re Jackson Brewing Co.), 624 F.2d 599, 602-603
(5th Cir. 1980). Accordingly, the settlement should be approved.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Christopher J. Moser
                                                            LP Trustee


         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                               UNITED STATES BANKRUPTCY COURT                                                    D
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL 2014, LP,                           §              Case No. 17-40180
                                                            §              Chapter 7
         DEBTOR.                                            §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. (“Debtor”)

in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the Settlement

Agreement; and the Court having found that it has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of the

United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
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AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 2014 LP Subject Claims Assignment and Participation Agreement attached as


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AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 2014 LP is hereby allowed

in the amount of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100 U.S.

Dollars ($2,671,900.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 2014 LP Avoidance Action Claims Net Recovery

and the 2014 LP Partnership Related Claims Net Recovery as those terms are defined in the 2014

LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims without further

order of this Court. Payson Petroleum is hereby appointed the representative of the 2014 LP

bankruptcy estate for purposes of prosecuting the 2014 LP Avoidance Action Claims and the 2014


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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LP Partnership Related Claims pursuant to the 2014 LP Subject Claims Assignment and

Participation Agreement.

        11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of any parties’ entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

        12.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 2014 LP Partnership Related Claims or the 2014

LP Avoidance Action Claims that in its judgment would not be cost justified.

        13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC


AGREED TO IN FORM AND SUBSTANCE BY:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
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COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
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(972) 243-3960 Phone
(972)-241-3970 Facsimile

COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE
FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.



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AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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  EXHIBIT 8 TO SETTLEMENT AGREEMENT

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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY
REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS
INSTRUMENT BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR
SOCIAL SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER.

              ASSIGNMENT, CONVEYANCE AND BILL OF SALE
STATE OF TEXAS      §
                    §
COUNTY OF GRAYSON   §

        KNOW ALL MEN BY THESE PRESENTS that the undersigned Payson Petroleum 3 Well 2014,
L.P., whose address is c/o Christopher J. Moser, Chapter 7 Trustee, Quilling, Selander, Lownds, Winslett
& Moser, P.C., 2001 Bryan Street, Ste. 1800, Dallas, TX 75201 (the “Assignor”), for and in consideration
of the sum of Ten Dollars ($10.00) and other good and valuable consideration, does hereby BARGAIN,
SELL, GRANT, ASSIGN and CONVEY unto Maricopa Resources, LLC, whose address is c/o Jason R.
Searcy, Chapter 11 Trustee, Searcy & Searcy, P.C., 446 Forest Square, Longview, Texas 75605 (the
“Assignee”), all of Assignor’s right, title and interest in and to the wells and wellbores described herein.

                                                  DEFINITIONS

        1.01    Defined Terms. The following terms, as used in this Assignment, shall have the meanings
indicated below, unless the context otherwise requires:

         “Crowe #2 Well” means the Crowe #2 (API #181-31543) and associated wellbore, with a surface
location situated at latitude 33° 49’ 10” – north, longitude 96° 41’ 55” – west, in Section 11, Block 1, 11,
15, 16, the South 79 acres of the Wood & Buckles Survey, Abstract 1373, Grayson County, Texas.

         “Elaine #1 Well” means the Elaine #1 (API #181-31547) and associated wellbore, with a surface
location situated at latitude 33° 44’ 55” – north, longitude 96° 41’ 02” – west, in Section 26, Block 1, 11,
15, 16, the East half of the J.C. Wade Survey, Abstract 1382, Grayson County, Texas.

        “Effective Date” means September ___, 2017.

        “Wells” means, collectively, the Crow #2 Well, the Elaine #1 Well and the Williams #1H Well.

        “Williams #1H Well” means the Williams #1H (API #181-31557) and associated wellbore, with a
surface location situated at latitude 33° 44’ 41” – north, longitude 96° 41’ 01” – west, in the east half of
Section 26, Block 1, 11, 15, 16, the JM Dodgin Survey, Abstract 378, Grayson County, Texas.

                                     ASSIGNMENT AND AGREEMENT

        For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells,
assigns, transfers, delivers, and conveys to Assignee the following, all of which are collectively called the
“Assets”.

         a.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006066, Book OR, Vol. 5779, Pg. 404, in the Crowe #2 Well.
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         b.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006065, Book OR, Vol. 5779, Pg. 397, in the Elaine #1 Well.

         c.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006064, Book OR, Vol. 5779, Pg. 389, in the William #1H Well.

       d.       All right, title and interest in and to the oil and gas leases described in Exhibits A-1, A-2
and A-3 to this Assignment, insofar and only insofar as the leases cover the Wells, (collectively, the
“Leases”), together with the leasehold rights as are necessary to operate, maintain, produce, and plug and
abandon the Wells.

        e.     All right, title and interest in all personal property and fixtures associated with the Wells,
including without limitation the following: all tubing, casing, and other equipment in the wellbores,
wellhead equipment, gathering lines and surface production facilities.

         f.      All files and records relating to the items described in Paragraphs (a) through (f) maintained
by Assignor and relating to the interests described in Paragraphs (a) through (f), but only to the extent not
subject to unaffiliated third party contractual restrictions on disclosure or transfer.

           To have and to hold the Assets unto Assignee, and Assignee’s heirs, successors and assigns,
forever.

           Assignee and Assignor further agree as follows:

        1.     Title. Assignor warrants title to the Assets from and against all persons claiming by,
through and under Assignor, but not otherwise.



         2.       Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and
demands arising out of the accounting and payment of proceeds of production from the Wells to royalty
owners and working interest owners, insofar as the same relate to or arise out of actions of Assignor or
events prior to the Effective Date and shall defend, indemnify and hold Assignee harmless from and against
all claims. Assignee shall be responsible for all types of claims insofar as they relate to periods of time
from and after the Effective Date of this Assignment and shall indemnify and hold Assignor harmless
therefrom.

         3.       Indemnification Claims. With respect to any claim for which an indemnifying party may
be required to provide partial or full indemnity, the party shall have the right, but not the obligation, to
participate fully in the defense of any claim. Reasonable attorneys’ fees, court costs, interest, penalties and
other expenses incurred in connection with the defense of claims shall be included in Assignee’s and
Assignor’s indemnities. All indemnities of Assignee shall extend to and cover the parent, subsidiary and
affiliated companies and the officers, directors, employees and agents of Assignor, and its subsidiary and
affiliated companies.




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        4.      No Third-Party Beneficiaries. The references in this Assignment to liens, encumbrances,
burdens, defects, and other matters shall not be deemed to ratify or create any rights in any third parties or
merge with, modify or limit the rights of Assignor or Assignee, as between themselves.

        5.      Successors and Assigns. This Assignment and all of the terms, provisions, covenants,
obligations and indemnities it contains shall be binding on and inure to the benefit of and be enforceable
by the Assignor, Assignee, and their respective successors and assigns.

        This Assignment is executed by Assignor and Assignee as of the date of acknowledgment of their
signatures below, but shall be deemed effective for all purposes as of the Effective Date stated above.

                                            [Signature Page Follows]




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        EXECUTED on this _______ day of __________________ 2017.

                                                       ASSIGNOR:

                                                       PAYSON PETROLEUM 3 WELL 2014, L.P.


                                                       By:
                                                                Christopher J. Moser, Chapter 7 Trustee


                                                       ASSIGNEE:

                                                       MARICOPA RESOURCES, LLC


                                                       By:
                                                                Jason R. Searcy, Chapter 11 Trustee

STATE OF TEXAS                      §
                                    §
COUNTY OF ____________              §

BEFORE ME, the undersigned authority, on this _______ day of _____________ 2017, personally
appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM 3 WELL, L.P., whose
name is subscribed to the foregoing instrument and acknowledged to me that he executed the same for the
purposes and consideration therein expressed.


                                                       ______________________________________
                                                       Notary Public in and for State of Texas
                                                       My Commission Expires:


STATE OF TEXAS                      §
                                    §
COUNTY OF GREGG                     §

BEFORE ME, the undersigned authority, on this _______ day of ______________ 2017, personally
appeared Jason R. Searcy, the Chapter 11 Trustee of MARICOPA RESOURCES, LLC, whose name is
subscribed to the foregoing instrument and acknowledged to me that he executed the same for the purposes
and consideration therein expressed.


                                                       ______________________________________
                                                       Notary Public in and for State of Texas
                                                       My Commission Expires:




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                                                 EXHIBIT A-1
                                                         to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The Crowe #2 Well (API #181-31543) and associated wellbore, with a surface location
      situated at latitude 33° 49’ 10” – north, longitude 96° 41’ 55” – west, in Section 11, Block
      1, 11, 15, 16, the South 79 acres of the Wood & Buckles Survey, Abstract 1373, Grayson
      County, Texas (from the surface of the earth down to the measured depth of 11,164’).

   2. All personal property and fixtures associated with the Crowe #2 Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                      Lessee                     Instrument           Volume Effective
                                                                     Filed                /Page    Date
 Grayson      Marilyn Teresa              RWJ Exploration,           Oil, Gas and         4724/434 6/12/2009
              Morrow                      LLC                        Mineral
                                                                     Lease
 Grayson      Samuel Louis Crow Atoka Operating,                     Oil, Gas and         4536/579 1/7/2008
                                Inc.                                 Mineral
                                                                     Lease
 Grayson      Linda Darnell Lott,         Atoka Operating,           Oil, Gas and         4536/566 4/3/2008
              acting as Agent and         Inc.                       Mineral
              Attorney-in-Fact                                       Lease
              for Frank L.
              Darnell, Sr.
 Grayson      Linda Darnell Lott,         Atoka Operating,           Oil, Gas and         4536/583 4/1/2008
              as Independent              Inc.                       Mineral
              Executrix of the                                       Lease
              Estate of Dorothy
              L. Darnell
 Grayson      Allen M. Tonkin,            Texas Land &               Oil, Gas and 4956/294 5/1/2011
              Jr., Revocable Trust        Petroleum                  Mineral
                                          Company, LLC               Lease
 Grayson      Nancy P. Tonkin             Texas Land &               Memorandum 4956/287 5/1/2011
              Revocable Trust             Petroleum                  of Oil and
                                          Company, LLC               Gas Lease
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 County           Lessor                        Lessee                        Instrument            Volume Effective
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 Grayson          Nancy T. Cutter               Texas Land &                  Memorandum            4956/291 5/1/2011
                  Revocable Trust               Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease
 Grayson          Linley T. Solari              Texas Land &                  Memorandum            4956/284 5/1/2011
                  Revocable Trust               Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease
 Grayson          Solari Luz, LLC               Texas Land &                  Ratification          5043/663 5/1/2011
                                                Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease




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                                                 EXHIBIT A-2
                                                         to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The Elaine #1 Well (API #181-31547) and associated wellbore, with a surface location
      situated at latitude 33° 44’ 55” – north, longitude 96° 41’ 02” – west, in Section 26, Block
      1, 11, 15, 16, the East half of the J.C. Wade Survey, Abstract 1382, Grayson County, Texas.

   2. All personal property and fixtures associated with the Elaine #1Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                              Lessee                           Volume           Effective
                                                                                   /Page            Date
 Grayson      Linda Buechner Byrne                TLPC Holdings, Ltd.              5411/536         11/18/2013
 Grayson      Steven Buechner                     TLPC Holdings, Ltd.              5411/532         11/18/2013
 Grayson      C. Suzanne Buechner,                TLPC Holdings, Ltd.              5411/540         11/18/2013
              Individually and as
              Executor of Estate of
              Barry L. Buechner,
              Deceased
 Grayson      Kennedy & Minshew, PC               TLPC Holdings, Ltd.              5049/747         11/10/2011
 Grayson      Kenneth Dolezalek                   TLPC Holdings, Ltd.              5061/139         9/30/2011
 Grayson      Louie A. Hattensy, Jr.              TLPC Holdings, Ltd.              5057/937         11/10/2011
 Grayson      Bessie M. Dolezalek                 TLPC Holdings, Ltd.              5031/870         9/30/2011
 Grayson      Barbara B. Vogelsang                TLPC Holdings, Ltd.              5031/846         9/30/2011
 Grayson      Burgess E. Buchanan, Jr.            TLPC Holdings, Ltd.              5031/854         9/30/2011
 Grayson      John Yates Buchanan                 TLPC Holdings, Ltd.              5031/862         9/30/2011
 Grayson      Susan R. Greene                     TLPC Holdings, Ltd.              5031/398         8/18/2011
 Grayson      Hugh Ringgold                       TLPC Holdings, Ltd.              5031/390         8/18/2011
 Grayson      Kathryn Michelle Looney             TLPC Holdings, Ltd.              5034/673         9/30/2011
 Grayson      Anita Anderson, Power of            TLPC Holdings, Ltd.              5034/665         9/30/2011
              Attorney for Gary Michael
              Looney
 Grayson      Charles Evans                       TLPC Holdings, Ltd.              5036/856         9/30/2011
 Grayson      John F. Evans                       TLPC Holdings, Ltd.              5031/406         9/30/2011
 Grayson      Robert Yates Evans Jr.              TLPC Holdings, Ltd.              5031/414         9/30/2011
 Grayson      SH Productions, Inc.                Maricopa Resources,              5464/919         2/24/2014
                                                  LLC
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 County           Lessor                                 Lessee                              Volume            Effective
                                                                                             /Page             Date
 Grayson          Kathy Reed                             Maricopa Resources,                 5464/927          2/24/2014
                                                         LLC
 Grayson          Kirk E Reed                            Maricopa Resources,                 5464/931          2/24/2014
                                                         LLC
 Grayson          Southstar Energy Corp                  Maricopa Resources,                 5464/915          2/24/2014
                                                         LLC
 Grayson          Washita Mineral Co                     Maricopa Resources,                 5464/923          2/24/2014
                                                         LLC
 Grayson          Carin Isabel Knoop                     Maricopa Resources,                 5464/910          4/7/2014
                                                         LLC
 Grayson          Preston 150 Joint Venture              Maricopa Resources,                 5521/166          3/24/2014
                                                         LLC




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                                                 EXHIBIT A-3
                                                         to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The William #1H Well (API #181-31557) and associated wellbore, with a surface location
      situated at latitude 33° 44’ 41” – north, longitude 96° 41’ 01” – west, in the east half of the
      Section 26, Block 1, 11, 15, 16, JM Dodgin Survey, Abstract 378, Grayson County, Texas.

   2. All personal property and fixtures associated with the William #1H Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                              Lessee                          Volume              Effective
                                                                                  /Page               Date
 Grayson      Linda Buechner Byrne                TLPC Holdings, Ltd.             5411/536            11/18/2013
 Grayson      Steven Buechner                     TLPC Holdings, Ltd.             5411/532            11/18/2013
 Grayson      C. Suzanne Buechner,                TLPC Holdings, Ltd.             5411/540            11/18/2013
              Individually and as
              Executor of Estate of
              Barry L. Buechner
 Grayson      Kennedy & Minshew, PC               TLPC Holdings, Ltd.             5049/747            11/10/2011
 Grayson      Kenneth Dolezalek                   TLPC Holdings, Ltd.             5061/139            9/30/2011
 Grayson      Louie A. Hattensy, Jr.              TLPC Holdings, Ltd.             5057/937            11/10/2011
 Grayson      Bessie M. Dolezalek                 TLPC Holdings, Ltd.             5031/870            9/30/2011
 Grayson      Barbara B. Vogelsang                TLPC Holdings, Ltd.             5031/846            9/30/2011
 Grayson      Burgess E. Buchanan, Jr.            TLPC Holdings, Ltd.             5031/854            9/30/2011
 Grayson      John Yates Buchanan                 TLPC Holdings, Ltd.             5031/862            9/30/2011
 Grayson      Susan R. Greene                     TLPC Holdings, Ltd.             5031/398            8/18/2011
 Grayson      Hugh Ringgold                       TLPC Holdings, Ltd.             5031/390            8/18/2011
 Grayson      Kathryn Michelle Looney             TLPC Holdings, Ltd.             5034/673            9/30/2011
 Grayson      Anita Anderson, Power of            TLPC Holdings, Ltd.             5034/665            9/30/2011
              Attorney for Gary
              Michael Looney
 Grayson      Charles Evans                       TLPC Holdings, Ltd.             5036/856            9/30/2011
 Grayson      John F. Evans                       TLPC Holdings, Ltd.             5031/406            9/30/2011
 Grayson      Robert Yates Evans Jr.              TLPC Holdings, Ltd.             5031/414            9/30/2011
 Grayson      SH Productions, Inc.                Maricopa Resources,             5464/919            2/24/2014
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County       Lessor                              Lessee                          Volume              Effective
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Grayson      Kathy Reed                          Maricopa Resources,             5464/927            2/24/2014
                                                 LLC
Grayson      Kirk E Reed                         Maricopa Resources,             5464/931            2/24/2014
                                                 LLC
Grayson      Southstar Energy Corp               Maricopa Resources,             5464/915            2/24/2014
                                                 LLC
Grayson      Washita Mineral Co                  Maricopa Resources,             5464/923            2/24/2014
                                                 LLC
Grayson      Endeavor Energy                     OKT Resources, LLC              4981/402            2/1/2011
             Resources, L.P.
Grayson      Thomas W. Lett,                     OKT Resources, LLC              4418/520            2/1/2008
             Individually and as
             Trustee of the Sam Lett
             Testamentary Trust
Grayson      Castello Enterprises, Inc.          OKT Resources, LLC              4980/156            2/1/2011
Grayson      Wilbur Lee Dean III                 Matthew Avery                   4296/513            4/18/2007
Grayson      Joseph Glen Dean                    Matthew Avery                   4296/506            4/18/2007
Grayson      Paula Marie Dean                    Matthew Avery                   4980/140            4/18/2007
             Halbach, aka Paula Marie
             Dean
Grayson      Landon Boyd Odle                    Matthew Avery                   4760/92             1/31/2007
Grayson      Douglas Kent Odle                   Matthew Avery                   4760/88             3/6/2007
Grayson      Gary Wayne Odle                     Matthew Avery                   4296/493            5/10/2007
Grayson      LaJuan Odle                         Matthew Avery                   4760/92             1/30/2007
Grayson      Pottsboro Church of                 Matthew Avery                   4983/321            4/10/2011
             Christ
Grayson      Vurlas Land Wilson, a/ka            Matthew Avery                   4296/469            4/27/2007
             Verlas Lane Wilson and
             Margorie Marie Wilson
Grayson      John Robert Hooper                  Paradise Springs, LLC           4993/305            2/12/2011
Grayson      Berdine Eberhart and                Matthew Avery                   4296/441            4/27/2007
             Tom Eberhart
Grayson      Terry Lee Garofalo                  Matthew Avery                   4980/144            1/2/2011
Grayson      Ann W. Tracy, Trustee               Matthew Avery                   4296/457            6/27/2007
             under the Ann W. Tracy
             Revocable Trust dated
             January 8, 1991
Grayson      Ilva Wilson, Ind and as             Matthew Avery                   4297/46             6/27/2007
             Trustee of the JamesM.
             Wilson Jr and Ilva Wilson
             Family Trust
Grayson      Bobby C Wilson                      Matthew Avery                   4296/461            6/27/2007
Grayson      Peggy Ann Gehrig                    Matthew Avery                   4296/449            6/27/2007
Grayson      Thomas J. Wilson                    Matthew Avery                   4296/466            6/27/2007
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 County           Lessor                                 Lessee                             Volume                Effective
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 Grayson          Lee Marjorie Hooper                    Matthew Avery                      4296/454              4/27/2007
 Grayson          Berdine Eberhart and                   Matthew Avery                      4296/441              4/27/2007
                  Tom Eberhart
 Grayson          Terry Lee Garofalo                     Matthew Avery                      4296/445              4/27/2007
 Grayson          Anadarko E&P Onshore,                  Paradise Springs, LLC              5355/704              8/28/2013
                  LLC
 Grayson          Wel-Mar Investments                    Paradise Springs, LLC              5274/698              3/15/2013
 Grayson          PCP Trust, Phillip C.                  Paradise Springs, LLC              5274/701              3/15/2013
                  Brown, Trustee and
                  Philip Charles Brown
 Grayson          Norman D. O’Neal                       Paradise Springs, LLC              5367/400              9/10/2013
 Grayson          Norman D. O’Neal                       Paradise Springs, LLC              5002/826              8/21/2011
 Grayson          Wel-Mar Investments                    Paradise Springs, LLC              5002/830              8/21/2011
 Grayson          Philip C. Brown, aka                   Paradise Springs, LLC              5002/834;838          8/21/2011
                  Philip Charles Brown;
                  PCB Trust




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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY
REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS
INSTRUMENT BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR
SOCIAL SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER.

              ASSIGNMENT, CONVEYANCE AND BILL OF SALE
STATE OF TEXAS      §
                    §
COUNTY OF GRAYSON   §

         KNOW ALL MEN BY THESE PRESENTS that the undersigned Payson Petroleum 3 Well, L.P.,
whose address is c/o Christopher J. Moser, Chapter 7 Trustee, Quilling, Selander, Lownds, Winslett &
Moser, P.C., 2001 Bryan Street, Ste. 1800, Dallas, TX 75201 (the “Assignor”), for and in consideration of
the sum of Ten Dollars ($10.00) and other good and valuable consideration, does hereby BARGAIN, SELL,
GRANT, ASSIGN and CONVEY unto Maricopa Resources, LLC, whose address is c/o Jason R. Searcy,
Chapter 11 Trustee, Searcy & Searcy, P.C., 446 Forest Square, Longview, Texas 75605 (the “Assignee”),
all of Assignor’s right, title and interest in and to the wells and wellbores described herein.

                                                  DEFINITIONS

        1.01    Defined Terms. The following terms, as used in this Assignment, shall have the meanings
indicated below, unless the context otherwise requires:

         “Crowe #2 Well” means the Crowe #2 (API #181-31543) and associated wellbore, with a surface
location situated at latitude 33° 49’ 10” – north, longitude 96° 41’ 55” – west, in Section 11, Block 1, 11,
15, 16, the South 79 acres of the Wood & Buckles Survey, Abstract 1373, Grayson County, Texas.

         “Elaine #1 Well” means the Elaine #1 (API #181-31547) and associated wellbore, with a surface
location situated at latitude 33° 44’ 55” – north, longitude 96° 41’ 02” – west, in Section 26, Block 1, 11,
15, 16, the East half of the J.C. Wade Survey, Abstract 1382, Grayson County, Texas.

        “Effective Date” means September ___, 2017.

        “Wells” means, collectively, the Crow #2 Well, the Elaine #1 Well and the Williams #1H Well.

        “Williams #1H Well” means the Williams #1H (API #181-31557) and associated wellbore, with a
surface location situated at latitude 33° 44’ 41” – north, longitude 96° 41’ 01” – west, in the east half of
Section 26, Block 1, 11, 15, 16, the JM Dodgin Survey, Abstract 378, Grayson County, Texas.

                                     ASSIGNMENT AND AGREEMENT

        For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells,
assigns, transfers, delivers, and conveys to Assignee the following, all of which are collectively called the
“Assets”.

         a.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006066, Book OR, Vol. 5779, Pg. 404, in the Crowe #2 Well.
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         b.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006065, Book OR, Vol. 5779, Pg. 397, in the Elaine #1 Well.

         c.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006064, Book OR, Vol. 5779, Pg. 389, in the William #1H Well.

       d.       All right, title and interest in and to the oil and gas leases described in Exhibits A-1, A-2
and A-3 to this Assignment, insofar and only insofar as the leases cover the Wells, (collectively, the
“Leases”), together with the leasehold rights as are necessary to operate, maintain, produce, and plug and
abandon the Wells.

        e.     All right, title and interest in all personal property and fixtures associated with the Wells,
including without limitation the following: all tubing, casing, and other equipment in the wellbores,
wellhead equipment, gathering lines and surface production facilities.

         f.      All files and records relating to the items described in Paragraphs (a) through (f) maintained
by Assignor and relating to the interests described in Paragraphs (a) through (f), but only to the extent not
subject to unaffiliated third party contractual restrictions on disclosure or transfer.

           To have and to hold the Assets unto Assignee, and Assignee’s heirs, successors and assigns,
forever.

           Assignee and Assignor further agree as follows:

        1.     Title. Assignor warrants title to the Assets from and against all persons claiming by,
through and under Assignor, but not otherwise.



         2.       Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and
demands arising out of the accounting and payment of proceeds of production from the Wells to royalty
owners and working interest owners, insofar as the same relate to or arise out of actions of Assignor or
events prior to the Effective Date and shall defend, indemnify and hold Assignee harmless from and against
all claims. Assignee shall be responsible for all types of claims insofar as they relate to periods of time
from and after the Effective Date of this Assignment and shall indemnify and hold Assignor harmless
therefrom.

         3.       Indemnification Claims. With respect to any claim for which an indemnifying party may
be required to provide partial or full indemnity, the party shall have the right, but not the obligation, to
participate fully in the defense of any claim. Reasonable attorneys’ fees, court costs, interest, penalties and
other expenses incurred in connection with the defense of claims shall be included in Assignee’s and
Assignor’s indemnities. All indemnities of Assignee shall extend to and cover the parent, subsidiary and
affiliated companies and the officers, directors, employees and agents of Assignor, and its subsidiary and
affiliated companies.




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        4.      No Third-Party Beneficiaries. The references in this Assignment to liens, encumbrances,
burdens, defects, and other matters shall not be deemed to ratify or create any rights in any third parties or
merge with, modify or limit the rights of Assignor or Assignee, as between themselves.

        5.      Successors and Assigns. This Assignment and all of the terms, provisions, covenants,
obligations and indemnities it contains shall be binding on and inure to the benefit of and be enforceable
by the Assignor, Assignee, and their respective successors and assigns.

        This Assignment is executed by Assignor and Assignee as of the date of acknowledgment of their
signatures below, but shall be deemed effective for all purposes as of the Effective Date stated above.

                                            [Signature Page Follows]




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          EXECUTED on this _______ day of __________________ 2017.

                                                            ASSIGNOR:

                                                            PAYSON PETROLEUM 3 WELL, L.P.


                                                            By:
                                                                       Christopher J. Moser, Chapter 7 Trustee


                                                            ASSIGNEE:

                                                            MARICOPA RESOURCES, LLC


                                                            By:
                                                                       Jason R. Searcy, Chapter 11 Trustee

STATE OF TEXAS                          §
                                        §
COUNTY OF ____________                  §

BEFORE ME, the undersigned authority, on this _______ day of _____________ 2017, personally
appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM 3 WELL, L.P., whose
name is subscribed to the foregoing instrument and acknowledged to me that he executed the same for the
purposes and consideration therein expressed.


                                                            ______________________________________
                                                            Notary Public in and for State of Texas
                                                            My Commission Expires:


STATE OF TEXAS                          §
                                        §
COUNTY OF GREGG                         §

BEFORE ME, the undersigned authority, on this _______ day of ______________ 2017, personally
appeared Jason R. Searcy, the Chapter 11 Trustee of MARICOPA RESOURCES, LLC, whose name is
subscribed to the foregoing instrument and acknowledged to me that he executed the same for the purposes
and consideration therein expressed.


                                                            ______________________________________
                                                            Notary Public in and for State of Texas
                                                            My Commission Expires:


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                                                 EXHIBIT A-1
                                                         to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The Crowe #2 Well (API #181-31543) and associated wellbore, with a surface location
      situated at latitude 33° 49’ 10” – north, longitude 96° 41’ 55” – west, in Section 11, Block
      1, 11, 15, 16, the South 79 acres of the Wood & Buckles Survey, Abstract 1373, Grayson
      County, Texas (from the surface of the earth down to the measured depth of 11,164’).

   2. All personal property and fixtures associated with the Crowe #2 Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                      Lessee                     Instrument           Volume Effective
                                                                     Filed                /Page    Date
 Grayson      Marilyn Teresa              RWJ Exploration,           Oil, Gas and         4724/434 6/12/2009
              Morrow                      LLC                        Mineral
                                                                     Lease
 Grayson      Samuel Louis Crow Atoka Operating,                     Oil, Gas and         4536/579 1/7/2008
                                Inc.                                 Mineral
                                                                     Lease
 Grayson      Linda Darnell Lott,         Atoka Operating,           Oil, Gas and         4536/566 4/3/2008
              acting as Agent and         Inc.                       Mineral
              Attorney-in-Fact                                       Lease
              for Frank L.
              Darnell, Sr.
 Grayson      Linda Darnell Lott,         Atoka Operating,           Oil, Gas and         4536/583 4/1/2008
              as Independent              Inc.                       Mineral
              Executrix of the                                       Lease
              Estate of Dorothy
              L. Darnell
 Grayson      Allen M. Tonkin,            Texas Land &               Oil, Gas and 4956/294 5/1/2011
              Jr., Revocable Trust        Petroleum                  Mineral
                                          Company, LLC               Lease
 Grayson      Nancy P. Tonkin             Texas Land &               Memorandum 4956/287 5/1/2011
              Revocable Trust             Petroleum                  of Oil and
                                          Company, LLC               Gas Lease
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 County           Lessor                        Lessee                        Instrument            Volume Effective
                                                                              Filed                 /Page    Date
 Grayson          Nancy T. Cutter               Texas Land &                  Memorandum            4956/291 5/1/2011
                  Revocable Trust               Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease
 Grayson          Linley T. Solari              Texas Land &                  Memorandum            4956/284 5/1/2011
                  Revocable Trust               Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease
 Grayson          Solari Luz, LLC               Texas Land &                  Ratification          5043/663 5/1/2011
                                                Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease




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                                                 EXHIBIT A-2
                                                         to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The Elaine #1 Well (API #181-31547) and associated wellbore, with a surface location
      situated at latitude 33° 44’ 55” – north, longitude 96° 41’ 02” – west, in Section 26, Block
      1, 11, 15, 16, the East half of the J.C. Wade Survey, Abstract 1382, Grayson County, Texas.

   2. All personal property and fixtures associated with the Elaine #1Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                              Lessee                           Volume           Effective
                                                                                   /Page            Date
 Grayson      Linda Buechner Byrne                TLPC Holdings, Ltd.              5411/536         11/18/2013
 Grayson      Steven Buechner                     TLPC Holdings, Ltd.              5411/532         11/18/2013
 Grayson      C. Suzanne Buechner,                TLPC Holdings, Ltd.              5411/540         11/18/2013
              Individually and as
              Executor of Estate of
              Barry L. Buechner,
              Deceased
 Grayson      Kennedy & Minshew, PC               TLPC Holdings, Ltd.              5049/747         11/10/2011
 Grayson      Kenneth Dolezalek                   TLPC Holdings, Ltd.              5061/139         9/30/2011
 Grayson      Louie A. Hattensy, Jr.              TLPC Holdings, Ltd.              5057/937         11/10/2011
 Grayson      Bessie M. Dolezalek                 TLPC Holdings, Ltd.              5031/870         9/30/2011
 Grayson      Barbara B. Vogelsang                TLPC Holdings, Ltd.              5031/846         9/30/2011
 Grayson      Burgess E. Buchanan, Jr.            TLPC Holdings, Ltd.              5031/854         9/30/2011
 Grayson      John Yates Buchanan                 TLPC Holdings, Ltd.              5031/862         9/30/2011
 Grayson      Susan R. Greene                     TLPC Holdings, Ltd.              5031/398         8/18/2011
 Grayson      Hugh Ringgold                       TLPC Holdings, Ltd.              5031/390         8/18/2011
 Grayson      Kathryn Michelle Looney             TLPC Holdings, Ltd.              5034/673         9/30/2011
 Grayson      Anita Anderson, Power of            TLPC Holdings, Ltd.              5034/665         9/30/2011
              Attorney for Gary Michael
              Looney
 Grayson      Charles Evans                       TLPC Holdings, Ltd.              5036/856         9/30/2011
 Grayson      John F. Evans                       TLPC Holdings, Ltd.              5031/406         9/30/2011
 Grayson      Robert Yates Evans Jr.              TLPC Holdings, Ltd.              5031/414         9/30/2011
 Grayson      SH Productions, Inc.                Maricopa Resources,              5464/919         2/24/2014
                                                  LLC
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 County           Lessor                                 Lessee                              Volume            Effective
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 Grayson          Kathy Reed                             Maricopa Resources,                 5464/927          2/24/2014
                                                         LLC
 Grayson          Kirk E Reed                            Maricopa Resources,                 5464/931          2/24/2014
                                                         LLC
 Grayson          Southstar Energy Corp                  Maricopa Resources,                 5464/915          2/24/2014
                                                         LLC
 Grayson          Washita Mineral Co                     Maricopa Resources,                 5464/923          2/24/2014
                                                         LLC
 Grayson          Carin Isabel Knoop                     Maricopa Resources,                 5464/910          4/7/2014
                                                         LLC
 Grayson          Preston 150 Joint Venture              Maricopa Resources,                 5521/166          3/24/2014
                                                         LLC




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                                                 EXHIBIT A-3
                                                         to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The William #1H Well (API #181-31557) and associated wellbore, with a surface location
      situated at latitude 33° 44’ 41” – north, longitude 96° 41’ 01” – west, in the east half of the
      Section 26, Block 1, 11, 15, 16, JM Dodgin Survey, Abstract 378, Grayson County, Texas.

   2. All personal property and fixtures associated with the William #1H Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                              Lessee                          Volume              Effective
                                                                                  /Page               Date
 Grayson      Linda Buechner Byrne                TLPC Holdings, Ltd.             5411/536            11/18/2013
 Grayson      Steven Buechner                     TLPC Holdings, Ltd.             5411/532            11/18/2013
 Grayson      C. Suzanne Buechner,                TLPC Holdings, Ltd.             5411/540            11/18/2013
              Individually and as
              Executor of Estate of
              Barry L. Buechner
 Grayson      Kennedy & Minshew, PC               TLPC Holdings, Ltd.             5049/747            11/10/2011
 Grayson      Kenneth Dolezalek                   TLPC Holdings, Ltd.             5061/139            9/30/2011
 Grayson      Louie A. Hattensy, Jr.              TLPC Holdings, Ltd.             5057/937            11/10/2011
 Grayson      Bessie M. Dolezalek                 TLPC Holdings, Ltd.             5031/870            9/30/2011
 Grayson      Barbara B. Vogelsang                TLPC Holdings, Ltd.             5031/846            9/30/2011
 Grayson      Burgess E. Buchanan, Jr.            TLPC Holdings, Ltd.             5031/854            9/30/2011
 Grayson      John Yates Buchanan                 TLPC Holdings, Ltd.             5031/862            9/30/2011
 Grayson      Susan R. Greene                     TLPC Holdings, Ltd.             5031/398            8/18/2011
 Grayson      Hugh Ringgold                       TLPC Holdings, Ltd.             5031/390            8/18/2011
 Grayson      Kathryn Michelle Looney             TLPC Holdings, Ltd.             5034/673            9/30/2011
 Grayson      Anita Anderson, Power of            TLPC Holdings, Ltd.             5034/665            9/30/2011
              Attorney for Gary
              Michael Looney
 Grayson      Charles Evans                       TLPC Holdings, Ltd.             5036/856            9/30/2011
 Grayson      John F. Evans                       TLPC Holdings, Ltd.             5031/406            9/30/2011
 Grayson      Robert Yates Evans Jr.              TLPC Holdings, Ltd.             5031/414            9/30/2011
 Grayson      SH Productions, Inc.                Maricopa Resources,             5464/919            2/24/2014
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Grayson      Kathy Reed                          Maricopa Resources,             5464/927            2/24/2014
                                                 LLC
Grayson      Kirk E Reed                         Maricopa Resources,             5464/931            2/24/2014
                                                 LLC
Grayson      Southstar Energy Corp               Maricopa Resources,             5464/915            2/24/2014
                                                 LLC
Grayson      Washita Mineral Co                  Maricopa Resources,             5464/923            2/24/2014
                                                 LLC
Grayson      Endeavor Energy                     OKT Resources, LLC              4981/402            2/1/2011
             Resources, L.P.
Grayson      Thomas W. Lett,                     OKT Resources, LLC              4418/520            2/1/2008
             Individually and as
             Trustee of the Sam Lett
             Testamentary Trust
Grayson      Castello Enterprises, Inc.          OKT Resources, LLC              4980/156            2/1/2011
Grayson      Wilbur Lee Dean III                 Matthew Avery                   4296/513            4/18/2007
Grayson      Joseph Glen Dean                    Matthew Avery                   4296/506            4/18/2007
Grayson      Paula Marie Dean                    Matthew Avery                   4980/140            4/18/2007
             Halbach, aka Paula Marie
             Dean
Grayson      Landon Boyd Odle                    Matthew Avery                   4760/92             1/31/2007
Grayson      Douglas Kent Odle                   Matthew Avery                   4760/88             3/6/2007
Grayson      Gary Wayne Odle                     Matthew Avery                   4296/493            5/10/2007
Grayson      LaJuan Odle                         Matthew Avery                   4760/92             1/30/2007
Grayson      Pottsboro Church of                 Matthew Avery                   4983/321            4/10/2011
             Christ
Grayson      Vurlas Land Wilson, a/ka            Matthew Avery                   4296/469            4/27/2007
             Verlas Lane Wilson and
             Margorie Marie Wilson
Grayson      John Robert Hooper                  Paradise Springs, LLC           4993/305            2/12/2011
Grayson      Berdine Eberhart and                Matthew Avery                   4296/441            4/27/2007
             Tom Eberhart
Grayson      Terry Lee Garofalo                  Matthew Avery                   4980/144            1/2/2011
Grayson      Ann W. Tracy, Trustee               Matthew Avery                   4296/457            6/27/2007
             under the Ann W. Tracy
             Revocable Trust dated
             January 8, 1991
Grayson      Ilva Wilson, Ind and as             Matthew Avery                   4297/46             6/27/2007
             Trustee of the JamesM.
             Wilson Jr and Ilva Wilson
             Family Trust
Grayson      Bobby C Wilson                      Matthew Avery                   4296/461            6/27/2007
Grayson      Peggy Ann Gehrig                    Matthew Avery                   4296/449            6/27/2007
Grayson      Thomas J. Wilson                    Matthew Avery                   4296/466            6/27/2007
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 County           Lessor                                 Lessee                             Volume                Effective
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 Grayson          Lee Marjorie Hooper                    Matthew Avery                      4296/454              4/27/2007
 Grayson          Berdine Eberhart and                   Matthew Avery                      4296/441              4/27/2007
                  Tom Eberhart
 Grayson          Terry Lee Garofalo                     Matthew Avery                      4296/445              4/27/2007
 Grayson          Anadarko E&P Onshore,                  Paradise Springs, LLC              5355/704              8/28/2013
                  LLC
 Grayson          Wel-Mar Investments                    Paradise Springs, LLC              5274/698              3/15/2013
 Grayson          PCP Trust, Phillip C.                  Paradise Springs, LLC              5274/701              3/15/2013
                  Brown, Trustee and
                  Philip Charles Brown
 Grayson          Norman D. O’Neal                       Paradise Springs, LLC              5367/400              9/10/2013
 Grayson          Norman D. O’Neal                       Paradise Springs, LLC              5002/826              8/21/2011
 Grayson          Wel-Mar Investments                    Paradise Springs, LLC              5002/830              8/21/2011
 Grayson          Philip C. Brown, aka                   Paradise Springs, LLC              5002/834;838          8/21/2011
                  Philip Charles Brown;
                  PCB Trust




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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, LP,                                §              Case No. 17-40179
                                                            §              Chapter 7
         DEBTOR.                                            §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. (“Debtor”) in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014,

L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 3 Well LP Subject Claims Assignment and Participation Agreement attached


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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on

the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 3 Well LP is hereby

allowed in the amount of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred

Eighty-Eight and 50/100 U.S. Dollars ($8,557,888.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 3 Well LP Avoidance Action Claims Net Recovery

and the 3 Well LP Partnership Related Claims Net Recovery as those terms are defined in the 3

Well LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 3 Well LP Avoidance Action Claims and the 3 Well LP Partnership Related Claims without

further order of this Court. Payson Petroleum is hereby appointed the representative of the 3 Well

LP bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the


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3 Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement.

        11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and

Participation Agreement or this Order.

        12.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the

Payson/3 Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 3 Well LP Partnership Related Claims or the 3

Well LP Avoidance Action Claims that in its judgment would not be cost justified.

        13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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SUBMITTED BY:

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FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC


AGREED TO IN FORM AND SUBSTANCE BY:


/s/ Blake Hamm
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Blake Hamm
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COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE
FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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                            UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION                                                                3
IN RE:                                                   §
                                                         §
PAYSON PETROLEUM 3 WELL 2014,                            §              Case No. 17-40180
L.P.,                                                    §
                                                         §
       DEBTOR.                                           §              Chapter 7


  JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT PURSUANT
                     TO BANKRUPTCY RULE 9019


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
       BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
       HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
       RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (the “LP Trustee”) to file their Joint Motion

to Approve Compromise and Settlement Pursuant to Bankruptcy Rule 9019 (the “Joint Motion to

Compromise”), and in support thereof, respectfully show unto the Court the following:

                                                         I.


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                                          PROCEDURAL STATUS

        1.       Payson Debtor Bankruptcy Filings. On June 10, 2016, Payson Petroleum, Inc.

(“Payson Petroleum”), Payson Operating, LLC (“Payson Operating”), and Maricopa Resources,

LLC (“Maricopa”) filed voluntary petitions under Chapter 7 of the United States Bankruptcy Code

(the “Bankruptcy Code”) in this Bankruptcy Court. 1 See Docket No. 1 in Bankruptcy Case Nos.

16-41043, 16-40144, and 16-40145. On July 12, 2016, the Bankruptcy Court entered orders

converting the Payson Debtors’ bankruptcy cases to cases under Chapter 11 of the Bankruptcy

Code. See Docket No. 39 in Case No. 16-41043, Docket No. 33 in Case No. 16-40144, and Docket

No. 41 in Case No. 16-40145. On July 18, 2016, the Bankruptcy Court entered orders approving

the United States Trustee’s applications to appoint the Payson Trustee as the Chapter 11 Trustee

in the Payson Debtors’ bankruptcy cases. See Docket No. 55 in Case No. 16-41043, Docket No.

50 in Case No. 16-40144, and Docket No. 57 in Case No. 16-41045. On August 11, 2016, the

Bankruptcy Court ordered the joint administration of the Payson Debtors’ bankruptcy cases under

Case No. 16-41044. See Docket No. 75 in Case No. 16-41043, Docket No. 73 in Case No. 16-

41044, and Docket No. 81 in Case No. 16-41045.

        2.       Adversary Proceeding.           On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 in

Adversary Proceeding No. 16-04106 (the “Adversary Proceeding”) against Payson Petroleum 3

Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”).

        3.       LP Debtor Bankruptcy Filings. On January 31, 2017, 3 Well LP and 2014 LP

(collectively, the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.

See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. LP Trustee was



1
    Collectively, Payson Petroleum, Payson Operating, and Maricopa are the “Payson Debtors.”


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appointed as Chapter 7 Trustee for the LP Debtors.

       4.       Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in Adversary

Proceeding. On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion

to Lift Stay in LP Debtor’s bankruptcy cases which, inter alia, provides that the parties are “granted

relief from the automatic stay … to continue with and fully litigate claims that are or could be

pled” in the Adversary Proceeding. Docket No. 26 in Case No. 17-40180 and Docket No. 29 in

Case No. 17-40179.

       5.       Amended Complaint. On July 13, 2017, Payson Trustee filed his First Amended

Complaint in the Adversary Proceeding. See Docket No. 25 in Adversary Proceeding.

       6.       Jurisdiction & Venue. This Court has jurisdiction over the subject matter of this

Joint Motion to Compromise pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                II.
                                       FACTUAL BACKGROUND

       7.       Nature of Payson Debtors’ Businesses.                 Matthew C. Griffin (“Griffin”) formed

Payson Petroleum in 2008 to, inter alia, (i) promote the sale of interests in limited partnerships

and (ii) operate oil and gas wells for such limited partnerships. Griffin formed Payson Operating

in 2010 to act as a contract operator for Payson Petroleum. Griffin formed Maricopa in 2012 to,

inter alia, engage in the acquisition and sale of Grayson County, Texas oil and gas leases.

       8.       Nature of 2014 LP’s Businesse. Payson Petroleum Grayson, LLC formed 2014 LP

in 2014 to, inter alia, drill, complete, and own interests in the Subject Wells.

       9.       Turnkey Agreements. On or about January 12, 2014, Payson Petroleum and 2014

LP entered into a Subscription Turn Key Agreement under which 2014 LP agreed to pay Payson



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Petroleum certain amounts for the drilling and completion of the Subject Wells (the “Turnkey

Agreement”). In the Adversary Proceeding, Payson Petroleum asserts a claim for breach of the

Turnkey Agreement against 2014 LP in the amount of $5,343,803 (the “Breach of Turnkey

Agreement Claim”).

       10.      Working Interest Assignments. On or about Marcy 28, 2016, Maricopa assigned

certain interests in the William #1H (API # 181-31557), Crowe #2 (API #181-31543), and Elaine

#1 (API #181-31547) (collectively the “Subject Wells”) to 3 Well LP and 2014 LP via three (3)

certain Wellbore Assignments, Conveyances, Bills of Sale, and Releases, which were recorded in

the real property records of Grayson County, Texas at Instrument Numbers: 2016-00006064,

2016-00006065, and 2016-00006066. The working interests assigned are set forth below:

                                                                               Working
                                                                                Interest
                        Subject Well                   Assignee                Assigned
                      Williams #1H Well                 2014 LP               72.210840%
                      Williams #1H Well                3 Well LP              27.789160%
                       Crowe #2 Well                    2014 LP               72.210840%
                       Crowe #2 Well                   3 Well LP              27.789160%
                       Elaine #1 Well                   2014 LP               72.210840%
                       Elaine #1 Well                  3 Well LP              27.789160%

(collectively the “Working Interest Assignments”). In the Adversary Proceeding, Maricopa asserts

claims under 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce

Code against 2014 LP for avoidance of the Working Interest Assignments and recovery of the

interests transferred to 2014 LP or their value. Post-bankruptcy petition production revenue

attributable to the Working Interest Assignments has been held by Traton Operating Company

(“Traton”), the Payson Trustee’s approved contract operating company.

       11.      Additional Avoidable Transfers. In addition to the Working Interest Assignments,

Payson Petroleum transferred $2,862,000 to 2014 LP between January and February 2014 in



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exchange for interest in that limited partnership that Payson Petroleum knew or should have known

were worth far less than the amounts transferred (the “Investment Transfers”). In the Adversary

Proceeding, the Payson Trustee asserts claims under 11 U.S.C. § 544 and 550 and Chapter 24 of

the Texas Business and Commerce Code to avoid and recover the Investment Transfers from 2014

LP (the “Investment Transfer Claim”).

                                                III.
                                       PROPOSED SETTLEMENT

        12.      The Payson Trustee, Payson Debtors, LP Trustee, and LP Debtors have reached a

settlement of issues asserted in the Adversary Proceeding and other claims that have our could

have been asserted between the parties. Attached hereto as Exhibit A is a copy of the Settlement

Agreement. 2

        13.      Agreed Final Judgment. As explained in the Settlement Agreement, the parties will

resolve the Adversary Proceeding by filing a Joint Motion for Entry of Agreed Final Judgment and

will use their best efforts to have the Agreed Final Judgment entered by the Bankruptcy Court.

The Agreed Final Judgment will, inter alia, provide that the Wellbore Interest Assignments are

avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B) and grant judgment in favor of Payson

Petroleum on its Breach of Turnkey Agreement Claim against 2014 LP in the amount of

$2,671,900.50. See Exhibit 3 to Settlement Agreement.

        14.      Conveyance of Interests in Subject Wells. 3 Well LP and 2014 LP will reassign

the avoided interests in the Subject Wells to Maricopa, which will continue to be operated by

Traton until Maricopa sells those interests under 11 U.S.C. § 363. As explained in further detail


2
    To the extent of any inconsistency between the Settlement Agreement and the summary of that agreement set
    forth in this Joint Motion to Compromise, the terms of the Settlement Agreement control. This outline is not
    intended to repeat all terms of the Settlement Agreement and persons reading this Joint Motion to Compromise
    are encouraged to read the Settlement Agreement. Capitalized Terms used but not otherwise defined herein have
    the meaning ascribed to them in the Joint Motion to Compromise or the Settlement Agreement as applicable.


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in the Settlement Agreement, the net proceeds obtained from the operation and sale of the Subject

Wells (defined in the Settlement Agreement as the Subject Wells Net Proceeds) will be distributed

as follows: (i) 55% to Maricopa, (ii) 32.4945% to 2014 LP, and (iii) 12.5055% to 3 Well LP.

Maricopa will retain a $50,000 Operating Reserve to satisfy costs related to operation of the

Subject Wells.

       15.       Allowed Claims. The Settlement Agreement also provides that the parties will

agree to the following allowed unsecured claims:

       •         Payson Petroleum shall hold an allowed unsecured claim in the 2014 LP bankruptcy
                 case in the amount of $2,671,900.50; and

       •         2014 LP shall hold an allowed general unsecured claim in the Maricopa bankruptcy
                 case in an amount equal to 72.21084% of the Subject Net Well Proceeds actually
                 delivered to Maricopa pursuant to the Settlement Agreement.

       16.       Prosecution of and Participation in Avoidance Action Claims. The Settlement

Agreement further provides that the parties will enter into the 2014 LP Subject Claims Assignment

and Participation Agreement (collectively the “Claims Assignment and Participation Agreement”).

Pursuant to the Claims Assignment and Participation Agreements 2014 LP will assign a fifty

percent (50%) interest in net recoveries from litigation of 2014 LP Avoidance Action Claims and

2014 Partnership Related Claims, as defined in the Claims Assignment and Participation

Agreement, with 2014 LP retaining the remaining fifty percent (50%) interest. Payson Petroleum

shall be granted standing to prosecute 2014 LP Avoidance Action Claims and Partnership Related

Claims in the 2014 LP bankruptcy case, and 2014 LP shall enter into an engagement agreement

with special litigation counsel for the Payson Trustee to prosecute such claims for the benefit of

the Payson Petroleum and 2014 LP bankruptcy estates.

       17.       Releases. Except for claims expressly reserved in the Settlement Agreement, all

claims or causes action between the parties will be released.


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                                                     IV.
                                                 RATIONALE

       18.      Benefit to Maricopa Estate. The Maricopa bankruptcy estate receives the following

benefits from the settlement:

       •        the interests assigned to 2014 LP via the Working Interest Assignments will be
                reassigned to Maricopa, and Maricopa will 55% of the Subject Wells Net Proceeds,
                plus a $50,000 Operating Reserve to satisfy costs associated with operation of the
                Subject Wells; and

       •        except for claims expressly preserved under the Settlement Agreement, Maricopa’s
                bankruptcy estate is released from claims which have been or could have been
                asserted against Maricopa by 2014 LP.

       19.      Benefit to Payson Petroleum Estate. The Payson Petroleum bankruptcy estate

receives the following benefits from the settlement:

       •        an allowed general unsecured claim in the 2014 LP bankruptcy case in the amount
                of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100
                U.S. Dollars ($2,671,900.50) on account of Payson Petroleum’s Breach of Turnkey
                Agreement claim against 2014 LP;

       •        Payson Petroleum is (i) granted standing and authority to enforce and prosecute
                2014 LP Avoidance Action Claims and 2014 LP Partnership Related Claims (the
                “Subject Claims”) and (ii) will hold a fifty percent (50%) participation interest in
                net recoveries from the Subject Claims as further described in the Settlement
                Agreement and Claims Assignment and Participation Agreement; and

       •        except for claims expressly preserved under the Settlement Agreement, Payson
                Petroleum’s bankruptcy estate is released from claims which have been or could
                have been asserted against Payson Petroleum by 2014 LP.

       20.      Benefit to Payson Operating Estate. Except for claims expressly preserved under

the Settlement Agreement, Payson Operating’s bankruptcy estate is released from claims which

have been or could have been asserted against Payson Operating by 2014 LP.

       21.      Benefit to 2014 LP Estate. The 2014 LP bankruptcy estate receives the following

benefits from the settlement:


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       •        2014 LP will obtain 32.4945% of the Subject Wells Net Proceeds;

       •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                equal to 72.21084% of the Subject Wells Net Proceeds actually delivered to
                Maricopa pursuant to the Settlement Agreement;

       •        2014 LP will retain a fifty percent (50%) interest in all 2014 LP Avoidance Action
                Claims Net Recovery and 2014 LP Partnership Related Claims Net Recovery as
                further described in the Settlement Agreement and Claims Assignment and
                Participation Agreement; and

       •        except for claims expressly preserved under the Settlement Agreement, 2014 LP’s
                bankruptcy estate is released from claims which have been or could have been
                asserted against 2014 LP by Payson Petroleum, Payson Operating, and/or
                Maricopa.

                                                  V.
                                          RELIEF REQUESTED

       22.      The Payson Trustee and LP Trustee respectfully request that the Court approve the

proposed Settlement Agreement attached hereto as Exhibit A and grant them such other and further

relief to which they may be entitled.

                                                   VI.
                                            BASIS FOR RELIEF

       23.      Bankruptcy Courts are “empowered to approve a compromise settlement of a

debtor’s claim under Bankruptcy Rule 9019(a).” Official Comm. of Unsecured Creditors v. Cajun

Electric Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir.

1997). “Approval should only be given if the settlement is fair and equitable and in the best interest

of the estate.” Id. (internal quotes & cite omitted). “In deciding whether a settlement of litigation

is fair and equitable, a judge in bankruptcy must make a well-informed decision, ‘comparing the

terms of the compromise with the likely rewards of litigation.’” Id. at 356 (quoting Rivercity v.

Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)). Courts consider the




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following factors in determining whether a settlement is fair and equitable “(1) [t]he probability of

success in the litigation, with due consideration for the uncertainty in fact and law, (2) [t]he

complexity and likely duration of the litigation and any attendant expense, inconvenience and

delay, and (3) all other factors bearing on the wisdom of the compromise.” Id.

       24.      The factors support granting the Joint Motion to Compromise. First, the disputes

are hotly contested and would require lengthy and likely expensive litigation to resolve, and the

Settlement Agreement was reached after good-faith, contentious, and arms-length negotiations.

The Payson Trustee and LP Trustee desire to avoid lengthy litigation between the respective

bankruptcy estates so they can focus on enhancing the value of those estates for the benefit of

creditors. Litigation would be expensive and involve, inter alia, complex factual issues regarding

the value of the property transferred and solvency of the various bankruptcy estates. The

Settlement Agreement, on the other hand, allows the Payson Trustee to distribute hydrocarbon

proceeds currently held in suspense and initiate a sales process to monetize the Subject Wells for

the benefit of creditors of Maricopa and 2014 LP. Additionally, the Settlement Agreement (i)

reduces 2014 LP’s liability for failing to pay Payson Petroleum amounts owed under the Turnkey

Agreement by fifty percent (50%), (ii) provides an arrangement for coordinated prosecution of

avoidance actions and sharing in the proceeds of the same, and (iii) eliminates the potential that

the LP Trustee and Payson Trustee would pursue substantially similar claims against partners of

2014 LP in different proceedings and forums. In sum, the Payson Trustee and LP Trustee believe

the Settlement Agreement is in the best interests of their respective bankruptcy estates and should

be approved. See Affidavit of Jason R. Searcy, attached as Exhibit B and Affidavit of Christopher

J. Moser, attached as Exhibit C.

       25.      A proposed agreed order is attached hereto as Exhibit D.




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                                                     PRAYER

       WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 11 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estate of Payson Petroleum

3 Well 2014, L.P. respectfully request that the Court approve the Agreement and grant them such

other and further relief to which they may be justly entitled.




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Dated: September 21, 2017                             Respectfully submitted,

                                                      By:      /s/ Blake Hamm
                                                             Phil Snow
                                                             State Bar No. 18812600
                                                             Blake Hamm
                                                             State Bar No. 24069869
                                                             SNOW SPENCE GREEN LLP
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                                                             COUNSEL FOR JASON R. SEARCY,
                                                             CHAPTER 11 TRUSTEE FOR PAYSON
                                                             PETROLEUM, INC., PAYSON
                                                             OPERATING, LLC, AND MARICOPA
                                                             RESOURCES, LLC


                                                       By:     /s/ Keith W. Harvey
                                                             Keith W. Harvey
                                                             State Bar No. 09180100
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                                                             COUNSEL FOR CHRISTOPHER J.
                                                             MOSER, CHAPTER 7 TRUSTEE FOR
                                                             PAYSON PETROLEUM 3 WELL, L.P.
                                                             AND PAYSON PETROLEUM 3 WELL
                                                             2014, L.P.




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                                           CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing Joint Motion to Approve Compromise
and Settlement Pursuant to Bankruptcy Rule 9019 was duly served as follows:

               •    On September 21, 2017 via the Court’s electronic case filing system for the Eastern
                    District of Texas upon all parties requesting electronic notice of all filings or by
                    email as listed below.

               •    On September 21, 2017 via first class mail, properly addressed and postage prepaid,
                    upon all parties listed on the Service List attached hereto.

 Debtors Payson Petroleum, Inc., Payson Operating,                             Debtors Payson Petroleum 3 Well ,
 LLC, and Maricopa Resources, LLC                                              LP and Payson Petroleum 3 Well
 Mark A. Weisbart                                                              2014, LP
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 US Trustee
 Office of the US Trustee
 110 N. College Ave, #300
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                                                            /s/ Blake Hamm
                                                            Blake Hamm




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Eastern District of Texas
Sherman
Wed Sep 20 14:40:51 CDT 2017
Albert and Audrey Carse                                Alfred and Barbara Austin                                  Allen and Marcia Rastede
7000 Brier Hill Court                                  15320 Fulton St.                                           211 S. Grove St.
Fort Worth TX 76132-7111                               Brighton CO 80602-5639                                     Allen NE 68710-5145



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                                                                                                                Arlington TX 76001-6963


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                                                        Beaufort NC 28516-2120


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Crowley TX 76036-8906                                   Stratford CT 06614-1101                                 Bertram, TX 78605-4229
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Christopher Tasso                                      Claire Macfarland                                       Clint Fowler
Anne Ciola-Tasso                                       1310 Hackberry Ln.                                      CFI Ventures, LP
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Bethany CT 06524-3243                                                                                          Conroe TX 77304-1165


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David Zawisha                                          David and Deborah Allnutt                               David and Lora Lyons
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David and Shirley Nolsheim                             Deborah Hayden                                          Dennis Opitz
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Seminole FL 33776-2607                                 Lutz FL 33558-5331                                      Fort Worth TX 76109-3415
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Derik Einer Lindholm                                  Don   Huntley                                              Donald Calvello
333 Via Lido Nord                                     4804 N. Arcade Ave.                                        14511 Charmeran Ave.
Newport Beach CA 92663-4649                           Fresno CA 93704-3013                                       San Jose CA 95124-3566



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1200 Crescent Dr.                                      33017 48th Ave. SW                                      1842 Cottage Dr.
Wayne NE 68787-1004                                    Federal Way WA 98023-3311                               Greeneville TN 37745-4388
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Glen Markovics                                          Glendal R. Dow                                          Glenn Jason Salsbury
42 Parkway Terrace                                      1320 Hardisty                                           301 Larkspur Ave.
Milford CT 06461-1929                                   Bedford TX 76021-6522                                   Corona Del Mar CA 92625-3041



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                                                        Arlington TX 76016-4137


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Fort Worth TX 76102-4657                                Unit 13                                                 662 E. Business Hwy 151
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Hayes VA 23072-3904                                     Burr Ridge IL 60527-6968                                Fort Worth TX 76131-2010
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Janys Schroeder                                         Jared Meisel                                            Jason Searcy, Trustee
39356 260th St.                                         5423 Winsland Lane                                      c/o Snow Spence Green LLP
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Kildeer IL 60047-8315                                   3602 Vista Chase Court                                  Ft. Worth TX 76132-3875
                                                        Arlington TX 76001-6963


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109 SE Rambling Trail                                   1415 W. Rascher Ave.                                    2336 Fir St.
Weatherford TX 76087-7631                               Chicago IL 60640-1205                                   Glenview IL 60025-2704
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John and Christy Fonvielle                             John  and Felicia  King                                   Jonathan 564
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                                                                                                                                 Perkins
Tenants in Common                                      976 Ekman Dr.                                             646 North Armstead St.
212 Casa Blanca Cir                                    Batavia IL 60510-8940                                     Alexandria VA 22312-2928
Ft. Worth TX 76107-1804


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Midlothian TX 76065-7006


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Burleson TX 76028-3053                                 2727 E. Kirby DR, 9E                                    Winnetka IL 60093-1608
                                                       Houston TX 77098-1149
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155 Rimmon Rd                                         TMICO Lee G. Eggers                                        1505 Clarkson Ct.
North Haven CT 06473-2873                             490 Camp St.                                               Naperville IL 60565-1733
                                                      Platteville WI 53818-1707


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Fort Worth TX 76116-9328                               3602 Vista Chase Court                                  Mundelein IL 60060-3540
                                                       Arlington TX 76001-6963


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Stratford CT 06614-3701                                Republic MO 65738-1675                                  Shelton CT 06484-3897



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778 Old Stratfield Rd.                                 3111 Kelly Rd                                           913 Ashford Lane
Fairfield CT 06825-7427                                Aledo TX 76008-4882                                     Westmont IL 60559-2656
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Michael Kudlik                                        Michael   Kusheba                                         Michael Mitchell
4760 Highland Drive Suite 245                         235 Deerfield Dr                                          300 Landwyck Ln.
Holladay Utah 84117-5149                              Stratford CT 06614-2767                                   Flower Mound TX 75028-7144



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Aurora IL 60502-6420                                   14105 W. 72nd St.                                      3140 Brookhollow Ct.
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                                                       Fort Worth TX 76119-6025


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Vernon Hills IL 60061-3608                             DeSoto TX 75115-2142                                   500 E. Border Street
                                                                                                              Suite 640
                                                                                                              Arlington, TX 76010-7457
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c/o Perdue Brandon Fielder et al                      Wildflower LLC                                           North Central Texas Holding and
500 East Border Street, Suite 640                     817 E. San Angelo Ave.                                   Investments, Inc.
Arlington, TX 76010-7457                              Gilbert AZ 85234-3513                                    400 King Ranch Rd.
                                                                                                               Southlake TX 76092-2026

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Congress AZ 85332                                     Springfield MO 65810-3261                              Highlandville MO 65669-8227
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Rose Marie Klein                                      Roy   Williams                                             Roy and Carol Ray
1389 Calle de las Granvas                             190 Mt. Pleasant Ave.                                      2000 Underwood Rd.
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Tami Rodgers                                            Tammy McKain                                            Tapan and Anisa Daftari
3309 Wild Oaks Ct                                       Kijabe, LLC                                             6595 Old Riverside Dr.
Burleson TX 76028-2333                                  3602 Vista Chase Court                                  Altanta GA 30328-2744
                                                        Arlington TX 76001-6963


Tarry Dahmer                                            Terry Scharig                                           The Allan and Marcia Rastede Family
2400 SW Wintercreek Ct.                                 Payson Petroleum                                        Revocable Living Trust
Lee’s Summit MO 64081-4085                              34601 E. Shore Rd.                                      211 S. Grove Street
                                                        Lone Jack MO 64070-9169                                 Allen, NE 68710-5145
The Radcliff Living TrustCase
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Jerry & Joan Radcliff, TTEE                           155 Rimmon Rd                                             1839 E 2453rd Lane
c/o Jerry M. Radcliff                                 North Haven CT 06473-2873                                 Camp Point IL 62320-2129
5595 Thatch Ct.
Prescott, AZ 86305-3824

Thomas Clayton                                         Thomas Hayes                                           Thomas Hoppe
26770 Sale Barn Ln                                     5115 N. Dysart Road, 202-217                           11051 Dormie Drive
Belmont WI 53510-9725                                  Litchfield Park AZ 85340-3032                          San Antonio FL 33576-7048



Thomas and Lois Partridge                              Timothy Carman                                         Timothy Cypert
199 CR 1747                                            2215 River Ridge Rd.                                   703 Jackson St.
Clifton TX 76634-3990                                  Arlington TX 76017-2631                                Rockwall TX 75087-2212



Timothy Moore                                          Timothy and Stacey Gibson                              Todd Stephens
313 Stonebridge Dr.                                    145 Links Lane                                         230 Miramar Way
Rockwall TX 75087-3434                                 Aledo TX 76008-6917                                    West Palm Beach FL 33405-4712



Todd and Melanie Gregory                               Tom Hinshaw                                            Toussaint Smith
600 W. Republic Road                                   HRC Roofing                                            2315 Legend Woods Ct.
Suite A116                                             2845 Roadway Drive                                     Sugar Land TX 77479-5474
Springfield MO 65807-5805                              Columbus IN 47201-7465


Tracy G. Ward                                          Travis Petree                                          U.S. Attorney General
2313 S. Toledo Ave.                                    2951 Rainbow Drive                                     Department of Justice
Tulsa OK 74114-3622                                    Mason City IA 50401-8931                               Main Justice Building
                                                                                                              10th & Constitution Ave., NW
                                                                                                              Washington, DC 20530-0001

US Trustee                                             Van and Mary Butler                                    Virginia Humphrey
Office of the U.S. Trustee                             62 Cypress Ct.                                         National Financial Services, LLC
110 N. College Ave.                                    Durango CO 81301-3782                                  340 S. Lemon Ave. 8337
Suite 300                                                                                                     Walnut CA 91789-2706
Tyler, TX 75702-7231

Virginia Rhodes                                        Warren and Fay Bush                                    Wendy Yang and Li Liu
7570 E. Manley Dr.                                     PO Box 80140                                           Delftechpark 26, 2628
Prescott Valley AZ 86314-5166                          Keller TX 76244-2902                                   XH Delft, Netherlands



Wenzhong and Dana An                                   William Cozad                                          William Dax Symonds
29602 N. Birch Ave.                                    10401 W. Charleston Blvd., V6                          3170 Westcliff Rd. West
Lake Bluff IL 60044-1176                               Las Vegas NV 89135-8706                                Fort Worth TX 76109-2128



William Kloster                                        William Martin                                         William Ralph Westbrook
112 Tres Vista Court                                   3708 Brookfield                                        338 Park Brook Dr.
Cresson TX 76035-5838                                  Plano TX 75025-3780                                    Dallas TX 75218-1152
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4520 Cheval Blvd.                                      308 Martel Ct.                                             Loewinsohn Flegle Deary Simon, LLP
Lutz FL 33558-5331                                     Coppell TX 75019-7583                                      12377 Merit Drive
                                                                                                                  Suite 900
                                                                                                                  Dallas, TX 75251-3102

Woodrow and Jo Ann Wilson                               Yang Zhao and Hong Yang                                 Yanhua Shi
59250 E. 190 Rd                                         31 E. 59th St.                                          447 Lynn Ct.
Fairland OK 74343-1753                                  Westmont IL 60559-2501                                  Clarendon Hills IL 60514-1000



Ying Qi                                                 Ying and Siwen Qu                                       Yulduz Cohen
2220 Joyce Lane                                         1725 Holly Ct.                                          28264 Via Marcus
Naperville IL 60564-4404                                Long Grove IL 60047-5139                                Laguna Niguel CA 92677-7527



Zhong Wu                                                Zhongwen Huang
3880 Tahoe St.                                          Huifang Liang
West Sacramento CA 95691-5452                           3915 Snowbird Lane
                                                        Northbrook IL 60062
                                                        ZiJun Zhao
                                                        Kraehenbruch 60062-4269



                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Grayson County                                       (u)HongMei Han                                          (u)Judy Fulton
Linebarger Goggan Blair & Sampson, LLP                  Kraehenbruch 4                                          Seven Wells Royalty, LLC
c/o Laurie A. Spindler                                  Dortmund 44227                                          P.O. Box 21866
2777 N. Stemmons Frwy
Suite 1000
Dallas, TX 75207-2328
(d)Christopher Moser                                    (d)Jason R. Searcy                                      End of Label Matrix
2001 Bryan Street, Suite 1800                           P. O. Box 3929                                          Mailable recipients    340
Dallas, TX 75201-3070                                   Longview, TX 75606-3929                                 Bypassed recipients      5
                                                                                                                Total                  345
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                                          EXHIBIT A

                    SETTLEMENT AGREEMENT
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                                     SETTLEMENT AGREEMENT

        This Settlement Agreement (the “Agreement”) is entered into as of September 20, 2017 by
and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC, Jason
Searcy, Chapter 11 Trustee for the Searcy Bankruptcy Cases, and (b) Payson Petroleum 3 Well,
L.P., Payson Petroleum 3 Well 2014, L.P. and Christopher J. Moser, Chapter 7 Trustee for the
Moser Bankruptcy Cases, referred to individually herein as a “Party” and collectively as, the
“Parties.”

                                                RECITALS

      WHEREAS, Christopher J. Moser is the duly appointed Chapter 7 Trustee in the 3 Well
LP Bankruptcy Case and the 2014 LP Bankruptcy Case.

       WHEREAS, Jason R. Searcy is the duly appointed Chapter 11 Trustee in the Payson
Petroleum Bankruptcy Case, the Payson Operating Bankruptcy Case and the Maricopa Bankruptcy
Case.

        WHEREAS, on or about October 10, 2013, Payson Petroleum and 3 Well LP entered into
a Subscription Turn Key Agreement under which 3 Well LP agreed to pay Payson certain amounts
for the drilling and completion of the Subject Wells.

       WHEREAS, on or about January 12, 2014, Payson Petroleum and 2014 LP entered into a
Subscription Turn Key Agreement under which 2014 LP agreed to pay Payson Petroleum certain
amounts for the drilling and completion of the Subject Wells.

        WHEREAS, on or about March 28, 2016, Maricopa assigned certain interests in the
Subject Wells to 3 Well LP and 2014 LP via three (3) certain Wellbore Assignments, Conveyances,
Bills of Sale, and Releases, which were recorded in the real property records of Grayson County,
Texas at Instrument Numbers: 2016-00006064, 2016-00006065, and 2016-00006066. The
working interests assigned are set forth below:

                                                                                Working
                                                                                Interest
                         Subject Well                 Assignee                  Assigned
                     Williams #1H Well             2014 LP                      72.210840%
                     Williams #1H Well             3 Well LP                    27.789160%
                     Crowe #2 Well                 2014 LP                      72.210840%
                     Crowe #2 Well                 3 Well LP                    27.789160%
                     Elaine #1 Well                2014 LP                      72.210840%
                     Elaine #1 Well                3 Well LP                    27.789160%

         WHEREAS, on November 1, 2016, suit was filed against 3 Well LP and 2014 LP in
Adversary Proceeding No. 16-04106, styled Jason R. Searcy, Chapter 11 Trustee v. Payson
Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. (as amended) and asserts, inter
alia, (i) breach of contract claims against 3 Well LP and 2014 LP to recover amounts owed under
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the 3 Well LP Turnkey Agreement and the 2014 LP Turnkey Agreement, and (ii) fraudulent
transfer and preference claims against 3 Well LP and 2014 LP (the “Adversary Proceeding”).

        WHEREAS, the Parties have agreed to resolve, compromise, and settle all claims, disputes
and controversies between the Parties which have been or could have been asserted in any and all
of the Bankruptcy Cases or the Adversary Proceeding in accordance with the terms set forth in this
Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein, the Parties hereby agree as follows:

                                                   ARTICLE 1

                                                    Definitions

      1.01 Defined Terms. The following terms, as used in this Agreement, shall have the
meanings indicated below, unless the context otherwise requires:

       “2014 LP” means Payson Petroleum 3 Well 2014, L.P., Christopher J. Moser in his
capacity of Chapter 7 trustee of Payson Petroleum 3 Well 2014, L.P. and the Payson Petroleum 3
Well 2014 L.P. bankruptcy estate.

       “2014 LP Bankruptcy Case” means Bankruptcy Case No. 17-40180 styled In re Payson
Petroleum 3 Well 2014, L.P., Debtor, pending in the United States Bankruptcy Court for the
Eastern District of Texas, Sherman Division.

       “2014 LP Subject Claims Assignment and Participation Agreement” means an
agreement between 2014 LP and Payson Petroleum, substantially in the form attached hereto as
Exhibit 1.

        “2014 LP and 3 Well LP Retained Claims” has the meaning set forth in Section 4.04.

      “3 Well LP” means Payson Petroleum 3 Well, L.P., Christopher J. Moser in his capacity
of Chapter 7 trustee of Payson Petroleum 3 Well, L.P. and the Payson Petroleum 3 Well L.P.
bankruptcy estate.

        “3 Well LP Bankruptcy Case” means Bankruptcy Case No. 17-40179 styled In re Payson
Petroleum 3 Well, L.P., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

       “3 Well LP Subject Claims Assignment and Participation Agreement” means an
agreement between 3 Well LP and Payson Petroleum, substantially in the form attached hereto as
Exhibit 2.

        “Agreed Final Judgment” means an Agreed Final Judgment to be filed in the Adversary



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Proceeding, substantially in the form attached hereto as Exhibit 3.

       “Bankruptcy Cases” means, collectively, the Payson Petroleum Bankruptcy Case, the
Payson Operating Bankruptcy Case, the Maricopa Bankruptcy Case, the 3 Well LP Bankruptcy
Case and the 2014 LP Bankruptcy Case.

        “Bankruptcy Code” means The Bankruptcy Reform Act of 1978, as codified in title 11
of the United States Code, as now in effect or hereafter amended.

       “Bankruptcy Court” means the United States Bankruptcy Court for the Eastern District
of Texas, Sherman Division.

       “Business Day” means any day that is not a Saturday, Sunday, or other day on which banks
are authorized or required to close pursuant to the rules and regulations of the Federal Reserve
System.

        “Closing” shall have the meaning ascribed to it in Article 3 of this Agreement.

        “Closing Date” shall have the meaning ascribed to it in Article 3 of this Agreement.

        “Direct Taxes” means all ad valorem, property, gathering, transportation, pipeline
regulating, gross receipts, windfall profit, severance, production, excise, eating content, carbon,
value added, environmental, occupation, sales, use, fuel, and other taxes and governmental charges
and assessments imposed on or as a result of all or any part of the Subject Wells, including any
real or personal property, equipment or fixtures, to the extent used in connection with, or relating
to, the Subject Wells, the Subject Hydrocarbons or the proceeds thereof. “Direct Taxes” do not
include federal income taxes, state income taxes or franchise taxes or any penalty or interest
surcharges thereon.

        “Execution Date” means September 20, 2017.

        “Gas” means natural gas and all other gaseous hydrocarbons, including casinghead gas,
but excluding condensate and other liquid hydrocarbons removed by conventional mechanical
field separation at the wellhead and also excluding the liquid products of any processing of Gas
done prior to the sale of such Gas.

        “Hydrocarbons” means Gas and/or Oil.

       “Joint Motion for Entry of Agreed Final Judgment” shall mean the Joint Motion for
Entry of Agreed Final Judgment, substantially in the form attached hereto as Exhibit 4.

        “Maricopa” means Maricopa Resources, LLC, Jason Searcy in his capacity of Chapter 11
trustee of Maricopa Resources, LLC and the Maricopa Resources, LLC bankruptcy estate.




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        “Maricopa Bankruptcy Case” means Bankruptcy Case No. 16-41043 styled In re
Maricopa Resources, LLC, Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

        “Marketing Expenses” mean the costs incurred in connection with the marketing and sale
of the Subject Wells, including broker fees, legal fees and other expenses incurred in connection
with preparation of marketing materials, negotiation of any potential sale, preparation of
documents and pleadings and/or preparation and attendance at hearings.

      “Moser Bankruptcy Cases” means the 3 Well LP Bankruptcy Case and the 2014 LP
Bankruptcy Case.

       “Oil” means crude oil, condensate and other liquid hydrocarbons, including liquid
hydrocarbons removed by conventional mechanical field separation at the wellhead and also
including the liquid products of any processing of Gas done prior to the sale of such Gas.

       “Operating Agreement” means the Contract Operating Services Agreement attached here
as Exhibit 5.

        “Operating Reserve” means the sum of $50,000 to be used by Maricopa exclusively to
satisfy Subject Wells Operating Costs incurred subsequent to the Payson Operating bankruptcy
petition date.

      “Operator” means Traton Operating Company in its capacity as Contract Operator for
Payson Operating.

      “Payson Operating” means Payson Operating, LLC, Jason Searcy in his capacity of
Chapter 11 trustee of Payson Operating, LLC and the Payson Operating, LLC bankruptcy estate.

        “Payson Operating Bankruptcy Case” means Bankruptcy Case No. 16-41045 styled In
re Payson Operating, LLC, Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

      “Payson Petroleum” means Payson Petroleum, Inc., Jason Searcy in his capacity of
Chapter 11 trustee of Payson Petroleum, Inc. and the Payson Petroleum, Inc. bankruptcy estate.

        “Payson Petroleum Bankruptcy Case” means Bankruptcy Case No. 16-41044 styled In
re Payson Petroleum, Inc., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

      “Payson Petroleum, Payson Operating and Maricopa Retained Claims” has the
meaning set forth in Section 4.05.

      “Searcy Bankruptcy Cases” means the Maricopa Bankruptcy Case, the Payson Operating
Bankruptcy Case and the Payson Petroleum Bankruptcy Case.




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       “Settlement Approval Orders” means Orders, substantially in the form attached hereto
as Exhibit 6, granting the relief requested in the Settlement Motion which is to be filed in each of
the Bankruptcy Cases.

        “Settlement Motions” means the Joint Motions for Approval of Settlement and
Compromise, substantially in the form attached hereto as Exhibit 7, which are to be filed in each
of the Bankruptcy Cases.

       “Settlement Transaction Documents” means the Operating Agreement, Agreed Final
Judgment, the Joint Motion for Entry of Agreed Final Judgment, Settlement Approval Order,
Settlement Motions, 3 Well LP Subject Claims Assignment and Participation Agreement, 2014 LP
Subject Claims Assignment and Participation Agreement, and any other documents and
instruments entered into in connection with this Agreement.

        “Subject Wells” mean, collectively, the William #1H (API # 181-31557), the Crowe #2
(API #181-31543), and the Elaine #1 (API #181-31547) oil and gas wells and related leasehold
interests.

      “Subject Wells Account” means a segregated account established by Jason Searcy as
Chapter 11 Trustee of Maricopa at a commercial banking institution.

         “Subject Wells Assignments” means assignments in the forms attached hereto as Exhibit
8.

        “Subject Wells Net Proceeds” means the (i) Subject Wells Net Production Proceeds, plus
(ii) Subject Wells Net Sales Proceeds, minus (iii) Direct Taxes and the Operating Reserve, as
determined on a cumulative basis.

        “Subject Wells Net Production Proceeds” means the amount (computed on a cumulative
basis) by which the gross proceeds received by Maricopa from the sale of the Subject Wells
Hydrocarbons exceeds Operating Costs, and the Operating Reserve.

        “Subject Wells Net Sales Proceeds” means the amount by which the gross proceeds from
the sale of the Subject Wells exceeds Marketing Expenses, Subject Wells Operating Costs and
valid perfected liens which are not subject to avoidance pursuant to Chapter 5 of the Bankruptcy
Code, as determined by an order entered in the Bankruptcy Cases.

       “Subject Wells Operating Costs” means all expenses incurred in connection with (i)
insuring, operating, producing, reworking and maintaining the Subject Wells, (ii) materials,
supplies, equipment and other personal property and fixtures purchased for use and actually used
on, or direction in connection with the Subject Wells, (iii) gathering, treating, processing,
transportation and marketing hydrocarbons produced from the Subject Wells, (iv) plugging,
abandonment and remediation (including the Operating Reserve), and (v) Operator fees and
expenses related to the Subject Wells.

         “Suspended Revenues” mean the Subject Wells Net Production Proceeds as of the


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Closing Date less the Operating Reserve.

        1.02 Amendment of Defined Instruments. Unless the context otherwise requires or
unless otherwise provided herein, the terms defined in this Agreement which refer to a particular
agreement, instrument or document also refer to and include all renewals, extensions,
modifications, amendments and restatements of such agreement, instrument or document. Nothing
contained in this Agreement will be construed to authorize any renewal, extension, modification,
amendment or restatement of this Agreement or any agreement, instrument or document referred
to herein.

        1.03 References and Titles. All references in this Agreement to Exhibits, Articles,
Sections, subsections and other subdivisions refer to the Exhibits, Articles, Sections, subsections
and other subdivisions of this Agreement unless expressly provided otherwise. Titles appearing
at the beginning of any subdivisions are for convenience only, do not constitute any part of those
subdivisions and will be disregarded in construing the language contained in those subdivisions.
The words “this Agreement,” “this instrument,” “herein,” “hereof,” “hereby,” “hereunder” and
words of similar import refer to this Agreement as a whole and not to any particular subdivision
unless expressly so limited. The phrases “this section” and “this subsection” and similar phrases
refer only to the sections or subsections of this Agreement in which those phrases occur. The word
“or” is not exclusive; the word “including” (in its various forms) means “including without
limitation.” Pronouns in masculine, feminine and neuter genders shall be construed to include any
other gender, and words in the singular form shall be construed to include the plural and vice versa,
unless the context otherwise requires. The word “will” shall be construed to have the same
meaning and effect as the word “shall.” Unless the context requires otherwise (a) any reference
herein to any law shall be construed as referring to such law as amended, modified, codified or
reenacted, in whole or in part, and in effect from time to time; (b) any reference herein to any
person shall be construed to include such person's successors and assigns (subject to the restrictions
contained herein); (c) with respect to the determination of any time period, the word “from” means
“from and including” and the word “to” means “to and including;” and (d) all dollar amounts refer
to United States dollars. A reference herein to a number of “days” will be intended to refer to that
number of calendar (as opposed to working) days, unless otherwise specifically provided. No
provision of this Agreement or the Settlement Transaction Documents shall be interpreted or
construed more strictly against any person solely because such person or its legal representative
drafted such provision.

                                                   ARTICLE 2

                        Settlement Motions and Settlement Approval Orders

        2.01 Execution Date Deliveries. On the Execution Date, each Party shall execute and
deliver to the other Parties the following:

                 •         The Settlement Motions;
                 •         The proposed form of Settlement Approval Orders;
                 •         The Joint Motion for Entry of Agreed Final Judgment; and


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                 •         The proposed form of Agreed Final Judgment.

        2.02 Filing of Motions. Counsel for Payson Petroleum, Payson Operating and Maricopa
shall cause the Settlement Motions and proposed Settlement Approval Orders to be filed in the
respective Bankruptcy Cases. Counsel for Payson Petroleum, Payson Operating and Maricopa
shall cause the Joint Motion for Entry of Agreed Final Judgment and proposed form of Agreed
Final Judgment to be filed in the Adversary Proceeding.

        2.03 Prosecution of Motions. Each Party shall cooperate with the other Parties and use
their good faith best efforts to support entry by the Bankruptcy Court of (i) the Settlement Approval
Orders, and (ii) the Agreed Final Judgment. The Parties stipulate that 2014 LP and 3 Well LP
consent to entry of the Agreed Final Judgment is subject to Bankruptcy Court approval of the
Settlement Motions.

                                                   ARTICLE 3

                                                      Closing

        3.01 Time and Place. The Closing on the transactions contemplated in this Agreement
shall be conducted within three (3) Business Days after entry of the Settlement Approval Orders
(the “Closing Date”) at the office of Snow Spence Green LLP located at 2929 Allen Parkway,
Suite 2800, Houston, Texas 77019 or such later date as may be agreed upon by the Parties (the
“Closing”).

      3.02 Delivery by Maricopa to 3 Well LP. On the Closing Date, Maricopa shall deliver
to 3 Well LP the following: (a) a sum equal to 27.79% of forty-five percent (45%) of the
Suspended Revenues by wire transfer to the following account.

                 BOK Financial
                 7500 College Blvd., Ste. 1450
                 Overland Park, KS 66210
                 ABA: 101015101
                 Account Name: Payson Petroleum 3 Well, L.P.
                 Account Number: 1151505797

      3.03 Delivery by Maricopa to 2014 LP. On the Closing Date, Maricopa shall deliver to
2014 LP the following: (a) a sum equal to 72.21% of forty-five percent (45%) of the Suspended
Revenues by wire transfer to the following account.

                 BOK Financial
                 7500 College Blvd., Ste. 1450
                 Overland Park, KS 66210
                 ABA: 101015101
                 Account Name: Payson Petroleum 3 Well 2014, L.P.
                 Account Number: 1151505775



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        3.04 Delivery by 3 Well LP to Maricopa. On the Closing Date, 3 Well LP shall assign
all right, title and interests in 55% of the Suspended Revenues and deliver to Maricopa the duly
executed Subject Wells Assignments.

         3.05 Delivery by 2014 LP to Maricopa. On the Closing Date, 2014 LP shall assign all
right, title and interests in 55% of the Suspended Revenues and deliver to Maricopa the duly
executed Subject Wells Assignments.

        3.06 Delivery by 3 Well LP to Payson Petroleum. On the Closing Date, 3 Well LP shall
deliver to Payson Petroleum the duly executed 3 Well LP Subject Claims Assignment and
Participation Agreement.

        3.07 Delivery by 2014 LP to Payson Petroleum. On the Closing Date, 2014 LP shall
deliver to Payson Petroleum a duly executed 2014 LP Subject Claims Assignment and
Participation Agreement.

        3.08 Delivery by Payson Petroleum to 3 Well LP. On the Closing Date, Payson
Petroleum shall deliver to 3 Well LP a duly executed 3 Well LP Subject Claims Assignment and
Participation Agreement.

        3.09 Delivery by Payson Petroleum to 2014 LP. On the Closing Date, Payson Petroleum
shall deliver to 2014 LP a duly executed 2014 LP Subject Claims Assignment and Participation
Agreement.

                                                  ARTICLE 4

                                    Claims Stipulations and Releases

        4.01 Allowed Claims of Payson Petroleum. The Parties stipulate and agree to allowance
of (i) a general unsecured claim of Payson Petroleum in the 3 Well LP Bankruptcy Case in the
amount of $8,557,888.50, and (ii) a general unsecured claim of Payson Petroleum in the 2014 LP
Bankruptcy Case in the amount of $2,671,900.50.

       4.02 Allowed Claim of 3 Well LP. The Parties stipulate and agree to allowance of a
general unsecured claim of 3 Well LP in the Maricopa Bankruptcy Case in an amount equal to
27.78916% of the Subject Wells Net Proceeds actually disbursed to Maricopa pursuant to this
Agreement.

       4.03 Allowed Claim of 2014 LP. The Parties stipulate and agree to allowance of a
general unsecured claim of 2014 LP in the Maricopa Bankruptcy Case in an amount equal to
72.21084% of the Subject Wells Net Proceeds actually disbursed to Maricopa pursuant to this
Agreement.




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        4.04 Release by 2014 LP and 3 Well LP. Effective as of the Closing Date, 2014 LP and
3 Well LP (except for the 2014 LP and 3 Well LP Retained Claims as defined in this section)
hereby release, waive, and discharge Payson Petroleum, Payson Operating, Maricopa, the Operator
and the bankruptcy estates of Payson Petroleum, Payson Operating and Maricopa, from and against
any and all liabilities, claims, rights, debts, causes of action, suits, matters, issues, damages, costs,
injuries and demands whatsoever, whether at law or in equity, whether by contract or tort, at law
or under any statute, known or unknown, discovered or undiscovered, accrued or unaccrued,
liquidated or non-liquidated, contingent or absolute, which 2014 LP and/or 3 Well LP ever had or
now has, or may hereafter have, either directly or indirectly, individually, representatively,
derivatively, by virtue of subrogation, or by virtue of any action, inaction, matter, event,
representation or circumstances, transactions or occurrences prior to the Closing Date (“2014 LP
and 3 Well LP Released Claims”). Notwithstanding the foregoing, the release provided for in this
section does not extend to or include (i) allowed unsecured claims set forth in Sections 4.02 and
4.03, and (ii) the contractual obligations of Payson Petroleum, Payson Operating and Maricopa
pursuant to this Agreement and the Settlement Transaction Documents (“2014 LP and 3 Well LP
Retained Claims”).

         4.05 Release by Payson Petroleum, Payson Operating and Maricopa. Effective as of the
Closing Date, Payson Petroleum, Payson Operating and Maricopa (except for the Payson
Petroleum, Payson Operating and Maricopa Retained Claims as defined in this section), hereby
release, waive, and discharge 2014 LP and 3 Well LP and the bankruptcy estates of 2014 LP and
3 Well LP, from and against any and all liabilities, claims, rights, debts, causes of action, suits,
matters, issues, damages, costs, injuries and demands whatsoever, whether at law or in equity,
whether by contract or tort, at law or under any statute, known or unknown, discovered or
undiscovered, accrued or unaccrued, liquidated or non-liquidated, contingent or absolute, which
Payson Petroleum, Payson Operating and/or Maricopa ever had or now has, or may hereafter have,
by virtue of any action, inaction, matter, event, representation or circumstances, transactions or
occurrences prior to the Closing Date. Notwithstanding the foregoing, the release provided for in
this section does not extend to or include (i) allowed unsecured claims set forth in Section 4.01,
and (ii) the contractual obligations of 2014 LP and 3 Well LP pursuant to this Agreement and the
Settlement Transaction Documents, (iii) claims and causes of action against any general partner or
limited partner of 2014 LP or 3 Well LP, (iv) the Payson/3 Well LP Partnership Related Claims
(as that term is defined in the 3 Well LP Subject Claims Assignment and Participation Agreement),
(v) the Payson/2014 LP Partnership Related Claims (as that term is defined in the 2014 LP Subject
Claims Assignment and Participation Agreement), and (vi) all rights with respect to all of the
above, including as to third parties (“Payson Petroleum, Payson Operating and Maricopa Retained
Claims”).

                                                   ARTICLE 5

                                         Operation of Subject Wells

       5.01 Operator. Traton Operating Company (an affiliate of Traton Engineering
Associates, L.P.) (“Traton”) shall serve as contract operator of the Subject Wells in accordance
with the terms of the Operating Agreement until such time as Traton either resigns as Operator or



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is removed as Operator by the unanimous decision of Maricopa, 2014 LP and 3 Well LP. Effective
as of the Closing Date, 2014 LP and 3 Well LP ratify and agree to be bound by the terms of the
Operating Agreement.

        5.02 Operation Standards. The Parties agree that Operator shall not be liable for any act
or omission taken or omitted to be taken in its capacity as Operator of the Subject Wells, other
than acts or omissions resulting from Operator’s willful misconduct, gross negligence, or
fraud. The Operator may, in connection with the performance of its operation of the Subject Wells,
and in its sole absolute discretion, consult with Payson Operating and/or Payson Operating’s
attorneys, accountants and agents, and shall not be liable for any act taken, omitted to be taken, or
suffered to be done in accordance with advice or opinions rendered by such
professionals. Notwithstanding such authority, the Operator shall be under no obligation to consult
with Payson Operating and/or Payson Operating’s the attorneys, accountants, or agents, and its
determination to not do so shall not result in imposition of liability on the Operator unless such
determination is based on willful misconduct, gross negligence, or fraud. The bankruptcy estates
of Maricopa, 3 Well LP, and 2014 LP shall, JOINTLY AND SEVERALLY, indemnify and hold
harmless the Operator and his or her agents, representatives, professionals, and employees
(“Operator Group”) from and against and in respect to any and all liabilities, losses, damages,
claims, costs, and expenses, including, but not limited to attorneys’ fees and costs arising out of or
due to Operator Group’s actions or omissions, or consequences of such actions or omissions, with
respect to the operation of the Subject Wells, irrespective of cause or negligence; provided,
however, that no such indemnification will be made to the Operator Group for such actions or
omissions as a result of willful misconduct, gross negligence, or fraud.

                                                   ARTICLE 6

                                         Subject Wells Net Proceeds

       6.01 Establishment of Accounts. Within ten (10) Business Days following the Closing
Date, Maricopa shall establish the Subject Wells Account.

       6.02 Deposits into Subject Wells Account. Except to the extent otherwise ordered by
the Bankruptcy Court, Maricopa shall deposit into the Subject Wells Account (i) the gross proceeds
which it receives from the sale of Hydrocarbons produced from the Subject Wells, and (ii) the
Subject Wells Net Sales Proceeds.

       6.03 Operating Costs. Maricopa shall satisfy Subject Wells Operating Costs out of funds
deposited in the Subject Wells Account.

       6.04 Disbursement of Subject Wells Net Proceeds. Unless otherwise ordered by the
Bankruptcy Court, within forty-five (45) days of the end of each calendar quarter, the Subject
Wells Net Proceeds on deposit in the Subject Wells Account shall be disbursed as follows:

                 (a)       55% to Maricopa;
                 (b)       32.4945% to 2014 LP; and



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                 (c)       12.5055% to 3 Well LP.

        6.05 Accounting and Reporting. Within thirty (30) days of the end of each calendar
month, the Operator shall provide the Parties with a report itemizing (i) Subject Wells Operating
Costs and proceeds received by Maricopa from the sale of the Subject Wells Hydrocarbons, and,
(ii) Marketing Expenses and, if applicable, the proceeds from the sale of the Subject Wells.

                                                   ARTICLE 7

                                  Marketing and Sales of Subject Wells

     7.01 Covenant to Market and Sell Subject Wells. Maricopa will exert good faith
commercially reasonable efforts to market and sell the Subject Wells.

       7.02 Information. Maricopa will promptly provide a copy of any offer it receives to
purchase the Subject Wells to 2014 LP and 3 Well LP.

       7.03 Section 363 Sale. The Subject Wells will be sold by Maricopa under 11 U.S.C. §
363 pursuant to orders entered in the Bankruptcy Cases.

                                                   ARTICLE 8

                                      Representations and Warranties

        8.01 Review and Approval. Each Party represents to the other Party that its
representatives have reviewed this Agreement together with all exhibits and they (i) understand
fully the terms of this Agreement and the consequences of the issuance thereof, (ii) have been
afforded an opportunity to have this Agreement reviewed by legal counsel, and (iii) have entered
into this Agreement of their own free will and accord and without threat or duress.

        8.02 Authority. Each Party represents to the other Party that (i) the undersigned
representative is fully authorized to execute this Agreement on its behalf, and (ii) upon entry of
the Settlement Approval Orders, will have full authority to consummate the transactions provided
for herein.

       8.03 Disclaimer. Each Party represents and warrants to the other Party that in executing
and entering into this Agreement, it is not relying and has not relied upon any representation,
promise or statement made by anyone which is not recited, contained or embodied in this
Agreement. Each Party understands and expressly assumes the risk that any fact not recited,
contained or embodied herein or therein may turn out hereafter to be other than, different from, or
contrary to the facts now known to them or believed by them to be true.




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                                                   ARTICLE 9

                                                  Miscellaneous

        9.01 Entire Agreement. This Agreement, including all exhibits attached hereto and
made a part hereof, constitute the entire agreement between the Parties with respect to the
transactions contemplated hereby and supersede all prior agreements, understandings, negotiations
and discussions, whether oral or written, of the Parties with respect to such transactions.

        9.02 Survival. All representations, warranties, covenants and agreements of the Parties
made in this Agreement shall survive the execution and delivery of this Agreement until such time
as all of the obligations of the signatories to such document shall have lapsed in accordance with
their respective terms or shall have been discharged in full.

       9.03 Waiver. No waiver by a Party of any of the provisions of this Agreement (a) shall
be binding unless executed in writing by such party, (b) shall be deemed or shall constitute a waiver
by such party of any other provision hereof (whether or not similar), and (c) shall not constitute a
continuing waiver by such party.

       9.04 Further Assurances. The Parties will take such actions and execute and deliver such
other documents or agreements as may be necessary or desirable for the implementation of this
Agreement and the consummation of the transactions contemplated hereby.

        9.05 Notices. Any notice, request, consent, approval, waiver or other communication
provided or permitted to be given under this Agreement shall be in writing and shall be delivered
in person or sent by U.S. mail, overnight courier, electronic mail or fax to the appropriate addresses
set forth below. Any such communication shall be effective upon actual receipt; provided,
however, that in the case of delivery by fax after the normal business hours of the recipient, such
communication shall be effective on the next business day following the transmission of such fax.
For purposes of notice, the addresses of the Parties shall be as follows:

        If to Payson Petroleum, Payson Operating or Maricopa:

                           Jason R. Searcy
                           Searcy & Searcy, P.C.
                           446 Forest Square
                           Longview, Texas 75605
                           Fax: 903.757.3399
                           Email: jsearcy@jsearcylaw.com




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                           with a copy to:

                           Blake Hamm
                           Snow Spence Green LLP
                           2929 Allen Parkway, Suite 2800
                           Houston, TX 77019
                           Fax: 713.335.4848
                           Email: blakehamm@snowspencelaw.com

        If to 3 Well LP or 2014 LP:

                           Christopher J. Moser
                           Quilling, Selander, Lownds, Winslett & Moser, P.C.
                           2001 Bryan Street, Ste. 1800
                           Dallas, TX 75201
                           Fax: 214.871.2111
                           Email: cmoser@qslwm.com

                           with a copy to:

                           Keith W. Harvey
                           The Harvey Law Firm, P.C.
                           6510 Abrams Road, Ste. 280
                           Dallas, TX 75231
                           Fax: 972.241.3970
                           Email: harvey@keithharveylaw.com

Each Party shall have the right, upon giving ten (10) days’ prior notice to the other party in the
manner provided in this section, to change its address for purposes of notice.

        9.06 Governing Law and Venue. This Agreement shall be construed and interpreted in
accordance with the laws of the State of Texas, notwithstanding any applicable conflict of laws
provision. Any dispute regarding this Agreement shall be subject to mandatory venue in the United
States Bankruptcy Court for the Eastern District of Texas, Sherman Division.

        9.07 Multiple Counterparts. The Parties agree that facsimile and electronic signatures
shall have the same force and effect as original signatures. This Agreement may be executed in
counterparts and all counterparts so executed shall constitute one agreement which shall be binding
on the Parties hereto.

        9.08 Modification. This Agreement cannot be altered, changed or modified except in
writing executed by a duly authorized representative for each of the Parties.

       9.09 Severability. If any term or other provision of this Agreement is invalid, illegal or
incapable of being enforced by any rule of law or public policy, all other conditions and provisions



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of this Agreement shall nevertheless remain in full force and effect so long as the economic or
legal substance of the transactions contemplated hereby is not affected in any adverse manner with
respect to any Party. Upon determination of a court of competent jurisdiction that any term or
other provision of this Agreement is invalid, illegal or incapable of being enforced, the Parties
shall negotiate in good faith to modify this Agreement so as to affect the original intent of the
Parties as closely as possible. The obligations of the Parties hereunder are severable and not joint.

       9.10 Costs and Attorneys’ Fees. If either Party retains an attorney in connection with
any breach of this Agreement, the prevailing party is entitled to collect its reasonable costs and
expenses incurred in any such suit or proceeding, including reasonable attorneys’ fees.

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                                          PAYSON PETROLEUM, INC.


                                          By:_--,q_e?'-'\'---------'----/L--=---=-~----
                                                   R. Searcy, Chapter 11 Trustee


                                          PAYSON OPERATING, LLC


                                          By:              ~ /(_ j;-
                                                   Jason~earcy, Chapter 11 Trustee


                                          MARICOPA RESOURCES, LLC


                                          By:              ~/(_                ~
                                                   Jaso~Searcy, Chapter 11 Trustee


                                          PAYSON PETROLEUM 3 WELL, L.P.


                                          By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Christopher J. Moser, Chapter 7 Trustee


                                          PAYSON PETROLEUM 3 WELL 2014, L.P.


                                          By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                              Christopher J. Moser, Chapter 7 Trustee




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                                          PAYSON PETROLEUM, INC.


                                          By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                Jason R. Searcy, Chapter 11 Trustee


                                         PAYSON OPERATING, LLC


                                         By: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                               Jason R. Searcy, Chapter 11 Trustee


                                         MARICOPA RESOURCES, LLC


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STATE OF TEXAS                                         §
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       BEFORE ME, the undersigned authority, on this             day of  JD-rh            5erl-e rvtb€-.r
                                                                                       2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of PAYSON PETROLEUM, INC.,
whose name is subscribed to the foregoing instrument and acknowledged to me that he executed
the same for the purposes and consideration therein expressed.



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                                 M. ALLEN
                           Public, State of Texas          NotaryPucinand for State of Texas
     '::.''J.'· .•~••:_,_~~ Comm. Expires 04-14-2021
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STATE OF TEXAS                                         §
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       BEFORE ME, the undersigned authority, on this            day of  J-e)±b             S:v-/em.bex-
                                                                                       2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of PAYSON OERA TING, LLC,
whose name is subscribed to the foregoing instrument and acknowledged to me that he executed
the same for the purposes and consideration therein expressed.


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                                BETTY M. ALLEN
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       BEFORE ME, the undersigned authority, on thisdoth           day of ~m,ber 2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of MARIC0PARESOURCES,
LLC, whose name is subscribed to the foregoing instrument and acknowledged to me that he
executed the same for the purposes and consideration therein expressed .


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                              BETTY M. ALLEN
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STATE OF TEXAS                                         §
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       BEFORE ME, the undersigned authority, on this ~ D,ll\. day of        o~
personally appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON ETROLEuM 3
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WELL, L.P., whose name is subscribed to the foregoing instrument and acknowledged to me that
he executed the same for the purposes and consideration therein expressed .

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       BEFORE ME, the undersigned authority, on this £ D~ day of ~ ~.Vl 2017,
personally appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM 3
WELL 2014, L.P., whose name is subscribed to the foregoing instrument and acknowledged to
me that he executed the same for the purposes and consideration therein expressed.


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                                                      EXHIBIT LIST

Exhibit 1           2014 LP Subject Claims Assignment and Participation Agreement
Exhibit 2           3 Well LP Subject Claims Assignment and Participation Agreement
Exhibit 3           Agreed Final Judgment
Exhibit 4           Joint Motion for Entry of Agreed Final Judgment
Exhibit 5           Contract Operating Services Agreement
Exhibit 6           Settlement Approval Order
Exhibit 7           Settlement Motions
Exhibit 8           Subject Wells Assignments




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  EXHIBIT 1 TO SETTLEMENT AGREEMENT

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       PARTICIPATION AGREEMENT
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      SUBJECT CLAIMS ASSIGNMENT AND PARTICIPATION AGREEMENT
                             (2014 LP)

        This Subject Claims Assignment and Participation Agreement (the “Agreement”) is
entered into as of ____________________, 2017 by and between Payson Petroleum, Inc. (“Payson
Petroleum”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”), referred to individually herein
as a “Party” and collectively as, the “Parties.”

                                                RECITALS

      WHEREAS, Christopher J. Moser is the duly appointed Chapter 7 Trustee in the 2014 LP
Bankruptcy Case (defined below).

       WHEREAS, Jason R. Searcy is the duly appointed Chapter 11 Trustee in the Payson
Petroleum Bankruptcy Case (defined below).

       WHEREAS, 2014 LP and Payson Petroleum are parties to the Settlement Agreement
(defined below) which provides for entry into this Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein, the Parties hereby agree as follows:

                                                  ARTICLE 1

                                                   Definitions

      1.01 Defined Terms. The following terms, as used in this Agreement, shall have the
meanings indicated below, unless the context otherwise requires:

       “2014 LP” means Payson Petroleum 3 Well 2014, L.P., Christopher J. Moser in his
capacity of Chapter 7 trustee of Payson Petroleum 3 Well 2014, L.P. and the Payson Petroleum 3
Well 2014, L.P. bankruptcy estate.

        “2014 LP Avoidance Action Claims” means all claims and causes of action of 2014 LP
arising under Chapter 5 of the Bankruptcy Code.

       “2014 LP Avoidance Action Claims Net Recovery” means any Net Recovery for or on
account of the 2014 LP Avoidance Action Claims.

       “2014 LP Bankruptcy Case” means Bankruptcy Case No. 17-40180 styled In re Payson
Petroleum 3 Well 2014, L.P., Debtor, pending in the United States Bankruptcy Court for the
Eastern District of Texas, Sherman Division.

       “2014 LP Participation Interest” means an undivided fifty percent (50%) interest.

       “2014 LP Partnership Related Claims” means all rights, claims, causes of action and
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rights of contribution of 2014 LP (independent of Section 2.02 of this Agreement) against any
current or former general partner or limited partner of 2014 LP, including but not limited to claims
under 11 U.S.C. § 723.

       “2014 LP Partnership Related Claims Net Recovery” means any Net Recovery for or
on account of the 2014 LP Partnership Related Claims.

       “Bankruptcy Code” means The Bankruptcy Reform Act of 1978, as codified in title 11
of the United States Code, as now in effect or hereafter amended.

       “Net Recovery” means the Recovery net of all expenses and fees (including Special
Counsel fees) incurred in connection with investigation, prosecution and collection of the Subject
Claims.

        “Payson/2014 LP Partnership Related Claims” means all rights, claims and causes of
action of Payson Petroleum (independent of Section 2.01 of this Agreement) against any current
or former general partner or limited partner of 2014 LP.

        “Payson/2014 LP Partnership Related Claims Net Recovery” means the Net Recovery
for and on account of the Payson/2014 LP Partnership Related Claims.

      “Payson Petroleum” means Payson Petroleum, Inc., Jason Searcy in his capacity of
Chapter 11 trustee of Payson Petroleum, Inc. and the Payson Petroleum, Inc. bankruptcy estate.

        “Payson Petroleum Bankruptcy Case” means Bankruptcy Case No. 16-41044 styled In
re Payson Petroleum, Inc., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

        “Payson Petroleum Participation Interest” means an undivided fifty percent (50%)
interest.

        “Recovery” means (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Parties for or on account of or in satisfaction or partial satisfaction
thereof with respect to the Subject Claims.

      “Settlement Agreement” means the Settlement Agreement entered into as of September
___, 2017 by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa
Resources, LLC, Jason Searcy, Chapter 11 Trustee for the Searcy Bankruptcy Cases, and (b)
Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014, L.P. and Christopher J. Moser,
Chapter 7 Trustee for the Moser Bankruptcy Cases.

        “Settlement Approval Order” has the meaning defined in the Settlement Agreement.

       “Special Counsel” means Snow Spence Green LLP.
       “Special Counsel Engagement Agreements” means (i) the August 15, 2016 Engagement
Letter Agreement by and between Snow Spence Green LLP and Jason R. Searcy, Chapter 11



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Trustee of Payson Petroleum, Inc., Maricopa Resources, LLC and Payson Operating, LLC, (ii) the
Engagement Letter Agreement between 2014 LP, 3 Well LP, Payson Petroleum and Snow Spence
Green LLP substantially in the form of Exhibit 1, and (iii) the Engagement Letter Agreement
between 2014 LP, Payson Petroleum and Snow Spence Green LLP in the form of Exhibit 2.

       “Subject Claims” means all 2014 LP Avoidance Action Claims, all 2014 LP Partnership
Related Claims and all Payson/2014 LP Partnership Related Claims.

        1.02 Amendment of Defined Instruments. Unless the context otherwise requires or
unless otherwise provided herein, the terms defined in this Agreement which refer to a particular
agreement, instrument or document also refer to and include all renewals, extensions,
modifications, amendments and restatements of such agreement, instrument or document. Nothing
contained in this Agreement will be construed to authorize any renewal, extension, modification,
amendment or restatement of this Agreement or any agreement, instrument or document referred
to herein.

        1.03 References and Titles. All references in this Agreement to Exhibits, Articles,
Sections, subsections and other subdivisions refer to the Exhibits, Articles, Sections, subsections
and other subdivisions of this Agreement unless expressly provided otherwise. Titles appearing
at the beginning of any subdivisions are for convenience only, do not constitute any part of those
subdivisions and will be disregarded in construing the language contained in those subdivisions.
The words “this Agreement,” “this instrument,” “herein,” “hereof,” “hereby,” “hereunder” and
words of similar import refer to this Agreement as a whole and not to any particular subdivision
unless expressly so limited. The phrases “this section” and “this subsection” and similar phrases
refer only to the sections or subsections of this Agreement in which those phrases occur. The word
“or” is not exclusive; the word “including” (in its various forms) means “including without
limitation.” Pronouns in masculine, feminine and neuter genders shall be construed to include any
other gender, and words in the singular form shall be construed to include the plural and vice versa,
unless the context otherwise requires. The word “will” shall be construed to have the same
meaning and effect as the word “shall.” Unless the context requires otherwise (a) any reference
herein to any law shall be construed as referring to such law as amended, modified, codified or
reenacted, in whole or in part, and in effect from time to time; (b) any reference herein to any
person shall be construed to include such person's successors and assigns (subject to the restrictions
contained herein); (c) with respect to the determination of any time period, the word “from” means
“from and including” and the word “to” means “to and including;” and (d) all dollar amounts refer
to United States dollars. A reference herein to a number of “days” will be intended to refer to that
number of calendar (as opposed to working) days, unless otherwise specifically provided. No
provision of this Agreement shall be interpreted or construed more strictly against any person
solely because such person or its legal representative drafted such provision.

                                                   ARTICLE 2

                                                    Assignment

        2.01 Assignment by 2014 LP of Participation Interest. 2014 LP hereby absolutely and
unconditionally sells, transfers and assigns to Payson Petroleum, the Payson Petroleum
Participation Interest in (i) the 2014 LP Avoidance Action Claims Net Recovery, and (ii) the 2014


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LP Partnership Related Claims Net Recovery.

        2.02 Assignment by Payson Petroleum of Participation Interest. Payson Petroleum
hereby absolutely and unconditionally sells, transfers and assigns to 2014 LP, the 2014 LP
Participation Interest in the Payson/2014 LP Partnership Related Claims Net Recovery.

                                                   ARTICLE 3

                                Preservation, Prosecution and Authority

        3.01 Preservation. 2014 LP retains all 2014 LP Avoidance Action Claims and all 2014
LP Partnership Related Claims subject to the Payson Petroleum Participation Interest and Payson
Petroleum’s rights hereunder. Upon entry of the Settlement Approval Order in the 2014 LP
Bankruptcy Case and execution of this Agreement, Payson Petroleum is vested with and may
enforce and prosecute (or determine to do any of the foregoing) the 2014 LP Avoidance Action
Claims and 2014 LP Partnership Related Claims without further order of the Bankruptcy Court.
Payson Petroleum’s right to commence, prosecute or settle 2014 LP Avoidance Action Claims and
2014 LP Partnership Related Claims shall be preserved. No preclusion doctrine, including the
doctrines of res judicata; collateral estoppel, issue preclusion, claim preclusion, estoppel shall
apply to the 2014 LP Avoidance Action Claims or 2014 LP Partnership Related Claims by virtue
of entry into this Agreement. Payson Petroleum in connection with the 2014 LP Avoidance Action
Claims and the 2014 LP Partnership Related Claims shall constitute the representative of the 2014
LP bankruptcy estate for purposes of prosecuting the 2014 LP Avoidance Action Claims and the
2014 LP Partnership Related Claims.

        3.02 Standing. The Parties stipulate and agree that Payson Petroleum shall have standing
to assert and prosecute on behalf of 2014 LP all 2014 LP Avoidance Action Claims and all 2014
LP Partnership Related Claims.

        3.03 Authority. Subject to Section 6.01, Payson Petroleum shall have exclusive
authority with respect to the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action
Claims and the Payson/2014 LP Partnership Related Claims. The exclusive authority of Payson
Petroleum includes investigation, management and settlement of all litigation related to the 2014
LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the Payson/2014 LP
Partnership Related Claims.

                                                   ARTICLE 4

                                                 Special Counsel

       4.01 Engagement of Counsel. Snow Spence Green LLP is engaged pursuant to the
Special Counsel Engagement Agreement, dated August 15, 2016 (approved by Bankruptcy Court
order dated September 19, 2016), to investigate and prosecute the Payson/3Well LP Partnership
Related Claims.




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        4.02 Engagement Agreement. Snow Spence Green LLP (subject to Bankruptcy Court
approval) is engaged to investigate and prosecute the 2014 LP Avoidance Action Claims and the
2014 LP Partnership Related Claims pursuant to the terms of the Special Counsel Engagement
Agreement attached as Exhibit 2. 2014 LP shall cause an order approving the engagement of
Snow Spence Green LLP and the Special Counsel Engagement Agreement, attached as Exhibit 2,
to be entered in the 2014 LP Bankruptcy Case.

                                                   ARTICLE 5

                                          Application of Recoveries

       5.01 Fees and Expenses. Any Recovery shall be applied first, to satisfy fees pursuant to
the Special Counsel Engagement Agreements and, second, to expenses incurred by Special
Counsel and Payson Petroleum in connection with investigation, prosecution and collection of the
Subject Claims.

       5.02 Disbursement of Net Recoveries. Payson Petroleum is hereby assigned and shall
receive the Payson Petroleum Participation Interest in all (i) 2014 LP Partnership Related Claims
Net Recoveries, (ii) 2014 LP Avoidance Action Claims Net Recoveries, and (iii) Payson/2014 LP
Partnership Related Claims Net Recoveries. 2014 LP is hereby assigned and shall receive the 2014
LP Participation Interest in all (x) 2014 LP Partnership Related Claims Net Recoveries, (y) 2014
LP Avoidance Action Claims Net Recoveries, and (z) Payson/2014 LP Partnership Related Claims
Net Recoveries.

                                                   ARTICLE 6

                                                  Miscellaneous

      6.01       Settlement. Any settlement of a Subject Claim is subject to Bankruptcy Court
approval.

        6.02 Discretion. Payson Petroleum shall determine in its sole discretion the Subject
Claims to investigate and prosecute. Subsequent to October 1, 2018, Payson Petroleum shall, upon
the written request of 2014 LP, release from this Agreement and assign back to 2014 LP any 2014
LP Partnership Related Claim or 2014 LP Avoidance Action Claim which Payson Petroleum
which it has determined that it will not prosecute.
        6.03 Indemnification. 2014 LP hereby indemnifies and holds harmless Payson
Petroleum and its agents, representatives, professionals and employees from and against and in
respect to any and all liabilities, losses, damages, claims, costs and expenses, including, but not
limited to, attorneys’ fees and costs arising out of or due to its actions or omissions, or
consequences of such actions or omissions, with respect to Payson Petroleum’s investigation,
management, prosecution or settlement of the Subject Claims; provided, however, that no such
indemnification will be made to Payson Petroleum for actions or omissions resulting from willful
misconduct, gross negligence or fraud.

        6.04     Entire Agreement. This Agreement, including all exhibits attached hereto and



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made a part hereof, constitute the entire agreement between the Parties with respect to the
transactions contemplated hereby and supersede all prior agreements, understandings, negotiations
and discussions, whether oral or written, of the Parties with respect to such transactions.

        6.05 Survival. All representations, warranties, covenants and agreements of the Parties
made in this Agreement shall survive the execution and delivery of this Agreement until such time
as all of the obligations of the signatories to such document shall have lapsed in accordance with
their respective terms or shall have been discharged in full.

        6.06 Waiver. No waiver by a Party of any of the provisions of this Agreement (a) shall
be binding unless executed in writing by such Party, (b) shall be deemed or shall constitute a
waiver by such Party of any other provision hereof (whether or not similar), and (c) shall not
constitute a continuing waiver by such Party.

       6.07 Further Assurances. The Parties will take such actions and execute and deliver such
other documents or agreements as may be necessary or desirable for the implementation of this
Agreement and the consummation of the transactions contemplated hereby.

        6.08 Notices. Any notice, request, consent, approval, waiver or other communication
provided or permitted to be given under this Agreement shall be in writing and shall be delivered
in person or sent by U.S. mail, overnight courier, electronic mail or fax to the appropriate addresses
set forth below. Any such communication shall be effective upon actual receipt; provided,
however, that in the case of delivery by fax after the normal business hours of the recipient, such
communication shall be effective on the next business day following the transmission of such fax.
For purposes of notice, the addresses of the Parties shall be as follows:

        If to Payson Petroleum:

        Jason R. Searcy
        Searcy & Searcy, P.C.
        446 Forest Square
        Longview, Texas 75605
        Fax: 903.757.3399
        Email: jsearcy@jsearcylaw.com

        with a copy to:

        Blake Hamm
        Snow Spence Green LLP
        2929 Allen Parkway, Suite 2800
        Houston, TX 77019
        Fax: 713.335.4848
        Email: blakehamm@snowspencelaw.com

        If to 2014 LP:




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        Christopher J. Moser
        Quilling, Selander, Lownds, Winslett & Moser, P.C.
        2001 Bryan Street, Ste. 1800
        Dallas, TX 75201
        Fax: 214.871.2111
        Email: cmoser@qslwm.com

        with a copy to:

        Keith W. Harvey
        The Harvey Law Firm, P.C.
        6510 Abrams Road, Ste. 280
        Dallas, TX 75231
        Fax: 972.241.3970
        Email: harvey@keithharveylaw.com

        Each Party shall have the right, upon giving ten (10) days’ prior notice to the other party
in the manner provided in this section, to change its address for purposes of notice.

        6.09 Governing Law and Venue. This Agreement shall be construed and interpreted in
accordance with the laws of the State of Texas, notwithstanding any applicable conflict of laws
provision. Any dispute regarding this Agreement shall be subject to mandatory venue in the United
States Bankruptcy Court for the Eastern District of Texas, Sherman Division.

        6.10 Multiple Counterparts. The Parties agree that facsimile and electronic signatures
shall have the same force and effect as original signatures. This Agreement may be executed in
counterparts and all counterparts so executed shall constitute one agreement which shall be binding
on the Parties hereto.

        6.11 Modification. This Agreement cannot be altered, changed or modified except in
writing executed by a duly authorized representative for each of the Parties.

        6.12 Severability. If any term or other provision of this Agreement is invalid, illegal or
incapable of being enforced by any rule of law or public policy, all other conditions and provisions
of this Agreement shall nevertheless remain in full force and effect so long as the economic or
legal substance of the transactions contemplated hereby is not affected in any adverse manner with
respect to any Party. Upon determination of a court of competent jurisdiction that any term or
other provision of this Agreement is invalid, illegal or incapable of being enforced, the Parties
shall negotiate in good faith to modify this Agreement so as to affect the original intent of the
Parties as closely as possible. The obligations of the Parties hereunder are severable and not joint.

       6.13 Costs and Attorneys’ Fees. If either Party retains an attorney in connection with
any default or to collect, enforce, or defend this Agreement in any lawsuit, reorganization,
bankruptcy or other proceeding, the prevailing party is entitled to collect its reasonable costs and
expenses incurred in any such suit or proceeding, including reasonable attorneys’ fees.




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                                         PAYSON PETROLEUM, INC.


                                         By:
                                                   Jason R. Searcy, Chapter 11 Trustee


                                         PAYSON PETROLEUM 3 WELL 2014, L.P.


                                         By:
                                               Christopher J. Moser, Chapter 7 Trustee




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STATE OF TEXAS                                    §
                                                  §
COUNTY OF GREGG                                   §

       BEFORE ME, the undersigned authority, on this _______ day of ______________ 2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of PAYSON PETROLEUM, INC.,
whose name is subscribed to the foregoing instrument and acknowledged to me that he executed
the same for the purposes and consideration therein expressed.


                                                            ______________________________________
                                                            Notary Public in and for State of Texas
                                                            My Commission Expires:


STATE OF TEXAS                                    §
                                                  §
COUNTY OF ____________                            §

       BEFORE ME, the undersigned authority, on this _______ day of _____________ 2017,
personally appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM
2014, L.P., whose name is subscribed to the foregoing instrument and acknowledged to me that
he executed the same for the purposes and consideration therein expressed.


                                                            ______________________________________
                                                            Notary Public in and for State of Texas
                                                            My Commission Expires:




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                                           __________________, 2017

VIA EMAIL: cmoser@qslwm.com                                     VIA EMAIL: jsearcy@jsearcylaw.com

Mr. Christopher J. Moser                                        Mr. Jason R. Searcy
Quilling, Selander, Lownds, Winslett & Moser, P.C.              Searcy & Searcy, P.C.
2001 Bryan Street, Ste. 1800                                    446 Forest Square
Dallas, TX 75201                                                Longview, TX 75605

        Re:      Proposed Engagement Agreement

                 Bankruptcy Case No. 17-40179; In re Payson Petroleum 3 Well, L.P. in the United
                 States Bankruptcy Court, Eastern District of Texas, Sherman Division (the
                 “Bankruptcy Case”)

Mr. Moser and Mr. Searcy:

        This letter sets forth the terms of engagement of Snow Spence Green LLP (“SSG”) to analyze and
pursue at the discretion of Jason R. Searcy, Chapter 11 Trustee of Payson Petroleum, Inc. certain claims
and causes of action and objections on behalf of the bankruptcy estate of Payson Petroleum 3 Well, L.P.
(“3 Well LP” or “Debtor”). This agreement is entered into pursuant to the terms of a Settlement Agreement
by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC, Jason
Searcy, Chapter 11 Trustee, and (b) Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014, L.P.
and Christopher J. Moser, Chapter 7 Trustee, dated __________, 2017, and is subject to Bankruptcy Court
approval. Upon the execution of this letter agreement, we will prepare for your review and approval a
motion to employ SSG as special litigation counsel under 11 U.S.C. §§ 327(e) and 328.

        Description of Engagement. The client pursuant to this Engagement Agreement is Jason R.
Searcy, Chapter 11 Trustee of Payson Petroleum, Inc., acting in his capacity as a representative of the 3
Well LP bankruptcy estate (“Client”) pursuant to the terms of the Subject Claims Assignment and
Participation Agreement between Payson Petroleum, Inc. and 3 Well LP. The representation by SSG
pursuant to this Agreement would be limited to investigation and prosecution (to the extent determined by
SSG to be cost justified) of the following:

        a.       3 Well LP’s claims and causes of action under either chapter 5 of the United States
                 Bankruptcy Code or any applicable state fraudulent transfer (“Avoidance Actions”); and

        b.       3 Well LP’s rights, claims, causes of action, and rights of contribution against any current
                 or former general partner or limited partner of 3 Well LP, including but not limited to
                 claims under 11 U.S.C. § 723 (“Partnership Related Claims”); and

        c.       objections to the allowance of claims asserted against Debtor as to which claims and causes
                 of action are asserted by Client.


                    2929 ALLEN PARKWAY | SUITE 2800 | HOUSTON, TX 77019
                  MAIN: 713.335.4800 | FAX: 713.335.4848 | SNOWSPENCELAW.COM
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(collectively, the “Subject Matters”). Claims, causes of action and/or objections with respect to a specific
party are referred to as a “Specific Subject Matter”). SSG’s representation of Client pursuant to this
agreement will be limited to the specific matters referenced herein, and SSG is not undertaking, absent a
specific engagement letter to the contrary, to represent Client in other matters or in any general counsel
capacity.

        SSG will be responsible for the drafting of documents, preparation of pleadings, attending court
hearings and trials, participating in negotiations, performing legal research, and conducting conferences,
and consultations as may be necessary to represent you with respect to each claim for which litigation is
commenced.

         Although SSG will endeavor to obtain results satisfactory to Client, we cannot guarantee that we
will be successful. As part of this agreement, Client and Christopher J. Moser, Chapter 7 Trustee of 3 Well
LP (the “3 Well LP Trustee”) acknowledge that (i) neither SSG nor any of its respective professionals have
made any promises or guarantees regarding any outcome of the Subject Matters and that no guarantees or
promises can be made regarding the outcome thereof; (ii) neither SSG nor any of its respective professionals
have made any promises or guarantees regarding the length of time required to obtain the resolution of the
Subject Matters; and (iii) either at the beginning or during the course of its representation, SSG may express
its opinions or beliefs concerning the Subject Matters and the results that might be anticipated; but that any
such statement(s) are intended to be an expression of opinion only, based on information available at the
time, and must not be construed by Client or 3 Well LP Trustee as a promise or guarantee, as no such
promises or guarantees are possible.

        Client and 3 Well LP Trustee acknowledge and agree that SSG is under no obligation to represent
them with respect to a Subject Matter if SSG determines, in its sole discretion, that pursuit of any particular
Subject Matter is not cost justified.

        To enable SSG to effectively perform the contemplated services, it is essential that Client and the
3 Well LP Trustee disclose fully and accurately all facts and keep us apprised of all developments relating
to the Subject Matters. Client and the 3 Well LP Trustee agree to cooperate fully with SSG and to make
themselves and their representatives available to attend meetings, conferences, hearings and other
proceedings.

         Legal Fees. The representation will be handled on a contingency fee basis with SSG’s fee being
dependent upon recovery through settlement or trial, except in the event of discharge or withdrawal from
representation as provided below. The fees to be paid to SSG will be a percentage of the “Recovery” (as
defined below) realized with respect to each Specific Subject Matter. The Client and the 3 Well LP Trustee
agree to pay SSG a contingent fee based upon (i) the outcome achieved with respect to each Specific Subject
Matter, and (ii) the occurrence of specified benchmark events with respect to each Specific Subject Matter.
The agreed upon percentages and benchmarks are set forth below:
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           Fees as a
           Percent of
           Recovery                                        Benchmark Event

              33%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter prior to the earlier of (i) submission of a proposed joint
                            pre-trial order, or (ii) submission of a position statement to an agreed
                            upon or court appointed mediator for the Specific Subject Matter.

              35%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after submission of a position statement to an agreed upon
                            or court appointed mediator for a Specific Subject Matter.

              40%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after the earlier of (i) conclusion of an unsuccessful
                            mediation, or (ii) submission of a proposed joint pre-trial order.

The Client and the 3 Well LP Trustee acknowledge that the foregoing contingency fee terms are not set by
law, but are negotiable, and have been negotiated, between the Client, the 3 Well LP Trustee.

         The term “Recovery” shall mean (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Client and/or the 3 Well LP Trustee as of the date of recovery, plus (iii) the value
of any claim that is released or disallowed, plus (iv) the value of any potential unsecured claim based upon
§ 502(h) of the Bankruptcy Code that is released or disallowed. The dollar amount of each Recovery with
respect to a Specific Subject Matter will be calculated before deduction of any applicable expenses of the
lawsuit. For purposes of this agreement, if a proof of claim was filed by the subject creditor, the dollar
amount of a the claim released or disallowed (other than any claim under § 506(h) of the Bankruptcy Code)
will be determined based upon the dollar amount set forth in the proof of claim filed by the subject creditor
which is released or disallowed. If a proof of claim was not filed by the subject creditor, the dollar amount
released or disallowed will be determined based upon the dollar amount set forth in the Schedules and
Assets and Liabilities filed in the bankruptcy cases by 3 Well LP with respect to the subject creditor which
is released or disallowed. For purposes of this agreement, the value of each dollar of each pre-petition
claim or administrative claim released or disallowed will be determined based on the projected percentage
recovery of the applicable class of claim. For example, if the projected recovery by unsecured claim holders
was 25% on the dollar, then the value of each dollar of unsecured claim released or discharged would be
.25¢.

         Subject to the terms of this Agreement, the Client and the 3 Well LP Trustee hereby convey,
transfer, and assign to SSG an undivided interest in the Subject Matters, such interest being equal to the
amount of the percentages therein described above.

         Out-of-Pocket Expenses. Client and the 3 Well LP Trustee acknowledge and agree that in
connection with investigation and prosecution of the Subject Matters, the services of third parties will be
necessary. Such other persons and entities may include, but are not limited to, court reporters, accountants,
investigators and expert witnesses. Such third party fees and expenses will be billed directly to Client.
Client will be responsible for paying fees and expenses of third parties. In the event that there are
insufficient funds in the estate to timely pay for the third party services, SSG will advance the amount
necessary and such advances will be treated as reimbursable expenses.
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        Client and the 3 Well LP Trustee further acknowledge that SSG will incur various expenses in
providing services to Client. Client agrees to reimburse SSG for all out-of-pocket expenses paid by SSG.
Such expenses include, but are not limited to, charges for serving and filing papers, courier or messenger
services, recording and certifying documents, depositions, transcripts, investigations, witnesses, long
distance telephone calls, copying materials, and travel expenses. Expenses advanced by SSG would be
reimbursed by Client solely out of Recoveries.

        Settlements. Any settlement offer received by SSG will be immediately conveyed to Client and
the 3 Well LP Trustee with our recommendation for acceptance or rejection. Any settlement offer received
by Client and the 3 Well LP Trustee will be conveyed to SSG for notice purposes only.

         No settlement of any nature shall be made for the Subject Matters without the approval of
Client and the United States Bankruptcy Court. Client acknowledges that all communications from
adverse parties or their counsel in connection with the Subject Matters are required to be directed to SSG,
as counsel, pursuant to Texas Disciplinary Rule of Professional Conduct 4.02; and Client agrees to instruct
all adverse parties and their counsel to communicate only through SSG, unless SSG agrees otherwise.

         Conflict Matters. SSG has represented and currently represents Client on an ongoing basis with
matters related to this Bankruptcy Case and other cases including, but not limited to, matters in the
following bankruptcy cases: (i) In re Payson Petroleum, Inc. (Bankruptcy Case No. 16-41044); (ii) In re
Payson Operating, LLC (Bankruptcy Case No. 16-41045); (iii) In re Maricopa Resources, LLC
(Bankruptcy Case No. 16-41043); and (iv) In re Payson Petroleum 3 Well 2014, L.P. (Bankruptcy Case
No. 17-40180). While SSG does not anticipate that its prior and/or current representation of Client will
adversely affect Client’s or 3 Well LP Trustee’s interests in the Subject Matters, applicable rules of
professional conduct require that SSG obtain Client’s consent to its representation of Client with respect to
the Subject Matters. Client acknowledges his express and informed consent to SSG’s representation of
Client with respect to the Subject Matters as well as SSG’s continuing representation of Client in other
matters, including related matters. 3 Well LP Trustee acknowledges that he is aware that SSG represents
Client in other matters, including the above-referenced related matters, and waives any conflict relating
thereto.

         If a controversy arises between you and any other client of SSG, SSG, after taking into account the
applicable rules of professional ethics, may decline to represent you or such other client or both you and
such other client. Following the conclusion of our representation of you in this matter, SSG reserves the
right to represent other future clients on unrelated matters which may be adverse to your interests.

         Withdrawal/Termination of Representation. Our representation may be terminated prior to the
conclusion of the Subject Matters covered under this engagement letter by written notice to the other party.
SSG reserves the right to withdraw from its representation if, among other things, Client fails to honor the
terms of this engagement letter or fails to cooperate or follow SSG’s advice on a material matter, or if any
fact or circumstance would, in SSG’s view, render our continuing representation unlawful, unethical or
ineffective. No such termination or withdrawal, however, will relieve Client of the obligation to pay the
legal fees owed for services performed and other charges owing to SSG as set forth in this agreement.

         Work Files – Retention and Disposition. SSG will maintain all documents furnished to us in our
files for this matter. At the conclusion of the matter covered under this engagement letter (or earlier, if
appropriate), it is Client’s and the 3 Well LP Trustee’s obligation to advise us as to which, if any, documents
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in our files they wish SSG to return. SSG may keep copies thereof for our records to the extent we believe
advisable. SSG will retain any remaining documents in our files for a period of one (1) year following
conclusion of our representation in this matter. THEREAFTER, SUCH FILES MAY, AT OUR SOLE
DISCRETION AND WITHOUT FURTHER NOTICE TO YOU, BE DESTROYED.

         Email Communications. To the extent appropriate, SSG communicates with respective clients
(and others) by means of electronic mail. The use of email has proven over time to be an effective and
efficient means of exchanging both messages and documents. We are mindful of the concerns of some
clients that email transmission could be compromised, and thus prohibit its use or prohibit its use in an
unencrypted form. The use of encryption, however, though intended to be “seamless” in use, has caused
difficulties in communication with some parties. Thus, to avoid the possibility of disruptions in the flow
of information, and prompted by the near-unanimity on the part of bar associations throughout the country,
as well as the American Bar Association, in support of the preservation of attorney-client privileges in
unencrypted email communications, unless specifically instructed by you, we will assume your consent to
use of unencrypted email as a means of communication.

         Approval of Terms of Engagement. If the above and foregoing meets with your understanding,
please so indicate by executing this agreement in the place provided below for your signature. A copy of
this agreement should be retained for your files.

       Bankruptcy Court Approval. The parties acknowledge that the Bankruptcy Court must
approve this agreement.

                                                            Regards,

                                                            SNOW SPENCE GREEN LLP

                                                            By:____________________________________
                                                                   Phil F. Snow


Accepted and Agreed this __________ day of _________________, 2017:



By:
      Christopher J. Moser
      Chapter 7 Trustee for Payson Petroleum 3 Well, L.P.


By:
      Jason R. Searcy
      Chapter 11 Trustee for Payson Petroleum, Inc.




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                                            ________________, 2017

VIA EMAIL: cmoser@qslwm.com                                     VIA EMAIL: jsearcy@jsearcylaw.com

Mr. Christopher J. Moser                                        Mr. Jason R. Searcy
Quilling, Selander, Lownds, Winslett & Moser, P.C.              Searcy & Searcy, P.C.
2001 Bryan Street, Ste. 1800                                    446 Forest Square
Dallas, TX 75201                                                Longview, TX 75605

        Re:      Proposed Engagement Agreement

                 Bankruptcy Case No. 17-40180; In re Payson Petroleum 3 Well 2014, L.P. in the United
                 States Bankruptcy Court, Eastern District of Texas, Sherman Division (the
                 “Bankruptcy Case”)

Mr. Moser and Mr. Searcy:

        This letter sets forth the terms of engagement of Snow Spence Green LLP (“SSG”) to analyze and
pursue at the discretion of Jason R. Searcy, Chapter 11 Trustee of Payson Petroleum, Inc. certain claims
and causes of action and objections on behalf of the bankruptcy estate of Payson Petroleum 3 Well 2014,
L.P. (“2014 LP” or “Debtor”). This agreement is entered into pursuant to the terms of a Settlement
Agreement by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC,
Jason Searcy, Chapter 11 Trustee, and (b) Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014,
L.P. and Christopher J. Moser, Chapter 7 Trustee, dated __________, 2017, and is subject to Bankruptcy
Court approval. Upon the execution of this letter agreement, we will prepare for your review and approval
a motion to employ SSG as special litigation counsel under 11 U.S.C. §§ 327(e) and 328.

         Description of Engagement. The client pursuant to this Engagement Agreement is Jason R.
Searcy, Chapter 11 Trustee of Payson Petroleum, Inc., acting in his capacity as a representative of the 2014
LP bankruptcy estate (“Client”) pursuant to the terms of the Subject Claims Assignment and Participation
Agreement between Payson Petroleum, Inc. and 2014 LP. The representation by SSG pursuant to this
Agreement would be limited to investigation and prosecution (to the extent determined by SSG to be cost
justified) of the following:

        a.       2014 LP’s claims and causes of action under either chapter 5 of the United States
                 Bankruptcy Code or any applicable state fraudulent transfer (“Avoidance Actions”); and

        b.       2014 LP’s rights, claims, causes of action, and rights of contribution against any current or
                 former general partner or limited partner of 2014 LP, including but not limited to claims
                 under 11 U.S.C. § 723 (“Partnership Related Claims”); and

        c.       objections to the allowance of claims asserted against Debtor as to which claims and causes
                 of action are asserted by Client.


                    2929 ALLEN PARKWAY | SUITE 2800 | HOUSTON, TX 77019
                  MAIN: 713.335.4800 | FAX: 713.335.4848 | SNOWSPENCELAW.COM
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(collectively, the “Subject Matters”). Claims, causes of action and/or objections with respect to a specific
party are referred to as a “Specific Subject Matter”). SSG’s representation of Client pursuant to this
agreement will be limited to the specific matters referenced herein, and SSG is not undertaking, absent a
specific engagement letter to the contrary, to represent Client in other matters or in any general counsel
capacity.

        SSG will be responsible for the drafting of documents, preparation of pleadings, attending court
hearings and trials, participating in negotiations, performing legal research, and conducting conferences,
and consultations as may be necessary to represent you with respect to each claim for which litigation is
commenced.

         Although SSG will endeavor to obtain results satisfactory to Client, we cannot guarantee that we
will be successful. As part of this agreement, Client and Christopher J. Moser, Chapter 7 Trustee of 2014
LP (the “2014 LP Trustee”) acknowledge that (i) neither SSG nor any of its respective professionals have
made any promises or guarantees regarding any outcome of the Subject Matters and that no guarantees or
promises can be made regarding the outcome thereof; (ii) neither SSG nor any of its respective professionals
have made any promises or guarantees regarding the length of time required to obtain the resolution of the
Subject Matters; and (iii) either at the beginning or during the course of its representation, SSG may express
its opinions or beliefs concerning the Subject Matters and the results that might be anticipated; but that any
such statement(s) are intended to be an expression of opinion only, based on information available at the
time, and must not be construed by Client or 2014 LP Trustee as a promise or guarantee, as no such promises
or guarantees are possible.

        Client and 2014 LP Trustee acknowledge and agree that SSG is under no obligation to represent
them with respect to a Subject Matter if SSG determines, in its sole discretion, that pursuit of any particular
Subject Matter is not cost justified.

       To enable SSG to effectively perform the contemplated services, it is essential that Client and the
2014 LP Trustee disclose fully and accurately all facts and keep us apprised of all developments relating to
the Subject Matters. Client and the 2014 LP Trustee agree to cooperate fully with SSG and to make
themselves and their representatives available to attend meetings, conferences, hearings and other
proceedings.

         Legal Fees. The representation will be handled on a contingency fee basis with SSG’s fee being
dependent upon recovery through settlement or trial, except in the event of discharge or withdrawal from
representation as provided below. The fees to be paid to SSG will be a percentage of the “Recovery” (as
defined below) realized with respect to each Specific Subject Matter. The Client and the 2014 LP Trustee
agree to pay SSG a contingent fee based upon (i) the outcome achieved with respect to each Specific Subject
Matter, and (ii) the occurrence of specified benchmark events with respect to each Specific Subject Matter.
The agreed upon percentages and benchmarks are set forth below:
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           Fees as a
           Percent of
           Recovery                                        Benchmark Event

              33%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter prior to the earlier of (i) submission of a proposed joint
                            pre-trial order, or (ii) submission of a position statement to an agreed
                            upon or court appointed mediator for the Specific Subject Matter.

              35%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after submission of a position statement to an agreed upon
                            or court appointed mediator for a Specific Subject Matter.

              40%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after the earlier of (i) conclusion of an unsuccessful
                            mediation, or (ii) submission of a proposed joint pre-trial order.

The Client and the 2014 LP Trustee acknowledge that the foregoing contingency fee terms are not set by
law, but are negotiable, and have been negotiated, between the Client, the 2014 LP Trustee.

         The term “Recovery” shall mean (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Client and/or the 2014 LP Trustee as of the date of recovery, plus (iii) the value
of any claim that is released or disallowed, plus (iv) the value of any potential unsecured claim based upon
§ 502(h) of the Bankruptcy Code that is released or disallowed. The dollar amount of each Recovery with
respect to a Specific Subject Matter will be calculated before deduction of any applicable expenses of the
lawsuit. For purposes of this agreement, if a proof of claim was filed by the subject creditor, the dollar
amount of a the claim released or disallowed (other than any claim under § 506(h) of the Bankruptcy Code)
will be determined based upon the dollar amount set forth in the proof of claim filed by the subject creditor
which is released or disallowed. If a proof of claim was not filed by the subject creditor, the dollar amount
released or disallowed will be determined based upon the dollar amount set forth in the Schedules and
Assets and Liabilities filed in the bankruptcy cases by 2014 LP with respect to the subject creditor which
is released or disallowed. For purposes of this agreement, the value of each dollar of each pre-petition
claim or administrative claim released or disallowed will be determined based on the projected percentage
recovery of the applicable class of claim. For example, if the projected recovery by unsecured claim holders
was 25% on the dollar, then the value of each dollar of unsecured claim released or discharged would be
.25¢.

        Subject to the terms of this Agreement, the Client and the 2014 LP Trustee hereby convey, transfer,
and assign to SSG an undivided interest in the Subject Matters, such interest being equal to the amount of
the percentages therein described above.

         Out-of-Pocket Expenses. Client and the 2014 LP Trustee acknowledge and agree that in
connection with investigation and prosecution of the Subject Matters, the services of third parties will be
necessary. Such other persons and entities may include, but are not limited to, court reporters, accountants,
investigators and expert witnesses. Such third party fees and expenses will be billed directly to Client.
Client will be responsible for paying fees and expenses of third parties. In the event that there are
insufficient funds in the estate to timely pay for the third party services, SSG will advance the amount
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Such expenses include, but are not limited to, charges for serving and filing papers, courier or messenger
services, recording and certifying documents, depositions, transcripts, investigations, witnesses, long
distance telephone calls, copying materials, and travel expenses. Expenses advanced by SSG would be
reimbursed by Client solely out of Recoveries.

        Settlements. Any settlement offer received by SSG will be immediately conveyed to Client and
the 2014 LP Trustee with our recommendation for acceptance or rejection. Any settlement offer received
by Client and the 2014 LP Trustee will be conveyed to SSG for notice purposes only.

         No settlement of any nature shall be made for the Subject Matters without the approval of
Client and the United States Bankruptcy Court. Client acknowledges that all communications from
adverse parties or their counsel in connection with the Subject Matters are required to be directed to SSG,
as counsel, pursuant to Texas Disciplinary Rule of Professional Conduct 4.02; and Client agrees to instruct
all adverse parties and their counsel to communicate only through SSG, unless SSG agrees otherwise.

        Conflict Matters. SSG has represented and currently represents Client on an ongoing basis with
matters related to this Bankruptcy Case and other cases including, but not limited to, matters in the
following bankruptcy cases: (i) In re Payson Petroleum, Inc. (Bankruptcy Case No. 16-41044); (ii) In re
Payson Operating, LLC (Bankruptcy Case No. 16-41045); (iii) In re Maricopa Resources, LLC
(Bankruptcy Case No. 16-41043); and (iv) In re Payson Petroleum 3 Well, L.P. (Bankruptcy Case No. 17-
40179). While SSG does not anticipate that its prior and/or current representation of Client will adversely
affect Client’s or 2014 LP Trustee’s interests in the Subject Matters, applicable rules of professional
conduct require that SSG obtain Client’s consent to its representation of Client with respect to the Subject
Matters. Client acknowledges his express and informed consent to SSG’s representation of Client with
respect to the Subject Matters as well as SSG’s continuing representation of Client in other matters,
including related matters. 2014 LP Trustee acknowledges that he is aware that SSG represents Client in
other matters, including the above-referenced related matters, and waives any conflict relating thereto.

         If a controversy arises between you and any other client of SSG, SSG, after taking into account the
applicable rules of professional ethics, may decline to represent you or such other client or both you and
such other client. Following the conclusion of our representation of you in this matter, SSG reserves the
right to represent other future clients on unrelated matters which may be adverse to your interests.

         Withdrawal/Termination of Representation. Our representation may be terminated prior to the
conclusion of the Subject Matters covered under this engagement letter by written notice to the other party.
SSG reserves the right to withdraw from its representation if, among other things, Client fails to honor the
terms of this engagement letter or fails to cooperate or follow SSG’s advice on a material matter, or if any
fact or circumstance would, in SSG’s view, render our continuing representation unlawful, unethical or
ineffective. No such termination or withdrawal, however, will relieve Client of the obligation to pay the
legal fees owed for services performed and other charges owing to SSG as set forth in this agreement.

         Work Files – Retention and Disposition. SSG will maintain all documents furnished to us in our
files for this matter. At the conclusion of the matter covered under this engagement letter (or earlier, if
appropriate), it is Client’s and the 2014 LP Trustee’s obligation to advise us as to which, if any, documents
in our files they wish SSG to return. SSG may keep copies thereof for our records to the extent we believe
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advisable. SSG will retain any remaining documents in our files for a period of one (1) year following
conclusion of our representation in this matter. THEREAFTER, SUCH FILES MAY, AT OUR SOLE
DISCRETION AND WITHOUT FURTHER NOTICE TO YOU, BE DESTROYED.

         Email Communications. To the extent appropriate, SSG communicates with respective clients
(and others) by means of electronic mail. The use of email has proven over time to be an effective and
efficient means of exchanging both messages and documents. We are mindful of the concerns of some
clients that email transmission could be compromised, and thus prohibit its use or prohibit its use in an
unencrypted form. The use of encryption, however, though intended to be “seamless” in use, has caused
difficulties in communication with some parties. Thus, to avoid the possibility of disruptions in the flow
of information, and prompted by the near-unanimity on the part of bar associations throughout the country,
as well as the American Bar Association, in support of the preservation of attorney-client privileges in
unencrypted email communications, unless specifically instructed by you, we will assume your consent to
use of unencrypted email as a means of communication.

         Approval of Terms of Engagement. If the above and foregoing meets with your understanding,
please so indicate by executing this agreement in the place provided below for your signature. A copy of
this agreement should be retained for your files.

       Bankruptcy Court Approval. The parties acknowledge that the Bankruptcy Court must
approve this agreement.

                                                            Regards,

                                                            SNOW SPENCE GREEN LLP

                                                            By:____________________________________
                                                                   Phil F. Snow


Accepted and Agreed this __________ day of _________________, 2017:



By:
      Christopher J. Moser
      Chapter 7 Trustee for Payson Petroleum 3 Well 2014, L.P.


By:
      Jason R. Searcy
      Chapter 11 Trustee for Payson Petroleum, Inc.




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  EXHIBIT 2 TO SETTLEMENT AGREEMENT

3 WELL LP SUBJECT CLAIMS ASSIGNMENT
   AND PARTICIPATION AGREEMENT
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      SUBJECT CLAIMS ASSIGNMENT AND PARTICIPATION AGREEMENT
                             (3 Well LP)

        This Subject Claims Assignment and Participation Agreement (the “Agreement”) is
entered into as of ____________________, 2017 by and between Payson Petroleum, Inc. (“Payson
Petroleum”) and Payson Petroleum 3 Well, L.P. (“3 Well LP”), referred to individually herein as
a “Party” and collectively as, the “Parties.”

                                                RECITALS

      WHEREAS, Christopher J. Moser is the duly appointed Chapter 7 Trustee in the 3 Well
LP Bankruptcy Case (defined below).

       WHEREAS, Jason R. Searcy is the duly appointed Chapter 11 Trustee in the Payson
Petroleum Bankruptcy Case (defined below).

       WHEREAS, 3 Well LP and Payson Petroleum are parties to the Settlement Agreement
(defined below) which provides for entry into this Agreement.

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
contained herein, the Parties hereby agree as follows:

                                                  ARTICLE 1

                                                   Definitions

      1.01 Defined Terms. The following terms, as used in this Agreement, shall have the
meanings indicated below, unless the context otherwise requires:

      “3 Well LP” means Payson Petroleum 3 Well, L.P., Christopher J. Moser in his capacity
of Chapter 7 trustee of Payson Petroleum 3 Well, L.P. and the Payson Petroleum 3 Well L.P.
bankruptcy estate.

        “3 Well LP Avoidance Action Claims” means all claims and causes of action of 3 Well
LP arising under Chapter 5 of the Bankruptcy Code.

       “3 Well LP Avoidance Action Claims Net Recovery” means any Net Recovery for or on
account of the 3 Well LP Avoidance Action Claims.

        “3 Well LP Bankruptcy Case” means Bankruptcy Case No. 17-40179 styled In re Payson
Petroleum 3 Well, L.P., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

       “3 Well LP Participation Interest” means an undivided fifty percent (50%) interest.

       “3 Well LP Partnership Related Claims” means all rights, claims, causes of action and
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rights of contribution of 3 Well LP (independent of Section 2.02 of this Agreement) against any
current or former general partner or limited partner of 3 Well LP, including but not limited to
claims under 11 U.S.C. § 723.

       “3 Well LP Partnership Related Claims Net Recovery” means any Net Recovery for or
on account of the 3 Well LP Partnership Related Claims.

       “Bankruptcy Code” means The Bankruptcy Reform Act of 1978, as codified in title 11
of the United States Code, as now in effect or hereafter amended.

       “Net Recovery” means the Recovery net of all expenses and fees (including Special
Counsel fees) incurred in connection with investigation, prosecution and collection of the Subject
Claims.

        “Payson/3 Well LP Partnership Related Claims” means all rights, claims and causes of
action of Payson Petroleum (independent of Section 2.01 of this Agreement) against any current
or former general partner or limited partner of 3 Well LP.

      “Payson/3 Well LP Partnership Related Claims Net Recovery” means the Net
Recovery for and on account of the Payson/3 Well LP Partnership Related Claims.

      “Payson Petroleum” means Payson Petroleum, Inc., Jason Searcy in his capacity of
Chapter 11 trustee of Payson Petroleum, Inc. and the Payson Petroleum, Inc. bankruptcy estate.

        “Payson Petroleum Bankruptcy Case” means Bankruptcy Case No. 16-41044 styled In
re Payson Petroleum, Inc., Debtor, pending in the United States Bankruptcy Court for the Eastern
District of Texas, Sherman Division.

        “Payson Petroleum Participation Interest” means an undivided fifty percent (50%)
interest.

        “Recovery” means (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Parties for or on account of or in satisfaction or partial satisfaction
thereof with respect to the Subject Claims.

       “Settlement Agreement” means the Settlement Agreement entered into as of August ___,
2017 by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources,
LLC, Jason Searcy, Chapter 11 Trustee for the Searcy Bankruptcy Cases, and (b) Payson
Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014, L.P. and Christopher J. Moser, Chapter 7
Trustee for the Moser Bankruptcy Cases.

        “Settlement Approval Order” has the meaning defined in the Settlement Agreement.

        “Special Counsel” means Snow Spence Green LLP.

        “Special Counsel Engagement Agreements” means (i) the August 15, 2016 Engagement



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Letter Agreement by and between Snow Spence Green LLP and Jason R. Searcy, Chapter 11
Trustee of Payson Petroleum, Inc., Maricopa Resources, LLC and Payson Operating, LLC, (ii) the
Engagement Letter Agreement between 2014 LP, 3 Well LP, Payson Petroleum and Snow Spence
Green LLP substantially in the form of Exhibit 1, and (iii) the Engagement Letter Agreement
between 2014 LP, Payson Petroleum and Snow Spence Green LLP in the form of Exhibit 2.

       “Subject Claims” means all 3 Well LP Avoidance Action Claims, all 3 Well LP
Partnership Related Claims and all Payson/3 Well LP Partnership Related Claims.

        1.02 Amendment of Defined Instruments. Unless the context otherwise requires or
unless otherwise provided herein, the terms defined in this Agreement which refer to a particular
agreement, instrument or document also refer to and include all renewals, extensions,
modifications, amendments and restatements of such agreement, instrument or document. Nothing
contained in this Agreement will be construed to authorize any renewal, extension, modification,
amendment or restatement of this Agreement or any agreement, instrument or document referred
to herein.

        1.03 References and Titles. All references in this Agreement to Exhibits, Articles,
Sections, subsections and other subdivisions refer to the Exhibits, Articles, Sections, subsections
and other subdivisions of this Agreement unless expressly provided otherwise. Titles appearing
at the beginning of any subdivisions are for convenience only, do not constitute any part of those
subdivisions and will be disregarded in construing the language contained in those subdivisions.
The words “this Agreement,” “this instrument,” “herein,” “hereof,” “hereby,” “hereunder” and
words of similar import refer to this Agreement as a whole and not to any particular subdivision
unless expressly so limited. The phrases “this section” and “this subsection” and similar phrases
refer only to the sections or subsections of this Agreement in which those phrases occur. The word
“or” is not exclusive; the word “including” (in its various forms) means “including without
limitation.” Pronouns in masculine, feminine and neuter genders shall be construed to include any
other gender, and words in the singular form shall be construed to include the plural and vice versa,
unless the context otherwise requires. The word “will” shall be construed to have the same
meaning and effect as the word “shall.” Unless the context requires otherwise (a) any reference
herein to any law shall be construed as referring to such law as amended, modified, codified or
reenacted, in whole or in part, and in effect from time to time; (b) any reference herein to any
person shall be construed to include such person's successors and assigns (subject to the restrictions
contained herein); (c) with respect to the determination of any time period, the word “from” means
“from and including” and the word “to” means “to and including;” and (d) all dollar amounts refer
to United States dollars. A reference herein to a number of “days” will be intended to refer to that
number of calendar (as opposed to working) days, unless otherwise specifically provided. No
provision of this Agreement shall be interpreted or construed more strictly against any person
solely because such person or its legal representative drafted such provision.

                                                   ARTICLE 2

                                                    Assignment

      2.01 Assignment by 3 Well LP of Participation Interest. 3 Well LP hereby absolutely
and unconditionally sells, transfers and assigns to Payson Petroleum, the Payson Petroleum


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Participation Interest in (i) the 3 Well LP Avoidance Action Claims Net Recovery, and (ii) the 3
Well LP Partnership Related Claims Net Recovery.

        2.02 Assignment by Payson Petroleum of Participation Interest. Payson Petroleum
hereby absolutely and unconditionally sells, transfers and assigns to 3 Well LP, the 3 Well LP
Participation Interest in the Payson/3 Well LP Partnership Related Claims Net Recovery.

                                                   ARTICLE 3

                                Preservation, Prosecution and Authority

       3.01 Preservation. 3 Well LP retains all 3 Well LP Avoidance Action Claims and all 3
Well LP Partnership Related Claims subject to the Payson Petroleum Participation Interest and
Payson Petroleum’s rights hereunder. Upon entry of the Settlement Approval Order in the 3 Well
LP Bankruptcy Case and execution of this Agreement, Payson Petroleum is vested with and may
enforce and prosecute (or determine to do any of the foregoing) the 3 Well LP Avoidance Action
Claims and 3 Well LP Partnership Related Claims without further order of the Bankruptcy Court.
Payson Petroleum’s right to commence, prosecute or settle 3 Well LP Avoidance Action Claims
and 3 Well LP Partnership Related Claims shall be preserved. No preclusion doctrine, including
the doctrines of res judicata; collateral estoppel, issue preclusion, claim preclusion, estoppel shall
apply to the 3 Well LP Avoidance Action Claims or 3 Well LP Partnership Related Claims by
virtue of entry into this Agreement. Payson Petroleum in connection with the 3 Well LP
Avoidance Action Claims and the 3 Well LP Partnership Related Claims shall constitute the
representative of the 3 Well LP bankruptcy estate for purposes of prosecuting the 3 Well LP
Avoidance Action Claims and the 3 Well LP Partnership Related Claims.

        3.02 Standing. The Parties stipulate and agree that Payson Petroleum shall have standing
to assert and prosecute on behalf of 3 Well LP all 3 Well LP Avoidance Action Claims and all 3
Well LP Partnership Related Claims.

        3.03 Authority. Subject to Section 6.01, Payson Petroleum shall have exclusive
authority with respect to the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance
Action Claims and the Payson/3Well LP Partnership Related Claims. The exclusive authority of
Payson Petroleum includes investigation, management and settlement of all litigation related to
the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the
Payson/3 Well LP Partnership Related Claims.

                                                   ARTICLE 4

                                                 Special Counsel

       4.01 Engagement of Counsel. Snow Spence Green LLP is engaged pursuant to the
Special Counsel Engagement Agreement, dated August 15, 2016 (approved by Bankruptcy Court
order dated September 19, 2016), to investigate and prosecute the Payson/3Well LP Partnership
Related Claims.




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        4.02 Engagement Agreement. Snow Spence Green LLP (subject to Bankruptcy Court
approval) is engaged to investigate and prosecute the 3 Well LP Avoidance Action Claims and the
3 Well LP Partnership Related Claims pursuant to the terms of the Special Counsel Engagement
Agreement attached as Exhibit 1. 3 Well LP shall cause an order approving the engagement of
Snow Spence Green LLP and the Special Counsel Engagement Agreement, attached as Exhibit 1,
to be entered in the 3 Well LP Bankruptcy Case.

                                                   ARTICLE 5

                                          Application of Recoveries

       5.01 Fees and Expenses. Any Recovery shall be applied first, to satisfy fees pursuant to
the Special Counsel Engagement Agreements and, second, to expenses incurred by Special
Counsel and Payson Petroleum in connection with investigation, prosecution and collection of the
Subject Claims.

        5.02 Disbursement of Net Recoveries. Payson Petroleum is hereby assigned and shall
receive the Payson Petroleum Participation Interest in all (i) 3 Well LP Partnership Related Claims
Net Recoveries, (ii) 3 Well LP Avoidance Action Claims Net Recoveries, and (iii) Payson/3Well
LP Partnership Related Claims Net Recoveries. 3 Well LP is hereby assigned and shall receive
the 3 Well LP Participation Interest in all (x) 3 Well LP Partnership Related Claims Net
Recoveries, (y) 3 Well LP Avoidance Action Claims Net Recoveries, and (z) Payson/3 Well LP
Partnership Related Claims Net Recoveries.

                                                   ARTICLE 6

                                                  Miscellaneous

      6.01       Settlement. Any settlement of a Subject Claim is subject to Bankruptcy Court
approval.

        6.02 Discretion. Payson Petroleum shall determine in its sole discretion the Subject
Claims to investigate and prosecute. Subsequent to October 1, 2018, Payson Petroleum shall, upon
the written request of 3 Well LP, release from this Agreement and assign back to 3 Well LP any 3
Well LP Partnership Related Claim or 3 Well LP Avoidance Action Claim which Payson
Petroleum which it has determined that it will not prosecute.

        6.03 Indemnification. 3 Well LP hereby indemnifies and holds harmless Payson
Petroleum and its agents, representatives, professionals and employees from and against and in
respect to any and all liabilities, losses, damages, claims, costs and expenses, including, but not
limited to, attorneys’ fees and costs arising out of or due to its actions or omissions, or
consequences of such actions or omissions, with respect to Payson Petroleum’s investigation,
management, prosecution or settlement of the Subject Claims; provided, however, that no such
indemnification will be made to Payson Petroleum for actions or omissions resulting from willful
misconduct, gross negligence or fraud.




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        6.04 Entire Agreement. This Agreement, including all exhibits attached hereto and
made a part hereof, constitute the entire agreement between the Parties with respect to the
transactions contemplated hereby and supersede all prior agreements, understandings, negotiations
and discussions, whether oral or written, of the Parties with respect to such transactions.

        6.05 Survival. All representations, warranties, covenants and agreements of the Parties
made in this Agreement shall survive the execution and delivery of this Agreement until such time
as all of the obligations of the signatories to such document shall have lapsed in accordance with
their respective terms or shall have been discharged in full.

        6.06 Waiver. No waiver by a Party of any of the provisions of this Agreement (a) shall
be binding unless executed in writing by such Party, (b) shall be deemed or shall constitute a
waiver by such Party of any other provision hereof (whether or not similar), and (c) shall not
constitute a continuing waiver by such Party.

       6.07 Further Assurances. The Parties will take such actions and execute and deliver such
other documents or agreements as may be necessary or desirable for the implementation of this
Agreement and the consummation of the transactions contemplated hereby.

        6.08 Notices. Any notice, request, consent, approval, waiver or other communication
provided or permitted to be given under this Agreement shall be in writing and shall be delivered
in person or sent by U.S. mail, overnight courier, electronic mail or fax to the appropriate addresses
set forth below. Any such communication shall be effective upon actual receipt; provided,
however, that in the case of delivery by fax after the normal business hours of the recipient, such
communication shall be effective on the next business day following the transmission of such fax.
For purposes of notice, the addresses of the Parties shall be as follows:

        If to Payson Petroleum:

        Jason R. Searcy
        Searcy & Searcy, P.C.
        446 Forest Square
        Longview, Texas 75605
        Fax: 903.757.3399
        Email: jsearcy@jsearcylaw.com

        with a copy to:

        Blake Hamm
        Snow Spence Green LLP
        2929 Allen Parkway, Suite 2800
        Houston, TX 77019
        Fax: 713.335.4848
        Email: blakehamm@snowspencelaw.com

        If to 3 Well LP:



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        Christopher J. Moser
        Quilling, Selander, Lownds, Winslett & Moser, P.C.
        2001 Bryan Street, Ste. 1800
        Dallas, TX 75201
        Fax: 214.871.2111
        Email: cmoser@qslwm.com

        with a copy to:

        Keith W. Harvey
        The Harvey Law Firm, P.C.
        6510 Abrams Road, Ste. 280
        Dallas, TX 75231
        Fax: 972.241.3970
        Email: harvey@keithharveylaw.com

        Each Party shall have the right, upon giving ten (10) days’ prior notice to the other party
in the manner provided in this section, to change its address for purposes of notice.

        6.09 Governing Law and Venue. This Agreement shall be construed and interpreted in
accordance with the laws of the State of Texas, notwithstanding any applicable conflict of laws
provision. Any dispute regarding this Agreement shall be subject to mandatory venue in the United
States Bankruptcy Court for the Eastern District of Texas, Sherman Division.

        6.10 Multiple Counterparts. The Parties agree that facsimile and electronic signatures
shall have the same force and effect as original signatures. This Agreement may be executed in
counterparts and all counterparts so executed shall constitute one agreement which shall be binding
on the Parties hereto.

        6.11 Modification. This Agreement cannot be altered, changed or modified except in
writing executed by a duly authorized representative for each of the Parties.

        6.12 Severability. If any term or other provision of this Agreement is invalid, illegal or
incapable of being enforced by any rule of law or public policy, all other conditions and provisions
of this Agreement shall nevertheless remain in full force and effect so long as the economic or
legal substance of the transactions contemplated hereby is not affected in any adverse manner with
respect to any Party. Upon determination of a court of competent jurisdiction that any term or
other provision of this Agreement is invalid, illegal or incapable of being enforced, the Parties
shall negotiate in good faith to modify this Agreement so as to affect the original intent of the
Parties as closely as possible. The obligations of the Parties hereunder are severable and not joint.

       6.13 Costs and Attorneys’ Fees. If either Party retains an attorney in connection with
any default or to collect, enforce, or defend this Agreement in any lawsuit, reorganization,
bankruptcy or other proceeding, the prevailing party is entitled to collect its reasonable costs and
expenses incurred in any such suit or proceeding, including reasonable attorneys’ fees.



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                                         PAYSON PETROLEUM, INC.


                                         By:
                                                   Jason R. Searcy, Chapter 11 Trustee


                                         PAYSON PETROLEUM 3 WELL, L.P.


                                         By:
                                               Christopher J. Moser, Chapter 7 Trustee




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STATE OF TEXAS                                  §
                                                §
COUNTY OF GREGG                                 §

       BEFORE ME, the undersigned authority, on this _______ day of ______________ 2017,
personally appeared Jason R. Searcy, the Chapter 11 Trustee of PAYSON PETROLEUM, INC.,
whose name is subscribed to the foregoing instrument and acknowledged to me that he executed
the same for the purposes and consideration therein expressed.


                                                          ______________________________________
                                                          Notary Public in and for State of Texas
                                                          My Commission Expires:


STATE OF TEXAS                                  §
                                                §
COUNTY OF ____________                          §

       BEFORE ME, the undersigned authority, on this _______ day of _____________ 2017,
personally appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM 3
WELL, L.P., whose name is subscribed to the foregoing instrument and acknowledged to me that
he executed the same for the purposes and consideration therein expressed.


                                                          ______________________________________
                                                          Notary Public in and for State of Texas
                                                          My Commission Expires:




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                                               _____________, 2017

VIA EMAIL: cmoser@qslwm.com                                     VIA EMAIL: jsearcy@jsearcylaw.com

Mr. Christopher J. Moser                                        Mr. Jason R. Searcy
Quilling, Selander, Lownds, Winslett & Moser, P.C.              Searcy & Searcy, P.C.
2001 Bryan Street, Ste. 1800                                    446 Forest Square
Dallas, TX 75201                                                Longview, TX 75605

        Re:      Proposed Engagement Agreement

                 Bankruptcy Case No. 17-40179; In re Payson Petroleum 3 Well, L.P. in the United
                 States Bankruptcy Court, Eastern District of Texas, Sherman Division (the
                 “Bankruptcy Case”)

Mr. Moser and Mr. Searcy:

        This letter sets forth the terms of engagement of Snow Spence Green LLP (“SSG”) to analyze and
pursue at the discretion of Jason R. Searcy, Chapter 11 Trustee of Payson Petroleum, Inc. certain claims
and causes of action and objections on behalf of the bankruptcy estate of Payson Petroleum 3 Well, L.P.
(“3 Well LP” or “Debtor”). This agreement is entered into pursuant to the terms of a Settlement Agreement
by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC, Jason
Searcy, Chapter 11 Trustee, and (b) Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014, L.P.
and Christopher J. Moser, Chapter 7 Trustee, dated __________, 2017, and is subject to Bankruptcy Court
approval. Upon the execution of this letter agreement, we will prepare for your review and approval a
motion to employ SSG as special litigation counsel under 11 U.S.C. §§ 327(e) and 328.

        Description of Engagement. The client pursuant to this Engagement Agreement is Jason R.
Searcy, Chapter 11 Trustee of Payson Petroleum, Inc., acting in his capacity as a representative of the 3
Well LP bankruptcy estate (“Client”) pursuant to the terms of the Subject Claims Assignment and
Participation Agreement between Payson Petroleum, Inc. and 3 Well LP. The representation by SSG
pursuant to this Agreement would be limited to investigation and prosecution (to the extent determined by
SSG to be cost justified) of the following:

        a.       3 Well LP’s claims and causes of action under either chapter 5 of the United States
                 Bankruptcy Code or any applicable state fraudulent transfer (“Avoidance Actions”); and

        b.       3 Well LP’s rights, claims, causes of action, and rights of contribution against any current
                 or former general partner or limited partner of 3 Well LP, including but not limited to
                 claims under 11 U.S.C. § 723 (“Partnership Related Claims”); and

        c.       objections to the allowance of claims asserted against Debtor as to which claims and causes
                 of action are asserted by Client.


                    2929 ALLEN PARKWAY | SUITE 2800 | HOUSTON, TX 77019
                  MAIN: 713.335.4800 | FAX: 713.335.4848 | SNOWSPENCELAW.COM
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(collectively, the “Subject Matters”). Claims, causes of action and/or objections with respect to a specific
party are referred to as a “Specific Subject Matter”). SSG’s representation of Client pursuant to this
agreement will be limited to the specific matters referenced herein, and SSG is not undertaking, absent a
specific engagement letter to the contrary, to represent Client in other matters or in any general counsel
capacity.

        SSG will be responsible for the drafting of documents, preparation of pleadings, attending court
hearings and trials, participating in negotiations, performing legal research, and conducting conferences,
and consultations as may be necessary to represent you with respect to each claim for which litigation is
commenced.

         Although SSG will endeavor to obtain results satisfactory to Client, we cannot guarantee that we
will be successful. As part of this agreement, Client and Christopher J. Moser, Chapter 7 Trustee of 3 Well
LP (the “3 Well LP Trustee”) acknowledge that (i) neither SSG nor any of its respective professionals have
made any promises or guarantees regarding any outcome of the Subject Matters and that no guarantees or
promises can be made regarding the outcome thereof; (ii) neither SSG nor any of its respective professionals
have made any promises or guarantees regarding the length of time required to obtain the resolution of the
Subject Matters; and (iii) either at the beginning or during the course of its representation, SSG may express
its opinions or beliefs concerning the Subject Matters and the results that might be anticipated; but that any
such statement(s) are intended to be an expression of opinion only, based on information available at the
time, and must not be construed by Client or 3 Well LP Trustee as a promise or guarantee, as no such
promises or guarantees are possible.

        Client and 3 Well LP Trustee acknowledge and agree that SSG is under no obligation to represent
them with respect to a Subject Matter if SSG determines, in its sole discretion, that pursuit of any particular
Subject Matter is not cost justified.

        To enable SSG to effectively perform the contemplated services, it is essential that Client and the
3 Well LP Trustee disclose fully and accurately all facts and keep us apprised of all developments relating
to the Subject Matters. Client and the 3 Well LP Trustee agree to cooperate fully with SSG and to make
themselves and their representatives available to attend meetings, conferences, hearings and other
proceedings.

         Legal Fees. The representation will be handled on a contingency fee basis with SSG’s fee being
dependent upon recovery through settlement or trial, except in the event of discharge or withdrawal from
representation as provided below. The fees to be paid to SSG will be a percentage of the “Recovery” (as
defined below) realized with respect to each Specific Subject Matter. The Client and the 3 Well LP Trustee
agree to pay SSG a contingent fee based upon (i) the outcome achieved with respect to each Specific Subject
Matter, and (ii) the occurrence of specified benchmark events with respect to each Specific Subject Matter.
The agreed upon percentages and benchmarks are set forth below:
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           Fees as a
           Percent of
           Recovery                                        Benchmark Event

              33%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter prior to the earlier of (i) submission of a proposed joint
                            pre-trial order, or (ii) submission of a position statement to an agreed
                            upon or court appointed mediator for the Specific Subject Matter.

              35%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after submission of a position statement to an agreed upon
                            or court appointed mediator for a Specific Subject Matter.

              40%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after the earlier of (i) conclusion of an unsuccessful
                            mediation, or (ii) submission of a proposed joint pre-trial order.

The Client and the 3 Well LP Trustee acknowledge that the foregoing contingency fee terms are not set by
law, but are negotiable, and have been negotiated, between the Client, the 3 Well LP Trustee.

         The term “Recovery” shall mean (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Client and/or the 3 Well LP Trustee as of the date of recovery, plus (iii) the value
of any claim that is released or disallowed, plus (iv) the value of any potential unsecured claim based upon
§ 502(h) of the Bankruptcy Code that is released or disallowed. The dollar amount of each Recovery with
respect to a Specific Subject Matter will be calculated before deduction of any applicable expenses of the
lawsuit. For purposes of this agreement, if a proof of claim was filed by the subject creditor, the dollar
amount of a the claim released or disallowed (other than any claim under § 506(h) of the Bankruptcy Code)
will be determined based upon the dollar amount set forth in the proof of claim filed by the subject creditor
which is released or disallowed. If a proof of claim was not filed by the subject creditor, the dollar amount
released or disallowed will be determined based upon the dollar amount set forth in the Schedules and
Assets and Liabilities filed in the bankruptcy cases by 3 Well LP with respect to the subject creditor which
is released or disallowed. For purposes of this agreement, the value of each dollar of each pre-petition
claim or administrative claim released or disallowed will be determined based on the projected percentage
recovery of the applicable class of claim. For example, if the projected recovery by unsecured claim holders
was 25% on the dollar, then the value of each dollar of unsecured claim released or discharged would be
.25¢.

         Subject to the terms of this Agreement, the Client and the 3 Well LP Trustee hereby convey,
transfer, and assign to SSG an undivided interest in the Subject Matters, such interest being equal to the
amount of the percentages therein described above.

         Out-of-Pocket Expenses. Client and the 3 Well LP Trustee acknowledge and agree that in
connection with investigation and prosecution of the Subject Matters, the services of third parties will be
necessary. Such other persons and entities may include, but are not limited to, court reporters, accountants,
investigators and expert witnesses. Such third party fees and expenses will be billed directly to Client.
Client will be responsible for paying fees and expenses of third parties. In the event that there are
insufficient funds in the estate to timely pay for the third party services, SSG will advance the amount
necessary and such advances will be treated as reimbursable expenses.
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        Client and the 3 Well LP Trustee further acknowledge that SSG will incur various expenses in
providing services to Client. Client agrees to reimburse SSG for all out-of-pocket expenses paid by SSG.
Such expenses include, but are not limited to, charges for serving and filing papers, courier or messenger
services, recording and certifying documents, depositions, transcripts, investigations, witnesses, long
distance telephone calls, copying materials, and travel expenses. Expenses advanced by SSG would be
reimbursed by Client solely out of Recoveries.

        Settlements. Any settlement offer received by SSG will be immediately conveyed to Client and
the 3 Well LP Trustee with our recommendation for acceptance or rejection. Any settlement offer received
by Client and the 3 Well LP Trustee will be conveyed to SSG for notice purposes only.

         No settlement of any nature shall be made for the Subject Matters without the approval of
Client and the United States Bankruptcy Court. Client acknowledges that all communications from
adverse parties or their counsel in connection with the Subject Matters are required to be directed to SSG,
as counsel, pursuant to Texas Disciplinary Rule of Professional Conduct 4.02; and Client agrees to instruct
all adverse parties and their counsel to communicate only through SSG, unless SSG agrees otherwise.

         Conflict Matters. SSG has represented and currently represents Client on an ongoing basis with
matters related to this Bankruptcy Case and other cases including, but not limited to, matters in the
following bankruptcy cases: (i) In re Payson Petroleum, Inc. (Bankruptcy Case No. 16-41044); (ii) In re
Payson Operating, LLC (Bankruptcy Case No. 16-41045); (iii) In re Maricopa Resources, LLC
(Bankruptcy Case No. 16-41043); and (iv) In re Payson Petroleum 3 Well 2014, L.P. (Bankruptcy Case
No. 17-40180). While SSG does not anticipate that its prior and/or current representation of Client will
adversely affect Client’s or 3 Well LP Trustee’s interests in the Subject Matters, applicable rules of
professional conduct require that SSG obtain Client’s consent to its representation of Client with respect to
the Subject Matters. Client acknowledges his express and informed consent to SSG’s representation of
Client with respect to the Subject Matters as well as SSG’s continuing representation of Client in other
matters, including related matters. 3 Well LP Trustee acknowledges that he is aware that SSG represents
Client in other matters, including the above-referenced related matters, and waives any conflict relating
thereto.

         If a controversy arises between you and any other client of SSG, SSG, after taking into account the
applicable rules of professional ethics, may decline to represent you or such other client or both you and
such other client. Following the conclusion of our representation of you in this matter, SSG reserves the
right to represent other future clients on unrelated matters which may be adverse to your interests.

         Withdrawal/Termination of Representation. Our representation may be terminated prior to the
conclusion of the Subject Matters covered under this engagement letter by written notice to the other party.
SSG reserves the right to withdraw from its representation if, among other things, Client fails to honor the
terms of this engagement letter or fails to cooperate or follow SSG’s advice on a material matter, or if any
fact or circumstance would, in SSG’s view, render our continuing representation unlawful, unethical or
ineffective. No such termination or withdrawal, however, will relieve Client of the obligation to pay the
legal fees owed for services performed and other charges owing to SSG as set forth in this agreement.

         Work Files – Retention and Disposition. SSG will maintain all documents furnished to us in our
files for this matter. At the conclusion of the matter covered under this engagement letter (or earlier, if
appropriate), it is Client’s and the 3 Well LP Trustee’s obligation to advise us as to which, if any, documents
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                18-04074
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in our files they wish SSG to return. SSG may keep copies thereof for our records to the extent we believe
advisable. SSG will retain any remaining documents in our files for a period of one (1) year following
conclusion of our representation in this matter. THEREAFTER, SUCH FILES MAY, AT OUR SOLE
DISCRETION AND WITHOUT FURTHER NOTICE TO YOU, BE DESTROYED.

         Email Communications. To the extent appropriate, SSG communicates with respective clients
(and others) by means of electronic mail. The use of email has proven over time to be an effective and
efficient means of exchanging both messages and documents. We are mindful of the concerns of some
clients that email transmission could be compromised, and thus prohibit its use or prohibit its use in an
unencrypted form. The use of encryption, however, though intended to be “seamless” in use, has caused
difficulties in communication with some parties. Thus, to avoid the possibility of disruptions in the flow
of information, and prompted by the near-unanimity on the part of bar associations throughout the country,
as well as the American Bar Association, in support of the preservation of attorney-client privileges in
unencrypted email communications, unless specifically instructed by you, we will assume your consent to
use of unencrypted email as a means of communication.

         Approval of Terms of Engagement. If the above and foregoing meets with your understanding,
please so indicate by executing this agreement in the place provided below for your signature. A copy of
this agreement should be retained for your files.

       Bankruptcy Court Approval. The parties acknowledge that the Bankruptcy Court must
approve this agreement.

                                                            Regards,

                                                            SNOW SPENCE GREEN LLP

                                                            By:____________________________________
                                                                   Phil F. Snow


Accepted and Agreed this __________ day of _________________, 2017:



By:
      Christopher J. Moser
      Chapter 7 Trustee for Payson Petroleum 3 Well, L.P.


By:
      Jason R. Searcy
      Chapter 11 Trustee for Payson Petroleum, Inc.




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Copy\Ex 2 3 Well LP Subject Claims Assign-Participation Agmt\Ex 1 to E20170905 3 Well LP Engagement Agreement.docx
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                        Doc 12-2
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                                               _____________, 2017

VIA EMAIL: cmoser@qslwm.com                                     VIA EMAIL: jsearcy@jsearcylaw.com

Mr. Christopher J. Moser                                        Mr. Jason R. Searcy
Quilling, Selander, Lownds, Winslett & Moser, P.C.              Searcy & Searcy, P.C.
2001 Bryan Street, Ste. 1800                                    446 Forest Square
Dallas, TX 75201                                                Longview, TX 75605

        Re:      Proposed Engagement Agreement

                 Bankruptcy Case No. 17-40180; In re Payson Petroleum 3 Well 2014, L.P. in the United
                 States Bankruptcy Court, Eastern District of Texas, Sherman Division (the
                 “Bankruptcy Case”)

Mr. Moser and Mr. Searcy:

        This letter sets forth the terms of engagement of Snow Spence Green LLP (“SSG”) to analyze and
pursue at the discretion of Jason R. Searcy, Chapter 11 Trustee of Payson Petroleum, Inc. certain claims
and causes of action and objections on behalf of the bankruptcy estate of Payson Petroleum 3 Well 2014,
L.P. (“2014 LP” or “Debtor”). This agreement is entered into pursuant to the terms of a Settlement
Agreement by and between (a) Payson Petroleum, Inc., Payson Operating, LLC, Maricopa Resources, LLC,
Jason Searcy, Chapter 11 Trustee, and (b) Payson Petroleum 3 Well, L.P., Payson Petroleum 3 Well 2014,
L.P. and Christopher J. Moser, Chapter 7 Trustee, dated __________, 2017, and is subject to Bankruptcy
Court approval. Upon the execution of this letter agreement, we will prepare for your review and approval
a motion to employ SSG as special litigation counsel under 11 U.S.C. §§ 327(e) and 328.

         Description of Engagement. The client pursuant to this Engagement Agreement is Jason R.
Searcy, Chapter 11 Trustee of Payson Petroleum, Inc., acting in his capacity as a representative of the 2014
LP bankruptcy estate (“Client”) pursuant to the terms of the Subject Claims Assignment and Participation
Agreement between Payson Petroleum, Inc. and 2014 LP. The representation by SSG pursuant to this
Agreement would be limited to investigation and prosecution (to the extent determined by SSG to be cost
justified) of the following:

        a.       2014 LP’s claims and causes of action under either chapter 5 of the United States
                 Bankruptcy Code or any applicable state fraudulent transfer (“Avoidance Actions”); and

        b.       2014 LP’s rights, claims, causes of action, and rights of contribution against any current or
                 former general partner or limited partner of 2014 LP, including but not limited to claims
                 under 11 U.S.C. § 723 (“Partnership Related Claims”); and

        c.       objections to the allowance of claims asserted against Debtor as to which claims and causes
                 of action are asserted by Client.


                    2929 ALLEN PARKWAY | SUITE 2800 | HOUSTON, TX 77019
                  MAIN: 713.335.4800 | FAX: 713.335.4848 | SNOWSPENCELAW.COM
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(collectively, the “Subject Matters”). Claims, causes of action and/or objections with respect to a specific
party are referred to as a “Specific Subject Matter”). SSG’s representation of Client pursuant to this
agreement will be limited to the specific matters referenced herein, and SSG is not undertaking, absent a
specific engagement letter to the contrary, to represent Client in other matters or in any general counsel
capacity.

        SSG will be responsible for the drafting of documents, preparation of pleadings, attending court
hearings and trials, participating in negotiations, performing legal research, and conducting conferences,
and consultations as may be necessary to represent you with respect to each claim for which litigation is
commenced.

         Although SSG will endeavor to obtain results satisfactory to Client, we cannot guarantee that we
will be successful. As part of this agreement, Client and Christopher J. Moser, Chapter 7 Trustee of 2014
LP (the “2014 LP Trustee”) acknowledge that (i) neither SSG nor any of its respective professionals have
made any promises or guarantees regarding any outcome of the Subject Matters and that no guarantees or
promises can be made regarding the outcome thereof; (ii) neither SSG nor any of its respective professionals
have made any promises or guarantees regarding the length of time required to obtain the resolution of the
Subject Matters; and (iii) either at the beginning or during the course of its representation, SSG may express
its opinions or beliefs concerning the Subject Matters and the results that might be anticipated; but that any
such statement(s) are intended to be an expression of opinion only, based on information available at the
time, and must not be construed by Client or 2014 LP Trustee as a promise or guarantee, as no such promises
or guarantees are possible.

        Client and 2014 LP Trustee acknowledge and agree that SSG is under no obligation to represent
them with respect to a Subject Matter if SSG determines, in its sole discretion, that pursuit of any particular
Subject Matter is not cost justified.

       To enable SSG to effectively perform the contemplated services, it is essential that Client and the
2014 LP Trustee disclose fully and accurately all facts and keep us apprised of all developments relating to
the Subject Matters. Client and the 2014 LP Trustee agree to cooperate fully with SSG and to make
themselves and their representatives available to attend meetings, conferences, hearings and other
proceedings.

         Legal Fees. The representation will be handled on a contingency fee basis with SSG’s fee being
dependent upon recovery through settlement or trial, except in the event of discharge or withdrawal from
representation as provided below. The fees to be paid to SSG will be a percentage of the “Recovery” (as
defined below) realized with respect to each Specific Subject Matter. The Client and the 2014 LP Trustee
agree to pay SSG a contingent fee based upon (i) the outcome achieved with respect to each Specific Subject
Matter, and (ii) the occurrence of specified benchmark events with respect to each Specific Subject Matter.
The agreed upon percentages and benchmarks are set forth below:
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           Fees as a
           Percent of
           Recovery                                        Benchmark Event

              33%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter prior to the earlier of (i) submission of a proposed joint
                            pre-trial order, or (ii) submission of a position statement to an agreed
                            upon or court appointed mediator for the Specific Subject Matter.

              35%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after submission of a position statement to an agreed upon
                            or court appointed mediator for a Specific Subject Matter.

              40%           Of the amount of any Recovery obtained with respect to a Specific
                            Subject Matter after the earlier of (i) conclusion of an unsuccessful
                            mediation, or (ii) submission of a proposed joint pre-trial order.

The Client and the 2014 LP Trustee acknowledge that the foregoing contingency fee terms are not set by
law, but are negotiable, and have been negotiated, between the Client, the 2014 LP Trustee.

         The term “Recovery” shall mean (i) the amount of cash, plus (ii) the fair market value of any other
property recovered by the Client and/or the 2014 LP Trustee as of the date of recovery, plus (iii) the value
of any claim that is released or disallowed, plus (iv) the value of any potential unsecured claim based upon
§ 502(h) of the Bankruptcy Code that is released or disallowed. The dollar amount of each Recovery with
respect to a Specific Subject Matter will be calculated before deduction of any applicable expenses of the
lawsuit. For purposes of this agreement, if a proof of claim was filed by the subject creditor, the dollar
amount of a the claim released or disallowed (other than any claim under § 506(h) of the Bankruptcy Code)
will be determined based upon the dollar amount set forth in the proof of claim filed by the subject creditor
which is released or disallowed. If a proof of claim was not filed by the subject creditor, the dollar amount
released or disallowed will be determined based upon the dollar amount set forth in the Schedules and
Assets and Liabilities filed in the bankruptcy cases by 2014 LP with respect to the subject creditor which
is released or disallowed. For purposes of this agreement, the value of each dollar of each pre-petition
claim or administrative claim released or disallowed will be determined based on the projected percentage
recovery of the applicable class of claim. For example, if the projected recovery by unsecured claim holders
was 25% on the dollar, then the value of each dollar of unsecured claim released or discharged would be
.25¢.

        Subject to the terms of this Agreement, the Client and the 2014 LP Trustee hereby convey, transfer,
and assign to SSG an undivided interest in the Subject Matters, such interest being equal to the amount of
the percentages therein described above.

         Out-of-Pocket Expenses. Client and the 2014 LP Trustee acknowledge and agree that in
connection with investigation and prosecution of the Subject Matters, the services of third parties will be
necessary. Such other persons and entities may include, but are not limited to, court reporters, accountants,
investigators and expert witnesses. Such third party fees and expenses will be billed directly to Client.
Client will be responsible for paying fees and expenses of third parties. In the event that there are
insufficient funds in the estate to timely pay for the third party services, SSG will advance the amount
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        Client and the 2014 LP Trustee further acknowledge that SSG will incur various expenses in
providing services to Client. Client agrees to reimburse SSG for all out-of-pocket expenses paid by SSG.
Such expenses include, but are not limited to, charges for serving and filing papers, courier or messenger
services, recording and certifying documents, depositions, transcripts, investigations, witnesses, long
distance telephone calls, copying materials, and travel expenses. Expenses advanced by SSG would be
reimbursed by Client solely out of Recoveries.

        Settlements. Any settlement offer received by SSG will be immediately conveyed to Client and
the 2014 LP Trustee with our recommendation for acceptance or rejection. Any settlement offer received
by Client and the 2014 LP Trustee will be conveyed to SSG for notice purposes only.

         No settlement of any nature shall be made for the Subject Matters without the approval of
Client and the United States Bankruptcy Court. Client acknowledges that all communications from
adverse parties or their counsel in connection with the Subject Matters are required to be directed to SSG,
as counsel, pursuant to Texas Disciplinary Rule of Professional Conduct 4.02; and Client agrees to instruct
all adverse parties and their counsel to communicate only through SSG, unless SSG agrees otherwise.

        Conflict Matters. SSG has represented and currently represents Client on an ongoing basis with
matters related to this Bankruptcy Case and other cases including, but not limited to, matters in the
following bankruptcy cases: (i) In re Payson Petroleum, Inc. (Bankruptcy Case No. 16-41044); (ii) In re
Payson Operating, LLC (Bankruptcy Case No. 16-41045); (iii) In re Maricopa Resources, LLC
(Bankruptcy Case No. 16-41043); and (iv) In re Payson Petroleum 3 Well, L.P. (Bankruptcy Case No. 17-
40179). While SSG does not anticipate that its prior and/or current representation of Client will adversely
affect Client’s or 2014 LP Trustee’s interests in the Subject Matters, applicable rules of professional
conduct require that SSG obtain Client’s consent to its representation of Client with respect to the Subject
Matters. Client acknowledges his express and informed consent to SSG’s representation of Client with
respect to the Subject Matters as well as SSG’s continuing representation of Client in other matters,
including related matters. 2014 LP Trustee acknowledges that he is aware that SSG represents Client in
other matters, including the above-referenced related matters, and waives any conflict relating thereto.

         If a controversy arises between you and any other client of SSG, SSG, after taking into account the
applicable rules of professional ethics, may decline to represent you or such other client or both you and
such other client. Following the conclusion of our representation of you in this matter, SSG reserves the
right to represent other future clients on unrelated matters which may be adverse to your interests.

         Withdrawal/Termination of Representation. Our representation may be terminated prior to the
conclusion of the Subject Matters covered under this engagement letter by written notice to the other party.
SSG reserves the right to withdraw from its representation if, among other things, Client fails to honor the
terms of this engagement letter or fails to cooperate or follow SSG’s advice on a material matter, or if any
fact or circumstance would, in SSG’s view, render our continuing representation unlawful, unethical or
ineffective. No such termination or withdrawal, however, will relieve Client of the obligation to pay the
legal fees owed for services performed and other charges owing to SSG as set forth in this agreement.

         Work Files – Retention and Disposition. SSG will maintain all documents furnished to us in our
files for this matter. At the conclusion of the matter covered under this engagement letter (or earlier, if
appropriate), it is Client’s and the 2014 LP Trustee’s obligation to advise us as to which, if any, documents
in our files they wish SSG to return. SSG may keep copies thereof for our records to the extent we believe
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advisable. SSG will retain any remaining documents in our files for a period of one (1) year following
conclusion of our representation in this matter. THEREAFTER, SUCH FILES MAY, AT OUR SOLE
DISCRETION AND WITHOUT FURTHER NOTICE TO YOU, BE DESTROYED.

         Email Communications. To the extent appropriate, SSG communicates with respective clients
(and others) by means of electronic mail. The use of email has proven over time to be an effective and
efficient means of exchanging both messages and documents. We are mindful of the concerns of some
clients that email transmission could be compromised, and thus prohibit its use or prohibit its use in an
unencrypted form. The use of encryption, however, though intended to be “seamless” in use, has caused
difficulties in communication with some parties. Thus, to avoid the possibility of disruptions in the flow
of information, and prompted by the near-unanimity on the part of bar associations throughout the country,
as well as the American Bar Association, in support of the preservation of attorney-client privileges in
unencrypted email communications, unless specifically instructed by you, we will assume your consent to
use of unencrypted email as a means of communication.

         Approval of Terms of Engagement. If the above and foregoing meets with your understanding,
please so indicate by executing this agreement in the place provided below for your signature. A copy of
this agreement should be retained for your files.

       Bankruptcy Court Approval. The parties acknowledge that the Bankruptcy Court must
approve this agreement.

                                                            Regards,

                                                            SNOW SPENCE GREEN LLP

                                                            By:____________________________________
                                                                   Phil F. Snow


Accepted and Agreed this __________ day of _________________, 2017:



By:
      Christopher J. Moser
      Chapter 7 Trustee for Payson Petroleum 3 Well 2014, L.P.


By:
      Jason R. Searcy
      Chapter 11 Trustee for Payson Petroleum, Inc.




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  EXHIBIT 3 TO SETTLEMENT AGREEMENT

                    AGREED FINAL JUDGMENT
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                                UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM, INC.,                                      §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                      §
PAYSON OPERATING, LLC,                                       §              Case No. 16-41044
                                                             §
          DEBTORS.                                           §              Chapter 11


JASON R. SEARCY,                                             §
CHAPTER 11 TRUSTEE,                                          §
                                                             §
      Plaintiff,                                             §
                                                             §
vs.                                                          §              Adversary No. 16-04106
                                                             §
PAYSON PETROLEUM 3 WELL, L.P.                                §
& PAYSON PETROLEUM 3 WELL                                    §
2014, L.P.,                                                  §
                                                             §
      Defendants.                                            §

                                        AGREED FINAL JUDGMENT

          ON THIS DATE, came on to be considered the above-entitled and numbered cause

wherein Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa Resources,

LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-41044 is the

“Plaintiff” and Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. are the

“Defendants.”

          After considering the Joint Motion for Entry of Agreed Final Judgment (the “Motion”)

filed by Plaintiff and Defendants, other pleadings on file, and argument of the parties, if any, the

Court hereby finds that the Motion should be granted. The Court further finds that:

          •        Payson Petroleum 3 Well, L.P. (“3 Well LP”) owes Payson Petroleum, Inc.



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(“Payson Petroleum”) the sum of EIGHT MILLION FIVE HUNDRED FIFTY-SEVEN THOUSAND EIGHT

HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS ($8,557,888.50) under that certain October

10, 2013 Subscription Turn Key Agreement between 3 Well LP and Payson Petroleum (the “3

Well LP Turnkey Agreement”);

       •        Payson Petroleum 3 Well 2014, L.P. (“2014 LP”) owes Payson Petroleum the sum

of TWO MILLION SIX HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED                                     AND    50/100 U.S.

DOLLARS ($2,671,900.50) under that certain January 12, 2014 Subscription Turn Key Agreement

between 2014 LP and Payson Petroleum (the “2014 LP Turnkey Agreement”);

       •        On or about Marcy 28, 2016, Maricopa Resources, LLC (“Maricopa”) assigned

certain interests in the William #1H (API # 181-31557), the Crowe #2 (API #181-31543), and the

Elaine #1 (API #181-31547) (collectively the “Subject Wells”) oil and gas wells and related

leaseholds to 3 Well LP and 2014 LP via three (3) certain Wellbore Assignments, Conveyances,

Bills of Sale, and Releases, which were recorded in the real property records of Grayson County,

Texas at Instrument Numbers: 2016-00006064, 2016-00006065, and 2016-00006066 and are

attached hereto as Exhibit 1 (the “Avoidable Assignments”); and

       •        Maricopa made the Avoidable Assignments during the 90-day period preceding the

filing of Maricopa’s bankruptcy petition, while Maricopa was not solvent, in furtherance of a

fraudulent scheme which defrauded Maricopa’s creditors, and without receiving reasonably

equivalent value in return from 3 Well LP or 2014 LP and, therefore, that the Avoidable

Assignments may be avoided pursuant to 11 U.S.C. § 548(a)(1)(A) & (B).

       It is therefore ORDERED, ADJUDGED, AND DECREED that the Motion is Granted;

       It is further ORDERED, ADJUDGED,              AND      DECREED that the Avoidable Assignments are

       constructive and actual fraudulent transfers of the interests set forth therein and are hereby


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        avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B);

        It is further ORDERED, ADJUDGED, AND DECREED that Final Judgment is hereby granted

in favor of:

        •     Payson Petroleum against 3 Well LP in the amount of EIGHT MILLION FIVE
HUNDRED FIFTY-SEVEN THOUSAND EIGHT HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS
($8,557,888.50) on account of 3 Well LP’s breach of the 3 Well LP Turnkey Agreement;

        •      Payson Petroleum against 2014 LP in the principal amount of TWO MILLION SIX
HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED AND 50/100 U.S. DOLLARS ($2,671,900.50)
on account of 2014 LP’s breach of the 2014 LP Turnkey Agreement;

      •      Maricopa against 3 Well LP for the interests transferred to 3 Well LP via the
Avoidable Assignments and/or the value thereof; and

      •      Maricopa against 2014 LP for the interests transferred to 2014 LP via the Avoidable
Assignments and/or the value thereof.

        It is further ORDERED, ADJUDGED, AND DECREED that:

       •       Payson Petroleum shall have an allowed unsecured claim in Bankruptcy Case No.
17-40179 in the amount of EIGHT MILLION FIVE HUNDRED FIFTY-SEVEN THOUSAND EIGHT
HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS ($8,557,888.50) on account of 3 Well LP’s
breach of the 3 Well LP Turnkey Agreement; and

      •        Payson Petroleum shall have an allowed unsecured claim in Bankruptcy Case No.
17-40180 in the amount of TWO MILLION SIX HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED
AND 50/100 U.S. DOLLARS ($2,671,900.50) on account of 2014 LP’s breach of the 2014 LP
Turnkey Agreement.

        This is a Final Judgment. All relief not ordered herein is expressly denied.




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SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE FOR PAYSON PETROLEUM,
INC., PAYSON OPERATING, LLC, AND MARICOPA RESOURCES, LLC

AGREED AS TO FORM AND SUBSTANCE:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE FOR PAYSON PETROLEUM,
INC., PAYSON OPERATING, LLC, AND MARICOPA RESOURCES, LLC



/s/
Keith W. Harvey
State Bar No. 09180100
THE HARVEY LAW FIRM, P.C.
6510 Abrams Road Suite 280
Dallas, Texas 75231
(972) 243-3960 Phone
(972)-241-3970 Facsimile

COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE FOR PAYSON
PETROLEUM 3 WELL, L.P. AND PAYSON PETROLEUM 3 WELL 2014, L.P.




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                             70 2016 00006064
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                                                                                  Instrument Number: 2016-00006064
                                                                                                As
 Recorded On: March 28, 2016                                                                 Recordings

          Parties: MARICOPA RESOURCES LLC                                                                                                           Billable Pages: 6
                   To                    PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                     Number of Pages: 8


     Comment: ASSIGN
                                                                                  ( Parties listed above are for Clerks reference only )

                                                                              ** Examined and Charged as Follows: **
Recordings                                                         36.00
              Total Recording:                                     36.00




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                                                     Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                                                 because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                                  Record and Return To:
       Document Number: 2016-00006064
         Receipt Number: 447187                                                                                          PAYSON PETROLEUM
     Recorded Date/Time: March 28, 2016 12:09:45P                                                                        2652 FM 407 E #250
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS INSTRUMENT BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                   an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                        an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Wellbore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective
August 1, 2015 (the "Effective Date"), is subject to all instruments of record, including land owners royalty interests and
reserved overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

       This Assignment is further subject to that certain Declaration of Pooled Unit - William #lH, dated August 15,
2014, by Maricopa Resources LLC, and recorded in Volume 5650, Page 778 of the Official Public Records of Grayson
County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the "Assets":

        a.     The William # 1H (API # 181-31557) and associated well bore, with a surface location situated at latitude
33° 44' 41" - north, longitude 96° 41' 01" - west, in the east half of the Section 26, BLK 1, 11, 15, 16, JM Dodgin
Survey, Abstract 378, Grayson County, TX, (from the surface of the earth down to the base of the Viola Limestone


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defined as the stratigraphic equivalent of 11,835' as found in the Brown Gas Unit No. l well located in the P. R. Wertz
Survey, Abstract 1387, Grayson County, TX), collectively referred to in this Assignment as the ("Well").

        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive  any  interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

        2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a depth not greater than the base of the Viola Limestone defined as the stratigraphic equivalent of 11,835' as
found in the Brown Gas Unit No. 1 well located in the P.R. Wertz Survey, Abstract 1387, Grayson County, TX and plug
and abandon the Well. Assignees shall not have the right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flow lines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.


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        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all
claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

         11.     Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.


                                                               2016.



ASSIGNOR:
MARICOPA RESOURCES, LLC




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                          3 WELL 2014, L.P.


By: _ _____.'------+---------
Payson Petroleum Grayson, LLC, Ge
Matthew C. Griffin, President



ASSIGNEE:
PAYSON PETRO         UM 3 WELL, L.P.


By: _ _~,___ _-==-=,=:_-..c
Payson Petr eum Grayson, LL
Matthew C. Griffin, President



STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                      _~Jh-~M/4~ __rtl
                                                                          ___:za ___,2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.

                                           ~t~~~.i;.,,-.;.            JANICE SEYDEL
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                                          =..    .•:: NOTARY PUBLIC.STATE OF TEXAS
                                          \~·., l/l COMM. EXP. 04-19-2020
                                           ~,,i:1.~j~\,.:-          NOTARY ID 128960971



STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                        ~/i/1..t&-:
                                                                  2?:,~ , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.


                                             A~7'.~t;.,,-.;.           JANICE SEYDEL
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STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                       'lh~
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of Payson Petroleum Grayson, LLC, General Paitner of Pavson Petroleum 3 Well, L.P.
                                           ~,,,u~~i,,,,              JANICE SEYDEL
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   I. The William #lH (API #181-31557) and associated wellbore, with a surface location situated at latitude 33° 44'
      41" - north, longitude 96° 41' 01" - west, in the east half of the Section 26, BLK 1, 11, 15, 16, JM Dodgin
      Survey, Abstract 378, Grayson County, TX, (from the surface of the earth down to the base of the Viola
      Limestone defined as the stratigraphic equivalent of 11,835' as found in the Brown Gas Unit No. 1 well located in
      the P.R. Wertz Survey, Abstract 1387, Grayson County, TX).

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the William # I H Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
County  Lessor                                                      Lessee                            Volume       Page     Date
Grayson Linda Buechner Byrne, as her separate                       TLPC Holdings, Ltd.               5411         536      11/18/2013
        property
Grayson Steven Buechner                                             TLPC Holdings, Ltd.               5411         532      11/18/2013
Grayson C. Suzanne Buechner, Individually and as                    TLPC Holdings, Ltd.               5411         540      11/18/2013
        Executor of the Estate of Barry L. Buechner,
        Deceased
Grayson Kennedy & Minshew, PC                                       TLPC Holdings, Ltd.               5049         747      11/10/2011
Grayson Kenneth Dolezalek                                           TLPC Holdings, Ltd.               5061         139      9/30/2011
Grayson Louie A. Hattensty, Jr.                                     TLPC Holdings, Ltd.               5057         937      11/10/2011
Grayson Bessie M. Dolezalek                                         TLPC Holdings, Ltd.               5031         870      9/30/2011
Grayson Barbara B. Vogelsang                                        TLPC Holdings, Ltd.               5031         846      9/30/2011
Grayson Burgess E. Buchanan, Jr.                                    TLPC Holdings, Ltd.               5031         854      9/30/2011
Grayson John Yates Buchanan                                         TLPC Holdings, Ltd.               5031         862      9/30/2011
Grayson Susan R. Greene                                             TLPC Holdings, Ltd.               5031         398      8/18/2011
Grayson Hugh Ringgold                                               TLPC Holdings, Ltd.               5031         390      8/18/2011
Grayson Kathryn Michelle Looney                                     TLPC Holdings, Ltd.               5034         673      9/30/2011
Grayson Anita Anderson, Power of Attorney for Gary                  TLPC Holdings, Ltd.               5034         665      9/30/2011
        Michael Looney
Grayson    Charles Evans                                            TLPC Holdings, Ltd.               5036         856      9/30/2011
Grayson    John F. Evans                                            TLPC Holdings, Ltd.               5031         406      9/30/2011
Grayson    Robert Yates Evans Jr.                                   TLPC Holdings, Ltd.               5031         414      9/30/2011
Grayson    SH Productions, Inc.                                     Maricopa Resources, LLC           5464         919      2/24/2014
Grayson    Kathy Reed                                               Maricopa Resources, LLC           5464         927      2/24/2014
Grayson    Kirk E Reed                                              Maricopa Resources, LLC           5464         931      2/24/2014
Grayson    Southstar Energy Corp                                    Maricopa Resources, LLC           5464         915      2/24/2014
Grayson    Washita Mineral Co                                       Maricopa Resources, LLC           5464         923      2/24/2014
Grayson    Endeavor Energy Resources, L.P.                          OKT Resources, LLC                4981         402      2/1/2011


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Grayson   Thomas W. Lett, Individually and as Trustee of OKT Resources, LLC                          4418         520      2/1/2008
          the Sam Lett Testamentary Trust
Grayson   Castello Enterprises, Inc.                               OKT Resources, LLC                4980         156      2/1/2011
Grayson   Wilbur Lee Dean III                                      Matthew A very                    4296         513      4/18/2007
Grayson   Joseph G Jen Dean                                        Matthew A very                    4296         506      4/18/2007
Grayson   Paula Marie Dean Halbach, aka Paula Marie                Matthew A very                    4980         140      4/18/2007
          Dean
Grayson   Landon Boyd Odle                                         Matthew A very                    4760         92       1/31/2007
Grayson   Douglas Kent Odle                                        Matthew A very                    4760         88       3/6/2007
Grayson   Gary Wayne Odle, dealing m his sole and                  Matthew A very                    4296         493      5/10/2007
          separate property
Grayson   LaJuan Odle                                              Matthew A very                    4760         92       1/30/2007
Grayson   Pottsboro Church of Christ                               Matthew A very                    4983         321      4/10/2011
Grayson   Vurlas Lane Wilson, a/k/a Verlas Lane Wilson             Matthew A very                    4296         469      4/27/2007
          and Marjorie Marie Wilson H/W
Grayson   John Robert Hooper                                       Paradise Springs, LLC             4993         305      2/12/2011
Grayson   Berdine Eberhart and Tom Eberhart W/H                    Matthew A very                    4296         441      4/27/2007
Grayson   Terry Lee Garofalo, a married woman dealing              Matthew A very                    4980         144      1/2/2011
          in her sole and separate property
Grayson   Ann W. Tracy, Trustee under the Ann W.                   Matthew A very                    4296         457      6/27/2007
          Tracy Revocable Trust dated January 8, 1991
Grayson   Ilva Wilson, Ind and as Trustee of the James M           Matthew A very                    4297         46       6/27/2007
          Wilson Jr and Ilva Wilson Family Trust
Grayson   Bobby C Wilson                                           Matthew A very                    4296         461      6/27/2007
Grayson   Peggy Ann Gehrig                                         Matthew A very                    4296         449      6/27/2007
Grayson   Thomas J. Wilson                                         Matthew A very                    4296         466      6/27/2007
Grayson   Lee Marjorie Hooper                                      Matthew A very                    4296         454      4/27/2007
Grayson   Berdine Eberhart and Tom Eberhart W/H                    Matthew A very                    4296         441      4/27/2007
Grayson   Terry Lee Garofalo and Marty J. Garofalo,                Matthew A very                    4296         445      4/27/2007
          wife and husband
Grayson   Anadarko E&P Onshore, LLC                                Paradise Springs, LLC             5355         704      8/28/2013
Grayson   Wei-Mar Investments                                      Paradise Springs, LLC             5274         698      3/15/2013
Grayson   PCB Trust, Philip C. Brown, Trustee, and                 Paradise Springs, LLC             5274         701      3/15/2013
          Philip Charles Brown
Grayson   Norman D. O'Neal                                         Paradise Springs, LLC             5367         400      9/10/2013
Grayson   Norman D. O'Neal                                         Paradise Springs, LLC             5002         826      8/21/2011
Grayson   Wei-Mar Investments                                      Paradise Springs, LLC             5002         830      8/21/2011
Grayson   Philip C Brown, a/ka Philip Charles Brown;               Paradise Springs, LLC             5002         834;     8/21/2011
          PCB Trust                                                                                               838
END OF EXHIBIT "A"




WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 6
                                         Case Case
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                                                                                                Grayson County
                                                                                                  Wilma Bush
                                                                                              Grayson County Clerk
                                                                                              Sherman, Texas 75090

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                                                                                 Instrument Number: 2016-00006066
                                                                                               As
 Recorded On: March 28, 2016                                                                Recordings

            Parties: MARICOPA RESOURCES LLC                                                                                                        Billable Pages: 5
                      To                 PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                    Number of Pages: 7


     Comment: ASSIGN
                                                                                 ( Parties listed above are for Clerks reference only)

                                                                             ** Examined and Charged as Follows: **
Recordings                                                        32.00
                 Total Recording:                                 32.00




                                        ************ DO NOT REMOVE. THIS PAGE IS PART OF THE INSTRUMENT************
                                                    Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                                                because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                                 Record and Return To:
       Document Number: 2016-00006066
        Receipt Number: 447187                                                                                          PAYSON PETROLEUM
     Recorded Date/Time: March 28, 2016 12:09:45P                                                                       2652 FM 407 E #250
            Book-Vol/Pg: BK-OR VL-5779 PG-404                                                                           BARTONVILLE TX 76226
           User/ Station: G WHITE - Cashiering Station 1


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                                     ~          COUNTY OF GRAYSON
                                                I hereby certify that this instmment was FILED in the File Number sequence on the date/time



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                                                printed hereon. and was duly RECORDED in the Ofticial Public Records of Grayson County. Texas.




                                                Wilma Blackshear Bush, Grayson County Clerk
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
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DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                   an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Wellbore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective April
9, 2014 (the "Effective Date"), is subject to all instruments ofrecord, including land owners royalty interests and reserved
overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

        This Assignment is further subject to that certain Assignment of Oil and Gas Leases, dated November 23, 2010,
entered into between Atoka Operating, Inc. and Barber Exploration Company, and recorded in Volume 4888, Page 924, of
the Official Public Records of Grayson County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the ("Assets"):

        a.       The Crowe #2 (API #181-31543) and associated wellbore, with a surface location situated at latitude 33°
49' 10" - north, longitude 96° 41' 55" - west, in Section 11, BLK 1, 11, 15, 16, the South 79 acres of the Wood &
Buckles Survey, Abstract 1373, Grayson County, TX, (from the surface of the earth down to the measured depth of
11,164'), collectively referred to in this Assignment as the ("Well").

WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page I
              Case Case
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        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive any interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

         2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a measured depth not greater than 11,164', and plug and abandon the Well. Assignees shall not have the
right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flow lines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.

        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all


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claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

        11.      Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.
                         -?"2...'r,d            i A.,., .~ I
EXECUTED on this       ~~~/-           day of   r,, l(..il.rf1'.\,   2016.


ASSIGNOR:
MARICOPA RESOURCES, LLC




ASSIGNEE:
PAYSON PETROLEUM 3 WELL 2014, L.P.


By:_-<--~----.:+
Payson Petrol um Grayson, LL
Matthew C. Griffin, President

WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE- Page 3
                 Case Case
                      17-40180
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ASSIGNEE:
PAYSON PETROLEUM 3 WELL, L.P.
                                                                                                     '; •.• .'!   ~   .,._




By:. _ _-,IL...L....,,~__.:._.J----=-==--"
Payson Petrol m Grayson, LLC,
Matthew C. Griffin, President



STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on                             ~ Z3 rd.. , 2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.

                                              ~~~~·~i;,,~                JANICE SEYDEL
                                             !il::X::-~\ NOTARY PUBLIC-STATE OF TEXAS
                                             ~/i·•.~.-iJ COMM. EXP.04-19-2020
                                              ~,lf?,~:~,,,-:- NOTARY ID 128960971

STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on                   z:8rj_   ~~  , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.


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                                                 :to~•'"••«•
                                                                       JANICE SEYDEL
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STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on    ~~z.3rj_ , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well, L.P.



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                                                 'to~"'••<..~
                                                                           JANICE SEYDEL
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WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 4
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   1.   The Crowe #2 (API #181-31543) and associated wellbore, with a surface location situated at latitude 33° 49' 10"
        - north, longitude 96° 41' 55" - west, in Section 11, BLK 1, 11, 15, 16, the South 79 acres of the Wood &
        Buckles Survey, Abstract 1373, Grayson County, TX, (from the surface of the earth down to the measured depth
        of 11,164'), collectively referred to in this Assignment as the ("Well").

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the Crowe #2 Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
                                                                                                                                 Effective
County     Lessor                                  Lessee                    Instrument Filed              Volume/Page           Date
Grayson    Marilyn Teresa Morrow                   RWJ Exploration,          Oil, Gas, and Mineral         4724/434              6/12/2009
                                                   LLC                       Lease
Grayson    Samuel Louis Crow                       Atoka Operatinc,          Oil, Gas, and Mineral         4536/579              1/7/2008
                                                   Inc.                      Lease
Grayson    Linda Darnell Lott, acting as           Atoka Operating,          Oil, Gas, and Mineral         4536/566              4/3/2008
           Agent and Attorney-in-Fact for          Inc.                      Lease
           Frank L. Darnell, Sr., a widower
Grayson    Linda Darnell Lott, as                  Atoka Operating,          Oil, Gas, and Mineral         4536/583              4/1/2008
           Independent Executrix of The            Inc.                      Lease
           Estate Dorothy L. Darnell,
           Deceased
Grayson    Allen M. Tonkin, Jr. Revocable          Texas Land &              Memorandum of Oil             4956/294              5/1/2011
           Trust, Allen M. Tonkin Jr.,             Petroleum                 and Gas Lease
           Trustee                                 Company, LLC
Grayson    Nancy P. Tonkin Revocable               Texas Land &              Memorandum of Oil             4956/287              5/1/2011
           Trust, Nancy T. Cutter and Allen        Petroleum                 and Gas Lease
           M. Tonkin, Jr, Trustees                 Company, LLC
Grayson    Nancy T. Cutter Revocable               Texas Land &              Memorandum of Oil             4956/291              5/1/2011
           Trust, Nancy T. Cutter Trustee          Petroleum                 and Gas Lease
                                                   Company, LLC
Grayson    Linley T. Solari Revocable              Texas Land &              Memorandum of Oil             4956/284              5/1/2011
           Trust, Linley T. Solari, Trustee        Petroleum                 and Gas Lease
                                                   Company, LLC
Grayson    Solari Luz, LLC                         Texas Land &              Ratification of Oil and       5043/663              5/1/2011
                                                   Petroleum                 Gas Lease
                                                   Company, LLC
END OF EXHIBIT "A"




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                                                                              Grayson County Clerk
                                                                              Sherman, Texas 75090
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                                                                 Instrument Number: 2016-00006065
                                                                               As
 Recorded On: March 28, 2016                                                Recordings

        Parties: MARICOPA RESOURCES LLC                                                                                            Billable Pages: 5
              To      PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                       Number of Pages: 7


     Comment: ASSIGN
                                                                 ( Parties listed above are for Clerks reference only )

                                                             ** Examined and Charged as Follows: **
Recordings                                        32.00
             Total Recording:                     32.00




                     ************ DO NOT REMOVE. THIS PAGE IS PART OF THE INSTRUMENT************
                                   Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
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        Receipt Number: 447187                                                                          PAYSON PETROLEUM
     Recorded Date/Time: March 28, 2016 12:09:45P                                                       2652 FM 407 E #250
            Book-Vol/Pg: BK-OR VL-5779 PG-397                                                           BARTONVILLE TX 76226
           User/ Station: G WHITE - Cashiering Station 1


                                THE STATE OF TEXAS
                                COUNTY OF GRAYSON
                                I hereby certify that this instrument was FILED in the File Number sequence on the date/time
                                printed hereon, and was duly RECORDED in the Official Public Records of Grayson County. Texas.




                                Wilma Blackshear Bush, Grayson County Clerk
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                                   §
COUNTY OF GRAYSON                  §


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2652 FM 407 E #250
Bartonville, Texas 76226

        This Well bore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective June
2, 2014 (the "Effective Date"), is subject to all instruments ofrecord, including land owners royalty interests and reserved
overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

        This Assignment is further subject to that ce11ain Declaration of Pooled Unit - Elaine #1, dated to be effective
June 1, 2014, by Maricopa Resources LLC, and recorded in Volume 5530, Page 781, of the Official Public Records of
Grayson County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the ("Assets"):

         a.       The Elaine #1 (API #181-31547) and associated wellbore, with a surface location situated at latitude 33°
44' 55" - north, longitude 96° 41' 02" - west, in Section 26, BLK 1, 11, 15, 16, the East half of the J.C. Wade Survey,
Abstract 1382, Grayson County, TX, (from the surface of the earth down to the measured depth of 12,309'), collectively
referred to in this Assignment as the ("Well").

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        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive any interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

         2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a measured depth not greater than 12,309', and plug and abandon the Well. Assignees shall not have the
right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flowlines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.

        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all


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claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

         11.     Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.

EXECUTED on this        z3rJ day of Marc.L                    2016.


ASSIGNOR:
MARICOPA RESOURCES, LLC




ASSIGNEE:
PAYSON PETROLEUM 3 WELL 2014, L.P.


By: _ _ _ _ _ _ _            -#-_


Payson P roleum Grayson, LC, General Partner
Matthew C. Griffin, President

WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 3
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ASSIGNEE:
PAYSON PETROLEUM 3 WELL, L.P.


By:_ _-F-+---=--=--L---.::~~v
Payson Petrol m Grayson, L
Matthew C. Griffin, President




STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                 ___~---~V?
                                                            _'o/YJ    __n_it__, 2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.




STA TE OF TEXAS                   §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                     7rJ/tlU:t-
                                                                -Z,,3 ,,d , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.




STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                     ~ -z.:3rtt- ,2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well, L.P .



                                              .:t~~~'.£Z.'"', . JANICE SEYDEL
                                             {!(-Jj~\NOTAAY PUBLIC-STATE OF TEXAS
                                             \ ~... ~              COMM. EXP. 04-19-2020
                                               "11,,'f.~1,,,,,~    NOTARY ID 128960971




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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   I. The Elaine #1 (API #181-31547) and associated wellbore, with a surface location situated at latitude 33° 44' 55"
        - north, longitude 96° 41' 02" - west, in Section 26, BLK 1, 11, 15, 16, the East half of the J.C. Wade Survey,
        Abstract 1382, Grayson County, TX, (from the surface of the earth down to the measured depth of 12,309'),
        collectively referred to in this Assignment as the ("Well").

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the Elaine # 1 Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
County    Lessor                                                      Lessee                           Volume      Pa2e     Date
Grayson   Linda Buechner Byrne, as her separate                       TLPC Holdings, Ltd.              5411        536      11/18/2013
          property
Grayson       Steven Buechner                                         TLPC Holdings, Ltd.              5411        532      11/18/2013
Grayson       C. Suzanne Buechner, Individually and as                TLPC Holdings, Ltd.              5411        540      11/18/2013
              Executor of the Estate of Barry L. Buechner,
              Deceased
Grayson       Kennedy & Minshew, PC                                   TLPC Holdings, Ltd.              5049        747      11/10/2011
Grayson       Kenneth Dolezalek                                       TLPC Holdings, Ltd.              5061         139     9/30/2011
Grayson       Louie A. Hattensy, Jr.                                  TLPC Holdings, Ltd.              5057        937      11/10/2011
Grayson       Bessie M. Dolezalek                                     TLPC Holdings, Ltd.              5031        870      9/30/2011
Grayson       Barbara B. Vogelsang                                    TLPC Holdings, Ltd.              5031        846      9/30/2011
Grayson       Burgess E. Buchanan, Jr.                                TLPC Holdings, Ltd.              5031        854      9/30/2011
Grayson       John Yates Buchanan                                     TLPC Holdings, Ltd.              5031        862.     9/30/2011
Grayson       Susan R. Greene                                         TLPC Holdings, Ltd.              5031        398      8/18/2011
Grayson       Hugh Ringgold                                           TLPC Holdings, Ltd.              5031        390      8/18/2011
Grayson       Kathryn Michelle Looney                                 TLPC Holdings, Ltd.              5034        673      9/30/2011
Grayson       Anita Anderson, Power of Attorney for Gary              TLPC Holdings, Ltd.              5034        665      9/30/2011
              Michael Looney
Grayson       Charles Evans                                           TLPC Holdings, Ltd.              5036        856      9/30/2011
Grayson       John F. Evans                                           TLPC Holdings, Ltd.              5031        406      9/30/2011
Grayson       Robert Yates Evans Jr.                                  TLPC Holdings, Ltd.              5031        414      9/30/2011
Grayson       SH Productions, Inc.                                    Maricopa Resources, LLC          5464        919      2/24/2014
Grayson       Kathy Reed                                              Maricopa Resources, LLC          5464        927      2/24/2014
Grayson       Kirk E Reed                                             Maricopa Resources, LLC          5464        931      2/24/2014
Grayson       Southstar Energy Corp                                   Maricopa Resources, LLC          5464        915      2/24/2014
Grayson       Washita Mineral Co                                      Maricopa Resources, LLC          5464         923     2/24/2014
Grayson       Carin Isabel Knoop                                      Maricopa Resources, LLC          5464         910     4/7/2014
Grayson       Preston 150 Joint Venture                               Maricopa Resources, LLC          5521         166     3/24/2014
END OF EXHIBIT "A"
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  EXHIBIT 4 TO SETTLEMENT AGREEMENT

               JOINT MOTION FOR ENTRY OF
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                                UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM, INC.,                                      §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                      §
PAYSON OPERATING, LLC,                                       §              Case No. 16-41044
                                                             §
          DEBTORS.                                           §              Chapter 11


JASON R. SEARCY,                                             §
CHAPTER 11 TRUSTEE,                                          §
                                                             §
      Plaintiff,                                             §
                                                             §
vs.                                                          §              Adversary No. 16-04106
                                                             §
PAYSON PETROLEUM 3 WELL, L.P.                                §
& PAYSON PETROLEUM 3 WELL                                    §
2014, L.P.,                                                  §
                                                             §
      Defendants.                                            §

                JOINT MOTION FOR ENTRY OF AGREED FINAL JUDGMENT

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

          COME NOW, Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. in

Bankruptcy Case No. 17-40180 (the “LP Trustee”) to file their Joint Motion for Entry of Agreed

Final Judgment (the “Joint Motion”), and in support thereof, respectfully show unto the Court the

following:




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        1.       On July 13, 2017, Payson Trustee filed his First Amended Complaint in this

adversary proceeding against Payson Petroleum 3 Well, L.P. (“3 Well LP”) and Payson Petroleum

3 Well 2014, L.P. (“2014 LP”) and asserted, inter alia, the following claims:

   •    breach of contract claims on behalf of Payson Petroleum, Inc. (“Payson Petroleum”)
        against 3 Well LP and 2014 LP (collectively the “Defendants”) for failure to pay amounts
        owed under certain “Turnkey Agreements;”

   •    actual and constructive fraudulent transfer claims on behalf of Payson Petroleum against
        Defendants to avoid and recover certain investment amounts Payson Petroleum transferred
        to Defendants;

   •    actual and constructive fraudulent transfer claims on behalf of Maricopa Resources, LLC
        (“Maricopa”) against Defendants to avoid and recover certain wellbore interests that
        Maricopa transferred to Defendants during the 90-day period prior to June 10, 2016 in the
        Elaine No. 1, Crowe No. 2, and William No. 1H Wells (collectively the “Subject Wells”);
        and

   •    preferential transfer claims on behalf of Maricopa against Defendants to avoid and recover
        the interests in the Subject Wells that Mariocpa transferred to Defendants during the 90-
        day period prior to June 10, 2016.

(collectively the “Subject Claims”).

        2.       Following arms-length negotiations, the Payson Trustee and LP Trustee determined

to settle disputes related to the Subject Claims, entered into that certain Settlement Agreement

dated ________, 2017 (the “Agreement”), and filed Joint Motions to Approve Compromise and

Settlement Pursuant to Bankruptcy Rule 9019 in Bankruptcy Case Nos. 16-40144, 17-40179, and

17-40180 (the “Joint Motions to Compromise”) which sought entry of agreed orders in the

applicable bankruptcy cases approving the Agreement (the “Agreed Orders”).

        3.       On __________, the Court entered the Agreed Orders.

        4.       As more fully set forth in the Agreement, Joint Motions to Compromise, and

Agreed Orders, the parties have agreed to entry of the “Agreed Final Judgment” in the form

attached hereto as Exhibit 1 in order to fully resolve the issues in the above-titled adversary


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proceeding.

        WHEREFORE, the Payson Trustee and LP Trustee respectfully request that this Court

enter the Agreed Final Judgment and grant such other and further relief as is just and proper.


Dated: ___, 2017                                       Respectfully submitted,


                                                       By:        /s/
                                                               Phil Snow
                                                               State Bar No. 18812600
                                                               Blake Hamm
                                                               State Bar No. 24069869
                                                               SNOW SPENCE GREEN LLP
                                                               2929 Allen Parkway, Suite 2800
                                                               Houston, Texas 77019
                                                               (713) 335-4800
                                                               (713) 335-4848 (Fax)

                                                               COUNSEL FOR JASON R. SEARCY,
                                                               CHAPTER 11 TRUSTEE FOR PAYSON
                                                               PETROLEUM, INC., PAYSON
                                                               OPERATING, LLC, AND MARICOPA
                                                               RESOURCES, LLC


                                                        By:      /s/
                                                               Keith W. Harvey
                                                               State Bar No. 09180100
                                                               THE HARVEY LAW FIRM, P.C.
                                                               6510 Abrams Road
                                                               Suite 280
                                                               Dallas, Texas 75231
                                                               (972) 243-3960 Phone
                                                               (972)-241-3970 Facsimile

                                                               COUNSEL FOR CHRISTOPHER J.
                                                               MOSER, CHAPTER 7 TRUSTEE FOR
                                                               PAYSON PETROLEUM 3 WELL, L.P.
                                                               AND PAYSON PETROLEUM 3 WELL
                                                               2014, L.P.




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                                       CERTIFICATE OF SERVICE

        I certify that on the ___ day of _________, 2017, a true and correct copy of the above and

foregoing was served on the interested parties via the Court’s ECF notification system.




                                                                          Blake Hamm




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                                UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF TEXAS
                                                                                                                         1
                                        SHERMAN DIVISION

IN RE:                                                       §
                                                             §
PAYSON PETROLEUM, INC.,                                      §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                      §
PAYSON OPERATING, LLC,                                       §              Case No. 16-41044
                                                             §
          DEBTORS.                                           §              Chapter 11


JASON R. SEARCY,                                             §
CHAPTER 11 TRUSTEE,                                          §
                                                             §
      Plaintiff,                                             §
                                                             §
vs.                                                          §              Adversary No. 16-04106
                                                             §
PAYSON PETROLEUM 3 WELL, L.P.                                §
& PAYSON PETROLEUM 3 WELL                                    §
2014, L.P.,                                                  §
                                                             §
      Defendants.                                            §

                                        AGREED FINAL JUDGMENT

          ON THIS DATE, came on to be considered the above-entitled and numbered cause

wherein Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa Resources,

LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-41044 is the

“Plaintiff” and Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. are the

“Defendants.”

          After considering the Joint Motion for Entry of Agreed Final Judgment (the “Motion”)

filed by Plaintiff and Defendants, other pleadings on file, and argument of the parties, if any, the

Court hereby finds that the Motion should be granted. The Court further finds that:

          •        Payson Petroleum 3 Well, L.P. (“3 Well LP”) owes Payson Petroleum, Inc.



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(“Payson Petroleum”) the sum of EIGHT MILLION FIVE HUNDRED FIFTY-SEVEN THOUSAND EIGHT

HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS ($8,557,888.50) under that certain October

10, 2013 Subscription Turn Key Agreement between 3 Well LP and Payson Petroleum (the “3

Well LP Turnkey Agreement”);

       •        Payson Petroleum 3 Well 2014, L.P. (“2014 LP”) owes Payson Petroleum the sum

of TWO MILLION SIX HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED                                     AND    50/100 U.S.

DOLLARS ($2,671,900.50) under that certain January 12, 2014 Subscription Turn Key Agreement

between 2014 LP and Payson Petroleum (the “2014 LP Turnkey Agreement”);

       •        On or about Marcy 28, 2016, Maricopa Resources, LLC (“Maricopa”) assigned

certain interests in the William #1H (API # 181-31557), the Crowe #2 (API #181-31543), and the

Elaine #1 (API #181-31547) (collectively the “Subject Wells”) oil and gas wells and related

leaseholds to 3 Well LP and 2014 LP via three (3) certain Wellbore Assignments, Conveyances,

Bills of Sale, and Releases, which were recorded in the real property records of Grayson County,

Texas at Instrument Numbers: 2016-00006064, 2016-00006065, and 2016-00006066 and are

attached hereto as Exhibit 1 (the “Avoidable Assignments”); and

       •        Maricopa made the Avoidable Assignments during the 90-day period preceding the

filing of Maricopa’s bankruptcy petition, while Maricopa was not solvent, in furtherance of a

fraudulent scheme which defrauded Maricopa’s creditors, and without receiving reasonably

equivalent value in return from 3 Well LP or 2014 LP and, therefore, that the Avoidable

Assignments may be avoided pursuant to 11 U.S.C. § 548(a)(1)(A) & (B).

       It is therefore ORDERED, ADJUDGED, AND DECREED that the Motion is Granted;

       It is further ORDERED, ADJUDGED,              AND      DECREED that the Avoidable Assignments are

       constructive and actual fraudulent transfers of the interests set forth therein and are hereby


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        avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B);

        It is further ORDERED, ADJUDGED, AND DECREED that Final Judgment is hereby granted

in favor of:

        •     Payson Petroleum against 3 Well LP in the amount of EIGHT MILLION FIVE
HUNDRED FIFTY-SEVEN THOUSAND EIGHT HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS
($8,557,888.50) on account of 3 Well LP’s breach of the 3 Well LP Turnkey Agreement;

        •      Payson Petroleum against 2014 LP in the principal amount of TWO MILLION SIX
HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED AND 50/100 U.S. DOLLARS ($2,671,900.50)
on account of 2014 LP’s breach of the 2014 LP Turnkey Agreement;

      •      Maricopa against 3 Well LP for the interests transferred to 3 Well LP via the
Avoidable Assignments and/or the value thereof; and

      •      Maricopa against 2014 LP for the interests transferred to 2014 LP via the Avoidable
Assignments and/or the value thereof.

        It is further ORDERED, ADJUDGED, AND DECREED that:

       •       Payson Petroleum shall have an allowed unsecured claim in Bankruptcy Case No.
17-40179 in the amount of EIGHT MILLION FIVE HUNDRED FIFTY-SEVEN THOUSAND EIGHT
HUNDRED EIGHTY-EIGHT AND 50/100 U.S. DOLLARS ($8,557,888.50) on account of 3 Well LP’s
breach of the 3 Well LP Turnkey Agreement; and

      •        Payson Petroleum shall have an allowed unsecured claim in Bankruptcy Case No.
17-40180 in the amount of TWO MILLION SIX HUNDRED SEVENTY-ONE THOUSAND NINE HUNDRED
AND 50/100 U.S. DOLLARS ($2,671,900.50) on account of 2014 LP’s breach of the 2014 LP
Turnkey Agreement.

        This is a Final Judgment. All relief not ordered herein is expressly denied.




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SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE FOR PAYSON PETROLEUM,
INC., PAYSON OPERATING, LLC, AND MARICOPA RESOURCES, LLC

AGREED AS TO FORM AND SUBSTANCE:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
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Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE FOR PAYSON PETROLEUM,
INC., PAYSON OPERATING, LLC, AND MARICOPA RESOURCES, LLC



/s/
Keith W. Harvey
State Bar No. 09180100
THE HARVEY LAW FIRM, P.C.
6510 Abrams Road Suite 280
Dallas, Texas 75231
(972) 243-3960 Phone
(972)-241-3970 Facsimile

COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE FOR PAYSON
PETROLEUM 3 WELL, L.P. AND PAYSON PETROLEUM 3 WELL 2014, L.P.




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                                                                                  Instrument Number: 2016-00006064
                                                                                                As
 Recorded On: March 28, 2016                                                                 Recordings

          Parties: MARICOPA RESOURCES LLC                                                                                                           Billable Pages: 6
                   To                    PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                     Number of Pages: 8


     Comment: ASSIGN
                                                                                  ( Parties listed above are for Clerks reference only )

                                                                              ** Examined and Charged as Follows: **
Recordings                                                         36.00
              Total Recording:                                     36.00




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                                                     Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                                                 because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                                  Record and Return To:
       Document Number: 2016-00006064
         Receipt Number: 447187                                                                                          PAYSON PETROLEUM
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS INSTRUMENT BEFORE IT IS
FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY NUMBER OR YOUR
DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                   an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                        an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Wellbore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective
August 1, 2015 (the "Effective Date"), is subject to all instruments of record, including land owners royalty interests and
reserved overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

       This Assignment is further subject to that certain Declaration of Pooled Unit - William #lH, dated August 15,
2014, by Maricopa Resources LLC, and recorded in Volume 5650, Page 778 of the Official Public Records of Grayson
County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the "Assets":

        a.     The William # 1H (API # 181-31557) and associated well bore, with a surface location situated at latitude
33° 44' 41" - north, longitude 96° 41' 01" - west, in the east half of the Section 26, BLK 1, 11, 15, 16, JM Dodgin
Survey, Abstract 378, Grayson County, TX, (from the surface of the earth down to the base of the Viola Limestone


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defined as the stratigraphic equivalent of 11,835' as found in the Brown Gas Unit No. l well located in the P. R. Wertz
Survey, Abstract 1387, Grayson County, TX), collectively referred to in this Assignment as the ("Well").

        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive  any  interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

        2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a depth not greater than the base of the Viola Limestone defined as the stratigraphic equivalent of 11,835' as
found in the Brown Gas Unit No. 1 well located in the P.R. Wertz Survey, Abstract 1387, Grayson County, TX and plug
and abandon the Well. Assignees shall not have the right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flow lines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.


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        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all
claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

         11.     Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.


                                                               2016.



ASSIGNOR:
MARICOPA RESOURCES, LLC




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                          3 WELL 2014, L.P.


By: _ _____.'------+---------
Payson Petroleum Grayson, LLC, Ge
Matthew C. Griffin, President



ASSIGNEE:
PAYSON PETRO         UM 3 WELL, L.P.


By: _ _~,___ _-==-=,=:_-..c
Payson Petr eum Grayson, LL
Matthew C. Griffin, President



STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                      _~Jh-~M/4~ __rtl
                                                                          ___:za ___,2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.

                                           ~t~~~.i;.,,-.;.            JANICE SEYDEL
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                                          =..    .•:: NOTARY PUBLIC.STATE OF TEXAS
                                          \~·., l/l COMM. EXP. 04-19-2020
                                           ~,,i:1.~j~\,.:-          NOTARY ID 128960971



STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                        ~/i/1..t&-:
                                                                  2?:,~ , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.


                                             A~7'.~t;.,,-.;.           JANICE SEYDEL
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STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                       'lh~
                                                                7,,5rJ       , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Paitner of Pavson Petroleum 3 Well, L.P.
                                           ~,,,u~~i,,,,              JANICE SEYDEL
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   I. The William #lH (API #181-31557) and associated wellbore, with a surface location situated at latitude 33° 44'
      41" - north, longitude 96° 41' 01" - west, in the east half of the Section 26, BLK 1, 11, 15, 16, JM Dodgin
      Survey, Abstract 378, Grayson County, TX, (from the surface of the earth down to the base of the Viola
      Limestone defined as the stratigraphic equivalent of 11,835' as found in the Brown Gas Unit No. 1 well located in
      the P.R. Wertz Survey, Abstract 1387, Grayson County, TX).

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the William # I H Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
County  Lessor                                                      Lessee                            Volume       Page     Date
Grayson Linda Buechner Byrne, as her separate                       TLPC Holdings, Ltd.               5411         536      11/18/2013
        property
Grayson Steven Buechner                                             TLPC Holdings, Ltd.               5411         532      11/18/2013
Grayson C. Suzanne Buechner, Individually and as                    TLPC Holdings, Ltd.               5411         540      11/18/2013
        Executor of the Estate of Barry L. Buechner,
        Deceased
Grayson Kennedy & Minshew, PC                                       TLPC Holdings, Ltd.               5049         747      11/10/2011
Grayson Kenneth Dolezalek                                           TLPC Holdings, Ltd.               5061         139      9/30/2011
Grayson Louie A. Hattensty, Jr.                                     TLPC Holdings, Ltd.               5057         937      11/10/2011
Grayson Bessie M. Dolezalek                                         TLPC Holdings, Ltd.               5031         870      9/30/2011
Grayson Barbara B. Vogelsang                                        TLPC Holdings, Ltd.               5031         846      9/30/2011
Grayson Burgess E. Buchanan, Jr.                                    TLPC Holdings, Ltd.               5031         854      9/30/2011
Grayson John Yates Buchanan                                         TLPC Holdings, Ltd.               5031         862      9/30/2011
Grayson Susan R. Greene                                             TLPC Holdings, Ltd.               5031         398      8/18/2011
Grayson Hugh Ringgold                                               TLPC Holdings, Ltd.               5031         390      8/18/2011
Grayson Kathryn Michelle Looney                                     TLPC Holdings, Ltd.               5034         673      9/30/2011
Grayson Anita Anderson, Power of Attorney for Gary                  TLPC Holdings, Ltd.               5034         665      9/30/2011
        Michael Looney
Grayson    Charles Evans                                            TLPC Holdings, Ltd.               5036         856      9/30/2011
Grayson    John F. Evans                                            TLPC Holdings, Ltd.               5031         406      9/30/2011
Grayson    Robert Yates Evans Jr.                                   TLPC Holdings, Ltd.               5031         414      9/30/2011
Grayson    SH Productions, Inc.                                     Maricopa Resources, LLC           5464         919      2/24/2014
Grayson    Kathy Reed                                               Maricopa Resources, LLC           5464         927      2/24/2014
Grayson    Kirk E Reed                                              Maricopa Resources, LLC           5464         931      2/24/2014
Grayson    Southstar Energy Corp                                    Maricopa Resources, LLC           5464         915      2/24/2014
Grayson    Washita Mineral Co                                       Maricopa Resources, LLC           5464         923      2/24/2014
Grayson    Endeavor Energy Resources, L.P.                          OKT Resources, LLC                4981         402      2/1/2011


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Grayson   Thomas W. Lett, Individually and as Trustee of OKT Resources, LLC                          4418         520      2/1/2008
          the Sam Lett Testamentary Trust
Grayson   Castello Enterprises, Inc.                               OKT Resources, LLC                4980         156      2/1/2011
Grayson   Wilbur Lee Dean III                                      Matthew A very                    4296         513      4/18/2007
Grayson   Joseph G Jen Dean                                        Matthew A very                    4296         506      4/18/2007
Grayson   Paula Marie Dean Halbach, aka Paula Marie                Matthew A very                    4980         140      4/18/2007
          Dean
Grayson   Landon Boyd Odle                                         Matthew A very                    4760         92       1/31/2007
Grayson   Douglas Kent Odle                                        Matthew A very                    4760         88       3/6/2007
Grayson   Gary Wayne Odle, dealing m his sole and                  Matthew A very                    4296         493      5/10/2007
          separate property
Grayson   LaJuan Odle                                              Matthew A very                    4760         92       1/30/2007
Grayson   Pottsboro Church of Christ                               Matthew A very                    4983         321      4/10/2011
Grayson   Vurlas Lane Wilson, a/k/a Verlas Lane Wilson             Matthew A very                    4296         469      4/27/2007
          and Marjorie Marie Wilson H/W
Grayson   John Robert Hooper                                       Paradise Springs, LLC             4993         305      2/12/2011
Grayson   Berdine Eberhart and Tom Eberhart W/H                    Matthew A very                    4296         441      4/27/2007
Grayson   Terry Lee Garofalo, a married woman dealing              Matthew A very                    4980         144      1/2/2011
          in her sole and separate property
Grayson   Ann W. Tracy, Trustee under the Ann W.                   Matthew A very                    4296         457      6/27/2007
          Tracy Revocable Trust dated January 8, 1991
Grayson   Ilva Wilson, Ind and as Trustee of the James M           Matthew A very                    4297         46       6/27/2007
          Wilson Jr and Ilva Wilson Family Trust
Grayson   Bobby C Wilson                                           Matthew A very                    4296         461      6/27/2007
Grayson   Peggy Ann Gehrig                                         Matthew A very                    4296         449      6/27/2007
Grayson   Thomas J. Wilson                                         Matthew A very                    4296         466      6/27/2007
Grayson   Lee Marjorie Hooper                                      Matthew A very                    4296         454      4/27/2007
Grayson   Berdine Eberhart and Tom Eberhart W/H                    Matthew A very                    4296         441      4/27/2007
Grayson   Terry Lee Garofalo and Marty J. Garofalo,                Matthew A very                    4296         445      4/27/2007
          wife and husband
Grayson   Anadarko E&P Onshore, LLC                                Paradise Springs, LLC             5355         704      8/28/2013
Grayson   Wei-Mar Investments                                      Paradise Springs, LLC             5274         698      3/15/2013
Grayson   PCB Trust, Philip C. Brown, Trustee, and                 Paradise Springs, LLC             5274         701      3/15/2013
          Philip Charles Brown
Grayson   Norman D. O'Neal                                         Paradise Springs, LLC             5367         400      9/10/2013
Grayson   Norman D. O'Neal                                         Paradise Springs, LLC             5002         826      8/21/2011
Grayson   Wei-Mar Investments                                      Paradise Springs, LLC             5002         830      8/21/2011
Grayson   Philip C Brown, a/ka Philip Charles Brown;               Paradise Springs, LLC             5002         834;     8/21/2011
          PCB Trust                                                                                               838
END OF EXHIBIT "A"




WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 6
                                         Case Case
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                                                                                                Grayson County
                                                                                                  Wilma Bush
                                                                                              Grayson County Clerk
                                                                                              Sherman, Texas 75090

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                                                                                 Instrument Number: 2016-00006066
                                                                                               As
 Recorded On: March 28, 2016                                                                Recordings

            Parties: MARICOPA RESOURCES LLC                                                                                                        Billable Pages: 5
                      To                 PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                    Number of Pages: 7


     Comment: ASSIGN
                                                                                 ( Parties listed above are for Clerks reference only)

                                                                             ** Examined and Charged as Follows: **
Recordings                                                        32.00
                 Total Recording:                                 32.00




                                        ************ DO NOT REMOVE. THIS PAGE IS PART OF THE INSTRUMENT************
                                                    Any provision herein which restricts the Sale, Rental or use of the described REAL PROPERTY
                                                                because of color or race is invalid and unenforceable under federal law.

File Information:                                                                                                 Record and Return To:
       Document Number: 2016-00006066
        Receipt Number: 447187                                                                                          PAYSON PETROLEUM
     Recorded Date/Time: March 28, 2016 12:09:45P                                                                       2652 FM 407 E #250
            Book-Vol/Pg: BK-OR VL-5779 PG-404                                                                           BARTONVILLE TX 76226
           User/ Station: G WHITE - Cashiering Station 1


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                                     ~          COUNTY OF GRAYSON
                                                I hereby certify that this instmment was FILED in the File Number sequence on the date/time



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                                                printed hereon. and was duly RECORDED in the Ofticial Public Records of Grayson County. Texas.




                                                Wilma Blackshear Bush, Grayson County Clerk
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY REMOVE OR
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DRIVER'S LICENSE NUMBER.


                           WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE,
                                           AND RELEASE


STATE OF TEXAS                     §
                                   §
COUNTY OF GRAYSON                  §


KNOW ALL MEN BY THESE PRESENTS that the undersigned Maricopa Resources, LLC, whose address is 2652 FM
407 E #250, Bartonville, Texas, 76226 (the "Assignor"), for and in consideration of the sum of Ten Dollars ($10.00) and
other good and valuable consideration, does hereby BARGAIN, SELL, GRANT, ASSIGN and CONVEY unto the
following parties (the "Assignees") in the percentages as listed below, all of Assignor's right, title and interest in and to
the well and wellbore described below, together with the rights associated with the wellbore as specifically described
below (collectively the "Assets," as that term is defined below).

Payson Petroleum 3 Well 2014, L.P.                   an undivided 72.210840%
2652 FM 407 E #250
Bartonville, Texas 76226

Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Wellbore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective April
9, 2014 (the "Effective Date"), is subject to all instruments ofrecord, including land owners royalty interests and reserved
overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

        This Assignment is further subject to that certain Assignment of Oil and Gas Leases, dated November 23, 2010,
entered into between Atoka Operating, Inc. and Barber Exploration Company, and recorded in Volume 4888, Page 924, of
the Official Public Records of Grayson County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the ("Assets"):

        a.       The Crowe #2 (API #181-31543) and associated wellbore, with a surface location situated at latitude 33°
49' 10" - north, longitude 96° 41' 55" - west, in Section 11, BLK 1, 11, 15, 16, the South 79 acres of the Wood &
Buckles Survey, Abstract 1373, Grayson County, TX, (from the surface of the earth down to the measured depth of
11,164'), collectively referred to in this Assignment as the ("Well").

WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page I
              Case Case
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        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive any interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

         2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a measured depth not greater than 11,164', and plug and abandon the Well. Assignees shall not have the
right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flow lines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.

        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all


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claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

        11.      Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.
                         -?"2...'r,d            i A.,., .~ I
EXECUTED on this       ~~~/-           day of   r,, l(..il.rf1'.\,   2016.


ASSIGNOR:
MARICOPA RESOURCES, LLC




ASSIGNEE:
PAYSON PETROLEUM 3 WELL 2014, L.P.


By:_-<--~----.:+
Payson Petrol um Grayson, LL
Matthew C. Griffin, President

WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE- Page 3
                 Case Case
                      17-40180
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ASSIGNEE:
PAYSON PETROLEUM 3 WELL, L.P.
                                                                                                     '; •.• .'!   ~   .,._




By:. _ _-,IL...L....,,~__.:._.J----=-==--"
Payson Petrol m Grayson, LLC,
Matthew C. Griffin, President



STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on                             ~ Z3 rd.. , 2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.

                                              ~~~~·~i;,,~                JANICE SEYDEL
                                             !il::X::-~\ NOTARY PUBLIC-STATE OF TEXAS
                                             ~/i·•.~.-iJ COMM. EXP.04-19-2020
                                              ~,lf?,~:~,,,-:- NOTARY ID 128960971

STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on                   z:8rj_   ~~  , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.


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                                                 :to~•'"••«•
                                                                       JANICE SEYDEL
                                                 j:( .•.I),;;.:~\ NOTARY PUBLIC-STATE OF TEXAS
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STATE OF TEXAS                          §
                                        §
COUNTY OF DENTON                        §

This instrument was acknowledged before me on    ~~z.3rj_ , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well, L.P.



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                                                                           JANICE SEYDEL
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WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE - Page 4
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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   1.   The Crowe #2 (API #181-31543) and associated wellbore, with a surface location situated at latitude 33° 49' 10"
        - north, longitude 96° 41' 55" - west, in Section 11, BLK 1, 11, 15, 16, the South 79 acres of the Wood &
        Buckles Survey, Abstract 1373, Grayson County, TX, (from the surface of the earth down to the measured depth
        of 11,164'), collectively referred to in this Assignment as the ("Well").

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the Crowe #2 Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
                                                                                                                                 Effective
County     Lessor                                  Lessee                    Instrument Filed              Volume/Page           Date
Grayson    Marilyn Teresa Morrow                   RWJ Exploration,          Oil, Gas, and Mineral         4724/434              6/12/2009
                                                   LLC                       Lease
Grayson    Samuel Louis Crow                       Atoka Operatinc,          Oil, Gas, and Mineral         4536/579              1/7/2008
                                                   Inc.                      Lease
Grayson    Linda Darnell Lott, acting as           Atoka Operating,          Oil, Gas, and Mineral         4536/566              4/3/2008
           Agent and Attorney-in-Fact for          Inc.                      Lease
           Frank L. Darnell, Sr., a widower
Grayson    Linda Darnell Lott, as                  Atoka Operating,          Oil, Gas, and Mineral         4536/583              4/1/2008
           Independent Executrix of The            Inc.                      Lease
           Estate Dorothy L. Darnell,
           Deceased
Grayson    Allen M. Tonkin, Jr. Revocable          Texas Land &              Memorandum of Oil             4956/294              5/1/2011
           Trust, Allen M. Tonkin Jr.,             Petroleum                 and Gas Lease
           Trustee                                 Company, LLC
Grayson    Nancy P. Tonkin Revocable               Texas Land &              Memorandum of Oil             4956/287              5/1/2011
           Trust, Nancy T. Cutter and Allen        Petroleum                 and Gas Lease
           M. Tonkin, Jr, Trustees                 Company, LLC
Grayson    Nancy T. Cutter Revocable               Texas Land &              Memorandum of Oil             4956/291              5/1/2011
           Trust, Nancy T. Cutter Trustee          Petroleum                 and Gas Lease
                                                   Company, LLC
Grayson    Linley T. Solari Revocable              Texas Land &              Memorandum of Oil             4956/284              5/1/2011
           Trust, Linley T. Solari, Trustee        Petroleum                 and Gas Lease
                                                   Company, LLC
Grayson    Solari Luz, LLC                         Texas Land &              Ratification of Oil and       5043/663              5/1/2011
                                                   Petroleum                 Gas Lease
                                                   Company, LLC
END OF EXHIBIT "A"




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                                                                              Grayson County Clerk
                                                                              Sherman, Texas 75090
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                                                                 Instrument Number: 2016-00006065
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        Parties: MARICOPA RESOURCES LLC                                                                                            Billable Pages: 5
              To      PAYSON PETROLEUM 3 WELL 2014 LP ETAL                                                                       Number of Pages: 7


     Comment: ASSIGN
                                                                 ( Parties listed above are for Clerks reference only )

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     Recorded Date/Time: March 28, 2016 12:09:45P                                                       2652 FM 407 E #250
            Book-Vol/Pg: BK-OR VL-5779 PG-397                                                           BARTONVILLE TX 76226
           User/ Station: G WHITE - Cashiering Station 1


                                THE STATE OF TEXAS
                                COUNTY OF GRAYSON
                                I hereby certify that this instrument was FILED in the File Number sequence on the date/time
                                printed hereon, and was duly RECORDED in the Official Public Records of Grayson County. Texas.




                                Wilma Blackshear Bush, Grayson County Clerk
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                                   §
COUNTY OF GRAYSON                  §


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Payson Petroleum 3 Well, L.P.                         an undivided 27.789160%
2652 FM 407 E #250
Bartonville, Texas 76226

        This Well bore Assignment, Conveyance, Bill of Sale, and Release (the "Assignment"), dated to be effective June
2, 2014 (the "Effective Date"), is subject to all instruments ofrecord, including land owners royalty interests and reserved
overriding royalty interests.

        Assignor excepts from this Assignment and reserves unto itself an overriding royalty interest that is equal to the
difference between the lease burdens and twenty-five percent (25%) of all oil, gas and other minerals that may be
produced from the lands under the terms of the Leases, as that term is defined below.

        This Assignment is further subject to that ce11ain Declaration of Pooled Unit - Elaine #1, dated to be effective
June 1, 2014, by Maricopa Resources LLC, and recorded in Volume 5530, Page 781, of the Official Public Records of
Grayson County, Texas.

         Assignor does not assign to Assignees any of its interest in and to the Excluded Assets, as that term is defined
below.

         To accomplish the foregoing, Assignor and Assignees agree as follows:

                                             ASSIGNMENT AND AGREEMENT

         For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells, assigns,
transfers, delivers, and conveys to Assignees the following, all of which are collectively called the ("Assets"):

         a.       The Elaine #1 (API #181-31547) and associated wellbore, with a surface location situated at latitude 33°
44' 55" - north, longitude 96° 41' 02" - west, in Section 26, BLK 1, 11, 15, 16, the East half of the J.C. Wade Survey,
Abstract 1382, Grayson County, TX, (from the surface of the earth down to the measured depth of 12,309'), collectively
referred to in this Assignment as the ("Well").

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        b.      The rights in and to the oil and gas leases described in Exhibit "A," insofar and only insofar as the leases
cover the Well, (the "Leases"), together with the leasehold rights as are necessary to operate, maintain, produce, and plug
and abandon the Well.

          c.     All personal property and fixtures associated with the Well, including without limitation the following:
all tubing, casing, and other equipment in the wellbore, wellhead equipment, gathering lines, and surface production
facilities.

        d.       All existing and effective contracts, agreements, and instruments, insofar as they relate to the properties
and interests described in Paragraphs (a) through (c), all of which are identified in Exhibit "B" to this Agreement.

        e.       All files and records relating to the items described in Paragraphs (a) through (d) maintained by Assignor
and relating to the interests described in Paragraphs (a) through (d), but only to the extent not subject to unaffiliated third
party contractual restrictions on disclosure or transfer.

        To have and to hold the Assets unto Assignees, and Assignees' heirs, successors and assigns, forever.

        Assignees and Assignor further agree as follows:

         1.       Excluded Assets. The Assets do not include, and Assignor does not intend to assign or Assignees to
receive any interest in the following, all of which are collectively called the ("Excluded Assets"): all lands, minerals, oil
and gas leases and lands pooled with them, units, working interests, executory interests, reversionary interests, net profits
interests, net revenue interests, term interests, royalty and overriding royalty interests, fee interests, surface interests, and
any other interests of a similar nature, all contracts, agreements, licenses, and servitudes, all salt water or other disposal
rights, all easements, leases, surface use, and right-of-way agreements, all pipelines and flow lines, all other property and
equipment not directly used in connection with the operation and production of the Well, and any and all rights not
expressly conveyed as part of the Assets.

         2.      Operations. Assignees agree that they shall only have the right to operate, produce, maintain, repair,
recomplete at a measured depth not greater than 12,309', and plug and abandon the Well. Assignees shall not have the
right to deepen, sidetrack, or replace the Well.

        3.      Real property warranty. Assignor warrants title to the assets from and against all persons claiming by,
through and under assignor, but not otherwise, and except for that warranty, this assignment is made without warranty of
any kind, express, implied or statutory.

        4.       Assignees' Assumption of Liabilities and Obligations. Assignees specifically assume and agree to pay,
perform, fulfill, and discharge all obligations, liabilities, costs, damages, and claims after the Effective Date related
directly or indirectly to the following: (i) leasehold obligations related to the Well and the Leases, including the
accounting and payment of all shut-in royalties, royalties, overriding royalties and other leasehold burdens and all ad
valorem and other taxes attributable to or arising from ownership or operation of the Assets; (ii) all post-drilling and
completion claims, costs, expenses, liabilities, and obligations accruing or relating to the owning, operating and/or
maintaining of the Assets; (iii) all obligations arising under agreements covering or relating to the Assets; (iv) all
obligations and liability attributable to or resulting from pollution or contamination of soil, groundwater, or air, and any
other contamination of or adverse effect on the environment; (v) the noncompliance with applicable land use, permitting,
surface disturbance, licensing, or notification requirements; and, (vi) violation of any federal, state, or local environmental
laws, rules or regulations, all referred to as the "Assumed Liabilities and Obligations". The Assumed Liabilities and
Obligations include, without limitation: (a) all future plugging, abandonment, removal, disposal, and restoration
obligations associated with the Well and equipment associated with the Well; (b) the necessary and proper capping and
burying of all associated flowlines located on the Lease; (c) all necessary disposal of naturally occurring radioactive
material (NORM); and, (d) removal of any structures and equipment associated with the Well.

        5.       Indemnification. Subject to prior agreements between Assignor and/or its affiliates and Assignees related
to the drilling and completion of the Well, Assignees agree to indemnify, hold harmless and defend Assignor from all


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claims, demands, losses, damages, punitive damages, costs, expenses, causes of action, or judgments of any kind or
character with respect to the Assumed Liabilities and Obligations.

        6.      Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and demands arising
out of the accounting and payment of proceeds of production from the Well to royalty owners and working interest
owners, insofar as the same relate to or arise out of actions of Assignor or events prior to the Effective Date and shall
defend, indemnify, and hold Assignees harmless from and against all claims. Assignees shall be responsible for all types
of claims insofar as they relate to periods of time from and after the Effective Date of this Assignment and shall indemnify
and hold Assignor harmless therefrom.

         7.      Indemnification Claims. With respect to any claim for which an indemnifying party may be required to
provide partial or full indemnity, the party shall have the right, but not the obligation, to participate fully in the defense of
any claim. Reasonable attorneys' fees, court costs, interest, penalties, and other expenses incurred in connection with the
defense of claims shall be included in Assignees' and Assignor's indemnities. All indemnities of Assignees shall extend
to and cover the parent, subsidiary, and affiliated companies and the officers, directors, employees and agents of Assignor,
and its subsidiary and affiliated companies.

          8.        Transfer Taxes and Recording Fees. Assignees shall bear and pay: (i) all State or local government sales,
documentation, transfer, gross proceeds, or similar taxes incident to or caused by the transfer of the Assets to Assignees;
and, (ii) all filing, recording or registration fees for this Assignment.

         9.       Government Assignment Forms. Assignor and Assignees may execute separate governmental form
assignments of the Assets in sufficient counterparts to satisfy applicable statutory and regulatory requirements. Those
assignments shall be deemed to contain all of the exceptions, reservations, warranties, rights, titles, powers, and privileges
set forth in this Assignment as fully as though they were set forth in each assignment. The assets and interests conveyed
by those separate assignments are the same, and not in addition to, the Assets conveyed in this Assignment.

         10.      No Third Party Beneficiaries. The references in this Assignment to liens, encumbrances, burdens,
defects, and other matters shall not be deemed to ratify or create any rights in any third parties or merge with, modify, or
limit the rights of Assignor or Assignees, as between themselves.

         11.     Successors and Assigns. This Assignment and all of the terms, provisions, covenants, obligations, and
indemnities it contains shall be binding on and inure to the benefit of and be enforceable by the Assignor, Assignees, and
their respective successors and assigns.

        This Assignment is executed by Assignor and Assignees as of the date of acknowledgment of their signatures
below, but shall be deemed effective for all purposes as of the Effective Date stated above.

EXECUTED on this        z3rJ day of Marc.L                    2016.


ASSIGNOR:
MARICOPA RESOURCES, LLC




ASSIGNEE:
PAYSON PETROLEUM 3 WELL 2014, L.P.


By: _ _ _ _ _ _ _            -#-_


Payson P roleum Grayson, LC, General Partner
Matthew C. Griffin, President

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ASSIGNEE:
PAYSON PETROLEUM 3 WELL, L.P.


By:_ _-F-+---=--=--L---.::~~v
Payson Petrol m Grayson, L
Matthew C. Griffin, President




STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                 ___~---~V?
                                                            _'o/YJ    __n_it__, 2016 by William C. Griffin, Secretary
of Maricopa Resources, LLC.




STA TE OF TEXAS                   §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                     7rJ/tlU:t-
                                                                -Z,,3 ,,d , 2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well 2014, L.P.




STATE OF TEXAS                    §
                                  §
COUNTY OF DENTON                  §

This instrument was acknowledged before me on                     ~ -z.:3rtt- ,2016 by Matthew C. Griffin, President
of Payson Petroleum Grayson, LLC, General Partner of Payson Petroleum 3 Well, L.P .



                                              .:t~~~'.£Z.'"', . JANICE SEYDEL
                                             {!(-Jj~\NOTAAY PUBLIC-STATE OF TEXAS
                                             \ ~... ~              COMM. EXP. 04-19-2020
                                               "11,,'f.~1,,,,,~    NOTARY ID 128960971




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          EXHIBIT "A" TO WELLBORE ASSIGNMENT, CONVEYANCE, BILL OF SALE, AND RELEASE


PROPERTY DESCRIPTION:

   I. The Elaine #1 (API #181-31547) and associated wellbore, with a surface location situated at latitude 33° 44' 55"
        - north, longitude 96° 41' 02" - west, in Section 26, BLK 1, 11, 15, 16, the East half of the J.C. Wade Survey,
        Abstract 1382, Grayson County, TX, (from the surface of the earth down to the measured depth of 12,309'),
        collectively referred to in this Assignment as the ("Well").

   2.   Whether now owned or acquired in the future, all personal property, all tubing, casing, and other equipment in the
        wellbore, wellhead equipment, gathering lines, and surface production facilities and other equipment or property
        of any kind acquired or used for the operation of the Elaine # 1 Well, or used for the production or sale of oil,
        natural gas and other products from the well.

   THE FOLLOWING DESCRIBED LEASES, ONLY INSOFAR AS THEY COVER AND ARE NECESSARY
   TO OPERATE, MAINTAIN, PRODUCE AND PLUG AND ABANDON BUT NOT DEEPEN OR
   SIDETRACK THE PROPERTY DESCRIBED HEREINABOVE:

EXHIBIT "A"
County    Lessor                                                      Lessee                           Volume      Pa2e     Date
Grayson   Linda Buechner Byrne, as her separate                       TLPC Holdings, Ltd.              5411        536      11/18/2013
          property
Grayson       Steven Buechner                                         TLPC Holdings, Ltd.              5411        532      11/18/2013
Grayson       C. Suzanne Buechner, Individually and as                TLPC Holdings, Ltd.              5411        540      11/18/2013
              Executor of the Estate of Barry L. Buechner,
              Deceased
Grayson       Kennedy & Minshew, PC                                   TLPC Holdings, Ltd.              5049        747      11/10/2011
Grayson       Kenneth Dolezalek                                       TLPC Holdings, Ltd.              5061         139     9/30/2011
Grayson       Louie A. Hattensy, Jr.                                  TLPC Holdings, Ltd.              5057        937      11/10/2011
Grayson       Bessie M. Dolezalek                                     TLPC Holdings, Ltd.              5031        870      9/30/2011
Grayson       Barbara B. Vogelsang                                    TLPC Holdings, Ltd.              5031        846      9/30/2011
Grayson       Burgess E. Buchanan, Jr.                                TLPC Holdings, Ltd.              5031        854      9/30/2011
Grayson       John Yates Buchanan                                     TLPC Holdings, Ltd.              5031        862.     9/30/2011
Grayson       Susan R. Greene                                         TLPC Holdings, Ltd.              5031        398      8/18/2011
Grayson       Hugh Ringgold                                           TLPC Holdings, Ltd.              5031        390      8/18/2011
Grayson       Kathryn Michelle Looney                                 TLPC Holdings, Ltd.              5034        673      9/30/2011
Grayson       Anita Anderson, Power of Attorney for Gary              TLPC Holdings, Ltd.              5034        665      9/30/2011
              Michael Looney
Grayson       Charles Evans                                           TLPC Holdings, Ltd.              5036        856      9/30/2011
Grayson       John F. Evans                                           TLPC Holdings, Ltd.              5031        406      9/30/2011
Grayson       Robert Yates Evans Jr.                                  TLPC Holdings, Ltd.              5031        414      9/30/2011
Grayson       SH Productions, Inc.                                    Maricopa Resources, LLC          5464        919      2/24/2014
Grayson       Kathy Reed                                              Maricopa Resources, LLC          5464        927      2/24/2014
Grayson       Kirk E Reed                                             Maricopa Resources, LLC          5464        931      2/24/2014
Grayson       Southstar Energy Corp                                   Maricopa Resources, LLC          5464        915      2/24/2014
Grayson       Washita Mineral Co                                      Maricopa Resources, LLC          5464         923     2/24/2014
Grayson       Carin Isabel Knoop                                      Maricopa Resources, LLC          5464         910     4/7/2014
Grayson       Preston 150 Joint Venture                               Maricopa Resources, LLC          5521         166     3/24/2014
END OF EXHIBIT "A"
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  EXHIBIT 5 TO SETTLEMENT AGREEMENT

                        CONTRACT OPERATING
                        SERVICES AGREEMENT
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                    CONTRACT OPERATING SERVICES AGREEMENT                                                                  3)     in full compliance with all applicable local, municipal, county, state and
                                                                                                            federal laws and regulations.
        This Contract Operating Services Agreement (this ""Agreement') made and entered into
this _ _ day of July, 2016 by and between Traton Operating Company. (hereinafter                            Contractor shall perform all work and labor appropriate or necessary for setting, installing,
"Contractor"), and Payson Operating, LLC, (hereinafter "Owner"). Owner and Contractor are                   handling, caring for, and maintaining all materials, equipment, and supplies furnished by Owner
referred to collectively as the "Parties" and individually as a "Party".                                    in connection with the Services.

                                        WITNESSETH:                                                                1.2    Subject to the terms of this Agreement, Contractor shall manage, develop and
                                                                                                            supervise the Contract Area Pursuant to such obligations and as required by Owner and as
       \VHEREAS, Owner owns undivided working interests in the oil and gas leases (the                      applicable, Contractor shall:
"Leases") located in the counties and states as described in or covered by the Subject JOAs, as
defined below, and as same may be amended from time to time (the land described in such                                        (a)     Supervise contract or Contractor's pumpers, whose services will
Leases is referred to herein as the "Contract Area");                                                                   include but will not be limited to gauging tanks, recording well pressure, preparing
                                                                                                                        gauge reports, treating oil, making minor repairs, and reporting unusual or abnormal
       WHEREAS, Owner desires to retain the services of Contractor to act as a contract                                 occurrences.
operator for the Leases; and
                                                                                                                               (b)    Review well performance and prepare for Owner monthly reports that
     WHEREAS, Contractor has the capability to and desires to render such services on behalf                            summarize production in Contractor's standard form on a per well basis for each of
ofOvmer.                                                                                                                the Subject JOAs. Contractor shall also note and evaluate any abnormal changes in
                                                                                                                        production.
       WHEREAS, Contractor will perfonn the services as required by the Owner (of which
                                                                                                                               (c)    Prepare and furnish to any duly constituted authority having
Payson Operating, LLC is the operator ofrecord at the Texas RRC) under certain joint operating
                                                                                                                       jurisdiction over the Leases any and all reports, statements and information that may
agreements covering the Leases in the Contract Area more particularly described on Ethibit A,
                                                                                                                       be required.
as same may be amended from time to time (the ""Subject JOAs");
                                                                                                                                ( d)   Use its best efforts to establish and maintain complete and accurate
                                                                                                                        well files containing information on operations performed in connection with each
       NOW, THEREFORE, based upon the mutual covenants and considerations contained                                     well.
herein, the sufficiency of which is hereby acknowledged, Contractor and Owner agree as
follows:                                                                                                                       (e)     Review and approve all invoices and charges for all expenses
                                                                                                                        incurred and credits received.
                                  ARTICLE]
             DESIGNATION AI\'D RESPONSJBILJTIBS OF CONTRACTOR                                                                  (f)     Keep accurate books of account showing all items of cost or expense
                                                                                                                        incurred in connection with the Leases, and Contract Area with respect to each of the
        I. I   Subject to the terms of tms Agreement, Contractor shall conduct and direct all                           Subject JOAs, and make and pay all charges in accordance with the provisions of
operations on the Leases as permitted and required by and within the limits of this Agreement                           this Agreement.
(the "Services"). Contractor shall perform all services with due diligence and dispatch in
accordance with the standards for the Operator under the Subject JOAs and generally accepted                                    (g)    Prepare and render billings to the Owner and non-operators with
oil field practice, conforming to al! applicable laws, rules, orders and regulations of any                             respect to each of the Subject JO As for approved expenses and charges for services
competent governmental body, which are now or may become applicable to the operations                                   as Contractor as agreed herein.
contemplated by this Agreement. Owner agrees to assist Contractor by providing Contractor
with authorizations necessary for the proper performance of its services. Contractor shall use all                 1.3    Upon Ovmer's request, Contractor shall perform the following services in
possible care and diligence to ensure that the Services rendered pursuant to this Agreement are             connection with general requests from partners or as otherwise instructed by the Trustee,
performed:                                                                                                  completing, working-over, or drilling any well in the Contract Area, or reworking, deepening, or
                                                                                                            plugging back a dry hole:
               I)     reasonably and prudently;
                                                                                                                               (a)    Conduct field inspection and inventory equipment
              2)      in a skillful and workmanlike manner;


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        (b)    Locate and contract, on Owner's behalf. contract pumpers or gagues                                   (o)    Unless otherwise agreed by Contractor, all contracts with third parties
for the Contract Area                                                                                       (excluding contracts with drilling supervisor(s) for onsite supervision). shall be in
                                                                                                            the name of Owner under master service contracts in fonn approved by Owner and
        (c)    Supervise all routine well service operations and repair and                                 similar in fonn and substance to the Master Service Agreement that has previously
maintenance operations, including onsite supervision of the installation or removal                         been established by Owner. Contractor shall have no liability with respect to third-
of well equipment, pumping of any treating fluid or substance into a well, and other                        party contracts. Provided, however, Contractor shall initiate no remedial work,
onsite operations performed under contract by third party or \\~th leased equipment.                        repairs, replacement of equipment, etc. with an estimated total cost exceeding
                                                                                                            $25,000.00 without the prior written approval of Owner.
        (d)    Supervise all drilling and completion operations, workover
operations. recomplet:ion operations, and any type of remedial operation, whether or                   1.4     All personnel involved in the day-to-day lease operations shall be under the
not it would ordinarily be considered a normal well-service operation. This includes            supervision of the Contractor. The selection, hiring, dismissal and work schedule of such
contracting with supervisory personnel for onsite supervision as required and                   contractors and employees of Contractor shall be determined by Contractor.
maintaining overall supervision of such personnel through day-to-day contact
                                                                                                        1.5    Owner shall have access at all reasonable times to the Leases, to all infonnation
         (e)   Prepare operating and drilling procedures.                                       pertaining to wells drilled, production secured, and oil and gas marketed, and to the books,
                                                                                                records, and vouchers relating to the operation of the Leases. Contractor shall, upon Owner's
      (f)     Prepare operating cost estimates and circulate Authorizations for
Expenditures for Owner's approval.                                                              request, furnish Owner v.rith weekly gauge and run tickets. Notwithstanding anything to the
                                                                                                contrary herein, all infonnation referenced in tills Section 1.6 shall be the property of Owner.
       (g)     Obtain all necessary drilling pennits and file all necessary and
                                                                                                         J.6    Owner will grant Contractor access to an account for revenues, operating costs,
appropriate reports required prior to, during or after completion of operations.
                                                                                                fees and expenses for each Contract Area under each of the Subject JOAs (the "Operating
       (h)    Conduct overall supervision of drilling supervisor(s) through daily               Account"). Prior to the fifteenth (15 th ) day of each month, Contractor will prepare and deliver to
monitoring of drilling, deepening, recompletion or other critical operations.                   Owner an operating statement for each of the Subject JOAs (the "Property Operating
                                                                                                Statement'), which Property Operating Statement shall include (a) Contractor's estimate of
        (i)     Prepare AFEs and procedures and conduct overall supervision                     production volumes; (b) actual revenues received in the prior month; (c) all costs, expenses and
through daily monitoring of field personnel, of plugging and abandonment                        charges billed by third parties to Contractor in the prior month, including, without limitation, all
operations of any wells located in the Contract Area in compliance with all federal,            sums due under the Leases and other liquidated monetary obligations; and (d) expenditures and
state and local regulations and orders.                                                         fees recorded by Contractor in form satisfactory to Owner. Promptly after delivery of the
                                                                                                Property Operating Statement, Contractor shall transfer sufficient funds from the revenue
        (i)     Provide emergency response assistance with respect to any accident,             account into the operating account necessary to cover operating costs, fees (including Contractor
spill, upset or similar occurrence requiring immediate action to protect the health,            fees) and expenses set forth on the Property Operating Statement Contractor shall have the right
safety and mechanical and environmental integrity of the Contract Area and                      to withdraw funds from the Operating Account to pay for the services hereunder. The parties
equipment located thereon.                                                                      hereto acknowledge and agree that from time to time the funds in the Operating Account may be
                                                                                                insufficient to cover the operating expenses for such month, in which case Contractor shall
        (k)     Assist Owner in responding to requests from interested parties or the           immediately notify Owner of the projected shortfall and any interim payments into the account to
Trustee including but not limited to any efforts to market its interest in the Contract         cover such shortfall will be evaluated by Owner and paid on a case-by-case basis. In no event
Area, including making its records available and making knowledgeable personnel                 shall Contractor be required to advance funds on behalf of Owner to conduct the operations or
available to accompany potential buyers and respond to questions as they inspect and            proceed with any operations, unless there are available funds in the account to cover the cost of
tour the properties.                                                                            such operations or Owner has contracted directly for such services.

         (I)   Maintain land and lease documents.                                                       1. 7   At all reasonable times and upon thirty (30) days prior written notice, Contractor
                                                                                                shall pennit employees and agents of Owner to have access to its offices and work locations to
         (m)   Market Production.                                                               examine. reproduce and retain copies of such documentation and data and to interview
                                                                                                Contractor's personnel in connection therev.rith, as necessary for Owner to verify and monitor (i)
         (n)   Perform any work falling under Contractor's expertise as directed by             the accuracy and propriety of Service fees and reimbursable expenses pursuant to this
Owner.                                                                                          Agreement, and (ii) Contractor's compliance with the tenns of this Agreement. Where Services
                                                                                                hereunder, are billed under fixed rates, Owner's auditors shall have sufficient access to those


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rates to satisfy themselves that the Services have not also been separately billed on some other                                                 ARTICLEV
basis (e.g., a reimbursable basis). The provisions of this Section J.7 shall be applicable during                                         INDEPENDENT CONTRACTOR
the tenn of this Agreement and for a period of one (I) year thereafter. Any costs associated with
Owner's audit requirements or procedures shall be solely for Owner's account. If errors or                        Contractor undertakes the performance of the provisions of this Agreement as an
deficiencies are identified by an audit or othenvise, both Parties shall take prompt corrective            independent contractor, and neither Contractor nor any of its employees, contractors or agents
action thereof.                                                                                            will be deemed to be an employee, servant, agent or partner of or joint venturer with Owner.
                                                                                                           Owner shall not, in any respect, be responsible for the hiring, employment or working conditions
                                  ARTICLE II                                                               of the persons employed or retained by Contractor in connection with the perfonnance of
                          COMPENSATION OF CONTRACTOR                                                       Contractor's obligations under the tenns of this Agreement.

       2.1     During the tenn of this Agreement, Contractor shall be compensated:                                                                   ARTICLE VI
                                                                                                                                                     INSURANCE
                    (a)     For Services completed under Section 1.2, in accordance with the
             overhead rate structure set forth on Exhibit B hereto.                                                Contractor shall maintain insurance of the type, in the amounts and with the limits set
                                                                                                           forth on Exhibit D hereto. Each party shall be named as an additional insured under each ofthe
                    (b)      For Services completed under Section 1.3, in accordance with the              policies for the duration hereof.
             hourly rate structure set forth on Exhibit C hereto.
                                                                                                                                                   ARTICLE VD
       2.2    The above compensation shall not include any direct costs and third-party costs                                                    FORCE MAJEURE
that are proper charges to the Contractor Account that are incurred by the Contractor in
connection with services rendered hereunder. Owner shall reimburse Contractor for any third-
party charges incurred by Contractor in accordance with this Agreement within thirty (30)                           Contractor shall not be liable to Owner for any loss on the Leases caused by war, strikes,
business days of delivery of invoice.                                                                      tornadoes, floods, governmental priorities on materials or other governmental restrictions, or
                                                                                                           inability to obtain suitable equipment or labor resulting from any other causes not due to
                                    ARTICLE ill                                                            Contractor's failure to exercise reasonable diligence in the perfonnance of Contractor's
                             RESPONSIBILITIES OF OWNER                                                     obligations hereunder. If Contractor is delayed or prevented from performing for any such cause,
                                                                                                           it shall do all things reasonably possible to remove such cause and shall resume perfonnance
       3.1    Owner shall be the operator of record with respect to the Leases under each of the           hereunder as soon as such cause is removed.
Subject JOAs.
                                                                                                                                               ARTICLE Vlll
        3.2    Owner shall be duly authorized under all laws, rules, orders and regulations of                                        BINDING EFFECT OF AGREEMENT
any competent governmental body, which are now or may become applicable to the operations
contemplated by this Agreement and shall obtain and maintain all necessary pennits, bonds and                      This Agreement shall be binding upon and inure to the benefit of the parties, their
sureties as may be required thereunder.                                                                    respective successors and pennitted assigns. The right of either party to assign this Agreement is
                                                                                                           subject to the prior written consent of the non-assigning party, which consent shall not be
                                  ARTICLE IV                                                               unreasonably withheld or delayed. Notwithstanding the immediately preceding sentence, each
                         HEALTH AND SAFETY OBLIGATIONS                                                     party may assign and transfer this Agreement to an affiliate or pursuant to a reorganization or
                                                                                                           change in control of such party or the person that controls such party without such consent. Any
      BY EXECUTING TI-US AGRER-1ENT, CONTRACTOR REPRESENTS AND                                             assignment in contravention of this Anicle VIII shall be void.
WARRANTS THAT IT IS QUALIFIED TO DO BUSINESS IN" EACH OF THE
JURISDICTIONS WI1HIN THE CONTRACT AREA.      CONTRACTOR FURTHER                                                                           ARTICLE IX
REPRESENTS AND WARRANTS THAT ITS EMPLOYEES ARE QUALIFIED AND                                                               AMENDMENT, TERMINATION AND TURNOVER DATE
COMPETENT AND THAT CONTRACTOR IS, AND WILL BE THROUGHOUT THE
DURATION OF THIS AGREEMENT, TRAINED AND COMPLIANT TO THE                                                          9.1     Either party hereto has the right to tenninate this Agreement without cause by
STANDARDS OF A REASONABLY PRUDENT OPERATOR IN ALL MATTERS                                                  providing the other party with sixty (60) days prior written notice. In the event of a material
RELATED TO HEAL TH, SAFETY AND WORK ENVIRONMENT                                                            breach of this Agreement by either party, including the failure of a party to perfonn any
                                                                                                           operation or action proposed hereunder that, the other party may tenninate this Agreement by
                                                                                                           providing the breaching party with thirty (30) days notice. In the event of termination by Owner,
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Owner shall pay Contractor in full all amounts due Contractor through the termination date.                                                                    ARTICLE XI
Upon termination of this Agreement or partial termination as to any Contract Area, Contractor                                                      CONFIDENTIAL INFORMATION
will cooperate with Owner for an orderly transition of operations and will turn over all books and                                                AND OWNERHIP OF DOCUMENTS
records regarding the Contract Area upon request. Owner shall compensate Contractor for post-
termination services requested by Owner and provided in connection with the transition at                              11.1 Arly and all information, in whatever form or fonnat, described or defined by
Contractor's standard hourly rate as set forth on Exhibit C.                                                   each party as confidential and made available to the other party for the performance of the
                                                                                                               Agreement shall be and remain the exclusive property of the disclosing party and shall be treated
         9.2      Upon termination of this Agreement, the Parties shall not be relieved of any                 as confidential.
liabilities arising from or incident to Services rendered. The Parties shall not be liable to either
Party for any cost or loss in connection with such termination, including but not limited to loss of                   11.2 With respect to such confidential information both parties agree not to disclose or
anticipatory profits. Upon termination of this Agreement, Contractor shall immediately remove                  divulge such information to any third party except as may be necessary for the perfonnance of
all of its and its subcontractors' equipment and materials from Owner's premises that are not                  this Agreement. Both parties shall take reasonable measures to protect and preserve the
necessary for the completion of or the provision of any Service then underway and,                             confidential nature of such information and shall be responsible for any breach hereof committed
notwithstanding anything herein to the contrary, sixty (60) days after the receipt of Contractor of            by its employees, it being understood that the confidentiality obligations of both parties are of a
notice of the termination of this Agreement by Owner, Owner shall bear no responsibility for the               continuing nature and shall continue for one (I) year after the termination date of this agreement
equipment or materials of Contractor that remain on Owner's premises but which are not
necessary for the completion or the provision of any Service then underway.                                               l 1.3     The foregoing restrictions shall not apply to any such confidential information
                                                                                                               that is:
        9.3    If either party (a) generally fails to pay, or admits in writing its inability to pay, its
debts as they become due, (b) commences any insolvency proceeding with respect to itself, (c)                                            (a)     Already known by the receiving party at the time of disclosure;
take any action to effectuate or authorize either (a) or (b), (d) becomes the subject of any
involuntary insolvency proceeding, or has any writ, judgment, warrant of attachment, execution                                            (b)    Publicly known or becomes publicly known through no fault of the
or similar process issued or levied against all or a substantial part of its properties, and any such                             receiving party;
proceeding or petition is not dismissed, or such writ judgment, warrant of attachment, execution
or similar process is not released, vacated or fully bonded within sixty (60) days after                                                  (c)    Received from a third party that is free to disclose the information to
commencement, filing or levy (e), admits the material allegation of a petition against it in any                                  the receiving party;
insolvency proceeding, or an order for relief is issued against it in any insolvency proceeding, or
                                                                                                                                          ( d)    Communicated to a third party with the express prior written consent
(f) consents to the appointment of a receiver, trustee, custodian, conservator. liquidator,
                                                                                                                                  of the disclosing party; or
mortgagee in possession (or agent therefore). for itself or a substantial portion of its property or
business, then the other party may, by giving written notice to such party. terminate this
                                                                                                                                          (e)     Lawfully required to be disclosed to a governmental agency or is
Agreement as of the date specified in such notice. A termination under this Section shall be
                                                                                                                                  otherwise required to be disclosed by law, provided that before making such
deemed a termination for cause,
                                                                                                                                  disclosure the receiving Party shall give the disclosing Party reasonable opportunity
                                                                                                                                  to object or insure confidential treatment ofthe information.
                                            ARTICLEX
                                              NOTICES
                                                                                                                       11.4 Both parties acknowledge that the breach of this confidentiality obligation may
        Until changed by appropriate notice in writing, all notices, reports, and other                        cause the other party serious economic hann and that the remedies available to the injured party
correspondence required by or made necessary by the terms of this Agreement shall be deemed                    by law may be inadequate. Therefore, upon any breach hereof by either party, the non-breaching
to have been duly given or served on the date on which personally delivered, or sent by                        party shall be entitled to seek immediate injunctive relief and/or specific performance, in
electronic transmission via email or facsimile transmission. with receipt acknowledged, or three               addition to any other appropriate forms of equitable or legal relief. including but not limited to.
(3) Business Days after the same shall have been sent via certified United States Mail. For                    monetary damages and reasonable attorney's fees.
purposes of this Agreement, the term "Business Days" means a day other than a Saturday,
Sunday or legal holiday for commercial banks under the laws of the State of Texas or the laws of                       11.5 Both Owner and Contractor agree that all tracings, designs, drawings, field notes,
the United States of America                                                                                   requisitions, purchase orders, specifications, computer programs (data files and other software in
                                                                                                               whatever form), and other documents or records developed by such party in connection with this
                                                                                                               Agreement or otherwise shall be the sole property of such party.



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                            ARTICLE XII                                                           OWNER     RELEASES   CONTRACTOR      AND   CONTRACTOR'S  PARENT,
                    AMENDMENTS TO THE AGREEMENT                                                   SUBSIDIARIES, OFFICERS, DIRECTORS, AND EMPLOYEES ("CONTRACTOR
                        AND GOVERNING LAWS                                                        PARTIES") OF AND FROM ANY LIABILITY AS TO ALL CLAL'1S, PENALTIES,
                                                                                                  DEMANDS, AND CAUSES OF ACTION OF EVERY KIND AND CHARACTER
       11-IIS AGREEI\.1ENT SHALL NOT BE VARIED EXCEPT WITII THE WRITTEN
                                                                                                  WITHOUT LIMIT AND WI1HOUT REGARD TO THE CAUSE OR CAUSES
CONSENT OF lliE PARTIES. IN TI-IE EVENT ONE OR MORE OF TiiE PROVISIONS IS
                                                                                                  THEREOF OR 1HE NEGLIGENCE (EXCLUDING GROSS NEGLIGENCE AND
HELD INVALID BY ANY COURT OF C011PETENT JURISDICTION, TTlE SA11E SHALL                            WILLFUL MISCONDUCT) OF M'Y OF THE CONTRACTOR PARTIES, ON
IN" NO MANNER AFFECT 11--lE VALIDITY OF ANY OF TiiE OTIIER PROVISIONS. IBIS
                                                                                                  ACCOUNT OF BODILY INJURY, DEATH AND/OR DAMAGE TO OR LOSS OF
AGREEMENT SHALL BE CONSTRUED IN ACCORDANCE WITH THE LAWS OF TI-IE
                                                                                                  PROPERTY OF ANY KIND. OWNER'S OBLIGATIONS UNDER THIS SECTION
STATE OF TEXAS.
                                                                                                  SHALL BE COVERED BY AVAILABLE LIABILITY INSURANCE, UNDER WHICH
                              ARTICLEXIB                                                          THE INSURER HAS NO RIGHT OF SUBROGATION AGAINST OWNER OR
                                                                                                  CONTRACTOR IT IS AGREED THAT SAID INSURANCE REQUffiEMENTS SHALL
                            INDEMNIFICATION
                                                                                                  AUTOMATICALLY BE AMENDED TO CONFORM TO THE MAXIMUM
      13.1 CONTRACTOR SHALL GENERALLY HAVE THE PROTECTIONS,                                       MONETARY LIMITS PER.l\fiTTED UNDER APPLICABLE LAW.
BENEF1TS, AND INDEMNIF1CATIONS OF OWNER UNDER THE TERMS OF THE                                          13.4   1HIRD PARTY CLAIMS:
A.A.P.L FORM 610 - 1989 MODEL FORl\1 OPERATING AGREEMEI\'T ("' JOA") JUST
AS IF CONTRACTOR WERE THE DESIGNATED OPERATOR lTh!'DER THE JOA,                                   For losses, claims, demands, liabilities, or causes of action brought by or on behalf of
AND TO THE FULLEST EXTENT POSSIBLE, OWNER HEREBY ASSIGNS AND                                      anyone other than those claimants listed in Sections 13.2 and 13.3 above, the Parties'
TRANSFERS ALL OF SUCH PROTECTIONS, BENEFITS AND INDEMNIFICATIONS                                  respective indemnity obligations shall be as set forth in this Section 13.4.
TO CONTRACTOR DURING THE TERM OF THIS AGREEMENT; PROVIDED,
HOWEVER, TilAT SUCH ASSIGNMENT SHALL NOT ENTITLE CONTRACTOR (A)                                              (1) Contractor's Negligence: CONTRACTOR AGREES TO PROTECT,
TO CLAIM OR ASSERT ANY LIENS OR SECURITY INTERESTS THAT WOULD BE                                        DEFEND (INCLUDING ALL COSTS, EXPENSES, AND REASONABLE
GRANTED TO THE OPERATOR UNDER THE JOA, OR (B) TO SETTLE ANY                                             ATTORNEYS' FEES), INDEMNIFY, RELEASE AND HOLD THE OWNER
CLAIMS OR LAWSUITS PERTAINING TO THE CONTRACT AREA.                                                     INDEMNIFIED PARTIES HARMLESS FROM AND AGAINST ANY AND ALL
                                                                                                        LOSSES, CLAIMS, DEMANDS, LIABILITIES, OR CAUSES OF ACTION OF
     13.2   CONTRACTOR'S RELEASE OF OWNER:                                                              EVERY KIND AND CHARACTER, IN FAVOR OF ANY PERSON OR PARTY,
                                                                                                        FOR INJURY TO OR ILLNESS OR DEATH OF Al'I-Y PERSON, OTHER THAN
CONTRACTOR RELEASES OWNER AND OWNER'S PARENT, SUBSIDIARIES,                                             AS PROVIDED IN SECTIONS 13.2 AND 13.3 ABOVE, OR DAMAGE TO OR
OFF1CERS, DIRECTORS, AND EMPLOYEES (...OWNER PARTIES") OF AND FROM                                      LOSS OF PROPERTY OF ANY SUCH PERSON, AND WHICH SUCH INJURY,
ANY LIABILITY AS TO ALL CLAIMS, PENALTIES, DEMANDS, AND CAUSES OF                                       ILLNESS, DEATH OR PROPERTY DAMAGE ARISES OUT OF OR IS
ACTION OF EVERY KIND AND CHARACTER, WITHOUT LIMIT AND WITHOUT                                           INCIDENT TO ANY WORK OR SERVICE TO BE PERFORMED UI\'DER THIS
REGARD TO THE CAUSE OR CAUSES THEREOF OR THE NEGLIGENCE                                                 AGREEMENT TO THE EXTENT, AND IN THE PROPORTION THAT, SUCH
(EXCLUDING GROSS NEGLIGENCE AND WILLFUL .MISCONDUCT) OF ANY OF                                          INJURY, ILLNESS, DEATH OR PROPERTY DAMAGE IS CAUSED OTHER
THE OWNER PARTIES, ON ACCOUNT OF BODILY INJURY, DEATH AND/OR                                            THAN BY THE NEGLIGENCE OF OWNER, ITS EMPLOYEES, AGENTS OR
DAMAGE TO OR LOSS OF PROPERTY OF ANY KIND.          CONTRACTOR'S                                        OTHER CONTRACTORS THAT ARE DIRECTLY RESPONSIBLE TO OWNER
OBLIGATIONS UNDER THIS SECTION SHALL BE PRIMARY AND WITHOUT
REGARD TO AND WITHOUT ANY RIGHT TO CONTRIBUTION FROM ANY                                                     (2)  Owner's Negligence: OWNER AGREES TO PROTECT, DEFEND
INSURANCE MAINTAINED OR l\'IADE AVAILABLE TO OWNER CONTRACTOR                                           (INCLUDING ALL COSTS, EXPENSES, AND ATTORNEYS' FEES),
AND OWNER HEREBY AGREE THAT CONTRACTOR WILL BE COVERED BY                                               INDEMNIFY, RELEASE AND HOLD THE CONTRACTOR INDEMNIFIED
AVAILABLE LIABILITY INSURANCE, UNDER WHICH THE INSURER HAS NO                                           PARTIES HARi\1LESS FROM AND AGAINST ANY A.t'ID ALL LOSSES,
RIGHT OF SUBROGATION AGAINST OWNER OR CONTRACTOR IT IS AGREED                                           CLAIMS, DEMANDS, LIABILITIES, OR CAUSES OF ACTION OF EVERY
THAT SAID INSURANCE REQUIREMENTS SHALL AUTOMATICALLY BE                                                 KIND AND CHARACTER, IN FAVOR OF ANY PERSON OR PARTY, FOR
AMENDED TO CONFORM TO THE MAXIMUM MONETARY LIMITS PER.MITTED                                            INJURY TO OR ILLNESS OR DEATH OF ANY PERSON, OTHER THAN AS
UNDER APPLICABLE LAW.                                                                                   PROVIDED IN SECTIONS 13.2 AND 13.3 ABOVE, OR DAMAGE TO OR LOSS
                                                                                                        OF PROPERTY OF ANY SUCH PERSON, AND WHICH SUCH INJURY,
     133    OWNER'S RELEASE OF CONTRACTOR:                                                              ILLNESS, DEATH OR PROPERTY DA.t\1AGE ARISES OUT OF OR IS



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     INCIDENT TO ANY WORK OR SERVICE TO BE PERFORMED UNDER THIS
     AGREEMENT, TO THE EXTENT, AND ONLY TO THE EXTENT, AND ONLY
     IN THE PROPORTION THAT, SUCH INJURY, ILLNESS, DEATH OR                                            13.8 As a part of the consideration for this Agreement, Contractor hereby agrees that
     PROPERTY DAMAGE IS CAUSED BY THE NEGLIGENCE OF OWNER, ITS                                  the provisions of the foregoing Sections 13.2. through 13.7 inclusive shall extend to and be
     EMPLOYEES, AGENTS OR OTHER CONTRACTORS THAT ARE DIRECTLY                                   enforceable by and for the benefit of any non-operating concurrent working interest Owner, joint
     RESPONSIBLE TO OWNER                                                                       ventures or partners for whom Owner may be perfonning operations or services.
     13.5 IT IS THE INTENT OF THE PARTIES HERETO THAT ALL
OBLIGATIONS, LIABILITIES, AND RISKS ALLOCATED OR ASSUMED BY THE
                                                                                                WSCELLANEOUS
PARTIES UNDER TERMS OF THIS CONTRACT, INCLUDING, WITHOUT
LIMITATION, SECTIONS 13.2 THROUGH ill, BE WITHOUT LIMIT AND
                                                                                                        14.1 This Agreement, drawn in counterpart, shall be binding upon the Parties and their
WITHOUT REGARD TO THE CAUSE OR CAUSES THEREOF, INCLUDING
                                                                                                respective successors, and assigns. Notwithstanding the foregoing, this Agreement and the
PREEXISTING CONDITIONS, STRICT LIABILITY, VIOLATIONS OF ANY STATE,
                                                                                                duties and obligations hereunder are not assignable by Contractor without the written consent of
OR FEDERAL LAW, BREACH OF CONTRACT, BREACH OF WARRANTY,                                         Owner.
TRESPASS, CONVERSION, NUISANCE, TORT, OR THE NEGLIGENCE OF ANY
PARTY OR PARTIES, WHETHER SUCH NEGLIGENCE BE SOLE, JOINT OR                                             14.2 In any dispute arising among the Parties to this Agreement, the prevailing party
CONCURRENT, ACTIVE OR PASSIVE. THE RELEASES AND ASSUMPTIONS OF                                  shall be entitled to collect all costs, including attorneys' fees.
LIABILITY AND ALLOCATIONS OF RISKS EXTENDED BY THE PARTIES
HERETO UNDER SECTIONS 13.2 THROUGH 13.4 SHALL INURE TO THE BENEFIT                                     14.3 The captions of any articles herein are intended for convenient references only
OF THE PARTIES, THEIR PARENT, HOLDING AND SUBSIDIARIES, AFFILIATES,                             and same shall not be, nor be deemed to be, interpretive of the contents of such sections.
AND THEIR RESPECTIVE OFFICERS, DIRECTORS, EMPLOYEES, AGENTS AND
SERVANTS. THE TERMS AND PROVISIONS OF SECTIONS 13.2 THROUGH 13.4                                         14.4 Harris Co1IDty, Texas shall be the exclusive venue and jurisdiction for any
SHALL HAVE NO APPLICATION TO CLAIMS OR CAUSES OF ACTION ASSERTED                                litigation between the Parties.
AGAINST OWNER OR CONTRACTOR BY REASON OF ANY AGREEMENT OF
INDEMNITY WITH A PERSON OR ENTITY NOT A PARTY HERETO.                                                   14.5 If any provision or part of any provision of this Agreement shall be held invalid,
                                                                                                the remainder shall be deemed valid and effective, and the Parties shall endeavor to replace the
     13.6 IT IS EXPRESSLY AGREED THAT OWNER SHALL NOT BE LIABLE                                 invalid tenns with tenns which correspond best to the original economic and general intention of
TO THE CONTRACTOR PARTIES FOR ANY SPECIAL, PUNITIVE, INDIRECT,                                  the Parties, it being the intention of the Parties hereto that each provision hereof is being
INCIDENTAL OR CONSEQUENTIAL DAMAGES RESULTING FROM OR ARISING                                   stipulated separately.
DIRECTLY OR INDIRECTLY, OUT OR OF IN CONNECTION WITH THE SERVICES
OR OPERATIONS HEREUNDER RELATED TO RESERVOIR DAMAGE, LOSS OF                                          14.6 EACH       PARTY    HERETO     KNOWINGLY,    VOLUNTARfL Y,
RESERVES, OR CRATERING OR BLOWOUT OF THE BOREHOLE, INCLUDING,                                   INTENTIONALLY, AND IRREVOCABLY (a) WAIVES, TO THE MAXIMUM EXTENT
WITHOUT LIMITATION, LOSS OF USE, LOSS OF DATA, LOSS OF ASSETS, LOSS                             NOT PROHIB1TED BY LAW, ANY RIGHT IT MAY HAVE TO A 1RIAL BY JURY IN
OF PROFTI, LOSS OF BUSINESS, OR BUSINESS INTERRUPTION UNLESS CAUSED                             RESPECT OF ANY LITIGATION BASED ON TI-llS AGREE11ENT, OR DIRECTI.. Y OR
BY THE SOLE NEGLIGENCE (ACTIVE OR PASSIVE) OF OWNER OR ANY OF THE                               INDIRECTLY AT ANY TTh-1E ARISING OUT OF, UNDER OR IN CONNECTION WITH
OWNER PARTIES.                                                                                  TIIIS AGREEt-.1ENT OR ANY TRANSACTION CONTEMPLAlED OR ASSOCIATED
                                                                                                THEREWITH, BEFORE OR AFTER TERMINATION; (b) WAIVES, TO THE MAXIMUM
     13.7 IT IS EXPRESSLY AGREED THAT COl'iJRACTOR SHALL NOT BE                                 EXTENT NOT PROHIBITED BY LAW, ANY RIGHT IT MAY HAVE TO CLAIM OR
LIABLE TO THE OWNER PARTIES FOR At-i'Y SPECIAL, PUNITIVE, INDIRECT,                             RECOVER IN ANY SUCH LITIGATION ANY "SPECIAL DAMAGES," AS DEFINED
INCIDENTAL OR CONSEQUENTIAL DAMAGES RESULTING FROM OR ARISING                                   BELOW; (c) CERTIFIES THAT NEITIIER IT NOR ANY OF ITS REPRESENTATIVES,
DIRECTLY OR INDIRECTLY, OUT OR OF IN CONNECTION WITH THE SERVICES                               AGENTS OR COUNSELORS HAS REPRESENTED, EXPRESSLY OR OTIIERWISE, OR
OR OPERATIONS HEREUNDER RELATED TO RESERVOIR DAMAGE, LOSS OF                                    IMPLIED THAT TIIE CERTIFYING PARTY WOULD NOT, 1N THE EVENT OF
RESERVES, OR CRATERING OR BLOWOUT OF THE BOREHOLE, INCLUDING,                                   LITIGATION, SEEK TO ENFORCE THE FOREGOING WANERS; AND (d)
WITHOUT LThflTATION, LOSS OF USE, LOSS OF DATA, LOSS OF ASSETS, LOSS                            ACKNOWLEDGES THAT IT HAS BEEN INDUCED TO ENTER INTO IBIS AGREE:t\-1:ENT
OF PROFIT, LOSS OF BUSINESS, OR BUSINESS INTERRUPTION UNLESS CAUSED                             AND TIIE 1RANSACTIONS CONTEMPLA1ED TIIEREBY, BY, AMONG OTHER
BY THE SOLE NEGLIGENCE (ACTIVE OR PASSIVE) OF CONTRACTOR OR ANY                                 TIUNGS, TIIE MUTUAL WAIVERS AND CERTIFICATIONS 1N THIS SECTION. AS
OF THE CONTRACTOR PARTIES.                                                                      USED IN TIIIS SECTION, "SPECIAL DAMAGES'' INCLUDES ALL SPECIAL,
                                                                                                CONSEQUENTIAL,      INDIRECT,  EXEMPLARY,    OR  PUNITIVE   DAMAGES

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(REGARDLESS OF HOW NAMED), BUT DOES NOT INCLUDE ANY PAYMENTS OR                                                   IN WITNESS WHEREOF, the Parties have executed this Agreement effective as of the
FUNDS WHICH ANY PARTY HAS EXPRESSLY PROl'vllSED TO PAY OR DELIVER TO                                       day and year first above written.
ANY OTHER PARTY.
                                                                                                                                                     TRA&N :PERA.TING COMPANY
        14.7 This instrument embodies the whole agreement of the Parties. There are no
promises, terms, conditions, or obligations other than those contained herein. Should Contractor
provide or render any Service, then in the event of a conflict between the tenns of performance
                                                                                                                                                    By    ! - W- i,ttJf
                                                                                                                                                    Printed Name: Patrick W Mecdtl
for such Services or Service, whether made orally or in writing, and the tenns of this Agreement,                                                   Title:    President
the tenns of this Agreement shall prevail except for any activity-specific instructions or
directions. In the event of a conflict between the provisions hereof and the provisions of any
printed or other pre-prepared form of work or service order, job, or delivery ticket, or other
similar form, submitted to Contractor by Owner in connection with any Services performed
hereunder, the provisions of this Agreement shall prevail and be controlling.

                  [SIGNATURES APPEAR ON THE FOLLOWING PAGE}




                                                                                                                                                Signature Page to
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  EXHIBIT 6 TO SETTLEMENT AGREEMENT

            SETTLEMENT APPROVAL ORDER
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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM, INC.,                                     §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                     §
PAYSON OPERATING, LLC,                                      §              Case No. 16-41044
                                                            §
         DEBTORS.                                           §              Chapter 11


    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 ( the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC (“Debtors”) in jointly

administered Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for

Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well

2014, L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that notice of the Motion and


1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

        ORDERED, ADJUDGED, AND DECREED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtors, their

bankruptcy estates and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

        3.       Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and all parties in interest.

        4.       Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

executed by 3 Well LP and the Subject Wells Assignment executed by 2014 LP, shall be property

of the Maricopa Resources, LLC bankruptcy estate.

        5.       The 3 Well LP Subject Claims Assignment and Participation Agreement attached


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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding

on the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       The 2014 LP Subject Claims Assignment and Participation Agreement attached as

an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        7.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        8.       A general unsecured claim of 3 Well LP against Maricopa Resources, LLC is

hereby allowed in an amount equal to 27.7891% of the Subject Net Well Proceeds, as that term is

defined in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        9.       A general unsecured claim of 2014 LP against Maricopa Resources, LLC is hereby

allowed in an amount equal to 72.21084% of the Subject Net Well Proceeds, as that term is defined

in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        10.      The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are


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released.

        11.      Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the following: (i) the 3 Well LP Avoidance Action

Claims Net Recovery and the 3 Well LP Partnership Related Claims Net Recovery (as those terms

are defined in the 3 Well LP Subject Claims Assignment and Participation Agreement), and (ii)

the 2014 LP Avoidance Action Claims Net Recovery and the 2014 LP Partnership Related Claims

Net Recovery (as those terms are defined in the 2014 LP Subject Claims Assignment and

Participation Agreement).

        12.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the (i) 3 Well LP Avoidance Action Claims, (ii) 3 Well LP Partnership Related Claims, (iii) 2014

LP Avoidance Action Claims, and (iv) 2014 LP Partnership Related Claims, without further order

of this Court.

        13.      Payson Petroleum is hereby appointed (i) the representative of the 3 Well LP

bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the 3

Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement, and (ii) the representative of the 2014 LP bankruptcy estate for purposes

of prosecuting the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims

pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement.

        14.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and


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Participation Agreement or this Order.

        15.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum has the exclusive authority to file suit, prosecute and settle the

3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the Payson/3

Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any litigation

or take any action with respect to the 3 Well LP Partnership Related Claims, the 3 Well LP

Avoidance Action Claims or the Payson/3 Well LP Partnership Related Claims that in its judgment

would not be cost justified.

        16.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of either parties entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

        17.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or take any action with respect to the 2014 LP Partnership Related Claims, the 2014 LP

Avoidance Action Claims or the Payson/2014 LP Partnership Related Claims that in its judgment

would not be cost justified.

        18.      The Debtors and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance


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with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        19.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                       HONORABLE BRENDA T. RHOADES,
                                                       UNITED STATES BANKRUPTCY JUDGE


SUBMITTED BY:

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AND MARICOPA RESOURCES, LLC



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COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
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AND MARICOPA RESOURCES, LLC




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PAYSON PETROLEUM 3 WELL 2014, L.P.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, LP,                                §              Case No. 17-40179
                                                            §              Chapter 7
         DEBTOR.                                            §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. (“Debtor”) in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014,

L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 3 Well LP Subject Claims Assignment and Participation Agreement attached


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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on

the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 3 Well LP is hereby

allowed in the amount of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred

Eighty-Eight and 50/100 U.S. Dollars ($8,557,888.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 3 Well LP Avoidance Action Claims Net Recovery

and the 3 Well LP Partnership Related Claims Net Recovery as those terms are defined in the 3

Well LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 3 Well LP Avoidance Action Claims and the 3 Well LP Partnership Related Claims without

further order of this Court. Payson Petroleum is hereby appointed the representative of the 3 Well

LP bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the


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3 Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement.

        11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and

Participation Agreement or this Order.

        12.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the

Payson/3 Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 3 Well LP Partnership Related Claims or the 3

Well LP Avoidance Action Claims that in its judgment would not be cost justified.

        13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                       HONORABLE BRENDA T. RHOADES,
                                                       UNITED STATES BANKRUPTCY JUDGE


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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PAYSON PETROLEUM 3 WELL 2014, L.P.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL 2014, LP,                           §              Case No. 17-40180
                                                            §              Chapter 7
         DEBTOR.                                            §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. (“Debtor”)

in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the Settlement

Agreement; and the Court having found that it has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of the

United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



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 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 2014 LP Subject Claims Assignment and Participation Agreement attached as


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an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 2014 LP is hereby allowed

in the amount of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100 U.S.

Dollars ($2,671,900.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 2014 LP Avoidance Action Claims Net Recovery

and the 2014 LP Partnership Related Claims Net Recovery as those terms are defined in the 2014

LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims without further

order of this Court. Payson Petroleum is hereby appointed the representative of the 2014 LP

bankruptcy estate for purposes of prosecuting the 2014 LP Avoidance Action Claims and the 2014


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LP Partnership Related Claims pursuant to the 2014 LP Subject Claims Assignment and

Participation Agreement.

        11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of any parties’ entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

        12.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 2014 LP Partnership Related Claims or the 2014

LP Avoidance Action Claims that in its judgment would not be cost justified.

        13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                       HONORABLE BRENDA T. RHOADES,
                                                       UNITED STATES BANKRUPTCY JUDGE


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SUBMITTED BY:

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AND MARICOPA RESOURCES, LLC



AGREED TO IN FORM AND SUBSTANCE BY:


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FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.




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  EXHIBIT 7 TO SETTLEMENT AGREEMENT

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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                    §
                                                          §
PAYSON PETROLEUM, INC.,                                   §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC,                                  §
PAYSON OPERATING, LLC,                                    §              Case No. 16-41044
                                                          §
       DEBTORS.                                           §              Chapter 11


          JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT
                   PURSUANT TO BANKRUPTCY RULE 9019


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
       BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
       HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
       RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. in

Bankruptcy Case No. 17-40180 (the “LP Trustee”) to file their Joint Motion to Approve

Compromise and Settlement Pursuant to Bankruptcy Rule 9019 (the “Joint Motion to



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Compromise”), and in support thereof, respectfully show unto the Court the following:

                                                  I.
                                          PROCEDURAL STATUS

        1.       Payson Debtor Bankruptcy Filings. On June 10, 2016, Payson Petroleum, Inc.

(“Payson Petroleum”), Payson Operating, LLC (“Payson Operating”), and Maricopa Resources,

LLC (“Maricopa”) filed voluntary petitions under Chapter 7 of the United States Bankruptcy Code

(the “Bankruptcy Code”) in this Bankruptcy Court. 1 See Docket No. 1 in Bankruptcy Case Nos.

16-41043, 16-40144, and 16-40145. On July 12, 2016, the Bankruptcy Court entered orders

converting the Payson Debtors’ bankruptcy cases to cases under Chapter 11 of the Bankruptcy

Code. See Docket No. 39 in Case No. 16-41043, Docket No. 33 in Case No. 16-40144, and Docket

No. 41 in Case No. 16-40145. On July 18, 2016, the Bankruptcy Court entered orders approving

the United States Trustee’s applications to appoint the Payson Trustee as the Chapter 11 Trustee

in the Payson Debtors’ bankruptcy cases. See Docket No. 55 in Case No. 16-41043, Docket No.

50 in Case No. 16-40144, and Docket No. 57 in Case No. 16-41045. On August 11, 2016, the

Bankruptcy Court ordered the joint administration of the Payson Debtors’ bankruptcy cases under

Case No. 16-41044. See Docket No. 75 in Case No. 16-41043, Docket No. 73 in Case No. 16-

41044, and Docket No. 81 in Case No. 16-41045.

        2.       Adversary Proceeding.            On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 in

Adversary Proceeding No. 16-04106 (the “Adversary Proceeding”) against Payson Petroleum 3

Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”).

        3.       LP Debtor Bankruptcy Filings. On January 31, 2017, 3 Well LP and 2014 LP

(collectively, the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.


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    Collectively, Payson Petroleum, Payson Operating, and Maricopa are the “Payson Debtors.”


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See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. LP Trustee was

appointed as Chapter 7 Trustee for the LP Debtors.

        4.       Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in Adversary

Proceeding. On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion

to Lift Stay in LP Debtor’s bankruptcy cases which, inter alia, provides that the parties are “granted

relief from the automatic stay … to continue with and fully litigate claims that are or could be

pled” in the Adversary Proceeding. Docket No. 26 in Case No. 17-40180 and Docket No. 29 in

Case No. 17-40179.

        5.       Amended Complaint. On July 13, 2017, Payson Trustee filed his First Amended

Complaint in the Adversary Proceeding. See Docket No. 25 in Adversary Proceeding.

        6.       Jurisdiction & Venue. This Court has jurisdiction over the subject matter of this

Joint Motion to Compromise pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 II.
                                        FACTUAL BACKGROUND

        7.       Nature of Payson Debtors’ Businesses.                 Matthew C. Griffin (“Griffin”) formed

Payson Petroleum in 2008 to, inter alia, (i) promote the sale of interests in limited partnerships

and (ii) operate oil and gas wells for such limited partnerships. Griffin formed Payson Operating

in 2010 to act as a contract operator for Payson Petroleum. Griffin formed Maricopa in 2012 to,

inter alia, engage in the acquisition and sale of Grayson County, Texas oil and gas leases.

        8.       Nature of 3 Well LP’s and 2014 LP’s Businesses. Payson Petroleum Grayson, LLC

formed 3 Well LP in 2013 and 2014 LP in 2014 to, inter alia, drill, complete, and own interests in

the Subject Wells.



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       9.       Turnkey Agreements. On or about October 13, 2013, Payson Petroleum and 3 Well

LP entered into a Subscription Turn Key Agreement under which 3 Well LP agreed to pay Payson

Petroleum certain amounts for the drilling and completion of the Subject Wells (the “3 Well LP

Turnkey Agreement”). On or about January 12, 2014, Payson Petroleum and 2014 LP entered into

a Subscription Turn Key Agreement under which 2014 LP agreed to pay Payson Petroleum certain

amounts for the drilling and completion of the Subject Wells (the “2014 LP Turnkey Agreement”

and collectively with the 3 Well LP Turnkey Agreement the “Turnkey Agreements”). In the

Adversary Proceeding, Payson Petroleum asserts claims for breach of the Turnkey Agreements

against 3 Well LP in the amount of $17,115,777 and 2014 LP in the amount of $5,343,803 (the

“Breach of Turnkey Agreement Claims”).

       10.      Working Interest Assignments. On or about Marcy 28, 2016, Maricopa assigned

certain interests in the William #1H (API # 181-31557), Crowe #2 (API #181-31543), and Elaine

#1 (API #181-31547) (collectively the “Subject Wells”) to 3 Well LP and 2014 LP via three (3)

certain Wellbore Assignments, Conveyances, Bills of Sale, and Releases, which were recorded in

the real property records of Grayson County, Texas at Instrument Numbers: 2016-00006064,

2016-00006065, and 2016-00006066. The working interests assigned are set forth below:

                                                                               Working
                                                                                Interest
                        Subject Well                    Assignee               Assigned
                      Williams #1H Well                  2014 LP              72.210840%
                      Williams #1H Well                 3 Well LP             27.789160%
                       Crowe #2 Well                     2014 LP              72.210840%
                       Crowe #2 Well                    3 Well LP             27.789160%
                       Elaine #1 Well                    2014 LP              72.210840%
                       Elaine #1 Well                   3 Well LP             27.789160%

(collectively the “Working Interest Assignments”). In the Adversary Proceeding, Maricopa asserts

claims under 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce



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Code against 3 Well LP and 2014 LP for avoidance of the Working Interest Assignments and

recovery of the interests transferred or their value. Post-bankruptcy petition production revenue

attributable to the Working Interest Assignments has been held by Traton Operating Company

(“Traton”), the Payson Trustee’s approved contract operating company.

        11.      Additional Avoidable Transfers. In addition to the Working Interest Assignments,

Payson Petroleum transferred $1,274,310 to 3 Well LP and $2,862,000 to 2014 LP between

January and February 2014 in exchange for interests in those limited partnerships that Payson

Petroleum knew or should have known were worth far less than the amounts transferred (the

“Investment Transfers”). In the Adversary Proceeding, the Payson Trustee asserts claims under

11 U.S.C. § 544 and 550 and Chapter 24 of the Texas Business and Commerce Code to avoid and

recover the Investment Transfers from 3 Well LP and 2014 LP (the “Investment Transfer Claims”).

                                                 III.
                                        PROPOSED SETTLEMENT

        12.      The Payson Trustee, Payson Debtors, LP Trustee, and LP Debtors have reached a

settlement of issues asserted in the Adversary Proceeding and other claims that have our could

have been asserted between the parties. Attached hereto as Exhibit A is a copy of the Settlement

Agreement. 2

        13.      Agreed Final Judgment. As explained in the Settlement Agreement, the parties will

resolve the Adversary Proceeding by filing a Joint Motion for Entry of Agreed Final Judgment and

will use their best efforts to have the Agreed Final Judgment entered by the Bankruptcy Court.

The Agreed Final Judgment will, inter alia, provide that the Wellbore Interest Assignments are


2
    To the extent of any inconsistency between the Settlement Agreement and the summary of that agreement set
    forth in this Joint Motion to Compromise, the terms of the Settlement Agreement control. This outline is not
    intended to repeat all terms of the Settlement Agreement and persons reading this Joint Motion to Compromise
    are encouraged to read the Settlement Agreement. Capitalized Terms used but not otherwise defined herein have
    the meaning ascribed to them in the Joint Motion to Compromise or the Settlement Agreement as applicable.


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avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B) and grant judgment in favor of Payson

Petroleum on its Breach of Turnkey Agreement Claims against 3 Well LP in the amount of

$8,557,888.50 and 2014 LP in the amount of $2,671,900.50. See Exhibit 3 to Settlement

Agreement.

        14.      Conveyance of Interests in Subject Wells. 3 Well LP and 2014 LP will reassign

the avoided interests in the Subject Wells to Maricopa, which will continue to be operated by

Traton until Maricopa sells those interests under 11 U.S.C. § 363. As explained in further detail

in the Settlement Agreement, the net proceeds obtained from the operation and sale of the Subject

Wells (defined in the Settlement Agreement as the Subject Wells Net Proceeds) will be distributed

as follows: (i) 55% to Maricopa, (ii) 32.4945% to 2014 LP, and (iii) 12.5055% to 3 Well LP.

Maricopa will retain a $50,000 Operating Reserve to satisfy costs related to operation of the

Subject Wells.

        15.      Allowed Claims. The Settlement Agreement also provides that the parties will

agree to the following allowed unsecured claims:

        •        Payson Petroleum shall hold (i) an allowed unsecured claim in the 3 Well LP
                 bankruptcy case in the amount of $8,557,888.50 and (ii) an allowed unsecured
                 claim in the 2014 LP bankruptcy case in the amount of $2,671,900.50;

        •        3 Well LP shall hold an allowed general unsecured claim in the Maricopa
                 bankruptcy case in an amount equal to 27.78916% of the Subject Net Well Proceeds
                 actually delivered to Maricopa pursuant to the Settlement Agreement; and

        •        2014 LP shall hold an allowed general unsecured claim in the Maricopa bankruptcy
                 case in an amount equal to 72.21084% of the Subject Net Well Proceeds actually
                 delivered to Maricopa pursuant to the Settlement Agreement.

        16.      Prosecution of and Participation in Avoidance Action Claims. The Settlement

Agreement further provides that the parties will enter into (i) the 3 Well LP Subject Claims

Assignment and Participation Agreement and (ii) the 2014 LP Subject Claims Assignment and



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Participation Agreement (collectively the “Claims Assignment and Participation Agreements”).

Pursuant to the Claims Assignment and Participation Agreements:

        •        3 Well LP will assign a fifty percent (50%) interest in net recoveries from litigation
                 of 3 Well LP Avoidance Action Claims and 3 Well LP Partnership Related Claims,
                 as defined in the 3 Well LP Subject Claims Assignment and Participation
                 Agreement, with 3 Well LP retaining the remaining fifty percent (50%) interest;
                 and

        •        2014 LP will assign a fifty percent (50%) interest in net recoveries from litigation
                 of 2014 LP Avoidance Action Claims and 2014 Partnership Related Claims, as
                 defined in the 2014 LP Subject Claims Assignment and Participation Agreement,
                 with 2014 LP retaining the remaining fifty percent (50%) interest.

Payson Petroleum shall be granted standing to prosecute 3 Well LP and 2014 LP Avoidance Action

Claims and Partnership Related Claims in the 3 Well LP and 2014 LP bankruptcy cases, and 3

Well LP and 2014 LP shall enter into engagement agreements with special litigation counsel for

the Payson Trustee to prosecute such claims for the benefit of the Payson Petroleum, 3 Well LP,

and 2014 LP bankruptcy estates.

        17.      Releases. Except for claims expressly reserved in the Settlement Agreement, all

claims or causes action between the parties will be released.

                                                      IV.
                                                  RATIONALE

        18.      Benefit to Maricopa Estate. The Maricopa bankruptcy estate receives the following

benefits from the settlement:

        •        the interests assigned to 3 Well LP and 2014 LP via the Working Interest
                 Assignments will be reassigned to Maricopa, and Maricopa will 55% of the Subject
                 Wells Net Proceeds, plus a $50,000 Operating Reserve to satisfy costs associated
                 with operation of the Subject Wells; and

        •        except for claims expressly preserved under the Settlement Agreement, Maricopa’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against Maricopa by 3 Well LP and/or 2014 LP.


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        19.      Benefit to Payson Petroleum Estate. The Payson Petroleum bankruptcy estate

receives the following benefits from the settlement:

        •        an allowed general unsecured claim in the 3 Well LP bankruptcy case in the amount
                 of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred Eighty-Eight
                 and 50/100 U.S. Dollars ($8,557,888.50) on account of Payson Petroleum’s Breach
                 of Turnkey Agreement claim against 3 Well LP;

        •        an allowed general unsecured claim in the 2014 LP bankruptcy case in the amount
                 of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100
                 U.S. Dollars ($2,671,900.50) on account of Payson Petroleum’s Breach of Turnkey
                 Agreement claim against 2014 LP;

        •        Payson Petroleum is (i) granted standing and authority to enforce and prosecute 3
                 Well LP Avoidance Action Claims, 2014 LP Avoidance Action Claims, 3 Well LP
                 Partnership Related Claims, and 2014 LP Partnership Related Claims (the “Subject
                 Claims”) and (ii) will hold a fifty percent (50%) participation interest in net
                 recoveries from the Subject Claims as further described in the Settlement
                 Agreement, 3 Well LP Subject Claims Assignment and Participation Agreement
                 and 2014 LP Subject Claims Assignment and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, Payson
                 Petroleum’s bankruptcy estate is released from claims which have been or could
                 have been asserted against Payson Petroleum by 3 Well LP and/or 2014 LP.

        20.      Benefit to Payson Operating Estate. Except for claims expressly preserved under

the Settlement Agreement, Payson Operating’s bankruptcy estate is released from claims which

have been or could have been asserted against Payson Operating by 3 Well LP and/or 2014 LP.

        21.      Benefit to 3 Well LP Estate. The 3 Well LP bankruptcy estate receives the

following benefits from the settlement:

        •        3 Well LP will obtain 12.5055% of the Subject Wells Net Proceeds;

        •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                 equal to 27.78916% of the Subject Wells Net Proceeds actually delivered to
                 Maricopa pursuant to the Settlement Agreement;


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        •        3 Well LP will retain a fifty percent (50%) interest in all 3 Well LP Avoidance
                 Action Claims Net Recovery and 3 Well LP Partnership Related Claims Net
                 Recovery as further described in the Settlement Agreement and 3 Well LP Subject
                 Claims Assignment and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, 3 Well LP’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against 3 Well LP by Payson Petroleum, Payson Operating, and/or
                 Maricopa.

        22.      Benefit to 2014 LP Estate. The 2014 LP bankruptcy estate receives the following

benefits from the settlement:

        •        2014 LP will obtain 32.4945% of the Subject Wells Net Proceeds;

        •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                 equal to 72.21084% of the Subject Wells Net Proceeds actually delivered to
                 Maricopa pursuant to the Settlement Agreement;

        •        2014 LP will retain a fifty percent (50%) interest in all 2014 LP Avoidance Action
                 Claims Net Recovery and 2014 LP Partnership Related Claims Net Recovery as
                 further described in the Settlement Agreement and 3 Well LP Subject Claims
                 Assignment and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, 2014 LP’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against 2014 LP by Payson Petroleum, Payson Operating, and/or
                 Maricopa.

                                                    V.
                                            RELIEF REQUESTED

        23.      The Payson Trustee and LP Trustee respectfully request that the Court approve the

proposed Settlement Agreement attached hereto as Exhibit A and grant them such other and further

relief to which they may be entitled.




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                                                    VI.
                                             BASIS FOR RELIEF

        24.      Bankruptcy Courts are “empowered to approve a compromise settlement of a

debtor’s claim under Bankruptcy Rule 9019(a).” Official Comm. of Unsecured Creditors v. Cajun

Electric Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir.

1997). “Approval should only be given if the settlement is fair and equitable and in the best interest

of the estate.” Id. (internal quotes & cite omitted). “In deciding whether a settlement of litigation

is fair and equitable, a judge in bankruptcy must make a well-informed decision, ‘comparing the

terms of the compromise with the likely rewards of litigation.’” Id. at 356 (quoting Rivercity v.

Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)). Courts consider the

following factors in determining whether a settlement is fair and equitable “(1) [t]he probability of

success in the litigation, with due consideration for the uncertainty in fact and law, (2) [t]he

complexity and likely duration of the litigation and any attendant expense, inconvenience and

delay, and (3) all other factors bearing on the wisdom of the compromise.” Id.

        25.      The factors support granting the Joint Motion to Compromise. First, the disputes

are hotly contested and would require lengthy and likely expensive litigation to resolve, and the

Settlement Agreement was reached after good-faith, contentious, and arms-length negotiations.

The Payson Trustee and LP Trustee desire to avoid lengthy litigation between the respective

bankruptcy estates so they can focus on enhancing the value of those estates for the benefit of

creditors. Litigation would be expensive and involve, inter alia, complex factual issues regarding

the value of the property transferred and solvency of the various bankruptcy estates. The

Settlement Agreement, on the other hand, allows the Payson Trustee to distribute hydrocarbon

proceeds currently held in suspense and initiate a sales process to monetize the Subject Wells for

the benefit of creditors of Maricopa, 3 Well LP, and 2014 LP. Additionally, the Settlement



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Agreement (i) reduces 3 Well LP and 2014 LP’s liability for failing to pay Payson Petroleum

amounts owed under the Turnkey Agreements by fifty percent (50%), (ii) provides an arrangement

for coordinated prosecution of avoidance actions and sharing in the proceeds of the same, and (iii)

eliminates the potential that the LP Trustee and Payson Trustee would pursue substantially similar

claims against partners of 3 Well LP and 2014 LP in different proceedings and forums. In sum,

the Payson Trustee and LP Trustee believe the Settlement Agreement is in the best interests of

their respective bankruptcy estates and should be approved. See Affidavit of Jason R. Searcy,

attached as Exhibit B and Affidavit of Christopher J. Moser, attached as Exhibit C.

        26.      A proposed agreed order is attached hereto as Exhibit D.

                                                     PRAYER

        WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 11 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estates of Payson Petroleum

3 Well, L.P. and Payson Petroleum 3 Well 2014, L.P. respectfully request that the Court approve

the Agreement and grant them such other and further relief to which they may be justly entitled.




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Dated: ___, 2017                                      Respectfully submitted,

                                                      By:      /s/
                                                             Phil Snow
                                                             State Bar No. 18812600
                                                             Blake Hamm
                                                             State Bar No. 24069869
                                                             SNOW SPENCE GREEN LLP
                                                             2929 Allen Parkway, Suite 2800
                                                             Houston, Texas 77019
                                                             (713) 335-4800
                                                             (713) 335-4848 (Fax)

                                                             COUNSEL FOR JASON R. SEARCY,
                                                             CHAPTER 11 TRUSTEE FOR PAYSON
                                                             PETROLEUM, INC., PAYSON
                                                             OPERATING, LLC, AND MARICOPA
                                                             RESOURCES, LLC


                                                       By:     /s/
                                                             Keith W. Harvey
                                                             State Bar No. 09180100
                                                             THE HARVEY LAW FIRM, P.C.
                                                             6510 Abrams Road
                                                             Suite 280
                                                             Dallas, Texas 75231
                                                             (972) 243-3960 Phone
                                                             (972)-241-3970 Facsimile

                                                             COUNSEL FOR CHRISTOPHER J.
                                                             MOSER, CHAPTER 7 TRUSTEE FOR
                                                             PAYSON PETROLEUM 3 WELL, L.P.
                                                             AND PAYSON PETROLEUM 3 WELL
                                                             2014, L.P.




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                                           CERTIFICATE OF SERVICE

         The undersigned certifies that on __, 2017, a true and correct copy of this document was
served (i) via the Court’s electronic case filing system upon the parties listed below or by email
listed below, (ii) via the Court’s electronic case filing system for Eastern District of Texas upon
all parties requesting electronic notice of all filings and (iii) via regular First Class Mail, properly
addressed and postage prepaid, upon all parties listed on the Master Service List attached hereto.


 Debtors Payson Petroleum, Inc., Payson Operating,                             Debtors Payson Petroleum 3 Well ,
 LLC, and Maricopa Resources, LLC                                              LP and Payson Petroleum 3 Well
 Mark A. Weisbart                                                              2014, LP
 12770 Coil Road, Suite 541                                                    1757 Harpsichord Way
 Dallas, TX 75251                                                              Henderson, NV 89012
 weisbartm@earthlink.net,
 TX56@ecfcbis.com;mweisbart@ecf.epiqsystems.com;
 tarah_simmons@earthlink.net


 Dan Chern                                                                     Daniel P. Winikka
 The Law Offices of Dan Chern                                                  12377 Merit Drive, Ste. 900
 12801 N. Central Expressway, Suite 1558                                       Dallas, TX 75251
 Dallas, Texas 75243                                                           danw@LFDSlaw.com
 dbc@dchern.com


 US Trustee
 Office of the US Trustee
 110 N. College Ave, #300
 Tyler, TX 75702
 USTPRegion06.TY.ECF@USDOJ.GOV


                                                            /s/
                                                            Blake Hamm




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       EXHIBIT A TO SETTLEMENT MOTION

                    SETTLEMENT AGREEMENT

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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                             B
                                      SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
        DEBTORS.                                           §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
        DEBTOR.                                            §

                         AFFIDAVIT OF JASON R. SEARCY
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF GREGG                              §

       BEFORE ME, the undersigned authority, on this day personally appeared Jason R. Searcy,
known to be the person whose name is subscribed hereto, who, having been duly sworn, did depose
and on oath state:
        My name is Jason R. Searcy. I am an attorney duly licensed to practice law in the State of
Texas. I am admitted to practice in all courts in the State of Texas, the United States District Court
for the Eastern District of Texas, the United States Fifth Circuit Court of Appeals and the United
States Supreme Court. I am the Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa
Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-
41044 (“Payson Trustee”). As set forth in the Joint Motion to Approve Compromise and
Settlement Pursuant to Bankruptcy Rule 9019 and based on my best belief and information, the


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proposed settlement obtains for the estate the most effective recovery of greater value than that
which could be obtained by other liquidation measures.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Jason R. Searcy
                                                            Payson Trustee

         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                  C
                                      SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
        DEBTORS.                                           §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
        DEBTOR.                                            §

                     AFFIDAVIT OF CHRISTOPHER J. MOSER
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF DALLAS                             §

       BEFORE ME, the undersigned authority, on this day personally appeared Christopher J.
Moser, known to be the person whose name is subscribed hereto, who, having been duly sworn,
did depose and on oath state:
        My name is Christopher J. Moser. I am an attorney duly licensed to practice law in the
State of Texas. I am admitted to practice in all courts in the State of Texas, the United States
District Court for the Eastern District of Texas and the United States Fifth Circuit of Appeals. I
am the Chapter 7 Trustee for Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179
and Payson Petroleum 3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (“LP Trustee”). As
set forth in the Joint Motion to Approve Compromise and Settlement Pursuant to Bankruptcy Rule
9019 (“Motion”) and based on my best belief and information, the proposed settlement obtains for


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the estate the most effective recovery of greater value than that which could be obtained by other
liquidation measures.

        It is my professional opinion that the settlement agreement reflected in the Motion is in the
best interest of the estate and comports with the settlement standards of Protective Comm. For
Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. Reh’g denied, 391
U.S. 909 (1968) and of River City vs. Herpel, (In re Jackson Brewing Co.), 624 F.2d 599, 602-603
(5th Cir. 1980). Accordingly, the settlement should be approved.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Christopher J. Moser
                                                            LP Trustee


         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM, INC.,                                     §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                     §
PAYSON OPERATING, LLC,                                      §              Case No. 16-41044
                                                            §
         DEBTORS.                                           §              Chapter 11


    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 ( the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC (“Debtors”) in jointly

administered Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for

Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well

2014, L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that notice of the Motion and


1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

        ORDERED, ADJUDGED, AND DECREED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtors, their

bankruptcy estates and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

        3.       Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and all parties in interest.

        4.       Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

executed by 3 Well LP and the Subject Wells Assignment executed by 2014 LP, shall be property

of the Maricopa Resources, LLC bankruptcy estate.

        5.       The 3 Well LP Subject Claims Assignment and Participation Agreement attached


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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding

on the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       The 2014 LP Subject Claims Assignment and Participation Agreement attached as

an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtors, their bankruptcy estates and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        7.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        8.       A general unsecured claim of 3 Well LP against Maricopa Resources, LLC is

hereby allowed in an amount equal to 27.7891% of the Subject Net Well Proceeds, as that term is

defined in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        9.       A general unsecured claim of 2014 LP against Maricopa Resources, LLC is hereby

allowed in an amount equal to 72.21084% of the Subject Net Well Proceeds, as that term is defined

in the Settlement Agreement, in Bankruptcy Case No. 16-41043, styled as In re Maricopa

Resources, LLC.

        10.      The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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released.

        11.      Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the following: (i) the 3 Well LP Avoidance Action

Claims Net Recovery and the 3 Well LP Partnership Related Claims Net Recovery (as those terms

are defined in the 3 Well LP Subject Claims Assignment and Participation Agreement), and (ii)

the 2014 LP Avoidance Action Claims Net Recovery and the 2014 LP Partnership Related Claims

Net Recovery (as those terms are defined in the 2014 LP Subject Claims Assignment and

Participation Agreement).

        12.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the (i) 3 Well LP Avoidance Action Claims, (ii) 3 Well LP Partnership Related Claims, (iii) 2014

LP Avoidance Action Claims, and (iv) 2014 LP Partnership Related Claims, without further order

of this Court.

        13.      Payson Petroleum is hereby appointed (i) the representative of the 3 Well LP

bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the 3

Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement, and (ii) the representative of the 2014 LP bankruptcy estate for purposes

of prosecuting the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims

pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement.

        14.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and


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Participation Agreement or this Order.

        15.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum has the exclusive authority to file suit, prosecute and settle the

3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the Payson/3

Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any litigation

or take any action with respect to the 3 Well LP Partnership Related Claims, the 3 Well LP

Avoidance Action Claims or the Payson/3 Well LP Partnership Related Claims that in its judgment

would not be cost justified.

        16.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of either parties entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

        17.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or take any action with respect to the 2014 LP Partnership Related Claims, the 2014 LP

Avoidance Action Claims or the Payson/2014 LP Partnership Related Claims that in its judgment

would not be cost justified.

        18.      The Debtors and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance


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with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        19.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




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SUBMITTED BY:

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AND MARICOPA RESOURCES, LLC


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FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.




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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                    §
                                                          §
PAYSON PETROLEUM 3 WELL, L.P.,                            §              Case No. 17-40179
                                                          §
       DEBTOR.                                            §              Chapter 7


  JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT PURSUANT
                     TO BANKRUPTCY RULE 9019


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
       BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
       HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
       RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 (the “LP Trustee”) to file their Joint Motion to

Approve Compromise and Settlement Pursuant to Bankruptcy Rule 9019 (the “Joint Motion to

Compromise”), and in support thereof, respectfully show unto the Court the following:




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                                                  I.
                                          PROCEDURAL STATUS

        1.       Payson Debtor Bankruptcy Filings. On June 10, 2016, Payson Petroleum, Inc.

(“Payson Petroleum”), Payson Operating, LLC (“Payson Operating”), and Maricopa Resources,

LLC (“Maricopa”) filed voluntary petitions under Chapter 7 of the United States Bankruptcy Code

(the “Bankruptcy Code”) in this Bankruptcy Court. 1 See Docket No. 1 in Bankruptcy Case Nos.

16-41043, 16-40144, and 16-40145. On July 12, 2016, the Bankruptcy Court entered orders

converting the Payson Debtors’ bankruptcy cases to cases under Chapter 11 of the Bankruptcy

Code. See Docket No. 39 in Case No. 16-41043, Docket No. 33 in Case No. 16-40144, and Docket

No. 41 in Case No. 16-40145. On July 18, 2016, the Bankruptcy Court entered orders approving

the United States Trustee’s applications to appoint the Payson Trustee as the Chapter 11 Trustee

in the Payson Debtors’ bankruptcy cases. See Docket No. 55 in Case No. 16-41043, Docket No.

50 in Case No. 16-40144, and Docket No. 57 in Case No. 16-41045. On August 11, 2016, the

Bankruptcy Court ordered the joint administration of the Payson Debtors’ bankruptcy cases under

Case No. 16-41044. See Docket No. 75 in Case No. 16-41043, Docket No. 73 in Case No. 16-

41044, and Docket No. 81 in Case No. 16-41045.

        2.       Adversary Proceeding.            On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 in

Adversary Proceeding No. 16-04106 (the “Adversary Proceeding”) against Payson Petroleum 3

Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”).

        3.       LP Debtor Bankruptcy Filings. On January 31, 2017, 3 Well LP and 2014 LP

(collectively, the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.

See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. LP Trustee was


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    Collectively, Payson Petroleum, Payson Operating, and Maricopa are the “Payson Debtors.”


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appointed as Chapter 7 Trustee for the LP Debtors.

        4.       Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in Adversary

Proceeding. On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion

to Lift Stay in LP Debtor’s bankruptcy cases which, inter alia, provides that the parties are “granted

relief from the automatic stay … to continue with and fully litigate claims that are or could be

pled” in the Adversary Proceeding. Docket No. 26 in Case No. 17-40180 and Docket No. 29 in

Case No. 17-40179.

        5.       Amended Complaint. On July 13, 2017, Payson Trustee filed his First Amended

Complaint in the Adversary Proceeding. See Docket No. 25 in Adversary Proceeding.

        6.       Jurisdiction & Venue. This Court has jurisdiction over the subject matter of this

Joint Motion to Compromise pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 II.
                                        FACTUAL BACKGROUND

        7.       Nature of Payson Debtors’ Businesses.                 Matthew C. Griffin (“Griffin”) formed

Payson Petroleum in 2008 to, inter alia, (i) promote the sale of interests in limited partnerships

and (ii) operate oil and gas wells for such limited partnerships. Griffin formed Payson Operating

in 2010 to act as a contract operator for Payson Petroleum. Griffin formed Maricopa in 2012 to,

inter alia, engage in the acquisition and sale of Grayson County, Texas oil and gas leases.

        8.       Nature of 3 Well LP’s Business. Payson Petroleum Grayson, LLC formed 3 Well

LP in 2013 to, inter alia, drill, complete, and own interests in the Subject Wells.

        9.       Turnkey Agreements. On or about October 13, 2013, Payson Petroleum and 3 Well

LP entered into a Subscription Turn Key Agreement under which 3 Well LP agreed to pay Payson



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Petroleum certain amounts for the drilling and completion of the Subject Wells (the “Turnkey

Agreement”). In the Adversary Proceeding, Payson Petroleum asserts a claim for breach of the

Turnkey Agreement against 3 Well LP in the amount of $17,115,777 (the “Breach of Turnkey

Agreement Claim”).

       10.      Working Interest Assignments. On or about Marcy 28, 2016, Maricopa assigned

certain interests in the William #1H (API # 181-31557), Crowe #2 (API #181-31543), and Elaine

#1 (API #181-31547) (collectively the “Subject Wells”) to 3 Well LP and 2014 LP via three (3)

certain Wellbore Assignments, Conveyances, Bills of Sale, and Releases, which were recorded in

the real property records of Grayson County, Texas at Instrument Numbers: 2016-00006064,

2016-00006065, and 2016-00006066. The working interests assigned are set forth below:

                                                                               Working
                                                                                Interest
                        Subject Well                    Assignee               Assigned
                      Williams #1H Well                  2014 LP              72.210840%
                      Williams #1H Well                 3 Well LP             27.789160%
                       Crowe #2 Well                     2014 LP              72.210840%
                       Crowe #2 Well                    3 Well LP             27.789160%
                       Elaine #1 Well                    2014 LP              72.210840%
                       Elaine #1 Well                   3 Well LP             27.789160%

(collectively the “Working Interest Assignments”). In the Adversary Proceeding, Maricopa asserts

claims under 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce

Code against 3 Well LP for avoidance of the Working Interest Assignments and recovery of the

interests transferred to 3 Well LP or their value. Post-bankruptcy petition production revenue

attributable to the Working Interest Assignments has been held by Traton Operating Company

(“Traton”), the Payson Trustee’s approved contract operating company.

       11.      Additional Avoidable Transfers. In addition to the Working Interest Assignments,

Payson Petroleum transferred $1,274,310 to 3 Well LP in January 2014 in exchange for interests



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in 3 Well LP that Payson Petroleum knew or should have known were worth far less than the

amounts transferred (the “Investment Transfer”). In the Adversary Proceeding, the Payson Trustee

asserts claims under 11 U.S.C. § 544 and 550 and Chapter 24 of the Texas Business and Commerce

Code to avoid and recover the Investment Transfer from 3 Well LP (the “Investment Transfer

Claim”).

                                                 III.
                                        PROPOSED SETTLEMENT

        12.      The Payson Trustee, Payson Debtors, LP Trustee, and LP Debtors have reached a

settlement of issues asserted in the Adversary Proceeding and other claims that have our could

have been asserted between the parties. Attached hereto as Exhibit A is a copy of the Settlement

Agreement. 2

        13.      Agreed Final Judgment. As explained in the Settlement Agreement, the parties will

resolve the Adversary Proceeding by filing a Joint Motion for Entry of Agreed Final Judgment and

will use their best efforts to have the Agreed Final Judgment entered by the Bankruptcy Court.

The Agreed Final Judgment will, inter alia, provide that the Wellbore Interest Assignments are

avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B) and grant judgment in favor of Payson

Petroleum on its Breach of Turnkey Agreement Claim against 3 Well LP in the amount of

$8,557,888.50. See Exhibit 3 to Settlement Agreement.

        14.      Conveyance of Interests in Subject Wells. 3 Well LP and 2014 LP will reassign

the avoided interests in the Subject Wells to Maricopa, which will continue to be operated by

Traton until Maricopa sells those interests under 11 U.S.C. § 363. As explained in further detail


2
    To the extent of any inconsistency between the Settlement Agreement and the summary of that agreement set
    forth in this Joint Motion to Compromise, the terms of the Settlement Agreement control. This outline is not
    intended to repeat all terms of the Settlement Agreement and persons reading this Joint Motion to Compromise
    are encouraged to read the Settlement Agreement. Capitalized Terms used but not otherwise defined herein have
    the meaning ascribed to them in the Joint Motion to Compromise or the Settlement Agreement as applicable.


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in the Settlement Agreement, the net proceeds obtained from the operation and sale of the Subject

Wells (defined in the Settlement Agreement as the Subject Wells Net Proceeds) will be distributed

as follows: (i) 55% to Maricopa, (ii) 32.4945% to 2014 LP, and (iii) 12.5055% to 3 Well LP.

Maricopa will retain a $50,000 Operating Reserve to satisfy costs related to operation of the

Subject Wells.

        15.      Allowed Claims. The Settlement Agreement also provides that the parties will

agree to the following allowed unsecured claims:

        •        Payson Petroleum shall hold an allowed unsecured claim in the 2014 LP bankruptcy
                 case in the amount of $2,671,900.50; and

        •        3 Well LP shall hold an allowed general unsecured claim in the Maricopa
                 bankruptcy case in an amount equal to 27.78916% of the Subject Net Well Proceeds
                 actually delivered to Maricopa pursuant to the Settlement Agreement.

        16.      Prosecution of and Participation in Avoidance Action Claims. The Settlement

Agreement further provides that the parties will enter into the 3 Well LP Subject Claims

Assignment and Participation Agreement (the “Claims Assignment and Participation

Agreement”). Pursuant to the Claims Assignment and Participation Agreement 3 Well LP will

assign a fifty percent (50%) interest in net recoveries from litigation of 3 Well LP Avoidance

Action Claims and 3 Well LP Partnership Related Claims, as defined in the Claims Assignment

and Participation Agreement, with 3 Well LP retaining the remaining fifty percent (50%) interest.

Payson Petroleum shall be granted standing to prosecute 3 Well LP Avoidance Action Claims and

Partnership Related Claims in the 3 Well LP bankruptcy case, and 3 Well LP shall enter into an

engagement agreement with special litigation counsel for the Payson Trustee to prosecute such

claims for the benefit of the Payson Petroleum and 3 Well LP bankruptcy estates.

        17.      Releases. Except for claims expressly reserved in the Settlement Agreement, all

claims or causes action between the parties will be released.



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                                                      IV.
                                                  RATIONALE

        18.      Benefit to Maricopa Estate. The Maricopa bankruptcy estate receives the following

benefits from the settlement:

        •        the interests assigned to 3 Well LP via the Working Interest Assignments will be
                 reassigned to Maricopa, and Maricopa will 55% of the Subject Wells Net Proceeds,
                 plus a $50,000 Operating Reserve to satisfy costs associated with operation of the
                 Subject Wells; and

        •        except for claims expressly preserved under the Settlement Agreement, Maricopa’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against Maricopa by 3 Well LP.

        19.      Benefit to Payson Petroleum Estate. The Payson Petroleum bankruptcy estate

receives the following benefits from the settlement:

        •        an allowed general unsecured claim in the 3 Well LP bankruptcy case in the amount
                 of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred Eighty-Eight
                 and 50/100 U.S. Dollars ($8,557,888.50) on account of Payson Petroleum’s Breach
                 of Turnkey Agreement claim against 3 Well LP;

        •        Payson Petroleum is (i) granted standing and authority to enforce and prosecute 3
                 Well LP Avoidance Action Claims and 3 Well LP Partnership Related Claims (the
                 “Subject Claims”) and (ii) will hold a fifty percent (50%) participation interest in
                 net recoveries from the Subject Claims as further described in the Settlement
                 Agreement and Claims Assignment and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, Payson
                 Petroleum’s bankruptcy estate is released from claims which have been or could
                 have been asserted against Payson Petroleum by 3 Well LP.

        20.      Benefit to Payson Operating Estate. Except for claims expressly preserved under

the Settlement Agreement, Payson Operating’s bankruptcy estate is released from claims which

have been or could have been asserted against Payson Operating by 3 Well LP.

        21.      Benefit to 3 Well LP Estate. The 3 Well LP bankruptcy estate receives the

following benefits from the settlement:


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        •        3 Well LP will obtain 12.5055% of the Subject Wells Net Proceeds;

        •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                 equal to 27.78916% of the Subject Wells Net Proceeds actually delivered to
                 Maricopa pursuant to the Settlement Agreement;

        •        3 Well LP will retain a fifty percent (50%) interest in all 3 Well LP Avoidance
                 Action Claims Net Recovery and 3 Well LP Partnership Related Claims Net
                 Recovery as further described in the Settlement Agreement and Claims Assignment
                 and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, 3 Well LP’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against 3 Well LP by Payson Petroleum, Payson Operating, and/or
                 Maricopa.

                                                    V.
                                            RELIEF REQUESTED

        22.      The Payson Trustee and LP Trustee respectfully request that the Court approve the

proposed Settlement Agreement attached hereto as Exhibit A and grant them such other and further

relief to which they may be entitled.

                                                    VI.
                                             BASIS FOR RELIEF

        23.      Bankruptcy Courts are “empowered to approve a compromise settlement of a

debtor’s claim under Bankruptcy Rule 9019(a).” Official Comm. of Unsecured Creditors v. Cajun

Electric Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir.

1997). “Approval should only be given if the settlement is fair and equitable and in the best interest

of the estate.” Id. (internal quotes & cite omitted). “In deciding whether a settlement of litigation

is fair and equitable, a judge in bankruptcy must make a well-informed decision, ‘comparing the

terms of the compromise with the likely rewards of litigation.’” Id. at 356 (quoting Rivercity v.

Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)). Courts consider the




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following factors in determining whether a settlement is fair and equitable “(1) [t]he probability of

success in the litigation, with due consideration for the uncertainty in fact and law, (2) [t]he

complexity and likely duration of the litigation and any attendant expense, inconvenience and

delay, and (3) all other factors bearing on the wisdom of the compromise.” Id.

        24.      The factors support granting the Joint Motion to Compromise. First, the disputes

are hotly contested and would require lengthy and likely expensive litigation to resolve, and the

Settlement Agreement was reached after good-faith, contentious, and arms-length negotiations.

The Payson Trustee and LP Trustee desire to avoid lengthy litigation between the respective

bankruptcy estates so they can focus on enhancing the value of those estates for the benefit of

creditors. Litigation would be expensive and involve, inter alia, complex factual issues regarding

the value of the property transferred and solvency of the various bankruptcy estates. The

Settlement Agreement, on the other hand, allows the Payson Trustee to distribute hydrocarbon

proceeds currently held in suspense and initiate a sales process to monetize the Subject Wells for

the benefit of creditors of Maricopa and 3 Well LP. Additionally, the Settlement Agreement (i)

reduces 3 Well LP’s liability for failing to pay Payson Petroleum amounts owed under the Turnkey

Agreement by fifty percent (50%), (ii) provides an arrangement for coordinated prosecution of

avoidance actions and sharing in the proceeds of the same, and (iii) eliminates the potential that

the LP Trustee and Payson Trustee would pursue substantially similar claims against partners of 3

Well LP in different proceedings and forums. In sum, the Payson Trustee and LP Trustee believe

the Settlement Agreement is in the best interests of their respective bankruptcy estates and should

be approved. See Affidavit of Jason R. Searcy, attached as Exhibit B and Affidavit of Christopher

J. Moser, attached as Exhibit C.

        25.      A proposed agreed order is attached hereto as Exhibit D.




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                                                     PRAYER

        WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 11 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estate of Payson Petroleum

3 Well, L.P. respectfully request that the Court approve the Agreement and grant them such other

and further relief to which they may be justly entitled.




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Dated: ___, 2017                                      Respectfully submitted,

                                                      By:      /s/
                                                             Phil Snow
                                                             State Bar No. 18812600
                                                             Blake Hamm
                                                             State Bar No. 24069869
                                                             SNOW SPENCE GREEN LLP
                                                             2929 Allen Parkway, Suite 2800
                                                             Houston, Texas 77019
                                                             (713) 335-4800
                                                             (713) 335-4848 (Fax)

                                                             COUNSEL FOR JASON R. SEARCY,
                                                             CHAPTER 11 TRUSTEE FOR PAYSON
                                                             PETROLEUM, INC., PAYSON
                                                             OPERATING, LLC, AND MARICOPA
                                                             RESOURCES, LLC


                                                       By:     /s/
                                                             Keith W. Harvey
                                                             State Bar No. 09180100
                                                             THE HARVEY LAW FIRM, P.C.
                                                             6510 Abrams Road
                                                             Suite 280
                                                             Dallas, Texas 75231
                                                             (972) 243-3960 Phone
                                                             (972)-241-3970 Facsimile

                                                             COUNSEL FOR CHRISTOPHER J.
                                                             MOSER, CHAPTER 7 TRUSTEE FOR
                                                             PAYSON PETROLEUM 3 WELL, L.P.




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                                           CERTIFICATE OF SERVICE

         The undersigned certifies that on __, 2017, a true and correct copy of this document was
served (i) via the Court’s electronic case filing system upon the parties listed below or by email
listed below, (ii) via the Court’s electronic case filing system for Eastern District of Texas upon
all parties requesting electronic notice of all filings and (iii) via regular First Class Mail, properly
addressed and postage prepaid, upon all parties listed on the Master Service List attached hereto.


 Debtors Payson Petroleum, Inc., Payson Operating,                             Debtors Payson Petroleum 3 Well ,
 LLC, and Maricopa Resources, LLC                                              LP and Payson Petroleum 3 Well
 Mark A. Weisbart                                                              2014, LP
 12770 Coil Road, Suite 541                                                    1757 Harpsichord Way
 Dallas, TX 75251                                                              Henderson, NV 89012
 weisbartm@earthlink.net,
 TX56@ecfcbis.com;mweisbart@ecf.epiqsystems.com;
 tarah_simmons@earthlink.net


 Dan Chern                                                                     Daniel P. Winikka
 The Law Offices of Dan Chern                                                  12377 Merit Drive, Ste. 900
 12801 N. Central Expressway, Suite 1558                                       Dallas, TX 75251
 Dallas, Texas 75243                                                           danw@LFDSlaw.com
 dbc@dchern.com


 US Trustee
 Office of the US Trustee
 110 N. College Ave, #300
 Tyler, TX 75702
 USTPRegion06.TY.ECF@USDOJ.GOV


                                                            /s/
                                                            Blake Hamm




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       EXHIBIT A TO SETTLEMENT MOTION

                    SETTLEMENT AGREEMENT

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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                             B
                                      SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
        DEBTORS.                                           §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
        DEBTOR.                                            §

                         AFFIDAVIT OF JASON R. SEARCY
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF GREGG                              §

       BEFORE ME, the undersigned authority, on this day personally appeared Jason R. Searcy,
known to be the person whose name is subscribed hereto, who, having been duly sworn, did depose
and on oath state:
        My name is Jason R. Searcy. I am an attorney duly licensed to practice law in the State of
Texas. I am admitted to practice in all courts in the State of Texas, the United States District Court
for the Eastern District of Texas, the United States Fifth Circuit Court of Appeals and the United
States Supreme Court. I am the Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa
Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-
41044 (“Payson Trustee”). As set forth in the Joint Motion to Approve Compromise and
Settlement Pursuant to Bankruptcy Rule 9019 and based on my best belief and information, the


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proposed settlement obtains for the estate the most effective recovery of greater value than that
which could be obtained by other liquidation measures.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Jason R. Searcy
                                                            Payson Trustee

         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                  C
                                      SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
        DEBTORS.                                           §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
        DEBTOR.                                            §

                     AFFIDAVIT OF CHRISTOPHER J. MOSER
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF DALLAS                             §

       BEFORE ME, the undersigned authority, on this day personally appeared Christopher J.
Moser, known to be the person whose name is subscribed hereto, who, having been duly sworn,
did depose and on oath state:
        My name is Christopher J. Moser. I am an attorney duly licensed to practice law in the
State of Texas. I am admitted to practice in all courts in the State of Texas, the United States
District Court for the Eastern District of Texas and the United States Fifth Circuit of Appeals. I
am the Chapter 7 Trustee for Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179
and Payson Petroleum 3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (“LP Trustee”). As
set forth in the Joint Motion to Approve Compromise and Settlement Pursuant to Bankruptcy Rule
9019 (“Motion”) and based on my best belief and information, the proposed settlement obtains for


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the estate the most effective recovery of greater value than that which could be obtained by other
liquidation measures.

        It is my professional opinion that the settlement agreement reflected in the Motion is in the
best interest of the estate and comports with the settlement standards of Protective Comm. For
Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. Reh’g denied, 391
U.S. 909 (1968) and of River City vs. Herpel, (In re Jackson Brewing Co.), 624 F.2d 599, 602-603
(5th Cir. 1980). Accordingly, the settlement should be approved.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Christopher J. Moser
                                                            LP Trustee


         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                               UNITED STATES BANKRUPTCY COURT
                                                                                                                        D
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL, LP,                                §              Case No. 17-40179
                                                            §              Chapter 7
         DEBTOR.                                            §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. (“Debtor”) in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014,

L.P. in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the

Settlement Agreement; and the Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of

the United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 3 Well LP Subject Claims Assignment and Participation Agreement attached


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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as an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on

the Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 3 Well LP is hereby

allowed in the amount of Eight Million Five Hundred Fifty-Seven Thousand Eight Hundred

Eighty-Eight and 50/100 U.S. Dollars ($8,557,888.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 3 Well LP Avoidance Action Claims Net Recovery

and the 3 Well LP Partnership Related Claims Net Recovery as those terms are defined in the 3

Well LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 3 Well LP Avoidance Action Claims and the 3 Well LP Partnership Related Claims without

further order of this Court. Payson Petroleum is hereby appointed the representative of the 3 Well

LP bankruptcy estate for purposes of prosecuting the 3 Well LP Avoidance Action Claims and the


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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3 Well LP Partnership Related Claims pursuant to the 3 Well LP Subject Claims Assignment and

Participation Agreement.

        11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 3 Well LP Avoidance Action

Claims, 3 Well LP Partnership Related Claims, or Payson/3 Well LP Partnership Related Claims

as those terms are defined in the 3 Well LP Subject Claims Assignment and Participation

Agreement by virtue of any parties’ entry into the 3 Well LP Subject Claims Assignment and

Participation Agreement or this Order.

        12.      Pursuant to the 3 Well LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 3 Well LP Partnership Related Claims, the 3 Well LP Avoidance Action Claims and the

Payson/3 Well LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 3 Well LP Partnership Related Claims or the 3

Well LP Avoidance Action Claims that in its judgment would not be cost justified.

        13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
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SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC


AGREED TO IN FORM AND SUBSTANCE BY:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC


/s/
Keith W. Harvey
State Bar No. 09180100
THE HARVEY LAW FIRM, P.C.
6510 Abrams Road
Suite 280
Dallas, Texas 75231
(972) 243-3960 Phone
(972)-241-3970 Facsimile

COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE
FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.




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                             UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

IN RE:                                                    §
                                                          §
PAYSON PETROLEUM 3 WELL 2014,                             §              Case No. 17-40180
L.P.,                                                     §
                                                          §
       DEBTOR.                                            §              Chapter 7


  JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT PURSUANT
                     TO BANKRUPTCY RULE 9019


       NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A
       WRITTEN OBJECTION IS FILED WITH THE CLERK OF THE UNITED
       STATES BANKRUPTCY COURT AND SERVED UPON THE PARTY
       FILING THIS PLEADING WITHIN TWENTY-ONE (21) DAYS FROM
       THE DATE OF SERVICE UNLESS THE COURT SHORTENS OR
       EXTENDS THE TIME FOR FILING SUCH OBJECTION. IF NO
       OBJECTION IS TIMELY SERVED AND FILED, THIS PLEADING SHALL
       BE DEEMED TO BE UNOPPOSED, AND THE COURT MAY ENTER AN
       ORDER GRANTING THE RELIEF SOUGHT. IF AN OBJECTION IS
       FILED AND SERVED IN A TIMELY MANNER, THE COURT WILL
       THEREAFTER SET A HEARING. IF YOU FAIL TO APPEAR AT THE
       HEARING, YOUR OBJECTION MAY BE STRICKEN. THE COURT
       RESERVES THE RIGHT TO SET A HEARING ON ANY MATTER.

TO THE HONORABLE BRENDA RHOADES, U. S. BANKRUPTCY JUDGE:

       COME NOW Jason R. Searcy, Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa

Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-

41044 (the “Payson Trustee”) and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (the “LP Trustee”) to file their Joint Motion

to Approve Compromise and Settlement Pursuant to Bankruptcy Rule 9019 (the “Joint Motion to

Compromise”), and in support thereof, respectfully show unto the Court the following:

                                                         I.


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                                          PROCEDURAL STATUS

        1.       Payson Debtor Bankruptcy Filings. On June 10, 2016, Payson Petroleum, Inc.

(“Payson Petroleum”), Payson Operating, LLC (“Payson Operating”), and Maricopa Resources,

LLC (“Maricopa”) filed voluntary petitions under Chapter 7 of the United States Bankruptcy Code

(the “Bankruptcy Code”) in this Bankruptcy Court. 1 See Docket No. 1 in Bankruptcy Case Nos.

16-41043, 16-40144, and 16-40145. On July 12, 2016, the Bankruptcy Court entered orders

converting the Payson Debtors’ bankruptcy cases to cases under Chapter 11 of the Bankruptcy

Code. See Docket No. 39 in Case No. 16-41043, Docket No. 33 in Case No. 16-40144, and Docket

No. 41 in Case No. 16-40145. On July 18, 2016, the Bankruptcy Court entered orders approving

the United States Trustee’s applications to appoint the Payson Trustee as the Chapter 11 Trustee

in the Payson Debtors’ bankruptcy cases. See Docket No. 55 in Case No. 16-41043, Docket No.

50 in Case No. 16-40144, and Docket No. 57 in Case No. 16-41045. On August 11, 2016, the

Bankruptcy Court ordered the joint administration of the Payson Debtors’ bankruptcy cases under

Case No. 16-41044. See Docket No. 75 in Case No. 16-41043, Docket No. 73 in Case No. 16-

41044, and Docket No. 81 in Case No. 16-41045.

        2.       Adversary Proceeding.            On November 1, 2016, the Payson Trustee filed his

Complaint to Avoid and Recover Transfers Pursuant to 11 U.S.C. §§ 548, 547, and 550 in

Adversary Proceeding No. 16-04106 (the “Adversary Proceeding”) against Payson Petroleum 3

Well, LP (“3 Well LP”) and Payson Petroleum 3 Well 2014, L.P. (“2014 LP”).

        3.       LP Debtor Bankruptcy Filings. On January 31, 2017, 3 Well LP and 2014 LP

(collectively, the “LP Debtors”) filed voluntary petitions under Chapter 7 of the Bankruptcy Code.

See Docket No. 1 in Case No. 17-40179 and Docket No. 1 in Case No. 17-40180. LP Trustee was



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    Collectively, Payson Petroleum, Payson Operating, and Maricopa are the “Payson Debtors.”


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appointed as Chapter 7 Trustee for the LP Debtors.

        4.       Stay Issues. On February 21, 2017, LP Trustee filed his Certificate of Notice of

Bankruptcy Filing and Stay in the Adversary Proceeding. See Docket No. 24 in Adversary

Proceeding. On June 21, 2017, the Bankruptcy Court entered its Agreed Order Granting Motion

to Lift Stay in LP Debtor’s bankruptcy cases which, inter alia, provides that the parties are “granted

relief from the automatic stay … to continue with and fully litigate claims that are or could be

pled” in the Adversary Proceeding. Docket No. 26 in Case No. 17-40180 and Docket No. 29 in

Case No. 17-40179.

        5.       Amended Complaint. On July 13, 2017, Payson Trustee filed his First Amended

Complaint in the Adversary Proceeding. See Docket No. 25 in Adversary Proceeding.

        6.       Jurisdiction & Venue. This Court has jurisdiction over the subject matter of this

Joint Motion to Compromise pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                                 II.
                                        FACTUAL BACKGROUND

        7.       Nature of Payson Debtors’ Businesses.                 Matthew C. Griffin (“Griffin”) formed

Payson Petroleum in 2008 to, inter alia, (i) promote the sale of interests in limited partnerships

and (ii) operate oil and gas wells for such limited partnerships. Griffin formed Payson Operating

in 2010 to act as a contract operator for Payson Petroleum. Griffin formed Maricopa in 2012 to,

inter alia, engage in the acquisition and sale of Grayson County, Texas oil and gas leases.

        8.       Nature of 2014 LP’s Businesse. Payson Petroleum Grayson, LLC formed 2014 LP

in 2014 to, inter alia, drill, complete, and own interests in the Subject Wells.

        9.       Turnkey Agreements. On or about January 12, 2014, Payson Petroleum and 2014

LP entered into a Subscription Turn Key Agreement under which 2014 LP agreed to pay Payson



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Petroleum certain amounts for the drilling and completion of the Subject Wells (the “Turnkey

Agreement”). In the Adversary Proceeding, Payson Petroleum asserts a claim for breach of the

Turnkey Agreement against 2014 LP in the amount of $5,343,803 (the “Breach of Turnkey

Agreement Claim”).

       10.      Working Interest Assignments. On or about Marcy 28, 2016, Maricopa assigned

certain interests in the William #1H (API # 181-31557), Crowe #2 (API #181-31543), and Elaine

#1 (API #181-31547) (collectively the “Subject Wells”) to 3 Well LP and 2014 LP via three (3)

certain Wellbore Assignments, Conveyances, Bills of Sale, and Releases, which were recorded in

the real property records of Grayson County, Texas at Instrument Numbers: 2016-00006064,

2016-00006065, and 2016-00006066. The working interests assigned are set forth below:

                                                                               Working
                                                                                Interest
                        Subject Well                    Assignee               Assigned
                      Williams #1H Well                  2014 LP              72.210840%
                      Williams #1H Well                 3 Well LP             27.789160%
                       Crowe #2 Well                     2014 LP              72.210840%
                       Crowe #2 Well                    3 Well LP             27.789160%
                       Elaine #1 Well                    2014 LP              72.210840%
                       Elaine #1 Well                   3 Well LP             27.789160%

(collectively the “Working Interest Assignments”). In the Adversary Proceeding, Maricopa asserts

claims under 11 U.S.C. §§ 547, 548, and 550 and Chapter 24 of the Texas Business and Commerce

Code against 2014 LP for avoidance of the Working Interest Assignments and recovery of the

interests transferred to 2014 LP or their value. Post-bankruptcy petition production revenue

attributable to the Working Interest Assignments has been held by Traton Operating Company

(“Traton”), the Payson Trustee’s approved contract operating company.

       11.      Additional Avoidable Transfers. In addition to the Working Interest Assignments,

Payson Petroleum transferred $2,862,000 to 2014 LP between January and February 2014 in



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exchange for interest in that limited partnership that Payson Petroleum knew or should have known

were worth far less than the amounts transferred (the “Investment Transfers”). In the Adversary

Proceeding, the Payson Trustee asserts claims under 11 U.S.C. § 544 and 550 and Chapter 24 of

the Texas Business and Commerce Code to avoid and recover the Investment Transfers from 2014

LP (the “Investment Transfer Claim”).

                                                 III.
                                        PROPOSED SETTLEMENT

        12.      The Payson Trustee, Payson Debtors, LP Trustee, and LP Debtors have reached a

settlement of issues asserted in the Adversary Proceeding and other claims that have our could

have been asserted between the parties. Attached hereto as Exhibit A is a copy of the Settlement

Agreement. 2

        13.      Agreed Final Judgment. As explained in the Settlement Agreement, the parties will

resolve the Adversary Proceeding by filing a Joint Motion for Entry of Agreed Final Judgment and

will use their best efforts to have the Agreed Final Judgment entered by the Bankruptcy Court.

The Agreed Final Judgment will, inter alia, provide that the Wellbore Interest Assignments are

avoided and set aside under 11 U.S.C. § 548(a)(1)(A) & (B) and grant judgment in favor of Payson

Petroleum on its Breach of Turnkey Agreement Claim against 2014 LP in the amount of

$2,671,900.50. See Exhibit 3 to Settlement Agreement.

        14.      Conveyance of Interests in Subject Wells. 3 Well LP and 2014 LP will reassign

the avoided interests in the Subject Wells to Maricopa, which will continue to be operated by

Traton until Maricopa sells those interests under 11 U.S.C. § 363. As explained in further detail


2
    To the extent of any inconsistency between the Settlement Agreement and the summary of that agreement set
    forth in this Joint Motion to Compromise, the terms of the Settlement Agreement control. This outline is not
    intended to repeat all terms of the Settlement Agreement and persons reading this Joint Motion to Compromise
    are encouraged to read the Settlement Agreement. Capitalized Terms used but not otherwise defined herein have
    the meaning ascribed to them in the Joint Motion to Compromise or the Settlement Agreement as applicable.


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in the Settlement Agreement, the net proceeds obtained from the operation and sale of the Subject

Wells (defined in the Settlement Agreement as the Subject Wells Net Proceeds) will be distributed

as follows: (i) 55% to Maricopa, (ii) 32.4945% to 2014 LP, and (iii) 12.5055% to 3 Well LP.

Maricopa will retain a $50,000 Operating Reserve to satisfy costs related to operation of the

Subject Wells.

        15.      Allowed Claims. The Settlement Agreement also provides that the parties will

agree to the following allowed unsecured claims:

        •        Payson Petroleum shall hold an allowed unsecured claim in the 2014 LP bankruptcy
                 case in the amount of $2,671,900.50; and

        •        2014 LP shall hold an allowed general unsecured claim in the Maricopa bankruptcy
                 case in an amount equal to 72.21084% of the Subject Net Well Proceeds actually
                 delivered to Maricopa pursuant to the Settlement Agreement.

        16.      Prosecution of and Participation in Avoidance Action Claims. The Settlement

Agreement further provides that the parties will enter into the 2014 LP Subject Claims Assignment

and Participation Agreement (collectively the “Claims Assignment and Participation Agreement”).

Pursuant to the Claims Assignment and Participation Agreements 2014 LP will assign a fifty

percent (50%) interest in net recoveries from litigation of 2014 LP Avoidance Action Claims and

2014 Partnership Related Claims, as defined in the Claims Assignment and Participation

Agreement, with 2014 LP retaining the remaining fifty percent (50%) interest. Payson Petroleum

shall be granted standing to prosecute 2014 LP Avoidance Action Claims and Partnership Related

Claims in the 2014 LP bankruptcy case, and 2014 LP shall enter into an engagement agreement

with special litigation counsel for the Payson Trustee to prosecute such claims for the benefit of

the Payson Petroleum and 2014 LP bankruptcy estates.

        17.      Releases. Except for claims expressly reserved in the Settlement Agreement, all

claims or causes action between the parties will be released.


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                                                      IV.
                                                  RATIONALE

        18.      Benefit to Maricopa Estate. The Maricopa bankruptcy estate receives the following

benefits from the settlement:

        •        the interests assigned to 2014 LP via the Working Interest Assignments will be
                 reassigned to Maricopa, and Maricopa will 55% of the Subject Wells Net Proceeds,
                 plus a $50,000 Operating Reserve to satisfy costs associated with operation of the
                 Subject Wells; and

        •        except for claims expressly preserved under the Settlement Agreement, Maricopa’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against Maricopa by 2014 LP.

        19.      Benefit to Payson Petroleum Estate. The Payson Petroleum bankruptcy estate

receives the following benefits from the settlement:

        •        an allowed general unsecured claim in the 2014 LP bankruptcy case in the amount
                 of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100
                 U.S. Dollars ($2,671,900.50) on account of Payson Petroleum’s Breach of Turnkey
                 Agreement claim against 2014 LP;

        •        Payson Petroleum is (i) granted standing and authority to enforce and prosecute
                 2014 LP Avoidance Action Claims and 2014 LP Partnership Related Claims (the
                 “Subject Claims”) and (ii) will hold a fifty percent (50%) participation interest in
                 net recoveries from the Subject Claims as further described in the Settlement
                 Agreement and Claims Assignment and Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, Payson
                 Petroleum’s bankruptcy estate is released from claims which have been or could
                 have been asserted against Payson Petroleum by 2014 LP.

        20.      Benefit to Payson Operating Estate. Except for claims expressly preserved under

the Settlement Agreement, Payson Operating’s bankruptcy estate is released from claims which

have been or could have been asserted against Payson Operating by 2014 LP.

        21.      Benefit to 2014 LP Estate. The 2014 LP bankruptcy estate receives the following

benefits from the settlement:


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        •        2014 LP will obtain 32.4945% of the Subject Wells Net Proceeds;

        •        an allowed general unsecured claim in the Maricopa bankruptcy case in an amount
                 equal to 72.21084% of the Subject Wells Net Proceeds actually delivered to
                 Maricopa pursuant to the Settlement Agreement;

        •        2014 LP will retain a fifty percent (50%) interest in all 2014 LP Avoidance Action
                 Claims Net Recovery and 2014 LP Partnership Related Claims Net Recovery as
                 further described in the Settlement Agreement and Claims Assignment and
                 Participation Agreement; and

        •        except for claims expressly preserved under the Settlement Agreement, 2014 LP’s
                 bankruptcy estate is released from claims which have been or could have been
                 asserted against 2014 LP by Payson Petroleum, Payson Operating, and/or
                 Maricopa.

                                                    V.
                                            RELIEF REQUESTED

        22.      The Payson Trustee and LP Trustee respectfully request that the Court approve the

proposed Settlement Agreement attached hereto as Exhibit A and grant them such other and further

relief to which they may be entitled.

                                                    VI.
                                             BASIS FOR RELIEF

        23.      Bankruptcy Courts are “empowered to approve a compromise settlement of a

debtor’s claim under Bankruptcy Rule 9019(a).” Official Comm. of Unsecured Creditors v. Cajun

Electric Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 355 (5th Cir.

1997). “Approval should only be given if the settlement is fair and equitable and in the best interest

of the estate.” Id. (internal quotes & cite omitted). “In deciding whether a settlement of litigation

is fair and equitable, a judge in bankruptcy must make a well-informed decision, ‘comparing the

terms of the compromise with the likely rewards of litigation.’” Id. at 356 (quoting Rivercity v.

Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980)). Courts consider the




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following factors in determining whether a settlement is fair and equitable “(1) [t]he probability of

success in the litigation, with due consideration for the uncertainty in fact and law, (2) [t]he

complexity and likely duration of the litigation and any attendant expense, inconvenience and

delay, and (3) all other factors bearing on the wisdom of the compromise.” Id.

        24.      The factors support granting the Joint Motion to Compromise. First, the disputes

are hotly contested and would require lengthy and likely expensive litigation to resolve, and the

Settlement Agreement was reached after good-faith, contentious, and arms-length negotiations.

The Payson Trustee and LP Trustee desire to avoid lengthy litigation between the respective

bankruptcy estates so they can focus on enhancing the value of those estates for the benefit of

creditors. Litigation would be expensive and involve, inter alia, complex factual issues regarding

the value of the property transferred and solvency of the various bankruptcy estates. The

Settlement Agreement, on the other hand, allows the Payson Trustee to distribute hydrocarbon

proceeds currently held in suspense and initiate a sales process to monetize the Subject Wells for

the benefit of creditors of Maricopa and 2014 LP. Additionally, the Settlement Agreement (i)

reduces 2014 LP’s liability for failing to pay Payson Petroleum amounts owed under the Turnkey

Agreement by fifty percent (50%), (ii) provides an arrangement for coordinated prosecution of

avoidance actions and sharing in the proceeds of the same, and (iii) eliminates the potential that

the LP Trustee and Payson Trustee would pursue substantially similar claims against partners of

2014 LP in different proceedings and forums. In sum, the Payson Trustee and LP Trustee believe

the Settlement Agreement is in the best interests of their respective bankruptcy estates and should

be approved. See Affidavit of Jason R. Searcy, attached as Exhibit B and Affidavit of Christopher

J. Moser, attached as Exhibit C.

        25.      A proposed agreed order is attached hereto as Exhibit D.




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                                                     PRAYER

        WHEREFORE, PREMISES CONSIDERED, Jason R. Searcy, Chapter 11 Trustee for the

bankruptcy estates of Payson Petroleum, Inc., Payson Operating, LLC, and Maricopa Resources,

LLC and Christopher J. Moser, Chapter 7 Trustee for the bankruptcy estate of Payson Petroleum

3 Well 2014, L.P. respectfully request that the Court approve the Agreement and grant them such

other and further relief to which they may be justly entitled.




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Dated: ___, 2017                                      Respectfully submitted,

                                                      By:      /s/
                                                             Phil Snow
                                                             State Bar No. 18812600
                                                             Blake Hamm
                                                             State Bar No. 24069869
                                                             SNOW SPENCE GREEN LLP
                                                             2929 Allen Parkway, Suite 2800
                                                             Houston, Texas 77019
                                                             (713) 335-4800
                                                             (713) 335-4848 (Fax)

                                                             COUNSEL FOR JASON R. SEARCY,
                                                             CHAPTER 11 TRUSTEE FOR PAYSON
                                                             PETROLEUM, INC., PAYSON
                                                             OPERATING, LLC, AND MARICOPA
                                                             RESOURCES, LLC


                                                       By:     /s/
                                                             Keith W. Harvey
                                                             State Bar No. 09180100
                                                             THE HARVEY LAW FIRM, P.C.
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                                                             (972)-241-3970 Facsimile

                                                             COUNSEL FOR CHRISTOPHER J.
                                                             MOSER, CHAPTER 7 TRUSTEE FOR
                                                             PAYSON PETROLEUM 3 WELL, L.P.
                                                             AND PAYSON PETROLEUM 3 WELL
                                                             2014, L.P.




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                                           CERTIFICATE OF SERVICE

         The undersigned certifies that on __, 2017, a true and correct copy of this document was
served (i) via the Court’s electronic case filing system upon the parties listed below or by email
listed below, (ii) via the Court’s electronic case filing system for Eastern District of Texas upon
all parties requesting electronic notice of all filings and (iii) via regular First Class Mail, properly
addressed and postage prepaid, upon all parties listed on the Master Service List attached hereto.


 Debtors Payson Petroleum, Inc., Payson Operating,                             Debtors Payson Petroleum 3 Well ,
 LLC, and Maricopa Resources, LLC                                              LP and Payson Petroleum 3 Well
 Mark A. Weisbart                                                              2014, LP
 12770 Coil Road, Suite 541                                                    1757 Harpsichord Way
 Dallas, TX 75251                                                              Henderson, NV 89012
 weisbartm@earthlink.net,
 TX56@ecfcbis.com;mweisbart@ecf.epiqsystems.com;
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 dbc@dchern.com


 US Trustee
 Office of the US Trustee
 110 N. College Ave, #300
 Tyler, TX 75702
 USTPRegion06.TY.ECF@USDOJ.GOV


                                                            /s/
                                                            Blake Hamm




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       EXHIBIT A TO SETTLEMENT MOTION

                    SETTLEMENT AGREEMENT

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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                             B
                                      SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
        DEBTORS.                                           §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
        DEBTOR.                                            §

                         AFFIDAVIT OF JASON R. SEARCY
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF GREGG                              §

       BEFORE ME, the undersigned authority, on this day personally appeared Jason R. Searcy,
known to be the person whose name is subscribed hereto, who, having been duly sworn, did depose
and on oath state:
        My name is Jason R. Searcy. I am an attorney duly licensed to practice law in the State of
Texas. I am admitted to practice in all courts in the State of Texas, the United States District Court
for the Eastern District of Texas, the United States Fifth Circuit Court of Appeals and the United
States Supreme Court. I am the Chapter 11 Trustee for Payson Petroleum, Inc., Maricopa
Resources, LLC, and Payson Operating, LLC in jointly administered Bankruptcy Case No. 16-
41044 (“Payson Trustee”). As set forth in the Joint Motion to Approve Compromise and
Settlement Pursuant to Bankruptcy Rule 9019 and based on my best belief and information, the


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proposed settlement obtains for the estate the most effective recovery of greater value than that
which could be obtained by other liquidation measures.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Jason R. Searcy
                                                            Payson Trustee

         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                              UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF TEXAS                                                  C
                                      SHERMAN DIVISION

IN RE:                                                     §
                                                           §
PAYSON PETROLEUM, INC.,                                    §              JOINTLY ADMINISTERED
MARICOPA RESOURCES, LLC                                    §
PAYSON OPERATING, LLC,                                     §              Case No. 16-41044
                                                           §
        DEBTORS.                                           §              Chapter 11


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL, L.P.,                             §              Case No. 17-40179
                                                           §              Chapter 7
        DEBTOR.                                            §


IN RE:                                                     §
                                                           §
PAYSON PETROLEUM 3 WELL 2014,                              §              Case No. 17-40180
L.P.,                                                      §              Chapter 7
                                                           §
        DEBTOR.                                            §

                     AFFIDAVIT OF CHRISTOPHER J. MOSER
             IN SUPPORT OF JOINT MOTION TO APPROVE COMPROMISE
             AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

STATE OF TEXAS                               §
                                             §
COUNTY OF DALLAS                             §

       BEFORE ME, the undersigned authority, on this day personally appeared Christopher J.
Moser, known to be the person whose name is subscribed hereto, who, having been duly sworn,
did depose and on oath state:
        My name is Christopher J. Moser. I am an attorney duly licensed to practice law in the
State of Texas. I am admitted to practice in all courts in the State of Texas, the United States
District Court for the Eastern District of Texas and the United States Fifth Circuit of Appeals. I
am the Chapter 7 Trustee for Payson Petroleum 3 Well, L.P. in Bankruptcy Case No. 17-40179
and Payson Petroleum 3 Well 2014, L.P. in Bankruptcy Case No. 17-40180 (“LP Trustee”). As
set forth in the Joint Motion to Approve Compromise and Settlement Pursuant to Bankruptcy Rule
9019 (“Motion”) and based on my best belief and information, the proposed settlement obtains for


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the estate the most effective recovery of greater value than that which could be obtained by other
liquidation measures.

        It is my professional opinion that the settlement agreement reflected in the Motion is in the
best interest of the estate and comports with the settlement standards of Protective Comm. For
Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. Reh’g denied, 391
U.S. 909 (1968) and of River City vs. Herpel, (In re Jackson Brewing Co.), 624 F.2d 599, 602-603
(5th Cir. 1980). Accordingly, the settlement should be approved.

          Further, Affiant sayeth not.

                                                            ____________________________________
                                                            Christopher J. Moser
                                                            LP Trustee


         SWORN AND SUBSCRIBED TO BEFORE ME on this ____ day of _________, 2017,
to certify with witness my hand and official seal.

                                                            _____________________________________
                                                            NOTARY PUBLIC, IN AND FOR
                                                            THE STATE OF TEXAS




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                               UNITED STATES BANKRUPTCY COURT                                                    D
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL 2014, LP,                           §              Case No. 17-40180
                                                            §              Chapter 7
         DEBTOR.                                            §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. (“Debtor”)

in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the Settlement

Agreement; and the Court having found that it has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of the

United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 2014 LP Subject Claims Assignment and Participation Agreement attached as


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an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 2014 LP is hereby allowed

in the amount of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100 U.S.

Dollars ($2,671,900.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 2014 LP Avoidance Action Claims Net Recovery

and the 2014 LP Partnership Related Claims Net Recovery as those terms are defined in the 2014

LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims without further

order of this Court. Payson Petroleum is hereby appointed the representative of the 2014 LP

bankruptcy estate for purposes of prosecuting the 2014 LP Avoidance Action Claims and the 2014


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LP Partnership Related Claims pursuant to the 2014 LP Subject Claims Assignment and

Participation Agreement.

        11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of any parties’ entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

        12.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 2014 LP Partnership Related Claims or the 2014

LP Avoidance Action Claims that in its judgment would not be cost justified.

        13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




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SUBMITTED BY:

/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC


AGREED TO IN FORM AND SUBSTANCE BY:


/s/
Phil Snow
State Bar No. 18812600
Blake Hamm
State Bar No. 24069869
SNOW SPENCE GREEN LLP
2929 Allen Parkway, Suite 2800
Houston, Texas 77019
(713) 335-4800
(713) 335-4848 (Fax)

COUNSEL FOR JASON R. SEARCY, CHAPTER 11 TRUSTEE
FOR PAYSON PETROLEUM, INC., PAYSON OPERATING, LLC,
AND MARICOPA RESOURCES, LLC


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THE HARVEY LAW FIRM, P.C.
6510 Abrams Road
Suite 280
Dallas, Texas 75231
(972) 243-3960 Phone
(972)-241-3970 Facsimile

COUNSEL FOR CHRISTOPHER J. MOSER, CHAPTER 7 TRUSTEE
FOR PAYSON PETROLEUM 3 WELL, L.P. AND
PAYSON PETROLEUM 3 WELL 2014, L.P.



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  EXHIBIT 8 TO SETTLEMENT AGREEMENT

              SUBJECT WELLS ASSIGNMENTS
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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY
REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS
INSTRUMENT BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR
SOCIAL SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER.

              ASSIGNMENT, CONVEYANCE AND BILL OF SALE
STATE OF TEXAS      §
                    §
COUNTY OF GRAYSON   §

        KNOW ALL MEN BY THESE PRESENTS that the undersigned Payson Petroleum 3 Well 2014,
L.P., whose address is c/o Christopher J. Moser, Chapter 7 Trustee, Quilling, Selander, Lownds, Winslett
& Moser, P.C., 2001 Bryan Street, Ste. 1800, Dallas, TX 75201 (the “Assignor”), for and in consideration
of the sum of Ten Dollars ($10.00) and other good and valuable consideration, does hereby BARGAIN,
SELL, GRANT, ASSIGN and CONVEY unto Maricopa Resources, LLC, whose address is c/o Jason R.
Searcy, Chapter 11 Trustee, Searcy & Searcy, P.C., 446 Forest Square, Longview, Texas 75605 (the
“Assignee”), all of Assignor’s right, title and interest in and to the wells and wellbores described herein.

                                                  DEFINITIONS

        1.01    Defined Terms. The following terms, as used in this Assignment, shall have the meanings
indicated below, unless the context otherwise requires:

         “Crowe #2 Well” means the Crowe #2 (API #181-31543) and associated wellbore, with a surface
location situated at latitude 33° 49’ 10” – north, longitude 96° 41’ 55” – west, in Section 11, Block 1, 11,
15, 16, the South 79 acres of the Wood & Buckles Survey, Abstract 1373, Grayson County, Texas.

         “Elaine #1 Well” means the Elaine #1 (API #181-31547) and associated wellbore, with a surface
location situated at latitude 33° 44’ 55” – north, longitude 96° 41’ 02” – west, in Section 26, Block 1, 11,
15, 16, the East half of the J.C. Wade Survey, Abstract 1382, Grayson County, Texas.

        “Effective Date” means September ___, 2017.

        “Wells” means, collectively, the Crow #2 Well, the Elaine #1 Well and the Williams #1H Well.

        “Williams #1H Well” means the Williams #1H (API #181-31557) and associated wellbore, with a
surface location situated at latitude 33° 44’ 41” – north, longitude 96° 41’ 01” – west, in the east half of
Section 26, Block 1, 11, 15, 16, the JM Dodgin Survey, Abstract 378, Grayson County, Texas.

                                     ASSIGNMENT AND AGREEMENT

        For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells,
assigns, transfers, delivers, and conveys to Assignee the following, all of which are collectively called the
“Assets”.

         a.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006066, Book OR, Vol. 5779, Pg. 404, in the Crowe #2 Well.
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         b.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006065, Book OR, Vol. 5779, Pg. 397, in the Elaine #1 Well.

         c.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006064, Book OR, Vol. 5779, Pg. 389, in the William #1H Well.

       d.       All right, title and interest in and to the oil and gas leases described in Exhibits A-1, A-2
and A-3 to this Assignment, insofar and only insofar as the leases cover the Wells, (collectively, the
“Leases”), together with the leasehold rights as are necessary to operate, maintain, produce, and plug and
abandon the Wells.

        e.     All right, title and interest in all personal property and fixtures associated with the Wells,
including without limitation the following: all tubing, casing, and other equipment in the wellbores,
wellhead equipment, gathering lines and surface production facilities.

         f.      All files and records relating to the items described in Paragraphs (a) through (f) maintained
by Assignor and relating to the interests described in Paragraphs (a) through (f), but only to the extent not
subject to unaffiliated third party contractual restrictions on disclosure or transfer.

           To have and to hold the Assets unto Assignee, and Assignee’s heirs, successors and assigns,
forever.

           Assignee and Assignor further agree as follows:

        1.     Title. Assignor warrants title to the Assets from and against all persons claiming by,
through and under Assignor, but not otherwise.



         2.       Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and
demands arising out of the accounting and payment of proceeds of production from the Wells to royalty
owners and working interest owners, insofar as the same relate to or arise out of actions of Assignor or
events prior to the Effective Date and shall defend, indemnify and hold Assignee harmless from and against
all claims. Assignee shall be responsible for all types of claims insofar as they relate to periods of time
from and after the Effective Date of this Assignment and shall indemnify and hold Assignor harmless
therefrom.

         3.       Indemnification Claims. With respect to any claim for which an indemnifying party may
be required to provide partial or full indemnity, the party shall have the right, but not the obligation, to
participate fully in the defense of any claim. Reasonable attorneys’ fees, court costs, interest, penalties and
other expenses incurred in connection with the defense of claims shall be included in Assignee’s and
Assignor’s indemnities. All indemnities of Assignee shall extend to and cover the parent, subsidiary and
affiliated companies and the officers, directors, employees and agents of Assignor, and its subsidiary and
affiliated companies.




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        4.      No Third-Party Beneficiaries. The references in this Assignment to liens, encumbrances,
burdens, defects, and other matters shall not be deemed to ratify or create any rights in any third parties or
merge with, modify or limit the rights of Assignor or Assignee, as between themselves.

        5.      Successors and Assigns. This Assignment and all of the terms, provisions, covenants,
obligations and indemnities it contains shall be binding on and inure to the benefit of and be enforceable
by the Assignor, Assignee, and their respective successors and assigns.

        This Assignment is executed by Assignor and Assignee as of the date of acknowledgment of their
signatures below, but shall be deemed effective for all purposes as of the Effective Date stated above.

                                            [Signature Page Follows]




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        EXECUTED on this _______ day of __________________ 2017.

                                                       ASSIGNOR:

                                                       PAYSON PETROLEUM 3 WELL 2014, L.P.


                                                       By:
                                                                Christopher J. Moser, Chapter 7 Trustee


                                                       ASSIGNEE:

                                                       MARICOPA RESOURCES, LLC


                                                       By:
                                                                Jason R. Searcy, Chapter 11 Trustee

STATE OF TEXAS                      §
                                    §
COUNTY OF ____________              §

BEFORE ME, the undersigned authority, on this _______ day of _____________ 2017, personally
appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM 3 WELL, L.P., whose
name is subscribed to the foregoing instrument and acknowledged to me that he executed the same for the
purposes and consideration therein expressed.


                                                       ______________________________________
                                                       Notary Public in and for State of Texas
                                                       My Commission Expires:


STATE OF TEXAS                      §
                                    §
COUNTY OF GREGG                     §

BEFORE ME, the undersigned authority, on this _______ day of ______________ 2017, personally
appeared Jason R. Searcy, the Chapter 11 Trustee of MARICOPA RESOURCES, LLC, whose name is
subscribed to the foregoing instrument and acknowledged to me that he executed the same for the purposes
and consideration therein expressed.


                                                       ______________________________________
                                                       Notary Public in and for State of Texas
                                                       My Commission Expires:




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                                                 EXHIBIT A-1
                                                         to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The Crowe #2 Well (API #181-31543) and associated wellbore, with a surface location
      situated at latitude 33° 49’ 10” – north, longitude 96° 41’ 55” – west, in Section 11, Block
      1, 11, 15, 16, the South 79 acres of the Wood & Buckles Survey, Abstract 1373, Grayson
      County, Texas (from the surface of the earth down to the measured depth of 11,164’).

   2. All personal property and fixtures associated with the Crowe #2 Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                      Lessee                     Instrument           Volume Effective
                                                                     Filed                /Page    Date
 Grayson      Marilyn Teresa              RWJ Exploration,           Oil, Gas and         4724/434 6/12/2009
              Morrow                      LLC                        Mineral
                                                                     Lease
 Grayson      Samuel Louis Crow Atoka Operating,                     Oil, Gas and         4536/579 1/7/2008
                                Inc.                                 Mineral
                                                                     Lease
 Grayson      Linda Darnell Lott,         Atoka Operating,           Oil, Gas and         4536/566 4/3/2008
              acting as Agent and         Inc.                       Mineral
              Attorney-in-Fact                                       Lease
              for Frank L.
              Darnell, Sr.
 Grayson      Linda Darnell Lott,         Atoka Operating,           Oil, Gas and         4536/583 4/1/2008
              as Independent              Inc.                       Mineral
              Executrix of the                                       Lease
              Estate of Dorothy
              L. Darnell
 Grayson      Allen M. Tonkin,            Texas Land &               Oil, Gas and 4956/294 5/1/2011
              Jr., Revocable Trust        Petroleum                  Mineral
                                          Company, LLC               Lease
 Grayson      Nancy P. Tonkin             Texas Land &               Memorandum 4956/287 5/1/2011
              Revocable Trust             Petroleum                  of Oil and
                                          Company, LLC               Gas Lease
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 County           Lessor                        Lessee                        Instrument            Volume Effective
                                                                              Filed                 /Page    Date
 Grayson          Nancy T. Cutter               Texas Land &                  Memorandum            4956/291 5/1/2011
                  Revocable Trust               Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease
 Grayson          Linley T. Solari              Texas Land &                  Memorandum            4956/284 5/1/2011
                  Revocable Trust               Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease
 Grayson          Solari Luz, LLC               Texas Land &                  Ratification          5043/663 5/1/2011
                                                Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease




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                                                 EXHIBIT A-2
                                                         to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The Elaine #1 Well (API #181-31547) and associated wellbore, with a surface location
      situated at latitude 33° 44’ 55” – north, longitude 96° 41’ 02” – west, in Section 26, Block
      1, 11, 15, 16, the East half of the J.C. Wade Survey, Abstract 1382, Grayson County, Texas.

   2. All personal property and fixtures associated with the Elaine #1Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                              Lessee                           Volume           Effective
                                                                                   /Page            Date
 Grayson      Linda Buechner Byrne                TLPC Holdings, Ltd.              5411/536         11/18/2013
 Grayson      Steven Buechner                     TLPC Holdings, Ltd.              5411/532         11/18/2013
 Grayson      C. Suzanne Buechner,                TLPC Holdings, Ltd.              5411/540         11/18/2013
              Individually and as
              Executor of Estate of
              Barry L. Buechner,
              Deceased
 Grayson      Kennedy & Minshew, PC               TLPC Holdings, Ltd.              5049/747         11/10/2011
 Grayson      Kenneth Dolezalek                   TLPC Holdings, Ltd.              5061/139         9/30/2011
 Grayson      Louie A. Hattensy, Jr.              TLPC Holdings, Ltd.              5057/937         11/10/2011
 Grayson      Bessie M. Dolezalek                 TLPC Holdings, Ltd.              5031/870         9/30/2011
 Grayson      Barbara B. Vogelsang                TLPC Holdings, Ltd.              5031/846         9/30/2011
 Grayson      Burgess E. Buchanan, Jr.            TLPC Holdings, Ltd.              5031/854         9/30/2011
 Grayson      John Yates Buchanan                 TLPC Holdings, Ltd.              5031/862         9/30/2011
 Grayson      Susan R. Greene                     TLPC Holdings, Ltd.              5031/398         8/18/2011
 Grayson      Hugh Ringgold                       TLPC Holdings, Ltd.              5031/390         8/18/2011
 Grayson      Kathryn Michelle Looney             TLPC Holdings, Ltd.              5034/673         9/30/2011
 Grayson      Anita Anderson, Power of            TLPC Holdings, Ltd.              5034/665         9/30/2011
              Attorney for Gary Michael
              Looney
 Grayson      Charles Evans                       TLPC Holdings, Ltd.              5036/856         9/30/2011
 Grayson      John F. Evans                       TLPC Holdings, Ltd.              5031/406         9/30/2011
 Grayson      Robert Yates Evans Jr.              TLPC Holdings, Ltd.              5031/414         9/30/2011
 Grayson      SH Productions, Inc.                Maricopa Resources,              5464/919         2/24/2014
                                                  LLC
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 County           Lessor                                 Lessee                              Volume            Effective
                                                                                             /Page             Date
 Grayson          Kathy Reed                             Maricopa Resources,                 5464/927          2/24/2014
                                                         LLC
 Grayson          Kirk E Reed                            Maricopa Resources,                 5464/931          2/24/2014
                                                         LLC
 Grayson          Southstar Energy Corp                  Maricopa Resources,                 5464/915          2/24/2014
                                                         LLC
 Grayson          Washita Mineral Co                     Maricopa Resources,                 5464/923          2/24/2014
                                                         LLC
 Grayson          Carin Isabel Knoop                     Maricopa Resources,                 5464/910          4/7/2014
                                                         LLC
 Grayson          Preston 150 Joint Venture              Maricopa Resources,                 5521/166          3/24/2014
                                                         LLC




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                                                 EXHIBIT A-3
                                                         to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The William #1H Well (API #181-31557) and associated wellbore, with a surface location
      situated at latitude 33° 44’ 41” – north, longitude 96° 41’ 01” – west, in the east half of the
      Section 26, Block 1, 11, 15, 16, JM Dodgin Survey, Abstract 378, Grayson County, Texas.

   2. All personal property and fixtures associated with the William #1H Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                              Lessee                          Volume              Effective
                                                                                  /Page               Date
 Grayson      Linda Buechner Byrne                TLPC Holdings, Ltd.             5411/536            11/18/2013
 Grayson      Steven Buechner                     TLPC Holdings, Ltd.             5411/532            11/18/2013
 Grayson      C. Suzanne Buechner,                TLPC Holdings, Ltd.             5411/540            11/18/2013
              Individually and as
              Executor of Estate of
              Barry L. Buechner
 Grayson      Kennedy & Minshew, PC               TLPC Holdings, Ltd.             5049/747            11/10/2011
 Grayson      Kenneth Dolezalek                   TLPC Holdings, Ltd.             5061/139            9/30/2011
 Grayson      Louie A. Hattensy, Jr.              TLPC Holdings, Ltd.             5057/937            11/10/2011
 Grayson      Bessie M. Dolezalek                 TLPC Holdings, Ltd.             5031/870            9/30/2011
 Grayson      Barbara B. Vogelsang                TLPC Holdings, Ltd.             5031/846            9/30/2011
 Grayson      Burgess E. Buchanan, Jr.            TLPC Holdings, Ltd.             5031/854            9/30/2011
 Grayson      John Yates Buchanan                 TLPC Holdings, Ltd.             5031/862            9/30/2011
 Grayson      Susan R. Greene                     TLPC Holdings, Ltd.             5031/398            8/18/2011
 Grayson      Hugh Ringgold                       TLPC Holdings, Ltd.             5031/390            8/18/2011
 Grayson      Kathryn Michelle Looney             TLPC Holdings, Ltd.             5034/673            9/30/2011
 Grayson      Anita Anderson, Power of            TLPC Holdings, Ltd.             5034/665            9/30/2011
              Attorney for Gary
              Michael Looney
 Grayson      Charles Evans                       TLPC Holdings, Ltd.             5036/856            9/30/2011
 Grayson      John F. Evans                       TLPC Holdings, Ltd.             5031/406            9/30/2011
 Grayson      Robert Yates Evans Jr.              TLPC Holdings, Ltd.             5031/414            9/30/2011
 Grayson      SH Productions, Inc.                Maricopa Resources,             5464/919            2/24/2014
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County       Lessor                              Lessee                          Volume              Effective
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Grayson      Kathy Reed                          Maricopa Resources,             5464/927            2/24/2014
                                                 LLC
Grayson      Kirk E Reed                         Maricopa Resources,             5464/931            2/24/2014
                                                 LLC
Grayson      Southstar Energy Corp               Maricopa Resources,             5464/915            2/24/2014
                                                 LLC
Grayson      Washita Mineral Co                  Maricopa Resources,             5464/923            2/24/2014
                                                 LLC
Grayson      Endeavor Energy                     OKT Resources, LLC              4981/402            2/1/2011
             Resources, L.P.
Grayson      Thomas W. Lett,                     OKT Resources, LLC              4418/520            2/1/2008
             Individually and as
             Trustee of the Sam Lett
             Testamentary Trust
Grayson      Castello Enterprises, Inc.          OKT Resources, LLC              4980/156            2/1/2011
Grayson      Wilbur Lee Dean III                 Matthew Avery                   4296/513            4/18/2007
Grayson      Joseph Glen Dean                    Matthew Avery                   4296/506            4/18/2007
Grayson      Paula Marie Dean                    Matthew Avery                   4980/140            4/18/2007
             Halbach, aka Paula Marie
             Dean
Grayson      Landon Boyd Odle                    Matthew Avery                   4760/92             1/31/2007
Grayson      Douglas Kent Odle                   Matthew Avery                   4760/88             3/6/2007
Grayson      Gary Wayne Odle                     Matthew Avery                   4296/493            5/10/2007
Grayson      LaJuan Odle                         Matthew Avery                   4760/92             1/30/2007
Grayson      Pottsboro Church of                 Matthew Avery                   4983/321            4/10/2011
             Christ
Grayson      Vurlas Land Wilson, a/ka            Matthew Avery                   4296/469            4/27/2007
             Verlas Lane Wilson and
             Margorie Marie Wilson
Grayson      John Robert Hooper                  Paradise Springs, LLC           4993/305            2/12/2011
Grayson      Berdine Eberhart and                Matthew Avery                   4296/441            4/27/2007
             Tom Eberhart
Grayson      Terry Lee Garofalo                  Matthew Avery                   4980/144            1/2/2011
Grayson      Ann W. Tracy, Trustee               Matthew Avery                   4296/457            6/27/2007
             under the Ann W. Tracy
             Revocable Trust dated
             January 8, 1991
Grayson      Ilva Wilson, Ind and as             Matthew Avery                   4297/46             6/27/2007
             Trustee of the JamesM.
             Wilson Jr and Ilva Wilson
             Family Trust
Grayson      Bobby C Wilson                      Matthew Avery                   4296/461            6/27/2007
Grayson      Peggy Ann Gehrig                    Matthew Avery                   4296/449            6/27/2007
Grayson      Thomas J. Wilson                    Matthew Avery                   4296/466            6/27/2007
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 County           Lessor                                 Lessee                             Volume                Effective
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 Grayson          Lee Marjorie Hooper                    Matthew Avery                      4296/454              4/27/2007
 Grayson          Berdine Eberhart and                   Matthew Avery                      4296/441              4/27/2007
                  Tom Eberhart
 Grayson          Terry Lee Garofalo                     Matthew Avery                      4296/445              4/27/2007
 Grayson          Anadarko E&P Onshore,                  Paradise Springs, LLC              5355/704              8/28/2013
                  LLC
 Grayson          Wel-Mar Investments                    Paradise Springs, LLC              5274/698              3/15/2013
 Grayson          PCP Trust, Phillip C.                  Paradise Springs, LLC              5274/701              3/15/2013
                  Brown, Trustee and
                  Philip Charles Brown
 Grayson          Norman D. O’Neal                       Paradise Springs, LLC              5367/400              9/10/2013
 Grayson          Norman D. O’Neal                       Paradise Springs, LLC              5002/826              8/21/2011
 Grayson          Wel-Mar Investments                    Paradise Springs, LLC              5002/830              8/21/2011
 Grayson          Philip C. Brown, aka                   Paradise Springs, LLC              5002/834;838          8/21/2011
                  Philip Charles Brown;
                  PCB Trust




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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU MAY
REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM THIS
INSTRUMENT BEFORE IT IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR
SOCIAL SECURITY NUMBER OR YOUR DRIVER’S LICENSE NUMBER.

              ASSIGNMENT, CONVEYANCE AND BILL OF SALE
STATE OF TEXAS      §
                    §
COUNTY OF GRAYSON   §

         KNOW ALL MEN BY THESE PRESENTS that the undersigned Payson Petroleum 3 Well, L.P.,
whose address is c/o Christopher J. Moser, Chapter 7 Trustee, Quilling, Selander, Lownds, Winslett &
Moser, P.C., 2001 Bryan Street, Ste. 1800, Dallas, TX 75201 (the “Assignor”), for and in consideration of
the sum of Ten Dollars ($10.00) and other good and valuable consideration, does hereby BARGAIN, SELL,
GRANT, ASSIGN and CONVEY unto Maricopa Resources, LLC, whose address is c/o Jason R. Searcy,
Chapter 11 Trustee, Searcy & Searcy, P.C., 446 Forest Square, Longview, Texas 75605 (the “Assignee”),
all of Assignor’s right, title and interest in and to the wells and wellbores described herein.

                                                  DEFINITIONS

        1.01    Defined Terms. The following terms, as used in this Assignment, shall have the meanings
indicated below, unless the context otherwise requires:

         “Crowe #2 Well” means the Crowe #2 (API #181-31543) and associated wellbore, with a surface
location situated at latitude 33° 49’ 10” – north, longitude 96° 41’ 55” – west, in Section 11, Block 1, 11,
15, 16, the South 79 acres of the Wood & Buckles Survey, Abstract 1373, Grayson County, Texas.

         “Elaine #1 Well” means the Elaine #1 (API #181-31547) and associated wellbore, with a surface
location situated at latitude 33° 44’ 55” – north, longitude 96° 41’ 02” – west, in Section 26, Block 1, 11,
15, 16, the East half of the J.C. Wade Survey, Abstract 1382, Grayson County, Texas.

        “Effective Date” means September ___, 2017.

        “Wells” means, collectively, the Crow #2 Well, the Elaine #1 Well and the Williams #1H Well.

        “Williams #1H Well” means the Williams #1H (API #181-31557) and associated wellbore, with a
surface location situated at latitude 33° 44’ 41” – north, longitude 96° 41’ 01” – west, in the east half of
Section 26, Block 1, 11, 15, 16, the JM Dodgin Survey, Abstract 378, Grayson County, Texas.

                                     ASSIGNMENT AND AGREEMENT

        For valuable consideration, the receipt and sufficiency of which is acknowledged, Assignor sells,
assigns, transfers, delivers, and conveys to Assignee the following, all of which are collectively called the
“Assets”.

         a.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006066, Book OR, Vol. 5779, Pg. 404, in the Crowe #2 Well.
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         b.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006065, Book OR, Vol. 5779, Pg. 397, in the Elaine #1 Well.

         c.      All right, title an interest acquired pursuant to the Wellbore, Assignment, Conveyance, Bill
of Sale, and Release by and between Maricopa Resources, LLC, as assignor, and Payson Petroleum 3 Well,
L.P., as assignee, recorded in the real property records of Grayson County, Texas at Instrument Number
2016-00006064, Book OR, Vol. 5779, Pg. 389, in the William #1H Well.

       d.       All right, title and interest in and to the oil and gas leases described in Exhibits A-1, A-2
and A-3 to this Assignment, insofar and only insofar as the leases cover the Wells, (collectively, the
“Leases”), together with the leasehold rights as are necessary to operate, maintain, produce, and plug and
abandon the Wells.

        e.     All right, title and interest in all personal property and fixtures associated with the Wells,
including without limitation the following: all tubing, casing, and other equipment in the wellbores,
wellhead equipment, gathering lines and surface production facilities.

         f.      All files and records relating to the items described in Paragraphs (a) through (f) maintained
by Assignor and relating to the interests described in Paragraphs (a) through (f), but only to the extent not
subject to unaffiliated third party contractual restrictions on disclosure or transfer.

           To have and to hold the Assets unto Assignee, and Assignee’s heirs, successors and assigns,
forever.

           Assignee and Assignor further agree as follows:

        1.     Title. Assignor warrants title to the Assets from and against all persons claiming by,
through and under Assignor, but not otherwise.



         2.       Royalty Payments. Assignor shall be responsible for any and all liabilities, claims, and
demands arising out of the accounting and payment of proceeds of production from the Wells to royalty
owners and working interest owners, insofar as the same relate to or arise out of actions of Assignor or
events prior to the Effective Date and shall defend, indemnify and hold Assignee harmless from and against
all claims. Assignee shall be responsible for all types of claims insofar as they relate to periods of time
from and after the Effective Date of this Assignment and shall indemnify and hold Assignor harmless
therefrom.

         3.       Indemnification Claims. With respect to any claim for which an indemnifying party may
be required to provide partial or full indemnity, the party shall have the right, but not the obligation, to
participate fully in the defense of any claim. Reasonable attorneys’ fees, court costs, interest, penalties and
other expenses incurred in connection with the defense of claims shall be included in Assignee’s and
Assignor’s indemnities. All indemnities of Assignee shall extend to and cover the parent, subsidiary and
affiliated companies and the officers, directors, employees and agents of Assignor, and its subsidiary and
affiliated companies.




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        4.      No Third-Party Beneficiaries. The references in this Assignment to liens, encumbrances,
burdens, defects, and other matters shall not be deemed to ratify or create any rights in any third parties or
merge with, modify or limit the rights of Assignor or Assignee, as between themselves.

        5.      Successors and Assigns. This Assignment and all of the terms, provisions, covenants,
obligations and indemnities it contains shall be binding on and inure to the benefit of and be enforceable
by the Assignor, Assignee, and their respective successors and assigns.

        This Assignment is executed by Assignor and Assignee as of the date of acknowledgment of their
signatures below, but shall be deemed effective for all purposes as of the Effective Date stated above.

                                            [Signature Page Follows]




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          EXECUTED on this _______ day of __________________ 2017.

                                                            ASSIGNOR:

                                                            PAYSON PETROLEUM 3 WELL, L.P.


                                                            By:
                                                                       Christopher J. Moser, Chapter 7 Trustee


                                                            ASSIGNEE:

                                                            MARICOPA RESOURCES, LLC


                                                            By:
                                                                       Jason R. Searcy, Chapter 11 Trustee

STATE OF TEXAS                          §
                                        §
COUNTY OF ____________                  §

BEFORE ME, the undersigned authority, on this _______ day of _____________ 2017, personally
appeared Christopher J. Moser, the Chapter 7 Trustee of PAYSON PETROLEUM 3 WELL, L.P., whose
name is subscribed to the foregoing instrument and acknowledged to me that he executed the same for the
purposes and consideration therein expressed.


                                                            ______________________________________
                                                            Notary Public in and for State of Texas
                                                            My Commission Expires:


STATE OF TEXAS                          §
                                        §
COUNTY OF GREGG                         §

BEFORE ME, the undersigned authority, on this _______ day of ______________ 2017, personally
appeared Jason R. Searcy, the Chapter 11 Trustee of MARICOPA RESOURCES, LLC, whose name is
subscribed to the foregoing instrument and acknowledged to me that he executed the same for the purposes
and consideration therein expressed.


                                                            ______________________________________
                                                            Notary Public in and for State of Texas
                                                            My Commission Expires:


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                                                 EXHIBIT A-1
                                                         to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The Crowe #2 Well (API #181-31543) and associated wellbore, with a surface location
      situated at latitude 33° 49’ 10” – north, longitude 96° 41’ 55” – west, in Section 11, Block
      1, 11, 15, 16, the South 79 acres of the Wood & Buckles Survey, Abstract 1373, Grayson
      County, Texas (from the surface of the earth down to the measured depth of 11,164’).

   2. All personal property and fixtures associated with the Crowe #2 Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                      Lessee                     Instrument           Volume Effective
                                                                     Filed                /Page    Date
 Grayson      Marilyn Teresa              RWJ Exploration,           Oil, Gas and         4724/434 6/12/2009
              Morrow                      LLC                        Mineral
                                                                     Lease
 Grayson      Samuel Louis Crow Atoka Operating,                     Oil, Gas and         4536/579 1/7/2008
                                Inc.                                 Mineral
                                                                     Lease
 Grayson      Linda Darnell Lott,         Atoka Operating,           Oil, Gas and         4536/566 4/3/2008
              acting as Agent and         Inc.                       Mineral
              Attorney-in-Fact                                       Lease
              for Frank L.
              Darnell, Sr.
 Grayson      Linda Darnell Lott,         Atoka Operating,           Oil, Gas and         4536/583 4/1/2008
              as Independent              Inc.                       Mineral
              Executrix of the                                       Lease
              Estate of Dorothy
              L. Darnell
 Grayson      Allen M. Tonkin,            Texas Land &               Oil, Gas and 4956/294 5/1/2011
              Jr., Revocable Trust        Petroleum                  Mineral
                                          Company, LLC               Lease
 Grayson      Nancy P. Tonkin             Texas Land &               Memorandum 4956/287 5/1/2011
              Revocable Trust             Petroleum                  of Oil and
                                          Company, LLC               Gas Lease
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 County           Lessor                        Lessee                        Instrument            Volume Effective
                                                                              Filed                 /Page    Date
 Grayson          Nancy T. Cutter               Texas Land &                  Memorandum            4956/291 5/1/2011
                  Revocable Trust               Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease
 Grayson          Linley T. Solari              Texas Land &                  Memorandum            4956/284 5/1/2011
                  Revocable Trust               Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease
 Grayson          Solari Luz, LLC               Texas Land &                  Ratification          5043/663 5/1/2011
                                                Petroleum                     of Oil and
                                                Company, LLC                  Gas Lease




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                                                 EXHIBIT A-2
                                                         to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The Elaine #1 Well (API #181-31547) and associated wellbore, with a surface location
      situated at latitude 33° 44’ 55” – north, longitude 96° 41’ 02” – west, in Section 26, Block
      1, 11, 15, 16, the East half of the J.C. Wade Survey, Abstract 1382, Grayson County, Texas.

   2. All personal property and fixtures associated with the Elaine #1Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                              Lessee                           Volume           Effective
                                                                                   /Page            Date
 Grayson      Linda Buechner Byrne                TLPC Holdings, Ltd.              5411/536         11/18/2013
 Grayson      Steven Buechner                     TLPC Holdings, Ltd.              5411/532         11/18/2013
 Grayson      C. Suzanne Buechner,                TLPC Holdings, Ltd.              5411/540         11/18/2013
              Individually and as
              Executor of Estate of
              Barry L. Buechner,
              Deceased
 Grayson      Kennedy & Minshew, PC               TLPC Holdings, Ltd.              5049/747         11/10/2011
 Grayson      Kenneth Dolezalek                   TLPC Holdings, Ltd.              5061/139         9/30/2011
 Grayson      Louie A. Hattensy, Jr.              TLPC Holdings, Ltd.              5057/937         11/10/2011
 Grayson      Bessie M. Dolezalek                 TLPC Holdings, Ltd.              5031/870         9/30/2011
 Grayson      Barbara B. Vogelsang                TLPC Holdings, Ltd.              5031/846         9/30/2011
 Grayson      Burgess E. Buchanan, Jr.            TLPC Holdings, Ltd.              5031/854         9/30/2011
 Grayson      John Yates Buchanan                 TLPC Holdings, Ltd.              5031/862         9/30/2011
 Grayson      Susan R. Greene                     TLPC Holdings, Ltd.              5031/398         8/18/2011
 Grayson      Hugh Ringgold                       TLPC Holdings, Ltd.              5031/390         8/18/2011
 Grayson      Kathryn Michelle Looney             TLPC Holdings, Ltd.              5034/673         9/30/2011
 Grayson      Anita Anderson, Power of            TLPC Holdings, Ltd.              5034/665         9/30/2011
              Attorney for Gary Michael
              Looney
 Grayson      Charles Evans                       TLPC Holdings, Ltd.              5036/856         9/30/2011
 Grayson      John F. Evans                       TLPC Holdings, Ltd.              5031/406         9/30/2011
 Grayson      Robert Yates Evans Jr.              TLPC Holdings, Ltd.              5031/414         9/30/2011
 Grayson      SH Productions, Inc.                Maricopa Resources,              5464/919         2/24/2014
                                                  LLC
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 County           Lessor                                 Lessee                              Volume            Effective
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 Grayson          Kathy Reed                             Maricopa Resources,                 5464/927          2/24/2014
                                                         LLC
 Grayson          Kirk E Reed                            Maricopa Resources,                 5464/931          2/24/2014
                                                         LLC
 Grayson          Southstar Energy Corp                  Maricopa Resources,                 5464/915          2/24/2014
                                                         LLC
 Grayson          Washita Mineral Co                     Maricopa Resources,                 5464/923          2/24/2014
                                                         LLC
 Grayson          Carin Isabel Knoop                     Maricopa Resources,                 5464/910          4/7/2014
                                                         LLC
 Grayson          Preston 150 Joint Venture              Maricopa Resources,                 5521/166          3/24/2014
                                                         LLC




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                                                 EXHIBIT A-3
                                                         to
              WELLBORE ASSIGNMENT, CONVEYANCE AND BILL OF SALE


Property Description:
   1. The William #1H Well (API #181-31557) and associated wellbore, with a surface location
      situated at latitude 33° 44’ 41” – north, longitude 96° 41’ 01” – west, in the east half of the
      Section 26, Block 1, 11, 15, 16, JM Dodgin Survey, Abstract 378, Grayson County, Texas.

   2. All personal property and fixtures associated with the William #1H Well, including without
      limitation the following: all tubing, casing, and other equipment in the wellbores, wellhead
      equipment, gathering lines and surface production facilities.


THE FOLLOWING DESCRIBED LEASES
 County       Lessor                              Lessee                          Volume              Effective
                                                                                  /Page               Date
 Grayson      Linda Buechner Byrne                TLPC Holdings, Ltd.             5411/536            11/18/2013
 Grayson      Steven Buechner                     TLPC Holdings, Ltd.             5411/532            11/18/2013
 Grayson      C. Suzanne Buechner,                TLPC Holdings, Ltd.             5411/540            11/18/2013
              Individually and as
              Executor of Estate of
              Barry L. Buechner
 Grayson      Kennedy & Minshew, PC               TLPC Holdings, Ltd.             5049/747            11/10/2011
 Grayson      Kenneth Dolezalek                   TLPC Holdings, Ltd.             5061/139            9/30/2011
 Grayson      Louie A. Hattensy, Jr.              TLPC Holdings, Ltd.             5057/937            11/10/2011
 Grayson      Bessie M. Dolezalek                 TLPC Holdings, Ltd.             5031/870            9/30/2011
 Grayson      Barbara B. Vogelsang                TLPC Holdings, Ltd.             5031/846            9/30/2011
 Grayson      Burgess E. Buchanan, Jr.            TLPC Holdings, Ltd.             5031/854            9/30/2011
 Grayson      John Yates Buchanan                 TLPC Holdings, Ltd.             5031/862            9/30/2011
 Grayson      Susan R. Greene                     TLPC Holdings, Ltd.             5031/398            8/18/2011
 Grayson      Hugh Ringgold                       TLPC Holdings, Ltd.             5031/390            8/18/2011
 Grayson      Kathryn Michelle Looney             TLPC Holdings, Ltd.             5034/673            9/30/2011
 Grayson      Anita Anderson, Power of            TLPC Holdings, Ltd.             5034/665            9/30/2011
              Attorney for Gary
              Michael Looney
 Grayson      Charles Evans                       TLPC Holdings, Ltd.             5036/856            9/30/2011
 Grayson      John F. Evans                       TLPC Holdings, Ltd.             5031/406            9/30/2011
 Grayson      Robert Yates Evans Jr.              TLPC Holdings, Ltd.             5031/414            9/30/2011
 Grayson      SH Productions, Inc.                Maricopa Resources,             5464/919            2/24/2014
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County       Lessor                              Lessee                          Volume              Effective
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Grayson      Kathy Reed                          Maricopa Resources,             5464/927            2/24/2014
                                                 LLC
Grayson      Kirk E Reed                         Maricopa Resources,             5464/931            2/24/2014
                                                 LLC
Grayson      Southstar Energy Corp               Maricopa Resources,             5464/915            2/24/2014
                                                 LLC
Grayson      Washita Mineral Co                  Maricopa Resources,             5464/923            2/24/2014
                                                 LLC
Grayson      Endeavor Energy                     OKT Resources, LLC              4981/402            2/1/2011
             Resources, L.P.
Grayson      Thomas W. Lett,                     OKT Resources, LLC              4418/520            2/1/2008
             Individually and as
             Trustee of the Sam Lett
             Testamentary Trust
Grayson      Castello Enterprises, Inc.          OKT Resources, LLC              4980/156            2/1/2011
Grayson      Wilbur Lee Dean III                 Matthew Avery                   4296/513            4/18/2007
Grayson      Joseph Glen Dean                    Matthew Avery                   4296/506            4/18/2007
Grayson      Paula Marie Dean                    Matthew Avery                   4980/140            4/18/2007
             Halbach, aka Paula Marie
             Dean
Grayson      Landon Boyd Odle                    Matthew Avery                   4760/92             1/31/2007
Grayson      Douglas Kent Odle                   Matthew Avery                   4760/88             3/6/2007
Grayson      Gary Wayne Odle                     Matthew Avery                   4296/493            5/10/2007
Grayson      LaJuan Odle                         Matthew Avery                   4760/92             1/30/2007
Grayson      Pottsboro Church of                 Matthew Avery                   4983/321            4/10/2011
             Christ
Grayson      Vurlas Land Wilson, a/ka            Matthew Avery                   4296/469            4/27/2007
             Verlas Lane Wilson and
             Margorie Marie Wilson
Grayson      John Robert Hooper                  Paradise Springs, LLC           4993/305            2/12/2011
Grayson      Berdine Eberhart and                Matthew Avery                   4296/441            4/27/2007
             Tom Eberhart
Grayson      Terry Lee Garofalo                  Matthew Avery                   4980/144            1/2/2011
Grayson      Ann W. Tracy, Trustee               Matthew Avery                   4296/457            6/27/2007
             under the Ann W. Tracy
             Revocable Trust dated
             January 8, 1991
Grayson      Ilva Wilson, Ind and as             Matthew Avery                   4297/46             6/27/2007
             Trustee of the JamesM.
             Wilson Jr and Ilva Wilson
             Family Trust
Grayson      Bobby C Wilson                      Matthew Avery                   4296/461            6/27/2007
Grayson      Peggy Ann Gehrig                    Matthew Avery                   4296/449            6/27/2007
Grayson      Thomas J. Wilson                    Matthew Avery                   4296/466            6/27/2007
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 Grayson          Lee Marjorie Hooper                    Matthew Avery                      4296/454              4/27/2007
 Grayson          Berdine Eberhart and                   Matthew Avery                      4296/441              4/27/2007
                  Tom Eberhart
 Grayson          Terry Lee Garofalo                     Matthew Avery                      4296/445              4/27/2007
 Grayson          Anadarko E&P Onshore,                  Paradise Springs, LLC              5355/704              8/28/2013
                  LLC
 Grayson          Wel-Mar Investments                    Paradise Springs, LLC              5274/698              3/15/2013
 Grayson          PCP Trust, Phillip C.                  Paradise Springs, LLC              5274/701              3/15/2013
                  Brown, Trustee and
                  Philip Charles Brown
 Grayson          Norman D. O’Neal                       Paradise Springs, LLC              5367/400              9/10/2013
 Grayson          Norman D. O’Neal                       Paradise Springs, LLC              5002/826              8/21/2011
 Grayson          Wel-Mar Investments                    Paradise Springs, LLC              5002/830              8/21/2011
 Grayson          Philip C. Brown, aka                   Paradise Springs, LLC              5002/834;838          8/21/2011
                  Philip Charles Brown;
                  PCB Trust




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                               UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

IN RE:                                                      §
                                                            §
PAYSON PETROLEUM 3 WELL 2014, LP,                           §              Case No. 17-40180
                                                            §              Chapter 7
         DEBTOR.                                            §



    AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE AND
             SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019

                                       [Relates to Docket No. __]

         Upon consideration of the Joint Motion to Approve Compromise and Settlement Pursuant

to Bankruptcy Rule 9019 (the “Motion”) 1 between Jason R. Searcy, Chapter 11 Trustee for Payson

Petroleum, Inc., Maricopa Resources, LLC, and Payson Operating, LLC in jointly administered

Bankruptcy Case No. 16-41044 and Christopher J. Moser, Chapter 7 Trustee for Payson Petroleum

3 Well, L.P. in Bankruptcy Case No. 17-40179 and Payson Petroleum 3 Well 2014, L.P. (“Debtor”)

in Bankruptcy Case No. 17-40180 for entry of an order (this “Order”) approving the Settlement

Agreement; and the Court having found that it has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334; and the Court having found that this is a core proceeding pursuant to 28

U.S.C. § 157(b)(2) and that the Court may enter a final order consistent with Article III of the

United States Constitution; and the Court having found that venue in this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the relief requested in the Motion is in the best interests of the Debtor’s estate, its

creditors, and other parties in interest; and this Court having found that notice of the Motion and



1
 Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or the
Settlement Agreement, as applicable.
AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having heard the statements in support of the relief requested therein at a hearing,

if any, before this Court (the “Hearing”); and the Court having determined that the legal and factual

basis set forth in the Motion and at the Hearing, if any, establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court and after due deliberation and

sufficient cause appearing therefor, it is hereby

          ORDERED, ADJUDGED, AND DECREED THAT:

          1.     The Motion is GRANTED as set forth herein.

          2.     The Settlement Agreement, a copy of which is attached as an exhibit to the Motion,

is approved in its entirety as being fair, reasonable and in the best interests of the Debtor, its

bankruptcy estate and parties in interest, and is effective and binding on the Parties and all parties

in interest according to its terms as if set forth fully in this Order.

          3.     Approval of the Joint Motion for Entry of Agreed Final Judgment and entry of the

proposed form of Agreed Final Judgment in Adversary Proceeding No. 16-04106, styled Jason R.

Searcy, Chapter 11 Trustee v. Payson Petroleum 3 Well, L.P. and Payson Petroleum 3 Well 2014,

L.P. (as amended) as provided for in the Settlement Agreement is fair, reasonable and in the best

interests of the Debtor, its bankruptcy estate and all parties in interest.

          4.     Upon consummation of the Settlement Agreement (i) fifty-five (55%) of the

Suspended Revenues, (ii) the Operating Reserve (as those terms are defined in the Settlement

Agreement), and (iii) the mineral interests assigned pursuant to the Subject Wells Assignment

attached as an exhibit to the Motion, shall be property of the Maricopa Resources, LLC bankruptcy

estate.

          5.     The 2014 LP Subject Claims Assignment and Participation Agreement attached as


AGREED ORDER GRANTING JOINT MOTION TO APPROVE COMPROMISE
AND SETTLEMENT PURSUANT TO BANKRUPTCY RULE 9019
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an exhibit to the Motion is approved in its entirety as being fair, reasonable and in the best interests

of the Debtor, its bankruptcy estate and parties in interest, and is effective and binding on the

Parties and all parties in interest according to its terms as if set forth fully in this Order.

        6.       This Order is binding upon the Parties and all other parties in interest in accordance

with the terms of the Settlement Agreement.

        7.       A general unsecured claim of Payson Petroleum against 2014 LP is hereby allowed

in the amount of Two Million Six Hundred Seventy-One Thousand Nine Hundred and 50/100 U.S.

Dollars ($2,671,900.50).

        8.       The releases provided for in the Settlement Agreement are hereby approved. Upon

consummation of the Settlement Agreement all claims by 3 Well LP against Payson Petroleum,

Payson Operating or Maricopa except for the 2014 LP and 3 Well LP Retained Claims (as defined

in the Settlement Agreement) are released. Upon consummation of the Settlement Agreement all

claims of Payson Petroleum, Payson Operating and Maricopa, except for the Payson Petroleum,

Payson Operating and Maricopa Retained Claims (as defined in the Settlement Agreement) are

released.

        9.       Upon consummation of the Settlement Agreement, Payson Petroleum shall own a

fifty percent (50%) participation interest in the 2014 LP Avoidance Action Claims Net Recovery

and the 2014 LP Partnership Related Claims Net Recovery as those terms are defined in the 2014

LP Subject Claims Assignment and Participation Agreement.

        10.      Payson Petroleum is hereby granted standing and authority to enforce and prosecute

the 2014 LP Avoidance Action Claims and the 2014 LP Partnership Related Claims without further

order of this Court. Payson Petroleum is hereby appointed the representative of the 2014 LP

bankruptcy estate for purposes of prosecuting the 2014 LP Avoidance Action Claims and the 2014


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LP Partnership Related Claims pursuant to the 2014 LP Subject Claims Assignment and

Participation Agreement.

        11.      No preclusion doctrine, including the doctrines of res judicata, collateral estoppel,

issue preclusion, claim preclusion, or estoppel shall apply to the 2014 LP Avoidance Action

Claims, 2014 LP Partnership Related Claims, or Payson/2014 LP Partnership Related Claims as

those terms are defined in the 2014 LP Subject Claims Assignment and Participation Agreement

by virtue of any parties’ entry into the 2014 LP Subject Claims Assignment and Participation

Agreement or this Order.

        12.      Pursuant to the 2014 LP Subject Claims Assignment and Participation Agreement

and this Order, Payson Petroleum shall have exclusive authority to file suit, prosecute and settle

the 2014 LP Partnership Related Claims, the 2014 LP Avoidance Action Claims and the

Payson/2014 LP Partnership Related Claims. Payson Petroleum is under no duty to initiate any

litigation or to take any action with respect to the 2014 LP Partnership Related Claims or the 2014

LP Avoidance Action Claims that in its judgment would not be cost justified.

        13.      The Debtor and all other Parties to the Settlement Agreement are authorized and

directed to take all actions necessary to effectuate the relief granted in this Order in accordance

with the Motion and to implement the terms of the Settlement Agreement without further notice,

hearing or order of the Court.

        14.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




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PAYSON PETROLEUM 3 WELL 2014, L.P.



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